Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                John Q. Hammons Fall 2006, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  300 John Q Hammons Parkway
                                  Suite 900
                                  Springfield, MO 65806
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Greene                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                                    Case 16-21142               Doc# 1        Filed 06/26/16           Page 1 of 290
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    John Q. Hammons Fall 2006, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attached                                                   Relationship
                                                  District                                When                              Case number, if known




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Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   John Q. Hammons Fall 2006, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                                    Case 16-21142                Doc# 1         Filed 06/26/16            Page 3 of 290
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    John Q. Hammons Fall 2006, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 25, 2016
                                                  MM / DD / YYYY


                             X   /s/ Greggory D Groves                                                    Greggory D Groves
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President




18. Signature of attorney    X   /s/ Mark Shaiken                                                          Date June 25, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Shaiken
                                 Printed name

                                 Stinson Leonard Street LLP
                                 Firm name

                                 1201 Walnut Street, Suite 2900
                                 Kansas City, MO 64106-2150
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     816-691-3204                  Email address      mark.shaiken@stinson.com

                                 KS # 11011
                                 Bar number and State




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Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                             ATTACHMENT 1

                 PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Kansas. A motion has been filed with the Court
requesting that the chapter 11 cases of these entities be jointly administered.

Entity Name                      Relationship   District             Date            Case Number
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
ACLOST, LLC
Bricktown Residence Catering     Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Co, Inc.
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Chateau Catering Co., Inc.
Chateau Lake, LLC                Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Civic Center Redevelopment       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Corp.
Concord Golf Catering Co.,       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
Concord Hotel Catering Co.,      Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
East Peoria Catering Co., Inc.
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Fort Smith Catering Co., Inc.
Franklin/Crescent Catering       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Co., Inc.
Glendale Coyotes Catering        Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Co., Inc.
Glendale Coyotes Hotel           Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Catering Co., Inc.
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons, Inc.
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of Colorado, LLC
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of Franklin LLC
Hammons of Huntsville, LLC       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of Lincoln, LLC          Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of New Mexico, LLC       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of Oklahoma City,        Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of Richardson LLC
                                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of Rogers, Inc.
Hammons of Sioux Falls, LLC      Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons of South Carolina,       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
Hammons of Tulsa, LLC            Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned




                  Case 16-21142        Doc# 1    Filed 06/26/16      Page 5 of 290
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hampton Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hot Springs Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Huntsville Catering, LLC
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
International Catering Co., Inc.
John Q. Hammons 2015 Loan          Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Holdings LLC
John Q. Hammons Hotels             Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development LLC
John Q. Hammons Hotels             Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Management I Corporation
John Q. Hammons Hotels             Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Management II, L.P.
John Q. Hammons Hotels             Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Management, LLC
Joplin Residence Catering Co.,     Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
JQH - Allen Development, LLC       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
JQH - Concord Development,         Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
JQH - East Peoria                  Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH - Ft. Smith Development,       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
JQH - Glendale, AZ                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH – Kansas City                  Affiliate      District of Kansas   June 25, 2016   Not Yet Assigned
Development, LLC
JQH - La Vista Conference          Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Center Development, LLC
JQH - La Vista CY                  Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH - La Vista III                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH - Lake of the Ozarks           Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH - Murfreesboro                 Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH - Normal Development,          Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
JQH - Norman Development,          Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
JQH - Oklahoma City                Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Bricktown Development, LLC
JQH - Olathe Development,          Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
LLC
JQH - Pleasant Grove               Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC
JQH - Rogers Convention            Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Center Development, LLC
JQH - San Marcos                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Development, LLC


                                                    2
CORE/9990000.5935/127182112.1
                    Case 16-21142        Doc# 1   Filed 06/26/16       Page 6 of 290
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Junction City Catering Co., Inc.
KC Residence Catering Co.,         Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
La Vista CY Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
La Vista ES Catering Co., Inc.
Lincoln P Street Catering Co.,     Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Loveland Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Manzano Catering Co., Inc.
Murfreesboro Catering Co.,         Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Normal Catering Co., Inc.
OKC Courtyard Catering Co.,        Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
R-2 Operating Co., Inc.
Revocable Trust of John Q.         Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Hammons, Dated December
28, 1989, as Amended and
Restated
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Richardson Hammons LP
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Rogers ES Catering Co., Inc.
SGF-Courtyard Catering Co.,        Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Inc.
Sioux Falls Convention/Arena       Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
St. Charles Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
Tulsa/169 Catering Co., Inc.
                                   Affiliate      District of Kansas   June 26, 2016   Not Yet Assigned
U.P. Catering Co., Inc.




                                                    3
CORE/9990000.5935/127182112.1
                    Case 16-21142        Doc# 1   Filed 06/26/16       Page 7 of 290
 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                           $2,000.00


 2.        Cash on hand                                                                                                                          $14,600.00


 2.        Cash on hand                                                                                                                          $15,000.00


 2.        Cash on hand                                                                                                                           $9,000.00


 2.        Cash on hand                                                                                                                           $4,500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Key Bank - Hot Springs Embassy                           Deposit                      9353                                     Unknown



                   Simmons First Bank - Hot Springs
           3.2.    Embassy (as of 4-30-16)                                  Deposit                      1970                                    $31,525.65



                   Key Bank - Junction City Courtyard
           3.3.    Account                                                  Deposit                      9379                                     Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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                                       Case 16-21142                 Doc# 1      Filed 06/26/16       Page 8 of 290
 Debtor           John Q. Hammons Fall 2006, LLC                                             Case number (If known)
                  Name


                    Kansas State Bank - Junction City
           3.4.     Courtyard Account (as of 4-30-16)                       Deposit                         7833          $30,373.04




           3.5.     Key Bank - Hampton Embassy Account                      Deposit                         9338            Unknown



                    BB&T - Hampton Embassy Account (as
           3.6.     of 4-30-16)                                             Deposit                         0338          $73,145.74




           3.7.     Key Bank - Frisco Embassy Account                       Deposit                         9346            Unknown



                    Empire Bank - Springfield Holiday Inn
           3.8.     Express Account (as of 4-30-16)                         Deposit                         1684          $10,421.84



                    Key Bank - Springfield Holiday Inn
           3.9.     Express Account                                         Deposit                         9361            Unknown



           3.10 Key Bank - JQH Fall Hotels Trap
           .    Account                                                     Deposit                         9387            Unknown



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                           $190,566.27
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Berkadia Tax Escrow Account (as of 4-30-16)                                                          $910,785.35




 9.        Total of Part 2.                                                                                           $910,785.35
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                     Best Case Bankruptcy
                                       Case 16-21142                 Doc# 1      Filed 06/26/16       Page 9 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                                        Case number (If known)
                Name



 11.       Accounts receivable
           11a. 90 days old or less:                                 94,382.93   -                                   0.00 = ....                 $94,382.93
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 20,112.23   -                                   0.00 = ....                 $20,112.23
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                            122,201.73       -                                   0.00 = ....                $122,201.73
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 25,130.85   -                                   0.00 = ....                 $25,130.85
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                            440,090.50       -                                   0.00 = ....                $440,090.50
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $701,918.24
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 39.       Office furniture


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 3
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                                      Case 16-21142                     Doc# 1        Filed 06/26/16           Page 10 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                               Case number (If known)
                Name

           Furniture & Fixtures - Hotel (Hampton
           Embassy Suites)                                                                  $0.00                     $3,826,646.03


           Office Furniture (Hampton Embassy Suites)                                        $0.00                        $17,768.00


           Mattresses & Springs (Hampton Embassy
           Suites)                                                                          $0.00                      $127,875.00


           Curtains / Lamps / Drapes (Hampton Embassy
           Suites)                                                                          $0.00                      $631,372.13


           Televisions (Hampton Embassy Suites)                                             $0.00                      $313,979.00


           Furniture & Fixtures - Hotel (Frisco Embassy
           Suites)                                                                          $0.00                     $9,804,471.96


           Office Furniture (Frisco Embassy Suites)                                         $0.00                      $176,038.00


           Mattresses & Springs (Frisco Embassy Suites)                                     $0.00                      $341,274.00


           Curtains / Lamps / Drapes (Frisco Embassy
           Suites)                                                                          $0.00                      $660,450.70


           Televisions (Frisco Embassy Suites)                                              $0.00                      $674,085.00


           Furniture & Fixtures - Hotel (Springfield
           Holiday Inn Express)                                                             $0.00                     $1,632,242.61


           Office Furniture (Springfield Holiday Inn
           Express)                                                                         $0.00                        $19,223.00


           Mattresses & Springs (Springfield Holiday Inn
           Express)                                                                         $0.00                        $84,706.00


           Curtains / Lamps / Drapes (Springfield Holiday
           Inn Express)                                                                     $0.00                      $241,631.58


           Televisions (Springfield Holiday Inn Express)                                    $0.00                      $129,059.54


           Furniture & Fixtures - Hotel (Hot Springs
           Embassy Suites)                                                                  $0.00                     $5,429,673.28


           Office Furniture (Hot Springs Embassy Suites)                                    $0.00                        $44,811.00


           Mattresses & Springs (Hot Springs Embassy
           Suites)                                                                          $0.00                      $211,999.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                 page 4
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 Debtor         John Q. Hammons Fall 2006, LLC                                               Case number (If known)
                Name



           Curtains / Lamps / Drapes (Hot Springs
           Embassy Suites)                                                                  $0.00                      $1,106,371.40


           Televisions (Hot Springs Embassy Suites)                                         $0.00                        $554,468.00


           Furniture & Fixtures - Hotel (Junction City
           Courtyard)                                                                       $0.00                      $1,084,642.69


           Office Furniture (Junction City Courtyard)                                       $0.00                            $8,862.00


           Mattresses & Springs (Junction City
           Courtyard)                                                                       $0.00                          $26,674.00


           Curtains / Lamps / Drapes (Junction City
           Courtyard)                                                                       $0.00                        $215,989.11


           Televisions (Junction City Courtyard)                                            $0.00                          $52,841.35



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Telephone Equipment (Hampton Embassy
           Suites)                                                                          $0.00                         $392,698.00


           Telephone Equipment (Frisco Embassy Suites)                                      $0.00                        $819,497.01


           Telephone Equipment (Springfield Holiday Inn
           Express)                                                                         $0.00                        $262,353.45


           Telephone Equipment (Hot Springs Embassy
           Suites)                                                                          $0.00                        $435,596.00


           Telephone Equipment (Junction City
           Courtyard)                                                                       $0.00                        $110,925.14



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                           $29,438,223.98
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
                                      Case 16-21142                  Doc# 1     Filed 06/26/16       Page 12 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                                Case number (If known)
                Name


               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Office Mechanical Equipment (Hampton
           Embassy Suites)                                                                  $0.00                                     $416,857.92


           Laundry Equipment (Hampton Embassy
           Suites)                                                                          $0.00                                     $249,161.00


           Restaurant Equipment (Hampton Embassy
           Suites)                                                                          $0.00                                   $1,369,872.00


           Miscellaneous Equipment - Restaurant
           (Hampton Embassy Suites)                                                         $0.00                                     $491,659.58


           Office Mechanical Equipment (Frisco Embassy
           Suites)                                                                          $0.00                                     $883,912.01


           Laundry Equipment (Frisco Embassy Suites)                                        $0.00                                     $434,304.06


           Restaurant Equipment (Frisco Embassy
           Suites)                                                                          $0.00                                   $3,634,269.70


           Miscellaneous Equipment - Restaurant (Frisco
           Embassy Suites)                                                                  $0.00                                   $2,056,132.53


           Miscellaneous Equipment - Hotel (Frisco
           Embassy Suites)                                                                  $0.00                                   $3,250,702.39


           Office Mechanical Equipment (Springfield
           Holiday Inn Express)                                                             $0.00                                     $309,636.58


           Laundry Equipment (Springfield Holiday Inn
           Express)                                                                         $0.00                                      $79,721.85

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                                      Case 16-21142                  Doc# 1     Filed 06/26/16        Page 13 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                               Case number (If known)
                Name



           Restaurant Equipment (Springfield Holiday Inn
           Express)                                                                         $0.00                          $517,524.00


           Miscellaenous Equipment - Restaurant
           (Springfield Holiday Inn Express)                                                $0.00                            $73,063.34


           Miscellaneous Equipment - Hotel (Springfield
           Holiday Inn Express)                                                             $0.00                          $619,795.36


           Office Mechanical Equipment (Hot Springs
           Embassy Suites)                                                                  $0.00                          $622,839.76


           Laundry Equipment (Hot Springs Embassy
           Suites)                                                                          $0.00                          $408,004.00


           Restaurant Equipment (Hot Springs Embassy
           Suites)                                                                          $0.00                         $1,738,004.83


           Miscellaneous Equipment - Restaurant (Hot
           Springs Embassy Suites)                                                          $0.00                         $1,168,069.61


           Miscellaneous Equipment - Hotel (Hot Springs
           Embassy Suites)                                                                  $0.00                         $2,059,980.30


           Office Mechanical Equipment (Junction City
           Courtyard)                                                                       $0.00                          $235,741.40


           Laundry Equipment (Junction City Courtyard)                                      $0.00                            $44,691.00


           Restaurant Equipment (Junction City
           Courtyard)                                                                       $0.00                          $385,498.08


           Miscellaneous Equipment - Restaurant
           (Junction City Courtyard)                                                        $0.00                          $356,926.16


           Miscellaneous Equipment - Hotel (Junction
           City Courtyard)                                                                  $0.00                          $369,150.53




 51.       Total of Part 8.                                                                                           $21,775,517.99
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
                                      Case 16-21142                  Doc# 1     Filed 06/26/16       Page 14 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                                Case number (If known)
                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Holiday Inn Express
                     & Suites Springfield,
                     1117 E. Louis St.,
                     Springfield, MO
                     65806                                Fee Simple                        $0.00                                         Unknown


           55.2.     Embassy Suites
                     Dallas Frisco Hotel
                     Convention Center &
                     Spa, 7600 John Q.
                     Hammons Drive,
                     Frisco, TX 75034 -
                     Hotel                                Fee Simple                        $0.00                                         Unknown


           55.3.     Embassy Suites
                     Dallas Frisco Hotel
                     Convention Center &
                     Spa, 7600 John Q.
                     Hammons Drive,
                     Frisco, TX 75034 -                   Leasehold
                     Convention Center                    Interest                          $0.00                                         Unknown


           55.4.     Embassy Suites
                     Dallas Frisco Hotel
                     Convention Center &
                     Spa, 7600 John Q.
                     Hammons Drive,
                     Frisco, TX 75034 -                   Leasehold
                     Parking Garage                       Interest                          $0.00                                         Unknown


           55.5.     Embassy Suites
                     Hampton Roads -
                     Hotel, Spa &
                     Convention Center,
                     1700 Coliseum Drive,                 Leasehold
                     Hampton, VA 23666                    Interest                          $0.00                                         Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 8
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                                      Case 16-21142                  Doc# 1     Filed 06/26/16        Page 15 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                               Case number (If known)
                Name

            55.6.    Marriott Courtyard
                     Junction City &
                     Geary County
                     Convention Center,
                     310 Hammons Drive,
                     Junction City, KS
                     66441                                Fee Simple                        $0.00                                   Unknown


            55.7.    Embassy Suites Hot
                     Springs - Hotel &
                     Spa, 400 Convention
                     Boulevard, Hot
                     Springs, AR 71901                    Fee Simple                        $0.00                                   Unknown


            55.8.    South Parking Lot for
                     Embassy Suites Hot
                     Springs - Hotel & Spa
                     (0.94 acres), 400
                     Convention
                     Boulevard, Hot
                     Springs, AR 71901                    Fee Simple                        $0.00                                   Unknown




 56.        Total of Part 9.                                                                                                           $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                        Current value of
                                                                                                                        debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 9
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                                      Case 16-21142                  Doc# 1     Filed 06/26/16         Page 16 of 290
 Debtor         John Q. Hammons Fall 2006, LLC                                               Case number (If known)
                Name



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Counterclaims asserted againts JD Holdings, LLC in
           Delaware Action                                                                                                 Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                 page 10
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                                      Case 16-21142                  Doc# 1      Filed 06/26/16      Page 17 of 290
 Debtor          John Q. Hammons Fall 2006, LLC                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $190,566.27

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $910,785.35

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $701,918.24

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                    $29,438,223.98

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $21,775,517.99

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $53,017,011.83             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $53,017,011.83




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 11
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                         Case 16-21142                       Doc# 1             Filed 06/26/16                   Page 18 of 290
 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
       Barclays Capital Real
 2.1                                                  Describe debtor's property that is subject to a lien                        Unknown                  Unknown
       Estate
       Creditor's Name                                Holiday Inn Express & Suites Springfield,
                                                      1117 E. Louis St., Springfield, MO 65806
       200 Park Avenue
       New York, NY 10166
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.2
       Barclays Capital Real
       Estate                                         Describe debtor's property that is subject to a lien                        Unknown                  Unknown
       Creditor's Name                                Embassy Suites Dallas Frisco Hotel
                                                      Convention Center & Spa, 7600 John Q.
       200 Park Avenue                                Hammons Drive, Frisco, TX 75034 - Hotel
       New York, NY 10166
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                                        Case 16-21142                   Doc# 1         Filed 06/26/16               Page 19 of 290
 Debtor       John Q. Hammons Fall 2006, LLC                                                           Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.3
       Barclays Capital Real
       Estate                                         Describe debtor's property that is subject to a lien                     Unknown   Unknown
       Creditor's Name                                Embassy Suites Dallas Frisco Hotel
                                                      Convention Center & Spa, 7600 John Q.
                                                      Hammons Drive, Frisco, TX 75034 -
       200 Park Avenue                                Convention Center
       New York, NY 10166
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.4
       Barclays Capital Real
       Estate                                         Describe debtor's property that is subject to a lien                     Unknown   Unknown
       Creditor's Name                                Embassy Suites Dallas Frisco Hotel
                                                      Convention Center & Spa, 7600 John Q.
                                                      Hammons Drive, Frisco, TX 75034 - Parking
       200 Park Avenue                                Garage
       New York, NY 10166
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Barclays Capital Real
 2.5                                                                                                                           Unknown   Unknown
       Estate                                         Describe debtor's property that is subject to a lien
       Creditor's Name                                Embassy Suites Hampton Roads - Hotel, Spa
                                                      & Convention Center, 1700 Coliseum Drive,
       200 Park Avenue                                Hampton, VA 23666
       New York, NY 10166

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                                        Case 16-21142                   Doc# 1         Filed 06/26/16               Page 20 of 290
 Debtor       John Q. Hammons Fall 2006, LLC                                                           Case number (if know)
              Name

       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.6
       Barclays Capital Real
       Estate                                         Describe debtor's property that is subject to a lien                     Unknown    Unknown
       Creditor's Name                                Marriott Courtyard Junction City & Geary
                                                      County Convention Center, 310 Hammons
       200 Park Avenue                                Drive, Junction City, KS 66441
       New York, NY 10166
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.7
       Barclays Capital Real
       Estate                                         Describe debtor's property that is subject to a lien                        $0.00   Unknown
       Creditor's Name                                Embassy Suites Hot Springs - Hotel & Spa,
                                                      400 Convention Boulevard, Hot Springs, AR
       200 Park Avenue                                71901
       New York, NY 10166
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                                        Case 16-21142                   Doc# 1         Filed 06/26/16               Page 21 of 290
 Debtor       John Q. Hammons Fall 2006, LLC                                                           Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




 2.8
        Barclays Capital Real
        Estate                                        Describe debtor's property that is subject to a lien                        $0.00               Unknown
        Creditor's Name                               South Parking Lot for Embassy Suites Hot
                                                      Springs - Hotel & Spa (0.94 acres), 400
                                                      Convention Boulevard, Hot Springs, AR
        200 Park Avenue                               71901
        New York, NY 10166
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                 $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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                                         Case 16-21142                  Doc# 1         Filed 06/26/16               Page 22 of 290
 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           A S Hospitality                                                      Contingent
           4136 S. McCann Ct.                                                   Unliquidated
           Springfield, MO 65804                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           A-1 Locksmiths                                                       Contingent
           2508 Highlander Way #230                                             Unliquidated
           Carrollton, TX 75006                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           A-Oak Farms Inc                                                      Contingent
           626 Oak Dr                                                           Unliquidated
           Lexington, SC 29073                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           A-W Distributors and Importers                                       Contingent
           PO Box 154123                                                        Unliquidated
           Irving, TX 75015-4123                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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 Debtor       John Q. Hammons Fall 2006, LLC                                                          Case number (if known)
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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          A/V ARKANSAS                                                          Contingent
          819 W 8TH STREET                                                      Unliquidated
          Little Rock, AR 72201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ACC Business                                                          Contingent
          PO Box 105306                                                         Unliquidated
          Atlanta, GA 30348-5306                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ACIS Innovative Solutions                                             Contingent
          PO Box 3274                                                           Unliquidated
          McKinney, TX 75070                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aireco Supply Inc                                                     Contingent
          PO Box 414                                                            Unliquidated
          Savage, MD 20763-0414                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Airgas USA, LLC                                                       Contingent
          P.O. Box 676015                                                       Unliquidated
          Dallas, TX 75267-6015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Allied Waste                                                          Contingent
          Republic Service #957                                                 Unliquidated
          PO Box 9001009                                                        Disputed
          Louisville, KY 40290-1099
                                                                             Basis for the claim:    utility service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alphagraphics                                                         Contingent
          601 W Plano Pkwy                                                      Unliquidated
          Suite 127                                                             Disputed
          Plano, TX 75075
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       John Q. Hammons Fall 2006, LLC                                                          Case number (if known)
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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Altex Computers & Electronics                                         Contingent
          11342 N IH35                                                          Unliquidated
          San Antonio, TX 78233                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ambient Stage Lighting Inc                                            Contingent
          1331 Regal Row #200                                                   Unliquidated
          Dallas, TX 75247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          American Hotel Register                                               Contingent
          P.O. Box 71299                                                        Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          American Quick Foods Inc                                              Contingent
          PO Box 7188                                                           Unliquidated
          Overland Park, KS 66207                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ameritex Guard Services                                               Contingent
          PO Box 850491                                                         Unliquidated
          Richardson, TX 75081-0491                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Andrews Refinishing                                                   Contingent
          2425 Parker Rd                                                        Unliquidated
          Bldg 5                                                                Disputed
          Carrollton, TX 75010
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anytime Labor-Kansas LLC                                              Contingent
          DBA Labormax Staffing                                                 Unliquidated
          PO Box 900                                                            Disputed
          Kearney, MO 64060
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arands Corp                                                           Contingent
          DBA Allstates News                                                    Unliquidated
          1212 Golflinks Rd                                                     Disputed
          Hot Springs, AR 71901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Arctic Refrigeration Inc                                              Contingent
          1501 S Enterprise                                                     Unliquidated
          Springfield, MO 65804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arkansas Democrat Gazette                                             Contingent
          PO Box 2221                                                           Unliquidated
          Little Rock, AR 72203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Art Bakery                                                            Contingent
          3112 N Jupiter Rd #101                                                Unliquidated
          Garland, TX 75044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ASAP Personnel Services                                               Contingent
          PO Box 2139                                                           Unliquidated
          Conway, AR 72033                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Assa Abloy Hospitality                                                Contingent
          PO Box 676947                                                         Unliquidated
          Dallas, TX 75267-6947                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          AT&T                                                                  Contingent
          PO Box 5095                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          AT&T                                                                  Contingent
          PO Box 5094                                                           Unliquidated
          Carol Stream, IL 60197-5094                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Atmos Energy                                                          Contingent
          PO Box 790311                                                         Unliquidated
          Saint Louis, MO 63179-0311                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          B & Z Services Inc                                                    Contingent
          2504 Lafayette Blvd                                                   Unliquidated
          Norfolk, VA 23509                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bartos                                                                Contingent
          PO Box 222136                                                         Unliquidated
          Dallas, TX 75222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Batteries Plus                                                        Contingent
          2216 S Campbell St                                                    Unliquidated
          Springfield, MO 65807                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          BCD Meetings & Events                                                 Contingent
          500 W. Madison St Ste 1200                                            Unliquidated
          Attn: Dawn Marschand                                                  Disputed
          Chicago, IL 60661
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Beaumont Business Music                                               Contingent
          800 N Cedarbrook Ave                                                  Unliquidated
          Springfield, MO 65802-2522                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bertrands Inc                                                         Contingent
          305 Gellhorn Dr                                                       Unliquidated
          Houston, TX 77013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Best Buy Business                                                     Contingent
          Advantage Account                                                     Unliquidated
          PO Box 731247                                                         Disputed
          Dallas, TX 75373-1247
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          BJ's Trophy Shop                                                      Contingent
          1700 E Sunshine                                                       Unliquidated
          Springfield, MO 65804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blackmon-Mooring Inc                                                  Contingent
          PO Box 5728                                                           Unliquidated
          Arlington, TX 76005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Blacksheep Productions Inc                                            Contingent
          5345 Golden Leaf Trail                                                Unliquidated
          Norcross, GA 30092                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blue Mountain Arts Inc                                                Contingent
          Dept V1420                                                            Unliquidated
          PO Box 17180                                                          Disputed
          Denver, CO 80217-0180
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brinks Inc.                                                           Contingent
          7373 Solutions Center                                                 Unliquidated
          Chicago, IL 60677-7003                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          C &P Pump Services Inc                                                Contingent
          PO Box 530644                                                         Unliquidated
          Grand Prairie, TX 75053                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          C.E.S.                                                                Contingent
          Tx Div Accounts Office                                                Unliquidated
          PO Box 203548                                                         Disputed
          Austin, TX 78720
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Caddo Mills Independent                                               Contingent
          School District                                                       Unliquidated
          PO Box 160                                                            Disputed
          Caddo Mills, TX 75135
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carter Machinery Co Inc                                               Contingent
          PO Box 751053                                                         Unliquidated
          Charlotte, NC 28275-1053                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cascade Water Services                                                Contingent
          113 Bloomingdale Rd                                                   Unliquidated
          Hicksville, NY 11801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cawley Co                                                             Contingent
          PO Box 2110                                                           Unliquidated
          Manitowoc, WI 54221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CenterPoint Energy                                                    Contingent
          PO Box 873112                                                         Unliquidated
          Kansas City, MO 64187-3112                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CenturyLink                                                           Contingent
          PO Box 29040                                                          Unliquidated
          Phoenix, AZ 85038-9040                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Champion Carpet                                                       Contingent
          PO Box 14461                                                          Unliquidated
          Springfield, MO 65814                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Champion Waste Services                                               Contingent
          PO Box 565808                                                         Unliquidated
          Dallas, TX 75247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Chef Works, Inc.                                                      Contingent
          12325 KERRAN ST                                                       Unliquidated
          Poway, CA 92064-8837                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chemaqua                                                              Contingent
          P.O. Box 971269                                                       Unliquidated
          Dallas, TX 75397                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Chemtreat Inc                                                         Contingent
          15045 Collections Cntr Dr                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chris Richter or Frisco                                               Contingent
          1009 Westwood Ct                                                      Unliquidated
          Allen, TX 75013                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cintas Corp                                                           Contingent
          97627 Eagle Way                                                       Unliquidated
          Chicago, IL 60678                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cintas Corp                                                           Contingent
          PO Box 88005                                                          Unliquidated
          Chicago, IL 60680-1005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cintas Corp #163/#463/#492                                            Contingent
          PO Box 650838                                                         Unliquidated
          Dallas, TX 75265-0838                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          City of Frisco                                                        Contingent
          PO Box 2730                                                           Unliquidated
          Frisco, TX 75034                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          City Utilities                                                        Contingent
          301 E Central                                                         Unliquidated
          PO Box 551                                                            Disputed
          Springfield, MO 65801
                                                                             Basis for the claim:    utility service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coca Cola Bottling Company                                            Contingent
          PO Box 602937                                                         Unliquidated
          Charlotte, NC 28260-2937                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coliseum Cntrl BID Inc                                                Contingent
          4410 E Claiborne Sq                                                   Unliquidated
          Suite 211                                                             Disputed
          Hampton, VA 23666
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Commlog LLC                                                           Contingent
          1936 S Extension Rd                                                   Unliquidated
          Mesa, AZ 85201                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Compass Energy                                                        Contingent
          PO Box 78934                                                          Unliquidated
          Milwaukee, WI 53278-8934                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Computer Recycling Center                                             Contingent
          528 N Prince Lane                                                     Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Connect Group Enterprises                                             Contingent
          156 2nd St                                                            Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Controlled Conditions                                                 Contingent
          2289 Military Hwy                                                     Unliquidated
          Chesapeake, VA 23320                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Convoy of Hope                                                        Contingent
          330 Patterson Avenue                                                  Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Corporate Building Services                                           Contingent
          PO Box 678546                                                         Unliquidated
          Dallas, TX 75267-8546                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Corporate Building Services                                           Contingent
          PO Box 678546                                                         Unliquidated
          Dallas, TX 75267-8546                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CoServ                                                                Contingent
          PO Box 650785                                                         Unliquidated
          Dallas, TX 75265-0785                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cosmoprop                                                             Contingent
          PO Box 650245                                                         Unliquidated
          Dallas, TX 75265-0245                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cowboys Club                                                          Contingent
          AT&T Stadium                                                          Unliquidated
          One AT&T Way                                                          Disputed
          Arlington, TX 76011
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crest Foodservice Equip                                               Contingent
          605 Jack Rabbit Rd                                                    Unliquidated
          PO 3367                                                               Disputed
          Virginia Beach, VA 23454
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Crown Trophy                                                          Contingent
          1301 Custer Rd                                                        Unliquidated
          Suite 258                                                             Disputed
          Plano, TX 75075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Culligan                                                              Contingent
          3201 Premier Dr.                                                      Unliquidated
          Suite 300                                                             Disputed
          Irving, TX 75063-6075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Daubers Commercial Food                                               Contingent
          Service Equipment                                                     Unliquidated
          7645 Dynatech Court                                                   Disputed
          Springfield, VA 22153
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dermalogica Inc                                                       Contingent
          File 1096                                                             Unliquidated
          1801 W. Olympic Blvd                                                  Disputed
          Pasadena, CA 91199-1096
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Designtex                                                             Contingent
          200 Varick St                                                         Unliquidated
          New York, NY 10014-4894                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dessert Dreams Inc                                                    Contingent
          409 N Briery Rd                                                       Unliquidated
          Irving, TX 75061                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DFW Communications Inc                                                Contingent
          PO Box 226467                                                         Unliquidated
          Dallas, TX 75222-6467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Direct Source Products                                                Contingent
          PO Box 270530                                                         Unliquidated
          Flower Mound, TX 75027                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Direct TV                                                             Contingent
          P.O. Box 60036                                                        Unliquidated
          Los Angeles, CA 90060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dominion                                                              Contingent
          PO Box 26543                                                          Unliquidated
          Richmond, VA 23290-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Door Control Services Inc                                             Contingent
          PO Box 220                                                            Unliquidated
          Dept 251                                                              Disputed
          Bettendorf, IA 52722-0004
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dorado Finance Ltd                                                    Contingent
          10737 Gateway West #204                                               Unliquidated
          El Paso, TX 79935                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dow Jones & Co, Inc.                                                  Contingent
          Wall Street Journal or Barrons                                        Unliquidated
          P.O. Box 4137                                                         Disputed
          New York, NY 10261-4137
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dunbar Armored Inc                                                    Contingent
          PO Box 64115                                                          Unliquidated
          Baltimore, MD 21264-4115                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eck Supply Co                                                         Contingent
          PO Box 743608                                                         Unliquidated
          Atlanta, GA 30374-3608                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ecolab                                                                Contingent
          PO Box 32027                                                          Unliquidated
          New York, NY 10087-2027                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ecolab Inc                                                            Contingent
          PO Box 70343                                                          Unliquidated
          Chicago, IL 60673-0343                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ECS Inc/Ripplepoint                                                   Contingent
          P.O. Box 6190                                                         Unliquidated
          Orlando, FL 32802                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Edward Don                                                            Contingent
          2562 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          EM2                                                                   Contingent
          4401 Freidrich Lane                                                   Unliquidated
          Bldg 2 Suite 205                                                      Disputed
          Austin, TX 78744
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Entergy                                                               Contingent
          PO Box 8101                                                           Unliquidated
          Baton Rouge, LA 70891-8101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Equipmentshare.com                                                    Contingent
          1123 Wilkes Blvd                                                      Unliquidated
          Suite 120                                                             Disputed
          Columbia, MO 65201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ERC Wiping Products Inc                                               Contingent
          19 Bennett St                                                         Unliquidated
          Lynn, MA 01905                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Essential Events                                                      Contingent
          1825 Barrett Lakes Blvd                                               Unliquidated
          Suites 310                                                            Disputed
          Kennesaw, GA 30144
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          EXPERIENT INC                                                         Contingent
          PO BOX 932320                                                         Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Express Services, Inc.                                                Contingent
          P.O. Box 203901                                                       Unliquidated
          Dallas, TX 75320-3901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          F & S Electronics                                                     Contingent
          620 N Washington                                                      Unliquidated
          Junction City, KS 66441                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fabriclean Supply of Dallas                                           Contingent
          8301 Ambassador Row                                                   Unliquidated
          Dallas, TX 75247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Facility Solutions Group                                              Contingent
          PO Box 896508                                                         Unliquidated
          Charlotte, NC 28289-6508                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FedEx                                                                 Contingent
          P.O. Box 371461                                                       Unliquidated
          Pittsburgh, PA 15250-7461                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FedEx                                                                 Contingent
          P.O. Box 660481                                                       Unliquidated
          Dallas, TX 75266-0481                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FedEx                                                                 Contingent
          P.O. Box 94515                                                        Unliquidated
          Palatine, IL 60094-4515                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ferguson Enterprises Inc                                              Contingent
          PO Box 417592                                                         Unliquidated
          Boston, MA 02241-7592                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fire & Life Safety America Inc                                        Contingent
          1113 Cavalier Blvd                                                    Unliquidated
          Chesapeake, VA 23323                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Firstaff Inc                                                          Contingent
          2024 Arkansas Valley 708                                              Unliquidated
          Little Rock, AR 72212                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fitness Service of North Texas                                        Contingent
          11126 Shady Trail #108                                                Unliquidated
          Dallas, TX 75229                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Forbes Industries Inc                                                 Contingent
          1933 E Locust St                                                      Unliquidated
          Ontario, CA 91761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Freedman Food Service Inc                                             Contingent
          Dept 55                                                               Unliquidated
          P.O. Box 1066                                                         Disputed
          Houston, TX 77251-1066
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fresh Pasta Delights                                                  Contingent
          2680 Nova Drive                                                       Unliquidated
          Dallas, TX 75229                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Freshpoint                                                            Contingent
          3100 N I-35 Service Road                                              Unliquidated
          Oklahoma City, OK 73111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Freshpoint Dallas                                                     Contingent
          4721 Simonton Road                                                    Unliquidated
          Dallas, TX 75244                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Frito-Lay Inc                                                         Contingent
          75 Remittance Dr #1217                                                Unliquidated
          Chicago, IL 60675-1217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Garda CL Southwest, Inc.                                              Contingent
          3209 Momentum Place                                                   Unliquidated
          Lockbox #233209                                                       Disputed
          Chicago, IL 60689-5332
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          General Parts LLC                                                     Contingent
          MI10 PO Box 9201                                                      Unliquidated
          Minneapolis, MN 55480-9201                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Girvin Marketing Co., Inc.                                            Contingent
          17751 Sky Park Circle                                                 Unliquidated
          Suite B                                                               Disputed
          Irvine, CA 92614-6515
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Glo Dry Cleaning Specialists                                          Contingent
          2023 S Glenstone                                                      Unliquidated
          Springfield, MO 65804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gourmet Foods Inc.                                                    Contingent
          P.O. Box 9004                                                         Unliquidated
          Compton, CA 90224-9004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gourmet Table Skirts                                                  Contingent
          PO BOX 1564 DEPT 256                                                  Unliquidated
          Houston, TX 77251-1564                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grainger                                                              Contingent
          Dept. C-Pay                                                           Unliquidated
          Palatine, IL 60038-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Grainger                                                              Contingent
          Dept 866120082                                                        Unliquidated
          PO Box 419267                                                         Disputed
          Kansas City, MO 64141
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Great Lakes Popcorn Co                                                Contingent
          PO Box 902                                                            Unliquidated
          Lake Orion, MI 48361                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Group Dynamix                                                         Contingent
          1215 Trend Dr                                                         Unliquidated
          Carrollton, TX 75006-5409                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guest Supply - Sysco                                                  Contingent
          PO Box 910                                                            Unliquidated
          Monmouth Junction, NJ 08852-0910                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          HAMPTON INN & SUITES                                                  Contingent
          DALLAS/FRISCO,N FIELDHOUS                                             Unliquidated
          6070 SPORTS VILLAGE RD                                                Disputed
          Frisco, TX 75033
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hampton Inn-Newport News                                              Contingent
          3101 Coliseum Dr                                                      Unliquidated
          Hampton, VA 23666                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hampton Roads Convention Ctr                                          Contingent
          1610 Coliseum Dr                                                      Unliquidated
          Hampton, VA 23666                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          HBM SUPPLY OF TEXAS INC                                               Contingent
          8516 DIRECTORS ROW                                                    Unliquidated
          Dallas, TX 75247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          HD Supply Facilities                                                  Contingent
          P.O. Box 509058                                                       Unliquidated
          San Diego, CA 92150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Heartland Food Products                                               Contingent
          1900 W 47th Place, Suite 302                                          Unliquidated
          Mission, KS 66205                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hewlett-Packard Co.                                                   Contingent
          PO Box 105005                                                         Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hiland Dairy Co.                                                      Contingent
          P.O. Box 2270                                                         Unliquidated
          Springfield, MO 65801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          HILTON DALLAS/GRANITE PRK                                             Contingent
          5805 GRANITE PKWY                                                     Unliquidated
          Plano, TX 75024                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hilton Hotels Corporation                                             Contingent
          4649 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hobart Service                                                        Contingent
          ITW Food Equipment Group                                              Unliquidated
          PO Box 2517                                                           Disputed
          Carol Stream, IL 60132
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holiday Inn North                                                     Contingent
          2720 N Glenstone                                                      Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Home Depot Credit Service                                             Contingent
          PO Box 9055                                                           Unliquidated
          Des Moines, IA 50368-9055                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Homesite Insurance Co                                                 Contingent
          PO Box 912470                                                         Unliquidated
          Denver, CO 80291-2470                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hospitality Staffing Solutions                                        Contingent
          PO Box 742822                                                         Unliquidated
          Atlanta, GA 30374-2822                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hot Springs Municipal                                                 Contingent
          PO Box 66743                                                          Unliquidated
          Saint Louis, MO 63166-6743                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hotelsigns.com                                                        Contingent
          PO Box 5996                                                           Unliquidated
          Chattanooga, TN 37406                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          HRSD Wastewater Treatment                                             Contingent
          PO Box 71092                                                          Unliquidated
          Charlotte, NC 28272-1092                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ice-Masters Inc                                                       Contingent
          3101 SW Van Buren                                                     Unliquidated
          Topeka, KS 66611                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Identity Group                                                        Contingent
          PO Box 292289                                                         Unliquidated
          Nashville, TN 37229                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ikon/Ricoh Services                                                   Contingent
          PO Box 660342                                                         Unliquidated
          Dallas, TX 75266-0342                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Images in Art Signs & Graphics                                        Contingent
          5610 Lewis B. Puller Hwy                                              Unliquidated
          Shacklefords, VA 23156                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Innerworkings                                                         Contingent
          7503 Solution Center                                                  Unliquidated
          Accounts Receivable                                                   Disputed
          Chicago, IL 60677-7005
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          J.C. Schultz Enters. Inc.                                             Contingent
          951 Swanson Drive                                                     Unliquidated
          Batavia, IL 60510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jay Key Service Inc                                                   Contingent
          1106 St Louis                                                         Unliquidated
          Springfield, MO 65806                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JD Holdings, LLC                                                      Contingent
          c/o Jonathan D. Eilian                                                Unliquidated
          152 West 57th St, 56th Floor                                          Disputed
          New York, NY 10023
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jeff's Flowers of Course Inc.                                         Contingent
          300 ED WRIGHT LANE                                                    Unliquidated
          Newport News, VA 23606                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          John Q Hammons Hotels
          Management LLC                                                        Contingent
          300 John Q Hammons Parkway                                            Unliquidated
          Suite 900                                                             Disputed
          Springfield, MO 65806
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          John R. Neal & Assoc Inc                                              Contingent
          PO Box 550127                                                         Unliquidated
          Dallas, TX 75355-0127                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnson Controls Inc.                                                 Contingent
          P.O. Box 730068                                                       Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JQH Accounting Services LLC                                           Contingent
          300 John Q Hammons Parkway                                            Unliquidated
          Suite 900                                                             Disputed
          Springfield, MO 65806
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Junction City Water Dept                                              Contingent
          700 N Jefferson St                                                    Unliquidated
          PO Box 287                                                            Disputed
          Junction City, KS 66441-0287
                                                                             Basis for the claim:    utility service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kansas Gas Service                                                    Contingent
          PO Box 219296                                                         Unliquidated
          Kansas City, MO 64121-9296                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Karcher North America                                                 Contingent
          Dept. Ch 19244                                                        Unliquidated
          Palatine, IL 60055-9244                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kilpatrick Townsend                                                   Contingent
          PO Box 945614                                                         Unliquidated
          Atlanta, GA 30394                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kone Inc                                                              Contingent
          6082                                                                  Unliquidated
          PO Box 7247                                                           Disputed
          Philadelphia, PA 19170
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          La Spiga Bakery                                                       Contingent
          4203 Lindbergh                                                        Unliquidated
          Addison, TX 75001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Las Colinas Printing & Graphic                                        Contingent
          5330 N MacArthur Blvd                                                 Unliquidated
          Suite 154                                                             Disputed
          Irving, TX 75038
                                                                             Basis for the claim:    trade debt Frisco ES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LCR Technologies Inc                                                  Contingent
          PO Box 701237                                                         Unliquidated
          Dallas, TX 75370-1237                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LESLIE'S SWIMMING POOL SUPPLY                                         Contingent
          PO BOX 501162                                                         Unliquidated
          Saint Louis, MO 63150-1162                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LG Electronics - Alabama                                              Contingent
          P.O. Box 22230                                                        Unliquidated
          Network Place                                                         Disputed
          Chicago, IL 60673-1222
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Liquid Environmental                                                  Contingent
          Solutions LLC                                                         Unliquidated
          PO Box 203371                                                         Disputed
          Dallas, TX 75320-3371
                                                                             Basis for the claim:    trade debt Frisco ES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lodging Television Service                                            Contingent
          PO Box 1685                                                           Unliquidated
          Williamsburg, VA 23185                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marsh USA Inc.                                                        Contingent
          PO Box 846015                                                         Unliquidated
          Dallas, TX 75284-6015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mascot Plumbing                                                       Contingent
          1782 McDermott                                                        Unliquidated
          Allen, TX 75013                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Medco Wholesale Distributor                                           Contingent
          102-A Sylvania Ave.                                                   Unliquidated
          Folsom, PA 19033                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Merritt Wholesale Distrib                                             Contingent
          626 Quachita Ave                                                      Unliquidated
          Hot Springs, AR 71901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mid America Metals Inc                                                Contingent
          PO Box 860                                                            Unliquidated
          Ozark, MO 65721                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Midwest Office                                                        Contingent
          1939 E Phelps                                                         Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Midwest Office                                                        Contingent
          1939 E Phelps                                                         Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Miller Chemical Co                                                    Contingent
          243 W Grand Ave                                                       Unliquidated
          Hot Springs, AR 71901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Minuteman Press                                                       Contingent
          410 N Greenville Ave                                                  Unliquidated
          Suite 122                                                             Disputed
          Allen, TX 75002
                                                                             Basis for the claim:    trade debt Frisco ES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Missouri Department of Revenue                                        Contingent
          140 Park Central Square                                               Unliquidated
          Room 313                                                              Disputed
          Springfield, MO 65806
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mister B's Laundry                                                    Contingent
          PO BOX 22243                                                          Unliquidated
          Newport News, VA 23609                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Moffett Services LLC                                                  Contingent
          2948 Old Squall Dr                                                    Unliquidated
          Fort Worth, TX 76118                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Muzak LLC                                                             Contingent
          PO Box 71070                                                          Unliquidated
          Charlotte, NC 28272-1070                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Myers Supply & Chemical                                               Contingent
          Dept 1835                                                             Unliquidated
          PO Box 2153                                                           Disputed
          Birmingham, AL 35287-1835
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New York Bagel Cafe                                                   Contingent
          2512 Summit Ave #305                                                  Unliquidated
          Plano, TX 75074                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Newport News Water                                                    Contingent
          PO Box 979                                                            Unliquidated
          Newport News, VA 23607-0979                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NOR1 INC                                                              Contingent
          DEPT LA 24315                                                         Unliquidated
          Pasadena, CA 91185-4315                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oak Farms Dairy                                                       Contingent
          PO Box 200300                                                         Unliquidated
          Dallas, TX 75320-0300                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          One Comm Technologies Inc                                             Contingent
          PO Box 797902                                                         Unliquidated
          Dallas, TX 75379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oriental Trading Company                                              Contingent
          P.O. Box 14502                                                        Unliquidated
          Des Moines, IA 50306-3502                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oriental Trading Company                                              Contingent
          P.O. Box 14502                                                        Unliquidated
          Des Moines, IA 50306-3502                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ozarks Coca-Cola/Dr Pepper                                            Contingent
          PO Box 11250                                                          Unliquidated
          Springfield, MO 65808                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pellerin Laundry Mach Inc                                             Contingent
          PO Box 1137                                                           Unliquidated
          Kenner, LA 70063                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Peninsula Electric Motor                                              Contingent
          742 Blue Crab Rd                                                      Unliquidated
          Newport News, VA 23606                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pepsi-Cola                                                            Contingent
          PO Box 841828                                                         Unliquidated
          Dallas, TX 75284-1828                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Performance Interiors                                                 Contingent
          PO Box 360170                                                         Unliquidated
          Pittsburgh, PA 15251-6170                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Petals, a Florist                                                     Contingent
          Lakeside Market                                                       Unliquidated
          5805 Preston Rd, Suite 598                                            Disputed
          Plano, TX 75093
                                                                             Basis for the claim:    trade debt Frisco ES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pevonia Int'l LLC                                                     Contingent
          300 Fentress Blvd                                                     Unliquidated
          Daytona Beach, FL 32114                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plant Care Co                                                         Contingent
          2276 Larson Lane                                                      Unliquidated
          Dallas, TX 75229                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plants in Design                                                      Contingent
          13215 Deer Run                                                        Unliquidated
          Dallas, TX 75243                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plasticard-Locktech Int'l                                             Contingent
          605 Sweeten Creek                                                     Unliquidated
          Industrial Park                                                       Disputed
          Asheville, NC 28803
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plumbmaster Inc                                                       Contingent
          PO Box 842370                                                         Unliquidated
          Boston, MA 02284-2370                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Polk Mechanical Company                                               Contingent
          2425 Dillard Street                                                   Unliquidated
          Grand Prairie, TX 75051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pressurized Inc                                                       Contingent
          PO Box 4015                                                           Unliquidated
          Hot Springs, AR 71914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Professional Beverage Svc                                             Contingent
          1056 HCR 4251                                                         Unliquidated
          Hillsboro, TX 76645                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Professional Coil Cleaning Inc                                        Contingent
          609B 112th St                                                         Unliquidated
          Arlington, TX 76011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Prosolutions LLC                                                      Contingent
          707 E CERVANTES ST B#126                                              Unliquidated
          Pensacola, FL 32501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          PSAV Presentation Srv., Inc.                                          Contingent
          23918 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Queen's Winery                                                        Contingent
          3433 W Kingsley                                                       Unliquidated
          Unit 6                                                                Disputed
          Garland, TX 75041
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Quest Audio LLC                                                       Contingent
          2709 Sunny Meadows                                                    Unliquidated
          McKinney, TX 75070                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          R.L. Schreiber Inc.                                                   Contingent
          1741 NW 33rd Street                                                   Unliquidated
          Pompano Beach, FL 33064                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rayfield Communications                                               Contingent
          2018 West Woodland                                                    Unliquidated
          Springfield, MO 65807                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ready Refresh by Nestle                                               Contingent
          P.O. Box 856680                                                       Unliquidated
          Louisville, KY 40285-6680                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Red Book Connect LLC                                                  Contingent
          33270 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693-0332                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Red Bull Distribution                                                 Contingent
          PO Box 204750                                                         Unliquidated
          Dallas, TX 75320-4750                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Regal Awards Inc                                                      Contingent
          6165 Center St                                                        Unliquidated
          Omaha, NE 68106                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Republic National Dist. Co.                                           Contingent
          8000 Southpark Terrace                                                Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Republic Services                                                     Contingent
          PO Box 9001099                                                        Unliquidated
          Louisville, KY 40290-1099                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Restaurantware LLC                                                    Contingent
          360 W Illinois #605                                                   Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt Frisco ES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ricoh USA Inc                                                         Contingent
          PO Box 660342                                                         Unliquidated
          Dallas, TX 75266-0342                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES, Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ridgeway Communications                                               Contingent
          Enterprises                                                           Unliquidated
          5694 Shelby Oaks Dr #1-3                                              Disputed
          Memphis, TN 38134-7325
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rolling Stone Inc                                                     Contingent
          2221 Justin Rd #119-330                                               Unliquidated
          Flower Mound, TX 75028                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Room360 by FOH                                                        Contingent
          7630 Biscayne Blvd                                                    Unliquidated
          Miami, FL 33138                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rothwell Landscape Inc                                                Contingent
          1607 Fairlane                                                         Unliquidated
          Manhattan, KS 66502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Roto-Rooter                                                           Contingent
          5672 Collections Center                                               Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ROYAL CUP INC                                                         Contingent
          PO BOX 206011                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Paper Corp                                                      Contingent
          10232 Palm Dr                                                         Unliquidated
          Santa Fe Springs, CA 90670                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RR DONNELLEY                                                          Contingent
          7810 SOLUTION CENTER                                                  Unliquidated
          CHICAGO, IL 60677-7008                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ryan LLC                                                              Contingent
          PO Box 848351                                                         Unliquidated
          Dallas, TX 75284-8351                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Saflok                                                                Contingent
          PO Box 890247                                                         Unliquidated
          Charlotte, NC 28289-0247                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sam's Club                                                            Contingent
          P.O. Box 530981                                                       Unliquidated
          Atlanta, GA 30353-0981                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Scentair Tech. Inc.                                                   Contingent
          P.O. Box 978754                                                       Unliquidated
          Dallas, TX 75397-9865                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SCHNEIDER ELECTRIC                                                    Contingent
          TELVENT DTN                                                           Unliquidated
          26385 NETWORK PL                                                      Disputed
          CHICAGO, IL 60673
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Scotty's Signs Inc                                                    Contingent
          dba Martin's Custom Design                                            Unliquidated
          340 Ed Wright Lane                                                    Disputed
          Newport News, VA 23606
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Seafood Supply Co                                                     Contingent
          1500 E Griffin                                                        Unliquidated
          Dallas, TX 75215                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Seminole Energy                                                       Contingent
          PO Box 873112                                                         Unliquidated
          Kansas City, MO 64187-3112                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Serta Mattrress Co                                                    Contingent
          8415 ARDWICK-ARDMORE RD                                               Unliquidated
          Landover, MD 20785                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sertifi                                                               Contingent
          350 N. LaSalle                                                        Unliquidated
          Suite 1020                                                            Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shaw Contract Flooring                                                Contingent
          MAIL DROP 245/DEPT 730012                                             Unliquidated
          PO BOX 660919                                                         Disputed
          Dallas, TX 75266-0919
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shoes for Crews LLC                                                   Contingent
          P.O. Box 504634                                                       Unliquidated
          Saint Louis, MO 63150-4634                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shred-it USA LLC                                                      Contingent
          PO BOX 13574                                                          Unliquidated
          Newark, NJ 07188-3574                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Signature Garment Care Inc                                            Contingent
          5020 Sharp St                                                         Unliquidated
          Dallas, TX 75247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SIMPLEXGRINNELL                                                       Contingent
          DEPT CH 10320                                                         Unliquidated
          Palatine, IL 60055-0320                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Smith Consulting Assc Inc                                             Contingent
          1314-A Twin Oaks                                                      Unliquidated
          Jonesboro, AR 72401                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Snack Express                                                         Contingent
          PO Box 61                                                             Unliquidated
          Oskaloosa, IA 52577                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sodexo Inc & Affiliates                                               Contingent
          PO Box 352                                                            Unliquidated
          Attn: Crystal Cala                                                    Disputed
          Buffalo, NY 14240
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sonifi (Lodgenet) Solutions                                           Contingent
          P.O. Box 505225                                                       Unliquidated
          Saint Louis, MO 63150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Source Strategies Inc                                                 Contingent
          PO Box 120055                                                         Unliquidated
          San Antonio, TX 78212                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Southern GF Company                                                   Contingent
          PO Box 2227                                                           Unliquidated
          Tucker, GA 30085-2227                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Spectrum Audio Visual                                                 Contingent
          Spectrum Media Corp.                                                  Unliquidated
          P.O. Box 347693                                                       Disputed
          Pittsburgh, PA 15251-4693
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Springfield Area Chamber                                              Contingent
          of Commerce                                                           Unliquidated
          PO Box 1687                                                           Disputed
          Springfield, MO 65801
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Springfield Stamp & Engraving                                         Contingent
          1416 S Glenstone                                                      Unliquidated
          Springfield, MO 65804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SPRINT                                                                Contingent
          PO BOX 4181                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Staff Pro Workforce                                                   Contingent
          Solutions LLC                                                         Unliquidated
          P.O. Box 6069                                                         Disputed
          Gulfport, MS 39506
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Staffing Plus, Inc                                                    Contingent
          314 W Commercial St                                                   Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Staples Business Advantage                                            Contingent
          P.O. Box 83689                                                        Unliquidated
          Chicago, IL 60696-3689                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Star Wholesale Supply                                                 Contingent
          535 North Fremont                                                     Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Starbucks Coffee Co.                                                  Contingent
          P.O. Box 74008016                                                     Unliquidated
          Chicago, IL 60674-8016                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stonecipher Distributors                                              Contingent
          200 Valley                                                            Unliquidated
          Hot Springs, AR 71901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stroope Tire Inc                                                      Contingent
          PO Box 1531                                                           Unliquidated
          Hot Springs, AR 71901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Superior Fitness Svc                                                  Contingent
          3205 Lorton Ct                                                        Unliquidated
          Virginia Beach, VA 23452                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sysco                                                                 Contingent
          24500 Northwest Freeway                                               Unliquidated
          Cypress, TX 77429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sysco                                                                 Contingent
          P.O. Box 40                                                           Unliquidated
          Olathe, KS 66051                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Talx Corp.                                                            Contingent
          4076 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674-4076                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TDIndustries                                                          Contingent
          PO Box 300008                                                         Unliquidated
          Dallas, TX 75303-0008                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Texas Comptroller of Public
          Accounts                                                              Contingent
          PO Box 13528                                                          Unliquidated
          Capitol Station                                                       Disputed
          Austin, TX 78711-3528
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TFC Recycling                                                         Contingent
          PO Box 890336                                                         Unliquidated
          Charlotte, NC 28289-0336                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Corporate Image Inc                                               Contingent
          4646 Sunbelt Dr                                                       Unliquidated
          Addison, TX 75001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Dallas Temps Corp                                                 Contingent
          PO Box 59757                                                          Unliquidated
          Dallas, TX 75229-1757                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Frisco ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Filta Group, Inc.                                                 Contingent
          7075 Kingspoint Parkway                                               Unliquidated
          Suite 1                                                               Disputed
          Orlando, FL 32819
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Hotel Association                                                 Contingent
          11700 Preston Rd                                                      Unliquidated
          Suite 660 #286                                                        Disputed
          Dallas, TX 75230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          THE KNOWLAND GROUP LLC                                                Contingent
          P.O.BOX 347710                                                        Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Regal Press, Inc.                                                 Contingent
          79 Astor Avenue                                                       Unliquidated
          Norwood, MA 02062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Regal Press, Inc.                                                 Contingent
          79 Astor Avenue                                                       Unliquidated
          Norwood, MA 02062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Sentinel-Record                                                   Contingent
          PO Box 2221                                                           Unliquidated
          Little Rock, AR 72203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tiff's Treats                                                         Contingent
          819 W Arapaho Rd                                                      Unliquidated
          Suite 24-B, #266                                                      Disputed
          Richardson, TX 75080
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tingue Brown & Company                                                Contingent
          P.O. Box 824619                                                       Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Trane US, Inc.                                                        Contingent
          PO Box 845053                                                         Unliquidated
          Dallas, TX 75284-5053                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travel Leaders Corp LLC                                               Contingent
          Attn Jean Barney                                                      Unliquidated
          3033 Campus Dr Ste 320                                                Disputed
          Minneapolis, MN 55441
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Travel Services Inc                                                   Contingent
          512 E Edwards                                                         Unliquidated
          Litchfield, IL 62056                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TravelClick                                                           Contingent
          P.O. Box 71199                                                        Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tray Inc                                                              Contingent
          PO Box 1360                                                           Unliquidated
          Glen Burnie, MD 21061                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Treasurer City of Hampton                                             Contingent
          1 Franklin St #100                                                    Unliquidated
          Hampton, VA 23669                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tri State Technical                                                   Contingent
          Services Inc                                                          Unliquidated
          PO Box 1259                                                           Disputed
          Waycross, GA 31502-1259
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tropical Fruit & Nut Co.                                              Contingent
          P.O. Box 740209                                                       Unliquidated
          Dept. #40375                                                          Disputed
          Atlanta, GA 30374-0209
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Turner Holdings LLC                                                   Contingent
          PO Box 1000 Dept 23                                                   Unliquidated
          Memphis, TN 38148-0023                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 41 of 45
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 Debtor       John Q. Hammons Fall 2006, LLC                                                          Case number (if known)
              Name

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TYCO INTEGRATED SECURITY                                              Contingent
          PO BOX 371967                                                         Unliquidated
          PITTSBURGH, PA 15250-7967                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          U-Haul                                                                Contingent
          PO Box 52128                                                          Unliquidated
          Phoenix, AZ 85072-2128                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Uniguest Inc.                                                         Contingent
          P.O. Box 306225                                                       Unliquidated
          Nashville, TN 37230-6225                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          United Rentals Northwest                                              Contingent
          File 51122                                                            Unliquidated
          Los Angeles, CA 90074-1122                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Universal Companies Inc.                                              Contingent
          18260 Oak Park Drive                                                  Unliquidated
          Abingdon, VA 24210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          University Plaza Hotel                                                Contingent
          300 John Q. Hammons Parkway                                           Unliquidated
          Springfield, MO 65806                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          USA Today                                                             Contingent
          PO Box 677446                                                         Unliquidated
          Dallas, TX 75267-7446                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 42 of 45
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 Debtor       John Q. Hammons Fall 2006, LLC                                                          Case number (if known)
              Name

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Verizon Wireless                                                      Contingent
          P.O. Box 25506                                                        Unliquidated
          Lehigh Valley, PA 18002                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Video Equipment Rentals                                               Contingent
          PO Box 740510                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Virginia Dept of Taxation                                             Contingent
          PO Box 1115                                                           Unliquidated
          Richmond, VA 23218-1115                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Virginia Grounds                                                      Contingent
          PO Box 911                                                            Unliquidated
          Lightfoot, VA 23090-0911                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Virginia Natural Gas                                                  Contingent
          Major Accounts Invoice                                                Unliquidated
          544 S Independence Blvd                                               Disputed
          Virginia Beach, VA 23452
                                                                             Basis for the claim:    utility service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Voss Lighting Co.                                                     Contingent
          P.O. Box 22159                                                        Unliquidated
          Lincoln, NE 68542                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Waste Management                                                      Contingent
          PO Box 9001054                                                        Unliquidated
          Louisville, KY 40290-1054                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 43 of 45
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 Debtor       John Q. Hammons Fall 2006, LLC                                                          Case number (if known)
              Name

 3.299     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Waterlogic East LLC                                                  Contingent
           PO Box 513030                                                        Unliquidated
           Philadelphia, PA 19175                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           WCA Waste Corp.                                                      Contingent
           PO BOX 553166                                                        Unliquidated
           Detroit, MI 48255-3166                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Weiner's Ltd                                                         Contingent
           3205 Kingsley Way                                                    Unliquidated
           Madison, WI 53713                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Westar Energy                                                        Contingent
           PO Box 889                                                           Unliquidated
           Topeka, KS 66601-0889                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    utility service
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           World Cinema Inc.                                                    Contingent
           9801 Westheimer #409                                                 Unliquidated
           Houston, TX 77042                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt (Hampton ES)
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           WTS International Inc.                                               Contingent
           3200 Tower Oaks Blvd                                                 Unliquidated
           Suite 400                                                            Disputed
           Rockville, MD 20852
                                                                             Basis for the claim:    trade debt (Hampton ES)
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.305     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Yumi Ice Cream Co Inc                                                Contingent
           PO Box 670698                                                        Unliquidated
           Dallas, TX 75267-0698                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 44 of 45
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 Debtor       John Q. Hammons Fall 2006, LLC                                                     Case number (if known)
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                             0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                             0.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                                0.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 45 of 45
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 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Sponsor Entity Right of
              lease is for and the nature of              First Refusal
              the debtor's interest                       Agreement dated
                                                          September 16, 2005
                  State the term remaining                                           JD Holdings, LLC
                                                                                     c/o Jonathan D. Eilian
              List the contract number of any                                        152 West 57th St, 56th Floor
                    government contract                                              New York, NY 10023


 2.2.         State what the contract or                  Agreement and
              lease is for and the nature of              Amendment dated
              the debtor's interest                       December 10, 2008

                  State the term remaining                                           JD Holdings, LLC
                                                                                     c/o Jonathan D. Eilian
              List the contract number of any                                        152 West 57th St, 56th Floor
                    government contract                                              New York, NY 10023


 2.3.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                        To Be Supplemented
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Revocable Trust                   Hammons (12/28/89)                                 Barclays Capital Real             D
             of John Q.                        300 John Q Hammons Parkway                         Estate                            E/F
                                               Suite 900                                                                            G
                                               Springfield, MO 65806




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 25, 2016                           X /s/ Greggory D Groves
                                                                       Signature of individual signing on behalf of debtor

                                                                       Greggory D Groves
                                                                       Printed name

                                                                       Vice President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         John Q. Hammons Fall 2006, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2016 to Filing Date
                                                                                                   Other    To Be Supplemented


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2015 to 12/31/2015
                                                                                                   Other    To Be Supplemented


       For year before that:                                                                       Operating a business                                  Unknown
       From 1/01/2014 to 12/31/2014
                                                                                                   Other    To Be Supplemented

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       John Q. Hammons Fall 2006, LLC                                                            Case number (if known)



       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached                                                                                        $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    JD Holdings, L.L.C. v.                            Contract                   Court of the Chancery,                         Pending
               Jacqueline A. Dowdy, as                                                      State of Delaware                              On appeal
               Trustee of The Revocable                                                     500 N. King St.
                                                                                                                                           Concluded
               Trust of John Q. Hammons,                                                    Ste 1551
               Dated December 28, 1989, as                                                  Wilmington, DE 19801
               Amended and Restated, et al.
               C.A. No. 7480-VCL

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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APHIST-0654    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE     1
                            COMPANY #82706 HAMPTON ROADS CONVENTION CENTER
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE      CHK #   CHK. AMT. BATCH # CLRD
IN-169 INTERNAT INTERNATIONAL GOURMET             5310382 3/18/16              600.74 24510 3/31/16 689371              600.74 03562    /
                                                     **********                  600.74 ***INTERNAT*****IN-169****INTERNATIONAL GOURMET

KE-034 KEANY PR KEANY PRODUCE CO                 07956320 1/28/16              366.42 24510 3/10/16 687402                        02641    /
                                                 07965819 2/03/16              287.19 24510 3/10/16 687402                        02641    /
                                                 07971926 2/06/16              259.74 24510 3/10/16 687402              913.35    02641    /
                                                 08006077 2/27/16              327.36 24510 3/31/16 689750                        03477    /
                                                 08012228 3/03/16              477.26 24510 3/31/16 689750                        03477    /
                                                 08014924 3/04/16              356.49 24510 3/31/16 689750                        03477    /
                                                 08028740 3/12/16              381.35 24510 3/31/16 689750                        03477    /
                                                 08028838 3/12/16               32.02 24510 3/31/16 689750                        03477    /
                                                 08036878 3/18/16              138.25 24510 3/31/16 689750                        03477    /
                                                 08037909 3/18/16               86.50 24510 3/31/16 689750            1,799.23    03477    /
                                                     **********                2,712.58 ***KEANY PR*****KE-034****KEANY PRODUCE   CO

KR-059 KRISPY    KRISPY KREME                      921610 2/20/16                21.20 24510 3/10/16 687127              21.20    02641    /
                                                     **********                    21.20 ***KRISPY *****KR-059****KRISPY KREME

LA-003 LABOR     LABOR FINDERS OF VA INC         20917216 3/06/16               48.21 26028 3/17/16 687792                        03701   /
                                                 20917217 3/06/16            1,093.60 26028 3/17/16 687792           1,141.81     03701   /
                                                 20917218 3/06/16              136.70 26015 3/23/16 688572             136.70     03821   /
                                                     **********                1,278.51 ***LABOR  *****LA-003****LABOR FINDERS    OF VA INC

*L-294 LEONARD   KEN LEONARD OR HAMP.EMBAS     D027067793 2/25/16                95.50 26260 3/10/16 192252               95.50 02644 3/16
                                                     **********                    95.50 ***LEONARD ******L-294****KEN LEONARD OR HAMP.EMBAS

MA-097 MASADA    MASADA BAKERY                    3247130 2/12/16               75.00 24510 3/10/16 687157                        02641    /
                                                  3264706 2/23/16              227.78 24510 3/10/16 687157             302.78     02641    /
                                                  3262714 2/25/16               42.50 24510 3/31/16 689432                        03477    /
                                                  3270523 3/03/16              105.00 24510 3/31/16 689432                        03477    /
                                                  3271425 2/29/16              155.12 24510 3/31/16 689432                        03477    /
                                                  3278476 3/10/16              187.50 24510 3/31/16 689432                        03477    /
                                                  3288693 3/15/16              119.54 24510 3/31/16 689432             609.66     03477    /
                                                     **********                  912.44 ***MASADA *****MA-097****MASADA BAKERY

RI-250 RICOH     RICOH USA INC                 040660633A 2/23/16                14.28 60370 3/17/16 687945              14.28 03309       /
                                                     **********                    14.28 ***RICOH  *****RI-250****RICOH USA INC

RU-099 RUST      SAM RUST SEAFOOD INC              728883 12/12/15             530.11 24510 3/10/16 687268                     02641       /
                                                   735599 2/17/16               31.90 24510 3/10/16 687268             562.01 02641        /
                                                   736839 2/29/16              516.00 24510 3/31/16 689769                     03477       /
                                                   737181 3/03/16            1,808.71 24510 3/31/16 689769                     03477       /
                                                   738561 3/15/16               99.50 24510 3/31/16 689769           2,424.21 03477        /
                                                     **********                2,986.22 ***RUST   *****RU-099****SAM RUST SEAFOOD INC

*S-693 SYSCO     SYSCO                          602100111 2/10/16            1,017.83     24510    3/03/16   191498               02321   3/16
                                                602110207 2/11/16            1,167.26     24510    3/03/16   191498               02321   3/16
                                                602120102 2/12/16            2,711.33     24510    3/03/16   191498               02321   3/16
                                                602120103 2/12/16               90.39     26660    3/03/16   191498               02321   3/16
                                                602120104 2/12/16               41.98     24510    3/03/16   191498               02321   3/16
                                                602120262 2/12/16               68.72     24510    3/03/16   191498               02321   3/16
                                                602180734 2/18/16            3,957.26     24510    3/03/16   191498               02321   3/16
                                                602191174 2/19/16              250.80     26230    3/03/16   191498               02321   3/16
                                                602191175 2/19/16            1,335.86     24510    3/03/16   191498               02321   3/16
                                                602191176 2/19/16            1,693.57     24510    3/03/16   191498               02321   3/16
                                                602201081 2/20/16            3,490.84     24510    3/03/16   191498               02321   3/16
                                                602201082 2/20/16               33.46     24510    3/03/16   191498               02321   3/16
                                                602230547 2/23/16            5,558.28     24510    3/03/16   191498               02321   3/16
                                               512100129A 12/10/15             368.33     26220    3/03/16   191498               02321   3/16
                                               602170137A 2/17/16              680.83     26660    3/03/16   191498   22,466.74   02321   3/16
                                                601121000 1/12/16              151.10     24510    3/10/16   192438               02641   3/16
                                                601290918 1/29/16              602.14     24510    3/10/16   192438               02641   3/16
                                                602150048 2/15/16            2,433.22     24510    3/10/16   192438               02641   3/16
                                                602150298 2/15/16               67.55     24510    3/10/16   192438               02641   3/16




                                               Case 16-21142   Doc# 1   Filed 06/26/16   Page 73 of 290
APHIST-0655   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     2
                           COMPANY #82706 HAMPTON ROADS CONVENTION CENTER
                                                                                                                                      DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                               602180256 2/18/16            1,134.32 24510 3/10/16 192438                      02641   3/16
                                               602180454 2/18/16               53.79 24510 3/10/16 192438           4,442.12   02641   3/16
                                               602240107 2/24/16            2,469.31 24510 3/31/16 194191                      03562   3/16
                                               602250089 2/25/16              737.82 26660 3/31/16 194191                      03562   3/16
                                               602250150 2/25/16              398.30 26660 3/31/16 194191                      03562   3/16
                                               602260225 2/26/16            4,349.30 24510 3/31/16 194191                      03562   3/16
                                               602260226 2/26/16              194.40 26660 3/31/16 194191                      03562   3/16
                                               602260227 2/26/16               93.36 24510 3/31/16 194191                      03562   3/16
                                               602260277 2/26/16              228.42 24510 3/31/16 194191                      03562   3/16
                                               602279001 2/27/16              213.36 24510 3/31/16 194191                      03562   3/16
                                               602290138 2/29/16              417.30 26660 3/31/16 194191                      03562   3/16
                                               602290138 2/29/16              171.70 26230 3/31/16 194191                      03562   3/16
                                               603030117 3/03/16              830.80 24510 3/31/16 194191                      03562   3/16
                                               603030118 3/03/16            5,089.49 24510 3/31/16 194191                      03562   3/16
                                               603030122 3/03/16              591.83 26660 3/31/16 194191                      03562   3/16
                                               603030166 3/03/16            1,306.13 26660 3/31/16 194191                      03562   3/16
                                               603030167 3/03/16            4,203.66 24510 3/31/16 194191                      03562   3/16
                                               603040649 3/04/16               63.44 26660 3/31/16 194191                      03562   3/16
                                               603040649 3/04/16              359.57 26230 3/31/16 194191                      03562   3/16
                                               603050928 3/05/16            1,931.87 24510 3/31/16 194191                      03562   3/16
                                               603050929 3/05/16              753.66 24510 3/31/16 194191                      03562   3/16
                                               603090159 3/09/16            2,062.45 24510 3/31/16 194191                      03562   3/16
                                               603090160 3/09/16              278.60 24510 3/31/16 194191                      03562   3/16
                                               603100122 3/10/16              137.08 24510 3/31/16 194191                      03562   3/16
                                               603110116 3/11/16            5,797.81 24510 3/31/16 194191                      03562   3/16
                                               603110117 3/11/16            1,205.72 24510 3/31/16 194191                      03562   3/16
                                               603110118 3/11/16              413.44 26660 3/31/16 194191                      03562   3/16
                                               603110119 3/11/16              145.50 24510 3/31/16 194191          34,444.32   03562   3/16
                                                    **********               61,353.18 ***SYSCO  ******S-693****SYSCO

TR-083 TREASURE TREASURER CITY OF HAMPTON     CNTY0316    3/11/16          11,960.46 02060 3/14/16 911572           11,960.46 00000    /
                                                    **********               11,960.46 ***TREASURE*****TR-083****TREASURER CITY OF HAMPTON

*V-002 VIRGINIA VIRGINIA DEPT OF TAXATION     STSL0316    3/11/16             132.67- 85960 3/14/16 192644                     00000 3/16
                                              STSL0316    3/11/16           9,662.78 02060 3/14/16 192644            9,530.11 00000 3/16
                                                    **********                9,530.11 ***VIRGINIA******V-002****VIRGINIA DEPT OF TAXATION


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #82706               161,130.95




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APHIST-0569    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #82706 HAMPTON ROADS CONVENTION CENTER
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*A-245 ALLIED    ALLIED WASTE SERVICES        7000972913 1/31/16              447.35 66325 4/14/16 195461             447.35 04204 4/16
                                              7000983697 3/31/16              609.63 66325 4/14/16 195463             609.63 04198 4/16
                                                    **********                1,056.98 ***ALLIED ******A-245****ALLIED WASTE SERVICES

CH-437 CHEF      CHEF WORKS INC                IN1364542 4/01/16              462.88 26820 4/28/16 692105                      04715     /
                                               IN1364542 4/01/16               25.95 26820 4/28/16 692105             488.83 04715       /
                                                    **********                  488.83 ***CHEF   *****CH-437****CHEF WORKS INC

*C-423 CINTAS    CINTAS CORP                   391454402 3/17/16                76.07 26380 4/07/16 194489              76.07   03720   4/16
                                               391446628 3/03/16                76.07 26380 4/28/16 196628                      04715   4/16
                                               391462242 3/31/16                76.07 26380 4/28/16 196628             152.14   04715   4/16
                                                    **********                   228.21 ***CINTAS ******C-423****CINTAS CORP

DA-093 DAUBERS   DAUBERS COMMERCIAL FOOD         1107289 3/15/16              213.20 66201 4/07/16 690001              213.20 03720    /
                                                    **********                  213.20 ***DAUBERS *****DA-093****DAUBERS COMMERCIAL FOOD

*D-210 EDWARD    EDWARD DON                     18993891 3/07/16              162.51 26660 4/07/16 194510                       03720   4/16
                                                18993891 3/07/16               36.21 26660 4/07/16 194510             198.72    03720   4/16
                                                    **********                  198.72 ***EDWARD ******D-210****EDWARD DON

HA-312 HAMP      HAMPTON ROADS CONVENTION      MAR15RENT 4/14/16           64,741.72 02145 4/14/16 911771          64,741.72 04308    /
                                                    **********               64,741.72 ***HAMP   *****HA-312****HAMPTON ROADS CONVENTION

*H-006 HAMPTON   HAMPTON EMBASSY SUITES       D047064130 4/15/16              712.56 25511 4/28/16 196719                      04704 4/16
                                              D047064130 4/15/16            3,376.27 25510 4/28/16 196719                      04704 4/16
                                              D047064130 4/15/16            1,466.28 25505 4/28/16 196719            5,555.11 04704 4/16
                                                    **********                5,555.11 ***HAMPTON ******H-006****HAMPTON EMBASSY SUITES

LA-003 LABOR     LABOR FINDERS OF VA INC        20917281 3/13/16              246.06 26015 4/07/16 690203                       03705   /
                                                20917282 3/13/16            1,100.44 26028 4/07/16 690203                       03705   /
                                                20917283 3/13/16              425.86 26028 4/07/16 690203           1,772.36    03705   /
                                                    **********                1,772.36 ***LABOR  *****LA-003****LABOR FINDERS   OF VA INC

RI-250 RICOH     RICOH USA INC                041174557A 3/21/16                16.47 60370 4/28/16 692546              16.47 04715      /
                                                    **********                    16.47 ***RICOH  *****RI-250****RICOH USA INC

*S-693 SYSCO     SYSCO                         603210084 3/21/16              729.57 24510 4/28/16 196930                       04909   4/16
                                               603251077 3/25/16            3,786.00 24510 4/28/16 196930                       04909   4/16
                                               603251078 3/25/16               42.92 24510 4/28/16 196930                       04909   4/16
                                               603310600 3/31/16            1,215.23 24510 4/28/16 196930                       04909   4/16
                                               604021013 4/02/16            1,012.01 24510 4/28/16 196930                       04909   4/16
                                               604021014 4/02/16               74.30 24510 4/28/16 196930                       04909   4/16
                                               604040555 4/04/16               31.10 26660 4/28/16 196930                       04909   4/16
                                               604040555 4/04/16            9,951.91 24510 4/28/16 196930                       04909   4/16
                                               604060081 4/06/16              158.39 25515 4/28/16 196930                       04909   4/16
                                               604060081 4/06/16              455.72 24510 4/28/16 196930                       04909   4/16
                                               604060082 4/06/16            3,587.84 24510 4/28/16 196930                       04909   4/16
                                               604060160 4/06/16            3,150.24 24510 4/28/16 196930                       04909   4/16
                                               604070741 4/07/16            1,282.54 24510 4/28/16 196930                       04909   4/16
                                               604080996 4/08/16              897.68 24510 4/28/16 196930                       04909   4/16
                                               604080997 4/08/16               51.73 24510 4/28/16 196930          26,427.18    04909   4/16
                                                    **********               26,427.18 ***SYSCO  ******S-693****SYSCO

TR-083 TREASURE TREASURER CITY OF HAMPTON     CNTY0416    4/14/16          14,032.11 02060 4/15/16 911801           14,032.11 00000    /
                                                    **********               14,032.11 ***TREASURE*****TR-083****TREASURER CITY OF HAMPTON

*V-002 VIRGINIA VIRGINIA DEPT OF TAXATION     STSL0416    4/14/16             138.10- 85960 4/15/16 195941                     00000 4/16
                                              STSL0416    4/14/16          11,318.90 02060 4/15/16 195941           11,180.80 00000 4/16
                                                    **********               11,180.80 ***VIRGINIA******V-002****VIRGINIA DEPT OF TAXATION


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #82706               125,911.69


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APHIST-0602    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                            COMPANY #82706 HAMPTON ROADS CONVENTION CENTER
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE      CHK #   CHK. AMT. BATCH # CLRD
AS-180 ADAMS     ADAMS-BURCH                   511528700 4/13/16               481.82 26660 5/12/16 693904                       04466    /
                                               511528700 4/13/16                52.36 26660 5/12/16 693904             534.18    04466    /
                                                    **********                   534.18 ***ADAMS  *****AS-180****ADAMS-BURCH

*A-245 ALLIED    ALLIED WASTE SERVICES        7000987188 4/30/16             1,135.16 66325 5/12/16 197809           1,135.16 05084 5/16
                                                    **********                 1,135.16 ***ALLIED ******A-245****ALLIED WASTE SERVICES

AR-182 ARC3      ARC3 GASES                     03013758 3/31/16               104.16 24510 5/05/16 692892                       04245    /
                                                03013758 3/31/16                 4.50 24510 5/05/16 692892                       04245    /
                                                03026949 4/08/16                78.98 26870 5/05/16 692892             187.64    04466    /
                                                03046345 4/30/16               101.04 24510 5/26/16 695393                       05003    /
                                                03046345 4/30/16                 4.50 24510 5/26/16 695393             105.54    05003    /
                                                    **********                   293.18 ***ARC3   *****AR-182****ARC3 GASES

*C-423 CINTAS    CINTAS CORP                   391470063 4/14/16                 76.07 26380 5/26/16 199492                      05003   5/16
                                               391478055 4/28/16                 76.07 26380 5/26/16 199492             152.14   05003   5/16
                                                    **********                    152.14 ***CINTAS ******C-423****CINTAS CORP

CC-026 COCA      COCA-COLA BOTTLING CO.       1819200059 4/05/16             2,177.46 24510 5/05/16 693681                      04245    /
                                              1829200771 3/22/16                81.44 24510 5/05/16 693681                      04245    /
                                              1829200772 3/22/16                74.30 24510 5/05/16 693681                      04245    /
                                              1829200877 3/30/16               145.55 24510 5/05/16 693681                      04245    /
                                              1829200944 4/05/16               519.77 24510 5/05/16 693681                      04245    /
                                              1829200945 4/05/16               239.06 24510 5/05/16 693681                      04245    /
                                              1829201065 4/12/16               767.96 24510 5/05/16 693681                      04466    /
                                              1829201175 4/19/16             1,480.53 24510 5/05/16 693681                      04466    /
                                              1829201267 4/26/16               461.33 24510 5/05/16 693681                      04466    /
                                              1829201268 4/26/16                69.83 24510 5/05/16 693681                      04466    /
                                              1829201270 4/26/16             1,598.30 24510 5/05/16 693681            7,615.53 04466     /
                                              1829201176 4/19/16               504.00- 24510 5/19/16 694565                     05499    /
                                              1829201354 5/03/16               276.18 24510 5/19/16 694565              227.82- 05499    /
                                              1829201355 5/03/16             1,760.06 24510 5/26/16 696031                      05797    /
                                              1829201458 5/10/16               778.78 24510 5/26/16 696031                      05797    /
                                              1829201459 5/10/16                69.82 24510 5/26/16 696031                      05797    /
                                              1829201461 5/10/16                72.81 24510 5/26/16 696031            2,681.47 05797     /
                                                    **********                10,069.18 ***COCA    *****CC-026****COCA-COLA BOTTLING CO.

DL-006 D & L EN D & L ENTERPRISE                    7635 4/08/16               135.00 26260 5/05/16 693048              135.00 04245      /
                                                    **********                   135.00 ***D & L EN*****DL-006****D & L ENTERPRISE

*D-210 EDWARD    EDWARD DON                     19007944 3/09/16               229.64 26870 5/05/16 197223                       04466   5/16
                                                19007944 3/09/16                18.16 26870 5/05/16 197223                       04466   5/16
                                                19100681 3/31/16                18.10 26660 5/05/16 197223                       04466   5/16
                                                19100681 3/31/16                13.77 26660 5/05/16 197223                       04466   5/16
                                                19102818 3/31/16             1,800.00 26660 5/05/16 197223                       04466   5/16
                                                19113982 4/04/16             1,274.18 26180 5/05/16 197223           3,353.85    04466   5/16
                                                19165611 4/14/16                56.35 26660 5/12/16 197871                       04466   5/16
                                                19165611 4/14/16                20.64 26660 5/12/16 197871                       04466   5/16
                                                19167319 4/14/16               407.04 26660 5/12/16 197871                       04466   5/16
                                                70553759 4/13/16               240.68- 26180 5/12/16 197871            243.35    04466   5/16
                                                    **********                 3,597.20 ***EDWARD ******D-210****EDWARD DON

HA-312 HAMP      HAMPTON ROADS CONVENTION      APR15RENT 5/09/16          133,285.80 02145 5/09/16 912004         133,285.80 05156    /
                                                    **********              133,285.80 ***HAMP   *****HA-312****HAMPTON ROADS CONVENTION

*H-006 HAMPTON   HAMPTON EMBASSY SUITES       D047061471 4/28/16               184.00 25510 5/05/16 197325                      04228 5/16
                                              D047061471 4/28/16               525.32 25505 5/05/16 197325                      04228 5/16
                                              D047066033 4/27/16             1,349.82 25511 5/05/16 197325                      04228 5/16
                                              D047066033 4/27/16               505.94 25510 5/05/16 197325                      04228 5/16
                                              D047066033 4/27/16               465.35 25505 5/05/16 197325            3,030.43 04228 5/16
                                                    **********                 3,030.43 ***HAMPTON ******H-006****HAMPTON EMBASSY SUITES

HA-250 HAMPTON   HAMPTON ROADS CONVENTION     ATCELL0316      3/01/16            49.94    26380    5/26/16   696051              05003    /




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APHIST-0603    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE      2
                            COMPANY #82706 HAMPTON ROADS CONVENTION CENTER
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
                                              ATCELL0416 4/30/16                49.92 26380 5/26/16 696051               99.86 05003    /
                                                    **********                    99.86 ***HAMPTON *****HA-250****HAMPTON ROADS CONVENTION

IN-169 INTERNAT INTERNATIONAL GOURMET            5311807 3/22/16              432.59 24510 5/05/16 693733                        04466     /
                                                 5320937 4/08/16              484.73 24510 5/05/16 693733                        04466     /
                                                 5323219 4/13/16              636.78 24510 5/05/16 693733                        04466     /
                                                 5325519 4/18/16              466.84 24510 5/05/16 693733                        04466     /
                                                 5329277 4/25/16              336.05 24510 5/05/16 693733            2,356.99    04466     /
                                                    **********                2,356.99 ***INTERNAT*****IN-169****INTERNATIONAL   GOURMET

KE-034 KEANY PR KEANY PRODUCE CO                08061844 4/02/16              159.61 24510 5/05/16 693735                        04245     /
                                                08063379 4/04/16              189.84 24510 5/05/16 693735                        04245     /
                                                08073260 4/09/16              225.54 24510 5/05/16 693735                        04245     /
                                                08078878 4/13/16              724.70 24510 5/05/16 693735                        04466     /
                                                08085328 4/16/16              604.87 24510 5/05/16 693735                        04466     /
                                                08086893 4/18/16              115.25 24510 5/05/16 693735                        04466     /
                                                08088094 4/20/16              867.16 24510 5/05/16 693735                        04466     /
                                                08092118 4/21/16            1,347.40 24510 5/05/16 693735                        04466     /
                                                08092724 4/21/16               89.67 24510 5/05/16 693735                        04466     /
                                                08092916 4/21/16               56.75 24510 5/05/16 693735                        04466     /
                                                08097907 4/23/16              216.82 24510 5/05/16 693735            4,597.61    04466     /
                                                    **********                4,597.61 ***KEANY PR*****KE-034****KEANY PRODUCE   CO

KR-059 KRISPY    KRISPY KREME                     073225 4/07/16              148.50 24510 5/05/16 693278             148.50     04245     /
                                                  123690 4/30/16               83.80 24510 5/26/16 695705              83.80     05797     /
                                                    **********                  232.30 ***KRISPY *****KR-059****KRISPY KREME

LA-003 LABOR     LABOR FINDERS OF VA INC        20917549 4/10/16              970.57 26028 5/05/16 693736                        04457   /
                                                20917616 4/17/16              104.46 26028 5/05/16 693736                        04457   /
                                                20917617 4/17/16              622.00 26015 5/05/16 693736                        04457   /
                                                20917618 4/17/16            3,595.21 26028 5/05/16 693736                        04457   /
                                                20917685 4/24/16              120.53 26028 5/05/16 693736                        04457   /
                                                20917686 4/24/16            1,073.11 26015 5/05/16 693736                        04457   /
                                                20917687 4/24/16            3,895.95 26028 5/05/16 693736          10,381.83     04457   /
                                                    **********               10,381.83 ***LABOR  *****LA-003****LABOR FINDERS    OF VA INC

MA-097 MASADA    MASADA BAKERY                   3294957 3/22/16              137.08 24510 5/05/16 693742                        04245     /
                                                 3298918 3/24/16              125.12 24510 5/05/16 693742                        04245     /
                                                 3303805 3/28/16              167.33 24510 5/05/16 693742                        04245     /
                                                 3311204 4/05/16               90.28 24510 5/05/16 693742                        04245     /
                                                 3316229 4/08/16              153.48 24510 5/05/16 693742                        04245     /
                                                 3319283 4/12/16              247.50 24510 5/05/16 693742                        04466     /
                                                 3319284 4/16/16               87.50 24510 5/05/16 693742                        04466     /
                                                 3321306 4/12/16              207.82 24510 5/05/16 693742                        04466     /
                                                 3329584 4/19/16              367.50 24510 5/05/16 693742                        04466     /
                                                 3335649 4/26/16              157.50 24510 5/05/16 693742                        04466     /
                                                 3335650 4/26/16              178.28 24510 5/05/16 693742           1,919.39     04466     /
                                                 3340771 4/29/16              122.50 24510 5/26/16 695741                        05797     /
                                                 3343835 5/03/16              337.50 24510 5/26/16 695741                        05797     /
                                                 3343836 5/06/16              257.50 24510 5/26/16 695741                        05797     /
                                                 3351960 5/10/16               75.00 24510 5/26/16 695741             792.50     05797     /
                                                    **********                2,711.89 ***MASADA *****MA-097****MASADA BAKERY

MI-229 MISTER    MISTER B'S LAUNDRY              033116A 3/31/16                16.00 26820 5/05/16 693339              16.00 04245        /
                                                    **********                    16.00 ***MISTER *****MI-229****MISTER B'S LAUNDRY

RI-250 RICOH     RICOH USA INC                041697879A 4/22/16                13.92 60370 5/26/16 695868              13.92 05003        /
                                                    **********                    13.92 ***RICOH  *****RI-250****RICOH USA INC

RU-099 RUST      SAM RUST SEAFOOD INC             742757 4/18/16              998.37 24510 5/05/16 693761                     04466        /
                                                  743103 4/20/16            4,270.08 24510 5/05/16 693761                     04466        /
                                                  743143 4/20/16              338.31 24510 5/05/16 693761                     04466        /
                                                  743530 4/22/16              191.40 24510 5/05/16 693761                     04466        /
                                                  743871 4/26/16              316.21 24510 5/05/16 693761           6,114.37 04466         /
                                                    **********                6,114.37 ***RUST   *****RU-099****SAM RUST SEAFOOD INC



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APHIST-0604    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     1
                            COMPANY #82706 HAMPTON ROADS CONVENTION CENTER
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*S-693 SYSCO     SYSCO                         603310597 3/31/16              447.55 26660 5/05/16 197547                       04466   5/16
                                               603310599 3/31/16            1,109.06 26220 5/05/16 197547                       04466   5/16
                                               604090978 4/09/16              735.77 24510 5/05/16 197547                       04466   5/16
                                               604090980 4/09/16              193.04 26660 5/05/16 197547                       04466   5/16
                                               604130190 4/13/16            9,944.64 24510 5/05/16 197547                       04466   5/16
                                               604161106 4/16/16               91.02 26660 5/05/16 197547                       04466   5/16
                                               604161106 4/16/16            2,797.09 24510 5/05/16 197547                       04466   5/16
                                               604180066 4/18/16               33.33 26660 5/05/16 197547                       04466   5/16
                                               604180066 4/18/16            2,463.74 24510 5/05/16 197547                       04466   5/16
                                               604180067 4/18/16              108.30 26660 5/05/16 197547                       04466   5/16
                                               604180067 4/18/16           16,404.11 24510 5/05/16 197547                       04466   5/16
                                               604210333 4/21/16            1,411.97 24510 5/05/16 197547                       04466   5/16
                                               604210418 4/21/16            2,820.54 24510 5/05/16 197547                       04466   5/16
                                               604210419 4/21/16               33.33 26660 5/05/16 197547                       04466   5/16
                                               604210419 4/21/16            3,211.26 24510 5/05/16 197547                       04466   5/16
                                               604210420 4/21/16               75.78 24510 5/05/16 197547                       04466   5/16
                                               604220954 4/22/16            1,739.24 24510 5/05/16 197547                       04466   5/16
                                               604231330 4/23/16            1,551.63 24510 5/05/16 197547                       04466   5/16
                                               604250086 4/25/16            2,384.74 24510 5/05/16 197547                       04466   5/16
                                               604250087 4/25/16              303.76 24510 5/05/16 197547                       04466   5/16
                                               604270137 4/27/16            3,153.57 24510 5/05/16 197547                       04466   5/16
                                               604270139 4/27/16            1,263.19 24510 5/05/16 197547                       04466   5/16
                                               604270328 4/27/16              198.20 24510 5/05/16 197547                       04466   5/16
                                               604279009 4/27/16               63.60 26230 5/05/16 197547                       04466   5/16
                                               604279009 4/27/16              722.70 24510 5/05/16 197547                       04466   5/16
                                               604280164 4/28/16               33.33 26660 5/05/16 197547                       04466   5/16
                                               604280164 4/28/16            1,722.63 24510 5/05/16 197547          55,017.12    04466   5/16
                                               603191274 3/19/16               61.06 26865 5/19/16 199082                       05499   5/16
                                               604070092 4/07/16              107.18 26660 5/19/16 199082                       05499   5/16
                                               604070092 4/07/16               99.66 26220 5/19/16 199082                       05499   5/16
                                               604121157 4/12/16               91.58 26865 5/19/16 199082                       05499   5/16
                                               604270138 4/27/16            1,451.23 24510 5/19/16 199082                       05499   5/16
                                               604270140 4/27/16              180.65 24510 5/19/16 199082                       05499   5/16
                                               604270329 4/27/16               62.73 26660 5/19/16 199082                       05499   5/16
                                               604280101 4/28/16            1,219.21 24510 5/19/16 199082                       05499   5/16
                                               604280102 4/28/16              136.23 24510 5/19/16 199082                       05499   5/16
                                               604280162 4/28/16            1,723.55 26220 5/19/16 199082                       05499   5/16
                                               604290814 4/29/16            3,802.63 24510 5/19/16 199082                       05499   5/16
                                               604290815 4/29/16              213.54 26660 5/19/16 199082                       05499   5/16
                                               604301235 4/30/16            1,044.80 24510 5/19/16 199082                       05499   5/16
                                               604301236 4/30/16              134.76 24510 5/19/16 199082                       05499   5/16
                                               604301237 4/30/16            1,755.77 24510 5/19/16 199082                       05499   5/16
                                               605030083 5/03/16            6,724.68 24510 5/19/16 199082          18,809.26    05499   5/16
                                               605040200 5/04/16              172.20 26660 5/26/16 199734                       05797   5/16
                                               605040201 5/04/16               98.66 26220 5/26/16 199734                       05797   5/16
                                               605040201 5/04/16            1,696.36 24510 5/26/16 199734                       05797   5/16
                                               605040202 5/04/16            2,285.88 24510 5/26/16 199734                       05797   5/16
                                               605060657 5/06/16              176.02 26220 5/26/16 199734                       05797   5/16
                                               605060658 5/06/16            3,027.79 24510 5/26/16 199734                       05797   5/16
                                               605090215 5/09/16              159.94 24510 5/26/16 199734           7,616.85    05797   5/16
                                                    **********               81,443.23 ***SYSCO  ******S-693****SYSCO

TR-083 TREASURE TREASURER CITY OF HAMPTON     CNTY0516    5/17/16          32,113.76 02060 5/17/16 912139           32,113.76 00000    /
                                                    **********               32,113.76 ***TREASURE*****TR-083****TREASURER CITY OF HAMPTON

*V-002 VIRGINIA VIRGINIA DEPT OF TAXATION     STSL0516    5/17/16             375.58- 85960 5/17/16 198655                     00000 5/16
                                              STSL0516    5/17/16          26,377.99 02060 5/17/16 198655           26,002.41 00000 5/16
                                                    **********               26,002.41 ***VIRGINIA******V-002****VIRGINIA DEPT OF TAXATION

ZI-034 ZIEGLER   ZIEGLER SEPTIC PUMPING           20592A 4/28/16              240.00 66250 5/26/16 696019              240.00 05003     /
                                                    **********                  240.00 ***ZIEGLER *****ZI-034****ZIEGLER SEPTIC PUMPING


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #82706               318,556.44




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APHIST-0198   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                                 PAGE     1
                           COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                            DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #         CHK. AMT. BATCH # CLRD
*A-181 A S HOS   A S HOSPITALITY                 4060883 2/02/16                12.52 60552       3/03/16 191176                     02282    3/16
                                                 4060883 2/02/16                 7.43 60552       3/03/16 191176                     02282    3/16
                                                 4060883 2/02/16                  .98 60552       3/03/16 191176              20.93 02282     3/16
                                                 4079851 3/03/16                47.00 66255       3/31/16 193683                     03480    3/16
                                                 4079851 3/03/16                 8.12 66255       3/31/16 193683                     03480    3/16
                                                 4079851 3/03/16                 3.69 66255       3/31/16 193683              58.81 03480     3/16
                                                    **********                    79.74 ***A      S HOS ******A-181****A S HOSPITALITY

AM-280 AMERICAN AMERICAN QUICK FOODS, INC       INV49190 3/02/16              216.00 16110 3/10/16 686866              216.00 03169    /
                                                    **********                  216.00 ***AMERICAN*****AM-280****AMERICAN QUICK FOODS, INC

AR-094 ARCTIC R ARCTIC REFRIGERATION INC          110525 2/04/16            3,654.80 01906 3/03/16 686716                      02419   /
                                                  110525 2/04/16              192.34 01906 3/03/16 686716                      02419   /
                                                  111402 2/04/16              224.00 01906 3/03/16 686716                      02419   /
                                                  111402 2/04/16                4.56 01906 3/03/16 686716            4,075.70 02419    /
                                                    **********                4,075.70 ***ARCTIC R*****AR-094****ARCTIC REFRIGERATION INC

AT-040 AT&T      AT&T                            GY36961 3/01/16                3.23 35901 3/10/16 686883                             03214    /
                                                 GY36961 3/01/16              188.27 35030 3/10/16 686883                    191.50   03214    /
                                                    **********                  191.50 ***AT&T   *****AT-040****AT&T

*B-018 BANK      BANK OF AMERICA               MAR16LOAN 3/22/16           44,384.36 86700 3/30/16 193667                     03558           3/16
                                               MAR16LOAN 3/22/16           14,351.66 02830 3/30/16 193667                     03558           3/16
                                               MAR16LOAN 3/22/16           11,721.39 01095 3/30/16 193667          70,457.41 03558            3/16
                                                    **********               70,457.41 ***BANK   ******B-018****BANK OF AMERICA

BA-076 BATTERIE BATTERIES PLUS                6412244101 3/01/16                39.60 66130 3/23/16 688311                       03169         /
                                              6412244101 3/01/16                 3.01 66130 3/23/16 688311               42.61 03169           /
                                                    **********                    42.61 ***BATTERIE*****BA-076****BATTERIES PLUS

CE-216 C.E.S.    C.E.S.                        SPF032100 2/23/16                9.20 66130 3/23/16 688344                             03868    /
                                               SPF032100 2/23/16                 .70 66130 3/23/16 688344                             03868    /
                                               SPF032122 2/25/16              203.00 66130 3/23/16 688344                             03868    /
                                               SPF032122 2/25/16               15.43 66130 3/23/16 688344              228.33         03868    /
                                                    **********                  228.33 ***C.E.S. *****CE-216****C.E.S.

*C-409 CAWLEY    CAWLEY CO                       V349847 2/04/16                35.60 60320 3/03/16 191229                            02600   3/16
                                                 V349847 2/04/16                11.18 60320 3/03/16 191229              46.78         02600   3/16
                                                    **********                    46.78 ***CAWLEY ******C-409****CAWLEY CO

CE-098 CENTURY   CENTURYLINK                  1369312810 3/15/16              139.03 35901 3/17/16 687564                             03689    /
                                              1369312810 3/15/16            1,061.29 35030 3/17/16 687564            1,200.32         03689    /
                                                    **********                1,200.32 ***CENTURY *****CE-098****CENTURYLINK

CH-176 CHAMPION CHAMPION CARPET                     9688 3/01/16              407.79 16150 3/23/16 688944              407.79 03480            /
                                                    **********                  407.79 ***CHAMPION*****CH-176****CHAMPION CARPET

CI-049 CI-SPR    CITY OF SPRINGFIELD          CIDT0316    3/15/16             356.48 85960 3/16/16 911606                     00000            /
                                              CIDT0316    3/15/16           5,814.63 02057 3/16/16 911606           6,171.11 00000             /
                                              ROOM0316    3/15/16               3.98 85960 3/16/16 911613                     00000            /
                                              ROOM0316    3/15/16          10,281.20 02056 3/16/16 911613          10,285.18 00000             /
                                                    **********               16,456.29 ***CI-SPR *****CI-049****CITY OF SPRINGFIELD

*C-411 CINTAS    CINTAS CORP                     2239685 3/02/16              113.98 16800 3/23/16 193104                             03868   3/16
                                                 2239685 3/02/16               12.15 16800 3/23/16 193104                             03868   3/16
                                                 2239685 3/02/16                7.24 16800 3/23/16 193104                             03868   3/16
                                                 2251138 3/07/16              281.55 16800 3/23/16 193104                             03868   3/16
                                                 2251138 3/07/16               18.85 16800 3/23/16 193104                             03868   3/16
                                                 2251138 3/07/16               17.88 16800 3/23/16 193104             451.65          03868   3/16
                                                    **********                  451.65 ***CINTAS ******C-411****CINTAS CORP




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APHIST-0199    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE     1
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE      CHK #   CHK. AMT. BATCH # CLRD
*C-363 CITY      CITY UTILITIES   1             21663127 2/25/16             1,640.06 64500 3/10/16 191806                     02634      3/16
                                                21663127 2/25/16               974.73 64200 3/10/16 191806                     02634      3/16
                                                21663127 2/25/16             5,588.31 64100 3/10/16 191806           8,203.10 02634       3/16
                                               21663127A 2/25/16                48.00 64500 3/10/16 191809                     02634      3/16
                                               21663127A 2/25/16                 3.65 64500 3/10/16 191809              51.65 02634       3/16
                                                    **********                 8,254.75 ***CITY   ******C-363****CITY UTILITIES 1

CO-494 COMPUTER COMPUTER RECYCLING CENTER           6043 2/25/16               130.00 66120 3/10/16 686950              130.00 03169    /
                                                    **********                   130.00 ***COMPUTER*****CO-494****COMPUTER RECYCLING CENTER

CO-492 CONVOY    CONVOY OF HOPE               INSA021603 2/29/16                 71.00 02042 3/03/16 686838              71.00 00000       /
                                                    **********                     71.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-482 COURTYAR COURTYARD BY MARRIOTT         6D00039850 2/15/16                 89.47 16702 3/10/16 686949               89.47 02009    /
                                                    **********                     89.47 ***COURTYAR*****CO-482****COURTYARD BY MARRIOTT

CU-208 CULLIGAN CULLIGAN DRINKING WATER           378253 2/24/16               456.22 66120 3/10/16 686968                      03169   /
                                                  378253 2/24/16                23.27 66120 3/10/16 686968              479.49 03169    /
                                                    **********                   479.49 ***CULLIGAN*****CU-208****CULLIGAN DRINKING WATER

*E-091 ECOL      ECOLAB INC                      0905273 2/08/16                 66.25 66600 3/03/16 191292                       02009   3/16
                                                 0905273 2/08/16                  4.21 66600 3/03/16 191292              70.46    02009   3/16
                                                 0909179 2/09/16                 31.64 66600 3/10/16 191874                       02009   3/16
                                                 0909179 2/09/16                  2.01 66600 3/10/16 191874              33.65    02009   3/16
                                                    **********                    104.11 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 09 3/04/16                 39.00 35895 3/17/16 192780              39.00 02340 3/16
                                                    **********                     39.00 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

FE-076 FEDEX     FEDEX                         532528202 2/18/16                 11.63 60590 3/03/16 686840               11.63   02327    /
                                               533279034 2/25/16                 11.63 60590 3/10/16 687471               11.63   03169    /
                                               534015226 3/03/16                 11.63 60590 3/17/16 688248               11.63   03480    /
                                               534758158 3/10/16                 11.63 60590 3/23/16 689050               11.63   03868    /
                                                    **********                     46.52 ***FEDEX  *****FE-076****FEDEX

GA-262 GARDA     GARDA CL SOUTHWEST INC         10184751 3/01/16               396.86 60135 3/10/16 687048             396.86 03169     /
                                                20138423 2/29/16                  .64 60135 3/23/16 688467                .64 03868     /
                                                    **********                   397.50 ***GARDA  *****GA-262****GARDA CL SOUTHWEST INC

GL-125 GLO       GLO DRY CLEANING                 479113 2/03/16                 48.25 60065 3/17/16 687696                     03480      /
                                                  479232 2/08/16                 25.69 45030 3/17/16 687696                     03480      /
                                                  479296 2/15/16                 36.25 60065 3/17/16 687696                     03480      /
                                                  479348 2/23/16                 37.70 60065 3/17/16 687696                     03480      /
                                                  480300 2/01/16                 23.35 60065 3/17/16 687696             171.24 03480       /
                                                    **********                    171.24 ***GLO    *****GL-125****GLO DRY CLEANING

*G-184 GUEST     GUEST SUPPLY - SYSCO            7193324 2/18/16               264.40 16130 3/17/16 192798                     03169 3/16
                                                 7193324 2/18/16                31.29 16130 3/17/16 192798                     03169 3/16
                                                 7193324 2/18/16                16.80 16130 3/17/16 192798             312.49 03169 3/16
                                                    **********                   312.49 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES         9143370017      2/02/16             9.29    66600    3/03/16   191366               02009   3/16
                                              9143370017      2/02/16             4.33    66600    3/03/16   191366               02009   3/16
                                              9143370017      2/02/16              .87    66600    3/03/16   191366               02009   3/16
                                              9143370017      2/02/16            12.16    66120    3/03/16   191366               02009   3/16
                                              9143370017      2/02/16             5.67    66120    3/03/16   191366               02009   3/16
                                              9143370017      2/02/16             1.13    66120    3/03/16   191366       33.45   02009   3/16
                                              9143643750      2/12/16             5.57    66255    3/10/16   191926               02327   3/16
                                              9143643750      2/12/16             1.30    66255    3/10/16   191926               02327   3/16
                                              9143643750      2/12/16              .44    66255    3/10/16   191926               02327   3/16
                                              9143643750      2/12/16            26.70    66201    3/10/16   191926               02327   3/16




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APHIST-0200    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     2
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
                                              9143643750 2/12/16                 6.22 66201 3/10/16 191926                      02327    3/16
                                              9143643750 2/12/16                 2.09 66201 3/10/16 191926               42.32 02327     3/16
                                              9143731954 2/17/16                10.63 66201 3/17/16 192829                      02327    3/16
                                              9143731954 2/17/16                 2.48 66201 3/17/16 192829                      02327    3/16
                                              9143731954 2/17/16                  .83 66201 3/17/16 192829               13.94 02327     3/16
                                                    **********                    89.71 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-415 HERMANS   REBECCA HERMANS                   30416 3/04/16                15.68 16400 3/17/16 192844                      03480    3/16
                                                   30416 3/04/16                75.44 16110 3/17/16 192844               91.12 03480     3/16
                                                    **********                    91.12 ***HERMANS ******H-415****REBECCA HERMANS

*H-353 HEWLETT   HEWLETT-PACKARD CO                32116 3/21/16            1,741.22 60560 3/31/16 193918            1,741.22 03426      3/16
                                                    **********                1,741.22 ***HEWLETT ******H-353****HEWLETT-PACKARD CO

HI-246 HILAND D HILAND DAIRY CO.                 1524976 2/22/16               96.25 16110 3/03/16 686843               96.25 02327       /
                                                 1525089 3/03/16                2.17- 16110 3/10/16 687472                     03169      /
                                                 1525090 3/03/16              111.75 16110 3/10/16 687472              109.58 03169       /
                                                 1525120 3/07/16               63.75 16110 3/23/16 688516                      03868      /
                                                 1525153 3/10/16               16.00 16110 3/23/16 688516               79.75 03868       /
                                                    **********                  285.58 ***HILAND D*****HI-246****HILAND DAIRY CO.

HO-563 HOLIDAY   HOLIDAY INN NORTH                152817 3/05/16              115.00 16702 3/17/16 687744                      03480      /
                                                  152817 3/05/16                8.45 16702 3/17/16 687744              123.45 03480       /
                                                    **********                  123.45 ***HOLIDAY *****HO-563****HOLIDAY INN NORTH

*I-041 IKON      IKON/RICOH SERVICES            96341929 3/10/16                53.06 60370 3/10/16 191941                     03113     3/16
                                                96341929 3/10/16                 4.03 60370 3/10/16 191941              57.09 03113      3/16
                                                    **********                    57.09 ***IKON   ******I-041****IKON/RICOH SERVICES

IN-140 INNERWOR INNERWORKINGS                   24340261 2/03/16              158.50 16400 3/03/16 686332                        02009    /
                                                24340261 2/03/16                8.24 16400 3/03/16 686332                        02009    /
                                                24340261 2/03/16               12.04 16400 3/03/16 686332              178.78    02009    /
                                                24648571 3/05/16               85.00 60552 3/31/16 689370                        03868    /
                                                24648571 3/05/16               15.74 60552 3/31/16 689370                        03868    /
                                                24648571 3/05/16                6.46 60552 3/31/16 689370                        03868    /
                                                24648591 3/05/16               54.00 60552 3/31/16 689370                        03868    /
                                                24648591 3/05/16                9.16 60552 3/31/16 689370                        03868    /
                                                24648591 3/05/16                4.10 60552 3/31/16 689370                        03868    /
                                                24661321 3/08/16               26.08 16130 3/31/16 689370                        03868    /
                                                24661321 3/08/16                7.49 16130 3/31/16 689370                        03868    /
                                                24661321 3/08/16                1.98 16130 3/31/16 689370              210.01    03868    /
                                                    **********                  388.79 ***INNERWOR*****IN-140****INNERWORKINGS

*I-005 INTER     INTERCONTINENTAL HOTELS      1100563327 3/01/16            3,972.66 16300 3/03/16 191562           3,972.66 02638 3/16
                                                    **********                3,972.66 ***INTER  ******I-005****INTERCONTINENTAL HOTELS

*I-039 INTER     INTERCONTINENTAL H0TELS      AXXXXXXXX 2/29/16            2,617.59 62650 3/23/16 193224                     03868 3/16
                                              AXXXXXXXX 2/29/16            3,236.45 62249 3/23/16 193224           5,854.04 03868 3/16
                                                    **********                5,854.04 ***INTER  ******I-039****INTERCONTINENTAL H0TELS

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 02 2/30/16            3,225.00 60116 3/10/16 192210            3,225.00 02340 3/16
                                                    **********                3,225.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0316    3/30/16             394.76 66060 3/31/16 193949                     00000 3/16
                                              JINS0316    3/30/16             283.28 60060 3/31/16 193949                     00000 3/16
                                              JINS0316    3/30/16           1,141.00 16060 3/31/16 193949           1,819.04 00000 3/16
                                                    **********                1,819.04 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

*J-018 JQH C     JQH C - INSURANCE            INSA031601 3/22/16              162.05 02120 3/23/16 193243                     00000      3/16
                                              INSA031601 3/22/16               27.19 01310 3/23/16 193243             189.24 00000       3/16
                                                    **********                  189.24 ***JQH C  ******J-018****JQH C - INSURANCE




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APHIST-0201    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
JQ-004 JQH C     JQH C                        122A0316    3/23/16              19.80 60115 3/31/16 689832                       00000    /
                                              122A0316    3/23/16              47.62 60061 3/31/16 689832                       00000    /
                                              122A0316    3/23/16             476.00 47082 3/31/16 689832                       00000    /
                                              122A0316    3/23/16              47.53 35901 3/31/16 689832                       00000    /
                                              122A0316    3/23/16             158.97 35890 3/31/16 689832                       00000    /
                                              122A0316    3/23/16             199.78 35030 3/31/16 689832                       00000    /
                                              122A0316    3/23/16           1,932.00 35026 3/31/16 689832                       00000    /
                                              122A031601 3/23/16              254.06 60860 3/31/16 689832                       00000    /
                                              122A031601 3/23/16               38.03 60856 3/31/16 689832                       00000    /
                                              122A031601 3/23/16              106.60 60720 3/31/16 689832                       00000    /
                                              122A031601 3/23/16               19.99 60580 3/31/16 689832                       00000    /
                                              122A031601 3/23/16                5.71 60320 3/31/16 689832                       00000    /
                                              122A031602 3/23/16               50.00 64700 3/31/16 689832                       00000    /
                                              122A031602 3/23/16               15.00 62860 3/31/16 689832                       00000    /
                                              122A031602 3/23/16              146.75 62380 3/31/16 689832                       00000    /
                                              122A031602 3/23/16              468.60 60880 3/31/16 689832                       00000    /
                                              122A031602 3/23/16              122.23 60870 3/31/16 689832                       00000    /
                                              122A031603 3/23/16               72.45 16150 3/31/16 689832                       00000    /
                                              122A031603 3/23/16              113.70 02005 3/31/16 689832                       00000    /
                                              122A031604 3/23/16              207.77- 85962 3/31/16 689832                      00000    /
                                              122A031604 3/23/16            7,539.42 85210 3/31/16 689832                       00000    /
                                              122A031604 3/23/16               70.00 84035 3/31/16 689832           11,696.47   00000    /
                                                    **********               11,696.47 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0316    3/30/16           1,426.42 66060 3/31/16 194018                     00000     3/16
                                              JINS0316    3/30/16             802.67 60060 3/31/16 194018                     00000     3/16
                                              JINS0316    3/30/16           1,216.38 16060 3/31/16 194018           3,445.47 00000      3/16
                                                    **********                3,445.47 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  02 3/05/16              162.37 66900 3/10/16 192162              162.37   02340 3/16
                                                    **********                  162.37 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-021 JQHHM     JQHHM REG.   ALLOC.          *RVP16  02 3/05/16            1,701.53 60900 3/10/16 191949                    02340      3/16
                                              *SRM16  02 3/05/16              996.80 62900 3/10/16 191949           2,698.33 02340      3/16
                                                    **********                2,698.33 ***JQHHM  ******J-021****JQHHM REG. ALLOC.

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  02 3/05/16            1,616.83 16900 3/10/16 192012           1,616.83 02340 3/16
                                                    **********                1,616.83 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *ARM16  02 3/05/16              163.59 62900 3/10/16 192047             163.59 02340 3/16
                                              *EC16   02 3/05/16              179.40 62900 3/10/16 192052             179.40 02340 3/16
                                              *RPM16  01 3/05/16              102.44 66900 3/10/16 192061             102.44 03003 3/16
                                              *BRM16  02 3/05/16              447.63 62900 3/10/16 192082             447.63 02340 3/16
                                              *FM16   01 3/05/16              153.02 66900 3/10/16 192087             153.02 03003 3/16
                                              *RFM16  02 3/05/16            1,079.34 66900 3/10/16 192111           1,079.34 02340 3/16
                                              *DRM16  02 3/05/16              279.95 62900 3/10/16 192117             279.95 02340 3/16
                                              *RMA16  02 3/05/16              107.19 62900 3/10/16 192126             107.19 02340 3/16
                                                    **********                2,512.56 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT021602 2/29/16            3,706.39 02013 3/10/16 687473            3,706.39   00000    /
                                                    **********                3,706.39 ***JQHHM LL*****JQ-003****JQHHM LLC

*K-263 KILPA     KILPATRICK TOWNSEND           117933450 3/07/16           27,214.77 60110 3/14/16 192627          27,214.77 03461      3/16
                                                    **********               27,214.77 ***KILPA  ******K-263****KILPATRICK TOWNSEND

MA-078 MARK      MARK'S PLUMBING PARTS        V001488547 2/02/16              154.91 66120 3/03/16 686410                     02600      /
                                              V001488547 2/02/16               12.37 66120 3/03/16 686410                     02600      /
                                              V001488547 2/02/16               10.63 66120 3/03/16 686410             177.91 02600       /
                                              V001495471 2/23/16              164.92 66120 3/23/16 688979                     02327      /
                                              V001495471 2/23/16               11.86 66120 3/23/16 688979                     02327      /
                                              V001495471 2/23/16               11.21 66120 3/23/16 688979             187.99 02327       /
                                                    **********                  365.90 ***MARK   *****MA-078****MARK'S PLUMBING PARTS




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APHIST-0202    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                              PAGE     1
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
*M-024 MARSH     MARSH USA INC                 INSA021601 3/04/16              406.00 02120 3/10/16 192272                     00000        3/16
                                               INSA021601 3/04/16              453.00 01310 3/10/16 192272             859.00 00000         3/16
                                               INSA021602 3/04/16              829.89 01311 3/10/16 192314             829.89 00000         3/16
                                                     **********                1,688.89 ***MARSH  ******M-024****MARSH USA INC

MI-401 MIDWEST   MIDWEST OFFICE                   1008747 3/01/16              686.61 16850 3/10/16 687174                       03169       /
                                                  1008747 3/01/16               52.18 16850 3/10/16 687174              738.79 03169         /
                                                     **********                  738.79 ***MIDWEST *****MI-401****MIDWEST OFFICE

*M-312 MISS      MISSOURI DEPT OF REVENUE      HTSL0316    3/15/16             268.98- 85960 3/16/16 192687                         00000 3/16
                                               HTSL0316    3/15/16              40.78 35901 3/16/16 192687                          00000 3/16
                                               HTSL0316    3/15/16          13,395.88 02059 3/16/16 192687                          00000 3/16
                                               HTSL0316    3/15/16             472.71 02058 3/16/16 192687           13,640.39      00000 3/16
                                                     **********               13,640.39 ***MISS    ******M-312****MISSOURI DEPT     OF REVENUE

NI-044 NITEL     NITEL, INC                        147805 3/01/16            1,182.82 35030 3/10/16 687195           1,182.82       03169    /
                                                     **********                1,182.82 ***NITEL  *****NI-044****NITEL, INC

OZ-016 OZARKS    OZARKS COCA-COLA/DR PEPPE       25558291 2/25/16              217.20 45010 3/03/16 686474             217.20 02327    /
                                                 25561749 3/03/16              434.00 45010 3/10/16 687207             434.00 03169    /
                                                 25566003 3/10/16               91.50 45010 3/23/16 688676              91.50 03868    /
                                                     **********                  742.70 ***OZARKS *****OZ-016****OZARKS COCA-COLA/DR PEPPE

RI-092 RICO      RICOH USA INC                 1061197750 3/01/16              454.02 60551 3/23/16 688748                     03868         /
                                               1061197750 3/01/16               28.83 60551 3/23/16 688748             482.85 03868          /
                                                     **********                  482.85 ***RICO   *****RI-092****RICOH USA INC

RO-160 ROYAL C   ROYAL CUP COFFEE              2704889939 2/03/16              107.30 16400 3/03/16 686846                          02282    /
                                               2704889939 2/03/16              496.40 16110 3/03/16 686846                603.70    02282    /
                                               2704880007 2/17/16              115.34 16400 3/17/16 688173                          02009    /
                                               2704880007 2/17/16              307.19 16110 3/17/16 688173                422.53    02009    /
                                               2704880071 3/02/16               74.02 16400 3/31/16 689767                          03169    /
                                               2704880071 3/02/16              684.67 16110 3/31/16 689767                758.69    03169    /
                                                     **********                1,784.92 ***ROYAL C *****RO-160****ROYAL   CUP INC

SA-288 SAFLOK    SAFLOK                         INV408138 2/04/16              149.14 66120 3/23/16 688772                          03868    /
                                                INV408138 2/04/16               13.43 66120 3/23/16 688772                          03868    /
                                                INV408138 2/04/16                9.47 66120 3/23/16 688772                          03868    /
                                                INV410291 2/23/16              118.90 66120 3/23/16 688772                          03868    /
                                                INV410291 2/23/16               13.43 66120 3/23/16 688772                          03868    /
                                                INV410291 2/23/16                7.55 66120 3/23/16 688772              311.92      03868    /
                                                     **********                  311.92 ***SAFLOK *****SA-288****SAFLOK

*S-681 SCENT     SCENTAIR TECHNOLOGIES INC     0003597940 3/01/16                69.94 16400 3/23/16 193397              69.94 03480 3/16
                                                     **********                    69.94 ***SCENT  ******S-681****SCENTAIR TECHNOLOGIES INC

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2669577 3/07/16              482.12 45025 3/23/16 193291             482.12 03868 3/16
                                                     **********                  482.12 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SP-012 SPR-AR    SPRINGFIELD AREA CHAMBER           69384 3/08/16            1,167.00 60310 3/17/16 688003           1,167.00 03480    /
                                                     **********                1,167.00 ***SPR-AR *****SP-012****SPRINGFIELD AREA CHAMBER

*S-026 SPRING    SPRINGFIELD HI EXPRESS        D037196554 3/04/16              350.08 45010 3/10/16 192421             350.08 03064 3/16
                                               D037192107 3/10/16              273.41 60070 3/17/16 192944             273.41 03438 3/16
                                               D037193486 3/18/16               34.51 60070 3/23/16 193377              34.51 03844 3/16
                                                     **********                  658.00 ***SPRING ******S-026****SPRINGFIELD HI EXPRESS

SP-216 SPRINGF   SPRINGFIELD STAMP &               585411 2/12/16                47.34 60552 3/10/16 687304               47.34 02009        /
                                                     **********                    47.34 ***SPRINGF *****SP-216****SPRINGFIELD STAMP &




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APHIST-0203    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                       PAGE     1
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                   DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE   INV. AMT.      ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
ST-448 STAPLES   STAPLES ADVANTAGE            3292194570 2/03/16           286.28 60551 3/03/16 686849                      02327     /
                                              3292194570 2/03/16            13.06 60551 3/03/16 686849                      02327     /
                                              3292715524 2/09/16            35.17 60551 3/03/16 686849                      02327     /
                                              3292715524 2/09/16             1.85 60551 3/03/16 686849              336.36 02327      /
                                              3293926897 2/24/16            33.99 60550 3/17/16 688215                      03480     /
                                              3293926897 2/24/16             1.75 60550 3/17/16 688215                      03480     /
                                              3293926898 2/24/16           131.46 60550 3/17/16 688215                      03480     /
                                              3293926898 2/24/16             9.90 60550 3/17/16 688215              177.10 03480      /
                                                    **********               513.46 ***STAPLES *****ST-448****STAPLES ADVANTAGE

ST-895 STAR WHO STAR WHOLESALE SUPPLY            4156802 2/03/16           125.01 66160 3/03/16 686621                      02600   /
                                                 4156802 2/03/16             9.50 66160 3/03/16 686621              134.51 02600    /
                                                    **********               134.51 ***STAR WHO*****ST-895****STAR WHOLESALE SUPPLY

*S-697 SYSCO     SYSCO                         602020944 2/02/16            13.93 16400 3/03/16 191503                       02600   3/16
                                               602020944 2/02/16            13.93 16110 3/03/16 191503                       02600   3/16
                                               602020945 2/02/16         1,076.09 16110 3/03/16 191503           1,103.95    02600   3/16
                                               602091100 2/09/16            99.64 16130 3/10/16 192443                       02009   3/16
                                               602091100 2/09/16         1,003.80 16110 3/10/16 192443           1,103.44    02009   3/16
                                               602161023 2/16/16            13.93 16110 3/17/16 192963                       02009   3/16
                                               602161024 2/16/16            33.05 16110 3/17/16 192963                       02009   3/16
                                               602161025 2/16/16           121.58 16130 3/17/16 192963                       02009   3/16
                                               602161025 2/16/16              .93 16130 3/17/16 192963                       02009   3/16
                                               602161025 2/16/16         1,040.24 16110 3/17/16 192963                       02009   3/16
                                               602161026 2/16/16           203.38 16110 3/17/16 192963           1,413.11    02009   3/16
                                               602231042 2/23/16            87.43 16130 3/23/16 193412                       02327   3/16
                                               602231042 2/23/16           899.42 16110 3/23/16 193412                       02327   3/16
                                               602231043 2/23/16            13.93 16110 3/23/16 193412                       02327   3/16
                                               603010973 3/01/16           133.65 16130 3/23/16 193412                       03169   3/16
                                               603010973 3/01/16         1,367.96 16110 3/23/16 193412           2,502.39    03169   3/16
                                               603080915 3/08/16            13.93 16110 3/31/16 194195                       03868   3/16
                                               603080916 3/08/16           101.75 16130 3/31/16 194195                       03868   3/16
                                               603080916 3/08/16             3.43 16130 3/31/16 194195                       03868   3/16
                                               603080916 3/08/16         1,878.15 16110 3/31/16 194195           1,997.26    03868   3/16
                                                    **********             8,120.15 ***SYSCO  ******S-697****SYSCO

TA-208 TALX      TALX CORP.                      2047775 3/08/16            16.80 60320 3/23/16 689059              16.80    03868    /
                                                    **********                16.80 ***TALX   *****TA-208****TALX CORP.

TY-006 TYCO      TYCO INTEGRATED SECURITY       26123393 3/05/16            35.74 60620 3/23/16 688878              35.74 03868    /
                                                    **********                35.74 ***TYCO   *****TY-006****TYCO INTEGRATED SECURITY

UH-002 UHAUL     U-HAUL                          4593413 3/04/16         1,255.10 60530 3/31/16 689660                       03426    /
                                                 4593414 3/04/16           333.30 60530 3/31/16 689660           1,588.40    03426    /
                                                    **********             1,588.40 ***UHAUL  *****UH-002****U-HAUL

UN-260 UNIVERSI UNIVERSITY PLAZA HOTEL              1979 3/07/16           160.88 62835 3/31/16 689669              160.88 03480     /
                                                    **********               160.88 ***UNIVERSI*****UN-260****UNIVERSITY PLAZA HOTEL

US-129 USA TODA USA TODAY                     0013055889 2/28/16           469.05 16105 3/23/16 689060              469.05   03868    /
                                                    **********               469.05 ***USA TODA*****US-129****USA TODAY

WA-193 WATERLO   WATERLOGIC EAST, LLC           17328906 2/29/16            31.20 16370 3/23/16 688907                      03169     /
                                                17328906 2/29/16             2.37 16370 3/23/16 688907               33.57 03169      /
                                                    **********                33.57 ***WATERLO *****WA-193****WATERLOGIC EAST, LLC

WC-013 WCA WAST WCA WASTE CORP                0002127256 2/20/16           210.00 66325 3/10/16 687452              210.00 03213      /
                                                    **********               210.00 ***WCA WAST*****WC-013****WCA WASTE CORP

WO-103 WORLD CI WORLD CINEMA INC              **S7175 03 4/01/16         1,968.00 16425 3/31/16 689836                      02340     /
                                              **S7175 03 4/01/16            28.58 16425 3/31/16 689836            1,996.58 02340      /
                                                    **********             1,996.58 ***WORLD CI*****WO-103****WORLD CINEMA INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80719             211,482.54
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APHIST-0499   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE    1
                           COMPANY #81719 SPRINGFIELD HOLIDAY EXPRESS
                                                                                                                                      DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
CI-049 CI-SPR    CITY OF SPRINGFIELD          CIDT0416    4/15/16               59.73 02060 4/15/16 911783              59.73 00000    /
                                                    **********                    59.73 ***CI-SPR *****CI-049****CITY OF SPRINGFIELD

*M-312 MISS      MISSOURI DEPT OF REVENUE     RTSL0416    4/15/16               73.04 85960 4/15/16 195902                     00000 4/16
                                              RTSL0416    4/15/16               75.26 02060 4/15/16 195902             148.30 00000 4/16
                                                    **********                   148.30 ***MISS   ******M-312****MISSOURI DEPT OF REVENUE

*M-324 MISSOUR   MISSOURI DEPT OF REVENUE     RTUSQ116D   4/15/16               51.78 02058 4/15/16 195907               51.78 00000 4/16
                                                    **********                    51.78 ***MISSOUR ******M-324****MISSOURI DEPT OF REVENUE


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #81719                   259.81




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APHIST-0185   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                           COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                       DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
AM-280 AMERICAN AMERICAN QUICK FOODS, INC       INV50663 5/02/16              216.00 16110 5/12/16 693892              216.00 05132    /
                                                    **********                  216.00 ***AMERICAN*****AM-280****AMERICAN QUICK FOODS, INC

AT-040 AT&T      AT&T                            GY79876 5/01/16                3.23 35901 5/12/16 693906                        05325    /
                                                 GY79876 5/01/16              206.12 35030 5/12/16 693906               209.35   05325    /
                                                    **********                  209.35 ***AT&T   *****AT-040****AT&T

*B-018 BANK      BANK OF AMERICA               MAY16LOAN 5/25/16           44,238.97 86700 5/27/16 199793                     05192      5/16
                                               MAY16LOAN 5/25/16           14,497.05 02830 5/27/16 199793                     05192      5/16
                                               MAY16LOAN 5/25/16           13,380.46 01095 5/27/16 199793          72,116.48 05192       5/16
                                                    **********               72,116.48 ***BANK   ******B-018****BANK OF AMERICA

BA-076 BATTERIE BATTERIES PLUS                6412285801 4/25/16              127.80 66210 5/19/16 694520                       05163     /
                                              6412285801 4/25/16                9.71 66210 5/19/16 694520                       05163     /
                                              6412287501 4/20/16               48.00 66130 5/19/16 694520                       04406     /
                                              6412287501 4/20/16                3.65 66130 5/19/16 694520              189.16 04406       /
                                                    **********                  189.16 ***BATTERIE*****BA-076****BATTERIES PLUS

BJ-011 BJ        BJ'S TROPHY SHOP                 124991 4/21/16                 5.00 60070 5/12/16 693936                     05163      /
                                                  124991 4/21/16                  .38 60070 5/12/16 693936               5.38 05163       /
                                                  125974 5/18/16                 5.00 60070 5/26/16 695437                     05898      /
                                                  125974 5/18/16                  .38 60070 5/26/16 695437               5.38 05898       /
                                                    **********                    10.76 ***BJ     *****BJ-011****BJ'S TROPHY SHOP

BR-304 BRAMSON   BRAMSON HOUSE                    114428 4/20/16              376.00 66400 5/19/16 695334                      04406      /
                                                  114428 4/20/16               45.02 66400 5/19/16 695334              421.02 04406       /
                                                    **********                  421.02 ***BRAMSON *****BR-304****BRAMSON HOUSE

CE-216 C.E.S.    C.E.S.                        SPF032971 4/28/16                97.50 66130 5/12/16 693954                       05163    /
                                               SPF032971 4/28/16                 7.41 66130 5/12/16 693954              104.91   05163    /
                                                    **********                   104.91 ***C.E.S. *****CE-216****C.E.S.

CE-098 CENTURY   CENTURYLINK                  1375477397 5/15/16              135.52 35901 5/19/16 694573                        05646    /
                                              1375477397 5/15/16            1,033.70 35030 5/19/16 694573            1,169.22    05646    /
                                                    **********                1,169.22 ***CENTURY *****CE-098****CENTURYLINK

CH-176 CHAMPION CHAMPION CARPET                    10013 5/01/16              407.79 16150 5/26/16 696034              407.79 05898       /
                                                    **********                  407.79 ***CHAMPION*****CH-176****CHAMPION CARPET

CI-049 CI-SPR    CITY OF SPRINGFIELD          CIDT0516    5/16/16             514.15 85960 5/16/16 912100                     00000       /
                                              CIDT0516    5/16/16           8,436.86 02057 5/16/16 912100           8,951.01 00000        /
                                              ROOM0516    5/16/16               1.44- 85960 5/16/16 912102                    00000       /
                                              ROOM0516    5/16/16          14,919.79 02056 5/16/16 912102          14,918.35 00000        /
                                                    **********               23,869.36 ***CI-SPR *****CI-049****CITY OF SPRINGFIELD

*C-411 CINTAS    CINTAS CORP                     2386317 4/22/16                58.85 66075 5/05/16 197184                       04406   5/16
                                                 2386317 4/22/16                10.45 66075 5/05/16 197184                       04406   5/16
                                                 2386317 4/22/16                 3.74 66075 5/05/16 197184              73.04    04406   5/16
                                                    **********                    73.04 ***CINTAS ******C-411****CINTAS CORP

*C-363 CITY      CITY UTILITIES    1            41663127 4/25/16            1,597.49 64500 5/05/16 197160                     04354      5/16
                                                41663127 4/25/16              704.51 64200 5/05/16 197160                     04354      5/16
                                                41663127 4/25/16            4,863.37 64100 5/05/16 197160           7,165.37 04354       5/16
                                               41663127A 4/25/16               81.00 64500 5/05/16 197163                     04354      5/16
                                               41663127A 4/25/16                6.15 64500 5/05/16 197163              87.15 04354       5/16
                                                    **********                7,252.52 ***CITY   ******C-363****CITY UTILITIES 1

CO-492 CONVOY    CONVOY OF HOPE               INSA041603 5/04/16              123.50 02042 5/05/16 911997             123.50 00000        /
                                                    **********                  123.50 ***CONVOY *****CO-492****CONVOY OF HOPE




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APHIST-0186    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                             PAGE     1
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE      CHK #   CHK. AMT. BATCH # CLRD
*E-091 ECOL      ECOLAB INC                      1534028 4/13/16               324.14 66600 5/12/16 197896                         04888   5/16
                                                 1534028 4/13/16                20.59 66600 5/12/16 197896             344.73      04888   5/16
                                                 1708113 5/03/16               674.76 66600 5/26/16 199525                         05498   5/16
                                                 1708113 5/03/16                42.84 66600 5/26/16 199525             717.60      05498   5/16
                                                    **********                 1,062.33 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 11 5/04/16                 39.00 35895 5/12/16 197889              39.00 04109 5/16
                                                    **********                     39.00 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

FE-076 FEDEX     FEDEX                         539270171 4/21/16                 11.86 60590 5/05/16 693854                11.86   04406    /
                                               540025197 4/28/16                 16.81 60590 5/12/16 694460                        05163    /
                                               540025198 4/28/16                 11.86 60590 5/12/16 694460                28.67   05163    /
                                               540766948 5/05/16                 11.86 60590 5/19/16 695351                11.86   05498    /
                                               541516528 5/12/16                 11.92 60590 5/26/16 696131                11.92   05898    /
                                                    **********                     64.31 ***FEDEX  *****FE-076****FEDEX

GA-262 GARDA     GARDA CL SOUTHWEST INC         10204587 5/01/16               396.86 60135 5/12/16 694062             396.86 05163     /
                                                20151343 4/30/16                  .64 60135 5/19/16 694740                .64 05498     /
                                                    **********                   397.50 ***GARDA  *****GA-262****GARDA CL SOUTHWEST INC

GL-125 GLO       GLO DRY CLEANING                 465584 4/05/16                 31.60 60065 5/19/16 694748                     05498       /
                                                  465642 4/11/16                  2.77 45030 5/19/16 694748                     05498       /
                                                  466123 4/04/16                 30.66 45030 5/19/16 694748                     05498       /
                                                  466510 4/19/16                 39.85 60065 5/19/16 694748             104.88 05498        /
                                                    **********                    104.88 ***GLO    *****GL-125****GLO DRY CLEANING

GR-264 GRAINGER GRAINGER                      9096289617 4/28/16               255.00 66255 5/26/16 695625                         05498    /
                                              9096289617 4/28/16                16.19 66255 5/26/16 695625              271.19     05498    /
                                                    **********                   271.19 ***GRAINGER*****GR-264****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7304351 4/05/16                39.69 16850 5/05/16 197304                      04406      5/16
                                                 7304351 4/05/16                 2.52 16850 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16               587.70 16500 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16                37.33 16500 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16             1,258.16 16400 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16                79.91 16400 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16               502.30 16250 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16                31.90 16250 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16                98.75 16200 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16                 6.28 16200 5/05/16 197304                      04406      5/16
                                                 7313909 4/07/16                  .02- 16200 5/05/16 197304                     04406      5/16
                                                 7324458 4/12/16                84.94 16400 5/05/16 197304                      04406      5/16
                                                 7324458 4/12/16                 5.39 16400 5/05/16 197304                      04406      5/16
                                                 7324458 4/12/16               422.66 16130 5/05/16 197304                      04406      5/16
                                                 7324458 4/12/16                26.84 16130 5/05/16 197304            3,184.35 04406       5/16
                                                    **********                 3,184.35 ***GUEST   ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES         9144797295      4/05/16          143.87     16400    5/05/16   197356                04406   5/16
                                              9144797295      4/05/16            9.14     16400    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16           27.41     66600    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16            1.74     66600    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16           26.77     66250    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16            1.70     66250    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16           53.93     66201    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16            3.42     66201    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16           39.03     66110    5/05/16   197356                04406   5/16
                                              9144833952      4/06/16            2.48     66110    5/05/16   197356                04406   5/16
                                              9144985609      4/12/16            5.99     66200    5/05/16   197356                04406   5/16
                                              9144985609      4/12/16             .38     66200    5/05/16   197356       315.86   04406   5/16
                                              9145227473      4/21/16           25.55     66600    5/19/16   198916                04406   5/16
                                              9145227473      4/21/16            1.62     66600    5/19/16   198916                04406   5/16
                                              9145227473      4/21/16           68.66     66250    5/19/16   198916                04406   5/16
                                              9145227473      4/21/16            4.36     66250    5/19/16   198916                04406   5/16
                                              9145294336      4/25/16           63.22     66120    5/19/16   198916                04406   5/16
                                              9145294336      4/25/16            4.01     66120    5/19/16   198916                04406   5/16




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                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
                                              9145321275 4/26/16                15.34- 66250 5/19/16 198916                     04406 5/16
                                              9145321275 4/26/16                  .97- 66250 5/19/16 198916             151.11 04406 5/16
                                                    **********                   466.97 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-415 HERMANS   REBECCA HERMANS                   42616 4/26/16                10.52 60070 5/05/16 197372                      04406    5/16
                                                   42616 4/26/16                 6.99 16110 5/05/16 197372               17.51 04406     5/16
                                                    **********                    17.51 ***HERMANS ******H-415****REBECCA HERMANS

HI-203 HILAND    HILAND DAIRY FOODS CO           9031056 3/10/16                32.30 16110 5/12/16 694112              32.30 05163    /
                                                    **********                    32.30 ***HILAND *****HI-203****HILAND DAIRY FOODS CO

HI-246 HILAND D HILAND DAIRY CO.                 1525585 4/25/16               96.25 16110 5/05/16 693860               96.25 04406       /
                                                 1525178 3/14/16              143.25 16110 5/12/16 694114                      05163      /
                                                 1525242 3/21/16              143.25 16110 5/12/16 694114                      05163      /
                                                 1525619 4/28/16               47.75 16110 5/12/16 694114                      05163      /
                                                 1525646 5/02/16               31.75 16110 5/12/16 694114              366.00 05163       /
                                                 1525684 5/05/16               63.25 45010 5/19/16 695255               63.25 05498       /
                                                 1525747 5/12/16               95.50 16110 5/26/16 696053                      05898      /
                                                 1525774 5/16/16               96.00 16110 5/26/16 696053              191.50 05898       /
                                                    **********                  717.00 ***HILAND D*****HI-246****HILAND DAIRY CO.

*I-041 IKON      IKON/RICOH SERVICES            96705124 5/10/16                53.06 60370 5/06/16 197713                     05070     5/16
                                                96705124 5/10/16                 4.03 60370 5/06/16 197713              57.09 05070      5/16
                                                    **********                    57.09 ***IKON   ******I-041****IKON/RICOH SERVICES

IN-005 INDE      INDEPENDENT ELECTRIC          SPMSI2109 4/19/16              228.30 66160 5/12/16 694127                     04888       /
                                               SPMSI2109 4/19/16               17.35 66160 5/12/16 694127             245.65 04888        /
                                                    **********                  245.65 ***INDE   *****IN-005****INDEPENDENT ELECTRIC

IN-140 INNERWOR INNERWORKINGS                   24939521 4/02/16               85.00 60552 5/05/16 693227                        04406    /
                                                24939521 4/02/16               15.94 60552 5/05/16 693227                        04406    /
                                                24939521 4/02/16                6.46 60552 5/05/16 693227                        04406    /
                                                24939521 4/02/16               37.25 16400 5/05/16 693227                        04406    /
                                                24939521 4/02/16                6.99 16400 5/05/16 693227                        04406    /
                                                24939521 4/02/16                2.83 16400 5/05/16 693227              154.47    04406    /
                                                25171671 4/23/16              108.00 60552 5/19/16 694814                        05163    /
                                                25171671 4/23/16               18.18 60552 5/19/16 694814                        05163    /
                                                25171671 4/23/16                8.21 60552 5/19/16 694814              134.39    05163    /
                                                    **********                  288.86 ***INNERWOR*****IN-140****INNERWORKINGS

*I-005 INTER     INTERCONTINENTAL HOTELS      1100573611 5/01/16            6,233.64 16300 5/03/16 196995           6,233.64 04314 5/16
                                                    **********                6,233.64 ***INTER  ******I-005****INTERCONTINENTAL HOTELS

IN-265 INTERCON INTERCONTINENTAL HOTELS       AXXXXXXXX 4/30/16            1,623.60 16700 5/26/16 696123                      05048   /
                                              AXXXXXXXX 4/30/16              150.00 16700 5/26/16 696123                      05048   /
                                              AXXXXXXXX 4/30/16            3,953.79 02008 5/26/16 696123                      05048   /
                                              AXXXXXXXX 4/30/16            3,953.79 02007 5/26/16 696123                      05048   /
                                              AXXXXXXXX 4/30/16           13,179.30 02006 5/26/16 696123           22,860.48 05048    /
                                                    **********               22,860.48 ***INTERCON*****IN-265****INTERCONTINENTAL HOTELS

JA-012 JAY KE    JAY KEY SERVICE INC                8570 4/15/16                61.00 66120 5/05/16 693239              61.00 04444       /
                                                    6373 4/29/16                86.00 66120 5/12/16 694131              86.00 05163       /
                                                    **********                   147.00 ***JAY KE *****JA-012****JAY KEY SERVICE INC

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 04 4/30/16            3,225.00 60116 5/12/16 198260            3,225.00 04109 5/16
                                                    **********                3,225.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0516    5/24/16             395.49 66060 5/24/16 199269                     00000 5/16
                                              JINS0516    5/24/16             131.11 60060 5/24/16 199269                     00000 5/16
                                              JINS0516    5/24/16             673.71 16060 5/24/16 199269           1,200.31 00000 5/16
                                                    **********                1,200.31 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT




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                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
JQ-004 JQH C     JQH C                        122A0516    5/26/16              47.46 35901 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             400.00 35890 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             200.20 35030 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             483.00 35026 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             292.01 30460 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             113.70 02005 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               11.66 60520 5/26/16 912177                        00000    /
                                              122A051601 5/26/16                5.71 60320 5/26/16 912177                        00000    /
                                              122A051601 5/26/16                9.12 60115 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               55.00 60110 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              151.60 60070 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               47.62 60061 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              119.00 47082 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              945.85 60880 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              122.23 60870 5/26/16 912177                        00000    /
                                              122A051602 5/26/16            1,114.23 60860 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               34.24 60856 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              469.68 60730 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               28.22 60720 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               22.43 60590 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              411.72 85215 5/26/16 912177                        00000    /
                                              122A051603 5/26/16           10,721.23 85210 5/26/16 912177                        00000    /
                                              122A051603 5/26/16               35.00 84035 5/26/16 912177                        00000    /
                                              122A051603 5/26/16               50.00 64700 5/26/16 912177                        00000    /
                                              122A051603 5/26/16               15.00 62860 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              293.50 62380 5/26/16 912177          16,199.41     00000    /
                                                    **********               16,199.41 ***JQH C  *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0516    5/24/16           1,426.42 66060 5/24/16 199338                     00000      5/16
                                              JINS0516    5/24/16             367.06 60060 5/24/16 199338                     00000      5/16
                                              JINS0516    5/24/16             791.72 16060 5/24/16 199338           2,585.20 00000       5/16
                                                    **********                2,585.20 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  04 5/05/16              162.37 66900 5/12/16 198211              162.37    04109 5/16
                                                    **********                  162.37 ***JQH REG ******J-040****JQH REGIONAL      ALLOC

JQ-008 JQHH MAN JQHH MANAGEMENT REG. ALL      TRANSFER16 4/28/16              309.00 60320 5/12/16 694463              309.00 05197    /
                                                    **********                  309.00 ***JQHH MAN*****JQ-008****JQHH MANAGEMENT REG. ALL

*J-021 JQHHM     JQHHM REG.   ALLOC.          *RVP16  04 5/05/16            1,701.53 60900 5/12/16 197998                    04109       5/16
                                              *SRM16  04 5/05/16              996.80 62900 5/12/16 197998           2,698.33 04109       5/16
                                                    **********                2,698.33 ***JQHHM  ******J-021****JQHHM REG. ALLOC.

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  04 5/05/16            1,616.83 16900 5/12/16 198061           1,616.83 04109 5/16
                                                    **********                1,616.83 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *RFM16  04 5/05/16            1,079.34 66900 5/12/16 198095           1,079.34 04109 5/16
                                              *ARM16  04 5/05/16              163.59 62900 5/12/16 198096             163.59 04109 5/16
                                              *DSA16  02 5/05/16              168.53 62900 5/12/16 198101             168.53 04109 5/16
                                              *RMA16  04 5/05/16              107.19 62900 5/12/16 198110             107.19 04109 5/16
                                              *BRM16  04 5/05/16              447.63 62900 5/12/16 198131             447.63 04109 5/16
                                              *EC16   04 5/05/16              179.40 62900 5/12/16 198136             179.40 04109 5/16
                                              *RPM16  03 5/05/16              102.44 66900 5/12/16 198145             102.44 04109 5/16
                                              *DRM16  04 5/05/16              279.95 62900 5/12/16 198166             279.95 04109 5/16
                                              *FM16   03 5/05/16              153.02 66900 5/12/16 198171             153.02 04109 5/16
                                                    **********                2,681.09 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT041604 4/30/16            5,373.88 02013 5/12/16 694461            5,373.88    00000    /
                                                    **********                5,373.88 ***JQHHM LL*****JQ-003****JQHHM LLC

KA-154 KARCH     KARCHER NORTH AMERICA        5331974232 4/11/16                17.10 16850 5/05/16 693264                       04406   /
                                              5331974232 4/11/16                 7.31 16850 5/05/16 693264                       04406   /
                                              5331974232 4/11/16                 1.30 16850 5/05/16 693264              25.71    04406   /
                                                    **********                    25.71 ***KARCH  *****KA-154****KARCHER NORTH   AMERICA




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                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*L-298 LYMAN     CATHARINE AMANDA LYMAN             50516 5/05/16                11.57 16450 5/12/16 198301              11.57 05282 5/16
                                                     **********                    11.57 ***LYMAN  ******L-298****CATHARINE AMANDA LYMAN

MA-078 MARK      MARK'S PLUMBING PARTS         V001508760 4/11/16                63.98 66250 5/05/16 693315                     04444      /
                                               V001508760 4/11/16                 9.91 66250 5/05/16 693315                     04444      /
                                               V001508760 4/11/16                 5.61 66250 5/05/16 693315              79.50 04444       /
                                               V001509733 4/13/16                58.00 66202 5/12/16 694167                     04444      /
                                               V001509733 4/13/16                 4.41 66202 5/12/16 694167              62.41 04444       /
                                                     **********                   141.91 ***MARK   *****MA-078****MARK'S PLUMBING PARTS

*M-024 MARSH     MARSH USA INC                 INSA041601 5/05/16              829.89 01311 5/12/16 198321             829.89 00000       5/16
                                               INSA041602 5/05/16              406.00 02120 5/12/16 198363                     00000      5/16
                                               INSA041602 5/05/16              453.00 01310 5/12/16 198363             859.00 00000       5/16
                                                     **********                1,688.89 ***MARSH  ******M-024****MARSH USA INC

*M-312 MISS      MISSOURI DEPT OF REVENUE      HTSL0516    5/16/16             406.45- 85960 5/16/16 198624                       00000 5/16
                                               HTSL0516    5/16/16              10.45 35901 5/16/16 198624                        00000 5/16
                                               HTSL0516    5/16/16          16,636.53 02059 5/16/16 198624                        00000 5/16
                                               HTSL0516    5/16/16             463.20 02058 5/16/16 198624           16,703.73    00000 5/16
                                                     **********               16,703.73 ***MISS    ******M-312****MISSOURI DEPT   OF REVENUE

NI-044 NITEL     NITEL, INC                        152952 5/01/16            1,119.73 35030 5/12/16 694189           1,119.73     05163    /
                                                     **********                1,119.73 ***NITEL  *****NI-044****NITEL, INC

OR-004 ORACLE    ORACLE AMERICA INC               3343083 4/26/16              610.00 60400 5/19/16 694953             610.00 05163        /
                                                     **********                  610.00 ***ORACLE *****OR-004****ORACLE AMERICA INC

OZ-016 OZARKS    OZARKS COCA-COLA/DR PEPPE       25594639 4/28/16              233.75 45010 5/05/16 693748             233.75 04406    /
                                                 25598683 5/05/16              220.50 45010 5/12/16 694199             220.50 05163    /
                                                 25603125 5/12/16               52.75 45010 5/26/16 695799                     05898   /
                                                 25607253 5/19/16              305.75 45010 5/26/16 695799             358.50 05898    /
                                                     **********                  812.75 ***OZARKS *****OZ-016****OZARKS COCA-COLA/DR PEPPE

RI-092 RICO      RICOH USA INC                 1061177929 2/29/16              186.70 60551 5/05/16 693463                        04406    /
                                               1061177929 2/29/16               11.86 60551 5/05/16 693463                        04406    /
                                               1062031510 4/08/16               66.21 60551 5/05/16 693463                        04888    /
                                               1062031510 4/08/16                4.21 60551 5/05/16 693463             268.98     04888    /
                                               5041729946 4/25/16               40.93 60552 5/19/16 695012              40.93     05498    /
                                               1062517571 4/29/16              462.70 60550 5/26/16 695858                        05898    /
                                               1062517571 4/29/16               35.16 60550 5/26/16 695858             497.86     05898    /
                                                     **********                  807.77 ***RICO   *****RI-092****RICOH USA INC

*R-207 ROYAL     ROYAL PAPER CORP                 4590441 4/04/16              123.35 16850 5/05/16 197503                     04406      5/16
                                                  4590441 4/04/16                9.37 16850 5/05/16 197503                     04406      5/16
                                                  4590441 4/04/16              479.55 16400 5/05/16 197503                     04406      5/16
                                                  4590441 4/04/16               36.44 16400 5/05/16 197503             648.71 04406       5/16
                                                  4596936 5/03/16              163.35 16850 5/26/16 199691                     05883      5/16
                                                  4596936 5/03/16               12.41 16850 5/26/16 199691                     05883      5/16
                                                  4596936 5/03/16              436.65 16400 5/26/16 199691                     05883      5/16
                                                  4596936 5/03/16               33.18 16400 5/26/16 199691             645.59 05883       5/16
                                                     **********                1,294.30 ***ROYAL  ******R-207****ROYAL PAPER CORP

RO-160 ROYAL C   ROYAL CUP INC                 2704880281 4/13/16               37.01 16400 5/12/16 694465                        04888    /
                                               2704880281 4/13/16              318.32 16110 5/12/16 694465              355.33    04888    /
                                               2704880347 4/27/16              138.53 16400 5/26/16 696136                        04406    /
                                               2704880347 4/27/16              263.36 16110 5/26/16 696136              401.89    04406    /
                                                     **********                  757.22 ***ROYAL C *****RO-160****ROYAL CUP INC

*S-681 SCENT     SCENTAIR TECHNOLOGIES INC     0003703174 5/01/16                65.00 16400 5/26/16 199726                     05163 5/16
                                               0003703174 5/01/16                 4.94 16400 5/26/16 199726              69.94 05163 5/16
                                                     **********                    69.94 ***SCENT  ******S-681****SCENTAIR TECHNOLOGIES INC




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APHIST-0190    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                            COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                         DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #       CHK. AMT. BATCH # CLRD
*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2683855 5/06/16              439.92 45025 5/26/16 199625             439.92 05898 5/16
                                                     **********                  439.92 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

*S-026 SPRING    SPRINGFIELD HI EXPRESS        D047194933 4/29/16               40.98 16110 5/05/16 197520              40.98 04331 5/16
                                               D057191901 5/06/16               88.11 60070 5/12/16 198445                     05107 5/16
                                               D057191901 5/06/16              294.76 45010 5/12/16 198445                     05107 5/16
                                               D057191901 5/06/16               28.65 16400 5/12/16 198445                     05107 5/16
                                               D057191901 5/06/16               42.52 16200 5/12/16 198445                     05107 5/16
                                               D057191901 5/06/16                9.60 14030 5/12/16 198445             463.64 05107 5/16
                                               D057192713 5/20/16              190.45 60070 5/26/16 199709             190.45 05874 5/16
                                                     **********                  695.07 ***SPRING ******S-026****SPRINGFIELD HI EXPRESS

SP-033 SPRING    SPRINGFIELD POOL & SPA           1877881 5/02/16              223.72 66600 5/26/16 695931                     05163    /
                                                  1877881 5/02/16               17.01 66600 5/26/16 695931                     05163    /
                                                  1877891 5/02/16               21.99 66600 5/26/16 695931                     05163    /
                                                  1877891 5/02/16                1.68 66600 5/26/16 695931             264.40 05163     /
                                                     **********                  264.40 ***SPRING *****SP-033****SPRINGFIELD POOL & SPA

SP-230 SPRINGFI SPRINGFIELD PARKING                  2503 4/30/16              105.00 44028 5/12/16 694302              105.00 05132       /
                                                     **********                  105.00 ***SPRINGFI*****SP-230****SPRINGFIELD PARKING

ST-518 STAFFING STAFFING PLUS, INC                   6086 4/22/16              212.40 16030 5/05/16 693870              212.40 04405       /
                                                     6111 4/29/16              156.35 16030 5/12/16 694310              156.35 05132       /
                                                     6143 5/06/16               56.05 16030 5/26/16 695949               56.05 05883       /
                                                     **********                  424.80 ***STAFFING*****ST-518****STAFFING PLUS, INC

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3298620452 4/03/16              195.07 60550 5/05/16 693815                      04406   /
                                               3298620452 4/03/16                5.45 60550 5/05/16 693815              200.52 04406    /
                                                     **********                  200.52 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

*S-697 SYSCO     SYSCO                          604120923 4/12/16               27.86 16110 5/05/16 197552                        04444   5/16
                                                604120924 4/12/16              303.79 16130 5/05/16 197552                        04444   5/16
                                                604120924 4/12/16                1.14 16130 5/05/16 197552                        04444   5/16
                                                604120924 4/12/16            1,342.13 16110 5/05/16 197552           1,674.92     04444   5/16
                                                604211934 4/21/16               16.00 16110 5/19/16 199086                        04406   5/16
                                                604212166 4/21/16               58.20 16130 5/19/16 199086                        04406   5/16
                                                604212166 4/21/16                3.70 16130 5/19/16 199086                        04406   5/16
                                                604261084 4/26/16              208.48 16130 5/19/16 199086                        04406   5/16
                                                604261084 4/26/16            1,428.36 16110 5/19/16 199086           1,714.74     04406   5/16
                                                     **********                3,389.66 ***SYSCO  ******S-697****SYSCO

TA-208 TALX      TALX CORP.                       2097083 5/08/16                 4.20 60320 5/26/16 696139               4.20    05898    /
                                                     **********                     4.20 ***TALX   *****TA-208****TALX CORP.

TY-006 TYCO      TYCO INTEGRATED SECURITY        26472005 5/07/16                63.07 60620 5/26/16 695977              63.07 05883    /
                                                     **********                    63.07 ***TYCO   *****TY-006****TYCO INTEGRATED SECURITY

UN-260 UNIVERSI UNIVERSITY PLAZA HOTEL               3556 5/01/16                86.00 16702 5/26/16 695984                      05163    /
                                                     3556 5/01/16                 6.00 16702 5/26/16 695984               92.00 05163     /
                                                     **********                    92.00 ***UNIVERSI*****UN-260****UNIVERSITY PLAZA HOTEL

US-083 US LAWN   U.S. LAWN OZARKS                    2010 4/18/16            2,000.00 66450 5/12/16 694423            2,000.00 05163       /
                                                     **********                2,000.00 ***US LAWN *****US-083****U.S. LAWN OZARKS

US-129 USA TODA USA TODAY                      0013130796 5/01/16              784.37 16105 5/26/16 696140              784.37    05883    /
                                                     **********                  784.37 ***USA TODA*****US-129****USA TODAY

WA-193 WATERLO   WATERLOGIC EAST, LLC            17346976 4/30/16                31.20 16370 5/26/16 695996                      04406     /
                                                 17346976 4/30/16                 2.37 16370 5/26/16 695996               33.57 04406      /
                                                     **********                    33.57 ***WATERLO *****WA-193****WATERLOGIC EAST, LLC




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APHIST-0191   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                         PAGE    1
                           COMPANY #80719 SPRINGFIELD HOLIDAY INN EXPRESS
                                                                                                                                     DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
WC-013 WCA WAST WCA WASTE CORP               0002153228 4/20/16              226.81 66325 5/12/16 694450              226.81 05084    /
                                                   **********                  226.81 ***WCA WAST*****WC-013****WCA WASTE CORP

WO-103 WORLD CI WORLD CINEMA INC             **S7175 05 6/01/16            1,968.00 16425 5/19/16 695361                      04109   /
                                             **S7175 05 6/01/16               28.58 16425 5/19/16 695361            1,996.58 04109    /
                                                   **********                1,996.58 ***WORLD CI*****WO-103****WORLD CINEMA INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80719              213,168.08




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APHIST-0659    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                      PAGE     1
                            COMPANY #82713 FRISCO CONVENTION CENTER
                                                                                                                                   DATE
VEND#   ALPHA      NAME                      INVOICE NO.   INV.DATE    INV. AMT.   ACCT # CHK DATE   CHK #       CHK. AMT. BATCH # CLRD
*R-209 JOHN       JOHNNIE B ROGERS             *PERMTS 14 3/09/16           185.00 60110 3/10/16 192412             185.00 02343    3/16
                                                     **********               185.00 ***JOHN   ******R-209****JOHNNIE B ROGERS

*S-001 STATE      STATE TREASURER-TEXAS        STRM0316    3/09/16        3,751.47 02060 3/09/16 191686           3,751.47 00000 3/16
                                                     **********             3,751.47 ***STATE  ******S-001****STATE TREASURER-TEXAS

*S-007 STATE      STATE TREASURER OF TEXAS     LIQT0316    3/09/16          703.46 25040 3/09/16 191688                     00000 3/16
                                               LIQT0316    3/09/16        2,806.20 02061 3/09/16 191688           3,509.66 00000 3/16
                                                     **********             3,509.66 ***STATE  ******S-007****STATE TREASURER OF TEXAS

*S-316 STATE      STATE TREASURER-TEXAS        SLSU0316    3/09/16        9,035.44 85960 3/09/16 191690                     00000 3/16
                                               SLSU0316    3/09/16       41,816.87 02060 3/09/16 191690          50,852.31 00000 3/16
                                                     **********            50,852.31 ***STATE  ******S-316****STATE TREASURER-TEXAS

*S-621 STATE      STATE TREASURER-TEXAS        BEVS0316    3/09/16           39.31 85960 3/09/16 191693                     00000 3/16
                                               BEVS0316    3/09/16        4,282.31 02062 3/09/16 191693           4,321.62 00000 3/16
                                                     **********             4,321.62 ***STATE  ******S-621****STATE TREASURER-TEXAS


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #82713                62,620.06




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APHIST-0573    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                        PAGE     1
                            COMPANY #82713 FRISCO CONVENTION CENTER
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*R-209 JOHN      JOHNNIE B ROGERS             *PERMTS 15 4/09/16              185.00 60110 4/14/16 195634             185.00 03139    4/16
                                                    **********                  185.00 ***JOHN   ******R-209****JOHNNIE B ROGERS

*K-160 KONE      KONE INC -ONLY AUTO PAYS     *6738A  02 4/01/16            2,258.12 66300 4/07/16 194954                     03139 4/16
                                              *6738A  02 4/01/16               31.68 66300 4/07/16 194954           2,289.80 03139 4/16
                                                    **********                2,289.80 ***KONE   ******K-160****KONE INC -ONLY AUTO PAYS

*S-001 STATE     STATE TREASURER-TEXAS        STRM0416    4/11/16           4,459.80 02060 4/11/16 195398           4,459.80 00000 4/16
                                                    **********                4,459.80 ***STATE  ******S-001****STATE TREASURER-TEXAS

*S-007 STATE     STATE TREASURER OF TEXAS     LIQT0416    4/11/16           1,659.50 25040 4/11/16 195400                     00000 4/16
                                              LIQT0416    4/11/16             892.20 02061 4/11/16 195400           2,551.70 00000 4/16
                                                    **********                2,551.70 ***STATE  ******S-007****STATE TREASURER OF TEXAS

*S-316 STATE     STATE TREASURER-TEXAS        SLSU0416    4/11/16             622.44- 85960 4/11/16 195401                     00000 4/16
                                              SLSU0416    4/11/16          34,645.58 02060 4/11/16 195401           34,023.14 00000 4/16
                                                    **********               34,023.14 ***STATE   ******S-316****STATE TREASURER-TEXAS

*S-621 STATE     STATE TREASURER-TEXAS        BEVS0416    4/11/16             177.20 85960 4/11/16 195404                     00000 4/16
                                              BEVS0416    4/11/16           2,964.80 02062 4/11/16 195404           3,142.00 00000 4/16
                                                    **********                3,142.00 ***STATE  ******S-621****STATE TREASURER-TEXAS


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #82713                46,651.44




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APHIST-0608    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                        PAGE     1
                            COMPANY #82713 FRISCO CONVENTION CENTER
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*R-209 JOHN      JOHNNIE B ROGERS             *PERMIT 01 5/09/16              185.00 60110 5/12/16 198437             185.00 05033    5/16
                                                    **********                  185.00 ***JOHN   ******R-209****JOHNNIE B ROGERS

*S-001 STATE     STATE TREASURER-TEXAS        STRM0516    5/12/16           2,317.95 02060 5/13/16 198607           2,317.95 00000 5/16
                                                    **********                2,317.95 ***STATE  ******S-001****STATE TREASURER-TEXAS

*S-007 STATE     STATE TREASURER OF TEXAS     LIQT0516    5/12/16             537.91 25040 5/13/16 198612                     00000 5/16
                                              LIQT0516    5/12/16           2,241.32 02061 5/13/16 198612           2,779.23 00000 5/16
                                                    **********                2,779.23 ***STATE  ******S-007****STATE TREASURER OF TEXAS

*S-194 STATE     STATE TREASURER-TEXAS         FRANTX15D 5/05/16           41,503.08 02075 5/05/16 197708          41,503.08 05012 5/16
                                                    **********               41,503.08 ***STATE  ******S-194****STATE TREASURER-TEXAS

*S-316 STATE     STATE TREASURER-TEXAS        SLSU0516    5/12/16           1,316.42 85960 5/13/16 198614                     00000 5/16
                                              SLSU0516    5/12/16          29,249.02 02060 5/13/16 198614          30,565.44 00000 5/16
                                                    **********               30,565.44 ***STATE  ******S-316****STATE TREASURER-TEXAS

*S-621 STATE     STATE TREASURER-TEXAS        BEVS0516    5/12/16             254.36 85960 5/13/16 198618                     00000 5/16
                                              BEVS0516    5/12/16           3,167.80 02062 5/13/16 198618           3,422.16 00000 5/16
                                                    **********                3,422.16 ***STATE  ******S-621****STATE TREASURER-TEXAS


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #82713                80,772.86




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APHIST-0164    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AW-016 A-W       A-W DISTRIBUTORS AND               88273 3/03/16              745.50 26505 3/23/16 688310                     03856       /
                                                    88273 3/03/16               29.59 26505 3/23/16 688310             775.09 03856        /
                                                     **********                  775.09 ***A-W    *****AW-016****A-W DISTRIBUTORS AND

AL-167 A-1 LOCK A-1 LOCKSMITHS                     507974 2/09/16               58.34 66120 3/10/16 686859                       02894     /
                                                   507974 2/09/16                4.82 66120 3/10/16 686859                       02894     /
                                                   508176 2/09/16              791.25 66120 3/10/16 686859                       02894     /
                                                   508176 2/09/16               65.28 66120 3/10/16 686859              919.69 02894       /
                                                   509617 2/26/16               82.92 66120 3/23/16 688269                       03152     /
                                                   509617 2/26/16                6.84 66120 3/23/16 688269               89.76 03152       /
                                                   510693 3/08/16               70.00 66120 3/31/16 689082                       03856     /
                                                   510693 3/08/16                5.78 66120 3/31/16 689082               75.78 03856       /
                                                     **********                1,085.23 ***A-1 LOCK*****AL-167****A-1 LOCKSMITHS

AC-026 ACC BUSI ACC BUSINESS                    160450554 2/27/16              679.55 35030 3/03/16 686002              679.55    02508    /
                                                160740745 3/27/16              164.01 35901 3/29/16 911677                        03450    /
                                                160740745 3/27/16            2,066.57 35030 3/29/16 911677            2,230.58    03450    /
                                                     **********                2,910.13 ***ACC BUSI*****AC-026****ACC BUSINESS

AC-057 ACIS      ACIS INNOVATIVE SOLUTIONS         S57990 2/04/16            2,298.36 66160 3/03/16 686713                     02459   /
                                                   S57990 2/04/16              189.62 66160 3/03/16 686713                     02459   /
                                                   S58621 2/04/16              260.00 66160 3/03/16 686713                     02459   /
                                                   S58621 2/04/16               21.45 66160 3/03/16 686713           2,769.43 02459    /
                                                   S58592 2/12/16            4,325.00 66160 3/10/16 687363                     03152   /
                                                   S58592 2/12/16              356.81 66160 3/10/16 687363                     03152   /
                                                   S58696 2/11/16            1,953.02 66160 3/10/16 687363                     02360   /
                                                   S58696 2/11/16              161.12 66160 3/10/16 687363           6,795.95 02360    /
                                                   S58803 2/22/16              240.00 66160 3/23/16 688257                     03152   /
                                                   S58803 2/22/16               19.80 66160 3/23/16 688257             259.80 03152    /
                                                   M42349 3/01/16              380.30 66160 3/31/16 689070                     03544   /
                                                   M42349 3/01/16                6.24 66160 3/31/16 689070             386.54 03544    /
                                                     **********               10,211.72 ***ACIS   *****AC-057****ACIS INNOVATIVE SOLUTIONS

*A-166 AIRG      AIRGAS USA LLC                9934096825 2/29/16              102.03 30870 3/23/16 193053             102.03 03839       3/16
                                                     **********                  102.03 ***AIRG   ******A-166****AIRGAS USA LLC

AL-189 ALPHAGRA ALPHAGRAPHICS                       68609 2/23/16              116.67 60070 3/10/16 686860                        02648    /
                                                    68609 2/23/16                9.63 60070 3/10/16 686860                        02648    /
                                                    68677 2/25/16              280.45 62301 3/10/16 686860                        02648    /
                                                    68677 2/25/16               23.14 62301 3/10/16 686860                        02648    /
                                                    68712 2/26/16               79.32 62301 3/10/16 686860                        03152    /
                                                    68712 2/26/16                6.55 62301 3/10/16 686860              515.76    03152    /
                                                     **********                  515.76 ***ALPHAGRA*****AL-189****ALPHAGRAPHICS

AL-413 ALTEX     ALTEX COMPUTERS &                 252089 2/26/16              546.30 47051 3/23/16 688273                     03152       /
                                                   252089 2/26/16               34.29 47051 3/23/16 688273                     03152       /
                                                   252089 2/26/16               45.07 47051 3/23/16 688273                     03152       /
                                                   252089 2/26/16              120.00 26028 3/23/16 688273                     03152       /
                                                   252089 2/26/16                7.53 26028 3/23/16 688273                     03152       /
                                                   252089 2/26/16                9.90 26028 3/23/16 688273             763.09 03152        /
                                                     **********                  763.09 ***ALTEX  *****AL-413****ALTEX COMPUTERS &

AM-465 AMBIENT   AMBIENT STAGE LIGHTING           IN05524 2/02/16              642.00 47050 3/03/16 686020                        02459    /
                                                  IN05524 2/02/16              800.00 26028 3/03/16 686020            1,442.00    02459    /
                                                  IN05543 2/05/16              662.00 47051 3/10/16 687456                        02648    /
                                                  IN05543 2/05/16            6,470.20 47050 3/10/16 687456                        02648    /
                                                  IN05543 2/05/16            2,040.00 26028 3/10/16 687456                        02648    /
                                                  IN05544 2/06/16            5,051.75 47050 3/10/16 687456                        02648    /
                                                  IN05544 2/06/16            1,980.00 26028 3/10/16 687456           16,203.95    02648    /
                                                  IN05535 2/16/16              375.00 47051 3/17/16 687498              375.00    02360    /
                                                  IN05566 3/02/16            4,257.00 47050 3/31/16 689708                        03152    /
                                                  IN05566 3/02/16              842.50 26028 3/31/16 689708                        03152    /
                                                  IN05585 3/18/16              232.00 47051 3/31/16 689708            5,331.50    03544    /
                                                     **********               23,352.45 ***AMBIENT *****AM-465****AMBIENT STAGE   LIGHTING




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APHIST-0165    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE      CHK #   CHK. AMT. BATCH # CLRD
AM-079 AMER      AMERITEX GUARD SERVICES         6010517 2/08/16               300.00 60016 3/03/16 686017                     02894   /
                                                 6010517 2/08/16                24.75 60016 3/03/16 686017             324.75 02894    /
                                                 6010544 2/15/16               412.50 60016 3/10/16 686864                     02360   /
                                                 6010544 2/15/16                34.03 60016 3/10/16 686864             446.53 02360    /
                                                 6010568 2/22/16               412.50 60016 3/23/16 688276                     03152   /
                                                 6010568 2/22/16                34.03 60016 3/23/16 688276                     03152   /
                                                 6010595 3/01/16               300.00 60016 3/23/16 688276                     03856   /
                                                 6010595 3/01/16                24.75 60016 3/23/16 688276             771.28 03856    /
                                                 6010632 3/07/16               557.81 60016 3/31/16 689090                     03856   /
                                                 6010632 3/07/16                46.02 60016 3/31/16 689090             603.83 03856    /
                                                    **********                 2,146.39 ***AMER   *****AM-079****AMERITEX GUARD SERVICES

AN-065 ANDREWS   ANDREWS REFINISHING               17565 2/22/16               400.00 66400 3/03/16 686022                      02360      /
                                                   17565 2/22/16                31.00 66400 3/03/16 686022              431.00 02360       /
                                                    **********                   431.00 ***ANDREWS *****AN-065****ANDREWS REFINISHING

*A-185 ART B     ART BAKERY                    EF7600112 2/17/16               372.00 24510 3/03/16 191185             372.00     02357   3/16
                                               EF7600113 2/22/16                36.00 24510 3/10/16 191717              36.00     02647   3/16
                                               EF7600114 3/12/16                64.00 24510 3/31/16 193693              64.00     03537   3/16
                                                    **********                   472.00 ***ART B  ******A-185****ART BAKERY

AS-025 ASSA      ASSA ABLOY HOSPITALITY          3143153 3/04/16             1,572.66 66120 3/23/16 688933                     03856    /
                                                 3143153 3/04/16               129.74 66120 3/23/16 688933           1,702.40 03856     /
                                                    **********                 1,702.40 ***ASSA   *****AS-025****ASSA ABLOY HOSPITALITY

AT-046 AT&T      AT&T                         1938909566 3/11/16                66.69 35901 3/23/16 688299                        03947    /
                                              1938909566 3/11/16               203.70 35030 3/23/16 688299               270.39   03947    /
                                                    **********                   270.39 ***AT&T   *****AT-046****AT&T

AT-053 AT&T      AT&T                         8469942365 3/01/16                50.85 35901 3/10/16 911546                        03302    /
                                              8469942365 3/01/16               451.81 35030 3/10/16 911546               502.66   03302    /
                                                    **********                   502.66 ***AT&T   *****AT-053****AT&T

AT-103 AT&T      AT&T                         3163628064 3/05/16                16.96 35901 3/17/16 687515                        03571    /
                                              3163628064 3/05/16               128.01 35030 3/17/16 687515               144.97   03571    /
                                              3167050857 3/05/16                10.53 35901 3/17/16 687516                        03571    /
                                              3167050857 3/05/16               122.28 35030 3/17/16 687516               132.81   03571    /
                                                    **********                   277.78 ***AT&T   *****AT-103****AT&T

*A-144 ATMOS     ATMOS ENERGY                   31602501 3/07/16            10,004.10 64200 3/17/16 192695                        03347   3/16
                                                31602501 3/07/16               825.34 64200 3/17/16 192695          10,829.44     03347   3/16
                                                31653937 3/04/16             1,553.16 64200 3/17/16 192696                        03268   3/16
                                                31653937 3/04/16               128.13 64200 3/17/16 192696           1,681.29     03268   3/16
                                                    **********                12,510.73 ***ATMOS  ******A-144****ATMOS ENERGY

*B-018 BANK      BANK OF AMERICA               MAR16LOAN 3/22/16          251,668.75 86700 3/30/16 193666                     03566       3/16
                                               MAR16LOAN 3/22/16           81,376.99 02820 3/30/16 193666                     03566       3/16
                                               MAR16LOAN 3/22/16           62,921.53 01095 3/30/16 193666         395,967.27 03566        3/16
                                                    **********              395,967.27 ***BANK   ******B-018****BANK OF AMERICA

BA-022 BARTOS    BARTOS                       MW160206A1 2/05/16               278.64 66160 3/03/16 686048                        02894    /
                                              MW160206A1 2/05/16                59.36 66160 3/03/16 686048                        02894    /
                                              MW160206A1 2/05/16                27.88 66160 3/03/16 686048              365.88    02894    /
                                              MW160206B1 2/10/16               751.56 66160 3/10/16 686893                        02894    /
                                              MW160206B1 2/10/16                62.00 66160 3/10/16 686893              813.56    02894    /
                                                    **********                 1,179.44 ***BARTOS *****BA-022****BARTOS

BA-111 BATTERIE BATTERIES PLUS BULBS #266      266305043      2/25/16            89.88    66110    3/23/16   688312               02648    /
                                               266305043      2/25/16             7.42    66110    3/23/16   688312       97.30   02648    /
                                               266305104      2/26/16            85.19    66110    3/31/16   689122               03544    /
                                               266305104      2/26/16             7.03    66110    3/31/16   689122               03544    /
                                               266305506      3/04/16            26.43    66110    3/31/16   689122               03856    /




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
                                               266305506 3/04/16                 2.18 66110 3/31/16 689122              120.83 03856    /
                                                    **********                   218.13 ***BATTERIE*****BA-111****BATTERIES PLUS BULBS #266

BA-522 BATTERIE BATTERIES PLUS                 266303952 2/05/16              232.07 66520 3/03/16 686051                       02894    /
                                               266303952 2/05/16               18.90 66520 3/03/16 686051              250.97 02894      /
                                                    **********                  250.97 ***BATTERIE*****BA-522****BATTERIES PLUS

BE-259 BEAUMONT BEAUMONT BUSINESS MUSIC          0007980 2/18/16            2,760.75 66520 3/17/16 688108                      02360   /
                                                 0007980 2/18/16              227.77 66520 3/17/16 688108                      02360   /
                                                 0007983 2/18/16              322.00 66520 3/17/16 688108                      02360   /
                                                 0007983 2/18/16               26.57 66520 3/17/16 688108            3,337.09 02360    /
                                                    **********                3,337.09 ***BEAUMONT*****BE-259****BEAUMONT BUSINESS MUSIC

BE-390 BERTRAND BERTRAND'S INC                 0391618IN 2/13/16              883.95 24510 3/03/16 686719                       02360    /
                                               0391619IN 2/13/16              174.34 24510 3/03/16 686719                       02360    /
                                               0391810IN 2/15/16              346.53 24510 3/03/16 686719                       02360    /
                                               0391872IN 2/16/16              713.34 24510 3/03/16 686719                       02360    /
                                               0392004IN 2/17/16              549.48 24510 3/03/16 686719            2,667.64 02360      /
                                               0392281IN 2/22/16              376.58 24510 3/10/16 686905              376.58 02648      /
                                               0392865IN 2/25/16              935.61 24510 3/23/16 688936                       03856    /
                                               0393313IN 3/02/16            1,933.86 24510 3/23/16 688936                       03856    /
                                               0393316IN 3/02/16               59.78 24510 3/23/16 688936            2,929.25 03856      /
                                               0394326IN 3/14/16              318.32 24510 3/31/16 689130                       03544    /
                                               0394606IN 3/15/16              219.56 24510 3/31/16 689130              537.88 03544      /
                                                    **********                6,511.35 ***BERTRAND*****BE-390****BERTRAND'S INC

BL-151 BLACKSHE BLACKSHEEP PRODUCTIONS          2014117C 3/05/16            5,943.20 62625 3/23/16 688937            5,943.20 03856     /
                                                    **********                5,943.20 ***BLACKSHE*****BL-151****BLACKSHEEP PRODUCTIONS

*B-600 BOGAR     ERIN BOGAR                        30116 3/01/16               76.35 62505 3/07/16 191582                       03103   3/16
                                                   30116 3/01/16              210.69 62501 3/07/16 191582             287.04    03103   3/16
                                                    **********                  287.04 ***BOGAR  ******B-600****ERIN BOGAR

BR-003 BRINK'S   BRINK'S INC                     1331897 1/31/16                2.09 60135 3/03/16 686074                       02236    /
                                                 1331897 1/31/16                 .13 60135 3/03/16 686074                       02236    /
                                                 1331897 1/31/16                 .18 60135 3/03/16 686074                       02236    /
                                                 9947225 2/01/16              812.23 60135 3/03/16 686074                       02236    /
                                                 9947225 2/01/16               50.76 60135 3/03/16 686074                       02236    /
                                                 9947225 2/01/16               71.20 60135 3/03/16 686074              936.59   02236    /
                                                 9969232 3/01/16              812.23 60135 3/31/16 689139                       03544    /
                                                 9969232 3/01/16               50.76 60135 3/31/16 689139                       03544    /
                                                 9969232 3/01/16               71.20 60135 3/31/16 689139              934.19   03544    /
                                                    **********                1,870.78 ***BRINK'S *****BR-003****BRINK'S INC

BR-491 BROWNING SEYNI BROWNING                03162016SB 3/16/16            1,200.00 26505 3/31/16 689144            1,200.00 03544      /
                                                    **********                1,200.00 ***BROWNING*****BR-491****SEYNI BROWNING

CP-015 C & P     C & P PUMP SERVICES INC           34651 2/11/16              883.00 66250 3/10/16 686957                     02894   /
                                                   34651 2/11/16               72.85 66250 3/10/16 686957             955.85 02894    /
                                                    **********                  955.85 ***C & P  *****CP-015****C & P PUMP SERVICES INC

CA-550 CADDO     CADDO MILLS INDEPENDENT           45423 3/12/16              684.60 14030 3/23/16 689007             684.60 03856    /
                                                    **********                  684.60 ***CADDO  *****CA-550****CADDO MILLS INDEPENDENT

CA-111 CASCADE   CASCADE WATER SERVICES           979093 3/01/16              313.11 66160 3/10/16 686916                      03152    /
                                                  979093 3/01/16               21.13 66160 3/10/16 686916              334.24 03152     /
                                                    **********                  334.24 ***CASCADE *****CA-111****CASCADE WATER SERVICES

*C-409 CAWLEY    CAWLEY CO                       V354064 2/23/16              158.75 16800 3/10/16 191823                       02647   3/16
                                                 V354064 2/23/16               13.16 16800 3/10/16 191823             171.91    02647   3/16
                                                    **********                  171.91 ***CAWLEY ******C-409****CAWLEY CO




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APHIST-0167   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                             PAGE     1
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA    NAME                        INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
CE-098 CENTURY   CENTURYLINK                   1369312489 3/15/16               86.38 35901 3/17/16 687562                        03667    /
                                               1369312489 3/15/16              957.06 35030 3/17/16 687562            1,043.44    03667    /
                                                     **********                1,043.44 ***CENTURY *****CE-098****CENTURYLINK

CH-549 CHAMPION CHAMPION WASTE SERVICES            236068 3/02/16              502.00 66325 3/10/16 687434                      03209   /
                                                   236068 3/02/16               41.42 66325 3/10/16 687434              543.42 03209    /
                                                   236819 3/10/16              190.21 66325 3/17/16 688199                      03468   /
                                                   236819 3/10/16               15.69 66325 3/17/16 688199              205.90 03468    /
                                                     **********                  749.32 ***CHAMPION*****CH-549****CHAMPION WASTE SERVICES

CH-437 CHEF      CHEF WORKS INC                 IN1333434 2/03/16              497.29 26820 3/03/16 686106                      02357      /
                                                IN1333434 2/03/16               95.95 26820 3/03/16 686106                      02357      /
                                                IN1333434 2/03/16               48.97 26820 3/03/16 686106             642.21 02357        /
                                                     **********                  642.21 ***CHEF   *****CH-437****CHEF WORKS INC

*C-411 CINTAS    CINTAS CORP                      2211641 2/18/16               76.47 66075 3/10/16 191831                        03149   3/16
                                                  2211641 2/18/16               12.25 66075 3/10/16 191831                        03149   3/16
                                                  2211641 2/18/16                7.32 66075 3/10/16 191831              96.04     03149   3/16
                                                  2224330 2/23/16              195.72 16800 3/23/16 193103                        03856   3/16
                                                  2224330 2/23/16               16.15 16800 3/23/16 193103                        03856   3/16
                                                  2224330 2/23/16               17.48 16800 3/23/16 193103                        03856   3/16
                                                  2227039 2/24/16              191.82 66075 3/23/16 193103                        03856   3/16
                                                  2227039 2/24/16               16.55 66075 3/23/16 193103                        03856   3/16
                                                  2227039 2/24/16               17.19 66075 3/23/16 193103                        03856   3/16
                                                  2230302 2/25/16              131.07 66075 3/23/16 193103                        03856   3/16
                                                  2230302 2/25/16               12.55 66075 3/23/16 193103                        03856   3/16
                                                  2230302 2/25/16               11.85 66075 3/23/16 193103             610.38     03856   3/16
                                                     **********                  706.42 ***CINTAS ******C-411****CINTAS CORP

CI-016 CINTAS    CINTAS CORP#163/#463/#492      163136540 1/01/16                43.75 26380 3/03/16 686107                     02357   /
                                                163136540 1/01/16                 3.61 26380 3/03/16 686107                     02357   /
                                                163136540 1/01/16                48.66 16400 3/03/16 686107                     02357   /
                                                163136540 1/01/16                 4.01 16400 3/03/16 686107                     02357   /
                                                163143932 2/05/16                43.75 26380 3/03/16 686107                     02459   /
                                                163143932 2/05/16                 3.61 26380 3/03/16 686107                     02459   /
                                                163143932 2/05/16                48.66 16400 3/03/16 686107                     02459   /
                                                163143932 2/05/16                 4.01 16400 3/03/16 686107             200.06 02459    /
                                                163142453 1/29/16                43.75 26380 3/10/16 686932                     02648   /
                                                163142453 1/29/16                 3.61 26380 3/10/16 686932                     02648   /
                                                163142453 1/29/16                48.66 16400 3/10/16 686932                     02648   /
                                                163142453 1/29/16                 4.01 16400 3/10/16 686932                     02648   /
                                                163145441 2/12/16                43.75 26380 3/10/16 686932                     02648   /
                                                163145441 2/12/16                 3.61 26380 3/10/16 686932                     02648   /
                                                163145441 2/12/16                48.66 16400 3/10/16 686932                     02648   /
                                                163145441 2/12/16                 4.01 16400 3/10/16 686932             200.06 02648    /
                                                163146910 2/19/16                43.75 26380 3/17/16 687587                     02648   /
                                                163146910 2/19/16                 3.61 26380 3/17/16 687587                     02648   /
                                                163146910 2/19/16                48.66 16400 3/17/16 687587                     02648   /
                                                163146910 2/19/16                 4.01 16400 3/17/16 687587             100.03 02648    /
                                                     **********                   500.15 ***CINTAS *****CI-016****CINTAS CORP#163/#463/#492

*C-345 CITY      CITY OF FRISCO                  21669501 3/10/16            1,065.10 66325 3/23/16 193082                      03736     3/16
                                                 21669501 3/10/16               32.40 66325 3/23/16 193082                      03736     3/16
                                                 21669501 3/10/16            8,971.14 64500 3/23/16 193082          10,068.64 03736       3/16
                                                 21669601 3/10/16               27.81 64500 3/23/16 193083              27.81 03736       3/16
                                                     **********               10,096.45 ***CITY   ******C-345****CITY OF FRISCO

CI-192 CITY OF   CITY OF FRISCO                CTYR0316    3/09/16             844.60 85960 3/09/16 911536                       00000     /
                                               CTYR0316    3/09/16          85,278.18 02059 3/09/16 911536           86,122.78 00000       /
                                                     **********               86,122.78 ***CITY OF *****CI-192****CITY OF FRISCO

CO-736 COMMUNI   COMMLOG LLC                      5139790 2/15/16                39.99 26870 3/10/16 686953                       02360    /
                                                  5139790 2/15/16                 8.03 26870 3/10/16 686953               48.02   02360    /
                                                     **********                    48.02 ***COMMUNI *****CO-736****COMMLOG LLC




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                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA    NAME                        INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
CO-879 CONNECT   CONNECT GROUP ENTERPRISES       16021201 2/12/16               580.00 26870 3/23/16 688372                      03839   /
                                                 16021201 2/12/16                35.00 26870 3/23/16 688372              615.00 03839    /
                                                     **********                   615.00 ***CONNECT *****CO-879****CONNECT GROUP ENTERPRISES

CO-492 CONVOY    CONVOY OF HOPE                INSA021603 2/29/16               341.94 02042 3/03/16 686838             341.94 00000       /
                                                     **********                   341.94 ***CONVOY *****CO-492****CONVOY OF HOPE

*C-229 CORDOVA   PAUL CORDOVA                       22416 2/24/16               321.72 62505 3/10/16 191792                       02647   3/16
                                                    22416 2/24/16                15.55 60720 3/10/16 191792                       02647   3/16
                                                    22416 2/24/16               125.87 60070 3/10/16 191792                       02647   3/16
                                                    22416 2/24/16               146.07 26865 3/10/16 191792                       02647   3/16
                                                    22416 2/24/16                20.53 26180 3/10/16 191792              629.74   02647   3/16
                                                     **********                   629.74 ***CORDOVA ******C-229****PAUL CORDOVA

CO-280 CORPOR    CORPORATE BUILDING                 75186     2/03/16        4,894.56      16020   3/03/16   686831               02459    /
                                                    75186     2/03/16          403.80      16020   3/03/16   686831               02459    /
                                                    75253     2/02/16        7,336.40      16020   3/03/16   686831               02459    /
                                                    75253     2/02/16          605.25      16020   3/03/16   686831               02459    /
                                                    75255     2/02/16        2,237.15      16021   3/03/16   686831               02459    /
                                                    75255     2/02/16          184.56      16021   3/03/16   686831               02459    /
                                                    75256     2/02/16        1,682.37      66020   3/03/16   686831               02459    /
                                                    75256     2/02/16          138.80      66020   3/03/16   686831               02459    /
                                                    75257     2/02/16          349.91      16030   3/03/16   686831               02459    /
                                                    75257     2/02/16           28.87      16030   3/03/16   686831               02459    /
                                                    75274     2/06/16          291.32      16030   3/03/16   686831               02459    /
                                                    75274     2/06/16           24.03      16030   3/03/16   686831               02459    /
                                                    75275     2/08/16        3,682.14      16020   3/03/16   686831               02459    /
                                                    75275     2/08/16          303.78      16020   3/03/16   686831               02459    /
                                                    75276     2/08/16        2,965.71      16021   3/03/16   686831               02459    /
                                                    75276     2/08/16          244.67      16021   3/03/16   686831               02459    /
                                                    75277     2/08/16        7,832.94      16020   3/03/16   686831               02459    /
                                                    75277     2/08/16          646.22      16020   3/03/16   686831               02459    /
                                                    75278     2/08/16           54.00      26030   3/03/16   686831               02459    /
                                                    75278     2/08/16            4.46      26030   3/03/16   686831   33,910.94   02459    /
                                                    75322     2/10/16        1,609.22      66020   3/10/16   687377               02894    /
                                                    75322     2/10/16          132.76      66020   3/10/16   687377               02894    /
                                                    75327     2/14/16          360.76      16030   3/10/16   687377               02360    /
                                                    75327     2/14/16           29.76      16030   3/10/16   687377    2,132.50   02360    /
                                                    75380     2/16/16        3,597.89      16020   3/17/16   688235               02360    /
                                                    75380     2/16/16          296.83      16020   3/17/16   688235               02360    /
                                                    75381     2/16/16        2,001.05      16021   3/17/16   688235               02360    /
                                                    75381     2/16/16          165.09      16021   3/17/16   688235               02360    /
                                                    75382     2/18/16        7,044.31      16020   3/17/16   688235               02360    /
                                                    75382     2/18/16          581.16      16020   3/17/16   688235               02360    /
                                                    75383     2/18/16        1,596.06      66020   3/17/16   688235               02360    /
                                                    75383     2/18/16          131.67      66020   3/17/16   688235               02360    /
                                                    75387     2/18/16          705.00      26028   3/17/16   688235               02360    /
                                                    75387     2/18/16           58.16      26028   3/17/16   688235   16,177.22   02360    /
                                                    75398     2/22/16        8,615.55      16020   3/23/16   689036               02360    /
                                                    75398     2/22/16          710.78      16020   3/23/16   689036               02360    /
                                                    75399     2/22/16        4,257.17      16020   3/23/16   689036               02360    /
                                                    75399     2/22/16          351.22      16020   3/23/16   689036               02360    /
                                                    75400     2/22/16        2,533.44      16021   3/23/16   689036               02360    /
                                                    75400     2/22/16          209.01      16021   3/23/16   689036               02360    /
                                                    75402     2/23/16        1,524.91      66020   3/23/16   689036               02648    /
                                                    75402     2/23/16          125.81      66020   3/23/16   689036               02648    /
                                                    75403     2/23/16          379.75      16030   3/23/16   689036               02648    /
                                                    75403     2/23/16           31.33      16030   3/23/16   689036               02648    /
                                                    75470     2/29/16        8,606.06      16020   3/23/16   689036               03152    /
                                                    75470     2/29/16          710.00      16020   3/23/16   689036               03152    /
                                                    75471     2/29/16        4,060.72      16020   3/23/16   689036               03152    /
                                                    75471     2/29/16          335.01      16020   3/23/16   689036               03152    /
                                                    75472     2/29/16        2,508.76      16021   3/23/16   689036               03152    /
                                                    75472     2/29/16          206.97      16021   3/23/16   689036               03152    /
                                                    75473     2/29/16          394.18      16030   3/23/16   689036               03152    /
                                                    75473     2/29/16           32.52      16030   3/23/16   689036               03152    /
                                                    75630     2/29/16        1,254.61      66020   3/23/16   689036               03152    /
                                                    75630     2/29/16          103.51      66020   3/23/16   689036   36,951.31   03152    /
                                                    75676     3/07/16          363.48      16030   3/31/16   689819               03856    /




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APHIST-0169   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                             PAGE     2
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                   75676 3/07/16               29.99 16030 3/31/16 689819                     03856        /
                                                   75677 3/07/16            8,629.54 16020 3/31/16 689819                     03856        /
                                                   75677 3/07/16              711.94 16020 3/31/16 689819                     03856        /
                                                   75691 3/07/16            3,858.12 16020 3/31/16 689819                     03856        /
                                                   75691 3/07/16              318.29 16020 3/31/16 689819                     03856        /
                                                   75692 3/07/16            2,093.80 16021 3/31/16 689819                     03856        /
                                                   75692 3/07/16              172.74 16021 3/31/16 689819                     03856        /
                                                   75693 3/07/16            1,085.05 66020 3/31/16 689819                     03856        /
                                                   75693 3/07/16               89.52 66020 3/31/16 689819          17,352.47 03856         /
                                                    **********              106,524.44 ***CORPOR *****CO-280****CORPORATE BUILDING

CO-848 CORPORAT THE CORPORATE IMAGE INC           134315 2/22/16               321.90 62505 3/03/16 686145                        02360   /
                                                  134315 2/22/16                26.56 62505 3/03/16 686145              348.46    02360   /
                                                  133686 2/01/16               183.60 16800 3/10/16 686956                        02648   /
                                                  133686 2/01/16                12.77 16800 3/10/16 686956                        02648   /
                                                  133686 2/01/16                16.20 16800 3/10/16 686956              212.57    02648   /
                                                    **********                   561.03 ***CORPORAT*****CO-848****THE CORPORATE   IMAGE INC

*C-373 COSERV    COSERV                         28526592 3/22/16           13,149.62 64100 3/31/16 193751                         03472   3/16
                                                28526592 3/22/16            1,084.84 64100 3/31/16 193751          14,234.46      03472   3/16
                                                28526593 3/22/16           26,092.54 64100 3/31/16 193752                         03472   3/16
                                                28526593 3/22/16            2,152.63 64100 3/31/16 193752          28,245.17      03472   3/16
                                                    **********               42,479.63 ***COSERV ******C-373****COSERV

CO-523 COWBOYS   COWBOYS CLUB                      21916 2/19/16               500.00 62505 3/03/16 686135              500.00    02360    /
                                                    **********                   500.00 ***COWBOYS *****CO-523****COWBOYS CLUB

DA-198 DALLAS    THE DALLAS TEMPS CORP        EMBASSY009 2/16/16            1,452.10 26015 3/03/16 686158             1,452.10  02360      /
                                              EMBASSY010 2/23/16            1,612.52 26015 3/10/16 686973                       02648      /
                                              EMBASSY011 3/03/16              190.58 26015 3/10/16 686973             1,803.10 03152       /
                                              EMBASSY012 3/07/16            1,996.41 26015 3/23/16 688948                       03856      /
                                              EMBASSY013 3/08/16              403.00 26015 3/23/16 688948                       03856      /
                                              EMBASSY014 3/11/16              338.52 26015 3/23/16 688948                       03856      /
                                              EMBASSY015 3/11/16              366.21 26015 3/23/16 688948             3,104.14 03856       /
                                              EMBASSY016 3/15/16            2,187.38 26015 3/31/16 689722             2,187.38 03544       /
                                                    **********                8,546.72 ***DALLAS *****DA-198****THE   DALLAS TEMPS CORP

DE-414 DERM      DERMALOGICA INC              16009290RI 1/18/16               306.50 45022 3/23/16 688391                      03892      /
                                              16009290RI 1/18/16                15.00 45022 3/23/16 688391                      03892      /
                                              16009290RI 1/18/16                18.09 45022 3/23/16 688391                      03892      /
                                              16017692RM 2/03/16               306.50- 45022 3/23/16 688391                     03892      /
                                              16017692RM 2/03/16                18.09- 45022 3/23/16 688391              15.00 03892       /
                                                    **********                    15.00 ***DERM    *****DE-414****DERMALOGICA INC

DE-150 DESIGN    DESIGNTEX                       6544099 2/05/16               182.40 66400 3/03/16 686166                        02360    /
                                                 6544099 2/05/16                24.99 66400 3/03/16 686166                        02360    /
                                                 6544099 2/05/16                17.10 66400 3/03/16 686166             224.49     02360    /
                                                    **********                   224.49 ***DESIGN *****DE-150****DESIGNTEX

DE-061 DESSERT   DESSERT DREAMS INC                59480 2/04/16               400.00 24510 3/03/16 686165              400.00 02459       /
                                                    **********                   400.00 ***DESSERT *****DE-061****DESSERT DREAMS INC

DF-022 DFW       DFW COMMUNICATIONS, INC.     1290003461     1/06/16           870.00     66201   3/10/16   687381                02647    /
                                              1290003461     1/06/16            20.00     66201   3/10/16   687381                02647    /
                                              1290003461     1/06/16            71.21     66201   3/10/16   687381                02647    /
                                              1290004011     2/19/16           380.00     66520   3/10/16   687381                02648    /
                                              1290004011     2/19/16            30.40     66520   3/10/16   687381                02648    /
                                              1290004031     2/25/16           331.00     66520   3/10/16   687381                02648    /
                                              1290004031     2/25/16            26.50     66520   3/10/16   687381                02648    /
                                              5110023161     2/16/16           187.30     66520   3/10/16   687381                02648    /
                                              5110023161     2/16/16            14.99     66520   3/10/16   687381                02648    /
                                              5110023171     2/16/16           195.14     66520   3/10/16   687381                02648    /
                                              5110023171     2/16/16            15.61     66520   3/10/16   687381                02648    /
                                              5110023181     2/16/16           168.25     66120   3/10/16   687381                02648    /




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APHIST-0170   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                               PAGE     3
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                          DATE
VEND#   ALPHA    NAME                          INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                 5110023181 2/16/16                13.46 66120 3/10/16 687381           2,323.86 02648    /
                                                 5120024291 2/29/16               171.23 66120 3/23/16 688392                     03856   /
                                                 5120024291 2/29/16                13.70 66120 3/23/16 688392             184.93 03856    /
                                                 1290004351 3/16/16                73.00 66120 3/31/16 689209                     03544   /
                                                 1290004351 3/16/16                 5.85 66120 3/31/16 689209              78.85 03544    /
                                                       **********                 2,587.64 ***DFW    *****DF-022****DFW COMMUNICATIONS, INC.

DI-285 DIRECT    DIRECT SOURCE PRODUCTS           IN1187071 3/15/16               105.50 26660 3/31/16 689213                     03544    /
                                                  IN1187071 3/15/16                 8.70 26660 3/31/16 689213             114.20 03544     /
                                                       **********                   114.20 ***DIRECT *****DI-285****DIRECT SOURCE PRODUCTS

DI-052 DIRECTV   DIRECTV                         8046840363 3/12/16               221.98 16425 3/21/16 911654                       03799    /
                                                 8046840363 3/12/16                13.86 16425 3/21/16 911654              235.84   03799    /
                                                       **********                   235.84 ***DIRECTV *****DI-052****DIRECTV

DO-038 DOOR      DOOR CONTROL SERVICES INC       SMINV81541 2/29/16               413.75 66120 3/31/16 689216                     03544   /
                                                 SMINV81541 2/29/16                34.13 66120 3/31/16 689216             447.88 03544    /
                                                       **********                   447.88 ***DOOR   *****DO-038****DOOR CONTROL SERVICES INC

DO-167 DORADO    DORADO FINANCE LTD      FOR           1728 2/15/16            5,772.91 26028 3/03/16 686736                     02360       /
                                                       1729 2/15/16               95.63 26015 3/03/16 686736           5,868.54 02360        /
                                                       1745 2/22/16           10,621.29 26028 3/10/16 687465                     02648       /
                                                       1747 2/22/16              260.10 26015 3/10/16 687465                     02648       /
                                                       1762 2/29/16            8,108.15 26028 3/10/16 687465          18,989.54 03152        /
                                                       1782 3/08/16           10,773.38 26028 3/23/16 688950                     03856       /
                                                       1784 3/08/16              529.13 26015 3/23/16 688950          11,302.51 03856        /
                                                       1798 3/14/16            2,734.13 26028 3/31/16 689727           2,734.13 03544        /
                                                       **********               38,894.72 ***DORADO *****DO-167****DORADO FINANCE LTD        FOR

DO-127 DOW JONE DOW JONES & CO INC                 96686809 2/08/16               262.26 16100 3/03/16 686182              262.26 02360      /
                                                       **********                   262.26 ***DOW JONE*****DO-127****DOW JONES & CO INC

*E-091 ECOL      ECOLAB INC                         0926758 2/10/16               599.41 66600 3/03/16 191291                       02357   3/16
                                                    0926758 2/10/16                49.45 66600 3/03/16 191291             648.86    02357   3/16
                                                    1207869 3/11/16               644.00 66600 3/31/16 193824                       03537   3/16
                                                    1207869 3/11/16                53.13 66600 3/31/16 193824                       03537   3/16
                                                    1225207 3/11/16                42.00 47040 3/31/16 193824                       03537   3/16
                                                    1225207 3/11/16                 4.83 47040 3/31/16 193824                       03537   3/16
                                                    1225207 3/11/16                 3.86 47040 3/31/16 193824             747.82    03537   3/16
                                                       **********                 1,396.68 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS       ECS INC / RIPPLEPOINT           *CONSUL 09 3/04/16               107.25 35895 3/17/16 192780             107.25 02340 3/16
                                                       **********                   107.25 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                        18862495     2/04/16          614.88      16850   3/03/16   191272               02357   3/16
                                                   18862495     2/04/16          120.70      16850   3/03/16   191272               02357   3/16
                                                   18862495     2/04/16           60.69      16850   3/03/16   191272               02357   3/16
                                                   18892287     2/11/16           48.96      30870   3/03/16   191272               02357   3/16
                                                   18892287     2/11/16           10.27      30870   3/03/16   191272               02357   3/16
                                                   18892287     2/11/16            4.89      30870   3/03/16   191272               02357   3/16
                                                   18912056     2/17/16          262.20      47040   3/03/16   191272               02357   3/16
                                                   18912056     2/17/16           21.63      47040   3/03/16   191272               02357   3/16
                                                   18912057     2/17/16          258.66      26180   3/03/16   191272               02357   3/16
                                                   18912057     2/17/16           21.34      26180   3/03/16   191272               02357   3/16
                                                   18912058     2/17/16          232.41      47040   3/03/16   191272               02357   3/16
                                                   18912058     2/17/16           19.17      47040   3/03/16   191272               02357   3/16
                                                   18912058     2/17/16          747.25      26180   3/03/16   191272               02357   3/16
                                                   18912058     2/17/16           61.65      26180   3/03/16   191272    2,484.70   02357   3/16
                                                   18908080     2/16/16        1,315.71      26180   3/10/16   191858               02647   3/16
                                                   18908080     2/16/16          108.55      26180   3/10/16   191858               02647   3/16
                                                   18923901     2/19/16          557.47      47040   3/10/16   191858               02647   3/16
                                                   18923901     2/19/16           45.99      47040   3/10/16   191858               02647   3/16
                                                   18923901     2/19/16          378.54      26180   3/10/16   191858               02647   3/16
                                                   18923901     2/19/16           31.23      26180   3/10/16   191858               02647   3/16




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APHIST-0171    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     4
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                18940908 2/24/16              310.12 26660 3/10/16 191858                        02647   3/16
                                                18940908 2/24/16               25.58 26660 3/10/16 191858                        02647   3/16
                                                18940909 2/24/16              348.62 47040 3/10/16 191858                        02647   3/16
                                                18940909 2/24/16               28.76 47040 3/10/16 191858           3,150.57     02647   3/16
                                                18943132 2/24/16              477.23 30180 3/23/16 193127                        03839   3/16
                                                18943132 2/24/16               48.21 30180 3/23/16 193127                        03839   3/16
                                                18943132 2/24/16               43.35 30180 3/23/16 193127                        03839   3/16
                                                18988554 3/04/16              898.42 26180 3/23/16 193127                        03839   3/16
                                                18988554 3/04/16               74.12 26180 3/23/16 193127                        03839   3/16
                                                18989700 3/05/16            1,110.35 26180 3/23/16 193127                        03839   3/16
                                                18989700 3/05/16               98.82 26180 3/23/16 193127                        03839   3/16
                                                18989700 3/05/16               99.76 26180 3/23/16 193127           2,850.26     03839   3/16
                                                18973270 3/02/16               55.75 47040 3/31/16 193809                        03537   3/16
                                                18973270 3/02/16                4.60 47040 3/31/16 193809                        03537   3/16
                                                18973270 3/02/16              297.76 26660 3/31/16 193809                        03537   3/16
                                                18973270 3/02/16               24.56 26660 3/31/16 193809                        03537   3/16
                                                18987050 3/04/16              410.89 47040 3/31/16 193809                        03537   3/16
                                                18987050 3/04/16               33.90 47040 3/31/16 193809                        03537   3/16
                                                19034671 3/16/16              283.33 26660 3/31/16 193809                        03537   3/16
                                                19034671 3/16/16               23.37 26660 3/31/16 193809                        03537   3/16
                                                19034671 3/16/16               56.57 26180 3/31/16 193809                        03537   3/16
                                                19034671 3/16/16                4.67 26180 3/31/16 193809                        03537   3/16
                                                19034672 3/16/16              944.46 26180 3/31/16 193809                        03537   3/16
                                                19034672 3/16/16               77.92 26180 3/31/16 193809           2,217.78     03537   3/16
                                                    **********               10,703.31 ***EDWARD ******D-210****EDWARD DON

EM-009 EMBASSY   HILTON HOTELS CORP           0012121628 2/29/16           18,376.94 02008 3/17/16 688247                        03590    /
                                              0012121628 2/29/16           30,628.23 02007 3/17/16 688247                        03590    /
                                              0012121628 2/29/16           49,005.16 02006 3/17/16 688247           98,010.33    03590    /
                                                    **********               98,010.33 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

EM-028 EM2       EM2                           C15122105 3/02/16              941.60 62625 3/31/16 689248                        03152    /
                                              2015122105 3/02/16            1,056.00 14050 3/31/16 689248           1,997.60     03152    /
                                                    **********                1,997.60 ***EM2    *****EM-028****EM2

FA-249 FABRICLE FABRICLEAN SUPPLY OF          2788887001 2/09/16                76.00 16250 3/10/16 687014                      02360     /
                                              2788887001 2/09/16                14.49 16250 3/10/16 687014                      02360     /
                                              2788887001 2/09/16                 7.46 16250 3/10/16 687014               97.95 02360      /
                                                    **********                    97.95 ***FABRICLE*****FA-249****FABRICLEAN SUPPLY OF

FA-294 FACILITY FACILITY SOLUTIONS GROUP       393154600 2/11/16                84.16 66130 3/10/16 687016                      02894   /
                                               393154600 2/11/16                 6.94 66130 3/10/16 687016                      02894   /
                                               393156600 2/11/16                73.00 66130 3/10/16 687016                      02894   /
                                               393156600 2/11/16                 6.02 66130 3/10/16 687016              170.12 02894    /
                                               393505300 2/17/16                97.35 66130 3/17/16 687665                      02360   /
                                               393505300 2/17/16                 9.95 66130 3/17/16 687665                      02360   /
                                               393505300 2/17/16                 8.86 66130 3/17/16 687665              116.16 02360    /
                                               393505301 2/24/16                43.05 66130 3/23/16 688429                      02648   /
                                               393505301 2/24/16                 3.55 66130 3/23/16 688429                      02648   /
                                               393818900 2/24/16                45.90 66130 3/23/16 688429                      02648   /
                                               393818900 2/24/16                 9.95 66130 3/23/16 688429                      02648   /
                                               393818900 2/24/16                 4.61 66130 3/23/16 688429              107.06 02648    /
                                                  948506 3/08/16               435.00 66130 3/31/16 689263                      03856   /
                                                  948506 3/08/16                15.00 66130 3/31/16 689263                      03856   /
                                                  948506 3/08/16                37.13 66130 3/31/16 689263                      03856   /
                                               394445500 3/04/16               147.30 66130 3/31/16 689263                      03856   /
                                               394445500 3/04/16                 9.95 66130 3/31/16 689263                      03856   /
                                               394445500 3/04/16                12.98 66130 3/31/16 689263                      03856   /
                                               394526000 3/04/16               472.17 66130 3/31/16 689263                      03856   /
                                               394526000 3/04/16                 9.95 66130 3/31/16 689263                      03856   /
                                               394526000 3/04/16                39.77 66130 3/31/16 689263                      03856   /
                                               394536000 3/07/16                99.40 66130 3/31/16 689263                      03856   /
                                               394536000 3/07/16                 9.95 66130 3/31/16 689263                      03856   /
                                               394536000 3/07/16                 9.02 66130 3/31/16 689263            1,297.62 03856    /
                                                    **********                 1,690.96 ***FACILITY*****FA-294****FACILITY SOLUTIONS GROUP

FE-097 FEDEX     FEDEX                         531709320     2/11/16            11.02     60590   3/03/16   686841       11.02   02360    /




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APHIST-0172    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE      1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               532477265 2/18/16               103.62 60590 3/10/16 687021                       03152     /
                                               533229438 2/25/16                77.02 60590 3/10/16 687021             180.64    03152     /
                                               533965932 3/03/16               146.46 60590 3/23/16 689051             146.46    03856     /
                                               534708674 3/10/16               116.08 60590 3/31/16 689830             116.08    03544     /
                                                    **********                   454.20 ***FEDEX  *****FE-097****FEDEX

FI-108 FIRE      FIRE & LIFE SAFETY               323101 3/08/16               458.00 66110 3/31/16 689271                     03544       /
                                                  323101 3/08/16                37.79 66110 3/31/16 689271             495.79 03544        /
                                                    **********                   495.79 ***FIRE   *****FI-108****FIRE & LIFE SAFETY

FI-011 FITNESS   FITNESS SERVICE OF N TX          160609 2/16/16                85.00 66120 3/17/16 687670                      02360   /
                                                  160609 2/16/16                 7.01 66120 3/17/16 687670                      02360   /
                                                  160619 2/17/16                99.00 66255 3/17/16 687670                      02360   /
                                                  160619 2/17/16                 8.17 66255 3/17/16 687670              199.18 02360    /
                                                  160760 2/26/16               186.30 66120 3/23/16 688436                      03856   /
                                                  160760 2/26/16                15.37 66120 3/23/16 688436              201.67 03856    /
                                                  160791 3/02/16                85.00 66201 3/31/16 689269                      03856   /
                                                  160791 3/02/16                 7.01 66201 3/31/16 689269               92.01 03856    /
                                                    **********                   492.86 ***FITNESS *****FI-011****FITNESS SERVICE OF N TX

FO-153 FORBES    FORBES INDUSTRIES INC            245605 3/09/16               499.00 26870 3/31/16 689276                     03544   /
                                                  245605 3/09/16               229.93 26870 3/31/16 689276                     03544   /
                                                  245605 3/09/16                60.14 26870 3/31/16 689276             789.07 03544    /
                                                    **********                   789.07 ***FORBES *****FO-153****FORBES INDUSTRIES INC

FR-101 FREEDMAN FREEDMAN FOOD SERVICE INC       55030637 2/15/16              501.00 24510 3/03/16 686747                        02360     /
                                                55030828 2/15/16            1,452.17 24510 3/03/16 686747                        02360     /
                                                55031247 2/18/16            1,140.18 24510 3/03/16 686747            3,093.35    02360     /
                                                    **********                3,093.35 ***FREEDMAN*****FR-101****FREEDMAN FOOD   SERVICE   INC

FR-066 FRESH     FRESH PASTA DELIGHTS              83948 2/06/16                90.00 24510 3/23/16 688454                     03839       /
                                                   84327 3/07/16                90.00 24510 3/23/16 688454             180.00 03856        /
                                                   84488 3/19/16                90.00 24510 3/31/16 689283              90.00 03544        /
                                                    **********                   270.00 ***FRESH  *****FR-066****FRESH PASTA DELIGHTS

FR-025 FRESHPOI FRESHPOINT DALLAS                2781258 2/05/16            1,503.86 24510 3/03/16 686743                      02459       /
                                                 2781259 2/05/16              126.55 24510 3/03/16 686743                      02459       /
                                                 2782720 2/06/16              967.15 24510 3/03/16 686743                      02459       /
                                                 2783755 2/08/16              788.64 24510 3/03/16 686743            3,386.20 02894        /
                                                 2784317 2/09/16              242.13 24510 3/10/16 687387                      02894       /
                                                 2785067 2/09/16              930.03 24510 3/10/16 687387                      02894       /
                                                 2786993 2/11/16              185.41 24510 3/10/16 687387                      02894       /
                                                 2788075 2/12/16            1,158.62 24510 3/10/16 687387                      02894       /
                                                 2789079 2/13/16              782.53 24510 3/10/16 687387                      02360       /
                                                 2790204 2/15/16            1,156.20 24510 3/10/16 687387                      02360       /
                                                 2802802 2/29/16              518.91 16110 3/10/16 687387            4,973.83 03149        /
                                                 2791994 2/17/16              610.10 24510 3/17/16 688135                      02360       /
                                                 2791995 2/17/16            2,845.70 24510 3/17/16 688135                      02360       /
                                                 2794289 2/19/16              872.25 24510 3/17/16 688135            4,328.05 02360        /
                                                 2796805 2/22/16              344.34 24510 3/23/16 689053                      02648       /
                                                 2796806 2/22/16              475.72 24510 3/23/16 689053                      02648       /
                                                 2800466 2/26/16            1,654.75 24510 3/23/16 689053                      03152       /
                                                 2800467 2/26/16              115.11 24510 3/23/16 689053                      03152       /
                                                 2801791 2/27/16            1,431.93 24510 3/23/16 689053            4,021.85 03152        /
                                                 2804469 3/02/16              350.65 24510 3/31/16 689731                      03856       /
                                                 2804470 3/02/16              609.62 24510 3/31/16 689731                      03856       /
                                                 2806768 3/04/16              659.74 24510 3/31/16 689731                      03856       /
                                                 2809126 3/07/16              220.67 24510 3/31/16 689731            1,840.68 03856        /
                                                    **********               18,550.61 ***FRESHPOI*****FR-025****FRESHPOINT DALLAS

*F-011 FRISCO    FRISCO EMBASSY SUITES        D027139128     2/24/16           385.14     16140   3/03/16   191303               02293   3/16
                                              D027139128     2/24/16           275.00     16105   3/03/16   191303      660.14   02293   3/16
                                              D027131004     2/26/16           800.00     47050   3/10/16   191886               02651   3/16
                                              D027131004     2/26/16            16.77     26505   3/10/16   191886               02651   3/16
                                              D027131004     2/26/16            53.88     24510   3/10/16   191886               02651   3/16




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APHIST-0173   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     2
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                             D027131004 2/26/16               42.44 14030 3/10/16 191886                     02651 3/16
                                             D027134970 2/24/16               76.80 45022 3/10/16 191886                     02651 3/16
                                             D027134970 2/24/16               67.44 24510 3/10/16 191886                     02651 3/16
                                             D027134970 2/24/16              451.74 16140 3/10/16 191886                     02651 3/16
                                             D027137720 2/26/16            1,074.99 66120 3/10/16 191886                     02651 3/16
                                             D027137720 2/26/16              640.00 26380 3/10/16 191886                     02651 3/16
                                             D027137720 2/26/16              255.20 16140 3/10/16 191886                     02651 3/16
                                             D027138188 2/26/16               87.78 66120 3/10/16 191886                     02651 3/16
                                             D027138188 2/26/16               43.21 60552 3/10/16 191886                     02651 3/16
                                             D027138188 2/26/16              319.34 60470 3/10/16 191886                     02651 3/16
                                             D027138188 2/26/16              135.00 26035 3/10/16 191886                     02651 3/16
                                             D027138188 2/26/16               21.64 16850 3/10/16 191886                     02651 3/16
                                             D027138188 2/26/16               38.97 16105 3/10/16 191886                     02651 3/16
                                             D027138885 2/26/16               11.99 60550 3/10/16 191886                     02651 3/16
                                             D027138885 2/26/16               20.47 45022 3/10/16 191886                     02651 3/16
                                             D027138885 2/26/16               43.82 16870 3/10/16 191886                     02651 3/16
                                             D027138885 2/26/16               39.45 16105 3/10/16 191886                     02651 3/16
                                             D037131842 3/03/16               90.04 66120 3/10/16 191886                     03104 3/16
                                             D037131842 3/03/16               54.89 62505 3/10/16 191886                     03104 3/16
                                             D037131842 3/03/16               34.64 24510 3/10/16 191886                     03104 3/16
                                             D037137549 3/03/16               17.20 26505 3/10/16 191886                     03104 3/16
                                             D037137549 3/03/16               39.60 24510 3/10/16 191886           4,477.30 03104 3/16
                                             D037131784 3/11/16              455.00 66600 3/23/16 193157                     03838 3/16
                                             D037131784 3/11/16              172.12 66120 3/23/16 193157                     03838 3/16
                                             D037131784 3/11/16              175.60 45022 3/23/16 193157                     03838 3/16
                                             D037131784 3/11/16              224.96 24510 3/23/16 193157                     03838 3/16
                                             D037134416 3/15/16              395.00 62841 3/23/16 193157                     03838 3/16
                                             D037134416 3/15/16               25.80 26505 3/23/16 193157                     03838 3/16
                                             D037134416 3/15/16            1,364.34 16140 3/23/16 193157                     03838 3/16
                                             D037134416 3/15/16              128.90 14030 3/23/16 193157                     03838 3/16
                                             D037135451 3/11/16              290.67 66120 3/23/16 193157                     03838 3/16
                                             D037135451 3/11/16               55.85 60070 3/23/16 193157                     03838 3/16
                                             D037135451 3/11/16                1.25 46130 3/23/16 193157                     03838 3/16
                                             D037135451 3/11/16                4.00 45028 3/23/16 193157                     03838 3/16
                                             D037135451 3/11/16              100.27 45022 3/23/16 193157                     03838 3/16
                                             D037135451 3/11/16               14.32 24505 3/23/16 193157           3,408.08 03838 3/16
                                             D037132831 3/22/16              153.49 66120 3/31/16 193841                     03520 3/16
                                             D037132831 3/22/16               85.90 60070 3/31/16 193841                     03520 3/16
                                             D037134194 3/18/16               98.37 26865 3/31/16 193841                     03520 3/16
                                             027134007A 2/04/16              200.00- 16870 3/31/16 193841                    03524 3/16
                                             027134688A 2/17/16              200.00- 30078 3/31/16 193841             62.24- 03524 3/16
                                                   **********                8,483.28 ***FRISCO ******F-011****FRISCO EMBASSY SUITES

GI-118 GIRVIN    GIRVIN MARKETING CO INC          10917 2/23/16               103.50 62251 3/10/16 687052                     03152   /
                                                  10917 2/23/16                45.26 62251 3/10/16 687052             148.76 03152    /
                                                  11258 3/08/16               138.00 62251 3/31/16 689293                     03544   /
                                                  11258 3/08/16                 5.00 62251 3/31/16 689293             143.00 03544    /
                                                   **********                   291.76 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC

GO-088 GOURMENT GOURMET FOODS INC              LA392278 2/02/16               295.83 24510 3/03/16 686246              295.83 02459      /
                                               LA393573 2/23/16               252.58 24510 3/23/16 688479              252.58 02648      /
                                                   **********                   548.41 ***GOURMENT*****GO-088****GOURMET FOODS INC

GO-164 GOURMET   GOURMET TABLE SKIRTS            144404 2/25/16            1,650.00 26500 3/23/16 688483                        03152    /
                                                 144404 2/25/16               73.33 26500 3/23/16 688483                        03152    /
                                                 144404 2/25/16              142.17 26500 3/23/16 688483            1,865.50    03152    /
                                                   **********                1,865.50 ***GOURMET *****GO-164****GOURMET TABLE   SKIRTS

GR-075 GRAINGER GRAINGER                     9019709451     2/08/16            80.64     66160   3/03/16   686265               02894    /
                                             9019709451     2/08/16             6.65     66160   3/03/16   686265       87.29   02894    /
                                             9021493227     2/09/16           218.24     66160   3/10/16   687064               02360    /
                                             9021493227     2/09/16            18.00     66160   3/10/16   687064               02360    /
                                             9022189949     2/10/16            25.75     66201   3/10/16   687064               02360    /
                                             9022189949     2/10/16             2.13     66201   3/10/16   687064      264.12   02360    /
                                             9025445397     2/12/16           114.15     66130   3/23/16   688492               03839    /
                                             9025445397     2/12/16             9.41     66130   3/23/16   688492               03839    /
                                             9028935667     2/17/16           130.07     66202   3/23/16   688492               03839    /
                                             9028935667     2/17/16            10.73     66202   3/23/16   688492               03839    /




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APHIST-0174    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     3
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              9036287192 2/25/16              156.24 66160 3/23/16 688492                       03856    /
                                              9036287192 2/25/16               12.89 66160 3/23/16 688492                       03856    /
                                              9038224052 2/26/16              447.96 66160 3/23/16 688492                       03856    /
                                              9038224052 2/26/16               36.95 66160 3/23/16 688492              918.40   03856    /
                                              9042579657 3/02/16               64.15 66160 3/31/16 689314                       03856    /
                                              9042579657 3/02/16                5.29 66160 3/31/16 689314                       03856    /
                                              9045356202 3/04/16              469.70 66250 3/31/16 689314                       03544    /
                                              9045356202 3/04/16               38.75 66250 3/31/16 689314              577.89   03544    /
                                                    **********                1,847.70 ***GRAINGER*****GR-075****GRAINGER

GR-395 GROUP     GROUP DYNAMIX                    YE6896 2/18/16              400.00 60730 3/03/16 686277             400.00 02236       /
                                                    **********                  400.00 ***GROUP  *****GR-395****GROUP DYNAMIX

*G-184 GUEST     GUEST SUPPLY - SYSCO            7189059 2/17/16             886.94 47040 3/03/16 191319                      02357     3/16
                                                 7189059 2/17/16              73.20 47040 3/03/16 191319              960.14 02357      3/16
                                                 7145310 1/29/16             480.62 16850 3/10/16 191896                      02647     3/16
                                                 7145310 1/29/16              39.65 16850 3/10/16 191896                      02647     3/16
                                                 7145310 1/29/16              86.79 16250 3/10/16 191896                      02647     3/16
                                                 7145310 1/29/16               7.16 16250 3/10/16 191896                      02647     3/16
                                                 7175398 2/11/16              30.50- 16400 3/10/16 191896                     02647     3/16
                                                 7175398 2/11/16               2.53- 16400 3/10/16 191896                     02647     3/16
                                                 7179925 2/12/16             999.93 16400 3/10/16 191896                      02647     3/16
                                                 7179925 2/12/16              76.89 16400 3/10/16 191896                      02647     3/16
                                                 7179925 2/12/16           1,312.60 16250 3/10/16 191896                      02647     3/16
                                                 7179925 2/12/16             100.94 16250 3/10/16 191896                      02647     3/16
                                                 7195166 2/19/16           1,059.77 16400 3/10/16 191896                      03149     3/16
                                                 7195166 2/19/16              65.04 16400 3/10/16 191896                      03149     3/16
                                                 7195166 2/19/16             691.03 16250 3/10/16 191896                      03149     3/16
                                                 7195166 2/19/16              42.42 16250 3/10/16 191896                      03149     3/16
                                                 7195166 2/19/16              47.44 16105 3/10/16 191896                      03149     3/16
                                                 7195166 2/19/16               2.91 16105 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16             216.76 16850 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16              16.69 16850 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16             887.70 16400 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16              68.38 16400 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16             911.91 16250 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16              70.25 16250 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16              47.44 16105 3/10/16 191896                      03149     3/16
                                                 7206821 2/25/16               3.66 16105 3/10/16 191896            7,202.95 03149      3/16
                                                 7198416 2/22/16             371.25 01906 3/23/16 193169                      03250     3/16
                                                 7198424 2/22/16           6,551.84 01908 3/23/16 193169                      03250     3/16
                                                 7225819 3/03/16           3,006.84 16500 3/23/16 193169                      03839     3/16
                                                 7225819 3/03/16             248.08 16500 3/23/16 193169                      03839     3/16
                                                 7225820 3/03/16           1,247.10 16250 3/23/16 193169                      03839     3/16
                                                 7225820 3/03/16             102.89 16250 3/23/16 193169                      03839     3/16
                                                 7225820 3/03/16             256.23 16200 3/23/16 193169                      03839     3/16
                                                 7225820 3/03/16              21.13 16200 3/23/16 193169                      03839     3/16
                                                 7225821 3/03/16           1,934.68 16400 3/23/16 193169                      03839     3/16
                                                 7225821 3/03/16             121.78 16400 3/23/16 193169                      03839     3/16
                                                 7225821 3/03/16              47.44 16105 3/23/16 193169                      03839     3/16
                                                 7225821 3/03/16               2.98 16105 3/23/16 193169                      03839     3/16
                                                 7228781 3/04/16             290.16 16500 3/23/16 193169                      03839     3/16
                                                 7228781 3/04/16              23.94 16500 3/23/16 193169                      03839     3/16
                                                 7229532 3/04/16             428.04 16850 3/23/16 193169                      03839     3/16
                                                 7229532 3/04/16              35.30 16850 3/23/16 193169                      03839     3/16
                                                 7229532 3/04/16              86.79 16250 3/23/16 193169                      03839     3/16
                                                 7229532 3/04/16               7.16 16250 3/23/16 193169                      03839     3/16
                                                 7229533 3/04/16             321.53 47040 3/23/16 193169                      03839     3/16
                                                 7229533 3/04/16              26.53 47040 3/23/16 193169                      03839     3/16
                                                 7229534 3/04/16           1,123.82 16500 3/23/16 193169                      03839     3/16
                                                 7229534 3/04/16              92.72 16500 3/23/16 193169                      03839     3/16
                                                 7240229 3/09/16             148.50 16500 3/23/16 193169                      03839     3/16
                                                 7240229 3/09/16              12.26 16500 3/23/16 193169           16,508.99 03839      3/16
                                                    **********              24,672.08 ***GUEST   ******G-184****GUEST SUPPLY - SYSCO

HA-385 HAMPTON   HAMPTON INN & SUITES              33033 1/17/16              237.30 16702 3/10/16 687078                      03149     /
                                                   33039 1/29/16              118.65 16702 3/10/16 687078              355.95 03149      /
                                                    **********                  355.95 ***HAMPTON *****HA-385****HAMPTON INN & SUITES




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APHIST-0175   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE     1
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                        INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
HB-005 HBM       HBM SUPPLY OF TEXAS INC            20167 2/04/16              606.12 47051 3/03/16 686291                       02459   /
                                                    20167 2/04/16               25.00 47051 3/03/16 686291                       02459   /
                                                    20167 2/04/16               52.07 47051 3/03/16 686291             683.19    02459   /
                                                    20405 3/07/16              524.29 47051 3/31/16 689328                       03544   /
                                                    20405 3/07/16               25.00 47051 3/31/16 689328                       03544   /
                                                    20405 3/07/16               45.32 47051 3/31/16 689328             594.61    03544   /
                                                     **********                1,277.80 ***HBM    *****HB-005****HBM SUPPLY OF   TEXAS INC

*H-297 HD SUPP   HD SUPPLY FACILITIES          9143610249 2/11/16               45.46 66120 3/03/16 191365                      02357    3/16
                                               9143610249 2/11/16                2.92 66120 3/03/16 191365                      02357    3/16
                                               9143670950 2/15/16              103.67 66250 3/03/16 191365                      02357    3/16
                                               9143670950 2/15/16                8.56 66250 3/03/16 191365              160.61 02357     3/16
                                               9143956652 2/28/16              141.08 66160 3/23/16 193209                      03839    3/16
                                               9143956652 2/28/16               11.64 66160 3/23/16 193209                      03839    3/16
                                               9143972342 2/29/16              133.88 66160 3/23/16 193209                      03839    3/16
                                               9143972342 2/29/16               11.05 66160 3/23/16 193209              297.65 03839     3/16
                                                     **********                  458.26 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

HE-048 HEARTLAN HEARTLAND FOOD PRODUCTS        12HFP01024 3/08/16              159.86 16110 3/23/16 689054              159.86 03856    /
                                                     **********                  159.86 ***HEARTLAN*****HE-048****HEARTLAND FOOD PRODUCTS

*H-175 HILTON    HILTON HOTELS CORPORATION       16254166 2/11/16             100.00 16105 3/03/16 191349                        02357 3/16
                                                 16257686 2/11/16             100.00 16105 3/03/16 191349                        02357 3/16
                                               0012115580 2/22/16             590.00 85410 3/03/16 191349                        02422 3/16
                                               0012115580 2/22/16              48.68 85410 3/03/16 191349                        02422 3/16
                                               0012115580 2/22/16           1,566.55 16700 3/03/16 191349                        02422 3/16
                                               0012115580 2/22/16             129.24 16700 3/03/16 191349           2,534.47     02422 3/16
                                               0012125144 2/29/16           5,227.61 62625 3/23/16 193188                        03839 3/16
                                               0012125144 2/29/16           3,421.26 62200 3/23/16 193188                        03839 3/16
                                               0012125144 2/29/16          16,315.15 16300 3/23/16 193188          24,964.02     03839 3/16
                                                   649326 2/29/16           1,461.41 62625 3/23/16 193193                        03839 3/16
                                                   649326 2/29/16          29,568.72 62249 3/23/16 193193                        03839 3/16
                                                 16343716 2/25/16              12.50 16105 3/23/16 193193                        03839 3/16
                                                 16422694 3/11/16              50.00 16105 3/23/16 193193                        03839 3/16
                                                 16430451 3/11/16              40.00 16105 3/23/16 193193                        03839 3/16
                                               0012128143 3/10/16           7,397.15 62650 3/23/16 193193                        03839 3/16
                                               0012137668 3/21/16             590.00 85410 3/23/16 193193                        03999 3/16
                                               0012137668 3/21/16              48.68 85410 3/23/16 193193                        03999 3/16
                                               0012137668 3/21/16           1,566.55 16700 3/23/16 193193                        03999 3/16
                                               0012137668 3/21/16             129.24 16700 3/23/16 193193          40,864.25     03999 3/16
                                                 16366482 2/25/16             204.84 16105 3/31/16 193882             204.84     03537 3/16
                                                     **********              68,567.58 ***HILTON ******H-175****HILTON HOTELS    CORPORATION

HI-218 HILTON    HILTON DALLAS/GRANITE PRK          33661 2/15/16              369.51 16702 3/10/16 687085             369.51 02648    /
                                                     **********                  369.51 ***HILTON *****HI-218****HILTON DALLAS/GRANITE PRK

HO-009 HOBART    HOBART SERVICE                  32437831 2/10/16              267.00 66202 3/10/16 687396                      02894     /
                                                 32437831 2/10/16               22.03 66202 3/10/16 687396                      02894     /
                                                 90528216 2/11/16              705.47 66202 3/10/16 687396                      02360     /
                                                 90528216 2/11/16               58.20 66202 3/10/16 687396           1,052.70 02360       /
                                                 32449195 2/18/16              312.00 66202 3/17/16 688146                      03152     /
                                                 32449195 2/18/16               25.74 66202 3/17/16 688146             337.74 03152       /
                                                 32455274 2/23/16              214.50 66202 3/23/16 688968                      03152     /
                                                 32455274 2/23/16               17.69 66202 3/23/16 688968                      03152     /
                                                 32464591 2/29/16              697.70 66202 3/23/16 688968                      03856     /
                                                 32464591 2/29/16               57.55 66202 3/23/16 688968             987.44 03856       /
                                                     **********                2,377.88 ***HOBART *****HO-009****HOBART SERVICE

HO-762 HOSPITAL HOSPITALITY STAFFING               228660 2/19/16           1,198.81 26028 3/03/16 686318            1,198.81 02360       /
                                                   229415 2/26/16           1,252.05 26028 3/10/16 687094            1,252.05 03152       /
                                                   230560 3/04/16           1,221.52 26028 3/23/16 688970                      03856      /
                                                   231606 3/11/16           1,305.47 26028 3/23/16 688970            2,526.99 03856       /
                                                   232403 3/18/16           1,006.85 26028 3/31/16 689354            1,006.85 03544       /
                                                     **********               5,984.70 ***HOSPITAL*****HO-762****HOSPITALITY STAFFING




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APHIST-0176    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                         PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*I-041 IKON      IKON/RICOH SERVICES            96341929 3/10/16              833.74 60370 3/10/16 191941                     03108    3/16
                                                96341929 3/10/16               68.79 60370 3/10/16 191941             902.53 03108     3/16
                                                    **********                  902.53 ***IKON   ******I-041****IKON/RICOH SERVICES

*I-059 ISLAM     RUBINA ISLAM                      22616 2/26/16              147.40 62830 3/10/16 191943             147.40   02647   3/16
                                                    **********                  147.40 ***ISLAM  ******I-059****RUBINA ISLAM

JA-122 JARK      JARK 1 ENTERTAINMENT LLC         101433 2/23/16           1,000.00 47050 3/10/16 687107                     02648   /
                                                  101433 2/23/16              75.00 47050 3/10/16 687107           1,075.00 02648    /
                                                    **********               1,075.00 ***JARK   *****JA-122****JARK 1 ENTERTAINMENT LLC

*R-209 JOHN      JOHNNIE B ROGERS             **PERMIT07 3/08/16              185.00 60110 3/10/16 192407             185.00 02340     3/16
                                                    **********                  185.00 ***JOHN   ******R-209****JOHNNIE B ROGERS

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 02 2/30/16           5,375.00 60116 3/10/16 192208            5,375.00 02340 3/16
                                                    **********               5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0316    3/30/16            981.43 66060 3/31/16 193947                     00000 3/16
                                              JINS0316    3/30/16          1,724.61 62060 3/31/16 193947                     00000 3/16
                                              JINS0316    3/30/16          1,067.96 60060 3/31/16 193947                     00000 3/16
                                              JINS0316    3/30/16             27.01 30060 3/31/16 193947                     00000 3/16
                                              JINS0316    3/30/16          2,986.05 26060 3/31/16 193947                     00000 3/16
                                              JINS0316    3/30/16          3,997.69 16060 3/31/16 193947          10,784.75 00000 3/16
                                                    **********              10,784.75 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

*J-018 JQH C     JQH C - INSURANCE            INSA031601 3/22/16           1,237.06 02120 3/23/16 193240                     00000     3/16
                                              INSA031601 3/22/16             213.07 01310 3/23/16 193240           1,450.13 00000      3/16
                                                    **********               1,450.13 ***JQH C  ******J-018****JQH C - INSURANCE

JQ-004 JQH C     JQH C                         RENTOKIL1 3/01/16             171.28 26260 3/03/16 686844              171.28   02508    /
                                              122A0316    3/23/16             19.80 60115 3/31/16 689832                       00000    /
                                              122A0316    3/23/16             47.62 60061 3/31/16 689832                       00000    /
                                              122A0316    3/23/16          2,234.28 47082 3/31/16 689832                       00000    /
                                              122A0316    3/23/16            230.28 35901 3/31/16 689832                       00000    /
                                              122A0316    3/23/16          1,116.17 35030 3/31/16 689832                       00000    /
                                              122A0316    3/23/16          1,355.12 35026 3/31/16 689832                       00000    /
                                              122A031601 3/23/16           1,589.31 60860 3/31/16 689832                       00000    /
                                              122A031601 3/23/16             104.59 60856 3/31/16 689832                       00000    /
                                              122A031601 3/23/16             157.84 60721 3/31/16 689832                       00000    /
                                              122A031601 3/23/16             658.34 60720 3/31/16 689832                       00000    /
                                              122A031601 3/23/16              64.23 60590 3/31/16 689832                       00000    /
                                              122A031601 3/23/16              19.99 60580 3/31/16 689832                       00000    /
                                              122A031601 3/23/16             172.01 60320 3/31/16 689832                       00000    /
                                              122A031602 3/23/16             100.00 64700 3/31/16 689832                       00000    /
                                              122A031602 3/23/16              15.00 62860 3/31/16 689832                       00000    /
                                              122A031602 3/23/16              17.60 62840 3/31/16 689832                       00000    /
                                              122A031602 3/23/16             403.56 62380 3/31/16 689832                       00000    /
                                              122A031602 3/23/16           2,179.48 62200 3/31/16 689832                       00000    /
                                              122A031602 3/23/16           1,288.64 60880 3/31/16 689832                       00000    /
                                              122A031602 3/23/16             336.14 60870 3/31/16 689832                       00000    /
                                              122A031603 3/23/16             171.28 26260 3/31/16 689832                       00000    /
                                              122A031603 3/23/16             199.54 16150 3/31/16 689832                       00000    /
                                              122A031603 3/23/16             312.69 02005 3/31/16 689832                       00000    /
                                              122A031604 3/23/16           3,589.06- 85962 3/31/16 689832                      00000    /
                                              122A031604 3/23/16             769.05- 84035 3/31/16 689832                      00000    /
                                              122A031604 3/23/16             253.23 66100 3/31/16 689832            8,688.63   00000    /
                                                    **********               8,859.91 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0316    3/30/16          1,698.43 66060 3/31/16 194016                     00000     3/16
                                              JINS0316    3/30/16          8,475.80 62060 3/31/16 194016                     00000     3/16
                                              JINS0316    3/30/16          4,411.09 60060 3/31/16 194016                     00000     3/16
                                              JINS0316    3/30/16          8,612.59 26060 3/31/16 194016                     00000     3/16
                                              JINS0316    3/30/16         11,201.24 16060 3/31/16 194016          34,399.15 00000      3/16
                                                    **********              34,399.15 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT




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APHIST-0177    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE      1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  02 3/05/16               446.53 66900 3/10/16 192160              446.53   02340 3/16
                                                    **********                   446.53 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-024 JQHHM     JQHHM REG.   ALLOCATIONS     *RDS16  02 3/05/16            2,196.41 62900 3/10/16 191986           2,196.41 02340 3/16
                                              *RVP15  02 3/05/16            3,640.05 60900 3/10/16 191991           3,640.05 02340 3/16
                                                    **********                5,836.46 ***JQHHM  ******J-024****JQHHM REG. ALLOCATIONS

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  02 3/05/16            4,446.28 16900 3/10/16 192010           4,446.28 02340 3/16
                                                    **********                4,446.28 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *ARM16  02 3/05/16              449.87 62900 3/10/16 192045             449.87 02340 3/16
                                              *EC16   02 3/05/16              493.36 62900 3/10/16 192050             493.36 02340 3/16
                                              *RPM16  01 3/05/16              281.70 66900 3/10/16 192059             281.70 03003 3/16
                                              *BRM16  02 3/05/16            1,092.32 62900 3/10/16 192080           1,092.32 02340 3/16
                                              *FM16   01 3/05/16              420.79 66900 3/10/16 192085             420.79 03003 3/16
                                              *DRM16  02 3/05/16              769.87 62900 3/10/16 192115             769.87 02340 3/16
                                              *RMA16  02 3/05/16              294.76 62900 3/10/16 192124             294.76 02340 3/16
                                                    **********                3,802.67 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT021602 2/29/16           42,940.05 02013 3/10/16 687473           42,940.05    00000     /
                                                    **********               42,940.05 ***JQHHM LL*****JQ-003****JQHHM LLC

KA-154 KARCH     KARCHER NORTH AMERICA        5331879841 1/11/16               68.35 16850 3/10/16 687119                        03149     /
                                              5331879841 1/11/16                7.08 16850 3/10/16 687119                        03149     /
                                              5331879841 1/11/16                6.22 16850 3/10/16 687119              81.65     03149     /
                                              5331939619 3/08/16            1,154.30 26860 3/31/16 689394                        03544     /
                                              5331939619 3/08/16              100.00 26860 3/31/16 689394                        03544     /
                                              5331939619 3/08/16              103.48 26860 3/31/16 689394           1,357.78     03544     /
                                                    **********                1,439.43 ***KARCH  *****KA-154****KARCHER NORTH    AMERICA

*K-202 KELLEY    ANGELA KELLEY                     30116 3/01/16                83.16 60720 3/07/16 191586                     03103     3/16
                                                   30116 3/01/16               184.88 60070 3/07/16 191586             268.04 03103      3/16
                                                    **********                   268.04 ***KELLEY ******K-202****ANGELA KELLEY

KE-149 KENNEDY   BRYAN KENNEDY                     21716 2/17/16                61.92 47051 3/10/16 687122               61.92 02647       /
                                                    **********                    61.92 ***KENNEDY *****KE-149****BRYAN KENNEDY

*K-071 KRASA     NICOLE KRASA-BUVARI               22416 2/24/16               750.00 60070 3/10/16 192236             750.00 02647      3/16
                                                    **********                   750.00 ***KRASA  ******K-071****NICOLE KRASA-BUVARI

*K-244 KRASNOSL EVGENIYA KRASNOSLOBODTSEV          22416 2/24/16                44.30 47040 3/08/16 191601               44.30 03149 3/16
                                                   31016 3/10/16                30.27 26865 3/21/16 193023               30.27 03839 3/16
                                                    **********                    74.57 ***KRASNOSL******K-244****EVGENIYA KRASNOSLOBODTSEV

LA-069 LA SPIGA LA SPIGA BAKERY INC               176955     2/02/16            97.92     24510   3/03/16   686371               02459     /
                                                  177047     2/03/16            99.00     24510   3/03/16   686371               02459     /
                                                  177312     2/08/16           226.30     24510   3/03/16   686371      423.22   02894     /
                                                  177363     2/09/16           107.10     24510   3/10/16   687130               02894     /
                                                  177434     2/10/16            96.20     24510   3/10/16   687130               02894     /
                                                  177496     2/11/16           153.60     24510   3/10/16   687130               02894     /
                                                  177574     2/12/16            49.90     24510   3/10/16   687130               02894     /
                                                  177574     2/12/16             7.00     24510   3/10/16   687130      413.80   02894     /
                                                  177798     2/16/16           188.52     24510   3/17/16   687793               02360     /
                                                  177938     2/18/16            75.75     24510   3/17/16   687793               02360     /
                                                  177985     2/19/16           549.00     24510   3/17/16   687793               02360     /
                                                  178118     2/20/16           324.21     24510   3/17/16   687793    1,137.48   02648     /
                                                  178289     2/24/16           131.80     24510   3/23/16   688575               02648     /
                                                  178454     2/26/16           134.46     24510   3/23/16   688575               03856     /
                                                  178607     2/29/16           172.50     24510   3/23/16   688575      438.76   03856     /
                                                  178761     3/02/16           155.94     24510   3/31/16   689403               03856     /
                                                  178801     3/03/16           423.20     24510   3/31/16   689403               03856     /
                                                  179014     3/07/16           139.50     24510   3/31/16   689403               03856     /




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                   179083 3/08/16               68.00 24510 3/31/16 689403              786.64 03856      /
                                                     **********                3,199.90 ***LA SPIGA*****LA-069****LA SPIGA BAKERY INC

LA-147 LAS       LAS COLINAS PRINTING &             53371 2/23/16              295.00 60552 3/23/16 688578                     03856    /
                                                    53371 2/23/16               24.34 60552 3/23/16 688578             319.34 03856     /
                                                    53431 3/08/16              495.00 26660 3/31/16 689405                     03856    /
                                                    53431 3/08/16               40.84 26660 3/31/16 689405             535.84 03856     /
                                                     **********                  855.18 ***LAS    *****LA-147****LAS COLINAS PRINTING &

LC-001 LCR       LCR TECHNOLOGIES INC               13092 2/05/16              299.98 60551 3/03/16 686380                     02894      /
                                                    13092 2/05/16               24.75 60551 3/03/16 686380             324.73 02894       /
                                                     **********                  324.73 ***LCR    *****LC-001****LCR TECHNOLOGIES INC

LE-217 LESLIE    LESLIE'S SWIMMNG POOL SUP      419412338 3/07/16               71.52 66600 3/23/16 688586                     03856      /
                                                419412338 3/07/16                5.90 66600 3/23/16 688586              77.42 03856       /
                                                419412933 3/16/16               32.31 66600 3/31/16 689413                     03544      /
                                                419412933 3/16/16                2.67 66600 3/31/16 689413              34.98 03544       /
                                                     **********                  112.40 ***LESLIE *****LE-217****LESLIE'S SWIMMNG POOL    SUP

LI-039 LIQUID    LIQUID ENVIRONMENTAL          NV00336666 2/23/16           1,917.81 26260 3/10/16 687142           1,917.81 02648        /
                                                     **********               1,917.81 ***LIQUID *****LI-039****LIQUID ENVIRONMENTAL

*L-112 LUNDT     RICHARD LUNDT                      22316 2/23/16              157.56 60552 3/09/16 191680                     03180     3/16
                                                    22316 2/23/16               34.00 60070 3/09/16 191680             191.56 03180      3/16
                                                     **********                  191.56 ***LUNDT  ******L-112****RICHARD LUNDT

*M-024 MARSH     MARSH USA INC                 INSA021601 3/04/16           3,301.00 02120 3/10/16 192269                     00000      3/16
                                               INSA021601 3/04/16           5,240.00 01310 3/10/16 192269           8,541.00 00000       3/16
                                               INSA021602 3/04/16           3,854.24 01311 3/10/16 192311           3,854.24 00000       3/16
                                                     **********              12,395.24 ***MARSH  ******M-024****MARSH USA INC

MA-423 MASCOT    MASCOT PLUMBING                     3283 2/09/16              418.00 66250 3/10/16 687160                     02894      /
                                                     3283 2/09/16               34.49 66250 3/10/16 687160             452.49 02894       /
                                                     **********                  452.49 ***MASCOT *****MA-423****MASCOT PLUMBING

*M-244 MASTERS   BRETT MASTERS                      30816 3/08/16              316.27 66120 3/21/16 193026              316.27 03839     3/16
                                                    31716 3/17/16              212.18 66120 3/30/16 193671              212.18 03537     3/16
                                                     **********                  528.45 ***MASTERS ******M-244****BRETT MASTERS

ME-418 MEDCO     MEDCO WHOLESALE DISTRIBTR      ESFTX1088 2/03/16           1,040.89 26505 3/03/16 686425                     02459   /
                                                ESFTX1088 2/03/16              22.24 26505 3/03/16 686425           1,063.13 02459    /
                                                     **********               1,063.13 ***MEDCO  *****ME-418****MEDCO WHOLESALE DISTRIBTR

MI-172 MID AM    MID AMERICA METALS INC         0124994IN 2/24/16           1,560.00 66120 3/10/16 687170                     02648    /
                                                0124994IN 2/24/16             128.70 66120 3/10/16 687170           1,688.70 02648     /
                                                     **********               1,688.70 ***MID AM *****MI-172****MID AMERICA METALS INC

MI-269 MINUTEMA MINUTEMAN PRESS                     12612 2/25/16              100.00 62301 3/10/16 687171                      02648     /
                                                    12612 2/25/16                8.25 62301 3/10/16 687171              108.25 02648      /
                                                     **********                  108.25 ***MINUTEMA*****MI-269****MINUTEMAN PRESS

MO-254 MOFFETT   MOFFETT SERVICES LLC           454000313 2/18/16              105.00 26260 3/03/16 686439                      02360     /
                                                454000313 2/18/16                8.66 26260 3/03/16 686439              113.66 02360      /
                                                     **********                  113.66 ***MOFFETT *****MO-254****MOFFETT SERVICES LLC

MU-100 MUZAK     MUZAK LLC                       52236936 3/01/16              155.34 16805 3/07/16 911491                      03042     /
                                                 52236936 3/01/16                5.97 16805 3/07/16 911491                      03042     /
                                                 52253984 3/01/16               76.44 16805 3/07/16 911491             237.75   03042     /
                                                     **********                  237.75 ***MUZAK  *****MU-100****MUZAK LLC




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
NE-320 NEAL      JOHN R. NEAL & ASSOC.,INC         151040 2/19/16              220.40 66160 3/10/16 687194                     02648   /
                                                   151040 2/19/16               18.18 66160 3/10/16 687194             238.58 02648    /
                                                     **********                  238.58 ***NEAL   *****NE-320****JOHN R. NEAL & ASSOC.,INC

NE-306 NECA      TEXAS USF                     TXUS0316    3/09/16                9.11 35901 3/09/16 911531               9.11   00000    /
                                                     **********                     9.11 ***NECA   *****NE-306****TEXAS USF

NE-206 NEW YORK NEW YORK BAGEL CAFE                162531 2/15/16               94.60 24505 3/03/16 686455                      02360     /
                                                   162613 2/17/16              309.05 24510 3/03/16 686455                      02360     /
                                                   162701 2/19/16              180.40 24505 3/03/16 686455              584.05 02360      /
                                                   162775 2/22/16               91.00 24510 3/10/16 687193                      02648     /
                                                   162855 2/24/16              213.40 24510 3/10/16 687193              304.40 02648      /
                                                   162954 2/26/16              180.40 24505 3/23/16 688657                      03856     /
                                                   163032 2/29/16              159.40 24510 3/23/16 688657                      03856     /
                                                   163076 3/01/16              118.80 24510 3/23/16 688657                      03856     /
                                                   163115 3/02/16               94.60 24505 3/23/16 688657                      03856     /
                                                   163160 3/03/16              118.80 24505 3/23/16 688657                      03856     /
                                                   163207 3/04/16              180.40 24510 3/23/16 688657                      03856     /
                                                   163276 3/07/16               94.60 24505 3/23/16 688657                      03856     /
                                                   163368 3/09/16              176.40 24510 3/23/16 688657                      03856     /
                                                   163410 3/10/16               33.30 24505 3/23/16 688657                      03856     /
                                                   163480 3/12/16              180.40 24505 3/23/16 688657            1,337.10 03856      /
                                                   163525 3/14/16               94.60 24505 3/31/16 689468                      03544     /
                                                   163615 3/16/16              411.40 24510 3/31/16 689468                      03544     /
                                                   163691 3/18/16               94.60 24505 3/31/16 689468                      03544     /
                                                   163723 3/19/16              105.40 24505 3/31/16 689468              706.00 03544      /
                                                     **********                2,931.55 ***NEW YORK*****NE-206****NEW YORK BAGEL CAFE

*N-090 NOR1      NOR1 INC                       INV206289 2/29/16              569.25 16105 3/10/16 192365             569.25    03149   3/16
                                                     **********                  569.25 ***NOR1   ******N-090****NOR1 INC

OA-015 OAK       OAK FARMS DAIRY                  1249224 2/23/16              116.25 16110 3/10/16 687200             116.25 02647       /
                                                  1260865 3/01/16               93.00 16110 3/23/16 688662                     03856      /
                                                  1271834 3/08/16              116.25 16110 3/23/16 688662             209.25 03856       /
                                                  1282434 3/15/16              116.25 16110 3/31/16 689473             116.25 03544       /
                                                     **********                  441.75 ***OAK    *****OA-015****OAK FARMS DAIRY

ON-054 ONE       ONE COMM TECHNOLOGIES INC           2000 3/21/16              173.20 47050 3/31/16 689488             173.20 03544    /
                                                     **********                  173.20 ***ONE    *****ON-054****ONE COMM TECHNOLOGIES INC

*P-284 PARKER    LEVAUGHN PARKER                    30916 3/09/16              403.92 62830 3/30/16 193672                     03537     3/16
                                                    30916 3/09/16              443.97 62505 3/30/16 193672                     03537     3/16
                                                    30916 3/09/16               55.50 62501 3/30/16 193672             903.39 03537      3/16
                                                     **********                  903.39 ***PARKER ******P-284****LEVAUGHN PARKER

PE-074 PELLER    PELLERIN LAUNDRY MACH INC      INV299256 2/10/16              315.00 66275 3/03/16 686483                     02360      /
                                                INV299256 2/10/16               25.98 66275 3/03/16 686483             340.98 02360       /
                                                INV299898 2/23/16              365.12 66275 3/10/16 687211                     03152      /
                                                INV299898 2/23/16               30.11 66275 3/10/16 687211             395.23 03152       /
                                                INV300268 3/01/16              590.00 66275 3/23/16 688682                     03856      /
                                                INV300268 3/01/16               48.67 66275 3/23/16 688682             638.67 03856       /
                                                     **********                1,374.88 ***PELLER *****PE-074****PELLERIN LAUNDRY MACH    INC

PE-171 PEPSI     PEPSI-COLA                      84321610 2/19/16              176.26 24505 3/03/16 686845             176.26    02360    /
                                                 76629454 3/03/16              429.99 16125 3/31/16 689833             429.99    03544    /
                                                     **********                  606.25 ***PEPSI  *****PE-171****PEPSI-COLA

PE-112 PETALS    PETALS, A FLORIST                  74975 3/04/16               80.00 60070 3/23/16 688685                     03856      /
                                                    74975 3/04/16               16.00 60070 3/23/16 688685                     03856      /
                                                    74975 3/04/16                7.92 60070 3/23/16 688685             103.92 03856       /
                                                     **********                  103.92 ***PETALS *****PE-112****PETALS, A FLORIST




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APHIST-0180    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE    1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
PL-043 PLANT     PLANT CARE CO                       6358 3/01/16            1,949.87 66450 3/23/16 688987                     03856      /
                                                     6358 3/01/16              160.86 66450 3/23/16 688987           2,110.73 03856       /
                                                     **********                2,110.73 ***PLANT  *****PL-043****PLANT CARE CO

PL-046 PLANTS    PLANTS IN DESIGN                    2732 2/03/16            1,322.91 66460 3/03/16 686493                     02894      /
                                                     2732 2/03/16              109.14 66460 3/03/16 686493           1,432.05 02894       /
                                                     2751 3/07/16            1,180.41 66460 3/31/16 689511                     03856      /
                                                     2751 3/07/16               97.38 66460 3/31/16 689511                     03856      /
                                                     2752 3/07/16              500.00 66450 3/31/16 689511                     03856      /
                                                     2752 3/07/16               41.25 66450 3/31/16 689511           1,819.04 03856       /
                                                     **********                3,251.09 ***PLANTS *****PL-046****PLANTS IN DESIGN

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         721026 2/17/16               125.00 16400 3/17/16 687895                     03152   /
                                                   721026 2/17/16                18.62 16400 3/17/16 687895             143.62 03152    /
                                                     **********                   143.62 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PL-056 PLUMBMAS PLUMBMASTER INC                IN01286260 2/03/16               339.46 66120 3/03/16 686494                      02459    /
                                               IN01286260 2/03/16                14.99 66120 3/03/16 686494                      02459    /
                                               IN01286260 2/03/16                29.25 66120 3/03/16 686494              383.70 02459     /
                                               IN01294791 2/24/16                77.79 66250 3/23/16 688692                      03152    /
                                               IN01294791 2/24/16                34.99 66250 3/23/16 688692                      03152    /
                                               IN01294791 2/24/16                 9.31 66250 3/23/16 688692                      03152    /
                                               IN01295153 2/25/16                71.60 66120 3/23/16 688692                      03152    /
                                               IN01295153 2/25/16                11.99 66120 3/23/16 688692                      03152    /
                                               IN01295153 2/25/16                 6.90 66120 3/23/16 688692                      03152    /
                                               IN01295175 2/25/16               190.00 66120 3/23/16 688692                      03152    /
                                               IN01295175 2/25/16                12.95 66120 3/23/16 688692                      03152    /
                                               IN01295175 2/25/16                16.75 66120 3/23/16 688692              432.28 03152     /
                                                     **********                   815.98 ***PLUMBMAS*****PL-056****PLUMBMASTER INC

PO-173 POLK      POLK MECHANICAL COMPANY           114012 2/02/16               355.00 66250 3/03/16 686502                     02459   /
                                                   114012 2/02/16                29.29 66250 3/03/16 686502             384.29 02459    /
                                                   114147 2/16/16               280.00 66250 3/17/16 687901                     02360   /
                                                   114147 2/16/16                23.11 66250 3/17/16 687901             303.11 02360    /
                                                   114305 2/29/16               344.95 66250 3/23/16 688711                     03856   /
                                                   114305 2/29/16                28.46 66250 3/23/16 688711             373.41 03856    /
                                                     **********                 1,060.81 ***POLK   *****PO-173****POLK MECHANICAL COMPANY

PR-154 PROFESS   PROFESSIONAL COIL              019021516 2/15/16            4,088.75 66120 3/10/16 687414                      02894     /
                                                019021516 2/15/16              337.32 66120 3/10/16 687414            4,426.07 02894      /
                                                     **********                4,426.07 ***PROFESS *****PR-154****PROFESSIONAL COIL

PR-105 PROFESSI PROFESSIONAL BEVERAGE SVC            5092 2/14/16               458.46 66202 3/10/16 687227              458.46 03152    /
                                                     **********                   458.46 ***PROFESSI*****PR-105****PROFESSIONAL BEVERAGE SVC

*P-245 PSAV      PSAV PRESENTATION SRV INC     1001184696 2/12/16            4,250.41 47050 3/10/16 192379                      02647 3/16
                                               1001184697 2/12/16               51.34- 47050 3/10/16 192379           4,199.07 02357 3/16
                                                     **********                4,199.07 ***PSAV    ******P-245****PSAV PRESENTATION SRV INC

QU-115 QUEST     QUEST AUDIO LLC                ES43901JH 2/08/16            1,862.75 26028 3/03/16 686515           1,862.75 02459       /
                                               SDF43980JH 2/28/16              357.50 26028 3/23/16 688726             357.50 03152       /
                                                     **********                2,220.25 ***QUEST  *****QU-115****QUEST AUDIO LLC

RE-599 REGAL     REGAL AWARDS INC                   97776 2/26/16                55.00 60070 3/10/16 687247                     03152     /
                                                    97776 2/26/16                12.00 60070 3/10/16 687247              67.00 03152      /
                                                     **********                    67.00 ***REGAL  *****RE-599****REGAL AWARDS INC

RE-726 REPUBLIC REPUBLIC NATIONAL              022912/713 3/24/15               471.00- 02029 3/25/15 909013              471.00- 00000   /
                                                     **********                   471.00- ***REPUBLIC*****RE-726****REPUBLIC NATIONAL

RE-170 RESTAUR   RESTAURANTWARE LLC                 65045     2/04/16           174.95     26660   3/03/16   686522               02894   /




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APHIST-0181    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                              PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                   65045 2/04/16                18.26 26660 3/03/16 686522              193.21 02894         /
                                                    **********                   193.21 ***RESTAUR *****RE-170****RESTAURANTWARE LLC

*R-333 RICHTER   CHRIS RICHTER OR FRISCO      D027139128 2/24/16               100.00 30078 3/03/16 191474                100.00    02293 3/16
                                              D027131004 2/26/16               200.00 30078 3/10/16 192414                200.00    02651 3/16
                                              D027134970 2/24/16               100.00 30078 3/10/16 192415                100.00    02651 3/16
                                              D037137549 3/03/16               300.00 30078 3/10/16 192416                300.00    03104 3/16
                                              D027134007 2/04/16               200.00 16870 3/31/16 194159                200.00    03524 3/16
                                              D027134688 2/17/16               200.00 30078 3/31/16 194160                200.00    03524 3/16
                                              D037134376 3/22/16               200.00 30078 3/31/16 194161                200.00    03520 3/16
                                                    **********                 1,300.00 ***RICHTER ******R-333****CHRIS   RICHTER   OR FRISCO

RI-092 RICO      RICOH USA INC                5040169857 1/24/16                 5.60 60370 3/10/16 687253                          02647    /
                                              5040169857 1/24/16                  .46 60370 3/10/16 687253                          02647    /
                                              5040265153 2/01/16                35.83 60370 3/10/16 687253                          02648    /
                                              5040265153 2/01/16                 2.96 60370 3/10/16 687253                 44.85    02648    /
                                              1060936261 2/19/16               340.44 60551 3/17/16 687934                          02648    /
                                              1060936261 2/19/16                28.08 60551 3/17/16 687934                368.52    02648    /
                                              5040617554 2/21/16               513.57 60370 3/23/16 688747                          03856    /
                                              5040617554 2/21/16                42.36 60370 3/23/16 688747                          03856    /
                                              5040741819 2/26/16                10.60 60370 3/23/16 688747                          03856    /
                                              5040741819 2/26/16                  .87 60370 3/23/16 688747                          03856    /
                                              5040782672 3/01/16                32.88 60370 3/23/16 688747                          03856    /
                                              5040782672 3/01/16                 2.71 60370 3/23/16 688747                602.99    03856    /
                                              1060996901 2/22/16               891.15 60551 3/31/16 689549                          03537    /
                                              1060996901 2/22/16                72.20 60551 3/31/16 689549                963.35    03537    /
                                                    **********                 1,979.71 ***RICO   *****RI-092****RICOH    USA INC

RO-098 ROLLING   ROLLING STONE INC                 46286 2/23/16               385.00 66202 3/10/16 687262                          02648    /
                                                   46286 2/23/16                31.76 66202 3/10/16 687262              416.76      02648    /
                                                   46613 3/08/16                45.00 47040 3/23/16 688760                          03856    /
                                                   46613 3/08/16                 3.71 47040 3/23/16 688760                          03856    /
                                                   46614 3/08/16               835.20 26860 3/23/16 688760                          03856    /
                                                   46614 3/08/16                68.90 26860 3/23/16 688760              952.81      03856    /
                                                    **********                 1,369.57 ***ROLLING *****RO-098****ROLLING STONE     INC

*R-207 ROYAL     ROYAL PAPER CORP                4580445 2/17/16              832.95 47040 3/10/16 192400                     02647         3/16
                                                 4580445 2/17/16               68.70 47040 3/10/16 192400             901.65 02647          3/16
                                                 4578927 2/10/16            1,094.85 47040 3/23/16 193359                     03839         3/16
                                                 4578927 2/10/16               90.34 47040 3/23/16 193359                     03839         3/16
                                                 4582192 2/25/16            1,549.53 16400 3/23/16 193359                     03839         3/16
                                                 4582192 2/25/16              127.85 16400 3/23/16 193359                     03839         3/16
                                                 4583469 3/02/16               71.50 26230 3/23/16 193359                     03839         3/16
                                                 4583469 3/02/16                5.90 26230 3/23/16 193359                     03839         3/16
                                                 4583860 3/03/16            1,413.24 47040 3/23/16 193359                     03839         3/16
                                                 4583860 3/03/16              116.59 47040 3/23/16 193359                     03839         3/16
                                                 4584054 3/04/16            1,139.74 26660 3/23/16 193359                     03839         3/16
                                                 4584054 3/04/16               94.03 26660 3/23/16 193359           5,703.57 03839          3/16
                                                    **********                6,605.22 ***ROYAL  ******R-207****ROYAL PAPER CORP

DO-100 RR DONNE RR DONNELLEY                   069544384 3/07/16               360.00 60552 3/31/16 689219                          03544    /
                                               069544384 3/07/16                72.85 60552 3/31/16 689219                          03544    /
                                               069544384 3/07/16                35.71 60552 3/31/16 689219              468.56      03544    /
                                                    **********                   468.56 ***RR DONNE*****DO-100****RR DONNELLEY

RY-002 RYAN      RYAN LLC                         135567 3/04/16               461.19 85962 3/10/16 687468                          03178    /
                                                  135569 3/04/16               647.31 85962 3/10/16 687468           1,108.50       03178    /
                                                    **********                 1,108.50 ***RYAN   *****RY-002****RYAN LLC

SA-288 SAFLOK    SAFLOK                        INV410384 2/24/16               237.80 66120 3/10/16 687273                          03152    /
                                               INV410384 2/24/16                19.62 66120 3/10/16 687273              257.42      03152    /
                                                    **********                   257.42 ***SAFLOK *****SA-288****SAFLOK

SA-460 SAM'S     SAM'S CLUB                        22316     2/23/16            19.33     47040   3/08/16   911499                  03149    /




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APHIST-0182    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE      3
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                    22316 2/23/16               70.56 24505 3/08/16 911499              89.89   03149     /
                                                     **********                   89.89 ***SAM'S  *****SA-460****SAM'S CLUB

SC-042 SCHNEIDE SCHNEIDER ELECTRIC                 615965 2/04/16              706.00 66160 3/03/16 686565              706.00 02894      /
                                                   619524 3/04/16              706.00 66160 3/31/16 689591              706.00 03856      /
                                                     **********                1,412.00 ***SCHNEIDE*****SC-042****SCHNEIDER ELECTRIC

SC-018 SCHREI    R.L. SCHREIBER INC.           I167303786 2/17/16              476.84 24510 3/03/16 686564             476.84 02360       /
                                               I167303820 3/02/16              419.64 24510 3/23/16 688787             419.64 03856       /
                                               I167303863 3/16/16              396.62 24510 3/31/16 689589             396.62 03544       /
                                                     **********                1,293.10 ***SCHREI *****SC-018****R.L. SCHREIBER INC.

SC-100 SCHULTZ   J.C. SCHULTZ ENTERPRI.INC     0000356520 2/29/16               93.20 66120 3/23/16 688789                      03856   /
                                               0000356520 2/29/16               20.62 66120 3/23/16 688789              113.82 03856    /
                                                     **********                  113.82 ***SCHULTZ *****SC-100****J.C. SCHULTZ ENTERPRI.INC

*S-463 SEAF      SEAFOOD SUPPLY CO                 116246 2/25/16           2,546.79 24510 3/23/16 193386           2,546.79 03856      3/16
                                                     **********               2,546.79 ***SEAF   ******S-463****SEAFOOD SUPPLY CO

*S-745 SERTI     SERTIFI                       *SALE     02 3/01/16            120.44 62843 3/10/16 192481             120.44   02340   3/16
                                                       **********                120.44 ***SERTI  ******S-745****SERTIFI

SH-138 SHATAT    IBRAHIM SHATAT                 123462335 4/08/15               65.00- 60721 5/07/15 653575             65.00- 04673      /
                                                   123456 2/17/16              685.00 62505 3/17/16 687986             685.00 02648       /
                                                     **********                  620.00 ***SHATAT *****SH-138****IBRAHIM SHATAT

SH-062 SHAW      SHAW CONTRACT FLOORING          24586018 2/25/16              656.67 66350 3/23/16 688800                     02648    /
                                                 24586018 2/25/16               54.18 66350 3/23/16 688800             710.85 02648     /
                                                     **********                  710.85 ***SHAW   *****SH-062****SHAW CONTRACT FLOORING

SI-375 SIGNATUR SIGNATURE GARMENT CRE INC          104449 2/29/16              272.95 45030 3/10/16 687295                      03152     /
                                                   104449 2/29/16               52.05 16800 3/10/16 687295                      03152     /
                                                   104449 2/29/16                3.66 16800 3/10/16 687295              328.66 03152      /
                                                   104733 3/15/16              172.15 45030 3/31/16 689603                      03544     /
                                                   104733 3/15/16               52.20 16800 3/31/16 689603                      03544     /
                                                   104733 3/15/16                3.64 16800 3/31/16 689603              227.99 03544      /
                                                     **********                  556.65 ***SIGNATUR*****SI-375****SIGNATURE GARMENT CRE   INC

*S-498 SMITH     SMITH CONSULTING ASSC INC          37678 3/07/16              367.20 66275 3/31/16 194184                     03856 3/16
                                                    37678 3/07/16               20.85 66275 3/31/16 194184             388.05 03856 3/16
                                                     **********                  388.05 ***SMITH  ******S-498****SMITH CONSULTING ASSC INC

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2670002 3/07/16           2,714.81 45025 3/23/16 193290                     03839 3/16
                                                  2670002 3/07/16             284.16 45025 3/23/16 193290           2,998.97 03839 3/16
                                                     **********               2,998.97 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SO-229 SOURCE    SOURCE STRATEGIES INC          F00001148 2/10/16              150.00 60310 3/23/16 688823                     03839   /
                                                F00001148 2/10/16               12.38 60310 3/23/16 688823             162.38 03839    /
                                                     **********                  162.38 ***SOURCE *****SO-229****SOURCE STRATEGIES INC

SO-382 SOUTHERN SOUTHERN GF COMPANY               IN72557 2/17/16              393.96 66120 3/17/16 688001              393.96 02648      /
                                                  IN72583 2/25/16              255.00 66120 3/23/16 688827              255.00 02648      /
                                                     **********                  648.96 ***SOUTHERN*****SO-382****SOUTHERN GF COMPANY

SP-079 SPECTRUM SPECTRUM AUDIO VISUAL INC       INV111714 2/15/16               52.98 47051 3/10/16 687303                      02648   /
                                                INV111714 2/15/16               20.00 47051 3/10/16 687303               72.98 02648    /
                                                     **********                   72.98 ***SPECTRUM*****SP-079****SPECTRUM AUDIO VISUAL INC




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APHIST-0183    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE    1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
SP-264 SPRINT    SPRINT                       0679821134 3/05/16               15.15 35901 3/17/16 688015                       03571   /
                                              0679821134 3/05/16              227.21 35031 3/17/16 688015              242.36   03571   /
                                                    **********                  242.36 ***SPRINT *****SP-264****SPRINT

ST-244 STAFF PR STAFF PRO WORKFORCE                22732 2/18/16             763.43 26028 3/03/16 686835              763.43 02360      /
                                                   22902 2/24/16           1,231.20 26028 3/10/16 687307            1,231.20 02648      /
                                                   23335 3/03/16           1,134.00 26028 3/23/16 688998                      03856     /
                                                   23595 3/10/16           1,079.33 26028 3/23/16 688998            2,213.33 03856      /
                                                   23875 3/17/16             745.20 26028 3/31/16 689781              745.20 03544      /
                                                    **********               4,953.16 ***STAFF PR*****ST-244****STAFF PRO WORKFORCE

ST-448 STAPLES   STAPLES ADVANTAGE            3293120448 2/13/16               21.48 60552 3/10/16 687441                      02648   /
                                              3293120448 2/13/16                1.77 60552 3/10/16 687441                      02648   /
                                              3293120448 2/13/16              264.00 60550 3/10/16 687441                      02648   /
                                              3293120448 2/13/16               21.78 60550 3/10/16 687441                      02648   /
                                              3293120448 2/13/16              327.07 47051 3/10/16 687441                      02648   /
                                              3293120448 2/13/16               26.98 47051 3/10/16 687441                      02648   /
                                              3293120448 2/13/16                 .01 47051 3/10/16 687441                      02648   /
                                              3293120449 2/13/16               47.40 60550 3/10/16 687441                      02648   /
                                              3293120449 2/13/16                3.91 60550 3/10/16 687441                      02648   /
                                              3293120450 2/13/16               22.99 60550 3/10/16 687441                      02648   /
                                              3293120450 2/13/16                1.90 60550 3/10/16 687441                      02648   /
                                              3293434112 2/18/16              169.99 60550 3/10/16 687441                      02648   /
                                              3293434112 2/18/16               14.02 60550 3/10/16 687441                      02648   /
                                              3293434113 2/18/16               90.19 47051 3/10/16 687441                      02648   /
                                              3293434113 2/18/16                7.44 47051 3/10/16 687441                      02648   /
                                              3293509650 2/19/16               67.76 60550 3/10/16 687441                      02648   /
                                              3293509650 2/19/16                5.59 60550 3/10/16 687441                      02648   /
                                              3293509650 2/19/16               13.99 47051 3/10/16 687441                      02648   /
                                              3293509650 2/19/16                1.15 47051 3/10/16 687441                      02648   /
                                              3293772263 2/20/16              337.10 60550 3/10/16 687441                      02648   /
                                              3293772263 2/20/16               26.74 60550 3/10/16 687441                      02648   /
                                              3293772264 2/20/16               62.09 60550 3/10/16 687441                      02648   /
                                              3293772264 2/20/16                5.12 60550 3/10/16 687441                      02648   /
                                              3293926964 2/24/16               98.39 60550 3/10/16 687441                      02648   /
                                              3293926964 2/24/16                8.12 60550 3/10/16 687441            1,646.98 02648    /
                                              3294649510 2/27/16              498.56 60550 3/23/16 689020                      03856   /
                                              3294649510 2/27/16               41.13 60550 3/23/16 689020                      03856   /
                                              3294649511 2/27/16               30.99 60550 3/23/16 689020                      03856   /
                                              3294649511 2/27/16                2.56 60550 3/23/16 689020                      03856   /
                                              3295702753 3/08/16               36.99 60550 3/23/16 689020                      03856   /
                                              3295702753 3/08/16                3.05 60550 3/23/16 689020                      03856   /
                                              3295766978 3/09/16              632.68 60550 3/23/16 689020                      03856   /
                                              3295766978 3/09/16               52.20 60550 3/23/16 689020                      03856   /
                                              3295766979 3/09/16                5.99 60550 3/23/16 689020                      03856   /
                                              3295766979 3/09/16                 .49 60550 3/23/16 689020            1,304.64 03856    /
                                                    **********                2,951.62 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

ST-387 STARBUCK STARBUCKS COFFEE CO           0165849714 2/17/16              160.00 26860 3/17/16 688253                      03152    /
                                              0165849714 2/17/16               13.20 26860 3/17/16 688253              173.20 03152     /
                                              0165849182 2/17/16              168.88 24505 3/23/16 689058              168.88 03839     /
                                              0165944408 3/04/16              160.00 26860 3/31/16 689835                      03856    /
                                              0165944408 3/04/16               13.20 26860 3/31/16 689835              173.20 03856     /
                                                    **********                  515.28 ***STARBUCK*****ST-387****STARBUCKS COFFEE CO

*S-001 STATE     STATE TREASURER-TEXAS        STRM0316    3/09/16            494.98 02060 3/09/16 191685                     00000 3/16
                                              STRM0316    3/09/16         72,007.53 02059 3/09/16 191685          72,502.51 00000 3/16
                                                    **********              72,502.51 ***STATE  ******S-001****STATE TREASURER-TEXAS

*S-316 STATE     STATE TREASURER-TEXAS        RYAN0316    3/09/16          1,122.95- 85962 3/09/16 191690                     00000 3/16
                                              RYAN0316    3/09/16          1,122.95 02058 3/09/16 191690                      00000 3/16
                                              SLSU0316    3/09/16            461.62- 85960 3/09/16 191690                     00000 3/16
                                              SLSU0316    3/09/16             22.68 35901 3/09/16 191690                      00000 3/16
                                              SLSU0316    3/09/16          7,686.03 02060 3/09/16 191690                      00000 3/16
                                              SLSU0316    3/09/16          1,122.96 02058 3/09/16 191690            8,370.05 00000 3/16
                                                    **********               8,370.05 ***STATE   ******S-316****STATE TREASURER-TEXAS




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APHIST-0184    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*S-715 SYSCO     SYSCO                         611872012     2/13/16        1,333.95      24510   3/03/16   191522               02357   3/16
                                               611872024     2/13/16        3,443.08      24510   3/03/16   191522               02357   3/16
                                               611886839     2/15/16        2,715.94      24510   3/03/16   191522               02357   3/16
                                               611918208     2/17/16        6,742.78      24510   3/03/16   191522               02357   3/16
                                               611920007     2/17/16          455.11      24510   3/03/16   191522               02357   3/16
                                               611920892     2/17/16        1,463.24      24510   3/03/16   191522               02357   3/16
                                               611922218     2/17/16        2,248.81      24510   3/03/16   191522               02357   3/16
                                               611922314     2/17/16          947.44      24510   3/03/16   191522               02357   3/16
                                               611953090     2/19/16          986.86      24510   3/03/16   191522               02357   3/16
                                               611953091     2/19/16        2,888.60      16110   3/03/16   191522   23,225.81   02357   3/16
                                               611828831     2/10/16          644.38      16105   3/10/16   192463               02647   3/16
                                               611828831     2/10/16           34.34      16105   3/10/16   192463               02647   3/16
                                               611873751     2/13/16          557.47      24510   3/10/16   192463               02647   3/16
                                               611918207     2/17/16          151.50      26660   3/10/16   192463               02647   3/16
                                               611921184     2/17/16        1,239.06      26220   3/10/16   192463               02647   3/16
                                               611921184     2/17/16          102.22      26220   3/10/16   192463               02647   3/16
                                               611922216     2/17/16           82.60      26230   3/10/16   192463               02647   3/16
                                               611922216     2/17/16            6.81      26230   3/10/16   192463               02647   3/16
                                               611922217     2/17/16          175.78      16400   3/10/16   192463               02647   3/16
                                               611922217     2/17/16            7.11      16400   3/10/16   192463               02647   3/16
                                               611922217     2/17/16          781.98      16105   3/10/16   192463               02647   3/16
                                               611922217     2/17/16           31.62      16105   3/10/16   192463               02647   3/16
                                               611962775     2/20/16          683.45      24510   3/10/16   192463               02647   3/16
                                               611964290     2/20/16          154.69      24510   3/10/16   192463               02647   3/16
                                               611964946     2/20/16          174.70      24510   3/10/16   192463               02647   3/16
                                               611964947     2/20/16          114.04      26660   3/10/16   192463               02647   3/16
                                               611965032     2/20/16          106.81      24510   3/10/16   192463               02647   3/16
                                               611965421     2/20/16          343.09      24510   3/10/16   192463               02647   3/16
                                               611979510     2/22/16          669.94      24510   3/10/16   192463               02647   3/16
                                               611979602     2/22/16        1,707.51      24505   3/10/16   192463               02647   3/16
                                               611979864     2/22/16          219.42      16125   3/10/16   192463               02647   3/16
                                               611979864     2/22/16        1,511.45      16110   3/10/16   192463               02647   3/16
                                               611980725     2/22/16          990.84      24510   3/10/16   192463               02647   3/16
                                               612004854     2/24/16           19.95      24510   3/10/16   192463               02647   3/16
                                               612015091     2/24/16          305.29      26660   3/10/16   192463               02647   3/16
                                               612016162     2/24/16           28.25      26660   3/10/16   192463               02647   3/16
                                               612016164     2/24/16          786.84      24510   3/10/16   192463               02647   3/16
                                               612025481     2/25/16        1,627.81      24510   3/10/16   192463               03149   3/16
                                               612048677     2/26/16        1,985.17      24510   3/10/16   192463               03149   3/16
                                               612049168     2/26/16        3,282.49      16110   3/10/16   192463               03149   3/16
                                               612051891     2/26/16          451.51      24510   3/10/16   192463               03149   3/16
                                               612052465     2/26/16          466.12      24510   3/10/16   192463               03149   3/16
                                               612058612     2/27/16          852.18      24510   3/10/16   192463               03149   3/16
                                               612059296     2/27/16        1,138.40      16110   3/10/16   192463               03149   3/16
                                               612060427     2/27/16          143.50      24510   3/10/16   192463               03149   3/16
                                               612061114     2/27/16        1,509.61      24510   3/10/16   192463               03149   3/16
                                               612075002     2/29/16        1,267.33      16110   3/10/16   192463               03149   3/16
                                               612075793     2/29/16          201.25      24510   3/10/16   192463               03149   3/16
                                               612076204     2/29/16        2,485.96      16110   3/10/16   192463               03149   3/16
                                               612076401     2/29/16           34.66      24510   3/10/16   192463               03149   3/16
                                               612095752     3/01/16        1,520.48      24510   3/10/16   192463               03149   3/16
                                               612110962     3/02/16          676.17      24510   3/10/16   192463               03149   3/16
                                               612111601     3/02/16          455.45      24510   3/10/16   192463               03149   3/16
                                               612111602     3/02/16           71.55      24510   3/10/16   192463               03149   3/16
                                               612111791     3/02/16        1,603.41      24510   3/10/16   192463               03149   3/16
                                               612111883     3/02/16          876.88      16110   3/10/16   192463               03149   3/16
                                               612111884     3/02/16        1,400.73      24510   3/10/16   192463               03149   3/16
                                               612111978     3/02/16           94.20      24510   3/10/16   192463               03149   3/16
                                               612112922     3/02/16        1,383.86      24505   3/10/16   192463   35,159.86   03149   3/16
                                               612059570     2/27/16        1,025.85      16110   3/23/16   193426    1,025.85   03839   3/16
                                               611505957     1/15/16           26.93-     16110   3/23/16   193431               03839   3/16
                                               611525193     1/18/16           19.83-     24510   3/23/16   193431               03839   3/16
                                               611561254     1/20/16           28.72-     16400   3/23/16   193431               03839   3/16
                                               611561254     1/20/16            2.37-     16400   3/23/16   193431               03839   3/16
                                               611576200     1/21/16           82.10-     24510   3/23/16   193431               03839   3/16
                                               611589155     1/22/16          270.55      16105   3/23/16   193431               03839   3/16
                                               611589155     1/22/16            8.41      16105   3/23/16   193431               03839   3/16
                                               611648700     1/27/16          214.38-     24510   3/23/16   193431               03839   3/16
                                               611679638     1/29/16           87.38      16400   3/23/16   193431               03839   3/16
                                               611679638     1/29/16            5.77      16400   3/23/16   193431               03839   3/16
                                               611679638     1/29/16          442.92      16105   3/23/16   193431               03839   3/16
                                               611679638     1/29/16           29.26      16105   3/23/16   193431               03839   3/16




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APHIST-0185   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                         PAGE     2
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                    DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
                                              611778841 2/05/16              23.83- 24510 3/23/16 193431                      03839   3/16
                                              611779460 2/06/16              22.29 26660 3/23/16 193431                       03839   3/16
                                              612059297 2/27/16             190.22 26220 3/23/16 193431                       03839   3/16
                                              612059297 2/27/16              15.69 26220 3/23/16 193431                       03839   3/16
                                              612112432 3/02/16           1,045.58 26220 3/23/16 193431                       03839   3/16
                                              612112432 3/02/16              86.26 26220 3/23/16 193431                       03839   3/16
                                              612146472 3/04/16             544.49 24510 3/23/16 193431                       03839   3/16
                                              612146473 3/04/16           2,958.79 16110 3/23/16 193431                       03839   3/16
                                              612147346 3/04/16             126.88 24510 3/23/16 193431                       03839   3/16
                                              612154212 3/05/16           1,011.52 24510 3/23/16 193431                       03839   3/16
                                              612154496 3/05/16              37.30 26660 3/23/16 193431                       03839   3/16
                                              612170275 3/07/16           1,266.23 24510 3/23/16 193431                       03839   3/16
                                              612203004 3/09/16             196.67 24510 3/23/16 193431                       03839   3/16
                                              612203184 3/09/16           1,246.88 24505 3/23/16 193431                       03839   3/16
                                              612203299 3/09/16           1,750.35 16110 3/23/16 193431                       03839   3/16
                                              612203473 3/09/16              57.71 26660 3/23/16 193431                       03839   3/16
                                              612203575 3/09/16             377.52 24510 3/23/16 193431                       03839   3/16
                                              612203576 3/09/16           1,457.25 24510 3/23/16 193431                       03839   3/16
                                              612203760 3/09/16             254.59 24510 3/23/16 193431                       03839   3/16
                                              612236085 3/11/16           1,289.56 24505 3/23/16 193431                       03839   3/16
                                              612237804 3/11/16             935.06 24510 3/23/16 193431                       03839   3/16
                                              612238460 3/11/16           1,008.69 24505 3/23/16 193431                       03839   3/16
                                              612238861 3/11/16           3,186.90 16110 3/23/16 193431                       03839   3/16
                                              612239138 3/11/16             288.00 24505 3/23/16 193431                       03839   3/16
                                              612240464 3/11/16             114.81 24505 3/23/16 193431                       03839   3/16
                                              612247534 3/12/16           2,063.92 24510 3/23/16 193431                       03839   3/16
                                              612248513 3/12/16             681.25 24510 3/23/16 193431           22,660.54   03839   3/16
                                              611863342 2/12/16             193.85 16400 3/31/16 194214                       03537   3/16
                                              611863342 2/12/16              10.81 16400 3/31/16 194214                       03537   3/16
                                              611863342 2/12/16           1,283.20 16105 3/31/16 194214                       03537   3/16
                                              611863342 2/12/16              71.56 16105 3/31/16 194214                       03537   3/16
                                              611872322 2/13/16              14.04 26660 3/31/16 194214                       03537   3/16
                                              611872322 2/13/16              60.43 24510 3/31/16 194214                       03537   3/16
                                              611890306 2/15/16             129.66- 16110 3/31/16 194214                      03537   3/16
                                              612111881 3/02/16             733.17 26660 3/31/16 194214                       03537   3/16
                                              612146471 3/04/16              77.70 47040 3/31/16 194214                       03856   3/16
                                              612259370 3/14/16             889.63 16110 3/31/16 194214                       03537   3/16
                                              612261402 3/14/16           3,706.23 24510 3/31/16 194214                       03537   3/16
                                              612293304 3/16/16             204.18 24510 3/31/16 194214                       03537   3/16
                                              612294984 3/16/16           1,037.13 24510 3/31/16 194214                       03537   3/16
                                              612295097 3/16/16             754.92 26660 3/31/16 194214                       03537   3/16
                                              612295190 3/16/16             119.51 47040 3/31/16 194214                       03537   3/16
                                              612295921 3/16/16           2,380.32 16110 3/31/16 194214                       03537   3/16
                                              612296121 3/16/16             357.04 16125 3/31/16 194214                       03537   3/16
                                              612300131 3/17/16              19.95 24505 3/31/16 194214                       03537   3/16
                                              612307473 3/17/16              86.24 47040 3/31/16 194214                       03537   3/16
                                              612307473 3/17/16               4.18 47040 3/31/16 194214                       03537   3/16
                                              612307473 3/17/16             251.72 26660 3/31/16 194214                       03537   3/16
                                              612307473 3/17/16              12.19 26660 3/31/16 194214                       03537   3/16
                                              612308426 3/17/16           1,282.87 24510 3/31/16 194214                       03537   3/16
                                              612308522 3/17/16             271.02 24510 3/31/16 194214                       03537   3/16
                                              612313239 3/17/16             221.60 24510 3/31/16 194214                       03537   3/16
                                              612327889 3/18/16           3,051.01 16110 3/31/16 194214                       03537   3/16
                                              612328560 3/18/16           2,146.59 24510 3/31/16 194214                       03537   3/16
                                              612336867 3/19/16              51.48 24510 3/31/16 194214                       03537   3/16
                                              612336868 3/19/16             432.27 24510 3/31/16 194214                       03537   3/16
                                              612340644 3/19/16             449.06 24510 3/31/16 194214           20,044.24   03537   3/16
                                                   **********             102,116.30 ***SYSCO   ******S-715****SYSCO

TD-003 TD       TDINDUSTRIES                    1518369 2/05/16           1,031.30 66202 3/23/16 688853                       03839    /
                                                1518369 2/05/16              85.08 66202 3/23/16 688853           1,116.38    03839    /
                                                1528538 2/15/16             470.33 66202 3/31/16 689783                       03537    /
                                                1528538 2/15/16              38.81 66202 3/31/16 689783                       03537    /
                                                1528991 2/18/16             640.62 66202 3/31/16 689783                       03537    /
                                                1528991 2/18/16              52.85 66202 3/31/16 689783                       03537    /
                                                1529437 2/23/16             292.00 66160 3/31/16 689783                       03544    /
                                                1529437 2/23/16              24.09 66160 3/31/16 689783                       03544    /
                                                1530511 2/29/16             367.90 66202 3/31/16 689783                       03544    /
                                                1530511 2/29/16              30.35 66202 3/31/16 689783                       03544    /
                                                1531655 2/29/16             867.79 66202 3/31/16 689783                       03544    /
                                                1531655 2/29/16              71.59 66202 3/31/16 689783           2,856.33    03544    /
                                                   **********               3,972.71 ***TD     *****TD-003****TDINDUSTRIES



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APHIST-0186    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE    1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
FI-113 THE FIL   THE FILTA GROUP INC           454000328 2/25/16              105.00 26260 3/10/16 687025                      02648    /
                                               454000328 2/25/16                8.66 26260 3/10/16 687025              113.66 02648     /
                                               454000342 3/03/16              105.00 26260 3/23/16 689052                      03856    /
                                               454000342 3/03/16                8.66 26260 3/23/16 689052                      03856    /
                                               454000352 3/10/16              105.00 26260 3/23/16 689052                      03856    /
                                               454000352 3/10/16                8.66 26260 3/23/16 689052              227.32 03856     /
                                               454000373 3/17/16              105.00 26260 3/31/16 689831                      03544    /
                                               454000373 3/17/16                8.66 26260 3/31/16 689831              113.66 03544     /
                                                    **********                  454.64 ***THE FIL *****FI-113****THE FILTA GROUP INC

TI-059 TIFF'S    TIFF'S TREATS                  DAL31599 2/29/16               52.00 62501 3/31/16 689638              52.00 03544      /
                                                    **********                   52.00 ***TIFF'S *****TI-059****TIFF'S TREATS

TR-444 TRANE     TRANE U.S. INC                  509968X 3/07/16              265.20 66160 3/31/16 689650                      03544    /
                                                 509968X 3/07/16               14.00 66160 3/31/16 689650                      03544    /
                                                 509968X 3/07/16               23.04 66160 3/31/16 689650             302.24 03544      /
                                                    **********                  302.24 ***TRANE  *****TR-444****TRANE U.S. INC

TR-224 TRAVEL    TRAVEL LEADERS CORP. LLC         784996 3/10/16           5,760.00 62625 3/31/16 689785           5,760.00 03544    /
                                                    **********               5,760.00 ***TRAVEL *****TR-224****TRAVEL LEADERS CORP. LLC

TR-117 TRAY      TRAY INC                         221473 3/02/16               74.00 60552 3/31/16 689645                       03856   /
                                                  221473 3/02/16               21.65 60552 3/31/16 689645                       03856   /
                                                  221473 3/02/16               23.91 26870 3/31/16 689645                       03856   /
                                                  221473 3/02/16                7.00 26870 3/31/16 689645             126.56    03856   /
                                                    **********                  126.56 ***TRAY   *****TR-117****TRAY INC

TR-366 TROPICAL TROPICAL NUT & FRUIT CO       NV15366929 2/18/16              712.00 24510 3/03/16 686649              712.00 02360    /
                                                    **********                  712.00 ***TROPICAL*****TR-366****TROPICAL NUT & FRUIT CO

US-129 USA TODA USA TODAY                     0013067494 2/28/16              331.20 16105 3/23/16 689060              331.20   03839   /
                                                    **********                  331.20 ***USA TODA*****US-129****USA TODAY

VI-102 VIDEO     VIDEO EQUIPMENT RENTALS         1720825 2/10/16           2,856.72 47050 3/10/16 687429           2,856.72 02648    /
                                                 1725894 2/25/16             300.44 47050 3/23/16 688899                     03152   /
                                                 1725895 2/25/16             541.25 47050 3/23/16 688899             841.69 03152    /
                                                 1729835 2/29/16             220.00 47051 3/31/16 689679                     03544   /
                                                 1729835 2/29/16              18.15 47051 3/31/16 689679                     03544   /
                                                 1730384 2/29/16             129.90 47050 3/31/16 689679             368.05 03544    /
                                                    **********               4,066.46 ***VIDEO  *****VI-102****VIDEO EQUIPMENT RENTALS

WO-103 WORLD CI WORLD CINEMA INC              **S5199 03 4/01/16           4,980.55 16425 3/31/16 689836                      02340     /
                                              **S5199 03 4/01/16             410.90 16425 3/31/16 689836            5,391.45 02340      /
                                                    **********               5,391.45 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN    WTS INTERNATIONAL INC        C000038020 2/01/16              250.00 45022 3/10/16 192546             250.00 02647 3/16
                                                    **********                  250.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC

YU-001 YUMI ICE YUMI ICE CREAM CO INC           13105029 2/26/16              276.84 24505 3/23/16 688924                      03856   /
                                                13105182 3/11/16              447.84 24505 3/23/16 688924              724.68 03856    /
                                                13104875 2/12/16              340.12 24505 3/31/16 689702              340.12 03537    /
                                                    **********                1,064.80 ***YUMI ICE*****YU-001****YUMI ICE CREAM CO INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80713             1,447,260.71




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APHIST-0143    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AC-026 ACC BUSI ACC BUSINESS                    161050964 4/27/16             164.01 35901 4/28/16 911969                         04133    /
                                                161050964 4/27/16           2,066.57 35030 4/28/16 911969            2,230.58     04133    /
                                                     **********               2,230.58 ***ACC BUSI*****AC-026****ACC BUSINESS

AC-057 ACIS      ACIS INNOVATIVE SOLUTIONS         S59078 3/13/16           1,299.03 66160 4/07/16 689843                     03544   /
                                                   S59078 3/13/16             107.17 66160 4/07/16 689843           1,406.20 03544    /
                                                   S59063 3/16/16           1,981.45 66160 4/14/16 691147                     03850   /
                                                   S59063 3/16/16             163.47 66160 4/14/16 691147           2,144.92 03850    /
                                                   M42729 4/01/16             380.30 66160 4/28/16 692008                     04760   /
                                                   M42729 4/01/16               6.24 66160 4/28/16 692008                     04760   /
                                                   S59346 3/31/16           1,078.93 66275 4/28/16 692008                     04760   /
                                                   S59346 3/31/16              89.01 66275 4/28/16 692008           1,554.48 04760    /
                                                     **********               5,105.60 ***ACIS   *****AC-057****ACIS INNOVATIVE SOLUTIONS

*A-166 AIRG      AIRGAS USA LLC                9049418677 3/16/16              196.16 30870 4/07/16 194361                      03847     4/16
                                               9049418677 3/16/16                3.39 30870 4/07/16 194361                      03847     4/16
                                               9049418677 3/16/16               16.46 30870 4/07/16 194361             216.01 03847       4/16
                                               9049418678 3/16/16               47.11 30870 4/07/16 194362                      03847     4/16
                                               9049418678 3/16/16                3.39 30870 4/07/16 194362                      03847     4/16
                                               9049418678 3/16/16                4.17 30870 4/07/16 194362              54.67 03847       4/16
                                               9049701063 3/24/16              133.38 30870 4/21/16 196032                      04502     4/16
                                               9049701063 3/24/16               11.00 30870 4/21/16 196032             144.38 04502       4/16
                                               9935340041 3/31/16              117.20 30380 4/28/16 196519             117.20 04736       4/16
                                                     **********                  532.26 ***AIRG   ******A-166****AIRGAS USA LLC

AL-189 ALPHAGRA ALPHAGRAPHICS                       69085 3/28/16               58.57 62301 4/07/16 689853                        03850    /
                                                    69085 3/28/16                4.84 62301 4/07/16 689853               63.41    03850    /
                                                    69113 3/31/16               80.78 16130 4/21/16 691267                        04504    /
                                                    69113 3/31/16                6.67 16130 4/21/16 691267                        04504    /
                                                    69173 4/01/16              104.36 16600 4/21/16 691267                        04504    /
                                                    69173 4/01/16                8.61 16600 4/21/16 691267              200.42    04504    /
                                                     **********                  263.83 ***ALPHAGRA*****AL-189****ALPHAGRAPHICS

AL-413 ALTEX     ALTEX COMPUTERS &                252089A 2/29/16               30.86 47051 4/28/16 692021              30.86 04736        /
                                                     **********                   30.86 ***ALTEX  *****AL-413****ALTEX COMPUTERS &

AM-465 AMBIENT   AMBIENT STAGE LIGHTING           IN05587 3/17/16             874.50 47050 4/14/16 691150                         03850    /
                                                  IN05587 3/17/16           1,300.00 26028 4/14/16 691150            2,174.50     03850    /
                                                  IN05607 3/31/16             795.00 47050 4/28/16 692028              795.00     04397    /
                                                     **********               2,969.50 ***AMBIENT *****AM-465****AMBIENT STAGE    LIGHTING

AM-079 AMER      AMERITEX GUARD SERVICES          6010661 3/14/16              540.00 60016 4/07/16 689859                     03544   /
                                                  6010661 3/14/16               44.55 60016 4/07/16 689859             584.55 03544    /
                                                  6010684 3/21/16              561.25 60016 4/14/16 690730                     03850   /
                                                  6010684 3/21/16               46.30 60016 4/14/16 690730             607.55 03850    /
                                                  6010711 3/28/16              500.00 60016 4/21/16 691271                     04504   /
                                                  6010711 3/28/16               41.25 60016 4/21/16 691271             541.25 04504    /
                                                  6010734 4/04/16              300.00 60016 4/28/16 692027                     04760   /
                                                  6010734 4/04/16               24.75 60016 4/28/16 692027             324.75 04760    /
                                                     **********                2,058.10 ***AMER   *****AM-079****AMERITEX GUARD SERVICES

*A-230 AMERICA   AMERICAN HOTEL REGISTER          7699354 3/17/16               92.06 16400 4/28/16 196538                      04736 4/16
                                                  7699354 3/17/16               10.05 16400 4/28/16 196538                      04736 4/16
                                                  7699354 3/17/16                8.42 16400 4/28/16 196538              110.53 04736 4/16
                                                     **********                  110.53 ***AMERICA ******A-230****AMERICAN HOTEL REGISTER

*A-185 ART B     ART BAKERY                       7600115 3/29/16              126.00 24510 4/28/16 196532                        04736   4/16
                                                  7600116 4/08/16              324.00 24510 4/28/16 196532             450.00     04736   4/16
                                                     **********                  450.00 ***ART B  ******A-185****ART BAKERY

AS-025 ASSA      ASSA ABLOY HOSPITALITY           3143221 3/04/16               75.00 66120 4/28/16 692046              75.00 04736     /
                                                     **********                   75.00 ***ASSA   *****AS-025****ASSA ABLOY HOSPITALITY




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APHIST-0144    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AT-046 AT&T      AT&T                         1939536165 4/11/16               67.20 35901 4/21/16 911895                        04718    /
                                              1939536165 4/11/16              208.68 35030 4/21/16 911895               275.88   04718    /
                                                    **********                  275.88 ***AT&T   *****AT-046****AT&T

AT-053 AT&T      AT&T                         8470683011 4/01/16               50.85 35901 4/14/16 690746                        04286    /
                                              8470683011 4/01/16              451.81 35030 4/14/16 690746               502.66   04286    /
                                                    **********                  502.66 ***AT&T   *****AT-053****AT&T

AT-103 AT&T      AT&T                         4163628064 4/05/16               16.96 35901 4/21/16 691292                        04464    /
                                              4163628064 4/05/16              127.99 35030 4/21/16 691292               144.95   04464    /
                                              4167050857 4/05/16               12.08 35901 4/21/16 691293                        04464    /
                                              4167050857 4/05/16              120.70 35030 4/21/16 691293               132.78   04464    /
                                                    **********                  277.73 ***AT&T   *****AT-103****AT&T

AT-240 AT&T      AT&T                         1167127221 1/07/16               19.94 35901 4/19/16 911860                        04533    /
                                              1167127221 1/07/16              226.16 35030 4/19/16 911860                        04533    /
                                              2167127221 2/07/16               22.04 35901 4/19/16 911860                        04533    /
                                              2167127221 2/07/16              244.81 35030 4/19/16 911860                        04533    /
                                              4167127221 4/07/16               21.69 35901 4/19/16 911860                        04533    /
                                              4167127221 4/07/16              261.43 35030 4/19/16 911860               796.07   04533    /
                                              3167127221 3/07/16               21.69 35901 4/27/16 911953                        04024    /
                                              3167127221 3/07/16              241.70 35030 4/27/16 911953               263.39   04024    /
                                                    **********                1,059.46 ***AT&T   *****AT-240****AT&T

*A-144 ATMOS     ATMOS ENERGY                   41602501 4/11/16           8,646.63 64200 4/14/16 195432                         04250   4/16
                                                41602501 4/11/16             713.27 64200 4/14/16 195432           9,359.90      04250   4/16
                                                41653937 4/07/16           1,439.08 64200 4/14/16 195433                         04250   4/16
                                                41653937 4/07/16             118.65 64200 4/14/16 195433           1,557.73      04250   4/16
                                                    **********              10,917.63 ***ATMOS  ******A-144****ATMOS ENERGY

AU-096 AUDIOVIS AUDIOVISUAL MANAGEMENT            101637 3/30/16              500.00 47050 4/28/16 692057              500.00 04397     /
                                                    **********                  500.00 ***AUDIOVIS*****AU-096****AUDIOVISUAL MANAGEMENT

*A-280 AVSD      AVSD PRODUCTIONS OR          D047139092 4/19/16              367.50 47050 4/28/16 196552             367.50 04770       4/16
                                                    **********                  367.50 ***AVSD   ******A-280****AVSD PRODUCTIONS OR

AV-044 AVSD      AVSD PRODUCTIONS             DJPHCAESCH 3/23/16           2,550.00 47050 4/15/16 911777           2,550.00 04397         /
                                                    **********               2,550.00 ***AVSD   *****AV-044****AVSD PRODUCTIONS

*B-018 BANK      BANK OF AMERICA               APR16LOAN 4/25/16         259,609.93 86700 4/27/16 196505                     04047       4/16
                                               APR16LOAN 4/25/16          73,435.81 02820 4/27/16 196505                     04047       4/16
                                               APR16LOAN 4/25/16          63,304.11 01095 4/27/16 196505         396,349.85 04047        4/16
                                                    **********             396,349.85 ***BANK   ******B-018****BANK OF AMERICA

BC-015 BCD       BCD MEETINGS & EVENTS         FIS151293 3/09/16              685.40 62625 4/07/16 689893             685.40 03850    /
                                                    **********                  685.40 ***BCD    *****BC-015****BCD MEETINGS & EVENTS

BE-259 BEAUMONT BEAUMONT BUSINESS MUSIC          0008036 3/30/16           1,500.00 47051 4/15/16 911772                      04397   /
                                                 0008036 3/30/16             123.75 47051 4/15/16 911772            1,623.75 04397    /
                                                 0008044 3/30/16             431.55 66520 4/28/16 692708                      04504   /
                                                 0008044 3/30/16              35.60 66520 4/28/16 692708                      04504   /
                                                 0008045 3/30/16           6,506.00 66520 4/28/16 692708                      04504   /
                                                 0008045 3/30/16             536.75 66520 4/28/16 692708            7,509.90 04504    /
                                                    **********               9,133.65 ***BEAUMONT*****BE-259****BEAUMONT BUSINESS MUSIC

BE-390 BERTRAND BERTRAND'S INC                 0395454IN 3/24/16              287.17 24510 4/07/16 689899              287.17 03850       /
                                               0395860IN 3/30/16              292.16 24510 4/28/16 692071                       04760     /
                                               0396428IN 4/05/16              947.14 24510 4/28/16 692071                       04760     /
                                               0397399IN 4/14/16              693.50 24510 4/28/16 692071            1,932.80 04760       /
                                                    **********                2,219.97 ***BERTRAND*****BE-390****BERTRAND'S INC




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APHIST-0145    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
BL-180 BLACKMON BLACKMON-MOORING INC            320526005 3/15/16               906.39 26260 4/07/16 690563                      03850     /
                                                320526005 3/15/16                74.78 26260 4/07/16 690563                      03850     /
                                                320526005 3/15/16               906.39 16150 4/07/16 690563                      03850     /
                                                320526005 3/15/16                74.78 16150 4/07/16 690563                      03850     /
                                                320526005 3/15/16                  .01- 16150 4/07/16 690563           1,962.33 03850      /
                                                     **********                 1,962.33 ***BLACKMON*****BL-180****BLACKMON-MOORING INC

*B-600 BOGAR     ERIN BOGAR                         31416 3/14/16                49.68 62830 4/22/16 196468                       04716   4/16
                                                    31416 3/14/16                25.64 62505 4/22/16 196468                       04716   4/16
                                                    31416 3/14/16                23.30 62501 4/22/16 196468              98.62    04716   4/16
                                                     **********                    98.62 ***BOGAR  ******B-600****ERIN BOGAR

BR-278 BRIDAL    BRIDAL SHOWS INC                   31816 3/18/16               875.00 62850 4/28/16 692086                     04760      /
                                                   31816A 3/18/16               825.00 62850 4/28/16 692086           1,700.00 04760       /
                                                     **********                 1,700.00 ***BRIDAL *****BR-278****BRIDAL SHOWS INC

BR-003 BRINK'S   BRINK'S INC                      9995895 4/01/16               812.23 60135 4/28/16 692083                       04760    /
                                                  9995895 4/01/16                50.76 60135 4/28/16 692083                       04760    /
                                                  9995895 4/01/16                71.20 60135 4/28/16 692083              934.19   04760    /
                                                     **********                   934.19 ***BRINK'S *****BR-003****BRINK'S INC

CA-111 CASCADE   CASCADE WATER SERVICES            982667 4/01/16               313.11 66160 4/28/16 692091                      04760    /
                                                   982667 4/01/16                21.13 66160 4/28/16 692091              334.24 04760     /
                                                     **********                   334.24 ***CASCADE *****CA-111****CASCADE WATER SERVICES

CE-098 CENTURY   CENTURYLINK                   1372167232 4/15/16                86.98 35901 4/21/16 691334                       04582    /
                                               1372167232 4/15/16               966.18 35030 4/21/16 691334            1,053.16   04582    /
                                                     **********                 1,053.16 ***CENTURY *****CE-098****CENTURYLINK

CH-549 CHAMPION CHAMPION WASTE SERVICES            238087 3/31/16               205.90 66325 4/14/16 691203                      04224   /
                                                   238669 4/04/16               543.42 66325 4/14/16 691203              749.32 04224    /
                                                   239417 4/12/16               100.42 66325 4/21/16 691950                      04580   /
                                                   239417 4/12/16                 8.29 66325 4/21/16 691950              108.71 04580    /
                                                     **********                   858.03 ***CHAMPION*****CH-549****CHAMPION WASTE SERVICES

CH-147 CHEF      CHEF PETE CATERING              EMBASSEY 4/16/16               761.88 24510 4/28/16 692103                     04760      /
                                                 EMBASSEY 4/16/16                50.00 24510 4/28/16 692103             811.88 04760       /
                                                     **********                   811.88 ***CHEF   *****CH-147****CHEF PETE CATERING

CH-437 CHEF      CHEF WORKS INC                 IN1360415 3/24/16               429.06 26820 4/07/16 689935                      03850     /
                                                IN1360415 3/24/16                35.42 26820 4/07/16 689935             464.48 03850       /
                                                IN1358754 3/22/16               181.68 26820 4/21/16 691355                      04504     /
                                                IN1358754 3/22/16                14.95 26820 4/21/16 691355                      04504     /
                                                IN1358754 3/22/16                16.23 26820 4/21/16 691355             212.86 04504       /
                                                IN1366338 4/06/16               106.84 26820 4/28/16 692106                      04760     /
                                                IN1366338 4/06/16                14.95 26820 4/28/16 692106                      04760     /
                                                IN1366338 4/06/16                10.05 26820 4/28/16 692106             131.84 04760       /
                                                     **********                   809.18 ***CHEF   *****CH-437****CHEF WORKS INC

*C-411 CINTAS    CINTAS CORP                      2302654 3/28/16               577.14 16800 4/28/16 196616                       04736   4/16
                                                  2302654 3/28/16                22.75 16800 4/28/16 196616                       04736   4/16
                                                  2302654 3/28/16                49.51 16800 4/28/16 196616             649.40    04736   4/16
                                                     **********                   649.40 ***CINTAS ******C-411****CINTAS CORP

CI-016 CINTAS    CINTAS CORP#163/#463/#492      163148426     2/26/16            43.75     26380   4/07/16   689936               03847    /
                                                163148426     2/26/16             3.61     26380   4/07/16   689936               03847    /
                                                163148426     2/26/16            48.66     16400   4/07/16   689936               03847    /
                                                163148426     2/26/16             4.01     16400   4/07/16   689936               03847    /
                                                163149895     3/04/16            43.75     26380   4/07/16   689936               03850    /
                                                163149895     3/04/16             3.61     26380   4/07/16   689936               03850    /
                                                163149895     3/04/16            48.66     16400   4/07/16   689936               03850    /
                                                163149895     3/04/16             4.01     16400   4/07/16   689936               03850    /




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APHIST-0146    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               163151389 3/11/16                43.75 26380 4/07/16 689936                     03850   /
                                               163151389 3/11/16                 3.61 26380 4/07/16 689936                     03850   /
                                               163151389 3/11/16                48.66 16400 4/07/16 689936                     03850   /
                                               163151389 3/11/16                 4.01 16400 4/07/16 689936             300.09 03850    /
                                               163152856 3/18/16                43.75 26380 4/14/16 690783                     03850   /
                                               163152856 3/18/16                 3.61 26380 4/14/16 690783                     03850   /
                                               163152856 3/18/16                48.66 16400 4/14/16 690783                     03850   /
                                               163152856 3/18/16                 4.01 16400 4/14/16 690783             100.03 03850    /
                                               163154370 3/25/16                43.75 26380 4/21/16 691356                     03850   /
                                               163154370 3/25/16                 3.61 26380 4/21/16 691356                     03850   /
                                               163154370 3/25/16                48.66 16400 4/21/16 691356                     03850   /
                                               163154370 3/25/16                 4.01 16400 4/21/16 691356             100.03 03850    /
                                               163155852 4/01/16                43.75 26380 4/28/16 692108                     04760   /
                                               163155852 4/01/16                 3.61 26380 4/28/16 692108                     04760   /
                                               163155852 4/01/16                48.66 16400 4/28/16 692108                     04760   /
                                               163155852 4/01/16                 4.01 16400 4/28/16 692108             100.03 04760    /
                                                    **********                   600.18 ***CINTAS *****CI-016****CINTAS CORP#163/#463/#492

*C-345 CITY      CITY OF FRISCO                 31669501 4/08/16              974.08 66325 4/28/16 196565                      04630     4/16
                                                31669501 4/08/16               32.40 66325 4/28/16 196565                      04630     4/16
                                                31669501 4/08/16            9,574.47 64500 4/28/16 196565          10,580.95 04630       4/16
                                                31669601 4/08/16               27.81 64500 4/28/16 196566              27.81 04630       4/16
                                                    **********               10,608.76 ***CITY   ******C-345****CITY OF FRISCO

CI-192 CITY OF   CITY OF FRISCO               CTYR0416    4/11/16           1,709.05- 85960 4/11/16 911735                      00000     /
                                              CTYR0416    4/11/16          79,992.34 02059 4/11/16 911735           78,283.29 00000       /
                                                    **********               78,283.29 ***CITY OF *****CI-192****CITY OF FRISCO

*C-584 CLASS     CLASSIC SNACKS INC               175680 3/22/16               785.49 16125 4/28/16 196636             785.49 04736      4/16
                                                    **********                   785.49 ***CLASS  ******C-584****CLASSIC SNACKS INC

CO-492 CONVOY    CONVOY OF HOPE               INSA041601 4/14/16               377.62 02042 4/15/16 911821             377.62 00000       /
                                                    **********                   377.62 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-280 CORPOR    CORPORATE BUILDING                75700     3/14/16        6,656.70      16020   4/07/16   690692               03856    /
                                                   75700     3/14/16          549.18      16020   4/07/16   690692               03856    /
                                                   75701     3/14/16        3,652.50      16020   4/07/16   690692               03856    /
                                                   75701     3/14/16          301.33      16020   4/07/16   690692               03856    /
                                                   75702     3/14/16        2,235.85      16021   4/07/16   690692               03856    /
                                                   75702     3/14/16          184.46      16021   4/07/16   690692               03856    /
                                                   75703     3/14/16          239.57      16030   4/07/16   690692               03856    /
                                                   75703     3/14/16           19.76      16030   4/07/16   690692               03856    /
                                                   75760     3/15/16        1,234.75      66020   4/07/16   690692               03544    /
                                                   75760     3/15/16          101.87      66020   4/07/16   690692   15,175.97   03544    /
                                                   75778     3/21/16        1,123.07      66020   4/14/16   691239               03544    /
                                                   75778     3/21/16           92.65      66020   4/14/16   691239               03544    /
                                                   75779     3/21/16        3,710.55      16020   4/14/16   691239               03850    /
                                                   75779     3/21/16          306.12      16020   4/14/16   691239               03850    /
                                                   75780     3/21/16        2,388.86      16021   4/14/16   691239               03850    /
                                                   75780     3/21/16          197.08      16021   4/14/16   691239               03850    /
                                                   75781     3/21/16        8,242.55      16020   4/14/16   691239               03850    /
                                                   75781     3/21/16          680.01      16020   4/14/16   691239               03850    /
                                                   75782     3/21/16            9.60      26030   4/14/16   691239               03850    /
                                                   75782     3/21/16             .79      26030   4/14/16   691239   16,751.28   03850    /
                                                   75542     3/03/16        5,075.00      16020   4/21/16   691979               04504    /
                                                   75542     3/03/16          418.69      16020   4/21/16   691979               04504    /
                                                   75771     3/20/16          173.60      16030   4/21/16   691979               04504    /
                                                   75771     3/20/16           14.32      16030   4/21/16   691979               04504    /
                                                   75843     3/28/16        8,157.57      16020   4/21/16   691979               03850    /
                                                   75843     3/28/16          673.00      16020   4/21/16   691979               03850    /
                                                   75844     3/28/16        3,334.05      16020   4/21/16   691979               03850    /
                                                   75844     3/28/16          275.06      16020   4/21/16   691979               03850    /
                                                   75845     3/28/16        1,979.23      16021   4/21/16   691979               03850    /
                                                   75845     3/28/16          163.29      16021   4/21/16   691979               03850    /
                                                   75846     3/28/16          306.51      16030   4/21/16   691979               03850    /
                                                   75846     3/28/16           25.29      16030   4/21/16   691979               03850    /
                                                   75847     3/28/16        1,062.49      66020   4/21/16   691979               03850    /




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APHIST-0147    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     3
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                   75847 3/28/16              87.66 66020 4/21/16 691979          21,745.76 03850        /
                                                   75918 4/03/16           5,075.00 16020 4/28/16 692822                     04760       /
                                                   75918 4/03/16             418.69 16020 4/28/16 692822                     04760       /
                                                   76017 4/04/16           6,192.20 16020 4/28/16 692822                     04504       /
                                                   76017 4/04/16             510.86 16020 4/28/16 692822                     04504       /
                                                   76018 4/04/16           2,622.75 16020 4/28/16 692822                     04504       /
                                                   76018 4/04/16             216.38 16020 4/28/16 692822                     04504       /
                                                   76019 4/04/16           1,439.39 16021 4/28/16 692822                     04504       /
                                                   76019 4/04/16             118.75 16021 4/28/16 692822                     04504       /
                                                   76020 4/04/16           1,162.96 66020 4/28/16 692822                     04760       /
                                                   76020 4/04/16              95.94 66020 4/28/16 692822                     04760       /
                                                   76021 3/31/16             257.69 16030 4/28/16 692822                     04504       /
                                                   76021 3/31/16              21.26 16030 4/28/16 692822          18,131.87 04504        /
                                                    **********              71,804.88 ***CORPOR *****CO-280****CORPORATE BUILDING

*C-373 COSERV    COSERV                         28763767 4/21/16          25,143.61 64100 4/28/16 196590                        04979   4/16
                                                28763767 4/21/16           2,074.35 64100 4/28/16 196590          27,217.96     04979   4/16
                                                28763768 4/21/16          16,339.37 64100 4/28/16 196591                        04979   4/16
                                                28763768 4/21/16           1,348.00 64100 4/28/16 196591          17,687.37     04979   4/16
                                                    **********              44,905.33 ***COSERV ******C-373****COSERV

CR-046 CROWN     CROWN TROPHY                      44855 3/09/16              132.50 60070 4/07/16 689981                       03856    /
                                                   44855 3/09/16               10.93 60070 4/07/16 689981                       03856    /
                                                   44937 3/09/16              333.75 60070 4/07/16 689981                       03544    /
                                                   44937 3/09/16               27.53 60070 4/07/16 689981             504.71    03544    /
                                                    **********                  504.71 ***CROWN  *****CR-046****CROWN TROPHY

CU-112 CULLIGAN CULLIGAN                          956505 2/25/16              191.25 64500 4/07/16 689995                       03847    /
                                                  956505 2/25/16                3.27 64500 4/07/16 689995                       03847    /
                                                  956505 2/25/16              205.76 60370 4/07/16 689995                       03847    /
                                                  956505 2/25/16                3.52 60370 4/07/16 689995                       03847    /
                                                  956505 2/25/16               13.65 60370 4/07/16 689995                       03847    /
                                                  956505 2/25/16              157.82 16370 4/07/16 689995                       03847    /
                                                  956505 2/25/16                2.70 16370 4/07/16 689995                       03847    /
                                                  956505 2/25/16               10.47 16370 4/07/16 689995                       03847    /
                                                  956505 2/25/16                 .01 16370 4/07/16 689995              588.45   03847    /
                                                  964901 3/25/16              147.85 64500 4/21/16 691393                       04504    /
                                                  964901 3/25/16                1.79 64500 4/21/16 691393                       04504    /
                                                  964901 3/25/16               87.01 60370 4/21/16 691393                       04504    /
                                                  964901 3/25/16                1.05 60370 4/21/16 691393                       04504    /
                                                  964901 3/25/16                6.81 60370 4/21/16 691393                       04504    /
                                                  964901 3/25/16              157.82 16370 4/21/16 691393                       04504    /
                                                  964901 3/25/16                1.91 16370 4/21/16 691393                       04504    /
                                                  964901 3/25/16               12.36 16370 4/21/16 691393              416.60   04504    /
                                                  963918 3/22/16              134.23 66250 4/28/16 692157              134.23   04736    /
                                                    **********                1,139.28 ***CULLIGAN*****CU-112****CULLIGAN

DA-198 DALLAS    THE DALLAS TEMPS CORP        EMBASSY017 3/21/16           1,417.33 26015 4/07/16 690577                       03850     /
                                              EMBASSY018 3/22/16             523.13 26015 4/07/16 690577                       03850     /
                                              EMBASSY019 3/28/16           2,061.75 26015 4/07/16 690577                       03850     /
                                              EMBASSY019 3/28/16             117.01 26015 4/07/16 690577             4,119.22 03850      /
                                              EMBASSY020 3/30/16             208.00 26015 4/21/16 691397                       04504     /
                                              EMBASSY021 4/04/16           1,405.42 26015 4/21/16 691397             1,613.42 04504      /
                                              EMBASSY022 4/12/16           1,350.29 26015 4/28/16 692165                       04760     /
                                              EMBASSY022 4/12/16              76.73 26015 4/28/16 692165             1,427.02 04760      /
                                                    **********               7,159.66 ***DALLAS *****DA-198****THE   DALLAS TEMPS CORP

DA-482 DALLAS    DALLAS CONVENTION &             8228825 4/01/16           3,577.20 62505 4/28/16 692719           3,577.20 04760        /
                                                    **********               3,577.20 ***DALLAS *****DA-482****DALLAS CONVENTION &

DF-022 DFW       DFW COMMUNICATIONS, INC.     9130008591 4/07/16              129.00 66520 4/28/16 692175                     04760   /
                                              9130008591 4/07/16               10.32 66520 4/28/16 692175             139.32 04760    /
                                                    **********                  139.32 ***DFW    *****DF-022****DFW COMMUNICATIONS, INC.

DF-001 DFWLOCK   DFW LOCKSMITH                    058206 4/11/16           1,531.74 47050 4/22/16 911920            1,531.74 04736       /
                                                    **********               1,531.74 ***DFWLOCK *****DF-001****DFW LOCKSMITH



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APHIST-0148   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                               PAGE     1
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                          DATE
VEND#   ALPHA    NAME                          INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
DI-052 DIRECTV   DIRECTV                         8277571403 4/12/16               221.98 16425 4/22/16 911921                       04736    /
                                                 8277571403 4/12/16                13.86 16425 4/22/16 911921              235.84   04736    /
                                                       **********                   235.84 ***DIRECTV *****DI-052****DIRECTV

DO-038 DOOR      DOOR CONTROL SERVICES INC       SMINV82456 3/14/16               295.00 66120 4/07/16 690012                     03850      /
                                                 SMINV82456 3/14/16                24.34 66120 4/07/16 690012             319.34 03850       /
                                                 SMINV83344 3/23/16               346.28 66120 4/21/16 691404                     03850      /
                                                 SMINV83344 3/23/16                28.57 66120 4/21/16 691404             374.85 03850       /
                                                       **********                   694.19 ***DOOR   *****DO-038****DOOR CONTROL SERVICES    INC

DO-167 DORADO    DORADO FINANCE LTD      FOR           1813 3/22/16            3,876.32 26028 4/07/16 690581                     03850       /
                                                      1813B 3/26/16            1,586.61 26028 4/07/16 690581           5,462.93 03850        /
                                                       1830 3/28/16            2,846.48 26028 4/21/16 691884           2,846.48 04504        /
                                                       1831 3/28/16              905.25 26015 4/28/16 692824                     04760       /
                                                       1848 4/04/16            7,563.12 26028 4/28/16 692824                     04760       /
                                                       1849 4/04/16            3,428.60 26015 4/28/16 692824                     04760       /
                                                       1866 4/11/16            2,993.33 26028 4/28/16 692824                     04760       /
                                                       1867 4/11/16              516.38 26015 4/28/16 692824          15,406.68 04760        /
                                                       **********               23,716.09 ***DORADO *****DO-167****DORADO FINANCE LTD        FOR

DO-127 DOW JONE DOW JONES & CO INC                 96693262 3/14/16               260.40 16100 4/07/16 690019              260.40 03850      /
                                                       **********                   260.40 ***DOW JONE*****DO-127****DOW JONES & CO INC

*E-091 ECOL      ECOLAB INC                         1204918 3/10/16               250.00 66600 4/07/16 194548                       03847   4/16
                                                    1204918 3/10/16                20.63 66600 4/07/16 194548                       03847   4/16
                                                    1244087 3/14/16               298.95 66600 4/07/16 194548                       03847   4/16
                                                    1244087 3/14/16                24.67 66600 4/07/16 194548                       03847   4/16
                                                    1267667 3/17/16                  .01 66600 4/07/16 194548                       03847   4/16
                                                    1267667 3/17/16                66.24 66600 4/07/16 194548                       03847   4/16
                                                    1267667 3/17/16                 5.47 66600 4/07/16 194548             665.97    03847   4/16
                                                    1271100 3/17/16               200.00 26230 4/21/16 196148                       04502   4/16
                                                    1271100 3/17/16                12.33 26230 4/21/16 196148                       04502   4/16
                                                    1271100 3/17/16                17.52 26230 4/21/16 196148                       04502   4/16
                                                    1282931 3/18/16                10.60 26230 4/21/16 196148                       04502   4/16
                                                    1282931 3/18/16                 4.83 26230 4/21/16 196148                       04502   4/16
                                                    1282931 3/18/16                 1.17 26230 4/21/16 196148             246.45    04502   4/16
                                                       **********                   912.42 ***ECOL   ******E-091****ECOLAB INC

EC-042 ECOROQ    ECOROQ OF TEXAS LLC                 139143 4/01/16               200.00 47040 4/28/16 692206                     04760      /
                                                     139143 4/01/16                16.50 47040 4/28/16 692206             216.50 04760       /
                                                       **********                   216.50 ***ECOROQ *****EC-042****ECOROQ OF TEXAS LLC

*E-087 ECS       ECS INC / RIPPLEPOINT           *CONSUL 10 4/04/16               107.25 35895 4/14/16 195502             107.25 03136 4/16
                                                       **********                   107.25 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                        18961776 2/29/16               290.66 26180 4/07/16 194514                       03847   4/16
                                                   18961776 2/29/16                23.98 26180 4/07/16 194514                       03847   4/16
                                                   19060295 3/22/16                13.34 26230 4/07/16 194514                       03847   4/16
                                                   19060295 3/22/16                11.22 26230 4/07/16 194514                       03847   4/16
                                                   19060295 3/22/16                 2.03 26230 4/07/16 194514                       03847   4/16
                                                   19065070 3/23/16               341.55 47040 4/07/16 194514                       03847   4/16
                                                   19065070 3/23/16                19.12 47040 4/07/16 194514                       03847   4/16
                                                   19065070 3/23/16                29.76 47040 4/07/16 194514                       03847   4/16
                                                   70546955 3/17/16                94.45- 26180 4/07/16 194514                      03847   4/16
                                                   70546955 3/17/16                 7.79- 26180 4/07/16 194514            629.42    03847   4/16
                                                   19105170 4/01/16               397.19 26660 4/21/16 196137                       04502   4/16
                                                   19105170 4/01/16                32.77 26660 4/21/16 196137             429.96    04502   4/16
                                                   19137779 4/08/16               464.96 47040 4/28/16 196649                       04736   4/16
                                                   19137779 4/08/16                38.36 47040 4/28/16 196649                       04736   4/16
                                                   19156055 4/13/16               763.02 26660 4/28/16 196649                       04736   4/16
                                                   19156055 4/13/16                62.95 26660 4/28/16 196649           1,329.29    04736   4/16
                                                       **********                 2,388.67 ***EDWARD ******D-210****EDWARD DON

EM-009 EMBASSY   HILTON HOTELS CORP              0012144614     3/31/16       16,791.21      02008   4/14/16   691244               04242    /




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APHIST-0149    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE      2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              0012144614 3/31/16           27,985.35 02007 4/14/16 691244                      04242       /
                                              0012144614 3/31/16           44,776.56 02006 4/14/16 691244           89,553.12 04242        /
                                                    **********               89,553.12 ***EMBASSY *****EM-009****HILTON HOTELS CORP

EQ-008 EQUIPMEN EQUIPMENTSHARE.COM               INV2553 3/11/16               321.20 47050 4/07/16 690042                      03544      /
                                                 INV2553 3/11/16               150.00 47050 4/07/16 690042                      03544      /
                                                 INV2553 3/11/16                 6.40 99999 4/07/16 690042              477.60 03544       /
                                                    **********                   477.60 ***EQUIPMEN*****EQ-008****EQUIPMENTSHARE.COM

FA-294 FACILITY FACILITY SOLUTIONS GROUP       394526001 3/10/16               48.93 66130 4/07/16 690054                      03856   /
                                               394526001 3/10/16                4.04 66130 4/07/16 690054                      03856   /
                                               394704300 3/09/16              322.52 66130 4/07/16 690054                      03856   /
                                               394704300 3/09/16                9.95 66130 4/07/16 690054                      03856   /
                                               394704300 3/09/16               27.43 66130 4/07/16 690054              412.87 03856    /
                                               395884600 4/01/16               44.45 66130 4/28/16 692231                      04760   /
                                               395884600 4/01/16                9.95 66130 4/28/16 692231                      04760   /
                                               395884600 4/01/16                4.49 66130 4/28/16 692231                      04760   /
                                               395964100 3/31/16              142.20 66130 4/28/16 692231                      04760   /
                                               395964100 3/31/16                9.95 66130 4/28/16 692231                      04760   /
                                               395964100 3/31/16               12.55 66130 4/28/16 692231                      04760   /
                                               396196200 4/04/16            1,117.81 66130 4/28/16 692231                      04760   /
                                               396196200 4/04/16                9.95 66130 4/28/16 692231                      04760   /
                                               396196200 4/04/16               93.05 66130 4/28/16 692231            1,444.40 04760    /
                                                    **********                1,857.27 ***FACILITY*****FA-294****FACILITY SOLUTIONS GROUP

FE-097 FEDEX     FEDEX                         535460098 3/17/16               269.48 60590 4/07/16 690707                       03850     /
                                               536235481 3/24/16                90.34 60590 4/07/16 690707             359.82    03850     /
                                               536949062 3/31/16               159.70 60590 4/21/16 691997             159.70    04504     /
                                               537688877 4/07/16                55.83 60590 4/28/16 692837              55.83    04760     /
                                                    **********                   575.35 ***FEDEX  *****FE-097****FEDEX

*F-100 FERRANTE BRANDON FERRANTE OR           D047132815 4/07/16               480.00 60016 4/21/16 196163              480.00 04603     4/16
                                                    **********                   480.00 ***FERRANTE******F-100****BRANDON FERRANTE OR

FI-108 FIRE      FIRE & LIFE SAFETY               322153 2/29/16            5,205.00 66110 4/21/16 691887                     04502        /
                                                  322153 2/29/16                4.13 66110 4/21/16 691887                     04502        /
                                                  322158 2/29/16              625.00 66110 4/21/16 691887                     04502        /
                                                  326996 3/31/16            2,438.00 66110 4/21/16 691887                     04504        /
                                                  326996 3/31/16              201.14 66110 4/21/16 691887           8,473.27 04504         /
                                                    **********                8,473.27 ***FIRE   *****FI-108****FIRE & LIFE SAFETY

FI-011 FITNESS   FITNESS SERVICE OF N TX          161152 3/31/16               297.96 66255 4/28/16 692236                      04760   /
                                                  161152 3/31/16                25.00 66255 4/28/16 692236                      04760   /
                                                  161152 3/31/16                26.64 66255 4/28/16 692236              349.60 04760    /
                                                    **********                   349.60 ***FITNESS *****FI-011****FITNESS SERVICE OF N TX

FR-101 FREEDMAN FREEDMAN FOOD SERVICE INC       55041021 4/05/16              902.12 24510 4/28/16 692730                        04760     /
                                                55041234 4/06/16            1,336.53 24510 4/28/16 692730                        04760     /
                                                55042879 4/14/16              819.16 24510 4/28/16 692730                        04760     /
                                                55042904 4/14/16              134.54 24510 4/28/16 692730            3,192.35    04760     /
                                                    **********                3,192.35 ***FREEDMAN*****FR-101****FREEDMAN FOOD   SERVICE   INC

FR-025 FRESHPOI FRESHPOINT DALLAS                2786994     2/11/16           31.05-     24510   4/07/16   690588               03847     /
                                                 2810626     3/09/16        1,097.55      16110   4/07/16   690588               03856     /
                                                 2810627     3/09/16          123.41      24510   4/07/16   690588               03856     /
                                                 2812640     3/11/16          626.26      24510   4/07/16   690588               03856     /
                                                 2814096     3/12/16          162.17      24510   4/07/16   690588               03856     /
                                                 2814526     3/14/16        1,622.81      24510   4/07/16   690588               03544     /
                                                 2816204     3/15/16          262.02      24510   4/07/16   690588    3,863.17   03544     /
                                                 2816574     3/16/16        1,114.08      16110   4/14/16   691158               03544     /
                                                 2816575     3/16/16          207.61      24510   4/14/16   691158               03544     /
                                                 2818604     3/18/16          865.11      24510   4/14/16   691158               03544     /
                                                 2820044     3/19/16          120.58      24510   4/14/16   691158               03850     /
                                                 2820610     3/21/16        1,024.76      24510   4/14/16   691158    3,332.14   03850     /




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                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                2824253 3/24/16              877.31 24510 4/21/16 691889                      03850       /
                                                2824733 3/25/16            1,451.80 16110 4/21/16 691889            2,329.11 03850        /
                                                2830676 3/31/16              520.98 24510 4/28/16 692726                      04760       /
                                                2831201 4/01/16              751.38 16110 4/28/16 692726                      04760       /
                                                2833890 4/04/16            1,065.82 24510 4/28/16 692726            2,338.18 04760        /
                                                   **********               11,862.60 ***FRESHPOI*****FR-025****FRESHPOINT DALLAS

*F-011 FRISCO   FRISCO EMBASSY SUITES        D037132267 3/31/16              190.00 60310 4/07/16 194563                     03789 4/16
                                             D037132267 3/31/16               18.92 26505 4/07/16 194563                     03789 4/16
                                             D037132267 3/31/16              903.04 16140 4/07/16 194563           1,111.96 03789 4/16
                                             D037138103 3/31/16               65.63 66120 4/07/16 194566                     03789 4/16
                                             D037138103 3/31/16               79.50 66100 4/07/16 194566                     03789 4/16
                                             D037138103 3/31/16              262.14 60070 4/07/16 194566                     03789 4/16
                                             D037138103 3/31/16              150.60 47050 4/07/16 194566                     03789 4/16
                                             D037138103 3/31/16               34.60 26105 4/07/16 194566                     03789 4/16
                                             D037138103 3/31/16                4.29 16870 4/07/16 194566                     03789 4/16
                                             D037138103 3/31/16               36.78 16800 4/07/16 194566             633.54 03789 4/16
                                             D047131818 4/07/16               95.26 62850 4/21/16 196159                     04492 4/16
                                             D047131818 4/07/16               13.33 26505 4/21/16 196159                     04492 4/16
                                             D047131818 4/07/16              273.00 16140 4/21/16 196159                     04492 4/16
                                             D047131818 4/07/16               64.00 14030 4/21/16 196159             445.59 04492 4/16
                                             D047135607 4/07/16               23.62 66120 4/21/16 196160                     04492 4/16
                                             D047135607 4/07/16               81.75 66100 4/21/16 196160                     04492 4/16
                                             D047135607 4/07/16               17.32 60070 4/21/16 196160                     04492 4/16
                                             D047135607 4/07/16                1.00 45090 4/21/16 196160                     04492 4/16
                                             D047135607 4/07/16               16.18 45022 4/21/16 196160             139.87 04492 4/16
                                             D047136810 4/07/16              133.00 45022 4/21/16 196161                     04492 4/16
                                             D047136810 4/07/16              120.08 24510 4/21/16 196161                     04492 4/16
                                             D047136810 4/07/16              484.98 16140 4/21/16 196161             738.06 04492 4/16
                                             D047131619 4/19/16              272.05 16140 4/28/16 196685             272.05 04770 4/16
                                             D047132981 4/19/16            1,455.20 47050 4/28/16 196686           1,455.20 04770 4/16
                                             D047134011 4/13/16              180.00 66300 4/28/16 196688                     04755 4/16
                                             D047134011 4/13/16               13.33 26505 4/28/16 196688                     04755 4/16
                                             D047134011 4/13/16              789.00 16140 4/28/16 196688             982.33 04755 4/16
                                             D047134315 4/13/16               70.60 66120 4/28/16 196690                     04755 4/16
                                             D047134315 4/13/16               23.98 60550 4/28/16 196690                     04755 4/16
                                             D047134315 4/13/16              207.79 60070 4/28/16 196690                     04755 4/16
                                             D047134315 4/13/16                8.49 47040 4/28/16 196690                     04755 4/16
                                             D047134315 4/13/16                9.98 24510 4/28/16 196690             320.84 04755 4/16
                                                   **********                6,099.44 ***FRISCO ******F-011****FRISCO EMBASSY SUITES

FR-207 FRISCO   FRISCO ROTARY CLUB                 5191 3/15/16               225.00 60310 4/28/16 692257             225.00 04736        /
                                                   **********                   225.00 ***FRISCO *****FR-207****FRISCO ROTARY CLUB

*G-216 GARCIA   GARY GARCIA                       33016 3/30/16               149.78 60470 4/19/16 195961             149.78     04502   4/16
                                                   **********                   149.78 ***GARCIA ******G-216****GARY GARCIA

GI-118 GIRVIN   GIRVIN MARKETING CO INC           11992 4/08/16               241.50 62251 4/28/16 692269                     04760   /
                                                  11992 4/08/16                 5.00 62251 4/28/16 692269             246.50 04760    /
                                                   **********                   246.50 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC

GO-088 GOURMENT GOURMET FOODS INC              LA394790 3/11/16               489.12 24510 4/07/16 690100                        03544    /
                                               LA394796 3/14/16               757.74 24510 4/07/16 690100            1,246.86    03544    /
                                               LA395335 3/23/16               777.44 24510 4/21/16 691471              777.44    03850    /
                                                   **********                 2,024.30 ***GOURMENT*****GO-088****GOURMET FOODS   INC

GR-075 GRAINGER GRAINGER                     9054493144     3/15/16           145.52     66160   4/07/16   690113                03850    /
                                             9054493144     3/15/16            12.01     66160   4/07/16   690113      157.53    03850    /
                                             9055127964     3/16/16            12.00     66520   4/21/16   691478                04504    /
                                             9055127964     3/16/16              .99     66520   4/21/16   691478                04504    /
                                             9055127964     3/16/16            14.39     66120   4/21/16   691478                04504    /
                                             9055127964     3/16/16             1.19     66120   4/21/16   691478                04504    /
                                             9056834808     3/17/16            30.31     66255   4/21/16   691478                04504    /
                                             9056834808     3/17/16             2.50     66255   4/21/16   691478       61.38    04504    /
                                             9070208765     4/01/16            41.10     66160   4/28/16   692286                04760    /
                                             9070208765     4/01/16             3.39     66160   4/28/16   692286                04760    /




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APHIST-0151    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              9070261111 4/01/16               97.92 66160 4/28/16 692286                       04760    /
                                              9070261111 4/01/16                8.08 66160 4/28/16 692286              150.49   04760    /
                                                    **********                  369.40 ***GRAINGER*****GR-075****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7247069 3/11/16              21.32 16400 4/07/16 194582                     03847      4/16
                                                 7247069 3/11/16               1.76 16400 4/07/16 194582                     03847      4/16
                                                 7247069 3/11/16             320.74 16250 4/07/16 194582                     03847      4/16
                                                 7247069 3/11/16              26.45 16250 4/07/16 194582                     03847      4/16
                                                 7247070 3/11/16             984.28 16400 4/07/16 194582                     03847      4/16
                                                 7247070 3/11/16              68.80 16400 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16             131.00 16850 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16              10.81 16850 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16             702.30 16500 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16              57.96 16500 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16              45.73 16400 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16               3.78 16400 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16             130.85 16200 4/07/16 194582                     03847      4/16
                                                 7247130 3/11/16              10.80 16200 4/07/16 194582                     03847      4/16
                                                 7253977 3/15/16             148.50 16500 4/07/16 194582                     03847      4/16
                                                 7253977 3/15/16              12.26 16500 4/07/16 194582                     03847      4/16
                                                 7263925 3/18/16             180.16 16400 4/07/16 194582                     03847      4/16
                                                 7263925 3/18/16              14.86 16400 4/07/16 194582                     03847      4/16
                                                 7264202 3/18/16             975.97 16250 4/07/16 194582                     03847      4/16
                                                 7264202 3/18/16              80.51 16250 4/07/16 194582                     03847      4/16
                                                 7264262 3/18/16           1,011.99 16400 4/07/16 194582                     03847      4/16
                                                 7264262 3/18/16              63.92 16400 4/07/16 194582                     03847      4/16
                                                 7267107 3/21/16           1,393.40 16500 4/07/16 194582                     03847      4/16
                                                 7267107 3/21/16             114.95 16500 4/07/16 194582                     03847      4/16
                                                 7267107 3/21/16             158.71 16400 4/07/16 194582                     03847      4/16
                                                 7267107 3/21/16              13.10 16400 4/07/16 194582                     03847      4/16
                                                 7268024 3/21/16             187.90 16500 4/07/16 194582                     03847      4/16
                                                 7268024 3/21/16              49.13 16500 4/07/16 194582                     03847      4/16
                                                 7268024 3/21/16              19.55 16500 4/07/16 194582                     03847      4/16
                                                 7270120 3/22/16             297.00 16500 4/07/16 194582                     03847      4/16
                                                 7270120 3/22/16              24.50 16500 4/07/16 194582           7,262.99 03847       4/16
                                                 7278092 3/24/16             310.12 01905 4/21/16 196174                     04249      4/16
                                                 7295728 4/01/16           2,656.28 16500 4/21/16 196174                     04502      4/16
                                                 7295728 4/01/16             219.16 16500 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16           1,547.93 16400 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16             110.36 16400 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16           1,282.20 16250 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16              91.41 16250 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16             197.50 16200 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16              14.07 16200 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16              47.44 16105 4/21/16 196174                     04502      4/16
                                                 7295729 4/01/16               3.38 16105 4/21/16 196174                     04502      4/16
                                                 7298673 4/04/16              84.00 16850 4/21/16 196174                     04502      4/16
                                                 7298673 4/04/16               6.93 16850 4/21/16 196174           6,570.78 04502       4/16
                                                 7299447 4/04/16              51.34 16105 4/28/16 196702                     04736      4/16
                                                 7312794 4/07/16             924.11 47040 4/28/16 196702                     04736      4/16
                                                 7312794 4/07/16              76.27 47040 4/28/16 196702           1,051.72 04736       4/16
                                                    **********              14,885.49 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

HB-005 HBM       HBM SUPPLY OF TEXAS INC           20297 2/19/16              126.85 47051 4/28/16 692302             126.85 04736    /
                                                    **********                  126.85 ***HBM    *****HB-005****HBM SUPPLY OF TEXAS INC

*H-297 HD SUPP   HD SUPPLY FACILITIES         9144208875 3/09/16              195.00 66600 4/07/16 194618                      03847    4/16
                                              9144208875 3/09/16               16.09 66600 4/07/16 194618                      03847    4/16
                                              9144208875 3/09/16              104.14 66120 4/07/16 194618                      03847    4/16
                                              9144208875 3/09/16                8.59 66120 4/07/16 194618              323.82 03847     4/16
                                              9144610547 3/28/16               65.00 66600 4/28/16 196742                      04736    4/16
                                              9144610547 3/28/16                5.36 66600 4/28/16 196742                      04736    4/16
                                              9144610548 3/28/16               65.00 66600 4/28/16 196742                      04736    4/16
                                              9144610548 3/28/16                5.36 66600 4/28/16 196742                      04736    4/16
                                              9144648103 3/29/16               55.31 66120 4/28/16 196742                      04736    4/16
                                              9144648103 3/29/16                4.57 66120 4/28/16 196742              200.60 04736     4/16
                                                    **********                  524.42 ***HD SUPP ******H-297****HD SUPPLY FACILITIES




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APHIST-0152    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*H-175 HILTON    HILTON HOTELS CORPORATION       16565966 3/25/16             235.35 16105 4/07/16 194605             235.35    03847 4/16
                                               0012131090 3/14/16             310.42 60370 4/21/16 196195                       04502 4/16
                                               0012132026 3/14/16             100.00- 60070 4/21/16 196195                      04502 4/16
                                               0012134711 3/15/16             990.00 60310 4/21/16 196195                       04502 4/16
                                               0012142311 3/31/16             577.50 62841 4/21/16 196195           1,777.92    04502 4/16
                                                   653964 3/31/16           1,835.08 62625 4/22/16 196470                       04736 4/16
                                                   653964 3/31/16          20,825.66 62249 4/22/16 196470                       04736 4/16
                                               0012148091 3/31/16           3,133.33 62625 4/22/16 196470                       04736 4/16
                                               0012148091 3/31/16           4,442.16 62200 4/22/16 196470                       04736 4/16
                                               0012148091 3/31/16          15,891.83 16300 4/22/16 196470          46,128.06    04736 4/16
                                                 16626782 4/11/16             100.00 16105 4/28/16 196727                       04736 4/16
                                               0012152833 4/11/16           4,856.63 62650 4/28/16 196727                       04736 4/16
                                               0012153364 4/12/16             100.00- 60070 4/28/16 196727          4,856.63    04736 4/16
                                                     **********              52,997.96 ***HILTON ******H-175****HILTON HOTELS   CORPORATION

HI-218 HILTON    HILTON DALLAS/GRANITE PRK          33749 3/22/16             259.65 16702 4/07/16 690143                     03850      /
                                                    33749 3/22/16              30.94 16702 4/07/16 690143             290.59 03850       /
                                                    33804 4/14/16           1,818.31 62625 4/28/16 692311           1,818.31 04760       /
                                                     **********               2,108.90 ***HILTON *****HI-218****HILTON DALLAS/GRANITE    PRK

HO-009 HOBART    HOBART SERVICE                  90541587 3/13/16             705.47 66202 4/07/16 690710                      03544     /
                                                 90541587 3/13/16              58.20 66202 4/07/16 690710             763.67 03544       /
                                                 32503593 3/28/16           2,239.78 66202 4/28/16 692746                      04760     /
                                                 32503593 3/28/16             184.78 66202 4/28/16 692746           2,424.56 04760       /
                                                     **********               3,188.23 ***HOBART *****HO-009****HOBART SERVICE

HO-762 HOSPITAL HOSPITALITY STAFFING               233455 3/25/16           1,804.09 26028 4/07/16 690159            1,804.09 03850      /
                                                   233901 3/30/16           1,536.42 26028 4/21/16 691522            1,536.42 04504      /
                                                   235277 4/08/16           1,543.71 26028 4/28/16 692748                      04760     /
                                                   236119 4/15/16           1,315.31 26028 4/28/16 692748            2,859.02 04760      /
                                                     **********               6,199.53 ***HOSPITAL*****HO-762****HOSPITALITY STAFFING

HO-433 HOTEL     HOTEL INFORMATION SVC INC          45830 4/01/16              137.50 62870 4/28/16 692322             137.50 04760    /
                                                     **********                  137.50 ***HOTEL  *****HO-433****HOTEL INFORMATION SVC INC

HO-434 HOTEL     THE HOTEL ASSOCIATION         1002FT2016 3/22/16              150.00 60320 4/07/16 690155                     03850   /
                                               1002TG2016 3/22/16              180.00 60320 4/07/16 690155             330.00 03850    /
                                               1002HL2016 4/04/16              140.00 62505 4/28/16 692323             140.00 04760    /
                                                     **********                  470.00 ***HOTEL  *****HO-434****THE HOTEL ASSOCIATION

*I-041 IKON      IKON/RICOH SERVICES             96511611 4/10/16              850.42 60370 4/07/16 194647                     04002    4/16
                                                 96511611 4/10/16               52.11 60370 4/07/16 194647             902.53 04002     4/16
                                                     **********                  902.53 ***IKON   ******I-041****IKON/RICOH SERVICES

*I-059 ISLAM     RUBINA ISLAM                       33116 3/31/16              191.86 62830 4/22/16 196471                      04716   4/16
                                                    33116 3/31/16               43.92 62501 4/22/16 196471             235.78   04716   4/16
                                                     **********                  235.78 ***ISLAM  ******I-059****RUBINA ISLAM

JA-122 JARK      JARK 1 ENTERTAINMENT LLC          101464 4/04/16              547.43 47050 4/21/16 691541                     04397   /
                                                   101464 4/04/16               75.00 47050 4/21/16 691541                     04397   /
                                                   101465 4/04/16              500.00 47050 4/21/16 691541                     04397   /
                                                   101465 4/04/16               75.00 47050 4/21/16 691541                     04397   /
                                                   101465 4/04/16                3.31 99999 4/21/16 691541           1,200.74 04397    /
                                                     **********                1,200.74 ***JARK   *****JA-122****JARK 1 ENTERTAINMENT LLC

*R-209 JOHN      JOHNNIE B ROGERS              **PERMIT08 4/08/16              185.00 60110 4/14/16 195631             185.00 03136     4/16
                                                     **********                  185.00 ***JOHN   ******R-209****JOHNNIE B ROGERS

*J-231 JQH ACC   JQH ACCOUNTING SERVICES       *ACCT16 03 3/30/16           5,375.00 60116 4/07/16 194917            5,375.00 03136 4/16
                                                     **********               5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS041601 4/14/16             981.43 66060 4/14/16 195747                     00000 4/16
                                              JINS041601 4/14/16           1,724.61 62060 4/14/16 195747                     00000 4/16
                                              JINS041601 4/14/16             941.56 60060 4/14/16 195747                     00000 4/16
                                              JINS041601 4/14/16              27.04 30060 4/14/16 195747                     00000 4/16
                                              JINS041601 4/14/16           2,684.67 26060 4/14/16 195747                     00000 4/16
                                              JINS041601 4/14/16           4,277.44 16060 4/14/16 195747          10,636.75 00000 4/16
                                                    **********              10,636.75 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0416    4/28/16            330.60 16150 4/28/16 911979                        00000    /
                                              122A0416    4/28/16            312.69 02005 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               8.82 60115 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              47.62 60061 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              98.35 35901 4/28/16 911979                        00000    /
                                              122A041601 4/28/16             341.07 35030 4/28/16 911979                        00000    /
                                              122A041601 4/28/16             567.00 30460 4/28/16 911979                        00000    /
                                              122A041601 4/28/16             283.78 26260 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              99.23 60856 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             271.25 60721 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              27.51 60590 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              19.99 60580 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             687.88 60520 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             310.32- 60370 4/28/16 911979                       00000    /
                                              122A041602 4/28/16             483.56 60320 4/28/16 911979                        00000    /
                                              122A041603 4/28/16           7,632.42 62843 4/28/16 911979                        00000    /
                                              122A041603 4/28/16              48.18 62835 4/28/16 911979                        00000    /
                                              122A041603 4/28/16             156.01 62401 4/28/16 911979                        00000    /
                                              122A041603 4/28/16               7.04 60880 4/28/16 911979                        00000    /
                                              122A041603 4/28/16           1,486.14 60870 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              42.03 85962 4/28/16 911979                        00000    /
                                              122A041604 4/28/16             502.62 66100 4/28/16 911979                        00000    /
                                              122A041604 4/28/16             100.00 64700 4/28/16 911979                        00000    /
                                              122A041604 4/28/16           1,038.78 62870 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              31.75 62860 4/28/16 911979                        00000    /
                                              122A041604 4/28/16             308.78 62850 4/28/16 911979                        00000    /
                                              122B0416    4/28/16            481.76 60860 4/28/16 911979           15,104.54    00000    /
                                                    **********              15,104.54 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS041601 4/14/16           1,698.43 66060 4/14/16 195820                     00000      4/16
                                              JINS041601 4/14/16           8,475.80 62060 4/14/16 195820                     00000      4/16
                                              JINS041601 4/14/16           3,975.48 60060 4/14/16 195820                     00000      4/16
                                              JINS041601 4/14/16           8,811.90 26060 4/14/16 195820                     00000      4/16
                                              JINS041601 4/14/16          12,054.46 16060 4/14/16 195820          35,016.07 00000       4/16
                                                    **********              35,016.07 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  03 4/05/16              446.53 66900 4/07/16 194867              446.53   03136 4/16
                                                    **********                  446.53 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-024 JQHHM     JQHHM REG.   ALLOCATIONS     *RDS16  03 4/05/16           2,196.41 62900 4/07/16 194693           2,196.41 03136 4/16
                                              *RVP15  03 4/05/16           3,640.05 60900 4/07/16 194698           3,640.05 03136 4/16
                                                    **********               5,836.46 ***JQHHM  ******J-024****JQHHM REG. ALLOCATIONS

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  03 4/05/16           4,446.28 16900 4/07/16 194717           4,446.28 03136 4/16
                                                    **********               4,446.28 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *ARM16  03 4/05/16             449.87 62900 4/07/16 194752             449.87 03136 4/16
                                              *DSA16  01 4/05/16             463.44 62900 4/07/16 194757             463.44 04032 4/16
                                              *RMA16  03 4/05/16             294.76 62900 4/07/16 194766             294.76 03136 4/16
                                              *BRM16  03 4/05/16           1,092.32 62900 4/07/16 194787           1,092.32 03136 4/16
                                              *EC16   03 4/05/16             493.36 62900 4/07/16 194792             493.36 03136 4/16
                                              *RPM16  02 4/05/16             281.70 66900 4/07/16 194801             281.70 03136 4/16
                                              *DRM16  03 4/05/16             769.87 62900 4/07/16 194822             769.87 03136 4/16
                                              *FM16   02 4/05/16             420.79 66900 4/07/16 194827             420.79 03136 4/16
                                                    **********               4,266.11 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT031604 3/31/16          35,810.32 02013 4/14/16 691246           35,810.32    00000    /
                                                    **********              35,810.32 ***JQHHM LL*****JQ-003****JQHHM LLC



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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
KA-019 KAINZ     SUSAN M KAINZ LLC                  41116 4/11/16               278.00 62625 4/28/16 692352             278.00 04760       /
                                                     **********                   278.00 ***KAINZ  *****KA-019****SUSAN M KAINZ LLC

KA-043 KAMCO     KAMCO HOSE & PIPE                 071716 3/17/16                11.14 66250 4/28/16 692353                     04736      /
                                                   071716 3/17/16                  .91 66250 4/28/16 692353              12.05 04736       /
                                                     **********                    12.05 ***KAMCO  *****KA-043****KAMCO HOSE & PIPE

*K-160 KONE      KONE INC -ONLY AUTO PAYS      *6739A  02 4/01/16            6,668.63 66300 4/07/16 194954                     03136 4/16
                                               *6739A  02 4/01/16               93.52 66300 4/07/16 194954           6,762.15 03136 4/16
                                                     **********                6,762.15 ***KONE   ******K-160****KONE INC -ONLY AUTO PAYS

KO-059 KONE      KONE INC                      1157151893 3/22/16               319.91 66300 4/07/16 690697                       03850    /
                                               1157151893 3/22/16                26.39 66300 4/07/16 690697             346.30    03850    /
                                                     **********                   346.30 ***KONE   *****KO-059****KONE INC

LA-069 LA SPIGA LA SPIGA BAKERY INC                179234 3/10/16                60.00 24510 4/07/16 690204                      03856     /
                                                   179354 3/12/16               139.80 24510 4/07/16 690204                      03856     /
                                                   179496 3/15/16               203.05 24510 4/07/16 690204              402.85 03544      /
                                                   179744 3/18/16               241.96 24510 4/14/16 690938                      03544     /
                                                   179934 3/22/16                81.06 24510 4/14/16 690938              323.02 03850      /
                                                   180064 3/23/16                46.00 24510 4/21/16 691563                      03850     /
                                                   180064 3/23/16                 7.00 24510 4/21/16 691563               53.00 03850      /
                                                   180360 3/29/16               165.24 24510 4/28/16 692371                      04760     /
                                                   180778 4/04/16               225.27 24510 4/28/16 692371              390.51 04760      /
                                                     **********                 1,169.38 ***LA SPIGA*****LA-069****LA SPIGA BAKERY INC

LA-147 LAS       LAS COLINAS PRINTING &             53395 2/27/16               240.00 16600 4/07/16 690207                     03847    /
                                                    53395 2/27/16                19.80 16600 4/07/16 690207                     03847    /
                                                    53440 3/10/16               194.00 60552 4/07/16 690207                     03856    /
                                                    53440 3/10/16                16.01 60552 4/07/16 690207                     03856    /
                                                    53442 3/10/16               150.00 45022 4/07/16 690207                     03544    /
                                                    53442 3/10/16                12.38 45022 4/07/16 690207             632.19 03544     /
                                                    53480 3/16/16                59.00 60552 4/14/16 690940                     03850    /
                                                    53480 3/16/16                 4.87 60552 4/14/16 690940              63.87 03850     /
                                                    53556 4/01/16                59.00 60552 4/28/16 692373                     04504    /
                                                    53556 4/01/16                 4.87 60552 4/28/16 692373              63.87 04504     /
                                                     **********                   759.93 ***LAS    *****LA-147****LAS COLINAS PRINTING &

LE-217 LESLIE    LESLIE'S SWIMMNG POOL SUP      419413900 3/29/16                15.18 66600 4/21/16 691569                     04504      /
                                                419413900 3/29/16                 1.25 66600 4/21/16 691569              16.43 04504       /
                                                419414507 4/05/16               127.20 66600 4/28/16 692381                     04760      /
                                                419414507 4/05/16                10.49 66600 4/28/16 692381             137.69 04760       /
                                                     **********                   154.12 ***LESLIE *****LE-217****LESLIE'S SWIMMNG POOL    SUP

LG-007 LG        LG ELECTRONICS ALABAMA        AI08066905 3/23/16               162.38 66520 4/21/16 691574             162.38 04504     /
                                                     **********                   162.38 ***LG     *****LG-007****LG ELECTRONICS ALABAMA

LI-191 LINCOLN   LINCOLN MEMORIAL UNIV              41416 4/14/16            1,396.39 14030 4/28/16 692389            1,396.39 04760    /
                                                     **********                1,396.39 ***LINCOLN *****LI-191****LINCOLN MEMORIAL UNIV

*L-112 LUNDT     RICHARD LUNDT                      31016 3/10/16                97.19 60719 4/07/16 194994                       03769   4/16
                                                    31016 3/10/16                33.29 60719 4/07/16 194994                       03769   4/16
                                                    31016 3/10/16                27.00 60070 4/07/16 194994             157.48    03769   4/16
                                                    40516 4/05/16                90.64 60719 4/19/16 195965                       04533   4/16
                                                    40516 4/05/16                26.00 60070 4/19/16 195965             116.64    04533   4/16
                                                    41116 4/11/16               139.12 60719 4/19/16 195966             139.12    04533   4/16
                                                     **********                   413.24 ***LUNDT  ******L-112****RICHARD LUNDT

MA-269 MAGNUS    MAGNUS MOBILITY SYSTEMS          1130958     3/28/16            50.00     66202   4/28/16   692408               04760    /
                                                  1130958     3/28/16            13.73     66202   4/28/16   692408               04760    /
                                                  1130958     3/28/16             5.27     66202   4/28/16   692408               04760    /
                                                  1131718     4/05/16           214.00     66202   4/28/16   692408               04760    /




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APHIST-0155    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                  1131718 4/05/16                16.88 66202 4/28/16 692408                     04760   /
                                                  1131718 4/05/16                19.06 66202 4/28/16 692408             318.94 04760    /
                                                     **********                   318.94 ***MAGNUS *****MA-269****MAGNUS MOBILITY SYSTEMS

*M-024 MARSH     MARSH USA INC                 INSA031601 4/07/16            3,854.24 01311 4/07/16 195291           3,854.24 00000       4/16
                                               INSA031602 4/07/16            3,301.00 02120 4/07/16 195333                     00000      4/16
                                               INSA031602 4/07/16            5,240.00 01310 4/07/16 195333           8,541.00 00000       4/16
                                                     **********               12,395.24 ***MARSH  ******M-024****MARSH USA INC

*M-244 MASTERS   BRETT MASTERS                      41216 4/12/16                21.64 66120 4/22/16 196473                      04736    4/16
                                                    41216 4/12/16                64.54 60720 4/22/16 196473                      04736    4/16
                                                    41216 4/12/16                33.73 60070 4/22/16 196473              119.91 04736     4/16
                                                     **********                   119.91 ***MASTERS ******M-244****BRETT MASTERS

ME-418 MEDCO     MEDCO WHOLESALE DISTRIBTR      ESFTX1089 4/04/16               646.15 26505 4/28/16 692422                     04760   /
                                                ESFTX1089 4/04/16                 9.18 26505 4/28/16 692422             655.33 04760    /
                                                     **********                   655.33 ***MEDCO  *****ME-418****MEDCO WHOLESALE DISTRIBTR

MI-172 MID AM    MID AMERICA METALS INC         0127468IN 4/01/16               409.24 66120 4/28/16 692427                     04760    /
                                                0127468IN 4/01/16                33.76 66120 4/28/16 692427             443.00 04760     /
                                                     **********                   443.00 ***MID AM *****MI-172****MID AMERICA METALS INC

MO-320 MOBILE    MOBILE GRANDSTANDS AND              7227 9/18/15              703.63 47050 4/21/16 691913                     04502    /
                                                     7356 1/29/16            1,840.25 47050 4/21/16 691913                     04502    /
                                                     7357 2/01/16              438.41 47050 4/21/16 691913           2,982.29 04502     /
                                                     **********                2,982.29 ***MOBILE *****MO-320****MOBILE GRANDSTANDS AND

MU-100 MUZAK     MUZAK LLC                       52300755 4/01/16               155.34 16805 4/06/16 911704                       04021    /
                                                 52300755 4/01/16                 5.97 16805 4/06/16 911704                       04021    /
                                                 52324472 4/01/16                76.44 16805 4/06/16 911704             237.75    04021    /
                                                     **********                   237.75 ***MUZAK  *****MU-100****MUZAK LLC

*M-416 MYLES     HELEN MYLES                        32916 3/29/16                53.74 60730 4/07/16 195024                       03847   4/16
                                                    32916 3/29/16                53.74- 60730 4/07/16 195024                .00   03847   4/16
                                                   32916A 3/29/16                53.74 60730 4/15/16 195912               53.74   04396   4/16
                                                     **********                    53.74 ***MYLES   ******M-416****HELEN MYLES

NE-306 NECA      TEXAS USF                     TXUS0416    4/11/16                 5.02 35901 4/11/16 911718               5.02   00000    /
                                                     **********                      5.02 ***NECA   *****NE-306****TEXAS USF

NE-206 NEW YORK NEW YORK BAGEL CAFE                163765 3/21/16                94.60 24505 4/07/16 690274                      03850     /
                                                   163850 3/23/16                97.00 24505 4/07/16 690274                      03850     /
                                                   163926 3/25/16               180.40 24505 4/07/16 690274              372.00 03850      /
                                                   164006 3/28/16                94.60 24505 4/28/16 692449                      04760     /
                                                   164084 3/30/16                94.60 24505 4/28/16 692449                      04760     /
                                                   164166 4/01/16               288.40 24505 4/28/16 692449                      04760     /
                                                   164249 4/04/16                94.60 24510 4/28/16 692449                      04760     /
                                                   164291 4/05/16               107.40 24505 4/28/16 692449                      04760     /
                                                   164339 4/06/16                94.60 24505 4/28/16 692449                      04760     /
                                                   164432 4/08/16               306.40 24510 4/28/16 692449                      04760     /
                                                   164510 4/11/16                94.60 24510 4/28/16 692449                      04760     /
                                                   164598 4/13/16               154.00 24505 4/28/16 692449                      04760     /
                                                   164689 4/15/16               163.80 24505 4/28/16 692449            1,493.00 04760      /
                                                     **********                 1,865.00 ***NEW YORK*****NE-206****NEW YORK BAGEL CAFE

*N-090 NOR1      NOR1 INC                       INV209352 3/31/16               484.65 16105 4/21/16 196285             484.65    04502   4/16
                                                     **********                   484.65 ***NOR1   ******N-090****NOR1 INC

OA-015 OAK       OAK FARMS DAIRY                  1292240     3/22/16           116.25     16110   4/07/16   690278      116.25   03850    /
                                                  1303274     3/29/16           116.25     16110   4/28/16   692455               04760    /
                                                  1314477     4/05/16           116.25     16110   4/28/16   692455               04760    /




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                  1326304 4/12/16               46.50 16110 4/28/16 692455             279.00 04760     /
                                                     **********                  395.25 ***OAK    *****OA-015****OAK FARMS DAIRY

OR-023 ORIENTAL ORIENTAL TRADING COMPANY       7633471401 2/22/16               38.22 16105 4/07/16 690290                      03847   /
                                               7633471401 2/22/16               22.99 16105 4/07/16 690290               61.21 03847    /
                                                     **********                   61.21 ***ORIENTAL*****OR-023****ORIENTAL TRADING COMPANY

PE-074 PELLER    PELLERIN LAUNDRY MACH INC      INV300927 3/15/16           1,471.49 66275 4/07/16 690625                     03850     /
                                                INV300927 3/15/16             121.37 66275 4/07/16 690625           1,592.86 03850      /
                                                INV301327 3/24/16             902.50 66275 4/28/16 692761                     04760     /
                                                INV301327 3/24/16              74.44 66275 4/28/16 692761                     04760     /
                                                INV301684 3/31/16              58.23 66275 4/28/16 692761                     04760     /
                                                INV301684 3/31/16               4.79 66275 4/28/16 692761                     04760     /
                                                INV301690 3/31/16           2,729.60 66275 4/28/16 692761                     04760     /
                                                INV301690 3/31/16             225.16 66275 4/28/16 692761                     04760     /
                                                INV301905 4/05/16             694.58 66275 4/28/16 692761                     04760     /
                                                INV301905 4/05/16              57.27 66275 4/28/16 692761           4,746.57 04760      /
                                                     **********               6,339.43 ***PELLER *****PE-074****PELLERIN LAUNDRY MACH   INC

PE-171 PEPSI     PEPSI-COLA                      29837404 3/31/16              185.50 24505 4/28/16 692842             185.50   04760   /
                                                     **********                  185.50 ***PEPSI  *****PE-171****PEPSI-COLA

PE-112 PETALS    PETALS, A FLORIST                 010998 3/22/16               50.00 60070 4/07/16 690300                     03850    /
                                                   010998 3/22/16               15.00 60070 4/07/16 690300                     03850    /
                                                   010998 3/22/16                5.37 60070 4/07/16 690300              70.37 03850     /
                                                     **********                   70.37 ***PETALS *****PE-112****PETALS, A FLORIST

PL-043 PLANT     PLANT CARE CO                       6580 4/01/16           2,414.57 66450 4/28/16 692763                     04760     /
                                                     6580 4/01/16             199.20 66450 4/28/16 692763           2,613.77 04760      /
                                                     **********               2,613.77 ***PLANT  *****PL-043****PLANT CARE CO

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         730526 3/16/16              125.00 16400 4/14/16 691001                     03850   /
                                                   730526 3/16/16               18.00 16400 4/14/16 691001             143.00 03850    /
                                                     **********                  143.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PL-056 PLUMBMAS PLUMBMASTER INC                IN01308200 3/29/16           1,328.80 66120 4/28/16 692492                      04760    /
                                               IN01308200 3/29/16             109.64 66120 4/28/16 692492                      04760    /
                                               IN01309733 4/01/16             125.49 66202 4/28/16 692492                      04760    /
                                               IN01309733 4/01/16              12.95 66202 4/28/16 692492                      04760    /
                                               IN01309733 4/01/16              11.42 66202 4/28/16 692492            1,588.30 04760     /
                                                     **********               1,588.30 ***PLUMBMAS*****PL-056****PLUMBMASTER INC

*P-361 PREMIERE PREMIERE BOOTH LLC OR          D047132640 4/19/16              595.38 47050 4/28/16 196865              595.38 04770 4/16
                                                     **********                  595.38 ***PREMIERE******P-361****PREMIERE BOOTH LLC OR

PR-387 PRISM     PRISM ELECTRIC INC            RVCE023972 4/05/16              276.04 47050 4/28/16 692508             276.04 04760     /
                                                     **********                  276.04 ***PRISM  *****PR-387****PRISM ELECTRIC INC

*P-171 PUTNAM    KEITH PUTNAM OR FRISCO        D047132815 4/07/16               40.00 60016 4/21/16 196294                     04603 4/16
                                               D047132815 4/07/16              280.00 60016 4/21/16 196294             320.00 04603 4/16
                                                     **********                  320.00 ***PUTNAM ******P-171****KEITH PUTNAM OR FRISCO

QU-130 QUEEN'S   QUEEN'S WINERY                      1134 3/24/16               99.49 24510 4/07/16 690337               99.49 03850    /
                                                     **********                   99.49 ***QUEEN'S *****QU-130****QUEEN'S WINERY

QU-115 QUEST     QUEST AUDIO LLC               ESF44028JH 3/14/16           1,179.00 26028 4/07/16 690336           1,179.00 03544      /
                                                ES44036JH 3/18/16             522.50 26028 4/14/16 691013             522.50 03544      /
                                                     **********               1,701.50 ***QUEST  *****QU-115****QUEST AUDIO LLC




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
RI-171 RICHARD   RICHARD PIPER ARCHITECT              204 12/26/15          1,662.09 01908 4/28/16 692545            1,662.09 04064    /
                                                     **********               1,662.09 ***RICHARD *****RI-171****RICHARD PIPER ARCHITECT

RI-254 RICHARD   RICHARDSON RENAISSANC HTL           DB49 4/05/16              187.93 62835 4/28/16 692547              187.93 04760    /
                                                     **********                  187.93 ***RICHARD *****RI-254****RICHARDSON RENAISSANC HTL

*R-333 RICHTER   CHRIS RICHTER OR FRISCO       D037132267 3/31/16              200.00 30078 4/07/16 195092                200.00    03789 4/16
                                               D047131818 4/07/16              200.00 30078 4/21/16 196316                200.00    04492 4/16
                                               D047132808 4/19/16              200.00 30078 4/28/16 196892                200.00    04770 4/16
                                               D047138194 4/19/16              100.00 30078 4/28/16 196893                100.00    04770 4/16
                                                     **********                  700.00 ***RICHTER ******R-333****CHRIS   RICHTER   OR EMBASSY

RI-092 RICO      RICOH USA INC                 1061380973 3/10/16              513.62 60551 4/07/16 690357                          03544    /
                                               1061380973 3/10/16               41.75 60551 4/07/16 690357                          03544    /
                                               1061399793 3/11/16              560.32 60551 4/07/16 690357                          03850    /
                                               1061399793 3/11/16               46.23 60551 4/07/16 690357           1,161.92       03850    /
                                               5041139940 3/20/16              497.72 60370 4/14/16 691025                          03850    /
                                               5041139940 3/20/16               41.06 60370 4/14/16 691025             538.78       03850    /
                                                     **********                1,700.70 ***RICO   *****RI-092****RICOH USA INC

RI-042 RIDGEWAY RIDGEWAY COMMUNICATIONS             53595 4/06/16               46.10 66520 4/28/16 692530                      04760   /
                                                    53595 4/06/16               17.88 66520 4/28/16 692530               63.98 04760    /
                                                     **********                   63.98 ***RIDGEWAY*****RI-042****RIDGEWAY COMMUNICATIONS

RO-098 ROLLING   ROLLING STONE INC                  46949 3/22/16               45.00 47040 4/28/16 692553                          04736    /
                                                    46949 3/22/16                3.71 47040 4/28/16 692553                          04736    /
                                                    47471 4/12/16               45.00 47040 4/28/16 692553                          04760    /
                                                    47471 4/12/16                3.71 47040 4/28/16 692553               97.42      04760    /
                                                     **********                   97.42 ***ROLLING *****RO-098****ROLLING STONE     INC

*R-207 ROYAL     ROYAL PAPER CORP                 4580433 2/17/16             670.08 16400 4/07/16 195079                     03847         4/16
                                                  4580433 2/17/16              55.28 16400 4/07/16 195079                     03847         4/16
                                                  4586363 3/16/16             907.48 16400 4/07/16 195079                     03847         4/16
                                                  4586363 3/16/16              74.85 16400 4/07/16 195079                     03847         4/16
                                                  4587984 3/23/16             630.71 26660 4/07/16 195079                     03847         4/16
                                                  4587984 3/23/16              52.02 26660 4/07/16 195079           2,390.42 03847          4/16
                                                  4589738 3/31/16             485.95 47040 4/28/16 196876                     04736         4/16
                                                  4589738 3/31/16              40.09 47040 4/28/16 196876                     04736         4/16
                                                  4589738 3/31/16             699.94 26660 4/28/16 196876                     04736         4/16
                                                  4589738 3/31/16              57.75 26660 4/28/16 196876                     04736         4/16
                                                  4590391 4/04/16           1,324.23 16400 4/28/16 196876                     04736         4/16
                                                  4590391 4/04/16             109.26 16400 4/28/16 196876                     04736         4/16
                                                  4591359 4/07/16             857.05 47040 4/28/16 196876                     04736         4/16
                                                  4591359 4/07/16              70.72 47040 4/28/16 196876                     04736         4/16
                                                  4591359 4/07/16              71.85 26660 4/28/16 196876                     04736         4/16
                                                  4591359 4/07/16               5.92 26660 4/28/16 196876                     04736         4/16
                                                  4591504 4/07/16              47.90 26660 4/28/16 196876                     04736         4/16
                                                  4591504 4/07/16               3.95 26660 4/28/16 196876           3,774.61 04736          4/16
                                                     **********               6,165.03 ***ROYAL  ******R-207****ROYAL PAPER CORP

SA-288 SAFLOK    SAFLOK                         INV414256 3/29/16              101.48 66120 4/21/16 691712                          04504    /
                                                INV414256 3/29/16               14.99 66120 4/21/16 691712                          04504    /
                                                INV414256 3/29/16                9.61 66120 4/21/16 691712              126.08      04504    /
                                                INV415539 4/07/16              356.70 66120 4/28/16 692565                          04760    /
                                                INV415539 4/07/16               13.35 66120 4/28/16 692565                          04760    /
                                                INV415539 4/07/16               30.53 66120 4/28/16 692565              400.58      04760    /
                                                     **********                  526.66 ***SAFLOK *****SA-288****SAFLOK

SA-460 SAM'S     SAM'S CLUB                        008809 3/23/16               16.08 24505 4/07/16 690396              16.08       03847    /
                                                     **********                   16.08 ***SAM'S  *****SA-460****SAM'S CLUB

SC-042 SCHNEIDE SCHNEIDER ELECTRIC                 616940 2/15/16              300.00 66160 4/21/16 691728                      04502        /
                                                   616940 2/15/16               23.93 66160 4/21/16 691728              323.93 04502         /
                                                     **********                  323.93 ***SCHNEIDE*****SC-042****SCHNEIDER ELECTRIC



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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
SC-018 SCHREI    R.L. SCHREIBER INC.           I167303909 3/30/16              159.80 24510 4/28/16 692578                     04760      /
                                               I167303942 4/12/16              286.15 24510 4/28/16 692578             445.95 04760       /
                                                     **********                  445.95 ***SCHREI *****SC-018****R.L. SCHREIBER INC.

*S-463 SEAF      SEAFOOD SUPPLY CO                 122260 3/24/16           4,504.65 24510 4/07/16 195111           4,504.65 03847       4/16
                                                     **********               4,504.65 ***SEAF   ******S-463****SEAFOOD SUPPLY CO

SE-425 SEAL      SEAL TEX INC                       14898 4/06/16              204.00 66202 4/28/16 692585                       04760    /
                                                    14898 4/06/16               10.00 66202 4/28/16 692585                       04760    /
                                                    14898 4/06/16               17.66 66202 4/28/16 692585                       04760    /
                                                    15056 4/01/16              185.10 66202 4/28/16 692585                       04760    /
                                                    15056 4/01/16               15.27 66202 4/28/16 692585             432.03    04760    /
                                                     **********                  432.03 ***SEAL   *****SE-425****SEAL TEX INC

*S-745 SERTI     SERTIFI                       *SALE     03 4/01/16            120.44 62843 4/14/16 195698             120.44    03136   4/16
                                                       **********                120.44 ***SERTI  ******S-745****SERTIFI

SI-375 SIGNATUR SIGNATURE GARMENT CRE INC          105029 3/31/16              511.95 45030 4/21/16 691746                      04504     /
                                                   105029 3/31/16               46.05 16800 4/21/16 691746                      04504     /
                                                   105029 3/31/16                3.09 16800 4/21/16 691746              561.09 04504      /
                                                   105321 4/15/16              510.11 45030 4/28/16 692598                      04760     /
                                                   105321 4/15/16               36.00 16800 4/28/16 692598                      04760     /
                                                   105321 4/15/16                2.92 16800 4/28/16 692598              549.03 04760      /
                                                     **********                1,110.12 ***SIGNATUR*****SI-375****SIGNATURE GARMENT CRE   INC

*S-498 SMITH     SMITH CONSULTING ASSC INC          37644 12/28/15          1,065.00 66275 4/21/16 196326           1,065.00 04502 4/16
                                                     **********               1,065.00 ***SMITH  ******S-498****SMITH CONSULTING ASSC INC

SO-056 SODEXO    SODEXO INC & AFFILIATES            45412 3/12/16           2,525.29 14030 4/07/16 690669           2,525.29 03850    /
                                                     **********               2,525.29 ***SODEXO *****SO-056****SODEXO INC & AFFILIATES

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2679901 4/06/16           1,696.47 45025 4/28/16 196789                     04736 4/16
                                                  2679901 4/06/16             176.44 45025 4/28/16 196789           1,872.91 04736 4/16
                                                     **********               1,872.91 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SP-079 SPECTRUM SPECTRUM AUDIO VISUAL INC       INV111709 1/11/16           2,658.00 01904 4/14/16 691192            2,658.00 04249    /
                                                     **********               2,658.00 ***SPECTRUM*****SP-079****SPECTRUM AUDIO VISUAL INC

SP-264 SPRINT    SPRINT                        0679821135 4/05/16               15.16 35901 4/14/16 911762                       04303    /
                                               0679821135 4/05/16              227.36 35031 4/14/16 911762              242.52   04303    /
                                                     **********                  242.52 ***SPRINT *****SP-264****SPRINT

ST-244 STAFF PR STAFF PRO WORKFORCE                 24033 3/23/16              963.90 26028 4/07/16 690701              963.90 03850      /
                                                    24431 3/31/16              720.90 26028 4/21/16 691768              720.90 04504      /
                                                    24775 4/07/16              854.55 26028 4/28/16 692779                      04760     /
                                                    25112 4/15/16              696.60 26028 4/28/16 692779            1,551.15 04760      /
                                                     **********                3,235.95 ***STAFF PR*****ST-244****STAFF PRO WORKFORCE

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3296500574 3/18/16              184.98 60551 4/07/16 690674                      03850   /
                                               3296500574 3/18/16               15.26 60551 4/07/16 690674                      03850   /
                                               3296500574 3/18/16              233.46 60550 4/07/16 690674                      03850   /
                                               3296500574 3/18/16               19.26 60550 4/07/16 690674              452.96 03850    /
                                               3297973593 4/01/16              512.31 60550 4/21/16 691963                      04504   /
                                               3297973593 4/01/16               42.27 60550 4/21/16 691963                      04504   /
                                               3297973593 4/01/16               13.69 26505 4/21/16 691963                      04504   /
                                               3297973593 4/01/16                1.13 26505 4/21/16 691963                      04504   /
                                               3297973594 4/01/16               61.98 60550 4/21/16 691963                      04504   /
                                               3297973594 4/01/16                5.11 60550 4/21/16 691963                      04504   /
                                               3298492642 4/02/16               77.99 60551 4/21/16 691963                      04504   /
                                               3298492642 4/02/16                6.43 60551 4/21/16 691963              720.91 04504    /
                                                     **********                1,173.87 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG




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APHIST-0159    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #    CHK. AMT. BATCH # CLRD
ST-387 STARBUCK STARBUCKS COFFEE CO           0166010628 3/17/16               146.56 26660 4/14/16 691249                      03850      /
                                              0166010628 3/17/16                96.24 26230 4/14/16 691249              242.80 03850       /
                                                    **********                   242.80 ***STARBUCK*****ST-387****STARBUCKS COFFEE CO

*S-001 STATE     STATE TREASURER-TEXAS        STRM0416    4/11/16             363.35 02060 4/11/16 195397                     00000 4/16
                                              STRM0416    4/11/16          58,948.99 02059 4/11/16 195397          59,312.34 00000 4/16
                                                    **********               59,312.34 ***STATE  ******S-001****STATE TREASURER-TEXAS

*S-316 STATE     STATE TREASURER-TEXAS        RYAN0416    4/11/16           1,402.30- 85962 4/11/16 195401                     00000 4/16
                                              RYAN0416    4/11/16           1,402.30 02058 4/11/16 195401                      00000 4/16
                                              SLSU0416    4/11/16             559.10 85960 4/11/16 195401                      00000 4/16
                                              SLSU0416    4/11/16              12.52 35901 4/11/16 195401                      00000 4/16
                                              SLSU0416    4/11/16           8,392.73 02060 4/11/16 195401                      00000 4/16
                                              SLSU0416    4/11/16           1,402.31 02058 4/11/16 195401           10,366.66 00000 4/16
                                                    **********               10,366.66 ***STATE   ******S-316****STATE TREASURER-TEXAS

*S-731 STUCKERM ASA STUCKERMAN                     40716 4/07/16                47.23 62830 4/22/16 196474                       04736    4/16
                                                   40716 4/07/16                55.95 62505 4/22/16 196474              103.18 04736      4/16
                                                    **********                   103.18 ***STUCKERM******S-731****ASA STUCKERMAN

SU-104 SUNBELT   SUNBELT RENTALS, INC         9175837002 3/31/16            1,164.90 47050 4/28/16 692626                      04760       /
                                              9175837002 3/31/16              500.00 47050 4/28/16 692626                      04760       /
                                              9175837002 3/31/16                9.59 99999 4/28/16 692626            1,674.49 04760        /
                                                    **********                1,674.49 ***SUNBELT *****SU-104****SUNBELT RENTALS, INC

*S-715 SYSCO     SYSCO                         611931388     2/18/16           84.24      26660   4/07/16   195153                03847   4/16
                                               611931388     2/18/16           75.00      26660   4/07/16   195153                03847   4/16
                                               611954142     2/19/16           36.67      16400   4/07/16   195153                03847   4/16
                                               611954142     2/19/16            1.08      16400   4/07/16   195153                03847   4/16
                                               611954142     2/19/16          721.97      16105   4/07/16   195153                03847   4/16
                                               611954142     2/19/16           21.25      16105   4/07/16   195153                03847   4/16
                                               611979404     2/22/16           18.65      26660   4/07/16   195153                03847   4/16
                                               612146272     3/04/16          485.29      16105   4/07/16   195153                03847   4/16
                                               612146272     3/04/16           18.60      16105   4/07/16   195153                03847   4/16
                                               612238366     3/11/16           18.35      16400   4/07/16   195153                03847   4/16
                                               612238366     3/11/16             .36      16400   4/07/16   195153                03847   4/16
                                               612238366     3/11/16          295.32      16105   4/07/16   195153                03847   4/16
                                               612238366     3/11/16            5.77      16105   4/07/16   195153                03847   4/16
                                               612324805     3/18/16           71.05      16400   4/07/16   195153                03847   4/16
                                               612324805     3/18/16            3.32      16400   4/07/16   195153                03847   4/16
                                               612324805     3/18/16          570.49      16105   4/07/16   195153                03847   4/16
                                               612324805     3/18/16           26.68      16105   4/07/16   195153                03847   4/16
                                               612337071     3/19/16           73.76      26660   4/07/16   195153                03847   4/16
                                               612337071     3/19/16           75.00      26660   4/07/16   195153                03847   4/16
                                               612351536     3/21/16           14.04      26660   4/07/16   195153                03847   4/16
                                               612351537     3/21/16          654.16      24510   4/07/16   195153                03847   4/16
                                               612352035     3/21/16          400.88      16125   4/07/16   195153                03847   4/16
                                               612352036     3/21/16        1,077.17      24510   4/07/16   195153                03847   4/16
                                               612352037     3/21/16        1,362.65      24505   4/07/16   195153                03847   4/16
                                               612352130     3/21/16        2,171.26      16110   4/07/16   195153                03847   4/16
                                               612373973     3/22/16           95.11      26220   4/07/16   195153                03847   4/16
                                               612373973     3/22/16            7.85      26220   4/07/16   195153                03847   4/16
                                               612385770     3/23/16           68.64      24510   4/07/16   195153                03847   4/16
                                               612386296     3/23/16          735.11      26230   4/07/16   195153                03847   4/16
                                               612386296     3/23/16           60.64      26230   4/07/16   195153                03847   4/16
                                               612386296     3/23/16          178.82      26220   4/07/16   195153                03847   4/16
                                               612386296     3/23/16           14.75      26220   4/07/16   195153                03847   4/16
                                               612387539     3/23/16          165.55      24510   4/07/16   195153                03847   4/16
                                               612388295     3/23/16           67.12      24510   4/07/16   195153                03847   4/16
                                               612397495     3/24/16          386.56      24510   4/07/16   195153                03847   4/16
                                               612397873     3/24/16        3,465.80      24510   4/07/16   195153                03847   4/16
                                               612411212     3/25/16        1,321.53      24510   4/07/16   195153                03847   4/16
                                               612412862     3/25/16          185.79      26660   4/07/16   195153                03847   4/16
                                               612413240     3/25/16          106.34      16125   4/07/16   195153                03847   4/16
                                               612413516     3/25/16          239.36      24510   4/07/16   195153                03847   4/16
                                               612413618     3/25/16        3,977.55      24510   4/07/16   195153    19,359.53   03847   4/16
                                               612048675     2/26/16          245.60      16400   4/21/16   196353                04502   4/16




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APHIST-0160    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                               612048675 2/26/16              10.95 16400 4/21/16 196353                        04502   4/16
                                               612048675 2/26/16           1,220.41 16105 4/21/16 196353                        04502   4/16
                                               612048675 2/26/16              54.41 16105 4/21/16 196353                        04502   4/16
                                               612477037 3/30/16              94.32 26660 4/21/16 196353                        04502   4/16
                                               612503336 4/01/16           1,049.04 26660 4/21/16 196353           2,674.73     04502   4/16
                                               612503529 4/01/16              71.68 16125 4/28/16 196949              71.68     04736   4/16
                                               612485760 3/31/16           1,283.76 24510 4/28/16 196954                        04736   4/16
                                               612486304 3/31/16           2,987.56 24510 4/28/16 196954                        04736   4/16
                                               612486489 3/31/16              98.77 16125 4/28/16 196954                        04736   4/16
                                               612486570 3/31/16             453.49 24510 4/28/16 196954                        04736   4/16
                                               612486777 3/31/16           1,201.79 24510 4/28/16 196954                        04736   4/16
                                               612486896 3/31/16             435.69 24510 4/28/16 196954                        04736   4/16
                                               612487251 3/31/16              59.11 26660 4/28/16 196954                        04736   4/16
                                               612487251 3/31/16               1.20 26660 4/28/16 196954                        04736   4/16
                                               612503052 4/01/16             110.70 16110 4/28/16 196954                        04736   4/16
                                               612503338 4/01/16           2,715.57 24505 4/28/16 196954                        04736   4/16
                                               612503428 4/01/16           2,642.18 16110 4/28/16 196954                        04736   4/16
                                               612520567 4/02/16             375.18 24510 4/28/16 196954                        04736   4/16
                                               612531272 4/04/16           2,228.29 24510 4/28/16 196954                        04736   4/16
                                               612531760 4/04/16           1,830.52 16110 4/28/16 196954                        04736   4/16
                                               612567301 4/06/16           1,896.92 24510 4/28/16 196954                        04736   4/16
                                               612568175 4/06/16           1,207.04 16110 4/28/16 196954                        04736   4/16
                                               612568374 4/06/16           1,431.49 24510 4/28/16 196954                        04736   4/16
                                               612568856 4/06/16             544.06 24510 4/28/16 196954                        04736   4/16
                                               612568928 4/06/16             463.13 26230 4/28/16 196954                        04736   4/16
                                               612568928 4/06/16              38.21 26230 4/28/16 196954                        04736   4/16
                                               612568928 4/06/16           1,028.51 26220 4/28/16 196954                        04736   4/16
                                               612568928 4/06/16              84.84 26220 4/28/16 196954                        04736   4/16
                                               612598492 4/08/16           1,810.48 24510 4/28/16 196954                        04736   4/16
                                               612598950 4/08/16             199.82 24510 4/28/16 196954                        04736   4/16
                                               612598955 4/08/16           3,012.60 16110 4/28/16 196954                        04736   4/16
                                               612627158 4/11/16             237.33 26660 4/28/16 196954          28,378.24     04736   4/16
                                                    **********              50,484.18 ***SYSCO  ******S-715****SYSCO

TE-163 TEMPERAT TEMPERATURE CONTROL           1469394001 3/28/16               82.25 66160 4/21/16 691784                      04504     /
                                              1469394001 3/28/16               12.00 66160 4/21/16 691784                      04504     /
                                              1469394001 3/28/16                7.77 66160 4/21/16 691784                      04504     /
                                              1469409001 3/28/16               84.99 66160 4/21/16 691784                      04504     /
                                              1469409001 3/28/16                7.01 66160 4/21/16 691784              194.02 04504      /
                                                    **********                  194.02 ***TEMPERAT*****TE-163****TEMPERATURE CONTROL

FI-113 THE FIL   THE FILTA GROUP INC           454000387 3/24/16              105.00 26260 4/07/16 690708                      03850     /
                                               454000387 3/24/16                8.66 26260 4/07/16 690708              113.66 03850      /
                                               454000407 3/31/16              105.00 26260 4/21/16 691998                      04504     /
                                               454000407 3/31/16                8.66 26260 4/21/16 691998              113.66 04504      /
                                               454000419 4/07/16              105.00 26260 4/28/16 692838                      04760     /
                                               454000419 4/07/16                8.66 26260 4/28/16 692838                      04760     /
                                               454000437 4/14/16              105.00 26260 4/28/16 692838                      04760     /
                                               454000437 4/14/16                8.66 26260 4/28/16 692838              227.32 04760      /
                                                    **********                  454.64 ***THE FIL *****FI-113****THE FILTA GROUP INC

TR-444 TRANE     TRANE U.S. INC                  539039X 3/16/16              265.20- 66160 4/07/16 690477                      03850    /
                                                 539039X 3/16/16               21.88- 66160 4/07/16 690477                      03850    /
                                                 539088X 3/16/16              599.76 66160 4/07/16 690477                       03850    /
                                                 539088X 3/16/16               49.48 66160 4/07/16 690477              362.16 03850      /
                                                    **********                  362.16 ***TRANE   *****TR-444****TRANE U.S. INC

TR-297 TRAVEL    TRAVEL SERVICES INC            87175635 3/30/16               34.30 16300 4/07/16 690475              34.30 03850       /
                                                    **********                   34.30 ***TRAVEL *****TR-297****TRAVEL SERVICES INC

TR-117 TRAY      TRAY INC                         219599 3/10/16               26.00 16400 4/07/16 690471              26.00    03850    /
                                                    **********                   26.00 ***TRAY   *****TR-117****TRAY INC

TR-130 TROPICAL TROPICAL NUT & FRUIT CO       NV15380685 3/22/16              567.95 16125 4/07/16 690472              567.95 03850    /
                                              NV15384060 3/30/16              438.79 24505 4/28/16 692642              438.79 04760    /
                                                    **********                1,006.74 ***TROPICAL*****TR-130****TROPICAL NUT & FRUIT CO




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APHIST-0161    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
TY-006 TYCO      TYCO INTEGRATED SECURITY       26125986 3/05/16              844.47 66110 4/07/16 690652             844.47 03850    /
                                                    **********                  844.47 ***TYCO   *****TY-006****TYCO INTEGRATED SECURITY

TY-019 TYINC     TY INC                         13630718 4/04/16              701.00 26505 4/21/16 691801                       04504    /
                                                13630718 4/04/16               37.23 26505 4/21/16 691801              738.23   04504    /
                                                13632086 4/06/16               67.00 26505 4/28/16 692657                       04760    /
                                                13632086 4/06/16                3.39 26505 4/28/16 692657               70.39   04760    /
                                                    **********                  808.62 ***TYINC  *****TY-019****TY INC

UN-228 UNIGUEST UNIGUEST INC                    57841169 1/28/16               39.16 16400 4/07/16 690499                       03847    /
                                                57841169 1/28/16                3.23 16400 4/07/16 690499                       03847    /
                                               578411610 2/09/16               58.72 16400 4/07/16 690499                       03847    /
                                               578411610 2/09/16                4.84 16400 4/07/16 690499              105.95   03847    /
                                                    **********                  105.95 ***UNIGUEST*****UN-228****UNIGUEST INC

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2761404 3/22/16              202.92 45022 4/21/16 691809                      04504   /
                                                 2761404 3/22/16               18.91 45022 4/21/16 691809                      04504   /
                                                 2761404 3/22/16               13.86 45022 4/21/16 691809                      04504   /
                                                 2762296 3/23/16                3.60 45022 4/21/16 691809                      04504   /
                                                 2762296 3/23/16                 .23 45022 4/21/16 691809              239.52 04504    /
                                                    **********                  239.52 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

US-129 USA TODA USA TODAY                     0013103509 3/27/16              325.80 16105 4/21/16 692002              325.80   04504    /
                                                    **********                  325.80 ***USA TODA*****US-129****USA TODAY

VA-063 VALLEY    VALLEY FORGE FABRICS INC         478481 3/29/16           1,763.16 01905 4/21/16 691820                     04590   /
                                                  478481 3/29/16              89.55 01905 4/21/16 691820           1,852.71 04590    /
                                                    **********               1,852.71 ***VALLEY *****VA-063****VALLEY FORGE FABRICS INC

VI-102 VIDEO     VIDEO EQUIPMENT RENTALS         1738928 3/23/16           2,500.00 47050 4/21/16 691944                     03850   /
                                                 1738929 3/23/16             130.00 47050 4/21/16 691944                     03850   /
                                                 1738930 3/23/16             880.00 47050 4/21/16 691944                     03850   /
                                                 1741051 3/29/16             225.00 47050 4/21/16 691944           3,735.00 04397    /
                                                 1742927 4/05/16             200.00 47050 4/28/16 692671             200.00 04760    /
                                                    **********               3,935.00 ***VIDEO  *****VI-102****VIDEO EQUIPMENT RENTALS

*V-075 VOSS      VOSS LIGHTING CO             4014553200 3/10/16          38,000.82 01914 4/07/16 195219                        03020   4/16
                                              4014553200 3/10/16               8.00 01914 4/07/16 195219                        03020   4/16
                                              4014553200 3/10/16           3,135.73 01914 4/07/16 195219          41,144.55     03020   4/16
                                                    **********              41,144.55 ***VOSS   ******V-075****VOSS LIGHTING    CO

WI-229 WINDSTRA WINDSTREAM COMMUNICATIONS         296594 3/15/16              512.50 35026 4/21/16 691836                      04504   /
                                                  296594 3/15/16               42.28 35026 4/21/16 691836              554.78 04504    /
                                                    **********                  554.78 ***WINDSTRA*****WI-229****WINDSTREAM COMMUNICATIONS

WO-103 WORLD CI WORLD CINEMA INC              **S5199 04 5/01/16           4,980.55 16425 4/21/16 692003                      03136      /
                                              **S5199 04 5/01/16             410.90 16425 4/21/16 692003            5,391.45 03136       /
                                                    **********               5,391.45 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN    WTS INTERNATIONAL INC        C000038346 3/01/16              250.00 45022 4/07/16 195225             250.00 03847 4/16
                                                    **********                  250.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80713             1,279,811.37




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APHIST-0153    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                             PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                         DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #    CHK. AMT. BATCH # CLRD
AL-167 A-1 LOCK A-1 LOCKSMITHS                     515391 4/28/16                66.00 66120 5/26/16 695375                       05408     /
                                                   515391 4/28/16                 5.45 66120 5/26/16 695375               71.45 05408       /
                                                     **********                    71.45 ***A-1 LOCK*****AL-167****A-1 LOCKSMITHS

AC-057 ACIS      ACIS INNOVATIVE SOLUTIONS         S59678 4/26/16              285.00 66160 5/19/16 695333                     05408   /
                                                   S59678 4/26/16               50.00 66160 5/19/16 695333                     05408   /
                                                   S59678 4/26/16               27.64 66160 5/19/16 695333             362.64 05408    /
                                                   M42999 5/01/16              380.30 66160 5/26/16 696021                     05408   /
                                                   M42999 5/01/16                6.24 66160 5/26/16 696021                     05408   /
                                                   S59526 4/27/16            1,779.37 66160 5/26/16 696021                     04517   /
                                                   S59526 4/27/16              146.80 66160 5/26/16 696021                     04517   /
                                                   S59664 4/27/16            5,165.30 66160 5/26/16 696021                     04517   /
                                                   S59664 4/27/16              426.14 66160 5/26/16 696021           7,904.15 04517    /
                                                     **********                8,266.79 ***ACIS   *****AC-057****ACIS INNOVATIVE SOLUTIONS

*A-166 AIRG      AIRGAS USA LLC                9050894375 4/28/16               126.95 30870 5/26/16 199406                      05821     5/16
                                               9050894375 4/28/16                 3.63 30870 5/26/16 199406                      05821     5/16
                                               9050894375 4/28/16                10.77 30870 5/26/16 199406             141.35 05821       5/16
                                               9936059267 4/30/16               130.34 26380 5/26/16 199408             130.34 05821       5/16
                                                     **********                   271.69 ***AIRG   ******A-166****AIRGAS USA LLC

AL-408 ALE SO    ALE SOLUTIONS INC             3004626019 4/18/16               255.69 16300 5/26/16 695378             255.69 05821        /
                                                     **********                   255.69 ***ALE SO *****AL-408****ALE SOLUTIONS INC

AL-139 ALL       ALL FLOOR MACHINE CO            00014013 4/18/16                37.03 66275 5/26/16 695374                     05821       /
                                                 00014013 4/18/16                15.46 66275 5/26/16 695374                     05821       /
                                                 00014013 4/18/16                 2.06 66275 5/26/16 695374              54.55 05821        /
                                                     **********                    54.55 ***ALL    *****AL-139****ALL FLOOR MACHINE CO

AL-189 ALPHAGRA ALPHAGRAPHICS                       69406 4/19/16                39.72 16600 5/05/16 692869                        04517    /
                                                    69406 4/19/16                 3.28 16600 5/05/16 692869               43.00    04517    /
                                                    69598 4/28/16                80.78 16130 5/19/16 694483                        05408    /
                                                    69598 4/28/16                 6.67 16130 5/19/16 694483                        05408    /
                                                    69619 5/02/16                77.36 60552 5/19/16 694483                        05408    /
                                                    69619 5/02/16                 6.39 60552 5/19/16 694483                        05408    /
                                                    69691 5/02/16               147.83 62301 5/19/16 694483                        05408    /
                                                    69691 5/02/16                12.20 62301 5/19/16 694483                        05408    /
                                                    69798 5/05/16               104.36 16600 5/19/16 694483                        05408    /
                                                    69798 5/05/16                 8.61 16600 5/19/16 694483              444.20    05408    /
                                                    69830 5/10/16               213.48 60320 5/26/16 695376                        05041    /
                                                    69830 5/10/16                17.62 60320 5/26/16 695376              231.10    05041    /
                                                     **********                   718.30 ***ALPHAGRA*****AL-189****ALPHAGRAPHICS

AM-465 AMBIENT   AMBIENT STAGE LIGHTING           IN05662 4/28/16            1,725.00 47050 5/26/16 696023                         04517    /
                                                  IN05662 4/28/16              800.00 26028 5/26/16 696023                         04517    /
                                                  IN05673 5/03/16              963.00 47050 5/26/16 696023                         05041    /
                                                  IN05673 5/03/16              800.00 26028 5/26/16 696023            4,288.00     05041    /
                                                     **********                4,288.00 ***AMBIENT *****AM-465****AMBIENT STAGE    LIGHTING

AM-079 AMER      AMERITEX GUARD SERVICES          6010774 4/11/16               600.00 60016 5/05/16 692877                     04760   /
                                                  6010774 4/11/16                49.50 60016 5/05/16 692877             649.50 04760    /
                                                  6010800 4/19/16               630.00 60016 5/12/16 693889                     04517   /
                                                  6010800 4/19/16                51.98 60016 5/12/16 693889             681.98 04517    /
                                                  6010828 4/25/16               300.00 60016 5/19/16 694490                     05408   /
                                                  6010828 4/25/16                24.75 60016 5/19/16 694490             324.75 05408    /
                                                  6010854 5/02/16               540.00 60016 5/26/16 695381                     05408   /
                                                  6010854 5/02/16                44.55 60016 5/26/16 695381             584.55 05408    /
                                                     **********                 2,240.78 ***AMER   *****AM-079****AMERITEX GUARD SERVICES

AN-020 ANTHONY   ANTHONY TRAVEL INC            SKETBALL1A 4/21/16            8,784.90 62625 5/05/16 693674            8,784.90 04517        /
                                                     **********                8,784.90 ***ANTHONY *****AN-020****ANTHONY TRAVEL INC

AQ-029 AQUAV     AQUAVERVE LLC                 ESTX041216     4/14/16            77.61     16400   5/12/16   693895                04517    /




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APHIST-0154    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #    CHK. AMT. BATCH # CLRD
                                              ESTX041216 4/14/16               21.60 16400 5/12/16 693895                     04517        /
                                              ESTX041416 4/14/16            1,082.50 01906 5/12/16 693895                     04064        /
                                              ESTX041416 4/14/16               47.50 01906 5/12/16 693895           1,229.21 04064         /
                                                    **********                1,229.21 ***AQUAV  *****AQ-029****AQUAVERVE LLC

*A-185 ART B     ART BAKERY                    EF7600117 4/19/16               84.00 24510 5/05/16 197068              84.00      04502   5/16
                                               EF7600119 5/06/16            1,340.00 24510 5/19/16 198715           1,340.00      05396   5/16
                                               EF7600118 5/04/16              165.00 24510 5/26/16 199418             165.00      05821   5/16
                                                    **********                1,589.00 ***ART B  ******A-185****ART BAKERY

AT-046 AT&T      AT&T                         1940163017 5/11/16                66.47 35901 5/26/16 695407                        05019    /
                                              1940163017 5/11/16               199.30 35030 5/26/16 695407               265.77   05019    /
                                                    **********                   265.77 ***AT&T   *****AT-046****AT&T

AT-053 AT&T      AT&T                         8471422404 5/01/16                50.85 35901 5/12/16 693909                        05286    /
                                              8471422404 5/01/16               451.81 35030 5/12/16 693909               502.66   05286    /
                                                    **********                   502.66 ***AT&T   *****AT-053****AT&T

AT-103 AT&T      AT&T                         5163628064 5/05/16                16.96 35901 5/17/16 912118                        05558    /
                                              5163628064 5/05/16               127.99 35030 5/17/16 912118               144.95   05558    /
                                              5167050857 5/05/16                12.08 35901 5/17/16 912119                        05558    /
                                              5167050857 5/05/16               126.13 35030 5/17/16 912119               138.21   05558    /
                                                    **********                   283.16 ***AT&T   *****AT-103****AT&T

*A-144 ATMOS     ATMOS ENERGY                   51602501 5/09/16            4,021.07 64200 5/19/16 198707                         05614   5/16
                                                51602501 5/09/16              331.74 64200 5/19/16 198707           4,352.81      05614   5/16
                                                51653937 5/09/16              729.29 64200 5/19/16 198708                         05614   5/16
                                                51653937 5/09/16               60.17 64200 5/19/16 198708             789.46      05614   5/16
                                                    **********                5,142.27 ***ATMOS  ******A-144****ATMOS ENERGY

AU-096 AUDIOVIS AUDIOVISUAL MANAGEMENT            101647 4/25/16               100.00 47050 5/19/16 694516              100.00 05408     /
                                                    **********                   100.00 ***AUDIOVIS*****AU-096****AUDIOVISUAL MANAGEMENT

*B-018 BANK      BANK OF AMERICA               MAY16LOAN 5/25/16          250,844.37 86700 5/27/16 199792                     05210       5/16
                                               MAY16LOAN 5/25/16           82,201.37 02820 5/27/16 199792                     05210       5/16
                                               MAY16LOAN 5/25/16           63,304.11 01095 5/27/16 199792         396,349.85 05210        5/16
                                                    **********              396,349.85 ***BANK   ******B-018****BANK OF AMERICA

BA-249 BARBIZON BARBIZON LIGHT OF THE            0214358 4/18/16               355.00 66520 5/05/16 692913                      04517      /
                                                 0214358 4/18/16                19.72 66520 5/05/16 692913                      04517      /
                                                 0214358 4/18/16                30.91 66520 5/05/16 692913                      04517      /
                                                 0214360 4/18/16               217.95 66520 5/05/16 692913                      04517      /
                                                 0214360 4/18/16                19.72 66520 5/05/16 692913                      04517      /
                                                 0214360 4/18/16                19.60 66520 5/05/16 692913              662.90 04517       /
                                                    **********                   662.90 ***BARBIZON*****BA-249****BARBIZON LIGHT OF THE

BA-022 BARTOS    BARTOS                       W160322A1A 3/25/16                84.04 66160 5/26/16 695423              84.04     05821    /
                                                    **********                    84.04 ***BARTOS *****BA-022****BARTOS

BA-522 BATTERIE BATTERIES PLUS                 266308576 4/27/16                56.16 47051 5/26/16 695426                       04517     /
                                               266308576 4/27/16                 4.63 47051 5/26/16 695426               60.79 04517       /
                                                    **********                    60.79 ***BATTERIE*****BA-522****BATTERIES PLUS

BE-390 BERTRAND BERTRAND'S INC                 0393198CM     3/01/16           553.23-    24510   5/05/16   692923                04517    /
                                               0393450CM     3/03/16            73.65-    24510   5/05/16   692923                04517    /
                                               0397636IN     4/18/16           199.48     24510   5/05/16   692923                04517    /
                                               0397802IN     4/19/16           264.01     24510   5/05/16   692923                04517    /
                                               0397803IN     4/19/16           815.20     24510   5/05/16   692923       651.81   04517    /
                                               0398594IN     4/26/16           353.54     24510   5/12/16   693931       353.54   04517    /
                                               0398744IN     4/27/16           174.34     24510   5/19/16   694533       174.34   05408    /
                                               0399903IN     5/09/16           552.65     24510   5/26/16   696026                05041    /




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APHIST-0155    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                             PAGE     3
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                0400225IN 5/11/16              174.34 24510 5/26/16 696026                       05041      /
                                                0400426IN 5/12/16            1,131.08 24510 5/26/16 696026                       05041      /
                                                0400452IN 5/13/16              453.60 24510 5/26/16 696026            2,311.67 05041        /
                                                     **********                3,491.36 ***BERTRAND*****BE-390****BERTRAND'S INC

BI-080 BINSWANG BINSWANGER GLASS               I094039489 4/30/16               821.00 66120 5/26/16 695435                      05408      /
                                               I094039489 4/30/16                67.74 66120 5/26/16 695435              888.74 05408       /
                                                     **********                   888.74 ***BINSWANG*****BI-080****BINSWANGER GLASS

BL-180 BLACKMON BLACKMON-MOORING INC            320526006 4/18/16               906.39 26260 5/05/16 692931                      04517      /
                                                320526006 4/18/16                74.78 26260 5/05/16 692931                      04517      /
                                                320526006 4/18/16               906.39 16150 5/05/16 692931                      04517      /
                                                320526006 4/18/16                74.78 16150 5/05/16 692931                      04517      /
                                                320526006 4/18/16                  .01- 16150 5/05/16 692931           1,962.33 04517       /
                                                320526007 5/15/16               906.39 26260 5/26/16 695440                      05041      /
                                                320526007 5/15/16                74.78 26260 5/26/16 695440                      05041      /
                                                320526007 5/15/16               906.39 16150 5/26/16 695440                      05041      /
                                                320526007 5/15/16                74.78 16150 5/26/16 695440                      05041      /
                                                320526007 5/15/16                  .01- 16150 5/26/16 695440           1,962.33 05041       /
                                                     **********                 3,924.66 ***BLACKMON*****BL-180****BLACKMON-MOORING INC

*B-600 BOGAR     ERIN BOGAR                         42816 4/28/16                38.88 62830 5/12/16 198588                        05391   5/16
                                                    42816 4/28/16               132.28 60070 5/12/16 198588             171.16     05391   5/16
                                                     **********                   171.16 ***BOGAR  ******B-600****ERIN BOGAR

BR-003 BRINK'S   BRINK'S INC                      1446760 4/30/16                 4.18 60135 5/26/16 695442                        05041    /
                                                  1446760 4/30/16                  .26 60135 5/26/16 695442                        05041    /
                                                  1446760 4/30/16                  .36 60135 5/26/16 695442                        05041    /
                                                 10012600 5/01/16               812.23 60135 5/26/16 695442                        05041    /
                                                 10012600 5/01/16                50.76 60135 5/26/16 695442                        05041    /
                                                 10012600 5/01/16                71.20 60135 5/26/16 695442              938.99    05041    /
                                                     **********                   938.99 ***BRINK'S *****BR-003****BRINK'S INC

BR-491 BROWNING SEYNI BROWNING                 04172016SB 4/19/16              420.00 26505 5/05/16 692945              420.00 04517        /
                                               05042016SB 5/05/16            1,200.00 26505 5/19/16 694552            1,200.00 05408        /
                                                     **********                1,620.00 ***BROWNING*****BR-491****SEYNI BROWNING

*B-617 BUSCH     CASEY BUSCH                        42816 4/28/16                59.17 60070 5/05/16 197140              59.17     04569   5/16
                                                     **********                    59.17 ***BUSCH  ******B-617****CASEY BUSCH

CA-111 CASCADE   CASCADE WATER SERVICES            986188 5/01/16               313.11 66160 5/19/16 694557                      05408    /
                                                   986188 5/01/16                21.13 66160 5/19/16 694557              334.24 05408     /
                                                     **********                   334.24 ***CASCADE *****CA-111****CASCADE WATER SERVICES

CE-098 CENTURY   CENTURYLINK                   1375477320 5/15/16                87.10 35901 5/19/16 694571                        05664    /
                                               1375477320 5/15/16               967.29 35030 5/19/16 694571            1,054.39    05664    /
                                                     **********                 1,054.39 ***CENTURY *****CE-098****CENTURYLINK

CH-549 CHAMPION CHAMPION WASTE SERVICES            240686 4/30/16               415.36 66325 5/12/16 694429                      05342   /
                                                   241268 5/03/16               543.42 66325 5/12/16 694429              958.78 05342    /
                                                     **********                   958.78 ***CHAMPION*****CH-549****CHAMPION WASTE SERVICES

CH-437 CHEF      CHEF WORKS INC                 IN1375647 4/23/16               687.30 26820 5/19/16 694595                      05408      /
                                                IN1375647 4/23/16                55.95 26820 5/19/16 694595                      05408      /
                                                IN1375647 4/23/16                61.35 26820 5/19/16 694595             804.60 05408        /
                                                     **********                   804.60 ***CHEF   *****CH-437****CHEF WORKS INC

CI-016 CINTAS    CINTAS CORP#163/#463/#492      163157362     4/08/16            43.75     26380   5/05/16   692970                04517    /
                                                163157362     4/08/16             3.61     26380   5/05/16   692970                04517    /
                                                163157362     4/08/16            48.66     16400   5/05/16   692970                04517    /
                                                163157362     4/08/16             4.01     16400   5/05/16   692970       100.03   04517    /




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APHIST-0156   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              163158844 4/15/16                43.75 26380 5/12/16 693962                     04517   /
                                              163158844 4/15/16                 3.61 26380 5/12/16 693962                     04517   /
                                              163158844 4/15/16                48.66 16400 5/12/16 693962                     04517   /
                                              163158844 4/15/16                 4.01 16400 5/12/16 693962             100.03 04517    /
                                              163160371 4/22/16                43.75 26380 5/19/16 694597                     04517   /
                                              163160371 4/22/16                 3.61 26380 5/19/16 694597                     04517   /
                                              163160371 4/22/16                48.66 16400 5/19/16 694597                     04517   /
                                              163160371 4/22/16                 4.01 16400 5/19/16 694597             100.03 04517    /
                                              163161853 4/29/16                43.75 26380 5/26/16 695475                     05041   /
                                              163161853 4/29/16                 3.61 26380 5/26/16 695475                     05041   /
                                              163161853 4/29/16                48.66 16400 5/26/16 695475                     05041   /
                                              163161853 4/29/16                 4.01 16400 5/26/16 695475             100.03 05041    /
                                                   **********                   400.12 ***CINTAS *****CI-016****CINTAS CORP#163/#463/#492

CI-306 CIRCLE    CIRCLE K                         42216 4/22/16               724.06 14030 5/05/16 692975             724.06    04517    /
                                                   **********                   724.06 ***CIRCLE *****CI-306****CIRCLE K

*C-345 CITY      CITY OF FRISCO                41669501 5/10/16            1,464.40 66325 5/19/16 198778                      05614     5/16
                                               41669501 5/10/16               48.60 66325 5/19/16 198778                      05614     5/16
                                               41669501 5/10/16            9,148.59 64500 5/19/16 198778          10,661.59 05614       5/16
                                               41669601 5/10/16               27.81 64500 5/19/16 198779              27.81 05614       5/16
                                                   **********               10,689.40 ***CITY   ******C-345****CITY OF FRISCO

CI-192 CITY OF   CITY OF FRISCO               CTYR0516A 5/10/16              223.25 85960 5/11/16 912063                       05287     /
                                              CTYR0516A 5/10/16           85,569.52 02059 5/11/16 912063           85,792.77 05287       /
                                                   **********               85,792.77 ***CITY OF *****CI-192****CITY OF FRISCO

CO-871 COMFORT   COMFORT SUITES                28856210 1/13/16               134.47 16702 5/05/16 693013              134.47 04502      /
                                               30189419 4/22/16               236.17 16702 5/26/16 695500                       05041    /
                                              28856210A 5/02/16                11.30- 16702 5/26/16 695500             224.87 05041      /
                                                   **********                   359.34 ***COMFORT *****CO-871****COMFORT SUITES

CO-857 COMMTRAK COMMTRAK                          41116 4/11/16               237.01 16300 5/19/16 695311              237.01   05408    /
                                                   **********                   237.01 ***COMMTRAK*****CO-857****COMMTRAK

CO-492 CONVOY    CONVOY OF HOPE              INSA041603 5/04/16               618.55 02042 5/05/16 911997             618.55 00000       /
                                                   **********                   618.55 ***CONVOY *****CO-492****CONVOY OF HOPE

*C-229 CORDOVA   PAUL CORDOVA                     50516 5/05/16                19.46 62505 5/12/16 198589                       05391   5/16
                                                  50516 5/05/16                 4.75 60720 5/12/16 198589                       05391   5/16
                                                  50516 5/05/16               315.88 60070 5/12/16 198589                       05391   5/16
                                                  50516 5/05/16                54.10 47051 5/12/16 198589                       05391   5/16
                                                  50516 5/05/16                37.63 26860 5/12/16 198589              431.82   05391   5/16
                                                   **********                   431.82 ***CORDOVA ******C-229****PAUL CORDOVA

CO-280 CORPOR    CORPORATE BUILDING               76093     4/08/16          371.61      16030   5/05/16   693836               04760    /
                                                  76093     4/08/16           30.66      16030   5/05/16   693836               04760    /
                                                  76098     4/11/16        1,164.54      66020   5/05/16   693836               04517    /
                                                  76098     4/11/16           96.07      66020   5/05/16   693836               04517    /
                                                  76139     4/12/16        8,055.72      16020   5/05/16   693836               04760    /
                                                  76139     4/12/16          664.60      16020   5/05/16   693836               04760    /
                                                  76140     4/12/16        1,764.82      16020   5/05/16   693836               04760    /
                                                  76140     4/12/16          145.60      16020   5/05/16   693836               04760    /
                                                  76141     4/12/16        2,509.82      16021   5/05/16   693836               04760    /
                                                  76141     4/12/16          207.06      16021   5/05/16   693836   15,010.50   04760    /
                                                  76150     4/18/16        2,101.30      16020   5/12/16   694453               04517    /
                                                  76150     4/18/16          173.36      16020   5/12/16   694453               04517    /
                                                  76151     4/18/16        2,245.45      16021   5/12/16   694453               04517    /
                                                  76151     4/18/16          185.25      16021   5/12/16   694453               04517    /
                                                  76152     4/18/16        8,698.43      16020   5/12/16   694453               04517    /
                                                  76152     4/18/16          717.62      16020   5/12/16   694453               04517    /
                                                  76153     4/18/16        1,156.96      66020   5/12/16   694453               04517    /
                                                  76153     4/18/16           95.45      66020   5/12/16   694453               04517    /
                                                  76154     4/18/16          368.90      16030   5/12/16   694453               04517    /




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APHIST-0157   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     2
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                   76154 4/18/16              30.43 16030 5/12/16 694453          15,773.15 04517         /
                                                   76222 4/22/16             450.00 16020 5/19/16 695336                     04517        /
                                                   76222 4/22/16              37.13 16020 5/19/16 695336                     04517        /
                                                   76226 4/25/16             402.32 16030 5/19/16 695336                     04517        /
                                                   76226 4/25/16              33.19 16030 5/19/16 695336                     04517        /
                                                   76232 4/25/16           9,028.95 16020 5/19/16 695336                     04517        /
                                                   76232 4/25/16             744.89 16020 5/19/16 695336                     04517        /
                                                   76233 4/25/16           3,712.35 16020 5/19/16 695336                     04517        /
                                                   76233 4/25/16             306.27 16020 5/19/16 695336                     04517        /
                                                   76234 4/25/16           1,862.61 16021 5/19/16 695336                     04517        /
                                                   76234 4/25/16             153.67 16021 5/19/16 695336          16,731.38 04517         /
                                                   76337 5/03/16           5,075.00 16020 5/26/16 696117                     05041        /
                                                   76337 5/03/16             418.69 16020 5/26/16 696117                     05041        /
                                                   76338 5/03/16           4,939.00 26028 5/26/16 696117                     05041        /
                                                   76338 5/03/16             407.47 26028 5/26/16 696117                     05041        /
                                                   76399 4/30/16           8,535.46 16020 5/26/16 696117                     05408        /
                                                   76399 4/30/16             704.18 16020 5/26/16 696117                     05408        /
                                                   76400 5/02/16           4,815.86 16020 5/26/16 696117                     05408        /
                                                   76400 5/02/16             397.31 16020 5/26/16 696117                     05408        /
                                                   76401 5/02/16           1,942.02 16021 5/26/16 696117                     05408        /
                                                   76401 5/02/16             160.22 16021 5/26/16 696117                     05408        /
                                                   76404 5/02/16             409.59 16030 5/26/16 696117                     05408        /
                                                   76404 5/02/16              33.79 16030 5/26/16 696117                     05408        /
                                                   76412 4/30/16              19.44 26030 5/26/16 696117                     05408        /
                                                   76412 4/30/16               1.60 26030 5/26/16 696117                     05408        /
                                                   76415 4/30/16           1,127.88 66020 5/26/16 696117                     05408        /
                                                   76415 4/30/16              93.05 66020 5/26/16 696117          29,080.56 05408         /
                                                    **********              76,595.59 ***CORPOR *****CO-280****CORPORATE BUILDING

CO-848 CORPORAT THE CORPORATE IMAGE INC           135407 4/01/16              343.35 16800 5/05/16 693012                        04502   /
                                                  135407 4/01/16               15.07 16800 5/05/16 693012                        04502   /
                                                  135407 4/01/16               29.57 16800 5/05/16 693012              387.99    04502   /
                                                    **********                  387.99 ***CORPORAT*****CO-848****THE CORPORATE   IMAGE INC

*C-373 COSERV    COSERV                         28987022 5/20/16          17,114.68 64100 5/26/16 199459                         05974   5/16
                                                28987022 5/20/16           1,411.96 64100 5/26/16 199459          18,526.64      05974   5/16
                                                28987023 5/20/16          29,780.44 64100 5/26/16 199460                         05974   5/16
                                                28987023 5/20/16           2,456.89 64100 5/26/16 199460          32,237.33      05974   5/16
                                                    **********              50,763.97 ***COSERV ******C-373****COSERV

CU-112 CULLIGAN CULLIGAN                          968835 4/25/16              290.95 64500 5/19/16 694640                        05408    /
                                                  968835 4/25/16                5.79 64500 5/19/16 694640                        05408    /
                                                  968835 4/25/16              242.01 60370 5/19/16 694640                        05408    /
                                                  968835 4/25/16                4.82 60370 5/19/16 694640                        05408    /
                                                  968835 4/25/16               20.58 60370 5/19/16 694640                        05408    /
                                                  968835 4/25/16              183.22 16370 5/19/16 694640                        05408    /
                                                  968835 4/25/16                3.65 16370 5/19/16 694640                        05408    /
                                                  968835 4/25/16               15.58 16370 5/19/16 694640                        05408    /
                                                  968835 4/25/16                 .01- 16370 5/19/16 694640             766.59    05408    /
                                                    **********                  766.59 ***CULLIGAN*****CU-112****CULLIGAN

DA-120 DALLAS    DALLAS POPCORN DISTRS             69040 4/18/16              198.00 24510 5/05/16 693027             198.00 04517    /
                                                    **********                  198.00 ***DALLAS *****DA-120****DALLAS POPCORN DISTRS

DA-198 DALLAS    THE DALLAS TEMPS CORP        EMBASSY023 4/18/16              803.50 26015 5/05/16 693030                     04517       /
                                              EMBASSY023 4/18/16               48.59 26015 5/05/16 693030                     04517       /
                                              EMBASSY024 4/26/16              387.50 26015 5/05/16 693030                     04517       /
                                              EMBASSY024 4/26/16               31.97 26015 5/05/16 693030           1,271.56 04517        /
                                                    **********                1,271.56 ***DALLAS *****DA-198****THE DALLAS TEMPS CORP

DE-061 DESSERT   DESSERT DREAMS INC                59740 4/08/16              540.00 24510 5/05/16 693040              540.00 04760       /
                                                    **********                  540.00 ***DESSERT *****DE-061****DESSERT DREAMS INC

DF-022 DFW       DFW COMMUNICATIONS, INC.     5110027591 4/14/16              287.50 66120 5/05/16 693045                     04517   /
                                              5110027591 4/14/16               23.00 66120 5/05/16 693045             310.50 04517    /
                                                    **********                  310.50 ***DFW    *****DF-022****DFW COMMUNICATIONS, INC.



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APHIST-0158    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                               PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                          DATE
VEND#   ALPHA     NAME                         INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
DF-001 DFWLOCK   DFW LOCKSMITH                       058214 4/28/16               857.34 47050 5/19/16 694656                        05408    /
                                                     058219 4/26/16               185.00 66120 5/19/16 694656                        05408    /
                                                     058219 4/26/16                15.26 66120 5/19/16 694656            1,057.60    05408    /
                                                     058234 5/11/16               254.39 47050 5/26/16 695520                        05041    /
                                                     058235 5/11/16               269.50 66120 5/26/16 695520                        05041    /
                                                     058235 5/11/16                22.23 66120 5/26/16 695520              546.12    05041    /
                                                       **********                 1,603.72 ***DFWLOCK *****DF-001****DFW LOCKSMITH

DI-052 DIRECTV   DIRECTV                         8510065793 5/12/16               221.98 16425 5/20/16 912155                        05821    /
                                                 8510065793 5/12/16                13.86 16425 5/20/16 912155              235.84    05821    /
                                                       **********                   235.84 ***DIRECTV *****DI-052****DIRECTV

DO-167 DORADO    DORADO FINANCE LTD      FOR           1885 4/18/16            4,046.72 26028 5/05/16 693698                     04517        /
                                                       1886 4/18/16            1,200.05 26015 5/05/16 693698                     04517        /
                                                       1903 4/25/16            6,232.35 26028 5/05/16 693698                     04517        /
                                                       1904 4/25/16            1,989.00 26015 5/05/16 693698          13,468.12 04517         /
                                                       1919 5/02/16            7,403.84 26028 5/19/16 695235                     05408        /
                                                       1920 5/02/16              599.25 26015 5/19/16 695235           8,003.09 05408         /
                                                       1943 5/09/16            1,224.00 26015 5/26/16 695538           1,224.00 05041         /
                                                       **********               22,695.21 ***DORADO *****DO-167****DORADO FINANCE LTD         FOR

DO-127 DOW JONE DOW JONES & CO INC                 96698797 4/07/16               292.02 16100 5/05/16 693058              292.02 04517       /
                                                   96704321 5/06/16               283.34 16100 5/26/16 695532              283.34 05041       /
                                                       **********                   575.36 ***DOW JONE*****DO-127****DOW JONES & CO INC

*E-091 ECOL      ECOLAB INC                         1495989 4/11/16                66.25- 66600 5/05/16 197255                       04502   5/16
                                                    1495989 4/11/16                 5.47- 66600 5/05/16 197255                       04502   5/16
                                                    1501694 4/11/16               644.00 66600 5/05/16 197255                        04502   5/16
                                                    1501694 4/11/16                53.13 66600 5/05/16 197255              625.41    04502   5/16
                                                       **********                   625.41 ***ECOL    ******E-091****ECOLAB INC

EC-030 ECORE     ECORE COMMERCIAL FLOORING       NV00047105 4/18/16            8,074.82 01906 5/12/16 694455                     05268   /
                                                 NV00047105 4/18/16            1,521.00 01906 5/12/16 694455                     05268   /
                                                 NV00047105 4/18/16              791.67 01906 5/12/16 694455          10,387.49 05268    /
                                                       **********               10,387.49 ***ECORE  *****EC-030****ECORE COMMERCIAL FLOORING

EC-042 ECOROQ    ECOROQ OF TEXAS LLC                 139202 5/01/16               200.00 47040 5/26/16 695547                     05041       /
                                                     139202 5/01/16                16.50 47040 5/26/16 695547             216.50 05041        /
                                                       **********                   216.50 ***ECOROQ *****EC-042****ECOROQ OF TEXAS LLC

*E-087 ECS       ECS INC / RIPPLEPOINT           *CONSUL 11 5/04/16               107.25 35895 5/12/16 197889             107.25 04109 5/16
                                                       **********                   107.25 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                        19185303     4/20/16          362.26      47040   5/05/16   197227                04502   5/16
                                                   19185303     4/20/16           29.89      47040   5/05/16   197227                04502   5/16
                                                   19185304     4/20/16          944.46      26180   5/05/16   197227                04502   5/16
                                                   19185304     4/20/16           77.92      26180   5/05/16   197227                04502   5/16
                                                   19188784     4/20/16        2,744.68      26180   5/05/16   197227                04502   5/16
                                                   19188784     4/20/16          226.44      26180   5/05/16   197227                04502   5/16
                                                   19200479     4/22/16          118.27      26660   5/05/16   197227                04502   5/16
                                                   19200479     4/22/16           19.12      26660   5/05/16   197227                04502   5/16
                                                   19200479     4/22/16           11.33      26660   5/05/16   197227    4,534.37    04502   5/16
                                                   19228939     4/29/16          352.05      26660   5/19/16   198832                05396   5/16
                                                   19228939     4/29/16           29.04      26660   5/19/16   198832                05396   5/16
                                                   19248238     5/04/16          458.24      47040   5/19/16   198832                05396   5/16
                                                   19248238     5/04/16           37.80      47040   5/19/16   198832                05396   5/16
                                                   19248238     5/04/16           52.87      26860   5/19/16   198832                05396   5/16
                                                   19248238     5/04/16            4.36      26860   5/19/16   198832                05396   5/16
                                                   19248238     5/04/16          139.23      26660   5/19/16   198832                05396   5/16
                                                   19248238     5/04/16           11.49      26660   5/19/16   198832    1,085.08    05396   5/16
                                                   19293445     5/13/16          111.57      26660   5/26/16   199505                05821   5/16
                                                   19293445     5/13/16            9.21      26660   5/26/16   199505                05821   5/16
                                                   19293445     5/13/16          944.46      26180   5/26/16   199505                05821   5/16
                                                   19293445     5/13/16           77.91      26180   5/26/16   199505                05821   5/16




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APHIST-0159    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                19293446 5/13/16               517.32 26180 5/26/16 199505                       05821   5/16
                                                19293446 5/13/16                42.68 26180 5/26/16 199505           1,703.15    05821   5/16
                                                    **********                 7,322.60 ***EDWARD ******D-210****EDWARD DON

EM-009 EMBASSY   HILTON HOTELS CORP           0012161788 4/30/16           18,244.82 02008 5/26/16 912176                        05137    /
                                              0012161788 4/30/16           30,408.03 02007 5/26/16 912176                        05137    /
                                              0012161788 4/30/16           48,652.84 02006 5/26/16 912176           97,305.69    05137    /
                                                    **********               97,305.69 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

EM-089 EMPIRE    EMPIRE BAKING CO                 E53385 4/20/16                71.82 24505 5/05/16 693702                       04517    /
                                                  E53386 4/20/16               295.92 24510 5/05/16 693702                       04517    /
                                                  E53559 4/21/16               261.36 24510 5/05/16 693702                       04517    /
                                                  E53604 4/22/16               349.84 24510 5/05/16 693702                       04517    /
                                                  E53904 4/23/16               143.64 24505 5/05/16 693702                       04517    /
                                                  E54038 4/25/16               278.02 24510 5/05/16 693702                       04517    /
                                                  E54105 4/25/16               427.20 24510 5/05/16 693702                       04517    /
                                                  E54354 4/27/16               123.66 24505 5/05/16 693702                       04517    /
                                                  E54401 4/27/16               871.20 24510 5/05/16 693702                       04517    /
                                                E54105CM 4/25/16                31.15- 24510 5/05/16 693702          2,791.51    04517    /
                                                  E54612 4/29/16               143.64 24510 5/19/16 694686                       05408    /
                                                  E55061 5/02/16                71.82 24505 5/19/16 694686                       05408    /
                                                  E55272 5/03/16               101.64 24510 5/19/16 694686                       05408    /
                                                  E55377 5/04/16                71.82 24505 5/19/16 694686                       05408    /
                                                  E55506 5/04/16               159.72 24510 5/19/16 694686                       05408    /
                                                  E55645 5/05/16                92.50 24505 5/19/16 694686                       05408    /
                                                  E55655 5/06/16               338.78 24510 5/19/16 694686             979.92    05408    /
                                                  E56140 5/09/16                71.82 24505 5/26/16 695552                       05041    /
                                                  E56333 5/10/16                43.56 24510 5/26/16 695552                       05041    /
                                                  E56444 5/11/16                71.82 24505 5/26/16 695552                       05041    /
                                                  E56521 5/11/16               101.64 24510 5/26/16 695552                       05041    /
                                                  E56697 5/13/16               318.16 24510 5/26/16 695552             607.00    05041    /
                                                    **********                 4,378.43 ***EMPIRE *****EM-089****EMPIRE BAKING   CO

FA-294 FACILITY FACILITY SOLUTIONS GROUP       395884601 4/06/16                42.45 66130 5/05/16 693097                      04760   /
                                               395884601 4/06/16                 8.31 66130 5/05/16 693097                      04760   /
                                               395884601 4/06/16                 4.19 66130 5/05/16 693097                      04760   /
                                               395963400 4/06/16               184.31 66130 5/05/16 693097                      04760   /
                                               395963400 4/06/16                 9.95 66130 5/05/16 693097                      04760   /
                                               395963400 4/06/16                16.03 66130 5/05/16 693097              265.24 04760    /
                                               396196201 4/14/16                16.98 66130 5/12/16 694040                      04517   /
                                               396196201 4/14/16                 1.40 66130 5/12/16 694040                      04517   /
                                               397049800 4/18/16               502.64 66130 5/12/16 694040                      04517   /
                                               397049800 4/18/16                 9.95 66130 5/12/16 694040                      04517   /
                                               397049800 4/18/16                42.29 66130 5/12/16 694040              573.26 04517    /
                                               387276800 4/29/16                99.75 66130 5/26/16 695569                      05408   /
                                               387276800 4/29/16                 9.95 66130 5/26/16 695569                      05408   /
                                               387276800 4/29/16                 9.05 66130 5/26/16 695569                      05408   /
                                               397049801 4/27/16                25.47 66130 5/26/16 695569                      05408   /
                                               397049801 4/27/16                 2.10 66130 5/26/16 695569                      05408   /
                                               397894900 5/03/16                48.72 66130 5/26/16 695569                      05408   /
                                               397894900 5/03/16                 9.95 66130 5/26/16 695569                      05408   /
                                               397894900 5/03/16                 4.84 66130 5/26/16 695569              209.83 05408    /
                                                    **********                 1,048.33 ***FACILITY*****FA-294****FACILITY SOLUTIONS GROUP

FA-010 FASTSIGN FASTSIGNS                       39419931 4/28/16               100.00 66550 5/26/16 695560                       05408    /
                                                39419931 4/28/16                 8.25 66550 5/26/16 695560              108.25   05408    /
                                                    **********                   108.25 ***FASTSIGN*****FA-010****FASTSIGNS

FE-097 FEDEX     FEDEX                         538449610 4/14/16               129.67 60590 5/05/16 693855                       04517    /
                                               539219366 4/21/16                96.15 60590 5/05/16 693855             225.82    04517    /
                                               539976112 4/28/16                86.45 60590 5/19/16 695352                       05408    /
                                               540718238 5/05/16                77.90 60590 5/19/16 695352             164.35    05408    /
                                               541467534 5/12/16                52.14 60590 5/26/16 696132              52.14    05041    /
                                                    **********                   442.31 ***FEDEX  *****FE-097****FEDEX

FI-108 FIRE      FIRE & LIFE SAFETY               325097     3/22/16        4,060.00      66110   5/05/16   693705               04502    /




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APHIST-0160    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE      3
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                   325097 3/22/16              334.95 66110 5/05/16 693705                     04502        /
                                                   327988 4/11/16            1,425.00 66110 5/05/16 693705                     04517        /
                                                   327988 4/11/16               65.00 66110 5/05/16 693705                     04517        /
                                                   327988 4/11/16              122.93 66110 5/05/16 693705           6,007.88 04517         /
                                                     **********                6,007.88 ***FIRE   *****FI-108****FIRE & LIFE SAFETY

FI-011 FITNESS   FITNESS SERVICE OF N TX           160932 3/14/16               149.88 66120 5/19/16 694713                      05396   /
                                                   160932 3/14/16                12.37 66120 5/19/16 694713              162.25 05396    /
                                                     **********                   162.25 ***FITNESS *****FI-011****FITNESS SERVICE OF N TX

FI-362 FIVE HIL FIVE HILLS CO INC               042016101 4/20/16            1,515.00 66120 5/19/16 694718                      04517       /
                                                042016101 4/20/16               20.00 66120 5/19/16 694718            1,535.00 04517        /
                                                     **********                1,535.00 ***FIVE HIL*****FI-362****FIVE HILLS CO INC

FR-101 FREEDMAN FREEDMAN FOOD SERVICE INC        55044176 4/20/16              200.23 24510 5/05/16 693125              200.23    04517     /
                                                 55047426 5/05/16              285.12 24510 5/19/16 694729              285.12    05408     /
                                                 55048593 5/12/16            2,587.05 24510 5/26/16 696045            2,587.05    05041     /
                                                     **********                3,072.40 ***FREEDMAN*****FR-101****FREEDMAN FOOD   SERVICE   INC

FR-060 FREEMAN   FREEMAN                       436139M001 4/27/16               135.31 47050 5/05/16 693122              135.31   04517     /
                                                     **********                   135.31 ***FREEMAN *****FR-060****FREEMAN

FR-066 FRESH     FRESH PASTA DELIGHTS               84885 4/23/16               849.00 24510 5/05/16 693123             849.00 04517        /
                                                    85132 5/14/16               217.00 24510 5/26/16 695592             217.00 05041        /
                                                     **********                 1,066.00 ***FRESH  *****FR-066****FRESH PASTA DELIGHTS

FR-025 FRESHPOI FRESHPOINT DALLAS                 2835486 4/06/16              248.50 24510 5/05/16 693710                      04760       /
                                                  2837089 4/07/16            1,287.99 24510 5/05/16 693710                      04760       /
                                                  2837517 4/08/16            1,197.02 16110 5/05/16 693710                      04760       /
                                                  2839617 4/11/16              715.60 24510 5/05/16 693710                      04760       /
                                                  2840362 4/11/16               53.38 24510 5/05/16 693710            3,502.49 04760        /
                                                  2841824 4/13/16            1,038.41 24510 5/12/16 694377                      04760       /
                                                  2844549 4/15/16            1,142.18 24510 5/12/16 694377                      04760       /
                                                  2844550 4/15/16              474.35 24510 5/12/16 694377                      04760       /
                                                  2845974 4/18/16              384.69 16110 5/12/16 694377                      04517       /
                                                  2845975 4/18/16              175.18 24510 5/12/16 694377            3,214.81 04517        /
                                                  2848173 4/20/16            1,105.89 24510 5/19/16 695241                      04517       /
                                                  2849732 4/21/16              637.89 24510 5/19/16 695241                      04517       /
                                                  2850790 4/22/16              983.74 24510 5/19/16 695241                      04517       /
                                                  2850791 4/22/16               48.00 24510 5/19/16 695241                      04517       /
                                                  2851732 4/23/16            1,694.24 24510 5/19/16 695241                      04517       /
                                                 2851732A 4/23/16               53.40- 24510 5/19/16 695241           4,416.36 05408        /
                                                  2854757 4/27/16              831.13 24510 5/26/16 696041                      05408       /
                                                  2854758 4/27/16              277.73 24510 5/26/16 696041                      05408       /
                                                  2856309 4/28/16            1,764.16 24510 5/26/16 696041                      05408       /
                                                  2856780 4/29/16              608.45 24510 5/26/16 696041                      05408       /
                                                  2858422 4/30/16            1,257.72 24510 5/26/16 696041                      05408       /
                                                  2858857 5/02/16              293.41 24510 5/26/16 696041            5,032.60 05408        /
                                                     **********               16,166.26 ***FRESHPOI*****FR-025****FRESHPOINT DALLAS

FR-049 FRIEND    FRIEND EQUIPMENT INC               28293 4/28/16               857.22 66325 5/26/16 695586                     05408       /
                                                    28293 4/28/16                70.72 66325 5/26/16 695586             927.94 05408        /
                                                     **********                   927.94 ***FRIEND *****FR-049****FRIEND EQUIPMENT INC

FR-175 FRISC     FRISCO CHAMBER OF COMMERC          68669 4/15/16               700.00 60310 5/26/16 695594             700.00 05812    /
                                                     **********                   700.00 ***FRISC  *****FR-175****FRISCO CHAMBER OF COMMERC

*F-011 FRISCO    FRISCO EMBASSY SUITES         D047131319     4/29/16           748.26     16140   5/05/16   197274      748.26   04500   5/16
                                               D047132449     4/29/16           118.80     24510   5/05/16   197276               04500   5/16
                                               D047132449     4/29/16           512.22     16140   5/05/16   197276      631.02   04500   5/16
                                               D047133090     4/29/16           180.47     66120   5/05/16   197277               04500   5/16
                                               D047133090     4/29/16            37.00     60070   5/05/16   197277               04500   5/16
                                               D047133090     4/29/16             1.50     45090   5/05/16   197277               04500   5/16




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APHIST-0161   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     4
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                             D047133090 4/29/16                7.99 16870 5/05/16 197277                     04500 5/16
                                             D047133090 4/29/16               54.25 16105 5/05/16 197277             281.21 04500 5/16
                                             D047133947 4/27/16              115.70 66120 5/05/16 197279                     04500 5/16
                                             D047133947 4/27/16               12.87 60550 5/05/16 197279                     04500 5/16
                                             D047133947 4/27/16               40.11 60070 5/05/16 197279                     04500 5/16
                                             D047133947 4/27/16               55.80 47040 5/05/16 197279                     04500 5/16
                                             D047133947 4/27/16               94.24 26865 5/05/16 197279                     04500 5/16
                                             D047133947 4/27/16               56.21 26820 5/05/16 197279                     04500 5/16
                                             D047133947 4/27/16                4.29 16400 5/05/16 197279             379.22 04500 5/16
                                             D047135153 4/27/16            1,440.00 66120 5/05/16 197281                     04500 5/16
                                             D047135153 4/27/16               90.00- 16140 5/05/16 197281                    04500 5/16
                                             D047135153 4/27/16              113.42 14030 5/05/16 197281           1,463.42 04500 5/16
                                             D047138285 4/27/16              703.63 66120 5/05/16 197283                     04500 5/16
                                             D047138285 4/27/16               24.51 26505 5/05/16 197283                     04500 5/16
                                             D047138285 4/27/16               59.76 24510 5/05/16 197283             787.90 04500 5/16
                                             D047138770 4/21/16               22.01 66120 5/05/16 197284                     04500 5/16
                                             D047138770 4/21/16               23.80 60550 5/05/16 197284                     04500 5/16
                                             D047138770 4/21/16               84.00 60070 5/05/16 197284                     04500 5/16
                                             D047138770 4/21/16               19.44 26660 5/05/16 197284                     04500 5/16
                                             D047138770 4/21/16               28.13 16400 5/05/16 197284                     04500 5/16
                                             D047138770 4/21/16                9.85 16105 5/05/16 197284             187.23 04500 5/16
                                             D057135207 5/05/16              135.07 66120 5/19/16 198860                     05390 5/16
                                             D057135207 5/05/16               11.98 60070 5/19/16 198860                     05390 5/16
                                             D057135207 5/05/16                5.40 16850 5/19/16 198860                     05390 5/16
                                             D057135207 5/05/16                2.55 16400 5/19/16 198860             155.00 05390 5/16
                                             D057135795 5/05/16               20.16 24510 5/19/16 198861                     05390 5/16
                                             D057135795 5/05/16              321.00 16140 5/19/16 198861             341.16 05390 5/16
                                             D057131519 5/12/16              400.00 26866 5/26/16 199539                     05813 5/16
                                             D057131519 5/12/16               33.54 26505 5/26/16 199539                     05813 5/16
                                             D057131519 5/12/16              280.80 16140 5/26/16 199539             714.34 05813 5/16
                                             D057132902 5/18/16               23.80 66520 5/26/16 199540                     05813 5/16
                                             D057132902 5/18/16              112.57 66120 5/26/16 199540                     05813 5/16
                                             D057132902 5/18/16               24.38 60550 5/26/16 199540                     05813 5/16
                                             D057132902 5/18/16               16.23 45022 5/26/16 199540                     05813 5/16
                                             D057132902 5/18/16               96.40 26865 5/26/16 199540             273.38 05813 5/16
                                             D057137110 5/18/16              920.13 66120 5/26/16 199542                     05813 5/16
                                             D057137110 5/18/16            1,400.00 45028 5/26/16 199542                     05813 5/16
                                             D057137110 5/18/16              400.00 30460 5/26/16 199542           2,720.13 05813 5/16
                                             D057139492 5/12/16               78.85 66250 5/26/16 199544                     05813 5/16
                                             D057139492 5/12/16              127.98 66120 5/26/16 199544                     05813 5/16
                                             D057139492 5/12/16               19.60 16870 5/26/16 199544             226.43 05813 5/16
                                                   **********                8,908.70 ***FRISCO ******F-011****FRISCO EMBASSY SUITES

GI-118 GIRVIN    GIRVIN MARKETING CO INC          12816 5/10/16               103.50 62251 5/26/16 695601                     05041   /
                                                  12816 5/10/16                 5.00 62251 5/26/16 695601             108.50 05041    /
                                                   **********                   108.50 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC

GO-164 GOURMET   GOURMET TABLE SKIRTS            150203 5/02/16               595.00 26500 5/26/16 695607                        05408    /
                                                 150203 5/02/16                28.21 26500 5/26/16 695607                        05408    /
                                                 150203 5/02/16                51.41 26500 5/26/16 695607              674.62    05408    /
                                                   **********                   674.62 ***GOURMET *****GO-164****GOURMET TABLE   SKIRTS

GR-075 GRAINGER GRAINGER                     9074682940     4/06/16            11.04     66120   5/05/16   693161                04517    /
                                             9074682940     4/06/16              .91     66120   5/05/16   693161       11.95    04517    /
                                             9080622823     4/13/16           224.72     66200   5/12/16   694087                04517    /
                                             9080622823     4/13/16            18.54     66200   5/12/16   694087                04517    /
                                             9080622831     4/13/16            53.89     66200   5/12/16   694087                04517    /
                                             9080622831     4/13/16             4.45     66200   5/12/16   694087                04517    /
                                             9080622849     4/13/16             7.03     66250   5/12/16   694087                04517    /
                                             9080622849     4/13/16              .57     66250   5/12/16   694087                04517    /
                                             9081597073     4/14/16           176.46     66160   5/12/16   694087                04517    /
                                             9081597073     4/14/16            14.56     66160   5/12/16   694087                04517    /
                                             9081597081     4/14/16            58.82     66160   5/12/16   694087                04517    /
                                             9081597081     4/14/16             4.86     66160   5/12/16   694087                04517    /
                                             9082668105     4/14/16           213.44     66160   5/12/16   694087                04517    /
                                             9082668105     4/14/16            17.61     66160   5/12/16   694087      794.95    04517    /
                                             9095165537     4/27/16            96.72     66160   5/26/16   695616                05408    /
                                             9095165537     4/27/16             7.99     66160   5/26/16   695616                05408    /
                                             9095165545     4/27/16           417.35     66200   5/26/16   695616                05408    /




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APHIST-0162    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     5
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              9095165545 4/27/16               28.17 66200 5/26/16 695616                       05408    /
                                              9095165552 4/27/16               89.95 66160 5/26/16 695616                       05408    /
                                              9095165552 4/27/16                7.42 66160 5/26/16 695616                       05408    /
                                              9095165586 4/27/16              213.44- 66160 5/26/16 695616                      05408    /
                                              9095165586 4/27/16               17.61- 66160 5/26/16 695616                      05408    /
                                              9095610318 4/27/16               37.36 66120 5/26/16 695616                       05408    /
                                              9095610318 4/27/16                3.09 66120 5/26/16 695616                       05408    /
                                              9095610326 4/27/16               50.29 66160 5/26/16 695616                       05408    /
                                              9095610326 4/27/16                4.15 66160 5/26/16 695616                       05408    /
                                              9095748464 4/27/16               68.52 66160 5/26/16 695616                       05408    /
                                              9095748464 4/27/16                5.65 66160 5/26/16 695616              585.61   05408    /
                                                    **********                1,392.51 ***GRAINGER*****GR-075****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7304495 4/05/16              77.00 16400 5/05/16 197303                     04502      5/16
                                                 7304495 4/05/16               6.35 16400 5/05/16 197303                     04502      5/16
                                                 7316689 4/08/16             349.86 16850 5/05/16 197303                     04502      5/16
                                                 7316689 4/08/16              28.88 16850 5/05/16 197303                     04502      5/16
                                                 7316689 4/08/16              86.79 16250 5/05/16 197303                     04502      5/16
                                                 7316689 4/08/16               7.16 16250 5/05/16 197303                     04502      5/16
                                                 7316690 4/08/16             686.40 16400 5/05/16 197303                     04502      5/16
                                                 7316690 4/08/16              54.19 16400 5/05/16 197303                     04502      5/16
                                                 7316690 4/08/16             320.74 16250 5/05/16 197303                     04502      5/16
                                                 7316690 4/08/16              25.32 16250 5/05/16 197303                     04502      5/16
                                                 7316698 4/08/16             148.50 16500 5/05/16 197303                     04502      5/16
                                                 7316698 4/08/16              12.26 16500 5/05/16 197303                     04502      5/16
                                                 7330470 4/14/16             513.97 16850 5/05/16 197303                     04502      5/16
                                                 7330470 4/14/16              42.40 16850 5/05/16 197303                     04502      5/16
                                                 7331253 4/14/16             691.03 16250 5/05/16 197303                     04502      5/16
                                                 7331253 4/14/16              57.00 16250 5/05/16 197303                     04502      5/16
                                                 7331254 4/14/16             818.68 16400 5/05/16 197303                     04502      5/16
                                                 7331254 4/14/16              64.64 16400 5/05/16 197303                     04502      5/16
                                                 7331317 4/14/16              77.00 16400 5/05/16 197303                     04502      5/16
                                                 7331317 4/14/16               6.35 16400 5/05/16 197303                     04502      5/16
                                                 7331344 4/14/16              15.89 47040 5/05/16 197303                     04502      5/16
                                                 7331344 4/14/16               1.31 47040 5/05/16 197303                     04502      5/16
                                                 7337304 4/18/16             230.75 47040 5/05/16 197303                     04502      5/16
                                                 7337304 4/18/16              19.04 47040 5/05/16 197303                     04502      5/16
                                                 7337580 4/18/16              31.14 47040 5/05/16 197303                     04502      5/16
                                                 7337580 4/18/16               2.57 47040 5/05/16 197303                     04502      5/16
                                                 7338112 4/18/16             157.16 47040 5/05/16 197303                     04502      5/16
                                                 7338112 4/18/16               4.10 47040 5/05/16 197303                     04502      5/16
                                                 7338112 4/18/16              13.30 47040 5/05/16 197303                     04502      5/16
                                                 7348680 4/21/16             433.59 16400 5/05/16 197303                     04502      5/16
                                                 7348680 4/21/16              35.78 16400 5/05/16 197303                     04502      5/16
                                                 7348680 4/21/16             247.96 16200 5/05/16 197303                     04502      5/16
                                                 7348680 4/21/16              20.46 16200 5/05/16 197303                     04502      5/16
                                                 7348681 4/21/16             938.73 16400 5/05/16 197303                     04502      5/16
                                                 7348681 4/21/16              67.02 16400 5/05/16 197303                     04502      5/16
                                                 7348681 4/21/16             554.69 16250 5/05/16 197303                     04502      5/16
                                                 7348681 4/21/16              39.59 16250 5/05/16 197303                     04502      5/16
                                                 7351615 4/22/16           1,126.46 16500 5/05/16 197303                     04502      5/16
                                                 7351615 4/22/16              92.95 16500 5/05/16 197303           8,107.01 04502       5/16
                                                 7285640 3/29/16             468.90 16400 5/19/16 198877                     05396      5/16
                                                 7285640 3/29/16              38.69 16400 5/19/16 198877                     05396      5/16
                                                 7285640 3/29/16              70.67 16200 5/19/16 198877                     05396      5/16
                                                 7285640 3/29/16               5.83 16200 5/19/16 198877                     05396      5/16
                                                 7315867 4/08/16              34.90 16850 5/19/16 198877                     05396      5/16
                                                 7315867 4/08/16               2.88 16850 5/19/16 198877                     05396      5/16
                                                 7332549 4/14/16              31.14 47040 5/19/16 198877                     05396      5/16
                                                 7332549 4/14/16               2.57 47040 5/19/16 198877             655.58 05396       5/16
                                                 7380314 5/05/16             395.49 47040 5/26/16 199554                     05821      5/16
                                                 7380314 5/05/16              32.65 47040 5/26/16 199554             428.14 05821       5/16
                                                    **********               9,190.73 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

GU-114 GUHR REN GUHR RENOVATIONS LLC                 398 4/29/16          20,484.02 01906 5/19/16 695337           20,484.02 05667       /
                                                     401 5/10/16           1,689.93 01906 5/26/16 696121            1,689.93 05867       /
                                                    **********              22,173.95 ***GUHR REN*****GU-114****GUHR RENOVATIONS LLC

HA-159 HANS      HANS CHOCOLATIER                 171895 4/20/16              100.00 24510 5/05/16 693181             100.00 04517       /
                                                    **********                  100.00 ***HANS   *****HA-159****HANS CHOCOLATIER



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APHIST-0163    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE       INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
HB-005 HBM       HBM SUPPLY OF TEXAS INC            20725 4/20/16               262.14 47051 5/19/16 694784                       04517   /
                                                    20725 4/20/16                25.00 47051 5/19/16 694784                       04517   /
                                                    20725 4/20/16                23.69 47051 5/19/16 694784             310.83    04517   /
                                                     **********                   310.83 ***HBM    *****HB-005****HBM SUPPLY OF   TEXAS INC

*H-297 HD SUPP   HD SUPPLY FACILITIES          9144779242 4/04/16                89.20 66120 5/05/16 197354                      04502    5/16
                                               9144779242 4/04/16                 7.36 66120 5/05/16 197354               96.56 04502     5/16
                                               9145254703 4/22/16               109.63 66600 5/19/16 198914                      05396    5/16
                                               9145254703 4/22/16                 9.04 66600 5/19/16 198914              118.67 05396     5/16
                                                     **********                   215.23 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

HE-048 HEARTLAN HEARTLAND FOOD PRODUCTS        12HFP01279 5/09/16               108.36 16110 5/26/16 695643              108.36 05041    /
                                                     **********                   108.36 ***HEARTLAN*****HE-048****HEARTLAND FOOD PRODUCTS

*H-175 HILTON    HILTON HOTELS CORPORATION     0012153702 4/13/16              319.56 62625 5/05/16 197337                        04502 5/16
                                               0012155006 4/19/16              590.00 85410 5/05/16 197337                        04272 5/16
                                               0012155006 4/19/16               48.68 85410 5/05/16 197337                        04272 5/16
                                               0012155006 4/19/16            1,566.55 16700 5/05/16 197337                        04272 5/16
                                               0012155006 4/19/16              129.24 16700 5/05/16 197337           2,654.03     04272 5/16
                                                   658624 4/30/16              821.56 62625 5/19/16 198904                        05391 5/16
                                                   658624 4/30/16           27,937.11 62249 5/19/16 198904                        05391 5/16
                                                 16787032 4/25/16              179.67 16105 5/19/16 198904          28,938.34     05396 5/16
                                               0012159913 4/30/16              577.50- 62841 5/26/16 199581                       05812 5/16
                                               0012165318 4/30/16            4,817.27 62625 5/26/16 199581                        05812 5/16
                                               0012165318 4/30/16            4,262.88 62200 5/26/16 199581                        05812 5/16
                                               0012165318 4/30/16           18,036.16 16300 5/26/16 199581                        05812 5/16
                                               0012168401 5/10/16            6,772.48 62650 5/26/16 199581          33,311.29     05812 5/16
                                                     **********               64,903.66 ***HILTON ******H-175****HILTON HOTELS    CORPORATION

HO-009 HOBART    HOBART SERVICE                  90554434 4/12/16               726.63 66202 5/05/16 693196                      04517     /
                                                 90554434 4/12/16                59.95 66202 5/05/16 693196             786.58 04517       /
                                                     **********                   786.58 ***HOBART *****HO-009****HOBART SERVICE

HO-762 HOSPITAL HOSPITALITY STAFFING               236973 4/22/16            1,454.93 26028 5/05/16 693216            1,454.93 04517       /
                                                   237915 4/29/16            1,681.96 26028 5/19/16 695259                      05408      /
                                                   238785 5/06/16            1,746.53 26028 5/19/16 695259            3,428.49 05408       /
                                                     **********                4,883.42 ***HOSPITAL*****HO-762****HOSPITALITY STAFFING

*I-041 IKON      IKON/RICOH SERVICES             96705124 5/10/16               833.74 60370 5/06/16 197713                     05067     5/16
                                                 96705124 5/10/16                68.79 60370 5/06/16 197713             902.53 05067      5/16
                                                     **********                   902.53 ***IKON   ******I-041****IKON/RICOH SERVICES

IN-038 INDUSTRI INDUSTRIAL SOLUTIONS CO              1076 4/14/16               339.84 26660 5/19/16 694811                      05396   /
                                                     1076 4/14/16                28.04 26660 5/19/16 694811              367.88 05396    /
                                                     **********                   367.88 ***INDUSTRI*****IN-038****INDUSTRIAL SOLUTIONS CO

*I-059 ISLAM     RUBINA ISLAM                       42616 4/26/16               238.85 62505 5/12/16 198590             238.85    05391   5/16
                                                    50616 5/06/16               179.82 62830 5/20/16 199227             179.82    05812   5/16
                                                     **********                   418.67 ***ISLAM  ******I-059****RUBINA ISLAM

*R-209 JOHN      JOHNNIE B ROGERS              **PERMIT09 5/08/16               185.00 60110 5/12/16 198435             185.00 04109      5/16
                                                     **********                   185.00 ***JOHN   ******R-209****JOHNNIE B ROGERS

*J-231 JQH ACC   JQH ACCOUNTING SERVICES       *ACCT16 04 4/30/16            5,375.00 60116 5/12/16 198258            5,375.00 04109 5/16
                                                     **********                5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT        JINS0516       5/24/16          981.68      66060   5/24/16   199267               00000   5/16
                                               JINS0516       5/24/16        1,330.08      62060   5/24/16   199267               00000   5/16
                                               JINS0516       5/24/16          977.94      60060   5/24/16   199267               00000   5/16
                                               JINS0516       5/24/16           27.04      30060   5/24/16   199267               00000   5/16
                                               JINS0516       5/24/16        2,887.75      26060   5/24/16   199267               00000   5/16




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APHIST-0164    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              JINS0516    5/24/16           4,442.88 16060 5/24/16 199267          10,647.37 00000 5/16
                                                    **********               10,647.37 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0516    5/26/16             310.66 35901 5/26/16 912177                        00000    /
                                              122A0516    5/26/16              75.00 35890 5/26/16 912177                        00000    /
                                              122A0516    5/26/16           1,590.37 35030 5/26/16 912177                        00000    /
                                              122A0516    5/26/16           3,065.40 35026 5/26/16 912177                        00000    /
                                              122A0516    5/26/16           1,783.98 30460 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             312.69 02005 5/26/16 912177                        00000    /
                                              122A051601 5/26/16            2,669.98 60560 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               66.09 60520 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               14.38 60320 5/26/16 912177                        00000    /
                                              122A051601 5/26/16                9.12 60115 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              506.66 60070 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               47.62 60061 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              558.57 47082 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              336.14 60870 5/26/16 912177                        00000    /
                                              122A051602 5/26/16            2,655.79 60860 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               94.15 60856 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              469.68 60730 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              310.58 60721 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               77.61 60720 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              136.39 60590 5/26/16 912177                        00000    /
                                              122A051603 5/26/16            2,334.54 85215 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              375.35- 84035 5/26/16 912177                       00000    /
                                              122A051603 5/26/16               25.50 66100 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              100.00 64700 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              169.00 62870 5/26/16 912177                        00000    /
                                              122A051603 5/26/16               15.00 62860 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              807.12 62380 5/26/16 912177                        00000    /
                                              122B0516    5/26/16           2,601.08 60880 5/26/16 912177           20,767.75    00000    /
                                                    **********               20,767.75 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0516    5/24/16           1,698.43 66060 5/24/16 199336                     00000      5/16
                                              JINS0516    5/24/16           6,692.08 62060 5/24/16 199336                     00000      5/16
                                              JINS0516    5/24/16           4,503.10 60060 5/24/16 199336                     00000      5/16
                                              JINS0516    5/24/16           8,840.70 26060 5/24/16 199336                     00000      5/16
                                              JINS0516    5/24/16          11,791.25 16060 5/24/16 199336          33,525.56 00000       5/16
                                                    **********               33,525.56 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  04 5/05/16               446.53 66900 5/12/16 198209              446.53   04109 5/16
                                                    **********                   446.53 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-024 JQHHM     JQHHM REG.   ALLOCATIONS     *RDS16  04 5/05/16            2,196.41 62900 5/12/16 198035           2,196.41 04109 5/16
                                              *RVP15  04 5/05/16            3,640.05 60900 5/12/16 198040           3,640.05 04109 5/16
                                                    **********                5,836.46 ***JQHHM  ******J-024****JQHHM REG. ALLOCATIONS

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  04 5/05/16            4,446.28 16900 5/12/16 198059           4,446.28 04109 5/16
                                                    **********                4,446.28 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *ARM16  04 5/05/16              449.87 62900 5/12/16 198094             449.87 04109 5/16
                                              *DSA16  02 5/05/16              463.44 62900 5/12/16 198099             463.44 04109 5/16
                                              *RMA16  04 5/05/16              294.76 62900 5/12/16 198108             294.76 04109 5/16
                                              *BRM16  04 5/05/16            1,092.32 62900 5/12/16 198129           1,092.32 04109 5/16
                                              *EC16   04 5/05/16              493.36 62900 5/12/16 198134             493.36 04109 5/16
                                              *RPM16  03 5/05/16              281.70 66900 5/12/16 198143             281.70 04109 5/16
                                              *DRM16  04 5/05/16              769.87 62900 5/12/16 198164             769.87 04109 5/16
                                              *FM16   03 5/05/16              420.79 66900 5/12/16 198169             420.79 04109 5/16
                                                    **********                4,266.11 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT041604 4/30/16           39,067.32 02013 5/12/16 694461           39,067.32    00000    /
                                                    **********               39,067.32 ***JQHHM LL*****JQ-003****JQHHM LLC

KA-043 KAMCO     KAMCO HOSE & PIPE                072058     4/18/16           105.40     66120   5/19/16   694840               05408    /




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APHIST-0165    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     3
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                   072058 4/18/16                17.46 66120 5/19/16 694840                     05408      /
                                                   072058 4/18/16                10.14 66120 5/19/16 694840             133.00 05408       /
                                                     **********                   133.00 ***KAMCO  *****KA-043****KAMCO HOSE & PIPE

KA-154 KARCH     KARCHER NORTH AMERICA         5331968436 4/05/16               279.34 16850 5/05/16 693263                       04517   /
                                               5331968436 4/05/16                 7.08 16850 5/05/16 693263                       04517   /
                                               5331968436 4/05/16                23.63 16850 5/05/16 693263             310.05    04517   /
                                                     **********                   310.05 ***KARCH  *****KA-154****KARCHER NORTH   AMERICA

*K-202 KELLEY    ANGELA KELLEY                      41916 4/19/16                10.90 66100 5/05/16 197400                     04502     5/16
                                                    41916 4/19/16                41.47 60720 5/05/16 197400                     04502     5/16
                                                    41916 4/19/16               123.38 60070 5/05/16 197400             175.75 04502      5/16
                                                     **********                   175.75 ***KELLEY ******K-202****ANGELA KELLEY

*K-071 KRASA     NICOLE KRASA-BUVARI                41816 4/18/16               106.49 60320 5/05/16 197394             106.49 04502      5/16
                                                    51716 5/17/16               348.70 60070 5/20/16 199228             348.70 05812      5/16
                                                     **********                   455.19 ***KRASA  ******K-071****NICOLE KRASA-BUVARI

*K-244 KRASNOSL EVGENIYA KRASNOSLOBODTSEV           51016 5/10/16                39.83 26865 5/20/16 199229               39.83 05812 5/16
                                                     **********                    39.83 ***KRASNOSL******K-244****EVGENIYA KRASNOSLOBODTSEV

LA-069 LA SPIGA LA SPIGA BAKERY INC                180917 4/07/16               117.63 24510 5/05/16 693282                      04760     /
                                                   181058 4/09/16               153.77 24510 5/05/16 693282              271.40 04760      /
                                                   181283 4/13/16                63.75 24510 5/12/16 694144                      04760     /
                                                   181425 4/15/16                14.25 24510 5/12/16 694144                      04760     /
                                                   181458 4/15/16               120.48 24510 5/12/16 694144                      04760     /
                                                   181538 4/18/16                80.79 24510 5/12/16 694144              279.27 04517      /
                                                   181736 4/20/16               154.52 24510 5/19/16 694849                      04517     /
                                                   181869 4/22/16               268.65 24510 5/19/16 694849                      04517     /
                                                   182056 4/25/16               156.60 24510 5/19/16 694849              579.77 04517      /
                                                   182474 5/02/16               170.25 24510 5/26/16 695709                      05408     /
                                                   182518 5/03/16               223.20 24510 5/26/16 695709              393.45 05408      /
                                                     **********                 1,523.89 ***LA SPIGA*****LA-069****LA SPIGA BAKERY INC

LA-202 LANYON S LANYON SOLUTIONS INC             SC932814 4/21/16            1,621.80 62625 5/19/16 694853            1,621.80 05408       /
                                                     **********                1,621.80 ***LANYON S*****LA-202****LANYON SOLUTIONS INC

LA-147 LAS       LAS COLINAS PRINTING &             53657 4/21/16                74.00 60552 5/19/16 694852                     04517    /
                                                    53657 4/21/16                 6.11 60552 5/19/16 694852              80.11 04517     /
                                                     **********                    80.11 ***LAS    *****LA-147****LAS COLINAS PRINTING &

LE-217 LESLIE    LESLIE'S SWIMMNG POOL SUP      419412737 3/14/16               120.00 66600 5/05/16 693290                     04502      /
                                                419412737 3/14/16                 7.84 66600 5/05/16 693290                     04502      /
                                                419415676 4/20/16                82.95 66600 5/05/16 693290                     04517      /
                                                419415676 4/20/16                 6.84 66600 5/05/16 693290             217.63 04517       /
                                                419416463 4/29/16                40.79 66600 5/19/16 694862                     05408      /
                                                419416463 4/29/16                 3.37 66600 5/19/16 694862              44.16 05408       /
                                                     **********                   261.79 ***LESLIE *****LE-217****LESLIE'S SWIMMNG POOL    SUP

LO-068 LONE      LONE STAR PAINT LLP             00131294 5/03/16                21.95 66500 5/19/16 694871                     05408      /
                                                 00131294 5/03/16                 1.81 66500 5/19/16 694871              23.76 05408       /
                                                 00131460 5/09/16                75.65 66500 5/26/16 695726                     05408      /
                                                 00131460 5/09/16                 6.24 66500 5/26/16 695726              81.89 05408       /
                                                     **********                   105.65 ***LONE   *****LO-068****LONE STAR PAINT LLP

*L-112 LUNDT     RICHARD LUNDT                      42616 4/26/16               397.47 60719 5/05/16 197410                     04230     5/16
                                                    42616 4/26/16                25.00 60719 5/05/16 197410                     04230     5/16
                                                    42616 4/26/16               337.88 60719 5/05/16 197410             760.35 04230      5/16
                                                     **********                   760.35 ***LUNDT  ******L-112****RICHARD LUNDT

MA-269 MAGNUS    MAGNUS MOBILITY SYSTEMS          1134008     5/02/16           400.00     66202   5/26/16   695743               05408    /




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APHIST-0166    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     4
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                  1134008 5/02/16               73.56 66202 5/26/16 695743                     05408   /
                                                  1134008 5/02/16               39.08 66202 5/26/16 695743             512.64 05408    /
                                                     **********                  512.64 ***MAGNUS *****MA-269****MAGNUS MOBILITY SYSTEMS

*M-024 MARSH     MARSH USA INC                 INSA041601 5/05/16           3,854.24 01311 5/12/16 198318           3,854.24 00000      5/16
                                               INSA041602 5/05/16           3,301.00 02120 5/12/16 198360                     00000     5/16
                                               INSA041602 5/05/16           5,240.00 01310 5/12/16 198360           8,541.00 00000      5/16
                                                     **********              12,395.24 ***MARSH  ******M-024****MARSH USA INC

MC-121 MCVEI     MCVEIGH ASSOCIATES LTD         MP10COMM1 4/18/16              625.80 62625 5/05/16 693325             625.80 04517     /
                                                     **********                  625.80 ***MCVEI  *****MC-121****MCVEIGH ASSOCIATES LTD

MI-172 MID AM    MID AMERICA METALS INC         0129467IN 5/01/16              409.24 66120 5/19/16 694906                     05408    /
                                                0129467IN 5/01/16               33.76 66120 5/19/16 694906             443.00 05408     /
                                                     **********                  443.00 ***MID AM *****MI-172****MID AMERICA METALS INC

MI-269 MINUTEMA MINUTEMAN PRESS                     13110 5/03/16               45.00 62300 5/19/16 694907                      05408    /
                                                    13110 5/03/16                3.71 62300 5/19/16 694907               48.71 05408     /
                                                     **********                   48.71 ***MINUTEMA*****MI-269****MINUTEMAN PRESS

MU-100 MUZAK     MUZAK LLC                       52369675 5/01/16              155.34 16805 5/05/16 911995                      05003    /
                                                 52369675 5/01/16                5.97 16805 5/05/16 911995                      05003    /
                                                 52391539 5/01/16               76.44 16805 5/05/16 911995             237.75   05003    /
                                                     **********                  237.75 ***MUZAK  *****MU-100****MUZAK LLC

NE-306 NECA      TEXAS USF                     TXUS0516    5/12/16              14.45 35901 5/13/16 912090              14.45   00000    /
                                                     **********                   14.45 ***NECA   *****NE-306****TEXAS USF

NE-206 NEW YORK NEW YORK BAGEL CAFE                164768 4/18/16              113.80 24510 5/05/16 693365                      04517    /
                                                   164808 4/19/16              118.80 24505 5/05/16 693365                      04517    /
                                                   164854 4/20/16               79.20 24505 5/05/16 693365              311.80 04517     /
                                                     **********                  311.80 ***NEW YORK*****NE-206****NEW YORK BAGEL CAFE

*N-090 NOR1      NOR1 INC                       INV212307 4/30/16              401.55 16105 5/19/16 199013             401.55   05396   5/16
                                                     **********                  401.55 ***NOR1   ******N-090****NOR1 INC

OA-015 OAK       OAK FARMS DAIRY                  1338340 4/19/16              116.25 16110 5/05/16 693366                     04517     /
                                                  1349599 4/26/16               46.50 16110 5/05/16 693366             162.75 04517      /
                                                  1360850 5/03/16               69.75 16110 5/19/16 694942              69.75 05408      /
                                                  1372388 5/10/16               69.75 16110 5/26/16 695784              69.75 05041      /
                                                     **********                  302.25 ***OAK    *****OA-015****OAK FARMS DAIRY

OR-126 ORION     ORION                              58722 4/15/16           3,680.00 01906 5/19/16 695274                       05667    /
                                                    58722 4/15/16             516.00 01906 5/19/16 695274           4,196.00    05667    /
                                                     **********               4,196.00 ***ORION  *****OR-126****ORION

PE-074 PELLER    PELLERIN LAUNDRY MACH INC      INV302862 4/26/16           1,559.94 66275 5/19/16 695277                     05408      /
                                                INV302862 4/26/16             128.65 66275 5/19/16 695277                     05408      /
                                                INV303300 5/05/16           2,571.86 66275 5/19/16 695277                     05408      /
                                                INV303300 5/05/16             212.15 66275 5/19/16 695277           4,472.60 05408       /
                                                INV303421 5/09/16             340.00 66275 5/26/16 696067                     05041      /
                                                INV303421 5/09/16              28.05 66275 5/26/16 696067                     05041      /
                                                INV303453 5/09/16             473.15 66275 5/26/16 696067                     05041      /
                                                INV303453 5/09/16              17.82 66275 5/26/16 696067                     05041      /
                                                INV303453 5/09/16              40.50 66275 5/26/16 696067             899.52 05041       /
                                                     **********               5,372.12 ***PELLER *****PE-074****PELLERIN LAUNDRY MACH    INC

PE-171 PEPSI     PEPSI-COLA                      29235601 4/15/16              181.35 16105 5/05/16 693863             181.35   04517    /
                                                     **********                  181.35 ***PEPSI  *****PE-171****PEPSI-COLA




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APHIST-0167    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
PE-112 PETALS    PETALS, A FLORIST                 011022 4/22/16              100.00 60070 5/05/16 693395                     04517       /
                                                   011022 4/22/16               15.00 60070 5/05/16 693395                     04517       /
                                                   011022 4/22/16                9.49 60070 5/05/16 693395             124.49 04517        /
                                                    11035 4/22/16               44.00 47050 5/19/16 694968                     05408       /
                                                    11035 4/22/16               13.00 47050 5/19/16 694968                     05408       /
                                                    11035 4/22/16                 .37 99999 5/19/16 694968                     05408       /
                                                    11036 4/22/16               33.00 47050 5/19/16 694968                     05408       /
                                                    11036 4/22/16               13.00 47050 5/19/16 694968                     05408       /
                                                    11036 4/22/16                 .55 99999 5/19/16 694968                     05408       /
                                                    11044 4/22/16              347.00 47050 5/19/16 694968                     05408       /
                                                    11044 4/22/16               13.00 47050 5/19/16 694968                     05408       /
                                                    11044 4/22/16                 .47 99999 5/19/16 694968                     05408       /
                                                   011084 5/02/16              150.00 60070 5/19/16 694968                     05408       /
                                                   011084 5/02/16               13.00 60070 5/19/16 694968                     05408       /
                                                   011084 5/02/16               13.45 60070 5/19/16 694968             640.84 05408        /
                                                     **********                  765.33 ***PETALS *****PE-112****PETALS, A FLORIST

*P-329 PHILLIPS SCOTT PHILLIPS                      42116 4/21/16              119.80 62501 5/05/16 197480              119.80 04502      5/16
                                                     **********                  119.80 ***PHILLIPS******P-329****SCOTT PHILLIPS

PL-043 PLANT     PLANT CARE CO                       6829 5/01/16           1,949.87 66450 5/19/16 695279                     05408        /
                                                     6829 5/01/16             160.86 66450 5/19/16 695279           2,110.73 05408         /
                                                     **********               2,110.73 ***PLANT  *****PL-043****PLANT CARE CO

PL-046 PLANTS    PLANTS IN DESIGN                    2773 4/07/16           1,180.41 66460 5/05/16 693402                     04760        /
                                                     2773 4/07/16              97.38 66460 5/05/16 693402           1,277.79 04760         /
                                                     **********               1,277.79 ***PLANTS *****PL-046****PLANTS IN DESIGN

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         736944 4/06/16              175.00 16400 5/05/16 693407                     04760   /
                                                   736944 4/06/16               20.98 16400 5/05/16 693407             195.98 04760    /
                                                     **********                  195.98 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PL-056 PLUMBMAS PLUMBMASTER INC                2001406355 4/13/16               13.79 66250 5/12/16 694213                      04517      /
                                               2001406355 4/13/16                6.99 66250 5/12/16 694213                      04517      /
                                               2001406355 4/13/16                1.71 66250 5/12/16 694213                      04517      /
                                               2001408848 4/18/16              167.99 66202 5/12/16 694213                      04517      /
                                               2001408848 4/18/16               14.04 66202 5/12/16 694213                      04517      /
                                               2001408848 4/18/16               15.02 66202 5/12/16 694213              219.54 04517       /
                                               2001413747 4/26/16               20.23 66250 5/19/16 694973                      05408      /
                                               2001413747 4/26/16                6.99 66250 5/19/16 694973                      05408      /
                                               2001413747 4/26/16                2.25 66250 5/19/16 694973               29.47 05408       /
                                               2001417441 5/02/16              318.67 66250 5/26/16 695816                      05408      /
                                               2001417441 5/02/16               16.30 66250 5/26/16 695816                      05408      /
                                               2001417441 5/02/16               27.63 66250 5/26/16 695816                      05408      /
                                               2001418313 5/03/16              445.15 66250 5/26/16 695816                      05041      /
                                               2001418313 5/03/16               11.56 66250 5/26/16 695816                      05041      /
                                               2001418313 5/03/16               37.67 66250 5/26/16 695816              856.98 05041       /
                                                     **********                1,105.99 ***PLUMBMAS*****PL-056****PLUMBMASTER INC

PO-173 POLK      POLK MECHANICAL COMPANY           114864 4/11/16              285.00 66250 5/05/16 693418                     04760   /
                                                   114864 4/11/16               70.00 66250 5/05/16 693418                     04760   /
                                                   114864 4/11/16               29.29 66250 5/05/16 693418             384.29 04760    /
                                                   115094 4/28/16              447.50 66250 5/26/16 695824                     05408   /
                                                   115094 4/28/16               36.93 66250 5/26/16 695824             484.43 05408    /
                                                     **********                  868.72 ***POLK   *****PO-173****POLK MECHANICAL COMPANY

PR-584 PREC      PRECOR                        4519915882 4/07/16              712.73 01906 5/19/16 695344                        05667    /
                                               4519915882 4/07/16               58.80 01906 5/19/16 695344                        05667    /
                                               4519997262 4/20/16               50.00- 01906 5/19/16 695344                       05667    /
                                               4519997262 4/20/16                4.13- 01906 5/19/16 695344              717.40   05667    /
                                                     **********                  717.40 ***PREC    *****PR-584****PRECOR

RE-514 REEDER    REEDER DISTRIBUTORS INC          1064209 5/02/16              736.78 66110 5/26/16 695850             736.78 05041    /
                                                     **********                  736.78 ***REEDER *****RE-514****REEDER DISTRIBUTORS INC




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                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*R-333 RICHTER   CHRIS RICHTER OR EMBASSY     D047133672 4/27/16              200.00 30078 5/05/16 197514                200.00    04500 5/16
                                              D057131158 5/05/16              200.00 30078 5/19/16 199057                200.00    05390 5/16
                                              D057131835 5/18/16              200.00 30078 5/26/16 199705                200.00    05813 5/16
                                              D057137186 5/12/16              200.00 30078 5/26/16 199706                200.00    05813 5/16
                                                    **********                  800.00 ***RICHTER ******R-333****CHRIS   RICHTER   OR EMBASSY

RI-092 RICO      RICOH USA INC                5041382446 4/01/16               33.85 60370 5/05/16 693462                          04517    /
                                              5041382446 4/01/16                2.79 60370 5/05/16 693462              36.64       04517    /
                                              1062370488 4/25/16              639.89 60551 5/19/16 695011                          05408    /
                                              1062370488 4/25/16               51.20 60551 5/19/16 695011                          05408    /
                                              1062402022 4/26/16              852.17 60551 5/19/16 695011                          05408    /
                                              1062402022 4/26/16               70.30 60551 5/19/16 695011                          05408    /
                                              5041680827 4/22/16              305.61 60370 5/19/16 695011                          05408    /
                                              5041680827 4/22/16               25.20 60370 5/19/16 695011                          05408    /
                                              5041729777 4/26/16               16.24 60370 5/19/16 695011                          05408    /
                                              5041729777 4/26/16                1.34 60370 5/19/16 695011           1,961.95       05408    /
                                              5041858912 5/01/16               31.18 60370 5/26/16 695857                          05041    /
                                              5041858912 5/01/16                2.57 60370 5/26/16 695857              33.75       05041    /
                                                    **********                2,032.34 ***RICO   *****RI-092****RICOH USA INC

RO-098 ROLLING   ROLLING STONE INC                 47472 4/12/16               65.00 47040 5/05/16 693481                      04517        /
                                                   47472 4/12/16                5.36 47040 5/05/16 693481               70.36 04517         /
                                                    **********                   70.36 ***ROLLING *****RO-098****ROLLING STONE INC

*R-207 ROYAL     ROYAL PAPER CORP                4592492 4/12/16             192.50- 47040 5/05/16 197502                     04502        5/16
                                                 4592492 4/12/16              15.88- 47040 5/05/16 197502                     04502        5/16
                                                 4592639 4/13/16           1,171.21 16400 5/05/16 197502                      04502        5/16
                                                 4592639 4/13/16              96.63 16400 5/05/16 197502                      04502        5/16
                                                 4593158 4/15/16             500.50 47040 5/05/16 197502                      04502        5/16
                                                 4593158 4/15/16              41.29 47040 5/05/16 197502                      04502        5/16
                                                 4593158 4/15/16             136.67 26660 5/05/16 197502                      04502        5/16
                                                 4593158 4/15/16              11.28 26660 5/05/16 197502                      04502        5/16
                                                 4593490 4/18/16             948.59 26660 5/05/16 197502                      04502        5/16
                                                 4593490 4/18/16              78.26 26660 5/05/16 197502            2,776.05 04502         5/16
                                                 4595995 4/29/16             845.86 26660 5/19/16 199045                      05396        5/16
                                                 4595995 4/29/16              69.78 26660 5/19/16 199045                      05396        5/16
                                                 4596918 5/03/16             137.01 26660 5/19/16 199045                      05396        5/16
                                                 4596918 5/03/16              11.30 26660 5/19/16 199045            1,063.95 05396         5/16
                                                 4596801 5/03/16             137.01- 26660 5/26/16 199690                     05821        5/16
                                                 4596801 5/03/16              11.30- 26660 5/26/16 199690                     05821        5/16
                                                 4597269 5/04/16             811.32 47040 5/26/16 199690                      05821        5/16
                                                 4597269 5/04/16              66.93 47040 5/26/16 199690                      05821        5/16
                                                 4598420 5/10/16             648.85 26660 5/26/16 199690                      05821        5/16
                                                 4598420 5/10/16              53.53 26660 5/26/16 199690            1,432.32 05821         5/16
                                                    **********               5,272.32 ***ROYAL   ******R-207****ROYAL PAPER CORP

DO-100 RR DONNE RR DONNELLEY                   441588394 4/25/16              360.00 16105 5/19/16 694664                          05408    /
                                               441588394 4/25/16               72.66 16105 5/19/16 694664                          05408    /
                                               441588394 4/25/16               35.69 16105 5/19/16 694664              468.35      05408    /
                                                    **********                  468.35 ***RR DONNE*****DO-100****RR DONNELLEY

RY-002 RYAN      RYAN LLC                         145078 5/23/16              841.75 85962 5/26/16 695875             841.75       05056    /
                                                    **********                  841.75 ***RYAN   *****RY-002****RYAN LLC

SC-042 SCHNEIDE SCHNEIDER ELECTRIC                623683 4/08/16              706.00 66160 5/05/16 693516              706.00 04517         /
                                                    **********                  706.00 ***SCHNEIDE*****SC-042****SCHNEIDER ELECTRIC

SC-018 SCHREI    R.L. SCHREIBER INC.          I167303996 4/26/16              354.61 24510 5/05/16 693515             354.61 04517          /
                                              I167304042 5/10/16               78.00 24510 5/26/16 695890              78.00 05041          /
                                                    **********                  432.61 ***SCHREI *****SC-018****R.L. SCHREIBER INC.

*S-463 SEAF      SEAFOOD SUPPLY CO                132384 5/07/16              846.96 24510 5/19/16 199070             846.96 05396         5/16
                                                    **********                  846.96 ***SEAF   ******S-463****SEAFOOD SUPPLY CO




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APHIST-0169    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE       INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
SE-425 SEAL      SEAL TEX INC                       15935 5/05/16               190.50 66202 5/19/16 695063                       05408    /
                                                    15935 5/05/16                35.00 66202 5/19/16 695063                       05408    /
                                                    15935 5/05/16                18.60 66202 5/19/16 695063             244.10    05408    /
                                                    16072 5/09/16               150.00 66202 5/26/16 695899                       05041    /
                                                    16072 5/09/16                12.38 66202 5/26/16 695899             162.38    05041    /
                                                     **********                   406.48 ***SEAL   *****SE-425****SEAL TEX INC

*S-745 SERTI     SERTIFI                       *SALE     04 5/01/16             120.44 62843 5/12/16 198509             120.44    04109   5/16
                                                       **********                 120.44 ***SERTI  ******S-745****SERTIFI

SH-138 SHATAT    IBRAHIM SHATAT                    123457 3/01/16               560.00 62505 5/19/16 695067             560.00 05391       /
                                                   123485 4/22/16               100.00 62505 5/26/16 695905             100.00 05041       /
                                                     **********                   660.00 ***SHATAT *****SH-138****IBRAHIM SHATAT

SI-375 SIGNATUR SIGNATURE GARMENT CRE INC          105613 4/30/16               390.35 45030 5/19/16 695074                      05408     /
                                                   105613 4/30/16                61.90 16800 5/19/16 695074                      05408     /
                                                   105613 4/30/16                 5.11 16800 5/19/16 695074              457.36 05408      /
                                                   105896 5/15/16               396.90 45030 5/26/16 695915                      05041     /
                                                   105896 5/15/16                45.60 16800 5/26/16 695915                      05041     /
                                                   105896 5/15/16                 2.81 16800 5/26/16 695915              445.31 05041      /
                                                     **********                   902.67 ***SIGNATUR*****SI-375****SIGNATURE GARMENT CRE   INC

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2684108 5/06/16            2,435.63 45025 5/19/16 198968                     05396 5/16
                                                  2684108 5/06/16              254.62 45025 5/19/16 198968           2,690.25 05396 5/16
                                                     **********                2,690.25 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SO-382 SOUTHERN SOUTHERN GF COMPANY               IN73139 4/19/16               108.00 66120 5/12/16 694295              108.00 04517      /
                                                     **********                   108.00 ***SOUTHERN*****SO-382****SOUTHERN GF COMPANY

SP-264 SPRINT    SPRINT                        0679821136 5/05/16                15.16 35901 5/12/16 912069                       05380    /
                                               0679821136 5/05/16               227.36 35031 5/12/16 912069              242.52   05380    /
                                                     **********                   242.52 ***SPRINT *****SP-264****SPRINT

ST-244 STAFF PR STAFF PRO WORKFORCE                 25414 4/21/16               793.80 26028 5/05/16 693781              793.80 04517      /
                                                    25688 4/28/16               939.60 26028 5/19/16 695102                      05408     /
                                                    26015 5/06/16               690.53 26028 5/19/16 695102            1,630.13 05408      /
                                                    26398 5/13/16               708.75 26028 5/26/16 695946              708.75 05041      /
                                                     **********                 3,132.68 ***STAFF PR*****ST-244****STAFF PRO WORKFORCE

ST-249 STAN      STANDARD TEXTILE                 5373276 4/20/16               901.20 26500 5/19/16 695103                     04517      /
                                                  5373276 4/20/16                74.36 26500 5/19/16 695103             975.56 04517       /
                                                     **********                   975.56 ***STAN   *****ST-249****STANDARD TEXTILE

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3299802269 4/19/16                94.99 60551 5/05/16 693813                      04517   /
                                               3299802269 4/19/16                 7.84 60551 5/05/16 693813                      04517   /
                                               3299802269 4/19/16               489.57 60550 5/05/16 693813                      04517   /
                                               3299802269 4/19/16                40.39 60550 5/05/16 693813                      04517   /
                                               3299802270 4/19/16               167.79 60550 5/05/16 693813                      04517   /
                                               3299802270 4/19/16                13.84 60550 5/05/16 693813                      04517   /
                                               3299893896 4/20/16               111.98 60550 5/05/16 693813                      04517   /
                                               3299893896 4/20/16                 9.24 60550 5/05/16 693813              935.64 04517    /
                                               3301593683 5/03/16                23.25 60550 5/19/16 695319                      05408   /
                                               3301593683 5/03/16                 1.92 60550 5/19/16 695319                      05408   /
                                               3301659651 5/04/16               545.49 60550 5/19/16 695319                      05408   /
                                               3301659651 5/04/16                45.00 60550 5/19/16 695319                      05408   /
                                               3301659652 5/04/16                 4.96 60550 5/19/16 695319                      05408   /
                                               3301659652 5/04/16                  .40 60550 5/19/16 695319                      05408   /
                                               3301659653 5/04/16               145.98 60550 5/19/16 695319                      05408   /
                                               3301659653 5/04/16                12.04 60550 5/19/16 695319              779.04 05408    /
                                                     **********                 1,714.68 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

*S-001 STATE     STATE TREASURER-TEXAS         STRM0516       5/12/16           197.51     02060   5/13/16   198605               00000   5/16




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APHIST-0170    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     2
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              STRM0516    5/12/16          68,687.63 02059 5/13/16 198605          68,885.14 00000 5/16
                                                    **********               68,885.14 ***STATE  ******S-001****STATE TREASURER-TEXAS

*S-194 STATE     STATE TREASURER-TEXAS         FRANTX15B 5/05/16           44,635.54- 86825 5/05/16 197708                     05012 5/16
                                               FRANTX15B 5/05/16          106,238.18 02075 5/05/16 197708           61,602.64 05012 5/16
                                                    **********               61,602.64 ***STATE   ******S-194****STATE TREASURER-TEXAS

*S-316 STATE     STATE TREASURER-TEXAS        RYAN0516    5/12/16          13,871.73- 85962 5/13/16 198614                     00000 5/16
                                              RYAN0516    5/12/16          13,871.73 02058 5/13/16 198614                      00000 5/16
                                              SLSU0516    5/12/16           1,308.44- 85960 5/13/16 198614                     00000 5/16
                                              SLSU0516    5/12/16              35.93 35901 5/13/16 198614                      00000 5/16
                                              SLSU0516    5/12/16           8,741.97 02060 5/13/16 198614                      00000 5/16
                                              SLSU0516    5/12/16          13,871.73 02058 5/13/16 198614           21,341.19 00000 5/16
                                                    **********               21,341.19 ***STATE   ******S-316****STATE TREASURER-TEXAS

SU-055 SUMMIT    SUMMIT CONFERENCES AND             1122 4/18/16            3,542.85 62625 5/05/16 693782           3,542.85 04517     /
                                                    1125 5/09/16            2,588.70 62625 5/26/16 696080           2,588.70 05041     /
                                                    **********                6,131.55 ***SUMMIT *****SU-055****SUMMIT CONFERENCES AND

*S-715 SYSCO     SYSCO                         612495587     4/01/16           67.18      26660   5/05/16   197571              04502   5/16
                                               612503721     4/01/16          105.96      16400   5/05/16   197571              04502   5/16
                                               612503721     4/01/16            5.02      16400   5/05/16   197571              04502   5/16
                                               612503721     4/01/16          622.07      16105   5/05/16   197571              04502   5/16
                                               612503721     4/01/16           29.50      16105   5/05/16   197571              04502   5/16
                                               612599226     4/08/16          102.84      26660   5/05/16   197571              04502   5/16
                                               612612338     4/09/16        1,749.09      24505   5/05/16   197571              04502   5/16
                                               612625694     4/11/16          371.74      24510   5/05/16   197571              04502   5/16
                                               612625695     4/11/16          284.73      16125   5/05/16   197571              04502   5/16
                                               612626180     4/11/16          880.64      24510   5/05/16   197571              04502   5/16
                                               612627160     4/11/16        2,146.56      16110   5/05/16   197571              04502   5/16
                                               612657790     4/13/16        3,102.38      24510   5/05/16   197571              04502   5/16
                                               612661388     4/13/16          165.69      24510   5/05/16   197571              04502   5/16
                                               612672905     4/14/16          788.37      24510   5/05/16   197571              04502   5/16
                                               612672966     4/14/16          173.13      26660   5/05/16   197571              04502   5/16
                                               612673650     4/14/16          190.14      24510   5/05/16   197571              04502   5/16
                                               612687278     4/15/16          485.21      16105   5/05/16   197571              04502   5/16
                                               612687278     4/15/16            2.98      16105   5/05/16   197571              04502   5/16
                                               612687279     4/15/16        2,056.15      24510   5/05/16   197571              04502   5/16
                                               612689113     4/15/16          233.46      24510   5/05/16   197571              04502   5/16
                                               612689408     4/15/16           37.30      26660   5/05/16   197571              04502   5/16
                                               612689707     4/15/16        2,874.16      16110   5/05/16   197571              04502   5/16
                                               612690088     4/15/16        1,617.56      24510   5/05/16   197571              04502   5/16
                                               612690744     4/15/16          345.56      24510   5/05/16   197571              04502   5/16
                                               612691314     4/15/16          206.23      16400   5/05/16   197571              04502   5/16
                                               612691314     4/15/16            9.11      16400   5/05/16   197571              04502   5/16
                                               612691314     4/15/16        1,378.64      16105   5/05/16   197571              04502   5/16
                                               612691314     4/15/16           60.93      16105   5/05/16   197571              04502   5/16
                                               612703701     4/16/16          888.29      24505   5/05/16   197571              04502   5/16
                                               612704675     4/16/16          512.93      26230   5/05/16   197571              04502   5/16
                                               612704675     4/16/16           42.33      26230   5/05/16   197571              04502   5/16
                                               612704675     4/16/16        1,076.80      26220   5/05/16   197571              04502   5/16
                                               612704675     4/16/16           88.83      26220   5/05/16   197571              04502   5/16
                                               612719874     4/18/16        2,386.96      16110   5/05/16   197571              04502   5/16
                                               612721733     4/18/16          566.19      24510   5/05/16   197571              04502   5/16
                                               612736523     4/19/16        1,158.06      24510   5/05/16   197571              04502   5/16
                                               612753510     4/20/16          206.20      24510   5/05/16   197571              04502   5/16
                                               612754271     4/20/16        1,718.93      16110   5/05/16   197571              04502   5/16
                                               612755152     4/20/16          288.55      26660   5/05/16   197571              04502   5/16
                                               612755381     4/20/16        1,272.76      24505   5/05/16   197571              04502   5/16
                                               612755556     4/20/16          668.56      24510   5/05/16   197571              04502   5/16
                                               612755640     4/20/16          365.48      16125   5/05/16   197571              04502   5/16
                                               612756131     4/20/16        2,803.87      24510   5/05/16   197571              04502   5/16
                                               612768067     4/21/16          114.02      24510   5/05/16   197571              04502   5/16
                                               612768441     4/21/16        1,845.31      24510   5/05/16   197571              04502   5/16
                                               612768564     4/21/16          383.29      24510   5/05/16   197571              04502   5/16
                                               612774907     4/22/16           19.95      24505   5/05/16   197571              04502   5/16
                                               612784545     4/22/16        1,039.17      24510   5/05/16   197571              04502   5/16
                                               612785228     4/22/16          290.88      16125   5/05/16   197571              04502   5/16




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APHIST-0171   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     3
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              612785417     4/22/16           75.60      26660   5/05/16   197571               04502   5/16
                                              612798059     4/23/16          112.86      24510   5/05/16   197571               04502   5/16
                                              612798635     4/23/16        1,786.14      16110   5/05/16   197571               04502   5/16
                                              612799116     4/23/16        5,002.13      24510   5/05/16   197571               04502   5/16
                                              612812903     4/25/16          570.73      24510   5/05/16   197571               04502   5/16
                                              612813606     4/25/16          154.16      16110   5/05/16   197571               04502   5/16
                                              612814321     4/25/16        1,941.24      16110   5/05/16   197571               04502   5/16
                                              612831257     4/26/16        1,307.43      24510   5/05/16   197571               04502   5/16
                                              612847502     4/27/16          184.15      24510   5/05/16   197571               04502   5/16
                                              612847887     4/27/16          613.79      26220   5/05/16   197571               04502   5/16
                                              612847887     4/27/16           50.64      26220   5/05/16   197571               04502   5/16
                                              612848268     4/27/16          143.79      16125   5/05/16   197571               04502   5/16
                                              612848662     4/27/16        1,507.95      24510   5/05/16   197571               04502   5/16
                                              612848663     4/27/16        1,424.02      24510   5/05/16   197571   52,704.32   04502   5/16
                                              612848364     4/27/16          978.60      24510   5/19/16   199107               05396   5/16
                                              612848458     4/27/16          716.94      24510   5/19/16   199107               05396   5/16
                                              612857788     4/28/16        4,817.76      24510   5/19/16   199107               05396   5/16
                                              612863271     4/28/16           38.68      24510   5/19/16   199107               05396   5/16
                                              612875358     4/29/16          981.65      26660   5/19/16   199107               05396   5/16
                                              612876398     4/29/16          773.53      24510   5/19/16   199107               05396   5/16
                                              612876795     4/29/16          373.58      24510   5/19/16   199107               05396   5/16
                                              612892440     4/30/16          375.19      24510   5/19/16   199107    9,055.93   05396   5/16
                                              613062645     5/13/16          206.40      16125   5/26/16   199750      206.40   05821   5/16
                                              612037833     2/25/16           29.68-     24510   5/26/16   199755               05821   5/16
                                              612154672     3/04/16           66.16-     24510   5/26/16   199755               05821   5/16
                                              612308614     3/17/16           86.24      47040   5/26/16   199755               05812   5/16
                                              612308614     3/17/16            4.91      47040   5/26/16   199755               05812   5/16
                                              612308614     3/17/16          201.40      26660   5/26/16   199755               05812   5/16
                                              612308614     3/17/16           11.46      26660   5/26/16   199755               05812   5/16
                                              612319286     3/17/16           54.96-     26660   5/26/16   199755               05812   5/16
                                              612319287     3/17/16           24.87-     24510   5/26/16   199755               05821   5/16
                                              612328938     3/18/16          251.13      24510   5/26/16   199755               05821   5/16
                                              612423937     3/25/16           30.78-     24510   5/26/16   199755               05821   5/16
                                              612476300     3/30/16        1,106.08      16105   5/26/16   199755               05821   5/16
                                              612476300     3/30/16           36.48      16105   5/26/16   199755               05821   5/16
                                              612567995     4/06/16          224.91      16125   5/26/16   199755               05821   5/16
                                              612571658     4/06/16           82.46-     24510   5/26/16   199755               05821   5/16
                                              612585969     4/07/16            5.99-     16110   5/26/16   199755               05821   5/16
                                              612586953     4/07/16            5.99-     16110   5/26/16   199755               05821   5/16
                                              612636268     4/11/16          104.99-     24510   5/26/16   199755               05821   5/16
                                              612663237     4/13/16           72.48      16105   5/26/16   199755               05821   5/16
                                              612684624     4/14/16           13.25-     24505   5/26/16   199755               05821   5/16
                                              612833588     4/26/16           95.11      26220   5/26/16   199755               05812   5/16
                                              612833588     4/26/16            7.85      26220   5/26/16   199755               05812   5/16
                                              612874607     4/29/16        3,031.25      16110   5/26/16   199755               05821   5/16
                                              612875296     4/29/16          130.34      16125   5/26/16   199755               05821   5/16
                                              612875554     4/29/16          146.75      24510   5/26/16   199755               05821   5/16
                                              612888768     4/30/16          802.05      24510   5/26/16   199755               05821   5/16
                                              612889642     4/30/16        3,462.25      24510   5/26/16   199755               05821   5/16
                                              612902169     5/02/16          721.14      24510   5/26/16   199755               05821   5/16
                                              612903020     5/02/16        1,255.81      16110   5/26/16   199755               05821   5/16
                                              612919498     5/03/16           50.78      24510   5/26/16   199755               05821   5/16
                                              612921470     5/03/16        1,133.01      24510   5/26/16   199755               05821   5/16
                                              612939769     5/04/16        2,016.76      24505   5/26/16   199755               05821   5/16
                                              612940266     5/04/16           95.88      24510   5/26/16   199755               05821   5/16
                                              612940437     5/04/16        1,737.31      24510   5/26/16   199755               05821   5/16
                                              612951700     5/05/16        1,053.34      24510   5/26/16   199755               05821   5/16
                                              612952300     5/05/16        1,259.94      16110   5/26/16   199755               05821   5/16
                                              612952342     5/05/16          162.62      16125   5/26/16   199755               05821   5/16
                                              612952739     5/05/16          625.35      24510   5/26/16   199755               05821   5/16
                                              612968975     5/06/16          682.39      24510   5/26/16   199755               05821   5/16
                                              612969672     5/06/16        1,892.75      24510   5/26/16   199755               05821   5/16
                                              612971772     5/06/16        1,441.00      24510   5/26/16   199755               05821   5/16
                                              612971943     5/06/16          357.69      24510   5/26/16   199755               05821   5/16
                                              612977961     5/06/16          262.82      24510   5/26/16   199755               05821   5/16
                                              612986658     5/07/16          285.33      26220   5/26/16   199755               05812   5/16
                                              612986658     5/07/16           23.54      26220   5/26/16   199755               05812   5/16
                                              612992958     5/09/16          299.32      24510   5/26/16   199755               05821   5/16
                                              612993803     5/09/16           31.72      24510   5/26/16   199755               05821   5/16
                                              612994078     5/09/16          519.84      24510   5/26/16   199755               05821   5/16
                                              612994192     5/09/16        2,221.86      16110   5/26/16   199755               05821   5/16
                                              612995232     5/09/16           96.54      24505   5/26/16   199755               05821   5/16




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APHIST-0172    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     4
                            COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               613000187 5/09/16               27.67 24510 5/26/16 199755                        05821   5/16
                                               613032898 5/11/16              171.78 16125 5/26/16 199755                        05821   5/16
                                               613033012 5/11/16              781.44 16110 5/26/16 199755                        05821   5/16
                                               613034617 5/11/16              646.23 26230 5/26/16 199755                        05821   5/16
                                               613034617 5/11/16               53.32 26230 5/26/16 199755                        05821   5/16
                                               613034617 5/11/16            1,000.00 26220 5/26/16 199755                        05821   5/16
                                               613034617 5/11/16               82.50 26220 5/26/16 199755                        05821   5/16
                                               613044779 5/12/16            1,922.18 24510 5/26/16 199755                        05821   5/16
                                               613045073 5/12/16              496.25 24510 5/26/16 199755                        05821   5/16
                                               613060568 5/13/16            3,139.77 16110 5/26/16 199755                        05821   5/16
                                               613061988 5/13/16            4,172.40 24510 5/26/16 199755                        05821   5/16
                                               613062029 5/13/16            1,157.13 24510 5/26/16 199755                        05821   5/16
                                               613062366 5/13/16            1,754.10 24505 5/26/16 199755                        05821   5/16
                                               613062476 5/13/16              695.87 24505 5/26/16 199755                        05821   5/16
                                               613063044 5/13/16            1,642.74 24510 5/26/16 199755                        05821   5/16
                                               613072413 5/14/16            1,048.79 24510 5/26/16 199755                        05821   5/16
                                               613073491 5/14/16              249.42 24510 5/26/16 199755                        05821   5/16
                                               613074091 5/14/16              102.35 24510 5/26/16 199755          46,622.24     05821   5/16
                                                    **********              108,588.89 ***SYSCO  ******S-715****SYSCO

TD-003 TD        TDINDUSTRIES                    1535628 5/02/16               973.98 66202 5/19/16 695122                       05408    /
                                                 1535628 5/02/16                45.00 66202 5/19/16 695122                       05408    /
                                                 1535628 5/02/16                84.08 66202 5/19/16 695122                       05408    /
                                                 1539250 4/22/16               225.75 66202 5/19/16 695122                       05408    /
                                                 1539250 4/22/16                45.00 66202 5/19/16 695122                       05408    /
                                                 1539250 4/22/16                22.34 66202 5/19/16 695122           1,396.15    05408    /
                                                    **********                 1,396.15 ***TD     *****TD-003****TDINDUSTRIES

TE-163 TEMPERAT TEMPERATURE CONTROL           1470155001 4/07/16                22.62 66160 5/05/16 693577                      04760     /
                                              1470155001 4/07/16                 1.77 66160 5/05/16 693577               24.39 04760      /
                                                    **********                    24.39 ***TEMPERAT*****TE-163****TEMPERATURE CONTROL

TE-267 TEXAS     TEXAS SOCIETY OF ASSOC.           88605 5/12/16               175.00 62505 5/26/16 695962             175.00 05041    /
                                                    **********                   175.00 ***TEXAS  *****TE-267****TEXAS SOCIETY OF ASSOC.

FI-113 THE FIL   THE FILTA GROUP INC           454000455 4/21/16               105.00 26260 5/05/16 693856                      04517     /
                                               454000455 4/21/16                 8.66 26260 5/05/16 693856              113.66 04517      /
                                               454000474 4/28/16               105.00 26260 5/19/16 695353                      05408     /
                                               454000474 4/28/16                 8.66 26260 5/19/16 695353                      05408     /
                                               454000491 5/05/16               105.00 26260 5/19/16 695353                      05408     /
                                               454000491 5/05/16                 8.66 26260 5/19/16 695353              227.32 05408      /
                                               454000508 5/12/16               105.00 26260 5/26/16 696133                      05041     /
                                               454000508 5/12/16                 8.66 26260 5/26/16 696133              113.66 05041      /
                                                    **********                   454.64 ***THE FIL *****FI-113****THE FILTA GROUP INC

TI-059 TIFF'S    TIFF'S TREATS                  DAL32086 3/31/16                13.00 62501 5/05/16 693581              13.00 04517       /
                                                DAL32332 4/13/16                20.50 26105 5/12/16 694315              20.50 04517       /
                                                    **********                    33.50 ***TIFF'S *****TI-059****TIFF'S TREATS

TR-117 TRAY      TRAY INC                         223953 4/06/16                93.68 60552 5/05/16 693590                       04760    /
                                                  223953 4/06/16                27.80 60552 5/05/16 693590             121.48    04760    /
                                                    **********                   121.48 ***TRAY   *****TR-117****TRAY INC

TR-130 TROPICAL TROPICAL NUT & FRUIT CO       NV15395757 4/27/16               885.96 16125 5/19/16 695134                      05408   /
                                              NV15397787 5/03/16               929.69 24505 5/19/16 695134            1,815.65 05408    /
                                                    **********                 1,815.65 ***TROPICAL*****TR-130****TROPICAL NUT & FRUIT CO

UN-228 UNIGUEST UNIGUEST INC                   578411611 4/08/16               479.83 16870 5/05/16 693787                       04517    /
                                               578411611 4/08/16                39.98 16870 5/05/16 693787                       04517    /
                                               578411611 4/08/16                42.88 16870 5/05/16 693787              562.69   04517    /
                                                    **********                   562.69 ***UNIGUEST*****UN-228****UNIGUEST INC

US-132 US BINGO US BINGO INC                      372692     4/19/16            89.85     60070   5/19/16   695165               05408    /




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APHIST-0173   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     5
                           COMPANY #80713 FRISCO EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                 372692 4/19/16               15.80 60070 5/19/16 695165              105.65   05408    /
                                                   **********                  105.65 ***US BINGO*****US-132****US BINGO INC

US-129 USA TODA USA TODAY                    0013142430 5/01/16              406.80 16105 5/19/16 695360              406.80   05408    /
                                                   **********                  406.80 ***USA TODA*****US-129****USA TODAY

*V-072 VANVOORH HEATHER VANVOORHIS                 41516 4/15/16              82.49 62505 5/05/16 197627                      04502    5/16
                                                   41516 4/15/16             254.99 62501 5/05/16 197627                      04502    5/16
                                                   41516 4/15/16              59.52 35031 5/05/16 197627              397.00 04502     5/16
                                                   41816 4/18/16              53.74 62505 5/05/16 197628               53.74 04502     5/16
                                                    **********                 450.74 ***VANVOORH******V-072****HEATHER VANVOORHIS

*V-075 VOSS     VOSS LIGHTING CO             4014553201 4/01/16           4,240.00 01914 5/19/16 199161                     05667      5/16
                                             4014553201 4/01/16             349.80 01914 5/19/16 199161           4,589.80 05667       5/16
                                                   **********               4,589.80 ***VOSS   ******V-075****VOSS LIGHTING CO

WI-146 WINDOW   WINDOW WIZARDS LLC                 35878 2/15/16             809.00 16150 5/26/16 696008                     05821      /
                                                   35878 2/15/16              66.74 16150 5/26/16 696008                     05821      /
                                                   36625 5/02/16             889.00 16150 5/26/16 696008                     05041      /
                                                   36625 5/02/16              73.34 16150 5/26/16 696008           1,838.08 05041       /
                                                    **********               1,838.08 ***WINDOW *****WI-146****WINDOW WIZARDS LLC

WO-103 WORLD CI WORLD CINEMA INC             **S5199 05 6/01/16           4,980.55 16425 5/19/16 695361                      04109      /
                                             **S5199 05 6/01/16             410.90 16425 5/19/16 695361            5,391.45 04109       /
                                                   **********               5,391.45 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN   WTS INTERNATIONAL INC        C000038670 4/01/16              250.00 45022 5/19/16 199166             250.00 05396 5/16
                                                   **********                  250.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC

XL-003 2XL CORP 2XL CORPORATION                  191636 4/11/16              379.95 01906 5/05/16 693665                      04064     /
                                                 191636 4/11/16               20.50 01906 5/05/16 693665                      04064     /
                                                 191637 4/11/16              167.90 16400 5/05/16 693665                      04517     /
                                                 191637 4/11/16               27.70 16400 5/05/16 693665              596.05 04517      /
                                                   **********                  596.05 ***2XL CORP*****XL-003****2XL CORPORATION


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80713            1,437,984.18




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APHIST-0116    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AI-087 AIRECO    AIRECO SUPPLY, INC            562818000 2/09/16               66.60 66202 3/03/16 686011                     02252      /
                                               562818000 2/09/16                4.00 66202 3/03/16 686011                     02252      /
                                               562818000 2/09/16               49.76 66160 3/03/16 686011                     02252      /
                                               562818000 2/09/16                2.99 66160 3/03/16 686011                     02252      /
                                               563290600 2/11/16              117.26 66160 3/03/16 686011                     02252      /
                                               563290600 2/11/16                7.03 66160 3/03/16 686011             247.64 02252       /
                                                    **********                  247.64 ***AIRECO *****AI-087****AIRECO SUPPLY, INC

*A-245 ALLIED    ALLIED WASTE SERVICES        7000975528 2/29/16           2,242.07 66325 3/10/16 191732           2,242.07 03209 3/16
                                                    **********               2,242.07 ***ALLIED ******A-245****ALLIED WASTE SERVICES

AT-046 AT&T      AT&T                         1938866360 3/11/16               18.72 35901 3/23/16 688296                       03945    /
                                              1938866360 3/11/16              179.25 35030 3/23/16 688296              197.97   03945    /
                                                    **********                  197.97 ***AT&T   *****AT-046****AT&T

AT-053 AT&T      AT&T                         8469941872 3/01/16                7.81 35901 3/10/16 686886                       03254    /
                                              8469941872 3/01/16              273.27 35030 3/10/16 686886              281.08   03254    /
                                                    **********                  281.08 ***AT&T   *****AT-053****AT&T

BZ-001 B & Z     B & Z SERVICES, INC          0000085443 3/02/16              975.70 66202 3/31/16 689148             975.70 03326       /
                                                    **********                  975.70 ***B & Z  *****BZ-001****B & Z SERVICES, INC

*B-080 BALL      BRANDON BALL                     022216 2/24/16               25.00 62841 3/03/16 191213                       02219   3/16
                                                  022216 2/24/16              259.96 62830 3/03/16 191213                       02219   3/16
                                                  022216 2/24/16               41.48 62505 3/03/16 191213             326.44    02219   3/16
                                                  031516 3/15/16               66.88 62830 3/18/16 193003                       03765   3/16
                                                  031516 3/15/16               15.56 62505 3/18/16 193003              82.44    03765   3/16
                                                    **********                  408.88 ***BALL   ******B-080****BRANDON BALL

*B-018 BANK      BANK OF AMERICA               MAR16LOAN 3/22/16         128,431.33 86700 3/30/16 193665                     03569      3/16
                                               MAR16LOAN 3/22/16          41,528.22 02820 3/30/16 193665                     03569      3/16
                                               MAR16LOAN 3/22/16          25,640.32 01095 3/30/16 193665         195,599.87 03569       3/16
                                                    **********             195,599.87 ***BANK   ******B-018****BANK OF AMERICA

CA-292 CARTER    CARTER MACHINERY CO, INC     **02067803 2/15/16              264.58 66110 3/10/16 686917                     02339   /
                                              **02067803 2/15/16                7.94 66110 3/10/16 686917             272.52 02339    /
                                                    **********                  272.52 ***CARTER *****CA-292****CARTER MACHINERY CO, INC

*C-213 CATALLAM MICHELLE CATALLAMEEKS             031516 3/15/16              233.88 62830 3/18/16 193006              233.88 03765 3/16
                                                    **********                  233.88 ***CATALLAM******C-213****MICHELLE CATALLAMEEKS

CE-098 CENTURY   CENTURYLINK                  1369312491 3/11/16              53.72 35901 3/17/16 688113                        03665    /
                                              1369312491 3/11/16           3,798.86 35030 3/17/16 688113            3,852.58    03665    /
                                                    **********               3,852.58 ***CENTURY *****CE-098****CENTURYLINK

CH-551 CHEMTREA CHEMTREAT INC                 **24793 04 2/17/16              370.98 66160 3/17/16 687585                      02339     /
                                              **24793 04 2/17/16               19.66 66160 3/17/16 687585              390.64 02339      /
                                                    **********                  390.64 ***CHEMTREA*****CH-551****CHEMTREAT INC

CH-302 CHRISTIA NEIL CHRISTIAN                    031516 3/15/16               39.52 62830 3/18/16 911642                       03765    /
                                                  031516 3/15/16              201.29 62505 3/18/16 911642              240.81 03765      /
                                                    **********                  240.81 ***CHRISTIA*****CH-302****NEIL CHRISTIAN

*C-411 CINTAS    CINTAS CORP                     4418514 3/10/16               75.46- 16800 3/23/16 193100                      03821   3/16
                                                 4418514 3/10/16                8.00 16800 3/23/16 193100                       03821   3/16
                                                 4418514 3/10/16                4.52- 16800 3/23/16 193100                      03821   3/16
                                                1873132A 9/22/15              144.95 66075 3/23/16 193100                       03821   3/16
                                                1873132A 9/22/15                8.70 66075 3/23/16 193100              81.67    03821   3/16
                                                    **********                   81.67 ***CINTAS ******C-411****CINTAS CORP




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APHIST-0117    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                            PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
CC-026 COCA      COCA-COLA BOTTLING CO.        1829200247 2/16/16               575.28 62251 3/10/16 687373             575.28 02639     /
                                               1829200673 3/16/16               575.28 62251 3/31/16 689716                     03562    /
                                               1829200773 3/22/16               599.34 45060 3/31/16 689716           1,174.62 03562     /
                                                     **********                 1,749.90 ***COCA   *****CC-026****COCA-COLA BOTTLING CO.

CO-305 COLIS     COLISEUM CNTRL B.I.D.INC.     *EMBSTE 04 3/15/16               373.43 60620 3/31/16 689183             373.43 02339    /
                                                     **********                   373.43 ***COLIS  *****CO-305****COLISEUM CNTRL B.I.D.INC.

*C-348 COMPAS    COMPASS ENERGY GAS SERVIC      164438601 3/11/16            2,587.51 64200 3/23/16 193086           2,587.51 03736 3/16
                                                     **********                2,587.51 ***COMPAS ******C-348****COMPASS ENERGY GAS SERVIC

CO-230 CONTR     CONTROLLED CONDITIONS         *CHILLMT06 3/10/16               265.67 66160 3/31/16 689181             265.67 02339    /
                                                     **********                   265.67 ***CONTR  *****CO-230****CONTROLLED CONDITIONS

CO-492 CONVOY    CONVOY OF HOPE                INSA021603 2/29/16                31.25 02042 3/03/16 686838              31.25 00000       /
                                                     **********                    31.25 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMOPRO COSMOPROF                          279154 1/27/16                60.08 45022 3/03/16 686137                       02111    /
                                                   279154 1/27/16                 3.60 45022 3/03/16 686137               63.68   02111    /
                                                   280229 2/19/16                43.31 45022 3/17/16 687610                       02111    /
                                                   280229 2/19/16                 2.60 45022 3/17/16 687610               45.91   02111    /
                                               0000280994 3/07/16                70.96 45022 3/31/16 689189                       03741    /
                                               0000280994 3/07/16                 4.26 45022 3/31/16 689189               75.22   03741    /
                                                     **********                   184.81 ***COSMOPRO*****CO-556****COSMOPROF

CO-311 COURTYAR COURTYARD BY MARRIOTT          E200004626 12/20/15              136.66 62505 3/31/16 689184              136.66 03325    /
                                                     **********                   136.66 ***COURTYAR*****CO-311****COURTYARD BY MARRIOTT

CR-084 CREST     CREST FOODSERVICE EQUIP.          160103 2/03/16            2,700.19 66202 3/03/16 686731                     02743   /
                                                   160103 2/03/16              162.01 66202 3/03/16 686731           2,862.20 02743    /
                                                   160788 2/24/16              345.00 66202 3/23/16 688373                     02359   /
                                                   160788 2/24/16               20.70 66202 3/23/16 688373             365.70 02359    /
                                                     **********                3,227.90 ***CREST  *****CR-084****CREST FOODSERVICE EQUIP.

DA-093 DAUBERS   DAUBERS COMMERCIAL FOOD          5183441 2/02/16               179.00 66202 3/03/16 686157                      02743   /
                                                  5183441 2/02/16                10.74 66202 3/03/16 686157              189.74 02743    /
                                                  5183829 2/09/16                89.50 66202 3/10/16 686972                      02890   /
                                                  5183829 2/09/16                10.60 66202 3/10/16 686972                      02890   /
                                                  5183829 2/09/16                 4.95 66202 3/10/16 686972              105.05 02890    /
                                                  5185039 3/07/16               252.00 66202 3/31/16 689199                      03741   /
                                                  5185039 3/07/16                27.03 66202 3/31/16 689199                      03741   /
                                                  5185039 3/07/16                 6.14 66202 3/31/16 689199              285.17 03741    /
                                                     **********                   579.96 ***DAUBERS *****DA-093****DAUBERS COMMERCIAL FOOD

*D-200 DOMIN     DOMINION VIRGINIA POWER         31673635 3/22/16               17.75 64100 3/31/16 193798              17.75 03290 3/16
                                                 31687330 3/22/16           19,598.56 64100 3/31/16 193799                     03290 3/16
                                                 31687330 3/22/16              222.41 64100 3/31/16 193799          19,820.97 03290 3/16
                                                     **********               19,838.72 ***DOMIN  ******D-200****DOMINION VIRGINIA POWER

DU-187 DUNBAR    DUNBAR ARMORED INC.              3735554 3/01/16               670.10 60135 3/23/16 688404             670.10 03821       /
                                                     **********                   670.10 ***DUNBAR *****DU-187****DUNBAR ARMORED INC.

EC-022 ECK       ECK SUPPLY CO                   14336094 2/22/16                54.00 66130 3/23/16 688408                     03741      /
                                                 14336094 2/22/16                 3.24 66130 3/23/16 688408              57.24 03741       /
                                                     **********                    57.24 ***ECK    *****EC-022****ECK SUPPLY CO

*E-124 ECOLAB    ECOLAB                           1020712     2/22/16           609.00     66600   3/23/16   193152               03309   3/16
                                                  1020712     2/22/16            36.71     66600   3/23/16   193152      645.71   03309   3/16
                                                  0946049     2/12/16            94.50     16850   3/31/16   193836               03326   3/16
                                                  0946049     2/12/16             9.71     16850   3/31/16   193836               03326   3/16




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APHIST-0118    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     2
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                 0946049 2/12/16                5.67 16850 3/31/16 193836                       03326   3/16
                                                 1133148 3/02/16               54.67 66600 3/31/16 193836                       03741   3/16
                                                 1133148 3/02/16                3.28 66600 3/31/16 193836              167.83   03741   3/16
                                                    **********                  813.54 ***ECOLAB ******E-124****ECOLAB

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 09 3/04/16               95.88 35895 3/17/16 192780              95.88 02339 3/16
                                                    **********                   95.88 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                     18857536 2/03/16              685.62 16130 3/03/16 191269                       02743   3/16
                                                18857536 2/03/16               41.14 16130 3/03/16 191269                       02743   3/16
                                                18857537 2/03/16              744.24 16130 3/03/16 191269                       02743   3/16
                                                18857537 2/03/16               44.65 16130 3/03/16 191269                       02743   3/16
                                                18858964 2/04/16               69.79 16130 3/03/16 191269                       02111   3/16
                                                18858964 2/04/16               20.74 16130 3/03/16 191269                       02111   3/16
                                                18858964 2/04/16                4.19 16130 3/03/16 191269           1,610.37    02111   3/16
                                                18900018 2/15/16               69.79 16130 3/31/16 193805                       02252   3/16
                                                18900018 2/15/16               20.74 16130 3/31/16 193805                       02252   3/16
                                                18900018 2/15/16                4.19 16130 3/31/16 193805                       02252   3/16
                                                18978062 3/02/16              641.26 16130 3/31/16 193805                       03741   3/16
                                                18978062 3/02/16               38.48 16130 3/31/16 193805                       03741   3/16
                                                18978064 3/02/16               63.50 16130 3/31/16 193805                       03741   3/16
                                                18978064 3/02/16                3.81 16130 3/31/16 193805                       03741   3/16
                                                70537933 2/10/16               26.54- 16130 3/31/16 193805                      02111   3/16
                                                70537933 2/10/16                1.59- 16130 3/31/16 193805                      02111   3/16
                                                70539072 2/15/16               69.79- 16130 3/31/16 193805                      02252   3/16
                                                70539072 2/15/16                4.19- 16130 3/31/16 193805            739.66    02252   3/16
                                                    **********                2,350.03 ***EDWARD ******D-210****EDWARD DON

*E-132 EISSENS   ERIN EISSENS                     031516 3/15/16              278.96 62830 3/18/16 193009              278.96   03765   3/16
                                                    **********                  278.96 ***EISSENS ******E-132****ERIN EISSENS

EM-009 EMBASSY   HILTON HOTELS CORP           0012122199 2/29/16           9,397.37 02008 3/17/16 688247                        03665    /
                                              0012122199 2/29/16          15,662.28 02007 3/17/16 688247                        03665    /
                                              0012122199 2/29/16          25,059.64 02006 3/17/16 688247           50,119.29    03665    /
                                                    **********              50,119.29 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

ES-007 ESSE      ESSENTIAL EVENTS                    176 3/25/16              809.70 62625 3/31/16 689251             809.70 03562       /
                                                    **********                  809.70 ***ESSE   *****ES-007****ESSENTIAL EVENTS

EX-118 EXPERIEN EXPERIENT INC                    0135777 2/23/15              592.50 62625 3/31/16 689256                      03325     /
                                                 0148248 3/02/16              396.00 62625 3/31/16 689256              988.50 03326      /
                                                    **********                  988.50 ***EXPERIEN*****EX-118****EXPERIENT INC

FE-082 FEDEX     FEDEX                         532196686 2/16/16               28.85 60590 3/03/16 686221                       02252    /
                                               532196686 2/16/16               62.87 16600 3/03/16 686221              91.72    02252    /
                                               532946690 2/23/16               42.06 60590 3/23/16 688433                       03741    /
                                               533688125 3/01/16               56.40 60590 3/23/16 688433                       03741    /
                                               534425328 3/08/16              100.59 60590 3/23/16 688433                       03821    /
                                               534425328 3/08/16               29.43 16600 3/23/16 688433             228.48    03821    /
                                                    **********                  320.20 ***FEDEX  *****FE-082****FEDEX

GI-118 GIRVIN    GIRVIN MARKETING CO INC           11091 2/29/16              103.50 62251 3/23/16 688475                     03741   /
                                                   11091 2/29/16                5.00 62251 3/23/16 688475             108.50 03741    /
                                                    **********                  108.50 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC

GR-013 GRAINGER GRAINGER                      9005923264 1/22/16              284.50 66450 3/03/16 686257                       02359    /
                                              9005923264 1/22/16               17.07 66450 3/03/16 686257              301.57   02359    /
                                              9037233484 2/26/16              223.01 66200 3/23/16 688488                       03741    /
                                              9037233484 2/26/16               13.38 66200 3/23/16 688488              236.39   03741    /
                                                    **********                  537.96 ***GRAINGER*****GR-013****GRAINGER

GR-211 GREAT     GREAT LAKES POPCORN CO            39077 2/12/16              139.90 16125 3/10/16 687067             139.90 02890     /
                                                    **********                  139.90 ***GREAT  *****GR-211****GREAT LAKES POPCORN CO



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APHIST-0119    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                        PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*G-184 GUEST     GUEST SUPPLY - SYSCO            7158342 2/04/16              12.52 16850 3/03/16 191318                     02496    3/16
                                                 7158342 2/04/16                .75 16850 3/03/16 191318                     02496    3/16
                                                 7158342 2/04/16             576.95 16500 3/03/16 191318                     02496    3/16
                                                 7158342 2/04/16              34.62 16500 3/03/16 191318                     02496    3/16
                                                 7158342 2/04/16           2,174.37 16400 3/03/16 191318                     02496    3/16
                                                 7158342 2/04/16             130.50 16400 3/03/16 191318                     02496    3/16
                                                 7158342 2/04/16                .01 16400 3/03/16 191318                     02496    3/16
                                                 7159745 2/04/16             168.00 16400 3/03/16 191318                     02496    3/16
                                                 7159745 2/04/16              10.08 16400 3/03/16 191318           3,107.80 02496     3/16
                                                 7168717 2/09/16           3,987.52 16500 3/10/16 191893                     02639    3/16
                                                 7168717 2/09/16             239.26 16500 3/10/16 191893                     02639    3/16
                                                 7175684 2/11/16              61.79 16250 3/10/16 191893                     02639    3/16
                                                 7175684 2/11/16              11.95 16250 3/10/16 191893                     02639    3/16
                                                 7175684 2/11/16               3.71 16250 3/10/16 191893                     02639    3/16
                                                 7182868 2/15/16             298.60 66120 3/10/16 191893                     02639    3/16
                                                 7182868 2/15/16              17.92 66120 3/10/16 191893           4,620.75 02639     3/16
                                                 7190554 2/18/16             626.97 16250 3/17/16 192795                     02639    3/16
                                                 7190554 2/18/16              37.62 16250 3/17/16 192795                     02639    3/16
                                                 7190554 2/18/16             178.97 16200 3/17/16 192795                     02639    3/16
                                                 7190554 2/18/16              10.74 16200 3/17/16 192795             854.30 02639     3/16
                                                 7196566 2/22/16             302.00 16500 3/23/16 193166                     02639    3/16
                                                 7196566 2/22/16              18.12 16500 3/23/16 193166                     02639    3/16
                                                 7196566 2/22/16             621.78 16400 3/23/16 193166                     02639    3/16
                                                 7196566 2/22/16              37.32 16400 3/23/16 193166                     02639    3/16
                                                 7208790 2/26/16             528.32 16500 3/23/16 193166                     03821    3/16
                                                 7208790 2/26/16              31.72 16500 3/23/16 193166                     03821    3/16
                                                 7208790 2/26/16              81.60 16400 3/23/16 193166                     03821    3/16
                                                 7208790 2/26/16               4.90 16400 3/23/16 193166                     03821    3/16
                                                 7214116 3/01/16           2,630.75 16400 3/23/16 193166                     03821    3/16
                                                 7214116 3/01/16             157.88 16400 3/23/16 193166                     03821    3/16
                                                 7214116 3/01/16             123.58 16250 3/23/16 193166                     03821    3/16
                                                 7214116 3/01/16               7.42 16250 3/23/16 193166                     03821    3/16
                                                 7214116 3/01/16             261.93 16200 3/23/16 193166                     03821    3/16
                                                 7214116 3/01/16              15.71 16200 3/23/16 193166                     03821    3/16
                                                 7214279 3/01/16           5,159.44 16500 3/23/16 193166                     03821    3/16
                                                 7214279 3/01/16             309.59 16500 3/23/16 193166                     03821    3/16
                                                 7214432 3/01/16           1,382.06 16250 3/23/16 193166                     03821    3/16
                                                 7214432 3/01/16              82.94 16250 3/23/16 193166                     03821    3/16
                                                 7214464 3/01/16              51.34 16400 3/23/16 193166                     03821    3/16
                                                 7214464 3/01/16               3.08 16400 3/23/16 193166                     03821    3/16
                                                 7217765 3/01/16             622.80 16400 3/23/16 193166                     03821    3/16
                                                 7217765 3/01/16              37.36 16400 3/23/16 193166          12,471.64 03821     3/16
                                                    **********              21,054.49 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

GU-103 GUEST     GUEST SUPPLY-SYSCO              7198431 2/22/16              312.19 01904 3/10/16 687072             312.19 03240     /
                                                    **********                  312.19 ***GUEST  *****GU-103****GUEST SUPPLY-SYSCO

*H-006 HAMPTON   HAMPTON EMBASSY SUITES       D027063900 2/29/16              30.73 60070 3/03/16 191337                      02417 3/16
                                              D027063900 2/29/16               8.23 16400 3/03/16 191337                      02417 3/16
                                              D027064796 2/24/16             140.00 66160 3/03/16 191337                      02219 3/16
                                              D027064796 2/24/16              71.16 60135 3/03/16 191337                      02219 3/16
                                              D027064796 2/24/16           3,553.90 16140 3/03/16 191337                      02219 3/16
                                              D027064796 2/24/16             300.00 14030 3/03/16 191337            4,104.02 02219 3/16
                                              D037061029 3/11/16              14.94 66100 3/17/16 192811                      03700 3/16
                                              D037063643 3/08/16             752.29 16140 3/17/16 192811                      03299 3/16
                                              D037067293 3/08/16             250.99 60070 3/17/16 192811                      03299 3/16
                                              D037067293 3/08/16              19.07 16600 3/17/16 192811                      03299 3/16
                                              D037067293 3/08/16              98.48 16110 3/17/16 192811                      03299 3/16
                                              D037068997 3/11/16           1,900.00 62850 3/17/16 192811                      03700 3/16
                                              D037068997 3/11/16             371.00 60710 3/17/16 192811                      03700 3/16
                                              D037068997 3/11/16             688.56 16140 3/17/16 192811                      03700 3/16
                                              D037068997 3/11/16             221.96 14030 3/17/16 192811            4,317.29 03700 3/16
                                              D037067331 3/23/16              25.42 16850 3/31/16 193871                      03475 3/16
                                              D037067331 3/23/16              19.07 16600 3/31/16 193871               44.49 03475 3/16
                                                    **********               8,465.80 ***HAMPTON ******H-006****HAMPTON EMBASSY SUITES

HA-250 HAMPTON   HAMPTON ROADS CONVENTION       03182016 3/18/16           1,800.00 62625 3/31/16 689327            1,800.00 03326    /
                                                    **********               1,800.00 ***HAMPTON *****HA-250****HAMPTON ROADS CONVENTION




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APHIST-0120   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE      1
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                        INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
HA-252 HAMPTON   HAMPTON INN-NEWPORT NEWS           33310 3/03/16              227.72 16702 3/23/16 688505              227.72 03821    /
                                                     **********                  227.72 ***HAMPTON *****HA-252****HAMPTON INN-NEWPORT NEWS

*H-485 HAWKES    DIANA HAWKES                       22916 2/26/16               58.32 60070 3/15/16 192652              58.32   03588    3/16
                                                     **********                   58.32 ***HAWKES ******H-485****DIANA HAWKES

*H-297 HD SUPP   HD SUPPLY FACILITIES          9143432000 2/04/16              265.53 66651 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16               15.93 66651 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16              119.72 66250 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16                7.18 66250 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16              116.25 66160 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16                6.97 66160 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16              656.89 66130 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16               39.41 66130 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16              215.54 66120 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16               12.93 66120 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16              188.38 66110 3/03/16 191363                      02890    3/16
                                               9143432000 2/04/16               11.30 66110 3/03/16 191363            1,656.03 02890     3/16
                                               9143611941 2/11/16               89.26 66250 3/10/16 191924                      02252    3/16
                                               9143611941 2/11/16                5.36 66250 3/10/16 191924                      02252    3/16
                                               9143669407 2/15/16               14.80 66250 3/10/16 191924                      02252    3/16
                                               9143669407 2/15/16                 .89 66250 3/10/16 191924              110.31 02252     3/16
                                               9144054561 3/03/16              424.45 66651 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16               25.47 66651 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16              166.21 66600 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16                9.97 66600 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16              190.56 66250 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16               11.43 66250 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16               38.84 66200 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16                2.33 66200 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16              217.80 66160 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16               13.07 66160 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16              594.66 66130 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16               35.69 66130 3/31/16 193901                      03741    3/16
                                               9144054561 3/03/16                 .01 66130 3/31/16 193901            1,730.49 03741     3/16
                                                     **********                3,496.83 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-175 HILTON    HILTON HOTELS CORPORATION     0012117217 2/22/16             590.00 85410 3/03/16 191346                       02504 3/16
                                               0012117217 2/22/16              35.41 85410 3/03/16 191346                       02504 3/16
                                               0012117217 2/22/16           1,337.78 16700 3/03/16 191346                       02504 3/16
                                               0012117217 2/22/16              80.26 16700 3/03/16 191346           2,043.45    02504 3/16
                                                   651419 2/29/16           7,946.03 62249 3/31/16 193879                       03325 3/16
                                                 16382039 2/25/16             230.00 16105 3/31/16 193879                       03325 3/16
                                                 16405815 3/11/16             100.00 16105 3/31/16 193879                       03325 3/16
                                                 16427953 3/11/16             100.00 16105 3/31/16 193879                       03325 3/16
                                                 16447160 3/11/16              50.00 16105 3/31/16 193879                       03325 3/16
                                               0012113884 2/10/16             100.00- 16870 3/31/16 193879                      03741 3/16
                                               0012126390 2/29/16             761.48 62860 3/31/16 193879                       03325 3/16
                                               0012126390 2/29/16           8,562.68 16300 3/31/16 193879                       03325 3/16
                                               0012129250 3/10/16           3,151.42 62650 3/31/16 193879                       03325 3/16
                                               0012131103 3/14/16             305.16 16700 3/31/16 193879                       03325 3/16
                                               0012134727 3/15/16             885.00 60310 3/31/16 193879                       03325 3/16
                                               0012139320 3/21/16             590.00 85410 3/31/16 193879                       03501 3/16
                                               0012139320 3/21/16              35.41 85410 3/31/16 193879                       03501 3/16
                                               0012139320 3/21/16           1,337.78 16700 3/31/16 193879                       03501 3/16
                                               0012139320 3/21/16              80.26 16700 3/31/16 193879          24,035.22    03501 3/16
                                                     **********              26,078.67 ***HILTON ******H-175****HILTON HOTELS   CORPORATION

HO-009 HOBART    HOBART SERVICE                  25719296 2/12/16              100.96 66202 3/10/16 687396                      02252     /
                                                 25719296 2/12/16               25.00 66202 3/10/16 687396                      02252     /
                                                 25719296 2/12/16                6.06 66202 3/10/16 687396                      02252     /
                                                 60933121 2/12/16              218.58 66202 3/10/16 687396                      02252     /
                                                 60933121 2/12/16               20.00 66202 3/10/16 687396                      02252     /
                                                 60933121 2/12/16               13.11 66202 3/10/16 687396             383.71 02252       /
                                                     **********                  383.71 ***HOBART *****HO-009****HOBART SERVICE

HO-045 HOME      HOMESITE INSURANCE CO         7748786554 3/16/16           1,557.00 01312 3/17/16 688203           1,557.00 03665    /
                                                     **********               1,557.00 ***HOME   *****HO-045****HOMESITE INSURANCE CO



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                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE       INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
HO-410 HOME      HOME DEPOT CREDIT SERVICE        1094447 2/17/16                53.24 66250 3/03/16 686313                     02111   /
                                                  1094447 2/17/16                 3.19 66250 3/03/16 686313                     02111   /
                                                  6085370 2/12/16                12.21 66250 3/03/16 686313                     02111   /
                                                  6085370 2/12/16                  .73 66250 3/03/16 686313                     02111   /
                                                  6095136 2/22/16                33.97 66200 3/03/16 686313                     02359   /
                                                  6095136 2/22/16                 2.04 66200 3/03/16 686313             105.38 02359    /
                                                  1091090 3/08/16                69.96 66201 3/17/16 687742                     03700   /
                                                  1091090 3/08/16                 4.20 66201 3/17/16 687742                     03700   /
                                                  1594474 3/08/16                45.89 66500 3/17/16 687742                     03700   /
                                                  1594474 3/08/16                 2.75 66500 3/17/16 687742                     03700   /
                                                  5574192 3/04/16                12.89 66200 3/17/16 687742                     03700   /
                                                  5574192 3/04/16                  .77 66200 3/17/16 687742                     03700   /
                                                  9012128 3/10/16                81.99 66120 3/17/16 687742                     03700   /
                                                  9012128 3/10/16                 4.92 66120 3/17/16 687742             223.37 03700    /
                                               FCH5804650 11/02/15               20.00 66120 3/31/16 689348              20.00 03325    /
                                                     **********                   348.75 ***HOME   *****HO-410****HOME DEPOT CREDIT SERVICE

HO-156 HOTELSIG HOTELSIGNS.COM                    2677028 2/26/16               320.00 16105 3/31/16 689344                       03326    /
                                                  2677028 2/26/16                22.89 16105 3/31/16 689344              342.89 03326      /
                                                     **********                   342.89 ***HOTELSIG*****HO-156****HOTELSIGNS.COM

*H-267 HRSD      HRSD                            31610004 3/28/16           19,372.76 64500 3/31/16 193891          19,372.76     03578   3/16
                                               3131215004 3/28/16           62,873.24 85962 3/31/16 193892          62,873.24     03578   3/16
                                                     **********               82,246.00 ***HRSD   ******H-267****HRSD

*I-041 IKON      IKON/RICOH SERVICES             96341929 3/10/16               434.70 60370 3/10/16 191941                     03108     3/16
                                                 96341929 3/10/16                26.07 60370 3/10/16 191941             460.77 03108      3/16
                                                     **********                   460.77 ***IKON   ******I-041****IKON/RICOH SERVICES

IM-026 IMAGES    IMAGES IN ART SIGNS &               4980 2/05/16               385.00 66120 3/03/16 686329                     02743   /
                                                     4980 2/05/16                17.76 66120 3/03/16 686329             402.76 02743    /
                                                     **********                   402.76 ***IMAGES *****IM-026****IMAGES IN ART SIGNS &

JA-104 JACKSON   RODNEY JACKSON                     22916 2/29/16               109.35 60720 3/23/16 689011                       03945    /
                                                    22916 2/29/16               157.58 35031 3/23/16 689011              266.93 03945      /
                                                     **********                   266.93 ***JACKSON *****JA-104****RODNEY JACKSON

JE-075 JEFF'S    JEFF'S FLOWERS OF COURSE,        1433821 2/08/16                85.00 60070 3/03/16 686346                     02252   /
                                                  1433821 2/08/16                 4.50 60070 3/03/16 686346                     02252   /
                                                  1433822 2/08/16                85.00 60070 3/03/16 686346                     02252   /
                                                  1433822 2/08/16                 4.50 60070 3/03/16 686346             179.00 02252    /
                                                     **********                   179.00 ***JEFF'S *****JE-075****JEFF'S FLOWERS OF COURSE,

JE-050 JEFFERSO MONIQUE JEFFERSON                  031516 3/15/16                98.10 62830 3/18/16 911650               98.10 03765      /
                                                     **********                    98.10 ***JEFFERSO*****JE-050****MONIQUE JEFFERSON

*J-231 JQH ACC   JQH ACCOUNTING SERVICES       *ACCT16 02 2/30/16            5,375.00 60116 3/10/16 192204            5,375.00 02339 3/16
                                                     **********                5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT        JINS0316    3/30/16             972.61 66060 3/31/16 193943                     00000 3/16
                                               JINS0316    3/30/16           1,188.43 62060 3/31/16 193943                     00000 3/16
                                               JINS0316    3/30/16           1,288.17 60060 3/31/16 193943                     00000 3/16
                                               JINS0316    3/30/16           2,917.10 16060 3/31/16 193943           6,366.31 00000 3/16
                                                     **********                6,366.31 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

*J-018 JQH C     JQH C - INSURANCE             INSA031601 3/22/16            1,380.64 02120 3/23/16 193236                     00000      3/16
                                               INSA031601 3/22/16              105.59 01310 3/23/16 193236           1,486.23 00000       3/16
                                                     **********                1,486.23 ***JQH C  ******J-018****JQH C - INSURANCE

JQ-004 JQH C     JQH C                         122A0316       3/23/16            19.80     60115   3/31/16   689832               00000    /
                                               122A0316       3/23/16            47.62     60061   3/31/16   689832               00000    /




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APHIST-0122    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     2
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                               122A0316    3/23/16            636.00 47082 3/31/16 689832                        00000    /
                                               122A0316    3/23/16             46.30 35901 3/31/16 689832                        00000    /
                                               122A0316    3/23/16            186.81 35030 3/31/16 689832                        00000    /
                                               122A0316    3/23/16          1,032.50 35026 3/31/16 689832                        00000    /
                                               122A031601 3/23/16             280.16 60860 3/31/16 689832                        00000    /
                                               122A031601 3/23/16              93.50 60856 3/31/16 689832                        00000    /
                                               122A031601 3/23/16             130.61 60721 3/31/16 689832                        00000    /
                                               122A031601 3/23/16           2,721.65 60720 3/31/16 689832                        00000    /
                                               122A031601 3/23/16              72.19 60590 3/31/16 689832                        00000    /
                                               122A031601 3/23/16              69.99 60580 3/31/16 689832                        00000    /
                                               122A031601 3/23/16              25.33 60320 3/31/16 689832                        00000    /
                                               122A031602 3/23/16             100.00 64700 3/31/16 689832                        00000    /
                                               122A031602 3/23/16              15.00 62860 3/31/16 689832                        00000    /
                                               122A031602 3/23/16              15.73 62840 3/31/16 689832                        00000    /
                                               122A031602 3/23/16           2,696.60 62830 3/31/16 689832                        00000    /
                                               122A031602 3/23/16             360.76 62380 3/31/16 689832                        00000    /
                                               122A031602 3/23/16           1,151.98 60880 3/31/16 689832                        00000    /
                                               122A031602 3/23/16             300.49 60870 3/31/16 689832                        00000    /
                                               122A031603 3/23/16           1,645.00 16150 3/31/16 689832                        00000    /
                                               122A031603 3/23/16             279.52 02005 3/31/16 689832                        00000    /
                                               122A031604 3/23/16           4,094.25- 85962 3/31/16 689832                       00000    /
                                               122A031604 3/23/16             407.40- 84035 3/31/16 689832           7,425.89    00000    /
                                                     **********               7,425.89 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT            JINS0316    3/30/16          1,527.24 66060 3/31/16 194012                     00000      3/16
                                               JINS0316    3/30/16          4,804.73 62060 3/31/16 194012                     00000      3/16
                                               JINS0316    3/30/16          5,553.31 60060 3/31/16 194012                     00000      3/16
                                               JINS0316    3/30/16          9,075.86 16060 3/31/16 194012          20,961.14 00000       3/16
                                                     **********              20,961.14 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC        *RFM16  02 3/05/16              399.17 66900 3/10/16 192156              399.17   02339 3/16
                                                     **********                  399.17 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-021 JQHHM     JQHHM REG.   ALLOC.           *RVP16  02 3/05/16           4,182.92 60900 3/10/16 191946                    02339       3/16
                                               *SRM16  02 3/05/16           2,450.48 62900 3/10/16 191946           6,633.40 02339       3/16
                                                     **********               6,633.40 ***JQHHM  ******J-021****JQHHM REG. ALLOC.

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS      *ARM16  02 3/05/16           3,974.70 16900 3/10/16 192006           3,974.70 02339 3/16
                                                     **********               3,974.70 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV       *ARM16  02 3/05/16              402.16 62900 3/10/16 192041               402.16 02339 3/16
                                               *EC16   02 3/05/16              441.04 62900 3/10/16 192046               441.04 02339 3/16
                                               *RPM16  01 3/05/16              251.82 66900 3/10/16 192055               251.82 03002 3/16
                                               *BRM16  02 3/05/16              976.47 62900 3/10/16 192076               976.47 02339 3/16
                                               *FM16   01 3/05/16              376.16 66900 3/10/16 192081               376.16 03002 3/16
                                               *DRM16  02 3/05/16              688.22 62900 3/10/16 192111               688.22 02339 3/16
                                               *RMA16  02 3/05/16              263.50 62900 3/10/16 192120               263.50 02339 3/16
                                                     **********                3,399.37 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                      MGMT021602 2/29/16          18,255.16 02013 3/10/16 687473           18,255.16    00000    /
                                                     **********              18,255.16 ***JQHHM LL*****JQ-003****JQHHM LLC

LG-007 LG        LG ELECTRONICS ALABAMA        AI07872027 1/22/16              150.00 66520 3/17/16 687806             150.00 03299     /
                                               AI07857121 1/19/16              150.00 66520 3/31/16 689414             150.00 03325     /
                                                     **********                  300.00 ***LG     *****LG-007****LG ELECTRONICS ALABAMA

LO-067 LODGING   LODGING TELEVISION SERVIC         109929 3/01/16              320.00 66520 3/23/16 688599              320.00 03741    /
                                                     **********                  320.00 ***LODGING *****LO-067****LODGING TELEVISION SERVIC

*M-024 MARSH     MARSH USA INC                 INSA021601 3/04/16           3,445.00 02120 3/10/16 192265                     00000      3/16
                                               INSA021601 3/04/16           2,320.00 01310 3/10/16 192265           5,765.00 00000       3/16
                                               INSA021602 3/04/16           3,210.04 01311 3/10/16 192307           3,210.04 00000       3/16
                                                     **********               8,975.04 ***MARSH  ******M-024****MARSH USA INC




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APHIST-0123    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                             PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
MI-229 MISTER    MISTER B'S LAUNDRY                022916 2/29/16                46.00 66075 3/23/16 688630                     03821       /
                                                   022916 2/29/16               112.50 60720 3/23/16 688630                     03821       /
                                                   022916 2/29/16               223.40 45030 3/23/16 688630                     03821       /
                                                   022916 2/29/16               150.50 16800 3/23/16 688630             532.40 03821        /
                                                     **********                   532.40 ***MISTER *****MI-229****MISTER B'S LAUNDRY

*N-117 NEWPORT   NEWPORT NEWS WATERWORKS         31622508 3/16/16            9,511.16 64500 3/23/16 193332            9,511.16 03917 3/16
                                                     **********                9,511.16 ***NEWPORT ******N-117****NEWPORT NEWS WATERWORKS

*N-090 NOR1      NOR1 INC                       INV206376 2/29/16               332.55 16300 3/23/16 193320             332.55     03309   3/16
                                                     **********                   332.55 ***NOR1   ******N-090****NOR1 INC

OA-002 OAK       A-OAK FARMS INC               *4104     04 3/01/16          1,400.00 66460 3/10/16 687199           1,400.00 02339         /
                                                       **********              1,400.00 ***OAK    *****OA-002****A-OAK FARMS INC

PE-179 PENINSU   PENINSULA ELECTRIC MOTOR           50116 2/19/16               308.10 66600 3/03/16 686486                      02359   /
                                                    50116 2/19/16                25.00 66600 3/03/16 686486                      02359   /
                                                    50116 2/19/16                18.49 66600 3/03/16 686486                      02359   /
                                                    50162 2/19/16                82.46 66250 3/03/16 686486                      02359   /
                                                    50162 2/19/16                 4.95 66250 3/03/16 686486              439.00 02359    /
                                                    50519 3/07/16               198.04 66160 3/23/16 688686                      03741   /
                                                    50519 3/07/16                11.88 66160 3/23/16 688686              209.92 03741    /
                                                     **********                   648.92 ***PENINSU *****PE-179****PENINSULA ELECTRIC MOTOR

PE-352 PEVONIA   PEVONIA INT'L LLC             0000200618 2/17/16            1,008.35 45022 3/23/16 688688                      03741       /
                                               0000200618 2/17/16               43.13 45022 3/23/16 688688            1,051.48 03741        /
                                                     **********                1,051.48 ***PEVONIA *****PE-352****PEVONIA INT'L LLC

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         718788 2/09/16               150.00 16400 3/10/16 687219             150.00 02890    /
                                                   725464 3/01/16               150.00 16400 3/23/16 688696             150.00 03741    /
                                                     **********                   300.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PR-446 PROSOLUT PROSOLUTIONS, LLC                   27476 2/05/16            1,401.00 62870 3/17/16 687911            1,401.00 03299        /
                                                     **********                1,401.00 ***PROSOLUT*****PR-446****PROSOLUTIONS, LLC

RA-485 RAYFIELD RAYFIELD COMMUNICATIONS             85334 9/29/15               365.00 66520 3/23/16 688728              365.00 03821    /
                                                     **********                   365.00 ***RAYFIELD*****RA-485****RAYFIELD COMMUNICATIONS

DE-135 READY RE READY REFRESH BY NESTLE        06B0439087 3/02/16                 8.48 60370 3/23/16 688389                        03741   /
                                               06B0439087 3/02/16                  .26 60370 3/23/16 688389                        03741   /
                                               06B0439087 3/02/16                60.81 16400 3/23/16 688389                        03741   /
                                               06B0439087 3/02/16                 1.87 16400 3/23/16 688389               71.42    03741   /
                                                     **********                    71.42 ***READY RE*****DE-135****READY REFRESH   BY NESTLE

RE-415 REGAL     THE REGAL PRESS INC               369831 3/03/16                36.80 60552 3/23/16 688736              36.80 03741        /
                                                   371759 3/08/16                55.20 60552 3/31/16 689541              55.20 03326        /
                                                     **********                    92.00 ***REGAL  *****RE-415****THE REGAL PRESS INC

RI-250 RICOH     RICOH USA INC                 5040660633 2/23/16               579.49 60370 3/17/16 687945                        03309    /
                                               5040660633 2/23/16                17.39 60370 3/17/16 687945             596.88     03309    /
                                               1061247076 3/03/16               223.01 60550 3/31/16 689556                        03326    /
                                               1061247076 3/03/16                13.38 60550 3/31/16 689556                        03326    /
                                               1061267515 3/03/16                29.91 60550 3/31/16 689556                        03326    /
                                               1061267515 3/03/16                 1.79 60550 3/31/16 689556                        03326    /
                                               1061280628 3/04/16               606.80 60550 3/31/16 689556                        03326    /
                                               1061280628 3/04/16                36.41 60550 3/31/16 689556             911.30     03326    /
                                                     **********                 1,508.18 ***RICOH  *****RI-250****RICOH USA INC

RI-042 RIDGEWAY RIDGEWAY COMMUNICATIONS             53083     1/14/16           294.00     35030   3/03/16   686529                02111    /
                                                    53083     1/14/16            17.88     35030   3/03/16   686529                02111    /




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APHIST-0124    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     2
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                    53143 1/22/16              265.25 35030 3/03/16 686529                      02111   /
                                                    53143 1/22/16               17.88 35030 3/03/16 686529              595.01 02111    /
                                                     **********                  595.01 ***RIDGEWAY*****RI-042****RIDGEWAY COMMUNICATIONS

RO-217 ROOM      ROOM360 BY FOH                    501176 2/10/16           1,025.10 16105 3/17/16 687949                      03700      /
                                                   501176 2/10/16             112.99 16105 3/17/16 687949                      03700      /
                                                   501176 2/10/16              61.51 16105 3/17/16 687949           1,199.60 03700        /
                                                     **********               1,199.60 ***ROOM   *****RO-217****ROOM360 BY FOH

*R-052 ROSS      JULIE (MARTHA) LEAL ROSS          030316 3/03/16              249.00 60730 3/17/16 192925             249.00 03299 3/16
                                                     **********                  249.00 ***ROSS   ******R-052****JULIE (MARTHA) LEAL ROSS

RO-760 ROTO      ROTO-ROOTER                   4218629716 3/04/16              315.00 66250 3/23/16 688766             315.00    03741    /
                                                     **********                  315.00 ***ROTO   *****RO-760****ROTO-ROOTER

*R-207 ROYAL     ROYAL PAPER CORP                 4580463 2/17/16             884.80 16400 3/10/16 192399                     02639      3/16
                                                  4580463 2/17/16              53.09 16400 3/10/16 192399             937.89 02639       3/16
                                                  4582778 2/29/16             173.51 16850 3/23/16 193357                     03309      3/16
                                                  4582778 2/29/16              10.41 16850 3/23/16 193357                     03309      3/16
                                                  4582778 2/29/16           1,349.80 16400 3/23/16 193357                     03309      3/16
                                                  4582778 2/29/16              80.99 16400 3/23/16 193357           1,614.71 03309       3/16
                                                     **********               2,552.60 ***ROYAL  ******R-207****ROYAL PAPER CORP

DO-100 RR DONNE RR DONNELLEY                    554873277 3/03/16              240.00 16600 3/31/16 689219                       03326    /
                                                554873277 3/03/16               14.40 16600 3/31/16 689219              254.40   03326    /
                                                     **********                  254.40 ***RR DONNE*****DO-100****RR DONNELLEY

*S-793 SAINT AM SAVANNAH SAINT AMERICA             032116 3/21/16              111.83 16800 3/31/16 194225              111.83 03325 3/16
                                                     **********                  111.83 ***SAINT AM******S-793****SAVANNAH SAINT AMERICA

SC-009 SCOTTY'S SCOTTY'S SIGNS, INC               34985TL 2/25/16              422.62 66130 3/23/16 688786                      03741     /
                                                  34985TL 2/25/16               14.56 66130 3/23/16 688786              437.18 03741      /
                                                     **********                  437.18 ***SCOTTY'S*****SC-009****SCOTTY'S SIGNS, INC

SE-202 SERTA     SERTA MATTRESS CO.                642086 1/25/16              229.00 66400 3/17/16 687981                     03700      /
                                                   642086 1/25/16               75.00 66400 3/17/16 687981                     03700      /
                                                   642086 1/25/16               13.74 66400 3/17/16 687981             317.74 03700       /
                                                     **********                  317.74 ***SERTA  *****SE-202****SERTA MATTRESS CO.

*S-745 SERTI     SERTIFI                       *SALE     02 3/01/16            120.44 62843 3/10/16 192477             120.44    02339   3/16
                                                       **********                120.44 ***SERTI  ******S-745****SERTIFI

SH-437 SHOES     SHOES FOR CREWS LLC              1027065 2/22/16               18.00- 16800 3/23/16 689056                     03741     /
                                                  6618148 1/21/16               79.61 16800 3/23/16 689056               61.61 03741      /
                                                     **********                   61.61 ***SHOES   *****SH-437****SHOES FOR CREWS LLC

SH-306 SHRED     SHRED-IT USA LLC              9409320924 2/05/16               92.07 60370 3/03/16 686583              92.07 02890       /
                                               9409698757 3/04/16               71.80 60370 3/31/16 689598              71.80 03326       /
                                                     **********                  163.87 ***SHRED  *****SH-306****SHRED-IT USA LLC

*S-466 SIMP      SIMPLEXGRINNELL                 82183935 2/04/16              278.50 66110 3/03/16 191487                     02890     3/16
                                                 82183935 2/04/16               16.35 66110 3/03/16 191487             294.85 02890      3/16
                                                     **********                  294.85 ***SIMP   ******S-466****SIMPLEXGRINNELL

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS       2669690   3/07/16          1,040.06 45025 3/23/16 193288                     03741 3/16
                                                 2669690   3/07/16             65.58 45025 3/23/16 193288           1,105.64 03741 3/16
                                                     **********               1,105.64 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS




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APHIST-0125    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE       INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
ST-448 STAPLES   STAPLES ADVANTAGE            3293326578 2/16/16                85.18 60550 3/03/16 686849                      02111   /
                                              3293326578 2/16/16                 5.11 60550 3/03/16 686849                      02111   /
                                              3293433308 2/18/16               115.37 60550 3/03/16 686849                      02111   /
                                              3293433308 2/18/16                 6.92 60550 3/03/16 686849                      02111   /
                                              3293433309 2/18/16               289.74 60550 3/03/16 686849                      02111   /
                                              3293433309 2/18/16                17.38 60550 3/03/16 686849              519.70 02111    /
                                              3295128912 3/01/16                37.79 60550 3/17/16 688212                      03309   /
                                              3295128912 3/01/16                 2.27 60550 3/17/16 688212               40.06 03309    /
                                              3294637834 2/27/16               159.07 60551 3/23/16 689018                      03741   /
                                              3294637834 2/27/16                 9.54 60551 3/23/16 689018                      03741   /
                                              3294637834 2/27/16                76.27 60550 3/23/16 689018                      03741   /
                                              3294637834 2/27/16                 4.58 60550 3/23/16 689018              249.46 03741    /
                                                    **********                   809.22 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

SU-507 SUPERIOR SUPERIOR FITNESS SVC LLC          123762 3/04/16               225.00 66201 3/23/16 688846                      03741   /
                                                  123763 3/04/16               336.00 66201 3/23/16 688846                      03741   /
                                                  123763 3/04/16                15.00 66201 3/23/16 688846                      03741   /
                                                  123763 3/04/16                16.86 66201 3/23/16 688846              592.86 03741    /
                                                    **********                   592.86 ***SUPERIOR*****SU-507****SUPERIOR FITNESS SVC LLC

*S-693 SYSCO     SYSCO                         602180257 2/18/16            2,398.82 16110 3/10/16 192438                        02639   3/16
                                               602250091 2/25/16            2,490.26 16110 3/10/16 192438                        02639   3/16
                                              512290512A 12/29/15             597.60 16110 3/10/16 192438                        02639   3/16
                                              602170137B 2/17/16              494.76 16105 3/10/16 192438           5,981.44     02639   3/16
                                               602220058 2/22/16            3,649.12 16110 3/23/16 193407                        03821   3/16
                                               602290135 2/29/16            3,145.83 16110 3/23/16 193407                        03821   3/16
                                               603030119 3/03/16            2,123.12 16110 3/23/16 193407                        03821   3/16
                                               603070474 3/07/16            2,077.56 16110 3/23/16 193407                        03821   3/16
                                               603100120 3/10/16            3,591.14 16110 3/23/16 193407          14,586.77     03821   3/16
                                               602260228 2/26/16               95.52 16400 3/31/16 194191                        03562   3/16
                                               603030169 3/03/16               56.50 16105 3/31/16 194191                        03562   3/16
                                               603050930 3/05/16              256.70 16105 3/31/16 194191                        03562   3/16
                                               603100118 3/10/16              512.84 16105 3/31/16 194191                        03562   3/16
                                               603140087 3/14/16            2,682.69 16110 3/31/16 194191                        03562   3/16
                                               603170110 3/17/16            1,312.66 16110 3/31/16 194191                        03562   3/16
                                               603170111 3/17/16            2,257.09 16110 3/31/16 194191                        03562   3/16
                                               603170111 3/17/16               18.00 16105 3/31/16 194191                        03562   3/16
                                              603160163A 3/16/16              140.78 16105 3/31/16 194191           7,332.78     03562   3/16
                                                    **********               27,900.99 ***SYSCO  ******S-693****SYSCO

TA-208 TALX      TALX CORP.                      2047761 3/08/16                29.40 60320 3/23/16 689059              29.40    03741    /
                                                    **********                    29.40 ***TALX   *****TA-208****TALX CORP.

*K-163 THE KN    THE KNOWLAND GROUP LLC       *MTHSUB 04 2/28/16               396.00 62841 3/10/16 192239             396.00 02339 3/16
                                                    **********                   396.00 ***THE KN ******K-163****THE KNOWLAND GROUP LLC

TI-084 TINGUE    TINGUE BROWN & CO                249621 2/16/16            1,694.80 66275 3/17/16 688191                     02252       /
                                                  249621 2/16/16               27.56 66275 3/17/16 688191                     02252       /
                                                  249621 2/16/16              101.69 66275 3/17/16 688191           1,824.05 02252        /
                                                  249622 2/16/16            1,366.20 66275 3/23/16 688859                     03741       /
                                                  249622 2/16/16               20.96 66275 3/23/16 688859                     03741       /
                                                  249622 2/16/16               81.97 66275 3/23/16 688859           1,469.13 03741        /
                                                    **********                3,293.18 ***TINGUE *****TI-084****TINGUE BROWN & CO

*T-198 TRAVEL    TRAVELCLICK INC              **MKTVSN03 3/01/16               175.00 62841 3/31/16 194229             175.00 02339      3/16
                                                    **********                   175.00 ***TRAVEL ******T-198****TRAVELCLICK INC

TR-117 TRAY      TRAY INC                         220807 2/22/16                39.59 16600 3/31/16 689645                       03326    /
                                                  220807 2/22/16                 2.38 16600 3/31/16 689645              41.97    03326    /
                                                    **********                    41.97 ***TRAY   *****TR-117****TRAY INC

TR-083 TREASURE TREASURER CITY OF HAMPTON     CITY0316       3/11/16             .01      85960   3/14/16   911571               00000    /
                                              CITY0316       3/11/16        5,240.99      02056   3/14/16   911571    5,241.00   00000    /
                                              CNTY0316       3/11/16            6.67      85960   3/14/16   911582               00000    /




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APHIST-0126   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     2
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              CNTY0316    3/11/16         50,303.82 02057 3/14/16 911582           50,310.49 00000    /
                                                    **********              55,551.49 ***TREASURE*****TR-083****TREASURER CITY OF HAMPTON

TR-510 TRI       TRI STATE TECHNICAL             0217370 2/11/16               83.50 66275 3/10/16 687327                     02111      /
                                                 0217370 2/11/16               20.96 66275 3/10/16 687327                     02111      /
                                                 0217370 2/11/16                5.01 66275 3/10/16 687327             109.47 02111       /
                                                 0217581 2/18/16              334.98 66275 3/23/16 688870                     03741      /
                                                 0217581 2/18/16               22.04 66275 3/23/16 688870                     03741      /
                                                 0217581 2/18/16               20.10 66275 3/23/16 688870             377.12 03741       /
                                                    **********                  486.59 ***TRI    *****TR-510****TRI STATE TECHNICAL

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2725569 1/15/16               56.95- 45022 3/03/16 686661                     01566   /
                                                 2725569 1/15/16                3.02- 45022 3/03/16 686661                     01566   /
                                                 2730969 1/26/16              260.20 45022 3/03/16 686661                      02111   /
                                                 2730969 1/26/16               27.68 45022 3/03/16 686661                      02111   /
                                                 2730969 1/26/16               13.79 45022 3/03/16 686661                      02111   /
                                                 2732657 1/28/16                8.40 45022 3/03/16 686661                      02111   /
                                                 2732657 1/28/16                 .45 45022 3/03/16 686661              250.55 02111    /
                                                    **********                  250.55 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

US-129 USA TODA USA TODAY                     0013061017 2/28/16              225.00 16105 3/23/16 689060              225.00   03741    /
                                                    **********                  225.00 ***USA TODA*****US-129****USA TODAY

*V-122 VALLERGA JORDAN VALLERGA                    21716 2/17/16              150.00 62841 3/03/16 191550                      02321    3/16
                                                   21716 2/17/16               85.00 62830 3/03/16 191550                      02321    3/16
                                                   21716 2/17/16               35.09 62505 3/03/16 191550              270.09 02321     3/16
                                                  031516 3/15/16              116.71 62830 3/18/16 193021              116.71 03765     3/16
                                                    **********                  386.80 ***VALLERGA******V-122****JORDAN VALLERGA

VE-037 VERIZON   VERIZON WIRELESS             9761197180 2/26/16                2.49 35901 3/10/16 687343                      03190     /
                                              9761197180 2/26/16               68.37 35031 3/10/16 687343               70.86 03190      /
                                                    **********                   70.86 ***VERIZON *****VE-037****VERIZON WIRELESS

*V-065 VIRG      VIRGINIA NATURAL GAS         1603164465 3/09/16           3,230.85 64200 3/17/16 192993                     03347 3/16
                                              1603164465 3/09/16              77.30 64200 3/17/16 192993           3,308.15 03347 3/16
                                                    **********               3,308.15 ***VIRG   ******V-065****VIRGINIA NATURAL GAS

VI-183 VIRG      VIRGINIA GROUNDS             *GRDMNT 10 2/28/16           2,466.66 66450 3/10/16 687430           2,466.66 02339        /
                                                    **********               2,466.66 ***VIRG   *****VI-183****VIRGINIA GROUNDS

*V-002 VIRGINIA VIRGINIA DEPT OF TAXATION     STSL0316    3/11/16            143.56 85960 3/14/16 192642                        00000 3/16
                                              STSL0316    3/11/16         37,707.85 02059 3/14/16 192642                        00000 3/16
                                              STSL0316    3/11/16            309.62 02058 3/14/16 192642           38,161.03    00000 3/16
                                                    **********              38,161.03 ***VIRGINIA******V-002****VIRGINIA DEPT   OF TAXATION

WO-103 WORLD CI WORLD CINEMA INC              **S5198 03 4/01/16           3,961.85 16425 3/31/16 689836                      02339      /
                                              **S5198 03 4/01/16             198.09 16425 3/31/16 689836            4,159.94 02339       /
                                                    **********               4,159.94 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN    WTS INTERNATIONAL INC        C000038019 2/01/16              299.00 62860 3/17/16 192994                     03309 3/16
                                              C000038019 2/01/16              350.00 45022 3/17/16 192994             649.00 03309 3/16
                                                    **********                  649.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80706               686,889.83




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APHIST-0105    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*A-245 ALLIED    ALLIED WASTE SERVICES         7000982684 3/31/16           1,937.32 66325 4/14/16 195462           1,937.32 04198 4/16
                                                     **********               1,937.32 ***ALLIED ******A-245****ALLIED WASTE SERVICES

AT-046 AT&T      AT&T                          1939492962 4/11/16               18.25 35901 4/21/16 911892                       04710    /
                                               1939492962 4/11/16              179.25 35030 4/21/16 911892              197.50   04710    /
                                                     **********                  197.50 ***AT&T   *****AT-046****AT&T

AT-053 AT&T      AT&T                          8470682528 4/01/16                7.81 35901 4/14/16 690745                       04254    /
                                               8470682528 4/01/16              273.27 35030 4/14/16 690745              281.08   04254    /
                                                     **********                  281.08 ***AT&T   *****AT-053****AT&T

BZ-001 B & Z     B & Z SERVICES, INC           0000085390 3/15/16              290.50 66202 4/07/16 689915             290.50 03720       /
                                                     **********                  290.50 ***B & Z  *****BZ-001****B & Z SERVICES, INC

*B-080 BALL      BRANDON BALL                      040116 4/01/16           3,558.53 62830 4/21/16 196457           3,558.53     04704   4/16
                                                     **********               3,558.53 ***BALL   ******B-080****BRANDON BALL

*B-018 BANK      BANK OF AMERICA                APR16LOAN 4/25/16         132,483.87 86700 4/27/16 196504                     04046      4/16
                                                APR16LOAN 4/25/16          37,475.68 02820 4/27/16 196504                     04046      4/16
                                                APR16LOAN 4/25/16          24,140.80 01095 4/27/16 196504         194,100.35 04046       4/16
                                                     **********             194,100.35 ***BANK   ******B-018****BANK OF AMERICA

CA-292 CARTER    CARTER MACHINERY CO, INC      **02067804 3/15/16              264.58 66110 4/07/16 689917                     03135   /
                                               **02067804 3/15/16                7.94 66110 4/07/16 689917             272.52 03135    /
                                                     **********                  272.52 ***CARTER *****CA-292****CARTER MACHINERY CO, INC

CE-098 CENTURY   CENTURYLINK                   1372167233 4/11/16              53.98 35901 4/21/16 911908                        04629    /
                                               1372167233 4/11/16           3,626.31 35030 4/21/16 911908            3,680.29    04629    /
                                                     **********               3,680.29 ***CENTURY *****CE-098****CENTURYLINK

CH-551 CHEMTREA CHEMTREAT INC                  **24793 05 3/17/16              370.98 66160 4/14/16 690782                      03135     /
                                               **24793 05 3/17/16               19.66 66160 4/14/16 690782              390.64 03135      /
                                                     **********                  390.64 ***CHEMTREA*****CH-551****CHEMTREAT INC

CH-302 CHRISTIA NEIL CHRISTIAN                     040116 4/01/16              359.64 62830 4/21/16 911901              359.64 04704      /
                                                     **********                  359.64 ***CHRISTIA*****CH-302****NEIL CHRISTIAN

*C-411 CINTAS    CINTAS CORP                      2278873 3/18/16               76.46 16800 4/07/16 194470                       03720   4/16
                                                  2278873 3/18/16               12.15 16800 4/07/16 194470                       03720   4/16
                                                  2278873 3/18/16                4.26 16800 4/07/16 194470              92.87    03720   4/16
                                                     **********                   92.87 ***CINTAS ******C-411****CINTAS CORP

CO-305 COLIS     COLISEUM CNTRL B.I.D.INC.     *EMBSTE 05 4/15/16              373.43 60620 4/21/16 691371             373.43 03135    /
                                                     **********                  373.43 ***COLIS  *****CO-305****COLISEUM CNTRL B.I.D.INC.

*C-348 COMPAS    COMPASS ENERGY GAS SERVIC      165294401 4/11/16           1,683.76 64200 4/28/16 196569           1,683.76 04630 4/16
                                                     **********               1,683.76 ***COMPAS ******C-348****COMPASS ENERGY GAS SERVIC

CO-230 CONTR     CONTROLLED CONDITIONS         *CHILLMT07 4/10/16              265.67 66160 4/21/16 691370             265.67 03135    /
                                                     **********                  265.67 ***CONTR  *****CO-230****CONTROLLED CONDITIONS

CO-492 CONVOY    CONVOY OF HOPE                INSA041601 4/14/16               71.00 02042 4/15/16 911821              71.00 00000       /
                                                     **********                   71.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMO     COSMOPROF                         282134 4/01/16               93.74 45022 4/28/16 692139                       04715    /
                                                   282134 4/01/16                5.62 45022 4/28/16 692139              99.36    04715    /
                                                     **********                   99.36 ***COSMO  *****CO-556****COSMOPROF




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APHIST-0106    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
DA-093 DAUBERS   DAUBERS COMMERCIAL FOOD         5186219 3/31/16                19.13 66202 4/28/16 692164                      04715   /
                                                 5186219 3/31/16                 1.15 66202 4/28/16 692164               20.28 04715    /
                                                    **********                    20.28 ***DAUBERS *****DA-093****DAUBERS COMMERCIAL FOOD

*D-200 DOMIN     DOMINION VIRGINIA POWER        41673635 4/21/16              193.79 64100 4/28/16 196641                     04853 4/16
                                                41673635 4/21/16                 .06 64100 4/28/16 196641             193.85 04853 4/16
                                                41687330 4/21/16           23,043.80 64100 4/28/16 196642                     04853 4/16
                                                41687330 4/21/16              257.49 64100 4/28/16 196642          23,301.29 04853 4/16
                                                    **********               23,495.14 ***DOMIN  ******D-200****DOMINION VIRGINIA POWER

DO-127 DOW JONE DOW JONES & CO INC              96696213 3/14/16               269.08 16105 4/07/16 690017              269.08 03720      /
                                                    **********                   269.08 ***DOW JONE*****DO-127****DOW JONES & CO INC

*E-124 ECOLAB    ECOLAB                          1267141 3/16/16                  .01 66600 4/14/16 195512                       03720   4/16
                                                 1267141 3/16/16                66.25 66600 4/14/16 195512                       03720   4/16
                                                 1267141 3/16/16                 3.97 66600 4/14/16 195512               70.23   03720   4/16
                                                 1301903 3/22/16               624.00 66600 4/28/16 196679                       04715   4/16
                                                 1301903 3/22/16                35.79 66600 4/28/16 196679              659.79   04715   4/16
                                                    **********                   730.02 ***ECOLAB ******E-124****ECOLAB

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 10 4/04/16                95.88 35895 4/14/16 195502              95.88 03135 4/16
                                                    **********                    95.88 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

EM-009 EMBASSY   HILTON HOTELS CORP           0012145169 3/31/16           11,528.34 02008 4/14/16 691244                        04254    /
                                              0012145169 3/31/16           19,213.90 02007 4/14/16 691244                        04254    /
                                              0012145169 3/31/16           30,742.24 02006 4/14/16 691244           61,484.48    04254    /
                                                    **********               61,484.48 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

ES-007 ESSE      ESSENTIAL EVENTS                    175 3/11/16            1,053.30 62625 4/07/16 690043           1,053.30 03821        /
                                                    **********                1,053.30 ***ESSE   *****ES-007****ESSENTIAL EVENTS

FE-082 FEDEX     FEDEX                         535170163 3/15/16                18.66 60590 4/07/16 690060                       03720    /
                                               535170163 3/15/16                15.03 60552 4/07/16 690060                       03720    /
                                               535170163 3/15/16                50.88 16600 4/07/16 690060               84.57   03720    /
                                               535952172 3/22/16                37.32 60590 4/28/16 692234               37.32   04715    /
                                                    **********                   121.89 ***FEDEX  *****FE-082****FEDEX

FE-049 FERGUSON FERGUSON ENTERPRISES INC         3587098 3/15/16               513.40 66250 4/07/16 690057                      03720   /
                                                 3587098 3/15/16                30.80 66250 4/07/16 690057              544.20 03720    /
                                                    **********                   544.20 ***FERGUSON*****FE-049****FERGUSON ENTERPRISES INC

GR-013 GRAINGER GRAINGER                      9052366193 3/14/16               364.06 66200 4/07/16 690107                       03720    /
                                              9052366193 3/14/16                21.84 66200 4/07/16 690107              385.90   03720    /
                                                    **********                   385.90 ***GRAINGER*****GR-013****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7223836     3/03/16           30.78      16400   4/21/16   196171               03821   4/16
                                                 7223836     3/03/16           18.45      16400   4/21/16   196171               03821   4/16
                                                 7223836     3/03/16            1.85      16400   4/21/16   196171               03821   4/16
                                                 7236601     3/08/16        2,662.56-     16500   4/21/16   196171               03326   4/16
                                                 7236601     3/08/16          159.76-     16500   4/21/16   196171               03326   4/16
                                                 7251447     3/15/16           73.80      16850   4/21/16   196171               03821   4/16
                                                 7251447     3/15/16            4.43      16850   4/21/16   196171               03821   4/16
                                                 7251447     3/15/16          504.54      16400   4/21/16   196171               03821   4/16
                                                 7251447     3/15/16           30.29      16400   4/21/16   196171               03821   4/16
                                                 7251447     3/15/16          278.07      16105   4/21/16   196171               03821   4/16
                                                 7251447     3/15/16           16.69      16105   4/21/16   196171               03821   4/16
                                                 7259528     3/17/16          108.84      16400   4/21/16   196171               03720   4/16
                                                 7264726     3/18/16          469.80      66400   4/21/16   196171               03720   4/16
                                                 7264726     3/18/16           28.19      66400   4/21/16   196171               03720   4/16
                                                 7268493     3/22/16          384.86      16400   4/21/16   196171               03720   4/16
                                                 7268493     3/22/16           23.11      16400   4/21/16   196171               03720   4/16
                                                 7281001     3/25/16        2,682.00      16500   4/21/16   196171               03720   4/16




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                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA    NAME                        INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                  7281001 3/25/16               160.92 16500 4/21/16 196171           1,994.30 03720 4/16
                                                     **********                 1,994.30 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

*H-006 HAMPTON   HAMPTON EMBASSY SUITES           CK8558V 3/31/16              233.56- 14030 4/07/16 194597                     03981 4/16
                                               D037069029 3/29/16              200.00 62600 4/07/16 194597                      03705 4/16
                                               D037069029 3/29/16              236.00 60710 4/07/16 194597                      03705 4/16
                                               D037069029 3/29/16              149.79 60135 4/07/16 194597                      03705 4/16
                                               D037069029 3/29/16            2,929.39 16140 4/07/16 194597                      03705 4/16
                                               D037069029 3/29/16              477.82 14030 4/07/16 194597                      03705 4/16
                                               D037069527 3/29/16              145.31 60070 4/07/16 194597                      03705 4/16
                                               8377STALE   3/31/16             125.26- 02029 4/07/16 194597           3,779.49 03981 4/16
                                                    8377V 4/08/16              125.26- 14030 4/28/16 196719                     04254 4/16
                                               D047061958 4/15/16              371.00 60710 4/28/16 196719                      04704 4/16
                                               D047061958 4/15/16            1,950.76 16140 4/28/16 196719                      04704 4/16
                                               D047061958 4/15/16              275.26 14030 4/28/16 196719                      04704 4/16
                                               D047065228 4/21/16               51.14 66210 4/28/16 196719                      04909 4/16
                                               D047065228 4/21/16               40.27 66120 4/28/16 196719                      04909 4/16
                                               D047065228 4/21/16              220.46 60550 4/28/16 196719                      04909 4/16
                                               D047065228 4/21/16               31.16 60070 4/28/16 196719                      04909 4/16
                                               D047065228 4/21/16               23.69 16870 4/28/16 196719                      04909 4/16
                                               D047065228 4/21/16               18.89 16850 4/28/16 196719                      04909 4/16
                                               R8377STALE 4/08/16              125.26 02029 4/28/16 196719            2,982.63 04254 4/16
                                                     **********                6,762.12 ***HAMPTON ******H-006****HAMPTON EMBASSY SUITES

*H-297 HD SUPP   HD SUPPLY FACILITIES          9144130330 3/07/16               101.43 66130 4/07/16 194616                      03720    4/16
                                               9144130330 3/07/16                 6.09 66130 4/07/16 194616                      03720    4/16
                                               9144130333 3/07/16               101.43- 66130 4/07/16 194616                     03720    4/16
                                               9144130333 3/07/16                 6.09- 66130 4/07/16 194616                     03720    4/16
                                               9144171089 3/08/16               247.18 66160 4/07/16 194616                      03720    4/16
                                               9144171089 3/08/16                14.83 66160 4/07/16 194616              262.01 03720     4/16
                                                     **********                   262.01 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-175 HILTON    HILTON HOTELS CORPORATION         656068 3/31/16           15,301.69 62249 4/28/16 196725                        04909 4/16
                                                 16613581 4/11/16              100.00 16105 4/28/16 196725                        04909 4/16
                                                 16660460 4/11/16              100.00 16105 4/28/16 196725                        04909 4/16
                                                 16665934 4/11/16              100.00 16105 4/28/16 196725                        04909 4/16
                                               0012149389 3/31/16              826.06 62860 4/28/16 196725                        04909 4/16
                                               0012149389 3/31/16            9,243.24 16300 4/28/16 196725                        04909 4/16
                                               0012152851 4/11/16            5,151.58 62650 4/28/16 196725          30,822.57     04909 4/16
                                                     **********               30,822.57 ***HILTON ******H-175****HILTON HOTELS    CORPORATION

HO-410 HOME      HOME DEPOT CREDIT SERVICE        7585793 3/22/16                13.02 66500 4/07/16 690154                     03720   /
                                                  7585793 3/22/16                  .78 66500 4/07/16 690154              13.80 03720    /
                                                  7561204 4/01/16                40.38 66200 4/28/16 692320                     04715   /
                                                  7561204 4/01/16                 2.42 66200 4/28/16 692320              42.80 04715    /
                                                     **********                    56.60 ***HOME   *****HO-410****HOME DEPOT CREDIT SERVICE

*H-267 HRSD      HRSD                            41610004 4/15/16            6,283.40 64500 4/28/16 196730            6,283.40    04630   4/16
                                                     **********                6,283.40 ***HRSD   ******H-267****HRSD

*I-041 IKON      IKON/RICOH SERVICES             96511611 4/10/16               442.08 60370 4/07/16 194647                     04002     4/16
                                                 96511611 4/10/16                18.69 60370 4/07/16 194647             460.77 04002      4/16
                                                     **********                   460.77 ***IKON   ******I-041****IKON/RICOH SERVICES

*J-215 JACKSON   RODNEY JACKSON                     33116 3/31/16                89.34 60720 4/07/16 195278                       04061   4/16
                                                    33116 3/31/16               157.99 35031 4/07/16 195278              247.33 04061     4/16
                                                     **********                   247.33 ***JACKSON ******J-215****RODNEY JACKSON

*J-231 JQH ACC   JQH ACCOUNTING SERVICES       *ACCT16 03 3/30/16            5,375.00 60116 4/07/16 194913            5,375.00 03135 4/16
                                                     **********                5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT        JINS041601     4/14/16          972.61      66060   4/14/16   195744               00000   4/16
                                               JINS041601     4/14/16        1,188.43      62060   4/14/16   195744               00000   4/16




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                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              JINS041601 4/14/16           1,288.17 60060 4/14/16 195744                     00000 4/16
                                              JINS041601 4/14/16           3,231.38 16060 4/14/16 195744           6,680.59 00000 4/16
                                                    **********               6,680.59 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0416    4/28/16          1,384.00 16150 4/28/16 911979                        00000    /
                                              122A0416    4/28/16            279.52 02005 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               8.82 60115 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              25.00 60110 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              47.62 60061 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              46.31 35901 4/28/16 911979                        00000    /
                                              122A041601 4/28/16             188.15 35030 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              88.70 60856 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             134.19 60721 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              14.95- 60590 4/28/16 911979                       00000    /
                                              122A041602 4/28/16              69.99 60580 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             188.76 60560 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             769.77 60520 4/28/16 911979                        00000    /
                                              122A041602 4/28/16             484.06 60320 4/28/16 911979                        00000    /
                                              122A041603 4/28/16           3,883.01 62843 4/28/16 911979                        00000    /
                                              122A041603 4/28/16              43.07 62835 4/28/16 911979                        00000    /
                                              122A041603 4/28/16             756.78 62830 4/28/16 911979                        00000    /
                                              122A041603 4/28/16             139.46 62401 4/28/16 911979                        00000    /
                                              122A041603 4/28/16               6.29 60880 4/28/16 911979                        00000    /
                                              122A041603 4/28/16           1,450.49 60870 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              42.03 85962 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              11.49 66100 4/28/16 911979                        00000    /
                                              122A041604 4/28/16             100.00 64700 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              31.75 62860 4/28/16 911979                        00000    /
                                              122A041604 4/28/16             276.03 62850 4/28/16 911979                        00000    /
                                              122B0416    4/28/16            459.18 60860 4/28/16 911979           10,899.52    00000    /
                                                    **********              10,899.52 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS041601 4/14/16           1,527.24 66060 4/14/16 195816                     00000      4/16
                                              JINS041601 4/14/16           4,804.73 62060 4/14/16 195816                     00000      4/16
                                              JINS041601 4/14/16           5,553.31 60060 4/14/16 195816                     00000      4/16
                                              JINS041601 4/14/16           9,999.27 16060 4/14/16 195816          21,884.55 00000       4/16
                                                    **********              21,884.55 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  03 4/05/16              399.17 66900 4/07/16 194863              399.17   03135 4/16
                                                    **********                  399.17 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-021 JQHHM     JQHHM REG.   ALLOC.          *RVP16  03 4/05/16           4,182.92 60900 4/07/16 194653                    03135       4/16
                                              *SRM16  03 4/05/16           2,450.48 62900 4/07/16 194653           6,633.40 03135       4/16
                                                    **********               6,633.40 ***JQHHM  ******J-021****JQHHM REG. ALLOC.

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  03 4/05/16           3,974.70 16900 4/07/16 194713           3,974.70 03135 4/16
                                                    **********               3,974.70 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *ARM16  03 4/05/16              402.16 62900 4/07/16 194748               402.16 03135 4/16
                                              *DSA16  01 4/05/16              414.29 62900 4/07/16 194753               414.29 04031 4/16
                                              *RMA16  03 4/05/16              263.50 62900 4/07/16 194762               263.50 03135 4/16
                                              *BRM16  03 4/05/16              976.47 62900 4/07/16 194783               976.47 03135 4/16
                                              *EC16   03 4/05/16              441.04 62900 4/07/16 194788               441.04 03135 4/16
                                              *RPM16  02 4/05/16              251.82 66900 4/07/16 194797               251.82 03135 4/16
                                              *DRM16  03 4/05/16              688.22 62900 4/07/16 194818               688.22 03135 4/16
                                              *FM16   02 4/05/16              376.16 66900 4/07/16 194823               376.16 03135 4/16
                                                    **********                3,813.66 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT031604 3/31/16          22,188.24 02013 4/14/16 691246           22,188.24    00000    /
                                                    **********              22,188.24 ***JQHHM LL*****JQ-003****JQHHM LLC

*K-160 KONE      KONE INC -ONLY AUTO PAYS     *4353A  02 4/01/16           4,704.57 66300 4/07/16 194950           4,704.57 03135 4/16
                                                    **********               4,704.57 ***KONE   ******K-160****KONE INC -ONLY AUTO PAYS




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                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
KO-059 KONE      KONE INC                      1157142054 3/07/16              172.20 66300 4/07/16 690697             172.20   03720    /
                                                     **********                  172.20 ***KONE   *****KO-059****KONE INC

*M-024 MARSH     MARSH USA INC                 INSA031601 4/07/16           3,210.04 01311 4/07/16 195287           3,210.04 00000      4/16
                                               INSA031602 4/07/16           3,445.00 02120 4/07/16 195329                     00000     4/16
                                               INSA031602 4/07/16           2,320.00 01310 4/07/16 195329           5,765.00 00000      4/16
                                                     **********               8,975.04 ***MARSH  ******M-024****MARSH USA INC

MU-100 MUZAK     MUZAK LLC                       52313784 4/01/16              195.00 16805 4/28/16 692439                      04715    /
                                                 52313784 4/01/16                9.75 16805 4/28/16 692439             204.75   04715    /
                                                     **********                  204.75 ***MUZAK  *****MU-100****MUZAK LLC

*N-117 NEWPORT   NEWPORT NEWS WATERWORKS         41622508 4/19/16           8,984.46 64500 4/28/16 196843            8,984.46 04853 4/16
                                                     **********               8,984.46 ***NEWPORT ******N-117****NEWPORT NEWS WATERWORKS

OA-002 OAK       A-OAK FARMS INC               *4104     05 4/01/16         1,400.00 66460 4/14/16 691178           1,400.00 03135       /
                                                       **********             1,400.00 ***OAK    *****OA-002****A-OAK FARMS INC

RE-415 REGAL     THE REGAL PRESS INC               363175 2/19/16                 5.50 60552 4/07/16 690352               5.50 03705     /
                                                     **********                     5.50 ***REGAL  *****RE-415****THE REGAL PRESS INC

RI-250 RICOH     RICOH USA INC                 5041174557 3/21/16              531.03 60370 4/28/16 692546                     04715     /
                                               5041174557 3/21/16               15.94 60370 4/28/16 692546             546.97 04715      /
                                                     **********                  546.97 ***RICOH  *****RI-250****RICOH USA INC

*R-052 ROSS      JULIE (MARTHA) LEAL ROSS          040116 4/01/16              429.96 60720 4/21/16 196465             429.96 04704 4/16
                                                     **********                  429.96 ***ROSS   ******R-052****JULIE (MARTHA) LEAL ROSS

*S-817 SALLEY    VALARIE SALLEY                     43016 4/30/16               25.00 60320 4/28/16 196961              25.00 04033     4/16
                                                     **********                   25.00 ***SALLEY ******S-817****VALARIE SALLEY

*S-745 SERTI     SERTIFI                       *SALE     03 4/01/16            120.44 62843 4/14/16 195694             120.44   03135   4/16
                                                       **********                120.44 ***SERTI  ******S-745****SERTIFI

SH-437 SHOES     SHOES FOR CREWS LLC             6824472A 3/08/16               38.20 16800 4/28/16 692844                     04715     /
                                                 6824472A 3/08/16                9.96 16800 4/28/16 692844              48.16 04715      /
                                                     **********                   48.16 ***SHOES  *****SH-437****SHOES FOR CREWS LLC

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3295766193 3/09/16              365.00 60551 4/07/16 690672                      03720   /
                                               3295766193 3/09/16               21.90 60551 4/07/16 690672                      03720   /
                                               3295766193 3/09/16              118.47 60550 4/07/16 690672                      03720   /
                                               3295766193 3/09/16                7.11 60550 4/07/16 690672              512.48 03720    /
                                               3297460962 3/29/16               31.20 60552 4/28/16 692801                      04715   /
                                               3297460962 3/29/16                1.87 60552 4/28/16 692801                      04715   /
                                               3297832012 3/31/16              474.50 60551 4/28/16 692801                      04715   /
                                               3297832012 3/31/16               28.47 60551 4/28/16 692801              536.04 04715    /
                                                     **********                1,048.52 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

*S-693 SYSCO     SYSCO                          602110209 2/11/16           3,068.89 16110 4/28/16 196930                       04704   4/16
                                                603210082 3/21/16           2,907.57 16110 4/28/16 196930                       04704   4/16
                                                603240860 3/24/16           1,427.22 16110 4/28/16 196930                       04704   4/16
                                                603261303 3/26/16           1,562.67 16110 4/28/16 196930                       04704   4/16
                                                603280152 3/28/16           3,829.51 16110 4/28/16 196930                       04704   4/16
                                                603310595 3/31/16           2,985.22 16110 4/28/16 196930                       04704   4/16
                                                604040552 4/04/16           3,856.79 16110 4/28/16 196930                       04704   4/16
                                                604070742 4/07/16           1,807.68 16110 4/28/16 196930          21,445.55    04704   4/16
                                                     **********              21,445.55 ***SYSCO  ******S-693****SYSCO

*K-163 THE KN    THE KNOWLAND GROUP LLC        *MTHSUB 05 3/28/16              396.00 62841 4/07/16 194981             396.00 03135 4/16
                                                     **********                  396.00 ***THE KN ******K-163****THE KNOWLAND GROUP LLC



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APHIST-0110   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
TI-099 TIDEWATE TFC -TIDEWATER FIBRE CORP        0674416 3/31/16              139.06 66325 4/14/16 691226              139.06 04198    /
                                                    **********                  139.06 ***TIDEWATE*****TI-099****TFC -TIDEWATER FIBRE CORP

*T-198 TRAVEL    TRAVELCLICK INC              **MKTVSN04 4/01/16              175.00 62841 4/28/16 196964             175.00 03135      4/16
                                                    **********                  175.00 ***TRAVEL ******T-198****TRAVELCLICK INC

TR-083 TREASURE TREASURER CITY OF HAMPTON     CITY0416    4/14/16              6.00- 85960 4/15/16 911800                     00000   /
                                              CITY0416    4/14/16          6,847.00 02056 4/15/16 911800            6,841.00 00000    /
                                              CNTY0416    4/14/16             11.77- 85960 4/15/16 911820                     00000   /
                                              CNTY0416    4/14/16         59,204.98 02057 4/15/16 911820           59,193.21 00000    /
                                                    **********              66,034.21 ***TREASURE*****TR-083****TREASURER CITY OF HAMPTON

TR-510 TRI       TRI STATE TECHNICAL             0218621 3/15/16              157.00 66275 4/07/16 690479                     03720      /
                                                 0218621 3/15/16               23.66 66275 4/07/16 690479                     03720      /
                                                 0218621 3/15/16                9.42 66275 4/07/16 690479             190.08 03720       /
                                                    **********                  190.08 ***TRI    *****TR-510****TRI STATE TECHNICAL

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2753770 3/08/16              129.06 45022 4/07/16 690494                      03720   /
                                                 2753770 3/08/16               16.88 45022 4/07/16 690494                      03720   /
                                                 2753770 3/08/16                6.84 45022 4/07/16 690494              152.78 03720    /
                                                    **********                  152.78 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

VE-037 VERIZON   VERIZON WIRELESS             9762845338 3/26/16                2.49 35901 4/07/16 690511                      04008     /
                                              9762845338 3/26/16               73.37 35031 4/07/16 690511               75.86 04008      /
                                                    **********                   75.86 ***VERIZON *****VE-037****VERIZON WIRELESS

*V-065 VIRG      VIRGINIA NATURAL GAS         1604166163 4/08/16           3,126.44 64200 4/14/16 195715                     04250 4/16
                                              1604166163 4/08/16              76.81 64200 4/14/16 195715           3,203.25 04250 4/16
                                                    **********               3,203.25 ***VIRG   ******V-065****VIRGINIA NATURAL GAS

VI-183 VIRG      VIRGINIA GROUNDS             *GRDMNT 11 3/28/16           2,466.66 66450 4/07/16 690656           2,466.66 03135        /
                                                    **********               2,466.66 ***VIRG   *****VI-183****VIRGINIA GROUNDS

*V-002 VIRGINIA VIRGINIA DEPT OF TAXATION     STSL0416    4/14/16            157.60 85960 4/15/16 195939                        00000 4/16
                                              STSL0416    4/14/16         44,377.25 02059 4/15/16 195939                        00000 4/16
                                              STSL0416    4/14/16            266.86 02058 4/15/16 195939           44,801.71    00000 4/16
                                                    **********              44,801.71 ***VIRGINIA******V-002****VIRGINIA DEPT   OF TAXATION

VI-143 VIRGINIA VIRGINIA DEPT OF TAXATION        LITTX15 4/05/16               25.00 85850 4/05/16 911703               25.00 03014    /
                                                    **********                   25.00 ***VIRGINIA*****VI-143****VIRGINIA DEPT OF TAXATION

WI-229 WINDSTRA WINDSTREAM COMMUNICATIONS         296610 3/15/16              481.25 35890 4/28/16 692688                      04715   /
                                                  296610 3/15/16               28.88 35890 4/28/16 692688              510.13 04715    /
                                                    **********                  510.13 ***WINDSTRA*****WI-229****WINDSTREAM COMMUNICATIONS

WO-103 WORLD CI WORLD CINEMA INC              **S5198 04 5/01/16           3,961.85 16425 4/21/16 692003                      03135      /
                                              **S5198 04 5/01/16             198.09 16425 4/21/16 692003            4,159.94 03135       /
                                                    **********               4,159.94 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN    WTS INTERNATIONAL INC             38345 3/01/16              299.00 62860 4/28/16 196974                     04715 4/16
                                                   38345 3/01/16              350.00 45022 4/28/16 196974             649.00 04715 4/16
                                                    **********                  649.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80706               595,682.36




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APHIST-0103   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AI-087 AIRECO    AIRECO SUPPLY, INC            569085900 4/11/16              680.00 66160 5/05/16 692862                     04445      /
                                               569085900 4/11/16               40.80 66160 5/05/16 692862                     04445      /
                                               569281500 3/23/16               37.19 66202 5/05/16 692862                     04445      /
                                               569281500 3/23/16                2.23 66202 5/05/16 692862                     04445      /
                                               570010000 3/29/16               40.90 66202 5/05/16 692862                     04445      /
                                               570010000 3/29/16                2.45 66202 5/05/16 692862             803.57 04445       /
                                                    **********                  803.57 ***AIRECO *****AI-087****AIRECO SUPPLY, INC

*A-245 ALLIED    ALLIED WASTE SERVICES        7000986184 4/30/16           1,967.92 66325 5/12/16 197808           1,967.92 05084 5/16
                                                    **********               1,967.92 ***ALLIED ******A-245****ALLIED WASTE SERVICES

AT-046 AT&T      AT&T                         1940119818 5/11/16               18.25 35901 5/26/16 695404                       05040    /
                                              1940119818 5/11/16              179.25 35030 5/26/16 695404              197.50   05040    /
                                                    **********                  197.50 ***AT&T   *****AT-046****AT&T

AT-052 AT&T      AT&T                         3340420300 12/20/15          4,692.73 01909 5/27/16 912190            4,692.73    05227    /
                                                    **********               4,692.73 ***AT&T   *****AT-052****AT&T

AT-053 AT&T      AT&T                         8471421911 5/01/16                7.81 35901 5/19/16 694512                       05661    /
                                              8471421911 5/01/16              273.27 35030 5/19/16 694512              281.08   05661    /
                                                    **********                  281.08 ***AT&T   *****AT-053****AT&T

*B-080 BALL      BRANDON BALL                     051116 5/11/16               45.00 62841 5/19/16 198726                       05492   5/16
                                                  051116 5/11/16               31.85 62830 5/19/16 198726              76.85    05492   5/16
                                                  051816 5/18/16               45.00 62841 5/26/16 199437                       05998   5/16
                                                  051816 5/18/16              452.00 62840 5/26/16 199437             497.00    05998   5/16
                                                    **********                  573.85 ***BALL   ******B-080****BRANDON BALL

*B-018 BANK      BANK OF AMERICA                 516LOAN 5/25/16         128,010.64 86700 5/27/16 199791                     05227      5/16
                                                 516LOAN 5/25/16          41,948.91 02820 5/27/16 199791                     05227      5/16
                                                 516LOAN 5/25/16          24,140.80 01095 5/27/16 199791         194,100.35 05227       5/16
                                                    **********             194,100.35 ***BANK   ******B-018****BANK OF AMERICA

BE-265 BETHUNE   BETHUNE COOKMAN UNIVERI.         042616 4/26/16              364.52 14030 5/05/16 692920              364.52 04245    /
                                                    **********                  364.52 ***BETHUNE *****BE-265****BETHUNE COOKMAN UNIVERI.

CA-292 CARTER    CARTER MACHINERY CO, INC     **02067805 4/15/16              264.58 66110 5/12/16 693947                     04108   /
                                              **02067805 4/15/16                7.94 66110 5/12/16 693947             272.52 04108    /
                                                    **********                  272.52 ***CARTER *****CA-292****CARTER MACHINERY CO, INC

*C-213 CATALLAM MICHELLE CATALLAMEEKS             042716 4/27/16              252.61 62840 5/05/16 197149                      04245 5/16
                                                  042716 4/27/16              141.71 62505 5/05/16 197149              394.32 04245 5/16
                                                  051816 5/18/16              960.95 62830 5/26/16 199443              960.95 05998 5/16
                                                    **********                1,355.27 ***CATALLAM******C-213****MICHELLE CATALLAMEEKS

CE-098 CENTURY   CENTURYLINK                  1375477321 5/11/16              54.59 35901 5/19/16 695220                        05661    /
                                              1375477321 5/11/16           3,551.68 35030 5/19/16 695220            3,606.27    05661    /
                                                    **********               3,606.27 ***CENTURY *****CE-098****CENTURYLINK

CH-551 CHEMTREA CHEMTREAT INC                 **24793 06 4/17/16              370.98 66160 5/12/16 693961                      04108     /
                                              **24793 06 4/17/16               19.66 66160 5/12/16 693961              390.64 04108      /
                                                    **********                  390.64 ***CHEMTREA*****CH-551****CHEMTREAT INC

CH-302 CHRISTIA NEIL CHRISTIAN                    051116 5/11/16              451.92 62830 5/19/16 694592                       05492    /
                                                  051116 5/11/16               22.23 62505 5/19/16 694592              474.15 05492      /
                                                  051816 5/18/16               10.59 62505 5/26/16 695472                       05998    /
                                                  051816 5/18/16              116.75 60070 5/26/16 695472              127.34 05998      /
                                                    **********                  601.49 ***CHRISTIA*****CH-302****NEIL CHRISTIAN




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                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
CC-026 COCA      COCA-COLA BOTTLING CO.        1829200946 4/05/16              575.28 62251 5/05/16 693681             575.28 04426     /
                                                     **********                  575.28 ***COCA   *****CC-026****COCA-COLA BOTTLING CO.

CO-305 COLIS     COLISEUM CNTRL B.I.D.INC.     *EMBSTE 06 5/15/16              373.43 60620 5/19/16 694621             373.43 04108    /
                                                     **********                  373.43 ***COLIS  *****CO-305****COLISEUM CNTRL B.I.D.INC.

*C-348 COMPAS    COMPASS ENERGY GAS SERVIC      166147001 5/12/16           1,735.04 64200 5/19/16 198782           1,735.04 05614 5/16
                                                     **********               1,735.04 ***COMPAS ******C-348****COMPASS ENERGY GAS SERVIC

CO-230 CONTR     CONTROLLED CONDITIONS         *CHILLMT08 5/10/16              265.67 66160 5/19/16 694619             265.67 04108    /
                                                     **********                  265.67 ***CONTR  *****CO-230****CONTROLLED CONDITIONS

CO-492 CONVOY    CONVOY OF HOPE                INSA041603 5/04/16              243.00 02042 5/05/16 911997             243.00 00000       /
                                                     **********                  243.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMO     COSMOPROF                         283361 4/29/16               94.70 45022 5/05/16 693005              94.70    04426    /
                                               0000282721 4/15/16              127.69 45022 5/12/16 693981                       04445    /
                                               0000282721 4/15/16                7.66 45022 5/12/16 693981             135.35    04445    /
                                                     **********                  230.05 ***COSMO  *****CO-556****COSMOPROF

CO-311 COURTYAR COURTYARD BY MARRIOTT               57592 3/09/16              148.06 16702 5/05/16 692999                      04426   /
                                               E200004674 2/25/16              148.06 16702 5/05/16 692999                      04426   /
                                               E200004675 2/26/16              159.46 16702 5/05/16 692999              455.58 04426    /
                                                     **********                  455.58 ***COURTYAR*****CO-311****COURTYARD BY MARRIOTT

CR-084 CREST     CREST FOODSERVICE EQUIP.          161867 3/30/16           2,675.00 66202 5/05/16 693696                     04445   /
                                                   161867 3/30/16             160.00 66202 5/05/16 693696                     04445   /
                                                   161867 3/30/16             160.50 66202 5/05/16 693696           2,995.50 04445    /
                                                     **********               2,995.50 ***CREST  *****CR-084****CREST FOODSERVICE EQUIP.

DA-093 DAUBERS   DAUBERS COMMERCIAL FOOD          5186392 4/04/16              118.90 66202 5/05/16 693026                      04445   /
                                                  5186392 4/04/16               22.14 66202 5/05/16 693026                      04445   /
                                                  5186392 4/04/16                7.40 66202 5/05/16 693026              148.44 04445    /
                                                  C021525 4/14/16              117.90- 66202 5/12/16 693999                     04445   /
                                                  C021525 4/14/16                7.07- 66202 5/12/16 693999                     04445   /
                                                  5187045 4/15/16              123.56 66202 5/12/16 693999                      04445   /
                                                  5187045 4/15/16               28.80 66202 5/12/16 693999                      04445   /
                                                  5187045 4/15/16                8.08 66202 5/12/16 693999               35.47 04445    /
                                                     **********                  183.91 ***DAUBERS *****DA-093****DAUBERS COMMERCIAL FOOD

DA-234 DAVIS     TERRYE DAVIS                     042616B 4/26/16           1,353.99 14030 5/05/16 693032           1,353.99     04245    /
                                                     **********               1,353.99 ***DAVIS  *****DA-234****TERRYE DAVIS

DO-127 DOW JONE DOW JONES & CO INC               96701758 4/07/16              297.91 16105 5/05/16 693056              297.91 04247      /
                                                     **********                  297.91 ***DOW JONE*****DO-127****DOW JONES & CO INC

DU-187 DUNBAR    DUNBAR ARMORED INC.              3756066 4/01/16              691.05 60135 5/05/16 693069             691.05 04247       /
                                                  3772600 5/01/16              667.05 60135 5/26/16 695543             667.05 05003       /
                                                     **********                1,358.10 ***DUNBAR *****DU-187****DUNBAR ARMORED INC.

*E-124 ECOLAB    ECOLAB                           1400488 4/01/16              232.70 66600 5/05/16 197269                       04445   5/16
                                                  1400488 4/01/16               13.96 66600 5/05/16 197269              246.66   04445   5/16
                                                  1604468 4/22/16              624.00 66600 5/26/16 199535                       05003   5/16
                                                  1604468 4/22/16               35.79 66600 5/26/16 199535              659.79   05003   5/16
                                                     **********                  906.45 ***ECOLAB ******E-124****ECOLAB

EC-030 ECORE     ECORE COMMERCIAL FLOORING     NV00047072 4/15/16           6,231.36 01904 5/12/16 694455                     05172   /
                                               NV00047072 4/15/16             461.00 01904 5/12/16 694455                     05172   /
                                               NV00047072 4/15/16             373.88 01904 5/12/16 694455           7,066.24 05172    /
                                                     **********               7,066.24 ***ECORE  *****EC-030****ECORE COMMERCIAL FLOORING



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                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 11 5/04/16                95.88 35895 5/12/16 197889              95.88 04108 5/16
                                                    **********                    95.88 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                     19104389 4/01/16              486.51 16130 5/05/16 197223                        04445   5/16
                                                19104389 4/01/16               87.49 16130 5/05/16 197223                        04445   5/16
                                                19104389 4/01/16               29.19 16130 5/05/16 197223                        04445   5/16
                                                19113981 4/04/16            1,181.47 16130 5/05/16 197223                        04445   5/16
                                                19113981 4/04/16               70.89 16130 5/05/16 197223                        04445   5/16
                                               19102818B 3/31/16              300.00 16130 5/05/16 197223           2,155.55     04445   5/16
                                                    **********                2,155.55 ***EDWARD ******D-210****EDWARD DON

EI-027 EISENMAN EISENMAN & ASSOC INC                 110 4/26/16            5,861.03 62625 5/05/16 693699            5,861.03 04247       /
                                                    **********                5,861.03 ***EISENMAN*****EI-027****EISENMAN & ASSOC INC

EM-009 EMBASSY   HILTON HOTELS CORP           0012162358 4/30/16           13,070.82 02008 5/26/16 912176                        05132    /
                                              0012162358 4/30/16           21,784.70 02007 5/26/16 912176                        05132    /
                                              0012162358 4/30/16           34,855.52 02006 5/26/16 912176           69,711.04    05132    /
                                                    **********               69,711.04 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

FE-082 FEDEX     FEDEX                         536692723 3/29/16                18.66 60590 5/05/16 693101                       04247    /
                                               537410226 4/05/16                84.34 60590 5/05/16 693101                       04247    /
                                               538168392 4/12/16                67.45 60590 5/05/16 693101                       04247    /
                                               538932203 4/19/16                17.52 60590 5/05/16 693101             187.97    04247    /
                                               539690965 4/26/16               153.40 66520 5/26/16 695573                       05003    /
                                               539690965 4/26/16                27.05 60590 5/26/16 695573                       05003    /
                                               540434873 5/03/16                63.95 60590 5/26/16 695573             244.40    05003    /
                                                    **********                   432.37 ***FEDEX  *****FE-082****FEDEX

FI-133 FIRE      FIRE & LIFE SAFETY               326914 3/31/16            5,490.00 66100 5/05/16 693706           5,490.00 04445        /
                                                    **********                5,490.00 ***FIRE   *****FI-133****FIRE & LIFE SAFETY

FO-033 FOUR      FOUR WINDS TOURS INC               103A 4/26/16            1,049.40 62625 5/05/16 693111           1,049.40 04245        /
                                                    **********                1,049.40 ***FOUR   *****FO-033****FOUR WINDS TOURS INC

GI-118 GIRVIN    GIRVIN MARKETING CO INC           11906 4/06/16               103.50 62251 5/05/16 693857                     04445   /
                                                   11906 4/06/16                 5.00 62251 5/05/16 693857             108.50 04445    /
                                                    **********                   108.50 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC

*G-184 GUEST     GUEST SUPPLY - SYSCO            7290551     3/31/16          124.34      44050   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16            7.46      44050   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16           46.25      16850   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16            2.77      16850   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16           43.98      16500   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16            2.64      16500   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16        2,924.20      16400   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16          175.48      16400   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16          360.68      16200   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16           21.65      16200   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16          290.58      16105   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16           17.44      16105   5/05/16   197300               04445   5/16
                                                 7290551     3/31/16             .01-     16105   5/05/16   197300               04445   5/16
                                                 7290552     3/31/16        1,663.31      16250   5/05/16   197300               04445   5/16
                                                 7290552     3/31/16           99.80      16250   5/05/16   197300               04445   5/16
                                                 7291949     3/31/16          400.44      16200   5/05/16   197300               04445   5/16
                                                 7291949     3/31/16           24.02      16200   5/05/16   197300               04445   5/16
                                                 7301241     4/05/16        4,217.86      16500   5/05/16   197300               04445   5/16
                                                 7302660     4/05/16        1,233.06      16500   5/05/16   197300               04445   5/16
                                                 7302660     4/05/16           73.98      16500   5/05/16   197300               04445   5/16
                                                 7311788     4/07/16           92.40      16400   5/05/16   197300               04445   5/16
                                                 7311788     4/07/16            5.54      16400   5/05/16   197300               04445   5/16
                                                 7321316     4/12/16           58.04      16850   5/05/16   197300               04445   5/16
                                                 7321316     4/12/16            3.48      16850   5/05/16   197300               04445   5/16
                                                 7321316     4/12/16          475.11      16400   5/05/16   197300               04445   5/16
                                                 7321316     4/12/16           28.52      16400   5/05/16   197300               04445   5/16




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APHIST-0106   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                             PAGE     2
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA    NAME                        INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                  7321316 4/12/16                61.79 16250 5/05/16 197300                     04445     5/16
                                                  7321316 4/12/16                 3.71 16250 5/05/16 197300                     04445     5/16
                                                  7321316 4/12/16               581.16 16105 5/05/16 197300                     04445     5/16
                                                  7321316 4/12/16                34.88 16105 5/05/16 197300                     04445     5/16
                                                  7321316 4/12/16                  .01 16105 5/05/16 197300          13,074.57 04445      5/16
                                                  7338396 4/18/16                41.06 16400 5/12/16 197939                     04445     5/16
                                                  7338396 4/18/16                 2.46 16400 5/12/16 197939              43.52 04445      5/16
                                                  7342775 4/20/16                45.90 16850 5/19/16 198873                     04445     5/16
                                                  7342775 4/20/16                 2.75 16850 5/19/16 198873                     04445     5/16
                                                  7342775 4/20/16               956.94 16400 5/19/16 198873                     04445     5/16
                                                  7342775 4/20/16                57.43 16400 5/19/16 198873                     04445     5/16
                                                  7342775 4/20/16                10.12 16105 5/19/16 198873                     04445     5/16
                                                  7342775 4/20/16                  .61 16105 5/19/16 198873           1,073.75 04445      5/16
                                                     **********                14,191.84 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

GU-114 GUHR REN GUHR RENOVATIONS LLC                  402 5/10/16           13,869.45 01904 5/26/16 696121           13,869.45 05002       /
                                                     **********               13,869.45 ***GUHR REN*****GU-114****GUHR RENOVATIONS LLC

*H-006 HAMPTON   HAMPTON EMBASSY SUITES        D047063418 4/27/16               50.60 16870 5/05/16 197325                      04228 5/16
                                               D047063418 4/27/16               34.96 16600 5/05/16 197325                      04228 5/16
                                               D047065764 4/27/16              108.07 62505 5/05/16 197325                      04228 5/16
                                               D047065764 4/27/16              236.00 60710 5/05/16 197325                      04228 5/16
                                               D047065764 4/27/16               94.80 60135 5/05/16 197325                      04228 5/16
                                               D047065764 4/27/16            1,846.12 16140 5/05/16 197325                      04228 5/16
                                               D047065764 4/27/16              139.50- 14030 5/05/16 197325                     04228 5/16
                                               D047068767 4/28/16              218.00 16140 5/05/16 197325                      04228 5/16
                                               D047068767 4/28/16              176.53 14030 5/05/16 197325            2,625.58 04228 5/16
                                               D057067152 5/11/16               88.99 66120 5/19/16 198894                      05492 5/16
                                               D057067152 5/11/16               17.94 62251 5/19/16 198894                      05492 5/16
                                               D057067152 5/11/16               63.58 60550 5/19/16 198894                      05492 5/16
                                               D057067152 5/11/16               50.25 16870 5/19/16 198894                      05492 5/16
                                               D057067152 5/11/16               55.09 16600 5/19/16 198894                      05492 5/16
                                               D057068145 5/11/16            1,759.28 16140 5/19/16 198894            2,035.13 05492 5/16
                                                     **********                4,660.71 ***HAMPTON ******H-006****HAMPTON EMBASSY SUITES

HA-250 HAMPTON   HAMPTON ROADS CONVENTION          040416 4/28/16            3,500.00 62625 5/26/16 696051                        05776   /
                                                   050116 5/01/16            3,670.00 14030 5/26/16 696051                        05776   /
                                                   050216 5/02/16            4,000.00 62625 5/26/16 696051           11,170.00    05776   /
                                                     **********               11,170.00 ***HAMPTON *****HA-250****HAMPTON ROADS   CONVENTION

*H-297 HD SUPP   HD SUPPLY FACILITIES          9144795121 4/05/16              265.84 66651 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16               15.95 66651 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16              130.00 66600 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16                7.80 66600 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16               73.45 66250 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16                4.41 66250 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16              228.54 66160 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16               13.72 66160 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16              583.93 66130 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16               35.04 66130 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16              107.86 66120 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16                6.47 66120 5/05/16 197351                      04445     5/16
                                               9144795121 4/05/16                 .01- 66120 5/05/16 197351                     04445     5/16
                                               9144851542 4/06/16            1,203.50 66400 5/05/16 197351                      04445     5/16
                                               9144851542 4/06/16               72.21 66400 5/05/16 197351                      04445     5/16
                                               9144970171 4/12/16               52.99 66651 5/05/16 197351                      04445     5/16
                                               9144970171 4/12/16                3.18 66651 5/05/16 197351                      04445     5/16
                                               9144970171 4/12/16               10.70 66520 5/05/16 197351                      04445     5/16
                                               9144970171 4/12/16                 .64 66520 5/05/16 197351                      04445     5/16
                                               9144970174 4/12/16               27.89 16850 5/05/16 197351                      04445     5/16
                                               9144970174 4/12/16                1.67 16850 5/05/16 197351                      04445     5/16
                                               9144970174 4/12/16              528.96 16400 5/05/16 197351                      04445     5/16
                                               9144970174 4/12/16               31.74 16400 5/05/16 197351            3,406.48 04445      5/16
                                                     **********                3,406.48 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-175 HILTON    HILTON HOTELS CORPORATION     0012132147     3/14/16           100.00- 16870      5/05/16   197334               04445   5/16
                                               0012142363     3/31/16           516.25 62625       5/05/16   197334               04445   5/16




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APHIST-0107   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                             PAGE     3
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA    NAME                        INVOICE NO.   INV.DATE       INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               0012156669 4/19/16              590.00 85410 5/05/16 197334                        04563 5/16
                                               0012156669 4/19/16               35.41 85410 5/05/16 197334                        04563 5/16
                                               0012156669 4/19/16            1,337.78 16700 5/05/16 197334                        04563 5/16
                                               0012156669 4/19/16               80.26 16700 5/05/16 197334           2,459.70     04563 5/16
                                                 16521182 3/25/16              315.00 16105 5/19/16 199220                        05770 5/16
                                                 16552894 3/25/16              100.00 16105 5/19/16 199220             415.00     05770 5/16
                                                   660744 4/30/16            5,160.49 62249 5/26/16 199580                        05998 5/16
                                                 16739342 4/25/16              100.00 16105 5/26/16 199580                        05998 5/16
                                                 16826926 4/25/16              100.00 16105 5/26/16 199580                        05998 5/16
                                                 16850515 4/25/16               50.00 16105 5/26/16 199580                        05998 5/16
                                                 16895096 5/11/16               40.00 16105 5/26/16 199580                        05998 5/16
                                                 17102265 5/11/16              125.00 16105 5/26/16 199580                        05998 5/16
                                                 17219903 5/11/16              150.00 16105 5/26/16 199580                        05998 5/16
                                                167393421 5/11/16              100.00 16105 5/26/16 199580                        05998 5/16
                                               0012159926 4/30/16              516.25- 62625 5/26/16 199580                       05998 5/16
                                               0012164148 4/30/16            1,420.60 62860 5/26/16 199580                        05998 5/16
                                               0012164148 4/30/16            9,345.66 16300 5/26/16 199580                        05998 5/16
                                               0012169538 5/10/16            5,339.89 62650 5/26/16 199580          21,415.39     05998 5/16
                                                     **********               24,290.09 ***HILTON ******H-175****HILTON HOTELS    CORPORATION

HO-009 HOBART    HOBART SERVICE                  25799184 4/11/16               126.42 66202 5/05/16 693196                      04445     /
                                                 25799184 4/11/16                16.00 66202 5/05/16 693196                      04445     /
                                                 25799184 4/11/16                 7.59 66202 5/05/16 693196             150.01 04445       /
                                                     **********                   150.01 ***HOBART *****HO-009****HOBART SERVICE

HO-410 HOME      HOME DEPOT CREDIT SERVICE        2591294 4/06/16                49.31 66120 5/05/16 693207                     04445   /
                                                  2591294 4/06/16                 2.96 66120 5/05/16 693207                     04445   /
                                                  5591809 4/13/16                79.41 66130 5/05/16 693207                     04445   /
                                                  5591809 4/13/16                 4.76 66130 5/05/16 693207                     04445   /
                                                  7592464 4/21/16                39.79 66110 5/05/16 693207                     04445   /
                                                  7592464 4/21/16                 2.39 66110 5/05/16 693207             178.62 04445    /
                                                     **********                   178.62 ***HOME   *****HO-410****HOME DEPOT CREDIT SERVICE

*I-041 IKON      IKON/RICOH SERVICES             96705124 5/10/16               434.70 60370 5/06/16 197713                     05067     5/16
                                                 96705124 5/10/16                26.07 60370 5/06/16 197713             460.77 05067      5/16
                                                     **********                   460.77 ***IKON   ******I-041****IKON/RICOH SERVICES

*J-215 JACKSON   RODNEY JACKSON                     43016 4/30/16                45.84 60720 5/05/16 197692                       05027   5/16
                                                    43016 4/30/16                77.93 60070 5/05/16 197692                       05027   5/16
                                                    43016 4/30/16               157.06 35031 5/05/16 197692                       05027   5/16
                                                    43016 4/30/16                21.07 16105 5/05/16 197692              301.90 05027     5/16
                                                     **********                   301.90 ***JACKSON ******J-215****RODNEY JACKSON

JE-075 JEFF'S    JEFF'S FLOWERS OF COURSE,        1466851 3/31/16                70.00 60070 5/05/16 693246                     04445   /
                                                  1466851 3/31/16                 3.60 60070 5/05/16 693246                     04445   /
                                                  1469661 4/05/16                85.00 60070 5/05/16 693246                     04445   /
                                                  1469661 4/05/16                 4.50 60070 5/05/16 693246                     04445   /
                                                  1478901 4/22/16                80.00 60070 5/05/16 693246                     04247   /
                                                  1478901 4/22/16                 4.20 60070 5/05/16 693246             247.30 04247    /
                                                  1483241 4/29/16                84.99 60070 5/26/16 695684                     05003   /
                                                  1483241 4/29/16                 4.50 60070 5/26/16 695684              89.49 05003    /
                                                     **********                   336.79 ***JEFF'S *****JE-075****JEFF'S FLOWERS OF COURSE,

JE-050 JEFFERSO MONIQUE JEFFERSON                  042716 4/27/16                25.00 62841 5/05/16 693805                      04245     /
                                                   042716 4/27/16                98.47 62830 5/05/16 693805              123.47 04245      /
                                                   051816 5/18/16                25.00 62841 5/26/16 696095                      05998     /
                                                   051816 5/18/16                36.72 62830 5/26/16 696095               61.72 05998      /
                                                     **********                   185.19 ***JEFFERSO*****JE-050****MONIQUE JEFFERSON

*J-231 JQH ACC   JQH ACCOUNTING SERVICES       *ACCT16 04 4/30/16            5,375.00 60116 5/12/16 198254            5,375.00 04108 5/16
                                                     **********                5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT        JINS0516       5/24/16          972.71      66060   5/24/16   199263               00000   5/16
                                               JINS0516       5/24/16        1,456.94      62060   5/24/16   199263               00000   5/16




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APHIST-0108    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     4
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              JINS0516    5/24/16          1,295.77 60060 5/24/16 199263                     00000 5/16
                                              JINS0516    5/24/16          3,291.80 16060 5/24/16 199263           7,017.22 00000 5/16
                                                    **********               7,017.22 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0516    5/26/16             46.10 35901 5/26/16 912177                        00000    /
                                              122A0516    5/26/16            187.03 35030 5/26/16 912177                        00000    /
                                              122A0516    5/26/16          2,065.00 35026 5/26/16 912177                        00000    /
                                              122A0516    5/26/16            279.52 02005 5/26/16 912177                        00000    /
                                              122A051602 5/26/16           6,310.75 60560 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              33.73 60520 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              43.17 60320 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               9.12 60115 5/26/16 912177                        00000    /
                                              122A051602 5/26/16             639.60 60070 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              47.62 60061 5/26/16 912177                        00000    /
                                              122A051602 5/26/16             159.00 47082 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             300.49 60870 5/26/16 912177                        00000    /
                                              122A051603 5/26/16           2,394.75 60860 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              84.17 60856 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             469.68 60730 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             124.03 60721 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              69.38 60720 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             190.52 60590 5/26/16 912177                        00000    /
                                              122A051604 5/26/16           1,191.36 85215 5/26/16 912177                        00000    /
                                              122A051604 5/26/16             473.95- 84035 5/26/16 912177                       00000    /
                                              122A051604 5/26/16             100.00 64700 5/26/16 912177                        00000    /
                                              122A051604 5/26/16             169.00 62870 5/26/16 912177                        00000    /
                                              122A051604 5/26/16              15.00 62860 5/26/16 912177                        00000    /
                                              122A051604 5/26/16             721.51 62380 5/26/16 912177                        00000    /
                                              122B0516    5/26/16          2,325.21 60880 5/26/16 912177           17,501.79    00000    /
                                                    **********              17,501.79 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0516    5/24/16          1,527.24 66060 5/24/16 199332                     00000      5/16
                                              JINS0516    5/24/16          5,257.97 62060 5/24/16 199332                     00000      5/16
                                              JINS0516    5/24/16          5,553.31 60060 5/24/16 199332                     00000      5/16
                                              JINS0516    5/24/16          9,631.10 16060 5/24/16 199332          21,969.62 00000       5/16
                                                    **********              21,969.62 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  04 5/05/16              399.17 66900 5/12/16 198205              399.17   04108 5/16
                                                    **********                  399.17 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-021 JQHHM     JQHHM REG.   ALLOC.          *RVP16  04 5/05/16           4,182.92 60900 5/12/16 197995                    04108       5/16
                                              *SRM16  04 5/05/16           2,450.48 62900 5/12/16 197995           6,633.40 04108       5/16
                                                    **********               6,633.40 ***JQHHM  ******J-021****JQHHM REG. ALLOC.

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  04 5/05/16           3,974.70 16900 5/12/16 198055           3,974.70 04108 5/16
                                                    **********               3,974.70 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *ARM16  04 5/05/16              402.16 62900 5/12/16 198090               402.16 04108 5/16
                                              *DSA16  02 5/05/16              414.29 62900 5/12/16 198095               414.29 04108 5/16
                                              *RMA16  04 5/05/16              263.50 62900 5/12/16 198104               263.50 04108 5/16
                                              *BRM16  04 5/05/16              976.47 62900 5/12/16 198125               976.47 04108 5/16
                                              *EC16   04 5/05/16              441.04 62900 5/12/16 198130               441.04 04108 5/16
                                              *RPM16  03 5/05/16              251.82 66900 5/12/16 198139               251.82 04108 5/16
                                              *DRM16  04 5/05/16              688.22 62900 5/12/16 198160               688.22 04108 5/16
                                              *FM16   03 5/05/16              376.16 66900 5/12/16 198165               376.16 04108 5/16
                                                    **********                3,813.66 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT041604 4/30/16          29,190.40 02013 5/12/16 694461           29,190.40    00000    /
                                                    **********              29,190.40 ***JQHHM LL*****JQ-003****JQHHM LLC

KE-136 KEYANO    KEYANO INT'L INC.                 78075 4/07/16               76.00 45022 5/05/16 693266                     04445      /
                                                   78075 4/07/16               13.58 45022 5/05/16 693266              89.58 04445       /
                                                    **********                   89.58 ***KEYANO *****KE-136****KEYANO INT'L INC.




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                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
LA-003 LABOR     LABOR FINDERS OF VA INC        20917550 4/10/16           1,363.58 16020 5/05/16 693736                         04426   /
                                                20917683 4/24/16             710.84 60016 5/05/16 693736                         04426   /
                                                20917684 4/24/16             194.80 16020 5/05/16 693736           2,269.22      04426   /
                                                    **********               2,269.22 ***LABOR  *****LA-003****LABOR FINDERS     OF VA INC

LI-192 LIEBHERR LIEBHERR                        04112016 4/11/16              908.74 14030 5/05/16 693295              908.74    04245    /
                                                    **********                  908.74 ***LIEBHERR*****LI-192****LIEBHERR

*M-024 MARSH     MARSH USA INC                INSA041601 5/05/16           3,210.04 01311 5/12/16 198314           3,210.04 00000        5/16
                                              INSA041602 5/05/16           3,445.00 02120 5/12/16 198356                     00000       5/16
                                              INSA041602 5/05/16           2,320.00 01310 5/12/16 198356           5,765.00 00000        5/16
                                                    **********               8,975.04 ***MARSH  ******M-024****MARSH USA INC

MI-229 MISTER    MISTER B'S LAUNDRY               033116 3/31/16               38.50 66075 5/05/16 693339                     04245       /
                                                  033116 3/31/16              126.50 60720 5/05/16 693339                     04245       /
                                                  033116 3/31/16               92.60 45030 5/05/16 693339                     04245       /
                                                  033116 3/31/16              175.00 16800 5/05/16 693339             432.60 04245        /
                                                    **********                  432.60 ***MISTER *****MI-229****MISTER B'S LAUNDRY

MU-100 MUZAK     MUZAK LLC                       3658331 4/13/16              587.50 66520 5/26/16 695769                        05776    /
                                                 3658331 4/13/16               20.24 66520 5/26/16 695769             607.74     05776    /
                                                    **********                  607.74 ***MUZAK  *****MU-100****MUZAK LLC

NE-187 NEW DAY   NEW DAY OFFICE PRODUCTS          471040 3/10/16           1,526.00 66400 5/05/16 693364            1,526.00 04245    /
                                                    **********               1,526.00 ***NEW DAY *****NE-187****NEW DAY OFFICE PRODUCTS

*N-090 NOR1      NOR1 INC                      INV209441 3/31/16              229.65 16300 5/05/16 197455             229.65     04247   5/16
                                               INV212395 4/30/16              285.75 16300 5/26/16 199657             285.75     05003   5/16
                                                    **********                  515.40 ***NOR1   ******N-090****NOR1 INC

OA-002 OAK       A-OAK FARMS INC              *4104     06 5/01/16         1,400.00 66460 5/12/16 694397           1,400.00 04108         /
                                                      **********             1,400.00 ***OAK    *****OA-002****A-OAK FARMS INC

OR-126 ORION     ORION                             58721 4/13/16           3,560.00 01904 5/19/16 695274                         05656    /
                                                   58721 4/13/16             351.00 01904 5/19/16 695274           3,911.00      05656    /
                                                    **********               3,911.00 ***ORION  *****OR-126****ORION

PA-411 PAPERDIR PAPER DIRECT                     6478325 4/25/16              207.88 60552 5/26/16 695806                        05776    /
                                                 6478325 4/25/16               20.99 60552 5/26/16 695806              228.87    05776    /
                                                    **********                  228.87 ***PAPERDIR*****PA-411****PAPER DIRECT

PE-179 PENINSU   PENINSULA ELECTRIC MOTOR          50884 3/30/16              403.99 66160 5/05/16 693397                      04445   /
                                                   50884 3/30/16               24.24 66160 5/05/16 693397                      04445   /
                                                   51016 4/08/16              580.00 66250 5/05/16 693397                      04445   /
                                                   51016 4/08/16               14.37 66250 5/05/16 693397                      04445   /
                                                   51016 4/08/16               34.80 66250 5/05/16 693397            1,057.40 04445    /
                                                   51070 4/15/16              384.25 66250 5/26/16 695811                      05776   /
                                                   51070 4/15/16                9.02 66250 5/26/16 695811                      05776   /
                                                   51070 4/15/16               23.06 66250 5/26/16 695811              416.33 05776    /
                                                    **********                1,473.73 ***PENINSU *****PE-179****PENINSULA ELECTRIC MOTOR

PE-122 PENINSUL PENINSULA SPCA                   042616A 4/26/16           1,509.89 14030 5/05/16 693396            1,509.89 04245        /
                                                    **********               1,509.89 ***PENINSUL*****PE-122****PENINSULA SPCA

PE-352 PEVONIA   PEVONIA INT'L LLC                202329 4/14/16               43.75 45022 5/12/16 694208                        04445    /
                                                  202329 4/14/16               47.75 45022 5/12/16 694208                        04445    /
                                                  202329 4/14/16                2.63 45022 5/12/16 694208                        04445    /
                                              0000202334 4/14/16              599.00 45022 5/12/16 694208                        04445    /
                                              0000202334 4/14/16               30.15 45022 5/12/16 694208              723.28    04445    /
                                                    **********                  723.28 ***PEVONIA *****PE-352****PEVONIA INT'L   LLC




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APHIST-0110    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         736494 4/05/16              250.00 16400 5/05/16 693404             250.00 04445    /
                                                     **********                  250.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PR-584 PREC      PRECOR                        4520032804 4/26/16           2,374.39 01904 5/19/16 695344                         05656    /
                                               4520032804 4/26/16             115.20 01904 5/19/16 695344           2,489.59      05656    /
                                                     **********               2,489.59 ***PREC   *****PR-584****PRECOR

PR-158 PRINTWEL PRINTWELL INC                       85104 4/22/16              324.67 45022 5/12/16 694226                      04445      /
                                                    85104 4/22/16               19.48 45022 5/12/16 694226              344.15 04445       /
                                                     **********                  344.15 ***PRINTWEL*****PR-158****PRINTWELL INC

DE-135 READY RE READY REFRESH BY NESTLE               06C 4/04/16                8.48 60370 5/05/16 693041                        04445   /
                                                      06C 4/04/16                 .26 60370 5/05/16 693041                        04445   /
                                                      06C 4/04/16               92.16 16400 5/05/16 693041                        04445   /
                                                      06C 4/04/16                2.81 16400 5/05/16 693041              103.71    04445   /
                                                     **********                  103.71 ***READY RE*****DE-135****READY REFRESH   BY NESTLE

RE-415 REGAL     THE REGAL PRESS INC               390935 4/18/16               55.20 60552 5/05/16 693864              55.20 04445        /
                                                   398644 5/04/16               36.80 60552 5/26/16 695848                     05776       /
                                                   398645 5/04/16               36.80 60552 5/26/16 695848                     05776       /
                                                   398646 5/04/16               18.40 60552 5/26/16 695848              92.00 05776        /
                                                     **********                  147.20 ***REGAL  *****RE-415****THE REGAL PRESS INC

RI-250 RICOH     RICOH USA INC                 1062128452 4/13/16              360.33 60550 5/05/16 693475                        04445    /
                                               1062128452 4/13/16               21.62 60550 5/05/16 693475                        04445    /
                                               1062248228 4/19/16              198.58 60550 5/05/16 693475                        04445    /
                                               1062248228 4/19/16               11.92 60550 5/05/16 693475             592.45     04445    /
                                               5041697879 4/22/16              637.78 60370 5/26/16 695868                        05003    /
                                               5041697879 4/22/16               19.14 60370 5/26/16 695868             656.92     05003    /
                                                     **********                1,249.37 ***RICOH  *****RI-250****RICOH USA INC

RO-760 ROTO      ROTO-ROOTER                   4218670614 4/08/16              315.00 66250 5/05/16 693488             315.00     04445    /
                                                     **********                  315.00 ***ROTO   *****RO-760****ROTO-ROOTER

*R-207 ROYAL     ROYAL PAPER CORP                 4589527 3/30/16              822.65 16400 5/05/16 197498                     04445      5/16
                                                  4589527 3/30/16               49.36 16400 5/05/16 197498                     04445      5/16
                                                  4589527 3/30/16               99.46 16200 5/05/16 197498                     04445      5/16
                                                  4589527 3/30/16                5.97 16200 5/05/16 197498             977.44 04445       5/16
                                                     **********                  977.44 ***ROYAL  ******R-207****ROYAL PAPER CORP

DO-100 RR DONNE RR DONNELLEY                    047177349 4/08/16              240.00 16600 5/05/16 693055                        04445    /
                                                047177349 4/08/16               14.40 16600 5/05/16 693055              254.40    04445    /
                                                     **********                  254.40 ***RR DONNE*****DO-100****RR DONNELLEY

SA-281 SAFETY    SAFETY STAR LLC                    37178 3/31/16               54.00 60070 5/05/16 693498                     04445       /
                                                    37178 3/31/16                8.00 60070 5/05/16 693498              62.00 04445        /
                                                     **********                   62.00 ***SAFETY *****SA-281****SAFETY STAR LLC

SA-288 SAFLOK    SAFLOK                        INV416043   4/12/16             290.59 66120 5/05/16 693500                        04445    /
                                               INV416043   4/12/16              55.46 66120 5/05/16 693500                        04445    /
                                               INV416043   4/12/16              17.44 66120 5/05/16 693500              363.49    04445    /
                                                     **********                  363.49 ***SAFLOK *****SA-288****SAFLOK

*S-793 SAINT AM SAVANNAH SAINT AMERICA             051816 5/18/16              247.67 16800 5/26/16 199764              247.67 05998 5/16
                                                     **********                  247.67 ***SAINT AM******S-793****SAVANNAH SAINT AMERICA

*S-098 SAWT      MIKE SAWTSCHENKO                  042716 4/27/16              177.94 66250 5/05/16 197522                     04245      5/16
                                                   042716 4/27/16              518.00 66202 5/05/16 197522                     04245      5/16
                                                   042716 4/27/16               88.94 66201 5/05/16 197522             784.88 04245       5/16
                                                     **********                  784.88 ***SAWT   ******S-098****MIKE SAWTSCHENKO




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APHIST-0111    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE      1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
SC-159 SCOTT     MIKEL SCOTT                       051616 5/16/16               151.54 66075 5/26/16 695892             151.54    05998     /
                                                     **********                   151.54 ***SCOTT  *****SC-159****MIKEL SCOTT

SC-009 SCOTTY'S SCOTTY'S SIGNS, INC               35169TL 4/20/16               280.91 66130 5/05/16 693514                      04445      /
                                                  35169TL 4/20/16                 3.35 66130 5/05/16 693514              284.26 04445       /
                                                     **********                   284.26 ***SCOTTY'S*****SC-009****SCOTTY'S SIGNS, INC

*S-745 SERTI     SERTIFI                       *SALE     04 5/01/16             120.44 62843 5/12/16 198505             120.44    04108    5/16
                                                       **********                 120.44 ***SERTI  ******S-745****SERTIFI

SH-073 SHORTY    SHORTY WALLIN LOCK &          0000019427 4/13/16                86.25 66120 5/05/16 693524              86.25    04247     /
                                                    19869 5/12/16               350.00 66120 5/26/16 695901                       05776     /
                                                    19869 5/12/16                21.00 66120 5/26/16 695901             371.00    05776     /
                                                     **********                   457.25 ***SHORTY *****SH-073****SHORTY WALLIN   LOCK &

SH-306 SHRED     SHRED-IT USA LLC              9410083035 4/01/16                67.41 60370 5/05/16 693527                     04247       /
                                               9410083035 4/01/16                 4.39 60370 5/05/16 693527              71.80 04247        /
                                               9410477698 4/29/16                96.92 60370 5/26/16 695906              96.92 05003        /
                                                     **********                   168.72 ***SHRED  *****SH-306****SHRED-IT USA LLC

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2679695 4/06/16            1,138.18 45025 5/05/16 197413                     04247 5/16
                                                  2679695 4/06/16               48.67 45025 5/05/16 197413           1,186.85 04247 5/16
                                                  2683837 5/06/16            1,526.26 45025 5/26/16 199624                     05003 5/16
                                                  2683837 5/06/16               75.60 45025 5/26/16 199624           1,601.86 05003 5/16
                                                     **********                2,788.71 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3299277512 4/13/16               128.83 60550 5/05/16 693811                      04445   /
                                               3299277512 4/13/16                 7.73 60550 5/05/16 693811                      04445   /
                                               3299277513 4/13/16                11.99 60550 5/05/16 693811                      04445   /
                                               3299277513 4/13/16                  .72 60550 5/05/16 693811                      04445   /
                                               3299477718 4/15/16                52.79 60550 5/05/16 693811                      04445   /
                                               3299477718 4/15/16                 3.17 60550 5/05/16 693811                      04445   /
                                               3299801665 4/19/16                47.02 60550 5/05/16 693811                      04247   /
                                               3299801665 4/19/16                 2.82 60550 5/05/16 693811                      04247   /
                                               3299893144 4/20/16                 9.38 60550 5/05/16 693811                      04445   /
                                               3299893144 4/20/16                  .56 60550 5/05/16 693811                      04445   /
                                               3300503335 4/27/16                17.49 60550 5/05/16 693811                      04445   /
                                               3300503335 4/27/16                 1.05 60550 5/05/16 693811                      04445   /
                                               3300584681 4/28/16                36.50 60551 5/05/16 693811                      04445   /
                                               3300584681 4/28/16                 2.19 60551 5/05/16 693811              322.24 04445    /
                                               3300584680 4/28/16                36.50 60551 5/26/16 696102                      05776   /
                                               3300584680 4/28/16                 2.19 60551 5/26/16 696102                      05776   /
                                               3301593189 5/03/16               394.90 60551 5/26/16 696102                      05776   /
                                               3301593189 5/03/16                23.69 60551 5/26/16 696102                      05776   /
                                               3302189003 5/11/16               232.14 60551 5/26/16 696102              689.42 05003    /
                                                     **********                 1,011.66 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

ST-468 STODD     NANCY STODD                       051816 5/18/16               190.98 62830 5/26/16 696111             190.98    05998     /
                                                     **********                   190.98 ***STODD  *****ST-468****NANCY STODD

*S-693 SYSCO     SYSCO                          603290796     3/29/16          669.82      16105   5/05/16   197547               04426    5/16
                                                603310596     3/31/16          172.00      16105   5/05/16   197547               04426    5/16
                                                604021015     4/02/16          276.76      16105   5/05/16   197547               04426    5/16
                                                604051006     4/05/16          345.15      16105   5/05/16   197547               04426    5/16
                                                604110399     4/11/16        2,086.67      16110   5/05/16   197547               04245    5/16
                                                604110402     4/11/16          146.65      16105   5/05/16   197547               04426    5/16
                                                604140144     4/14/16        3,173.47      16110   5/05/16   197547               04245    5/16
                                                604161107     4/16/16          350.17      16105   5/05/16   197547               04426    5/16
                                                604161107     4/16/16            7.01      16105   5/05/16   197547               04426    5/16
                                                604180065     4/18/16        2,634.32      16110   5/05/16   197547               04245    5/16
                                                604200252     4/20/16          479.81      16105   5/05/16   197547               04426    5/16
                                                604260084     4/26/16          457.74      16105   5/05/16   197547   10,799.57   04426    5/16
                                                605030484     5/03/16          200.31      16105   5/19/16   199082               05499    5/16
                                                605060656     5/06/16          132.90      16400   5/19/16   199082               05499    5/16




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APHIST-0112   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     2
                           COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
                                              604070092A 4/07/16              60.64 16105 5/19/16 199082             393.85      05499   5/16
                                               604250085 4/25/16           3,412.19 16110 5/26/16 199734                         05776   5/16
                                               604280163 4/28/16           2,462.12 16110 5/26/16 199734                         05776   5/16
                                               605020102 5/02/16           3,858.88 16110 5/26/16 199734                         05776   5/16
                                               605050101 5/05/16              53.75 16105 5/26/16 199734                         05776   5/16
                                               605050102 5/05/16           3,275.05 16110 5/26/16 199734                         05776   5/16
                                               605090089 5/09/16           2,594.74 16110 5/26/16 199734          15,656.73      05776   5/16
                                                    **********              26,850.15 ***SYSCO  ******S-693****SYSCO

TA-208 TALX      TALX CORP.                      2071604 4/08/16               12.60 60320 5/05/16 693572              12.60     04247    /
                                                 2097070 5/08/16               25.20 60320 5/26/16 696139              25.20     05003    /
                                                    **********                   37.80 ***TALX   *****TA-208****TALX CORP.

*K-163 THE KN    THE KNOWLAND GROUP LLC       *MTHSUB 06 4/28/16              396.00 62841 5/12/16 198286             396.00 04108 5/16
                                                    **********                  396.00 ***THE KN ******K-163****THE KNOWLAND GROUP LLC

TR-555 TRADAVO   TRADAVO                          245443 4/15/16               86.25 16105 5/05/16 693597                86.25   04426    /
                                                    **********                   86.25 ***TRADAVO *****TR-555****TRADAVO

*T-198 TRAVEL    TRAVELCLICK INC              **MKTVSN05 5/01/16              175.00 62841 99/99/99 999999                    04108       /
                                              **MKTVSN05 5/01/16              175.00- 62841 99/99/99 999999              .00 05688        /
                                                    **********                     .00 ***TRAVEL ******T-198****TRAVELCLICK INC

TR-083 TREASURE TREASURER CITY OF HAMPTON     CITY0516    5/17/16              3.00 85960 5/17/16 912130                      00000   /
                                              CITY0516    5/17/16          6,631.00 02056 5/17/16 912130            6,634.00 00000    /
                                              CNTY0516    5/17/16              9.65- 85960 5/17/16 912138                     00000   /
                                              CNTY0516    5/17/16         68,902.33 02057 5/17/16 912138           68,892.68 00000    /
                                                    **********              75,526.68 ***TREASURE*****TR-083****TREASURER CITY OF HAMPTON

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2773584 4/13/16              735.17 45022 5/12/16 694333                      04445   /
                                                 2773584 4/13/16               29.11 45022 5/12/16 694333                      04445   /
                                                 2773584 4/13/16               38.97 45022 5/12/16 694333              803.25 04445    /
                                                    **********                  803.25 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

US-129 USA TODA USA TODAY                     0013097032 3/27/16              187.20 16105 5/05/16 693827              187.20    04247    /
                                              0013135946 5/01/16              310.32 16105 5/26/16 696140              310.32    05003    /
                                                    **********                  497.52 ***USA TODA*****US-129****USA TODAY

*V-122 VALLERGA JORDAN VALLERGA                   042716 4/27/16              186.00 62841 5/05/16 197638                      04245     5/16
                                                  042716 4/27/16              279.46 62830 5/05/16 197638                      04245     5/16
                                                  042716 4/27/16              183.20 62505 5/05/16 197638              648.66 04245      5/16
                                                    **********                  648.66 ***VALLERGA******V-122****JORDAN VALLERGA

VE-037 VERIZON   VERIZON WIRELESS             9764486239 4/26/16                2.49 35901 5/12/16 694343                      05099      /
                                              9764486239 4/26/16               68.36 35031 5/12/16 694343               70.85 05099       /
                                                    **********                   70.85 ***VERIZON *****VE-037****VERIZON WIRELESS

*V-065 VIRG      VIRGINIA NATURAL GAS         1605168318 5/09/16           3,014.65 64200 5/19/16 199158                     05614 5/16
                                              1605168318 5/09/16              76.54 64200 5/19/16 199158           3,091.19 05614 5/16
                                                    **********               3,091.19 ***VIRG   ******V-065****VIRGINIA NATURAL GAS

VI-183 VIRG      VIRGINIA GROUNDS             *GRDMNT 12 4/28/16           2,466.66 66450 5/12/16 694424           2,466.66 04108         /
                                                    **********               2,466.66 ***VIRG   *****VI-183****VIRGINIA GROUNDS

*V-002 VIRGINIA VIRGINIA DEPT OF TAXATION     STSL0516    5/17/16            444.37 85960 5/17/16 198653                         00000 5/16
                                              STSL0516    5/17/16         51,633.28 02059 5/17/16 198653                         00000 5/16
                                              STSL0516    5/17/16            374.03 02058 5/17/16 198653           52,451.68     00000 5/16
                                                    **********              52,451.68 ***VIRGINIA******V-002****VIRGINIA DEPT    OF TAXATION




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APHIST-0113    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE    1
                            COMPANY #80706 HAMPTON EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
VI-024 VIRGINIA VIRGINIA PENINSULA                 36735 10/28/15             715.00 62841 5/05/16 693634              715.00 04245     /
                                                    **********                  715.00 ***VIRGINIA*****VI-024****VIRGINIA PENINSULA

WO-103 WORLD CI WORLD CINEMA INC              **S5198 05 6/01/16           3,961.85 16425 5/19/16 695361                      04108     /
                                              **S5198 05 6/01/16             198.09 16425 5/19/16 695361            4,159.94 04108      /
                                                    **********               4,159.94 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN    WTS INTERNATIONAL INC             38669 4/01/16              299.00 62860 5/26/16 199778                     05003 5/16
                                                   38669 4/01/16              350.00 45022 5/26/16 199778             649.00 05003 5/16
                                                    **********                  649.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC

WY-015 WYNNE     WYNNE FORD                       646607 4/05/16              613.33 66100 5/05/16 693663                       04445   /
                                                  646607 4/05/16               17.30 66100 5/05/16 693663             630.63    04445   /
                                                    **********                  630.63 ***WYNNE  *****WY-015****WYNNE FORD

ZI-034 ZIEGLER   ZIEGLER SEPTIC PUMPING            20592 4/28/16              400.00 66250 5/26/16 696019              400.00 05003     /
                                                    **********                  400.00 ***ZIEGLER *****ZI-034****ZIEGLER SEPTIC PUMPING

XL-003 2XL CORP 2XL CORPORATION                   192006 4/18/16              379.95 01904 5/12/16 694359                      05172    /
                                                  192006 4/18/16               20.56 01904 5/12/16 694359                      05172    /
                                                  192008 4/18/16              167.90 16400 5/12/16 694359                      04445    /
                                                  192008 4/18/16               27.77 16400 5/12/16 694359              596.18 04445     /
                                                    **********                  596.18 ***2XL CORP*****XL-003****2XL CORPORATION


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80706               688,639.43




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APHIST-0508    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*A-181 A S HOS   A S HOSPITALITY                 4069624 2/17/16               107.50 16400 3/03/16 191183                      02305    3/16
                                                 4069624 2/17/16                30.88 16400 3/03/16 191183              138.38 02305     3/16
                                                    **********                   138.38 ***A S HOS ******A-181****A S HOSPITALITY

*A-230 AMERICA   AMERICAN HOTEL REGISTER         7612836 2/15/16                54.90 16850 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16                 2.82 16850 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16                 5.63 16850 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16               431.90 16500 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16                22.19 16500 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16                44.28 16500 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16               254.94 16400 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16                13.10 16400 3/03/16 191206                      02542 3/16
                                                 7612836 2/15/16                26.14 16400 3/03/16 191206                      02542 3/16
                                                 7616007 2/16/16               119.00 16500 3/03/16 191206                      02542 3/16
                                                 7616007 2/16/16                11.60 16500 3/03/16 191206                      02542 3/16
                                                 7620167 2/17/16               183.92 16850 3/03/16 191206                      02542 3/16
                                                 7620167 2/17/16                28.20 16850 3/03/16 191206                      02542 3/16
                                                 7620167 2/17/16                20.68 16850 3/03/16 191206            1,219.30 02542 3/16
                                                    **********                 1,219.30 ***AMERICA ******A-230****AMERICAN HOTEL REGISTER

AN-076 ANYTIME   ANYTIME LABOR-KANSAS LLC        1674189 2/26/16                 5.52 60320 3/03/16 686023                      02545   /
                                                 1674189 2/26/16               183.84 26015 3/03/16 686023              189.36 02545    /
                                                 1674361 3/04/16                14.14 60320 3/17/16 687500                      03312   /
                                                 1674361 3/04/16               471.09 26015 3/17/16 687500                      03312   /
                                                 1674530 3/11/16                 3.10 60320 3/17/16 687500                      03684   /
                                                 1674530 3/11/16               103.41 26015 3/17/16 687500              591.74 03684    /
                                                    **********                   781.10 ***ANYTIME *****AN-076****ANYTIME LABOR-KANSAS LLC

*B-018 BANK      BANK OF AMERICA               MAR16LOAN 3/22/16           39,190.45 86700 3/30/16 193669                     03558      3/16
                                               MAR16LOAN 3/22/16           12,672.20 02820 3/30/16 193669                     03558      3/16
                                               MAR16LOAN 3/22/16           27,215.44 01095 3/30/16 193669          79,078.09 03558       3/16
                                                    **********               79,078.09 ***BANK   ******B-018****BANK OF AMERICA

BR-158 BRINK     BRINK'S INC                     9978600 3/01/16               421.42 60135 3/17/16 687543             421.42    03684    /
                                                    **********                   421.42 ***BRINK  *****BR-158****BRINK'S INC

BU-397 BURNS     BURNS BOYS COMPANY INC           151055 12/07/15           2,023.64 66120 3/10/16 687370                     03168    /
                                                  151055 12/07/15             197.30 66120 3/10/16 687370           2,220.94 03168     /
                                                    **********                2,220.94 ***BURNS  *****BU-397****BURNS BOYS COMPANY INC

*C-542 CAIN      LAURA CAIN                        22916 2/29/16                10.26 62830 3/08/16 191594                       03150   3/16
                                                   22916 2/29/16                19.76 62505 3/08/16 191594              30.02    03150   3/16
                                                    **********                    30.02 ***CAIN   ******C-542****LAURA CAIN

*C-125 CARROLL   KAREN CARROLL                     22516 2/25/16                34.72 24510 3/03/16 191221               34.72 02305     3/16
                                                   32316 3/23/16                71.71 24510 3/31/16 193728               71.71 03516     3/16
                                                    **********                   106.43 ***CARROLL ******C-125****KAREN CARROLL

CE-098 CENTURY   CENTURYLINK                  1369310775 3/15/16               640.00 35030 3/17/16 687577              640.00   03662    /
                                                    **********                   640.00 ***CENTURY *****CE-098****CENTURYLINK

CE-064 CENTURYL CENTURYLINK                   2163033466 2/21/16              202.47 35901 3/03/16 686094                        02416    /
                                              2163033466 2/21/16            1,312.15 35030 3/03/16 686094            1,514.62    02416    /
                                              3163033466 3/21/16              202.51 35901 3/31/16 689159                        03428    /
                                              3163033466 3/21/16            1,312.75 35030 3/31/16 689159            1,515.26    03428    /
                                                    **********                3,029.88 ***CENTURYL*****CE-064****CENTURYLINK

*C-411 CINTAS    CINTAS CORP                     2227464     2/24/16            81.79     66075   3/17/16   192756               03288   3/16
                                                 2227464     2/24/16             4.98     66075   3/17/16   192756               03288   3/16
                                                 2227464     2/24/16             8.46     66075   3/17/16   192756               03288   3/16
                                                 2227464     2/24/16           227.85     16800   3/17/16   192756               03288   3/16
                                                 2227464     2/24/16            13.87     16800   3/17/16   192756               03288   3/16




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                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
                                                  2227464 2/24/16               23.57 16800 3/17/16 192756             360.52   03288   3/16
                                                     **********                  360.52 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS    CINTAS CORP.                   451221758 3/01/16              188.47 60370 3/10/16 686937                      03168    /
                                                451221758 3/01/16               18.38 60370 3/10/16 686937             206.85   03168    /
                                                     **********                  206.85 ***CINTAS *****CI-352****CINTAS CORP.

*C-385 CITY O    CITY OF JUNCTION WATER DE       31646000 3/17/16              22.36 64500 3/31/16 193753                     03472 3/16
                                                 31646000 3/17/16               1.89 64500 3/31/16 193753              24.25 03472 3/16
                                                 31647000 3/17/16           1,490.27 64500 3/31/16 193754                     03472 3/16
                                                 31647000 3/17/16              47.06 64500 3/31/16 193754           1,537.33 03472 3/16
                                                 31648000 3/17/16              22.36 64500 3/31/16 193755                     03472 3/16
                                                 31648000 3/17/16               1.89 64500 3/31/16 193755              24.25 03472 3/16
                                                 31649000 3/17/16             546.76 64500 3/31/16 193756                     03472 3/16
                                                 31649000 3/17/16              39.68 64500 3/31/16 193756             586.44 03472 3/16
                                                     **********               2,172.27 ***CITY O ******C-385****CITY OF JUNCTION WATER DE

CO-343 CONSOLID CONSOLIDATED PRINTING              111367 2/22/16           1,350.00 62300 3/10/16 686947            1,350.00 03168    /
                                                     **********               1,350.00 ***CONSOLID*****CO-343****CONSOLIDATED PRINTING

CO-492 CONVOY    CONVOY OF HOPE                INSA021603 2/29/16               44.00 02042 3/03/16 686838              44.00 00000      /
                                                     **********                   44.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-374 COURTYA   COURTYARD BY MARRIOTT         0010860919 1/12/16             130.26- 02006 3/23/16 689049                     03531     /
                                               0010864392 3/10/16           5,495.42 02006 3/23/16 689049                      03842     /
                                               0010864392 3/10/16              67.57- 02006 3/23/16 689049                     03842     /
                                               0010865822 2/29/16               6.93- 02008 3/23/16 689049                     03842     /
                                               0010865822 2/29/16             899.22 02008 3/23/16 689049                      03842     /
                                               0010865822 2/29/16              15.40- 02007 3/23/16 689049                     03842     /
                                               0010865822 2/29/16           1,998.33 02007 3/23/16 689049            8,172.81 03842      /
                                                     **********               8,172.81 ***COURTYA *****CO-374****COURTYARD BY MARRIOTT

CO-690 COX COMM COX COMMUNICATIONS             2165206001 2/23/16              397.95 35030 3/03/16 686142              397.95 02416     /
                                               3165206001 3/23/16              397.95 35030 3/31/16 689193              397.95 03596     /
                                                     **********                  795.90 ***COX COMM*****CO-690****COX COMMUNICATIONS

DA-233 DAVE'S    DAVE'S ELECTRIC, INC             2016090 3/04/16              124.00 66202 3/17/16 687631                     03312     /
                                                  2016090 3/04/16               12.09 66202 3/17/16 687631             136.09 03312      /
                                                     **********                  136.09 ***DAVE'S *****DA-233****DAVE'S ELECTRIC, INC

EA-037 EAGLE     EAGLE COMMUNICATION, INC      1160217713 2/29/16              276.00 62600 3/23/16 688405             276.00 03312    /
                                                     **********                  276.00 ***EAGLE  *****EA-037****EAGLE COMMUNICATION, INC

*E-091 ECOL      ECOLAB INC                       1211103 3/10/16              324.00 66600 3/17/16 192785                      03681   3/16
                                                  1211103 3/10/16               31.59 66600 3/17/16 192785             355.59   03681   3/16
                                                  1057367 2/25/16               31.50 16850 3/31/16 193832                      03516   3/16
                                                  1057367 2/25/16                6.01 16850 3/31/16 193832                      03516   3/16
                                                  1057367 2/25/16                3.66 16850 3/31/16 193832              41.17   03516   3/16
                                                     **********                  396.76 ***ECOL   ******E-091****ECOLAB INC

EC-007 ECOL      ECOLAB FOOD SAFETY              94166431 2/03/16               33.72 26230 3/03/16 686194                     02495     /
                                                 94166431 2/03/16               11.45 26230 3/03/16 686194                     02495     /
                                                 94166431 2/03/16                3.50 26230 3/03/16 686194              48.67 02495      /
                                                 94210247 3/08/16               20.88 26660 3/31/16 689234                     03684     /
                                                 94210247 3/08/16               11.45 26660 3/31/16 689234                     03684     /
                                                 94210247 3/08/16                2.51 26660 3/31/16 689234              34.84 03684      /
                                                     **********                   83.51 ***ECOL   *****EC-007****ECOLAB FOOD SAFETY

*E-087 ECS       ECS INC / RIPPLEPOINT         *CONSUL 09 3/04/16               38.68 35895 3/17/16 192780              38.68 02342 3/16
                                                     **********                   38.68 ***ECS    ******E-087****ECS INC / RIPPLEPOINT




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APHIST-0510    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
EX-083 EXPRESS   EXPRESS SERVICES INC          169765831 2/24/16              107.41 26028 3/03/16 686839              107.41 02545      /
                                               169873643 3/01/16              450.30 26028 3/17/16 688132              450.30 03312      /
                                                    **********                  557.71 ***EXPRESS *****EX-083****EXPRESS SERVICES INC

FE-076 FEDEX     FEDEX                         532473926 2/18/16               37.88 60590 3/03/16 686840                       02344    /
                                               533226073 2/25/16               18.31 60590 3/03/16 686840               56.19   02545    /
                                               533962667 3/03/16               26.03 60590 3/17/16 688248                       03312    /
                                               534705310 3/10/16               50.40 60590 3/17/16 688248               76.43   03684    /
                                                    **********                  132.62 ***FEDEX  *****FE-076****FEDEX

FO-009 FOUR      FOUR WINDS INTERACTIVE        SIN089339 3/01/16              200.00 60856 3/10/16 687033                     03168    /
                                               SIN089339 3/01/16               17.55 60856 3/10/16 687033             217.55 03168     /
                                                    **********                  217.55 ***FOUR   *****FO-009****FOUR WINDS INTERACTIVE

GR-248 GRAINGER GRAINGER                      9028626894 2/17/16              171.24 66120 3/17/16 687713                       02545    /
                                              9028626894 2/17/16               16.69 66120 3/17/16 687713              187.93   02545    /
                                              9036438282 2/25/16              132.62 66130 3/23/16 688496                       03312    /
                                              9036438282 2/25/16               12.93 66130 3/23/16 688496              145.55   03312    /
                                              9041965980 3/02/16               84.90 66130 3/31/16 689318                       03684    /
                                              9041965980 3/02/16                8.28 66130 3/31/16 689318               93.18   03684    /
                                                    **********                  426.66 ***GRAINGER*****GR-248****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7182246 2/15/16              143.62 16850 3/03/16 191334                     02305     3/16
                                                 7182246 2/15/16                7.04 16850 3/03/16 191334                     02305     3/16
                                                 7182246 2/15/16              508.68 16400 3/03/16 191334                     02305     3/16
                                                 7182246 2/15/16               24.92 16400 3/03/16 191334                     02305     3/16
                                                 7182246 2/15/16              370.29 16250 3/03/16 191334                     02305     3/16
                                                 7182246 2/15/16               18.14 16250 3/03/16 191334                     02305     3/16
                                                 7182246 2/15/16                 .01 16250 3/03/16 191334           1,072.70 02305      3/16
                                                    **********                1,072.70 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES         9143617983 2/11/16              171.49 66130 3/03/16 191375                      02305    3/16
                                              9143617983 2/11/16               16.72 66130 3/03/16 191375                      02305    3/16
                                              9143698185 2/16/16               71.88 66120 3/03/16 191375                      02305    3/16
                                              9143698185 2/16/16                7.01 66120 3/03/16 191375              267.10 02305     3/16
                                              9143731417 2/17/16               59.85 66130 3/10/16 191934                      03077    3/16
                                              9143731417 2/17/16                5.84 66130 3/10/16 191934                      03077    3/16
                                              9143759947 2/18/16               59.96 66120 3/10/16 191934                      03077    3/16
                                              9143759947 2/18/16                5.85 66120 3/10/16 191934                      03077    3/16
                                              9143821017 2/22/16              149.39 66120 3/10/16 191934                      03077    3/16
                                              9143821017 2/22/16               17.28 66120 3/10/16 191934                      03077    3/16
                                              9143821017 2/22/16               16.25 66120 3/10/16 191934              314.42 03077     3/16
                                              9144045532 3/02/16               91.08- 66250 3/17/16 192840                     03681    3/16
                                              9144045532 3/02/16                8.88- 66250 3/17/16 192840                     03681    3/16
                                              9144072416 3/03/16                3.99 66651 3/17/16 192840                      03681    3/16
                                              9144072416 3/03/16                 .39 66651 3/17/16 192840                      03681    3/16
                                              9144072416 3/03/16              132.08 66130 3/17/16 192840                      03681    3/16
                                              9144072416 3/03/16               12.88 66130 3/17/16 192840                      03681    3/16
                                              9144108480 3/04/16              119.90 66130 3/17/16 192840                      03681    3/16
                                              9144108480 3/04/16               11.69 66130 3/17/16 192840                      03681    3/16
                                              9144146407 3/07/16               23.58 66120 3/17/16 192840                      03681    3/16
                                              9144146407 3/07/16               10.00 66120 3/17/16 192840                      03681    3/16
                                              9144146407 3/07/16                3.27 66120 3/17/16 192840              217.82 03681     3/16
                                                    **********                  799.34 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

HO-045 HOME      HOMESITE INSURANCE CO             22016 2/20/16           1,931.00 01311 3/03/16 686819                     02416   /
                                                  22016A 2/20/16           1,931.00 01311 3/03/16 686819           3,862.00 02416    /
                                                    **********               3,862.00 ***HOME   *****HO-045****HOMESITE INSURANCE CO

IC-011 ICE-MAST ICE-MASTERS INC                  3091661 2/17/16              116.48 66202 3/03/16 686327                      02344     /
                                                 3091661 2/17/16               18.54 66202 3/03/16 686327                      02344     /
                                                 3091661 2/17/16               13.16 66202 3/03/16 686327              148.18 02344      /
                                                    **********                  148.18 ***ICE-MAST*****IC-011****ICE-MASTERS INC




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APHIST-0511    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*I-041 IKON      IKON/RICOH SERVICES            96341929 3/10/16              508.00 60370 3/10/16 191941                     03109     3/16
                                                96341929 3/10/16               49.54 60370 3/10/16 191941             557.54 03109      3/16
                                                    **********                  557.54 ***IKON   ******I-041****IKON/RICOH SERVICES

JA-012 JAY KE    JAY KEY SERVICE INC                3212 2/02/16               48.50 66120 3/03/16 686340                     02495      /
                                                    3212 2/02/16                3.17 66120 3/03/16 686340              51.67 02495       /
                                                    **********                   51.67 ***JAY KE *****JA-012****JAY KEY SERVICE INC

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 02 2/30/16           3,225.00 60116 3/10/16 192234            3,225.00 02342 3/16
                                                    **********               3,225.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0316    3/30/16              73.73 66060 3/31/16 193973                     00000 3/16
                                              JINS0316    3/30/16             248.17 62060 3/31/16 193973                     00000 3/16
                                              JINS0316    3/30/16             177.12 60060 3/31/16 193973                     00000 3/16
                                              JINS0316    3/30/16             290.91 26060 3/31/16 193973                     00000 3/16
                                              JINS0316    3/30/16             820.58 16060 3/31/16 193973           1,610.51 00000 3/16
                                                    **********                1,610.51 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

*J-018 JQH C     JQH C - INSURANCE            INSA031601 3/22/16              351.23 02120 3/23/16 193271                     00000     3/16
                                              INSA031601 3/22/16               38.31 01310 3/23/16 193271             389.54 00000      3/16
                                                    **********                  389.54 ***JQH C  ******J-018****JQH C - INSURANCE

JQ-004 JQH C     JQH C                        122A0316    3/23/16             19.80 60115 3/31/16 689832                        00000    /
                                              122A0316    3/23/16             47.58 60061 3/31/16 689832                        00000    /
                                              122A0316    3/23/16          1,132.00 47082 3/31/16 689832                        00000    /
                                              122A0316    3/23/16          1,916.00 35026 3/31/16 689832                        00000    /
                                              122A031601 3/23/16             262.71 60860 3/31/16 689832                        00000    /
                                              122A031601 3/23/16              37.73 60856 3/31/16 689832                        00000    /
                                              122A031601 3/23/16             105.73 60720 3/31/16 689832                        00000    /
                                              122A031601 3/23/16               6.00- 60590 3/31/16 689832                       00000    /
                                              122A031601 3/23/16              19.99 60580 3/31/16 689832                        00000    /
                                              122A031601 3/23/16               5.79 60320 3/31/16 689832                        00000    /
                                              122A031602 3/23/16              50.00 64700 3/31/16 689832                        00000    /
                                              122A031602 3/23/16              40.00 62860 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             145.52 62380 3/31/16 689832                        00000    /
                                              122A031602 3/23/16              63.82 62300 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             464.66 60880 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             121.21 60870 3/31/16 689832                        00000    /
                                              122A031603 3/23/16             255.92 26260 3/31/16 689832                        00000    /
                                              122A031603 3/23/16           1,513.05 16150 3/31/16 689832                        00000    /
                                              122A031603 3/23/16             112.76 02005 3/31/16 689832                        00000    /
                                              122A031604 3/23/16           1,153.58- 85962 3/31/16 689832           5,154.69    00000    /
                                                    **********               5,154.69 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0316    3/30/16            871.22 62060 3/31/16 194042                     00000      3/16
                                              JINS0316    3/30/16          1,023.23 60060 3/31/16 194042                     00000      3/16
                                              JINS0316    3/30/16            464.41 26060 3/31/16 194042                     00000      3/16
                                              JINS0316    3/30/16          1,364.43 16060 3/31/16 194042           3,723.29 00000       3/16
                                                    **********               3,723.29 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  02 3/05/16              161.02 66900 3/10/16 192184              161.02   02342 3/16
                                                    **********                  161.02 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  02 3/05/16           1,603.35 16900 3/10/16 192033           1,603.35 02342 3/16
                                                    **********               1,603.35 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16  02 3/05/16              277.64 62900 3/10/16 192039               277.64 02342 3/16
                                              *RMA16  02 3/05/16              106.29 62900 3/10/16 192048               106.29 02342 3/16
                                              *ARM16  02 3/05/16              162.23 62900 3/10/16 192069               162.23 02342 3/16
                                              *EC16   02 3/05/16              177.91 62900 3/10/16 192074               177.91 02342 3/16
                                              *RPM16  01 3/05/16              101.58 66900 3/10/16 192083               101.58 03005 3/16
                                              *BRM16  02 3/05/16              443.90 62900 3/10/16 192104               443.90 02342 3/16
                                              *FM16   01 3/05/16              151.74 66900 3/10/16 192109               151.74 03005 3/16
                                                    **********                1,421.29 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV



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APHIST-0512    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
JQ-003 JQHHM LL JQHHM LLC                     MGMT021602 2/29/16           2,718.84 02013 3/10/16 687473            2,718.84    00000    /
                                                    **********               2,718.84 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS     *BAA16  02 3/05/16              42.92 60900 3/10/16 191963              42.92 02342 3/16
                                              *RDS16  02 3/05/16             946.66 62900 3/10/16 191972             946.66 02342 3/16
                                              *RVP16  02 3/05/16           1,261.17 60900 3/10/16 191981           1,261.17 02342 3/16
                                                    **********               2,250.75 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

*J-003 JUNCT     JUNCTION CITY COURTYARD      D027993426 2/25/16               84.22 24510 3/03/16 191382                       02278 3/16
                                              D027995917 2/29/16               10.84 47051 3/03/16 191382                       02533 3/16
                                              D027995917 2/29/16               28.36 24510 3/03/16 191382                       02533 3/16
                                              D027999851 2/25/16               78.25 24510 3/03/16 191382             201.67    02279 3/16
                                              D037991619 3/03/16               25.20 24510 3/10/16 191944                       03041 3/16
                                              D037999939 3/03/16              105.00 62300 3/10/16 191944                       03041 3/16
                                              D037999939 3/03/16              295.00 26866 3/10/16 191944                       03041 3/16
                                              D037999939 3/03/16              131.01 24510 3/10/16 191944             556.21    03041 3/16
                                              D037992157 3/09/16                1.50 44050 3/17/16 192846                       03275 3/16
                                              D037992157 3/09/16              132.56 24510 3/17/16 192846                       03275 3/16
                                              D037992861 3/15/16                1.50 44050 3/17/16 192846                       03661 3/16
                                              D037992861 3/15/16               47.52 24510 3/17/16 192846                       03661 3/16
                                              D037993418 3/15/16                3.23 60550 3/17/16 192846                       03661 3/16
                                              D037993418 3/15/16               69.03 24510 3/17/16 192846                       03661 3/16
                                              D037993418 3/15/16               74.54 16400 3/17/16 192846                       03661 3/16
                                              D037993660 3/09/16               16.30 60550 3/17/16 192846                       03275 3/16
                                              D037993660 3/09/16               15.20 26230 3/17/16 192846                       03275 3/16
                                              D037993660 3/09/16              112.43 24510 3/17/16 192846                       03275 3/16
                                              D037997849 3/15/16               85.45 24510 3/17/16 192846             559.26    03661 3/16
                                              D037994669 3/25/16               59.81 24510 3/31/16 193927                       03512 3/16
                                              D037999971 3/25/16                9.78 60550 3/31/16 193927                       03512 3/16
                                              D037999971 3/25/16                1.50 44050 3/31/16 193927                       03512 3/16
                                              D037999971 3/25/16                2.20 26860 3/31/16 193927                       03512 3/16
                                              D037999971 3/25/16                9.87 26230 3/31/16 193927                       03512 3/16
                                              D037999971 3/25/16               36.23 24510 3/31/16 193927             119.39    03512 3/16
                                                    **********                1,436.53 ***JUNCT  ******J-003****JUNCTION CITY   COURTYARD

*K-003 KANSAS    KANSAS DEPT OF REVENUE       SLST0316    3/14/16            221.91 85960 3/16/16 192682                     00000 3/16
                                              SLST0316    3/14/16          1,900.12 02060 3/16/16 192682                     00000 3/16
                                              SLST0316    3/14/16          9,983.14 02059 3/16/16 192682          12,105.17 00000 3/16
                                                    **********              12,105.17 ***KANSAS ******K-003****KANSAS DEPT OF REVENUE

*K-100 KANSAS    KANSAS DEPT OF REVENUE       STUS0316    3/14/16             148.14 02058 3/16/16 192683             148.14 00000 3/16
                                                    **********                  148.14 ***KANSAS ******K-100****KANSAS DEPT OF REVENUE

*K-259 KANSAS    KANSAS DEPT OF REVENUE       STRM0316    3/14/16          5,599.30 02059 3/16/16 192684           5,599.30 00000 3/16
                                                    **********               5,599.30 ***KANSAS ******K-259****KANSAS DEPT OF REVENUE

KP-006 KPL       KANSAS GAS SRVC                31668736 3/08/16              556.62 64200 3/17/16 688205             556.62 03347       /
                                                    **********                  556.62 ***KPL    *****KP-006****KANSAS GAS SRVC

LO-150 LOOMIS    LOOMIS BROS EQUIPMENT CO      300374000 2/09/16              479.75 66275 3/10/16 687150                     02987   /
                                               300374000 2/09/16               46.78 66275 3/10/16 687150             526.53 02987    /
                                                    **********                  526.53 ***LOOMIS *****LO-150****LOOMIS BROS EQUIPMENT CO

MA-473 MAHASKA   MAHASKA BOTTLING COMPANY       00254428 2/29/16              180.00 26380 3/23/16 688619                      03312   /
                                                00254428 2/29/16               17.56 26380 3/23/16 688619              197.56 03312    /
                                                    **********                  197.56 ***MAHASKA *****MA-473****MAHASKA BOTTLING COMPANY

MA-646 MAINTEN   MAINTENANCE SUPPLY                  974 2/18/16               97.25 66130 3/17/16 687827               97.25 02344      /
                                                    **********                   97.25 ***MAINTEN *****MA-646****MAINTENANCE SUPPLY

*M-217 MARRIOTT MARRIOTT INT'L                  10842228 11/30/15              36.00 62249       3/10/16   192347               03179   3/16
                                              0010865822 2/29/16              457.67- 62860      3/10/16   192347               03077   3/16




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                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                               0010865822 2/29/16           2,672.31 62650 3/10/16 192347                       03077    3/16
                                               0010865822 2/29/16           1,444.37- 62251 3/10/16 192347                      03077    3/16
                                               0010865822 2/29/16           2,377.05 62249 3/10/16 192347                       03077    3/16
                                               0010865822 2/29/16             917.85 60856 3/10/16 192347                       03077    3/16
                                               0010865822 2/29/16             361.91 16700 3/10/16 192347                       03077    3/16
                                               0010865822 2/29/16           1,764.91 16300 3/10/16 192347            6,227.99 03077      3/16
                                                     **********               6,227.99 ***MARRIOTT******M-217****MARRIOTT INT'L

*M-024 MARSH     MARSH USA INC                 INSA021601 3/04/16             784.00 02120 3/10/16 192300                     00000      3/16
                                               INSA021601 3/04/16             639.00 01310 3/10/16 192300           1,423.00 00000       3/16
                                               INSA021602 3/04/16           1,074.21 01311 3/10/16 192338           1,074.21 00000       3/16
                                                     **********               2,497.21 ***MARSH  ******M-024****MARSH USA INC

MO-231 MOBILE    MOBILE MINI INC.               130164474 2/26/16              147.55 60710 3/17/16 687845                     03312      /
                                                130164474 2/26/16               14.39 60710 3/17/16 687845             161.94 03312       /
                                                     **********                  161.94 ***MOBILE *****MO-231****MOBILE MINI INC.

MO-332 MONTGOME MONTGOMERY COMMUNICATIONS          255003 2/29/16              327.00 62300 3/17/16 687846              327.00 03312    /
                                                     **********                  327.00 ***MONTGOME*****MO-332****MONTGOMERY COMMUNICATIONS

MU-100 MUZAK     MUZAK LLC                       52237069 3/01/16               81.17 16805 3/10/16 687182                       03168    /
                                                 52237069 3/01/16                4.80 16805 3/10/16 687182              85.97    03168    /
                                                     **********                   85.97 ***MUZAK  *****MU-100****MUZAK LLC

OF-030 OFFICE    OFFICE OF THE STATE FIRE          450209 2/19/16              120.00 66160 3/17/16 687865             120.00 02344    /
                                                     **********                  120.00 ***OFFICE *****OF-030****OFFICE OF THE STATE FIRE

PE-015 PETERSON PETERSON PUBLICATIONS INC           27074 2/22/16           1,100.00 62300 3/17/16 687888            1,100.00 03312    /
                                                     **********               1,100.00 ***PETERSON*****PE-015****PETERSON PUBLICATIONS INC

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         718760 2/09/16              155.00 16400 3/10/16 687223                     02987   /
                                                   718760 2/09/16               19.72 16400 3/10/16 687223             174.72 02987    /
                                                     **********                  174.72 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

RA-485 RAYFIELD RAYFIELD COMMUNICATIONS             85878 3/02/16              500.00 66520 3/17/16 687915                      03684   /
                                                    85878 3/02/16               20.08 66520 3/17/16 687915              520.08 03684    /
                                                     **********                  520.08 ***RAYFIELD*****RA-485****RAYFIELD COMMUNICATIONS

RE-204 RED       RED BOOK CONNECT LLC              765431 3/04/16               76.55 60552 3/17/16 687925                     03312      /
                                                   765431 3/04/16               17.37 60552 3/17/16 687925              93.92 03312       /
                                                     **********                   93.92 ***RED    *****RE-204****RED BOOK CONNECT LLC

RI-092 RICO      RICOH USA INC                 5040617521 2/21/16              126.79 60551 3/17/16 687943                       02545    /
                                               5040617521 2/21/16               12.37 60551 3/17/16 687943             139.16    02545    /
                                               1061247500 3/03/16              326.44 60550 3/31/16 689553                       03684    /
                                               1061247500 3/03/16               31.83 60550 3/31/16 689553             358.27    03684    /
                                                     **********                  497.43 ***RICO   *****RI-092****RICOH USA INC

RO-102 ROTHWELL ROTHWELL LANDSCAPE, INC           2016285 3/01/16           1,215.73 66450 3/17/16 687948            1,215.73 03312    /
                                                     **********               1,215.73 ***ROTHWELL*****RO-102****ROTHWELL LANDSCAPE, INC

RO-160 ROYAL C   ROYAL CUP COFFEE              2706013170 2/18/16              569.58 16400 3/17/16 688173              569.58 02987      /
                                                     **********                  569.58 ***ROYAL C *****RO-160****ROYAL CUP COFFEE

SA-288 SAFLOK    SAFLOK                          CM068662 2/11/16              768.75- 66120 3/03/16 686553                      02344    /
                                                 CM068662 2/11/16               74.96- 66120 3/03/16 686553                      02344    /
                                                INV408470 2/08/16              813.85 66120 3/03/16 686553                       02344    /
                                                INV408470 2/08/16               79.35 66120 3/03/16 686553              49.49    02344    /
                                                     **********                   49.49 ***SAFLOK *****SA-288****SAFLOK




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                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
SC-219 SCHURLE   SCHURLE'S WATER CONDITION          28217 3/04/16                12.00 16400 3/17/16 687975                      03312   /
                                                    28217 3/04/16                 1.17 16400 3/17/16 687975               13.17 03312    /
                                                     **********                    13.17 ***SCHURLE *****SC-219****SCHURLE'S WATER CONDITION

*S-423 SEMIN     CONTINUUM RETAIL ENERGY       5016026074 3/17/16               873.62 64200 3/31/16 194171                     03293 3/16
                                               5016026074 3/17/16                48.55 64200 3/31/16 194171             922.17 03293 3/16
                                                     **********                   922.17 ***SEMIN  ******S-423****CONTINUUM RETAIL ENERGY

*S-466 SIMP      SIMPLEXGRINNELL                 78451124 2/29/16               427.80 66110 3/17/16 192953             427.80 03312        3/16
                                                     **********                   427.80 ***SIMP   ******S-466****SIMPLEXGRINNELL

SN-016 SNACK     SNACK EXPRESS                      26379 2/19/16               168.00 24510 3/03/16 686594                         02344    /
                                                    26394 2/23/16               418.90 24510 3/03/16 686594               586.90    02344    /
                                                    26418 3/01/16                80.32 24510 3/10/16 687297                80.32    03168    /
                                                    26439 3/08/16                87.48 24510 3/17/16 687995                         03312    /
                                                    26440 3/08/16               140.00 24510 3/17/16 687995               227.48    03684    /
                                                    26460 3/15/16               127.64 24510 3/23/16 688816               127.64    03684    /
                                                     **********                 1,022.34 ***SNACK  *****SN-016****SNACK   EXPRESS

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2669843 3/07/16               158.86 45025 3/17/16 192868                     03681 3/16
                                                  2669843 3/07/16                 8.60 45025 3/17/16 192868             167.46 03681 3/16
                                                     **********                   167.46 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SP-264 SPRINT    SPRINT                        2162248284 2/09/16                 7.72 35901 3/17/16 688027                         03531    /
                                               2162248284 2/09/16               150.00- 35031 3/17/16 688027                        03531    /
                                               2162248284 2/09/16               141.35 35031 3/17/16 688027                         03531    /
                                               3162248284 3/09/16                 7.72 35901 3/17/16 688027                         03531    /
                                               3162248284 3/09/16               141.35 35031 3/17/16 688027              148.14     03531    /
                                                     **********                   148.14 ***SPRINT *****SP-264****SPRINT

ST-448 STAPLES   STAPLES ADVANTAGE             3294066470 2/25/16               219.00 60551 3/10/16 687445                      03168       /
                                               3294066470 2/25/16                21.35 60551 3/10/16 687445              240.35 03168        /
                                               3295573414 3/05/16                11.99 60551 3/17/16 688229                      03312       /
                                               3295573414 3/05/16                 1.17 60551 3/17/16 688229                      03312       /
                                               3295573414 3/05/16               114.87 60550 3/17/16 688229                      03312       /
                                               3295573414 3/05/16                11.20 60550 3/17/16 688229                      03312       /
                                               3295573414 3/05/16                72.89 26660 3/17/16 688229                      03312       /
                                               3295573414 3/05/16                 7.11 26660 3/17/16 688229                      03312       /
                                               3295573415 3/05/16                64.11 60550 3/17/16 688229                      03312       /
                                               3295573415 3/05/16                 6.25 60550 3/17/16 688229              289.59 03312        /
                                                     **********                   529.94 ***STAPLES *****ST-448****STAPLES ADVANTAGE

ST-387 STARBUCK STARBUCKS COFFEE CO            0162020506 2/03/16                 4.99- 24510 3/03/16 686848                     02495       /
                                               0165801110 2/08/16               282.66 24510 3/03/16 686848              277.67 02987        /
                                               0165853438 2/18/16               339.19 24510 3/17/16 688253              339.19 02545        /
                                               0165899552 2/25/16                20.67 26860 3/23/16 689058                      03312       /
                                               0165899552 2/25/16                  .36 26860 3/23/16 689058                      03312       /
                                               0165899552 2/25/16                94.69 26660 3/23/16 689058                      03312       /
                                               0165899552 2/25/16                 1.66 26660 3/23/16 689058                      03312       /
                                               0165899553 2/25/16               312.99 24510 3/23/16 689058              430.37 03312        /
                                               0165943355 3/04/16                44.83 24510 3/31/16 689835                      03684       /
                                               0165948716 3/07/16                 9.25 26660 3/31/16 689835                      03684       /
                                               0165948716 3/07/16                94.22 24510 3/31/16 689835              148.30 03684        /
                                                     **********                 1,195.53 ***STARBUCK*****ST-387****STARBUCKS COFFEE CO

ST-728 STICKEL   STICKEL CLEANERS INC              260945 2/26/16                15.64 44030 3/10/16 687310               15.64 02545        /
                                                     **********                    15.64 ***STICKEL *****ST-728****STICKEL CLEANERS INC

*S-697 SYSCO     SYSCO                          602180699     2/18/16          358.71      24510   3/03/16   191509                 02305   3/16
                                                602180700     2/18/16          903.86      24510   3/03/16   191509                 02305   3/16
                                                602220584     2/22/16        1,650.76      24510   3/03/16   191509                 02305   3/16
                                                602220585     2/22/16          344.63      24510   3/03/16   191509                 02305   3/16
                                                602250337     2/25/16        1,201.12      24510   3/03/16   191509                 02542   3/16




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                           COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA    NAME                        INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                602250338 2/25/16              231.84 24510 3/03/16 191509            4,690.92    02542   3/16
                                                602250336 2/25/16              452.25 26220 3/10/16 192449                        03077   3/16
                                                602250336 2/25/16               44.10 26220 3/10/16 192449                        03077   3/16
                                                602250339 2/25/16               81.20 45060 3/10/16 192449                        03077   3/16
                                                602290455 2/29/16              248.21 24510 3/10/16 192449                        03077   3/16
                                                602290456 2/29/16              295.71 26660 3/10/16 192449                        03077   3/16
                                                602290456 2/29/16               28.83 26660 3/10/16 192449                        03077   3/16
                                                602290456 2/29/16               69.88 24510 3/10/16 192449                        03077   3/16
                                                602290457 2/29/16              801.86 24510 3/10/16 192449            2,022.04    03077   3/16
                                                603030647 3/03/16              464.88 24510 3/17/16 192969                        03288   3/16
                                                603030648 3/03/16               14.04 26660 3/17/16 192969                        03288   3/16
                                                603030648 3/03/16            3,348.47 24510 3/17/16 192969                        03288   3/16
                                                603050041 3/05/16              100.14- 24510 3/17/16 192969                       03681   3/16
                                                603070464 3/07/16              303.24 24510 3/17/16 192969                        03681   3/16
                                                603070465 3/07/16              307.77 24510 3/17/16 192969                        03681   3/16
                                                603070466 3/07/16              469.05 24510 3/17/16 192969                        03681   3/16
                                                603100548 3/10/16              153.99 24510 3/17/16 192969                        03681   3/16
                                                603100549 3/10/16            1,153.38 24510 3/17/16 192969                        03681   3/16
                                                603100550 3/10/16              351.59 24510 3/17/16 192969                        03681   3/16
                                                603140401 3/14/16              470.57 24510 3/17/16 192969                        03681   3/16
                                                603140402 3/14/16               78.84 26660 3/17/16 192969                        03681   3/16
                                                603140402 3/14/16                7.68 26660 3/17/16 192969            7,023.36    03681   3/16
                                                603170629 3/17/16              281.28 24510 3/31/16 194201                        03516   3/16
                                                603170630 3/17/16               70.77 26660 3/31/16 194201                        03516   3/16
                                                603170630 3/17/16                6.90 26660 3/31/16 194201                        03516   3/16
                                                603170630 3/17/16              989.00 24510 3/31/16 194201                        03516   3/16
                                                603210465 3/21/16              407.52 24510 3/31/16 194201                        03516   3/16
                                                603210466 3/21/16              293.18 24510 3/31/16 194201                        03516   3/16
                                                603240511 3/24/16              150.36 24510 3/31/16 194201                        03516   3/16
                                                603240512 3/24/16               81.20 45060 3/31/16 194201                        03516   3/16
                                                603240512 3/24/16                7.58 24510 3/31/16 194201                        03516   3/16
                                                603240513 3/24/16              209.93 24510 3/31/16 194201                        03516   3/16
                                                603240514 3/24/16              119.82 26660 3/31/16 194201                        03516   3/16
                                                603240514 3/24/16               11.68 26660 3/31/16 194201                        03516   3/16
                                                603240515 3/24/16              594.49 24510 3/31/16 194201            3,223.71    03516   3/16
                                                     **********               16,960.03 ***SYSCO   ******S-697****SYSCO

TA-208 TALX      TALX CORP.                       2047765 3/08/16                10.50 60320 3/17/16 688045              10.50    03684    /
                                                     **********                    10.50 ***TALX   *****TA-208****TALX CORP.

TH-201 THERMAL   THERMAL COMFORT AIR, INC          140614 2/23/16               278.86 66202 3/10/16 687319                      03168   /
                                                   140614 2/23/16                27.19 66202 3/10/16 687319              306.05 03168    /
                                                     **********                   306.05 ***THERMAL *****TH-201****THERMAL COMFORT AIR, INC

TY-006 TYCO      TYCO INTEGRATED SECURITY        26123665 3/05/16                63.07 60620 3/17/16 688063              63.07 03684    /
                                                     **********                    63.07 ***TYCO   *****TY-006****TYCO INTEGRATED SECURITY

US-180 US FOOD   US FOODSERVICE-TOPEKA DIV        5367099 2/12/16               224.80 24510 3/10/16 687338              224.80 03168    /
                                                     **********                   224.80 ***US FOOD *****US-180****US FOODSERVICE-TOPEKA DIV

US-129 USA TODA USA TODAY                      0013055860 2/28/16               229.00 16105 3/17/16 688254                       03312    /
                                               0013055860 2/28/16                20.92 16105 3/17/16 688254              249.92   03312    /
                                                     **********                   249.92 ***USA TODA*****US-129****USA TODAY

WA-010 WASSERST THE WASSERSTROM CO             9408546168     2/08/16            12.10     26860   3/03/16   686686               02987    /
                                               9408546168     2/08/16            11.51     26860   3/03/16   686686               02987    /
                                               9408546168     2/08/16             2.30     26860   3/03/16   686686       25.91   02987    /
                                               9408561710     2/10/16           182.23     26660   3/10/16   687347               02987    /
                                               9408561710     2/10/16            42.52     26660   3/10/16   687347               02987    /
                                               9408561710     2/10/16            21.91     26660   3/10/16   687347      246.66   02987    /
                                               9408616971     2/22/16            65.68     26660   3/23/16   688904               03168    /
                                               9408616971     2/22/16            15.06     26660   3/23/16   688904               03168    /
                                               9408616971     2/22/16             7.87     26660   3/23/16   688904               03168    /
                                               9408645242     2/26/16            59.29     26860   3/23/16   688904               03168    /
                                               9408645242     2/26/16            21.72     26860   3/23/16   688904               03168    /
                                               9408645242     2/26/16             7.90     26860   3/23/16   688904               03168    /




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APHIST-0516    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     3
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                               9408645242 2/26/16              541.07 26660 3/23/16 688904                      03168    /
                                               9408645242 2/26/16              198.15 26660 3/23/16 688904                      03168    /
                                               9408645242 2/26/16               72.07 26660 3/23/16 688904              988.81 03168     /
                                                     **********                1,261.38 ***WASSERST*****WA-010****THE WASSERSTROM CO

*W-376 WASTE     WASTE MANAGEMENT              8505520594 3/01/16              521.51 66325 3/10/16 192553             521.51 03221     3/16
                                                     **********                  521.51 ***WASTE  ******W-376****WASTE MANAGEMENT

WA-153 WATERS    WATERS TRUE VALUE-3 WEST          994303 2/24/16              204.94 26380 3/23/16 688906                     02545   /
                                                   994303 2/24/16               17.28 26380 3/23/16 688906                     02545   /
                                                   994893 2/26/16               77.70- 26380 3/23/16 688906                    02545   /
                                                   994893 2/26/16                6.14- 26380 3/23/16 688906            138.38 02545    /
                                                   995883 3/02/16              484.88 26380 3/31/16 689685                     03312   /
                                                   995883 3/02/16               42.43 26380 3/31/16 689685             527.31 03312    /
                                                     **********                  665.69 ***WATERS *****WA-153****WATERS TRUE VALUE-3 WEST

WA-285 WATERS    WATERS TRUE VALUE HARDWAR        3700282 3/04/16                5.49 66651 3/17/16 688085                     03312   /
                                                  3700282 3/04/16                 .53 66651 3/17/16 688085                     03312   /
                                                  3700282 3/04/16               11.97 66500 3/17/16 688085                     03312   /
                                                  3700282 3/04/16                1.17 66500 3/17/16 688085                     03312   /
                                                  3700282 3/04/16               14.98 66250 3/17/16 688085                     03312   /
                                                  3700282 3/04/16                1.46 66250 3/17/16 688085                     03312   /
                                                  3700282 3/04/16                6.99 66120 3/17/16 688085                     03312   /
                                                  3700282 3/04/16                 .68 66120 3/17/16 688085              43.27 03312    /
                                                     **********                   43.27 ***WATERS *****WA-285****WATERS TRUE VALUE HARDWAR

*W-253 WEST      WESTAR ENERGY                   31612048 3/11/16           6,424.34 64100 3/23/16 193461                       03740   3/16
                                                 31612048 3/11/16             407.15 64100 3/23/16 193461           6,831.49    03740   3/16
                                                 31615145 3/11/16           6,122.82 64100 3/23/16 193462                       03740   3/16
                                                 31615145 3/11/16             596.98 64100 3/23/16 193462           6,719.80    03740   3/16
                                                     **********              13,551.29 ***WEST   ******W-253****WESTAR ENERGY

*W-452 WHITE     MEGAN WHITE                        32316 3/23/16               30.64 24510 3/31/16 194246              30.64   03684   3/16
                                                     **********                   30.64 ***WHITE  ******W-452****MEGAN WHITE

WO-103 WORLD CI WORLD CINEMA INC               **S5051 03 4/01/16           1,935.19 16425 3/31/16 689836                      02342     /
                                               **S5051 03 4/01/16             181.91 16425 3/31/16 689836            2,117.10 02342      /
                                                     **********               2,117.10 ***WORLD CI*****WO-103****WORLD CINEMA INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80799                206,538.80




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APHIST-0449    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                               PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                            DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE    CHK #         CHK. AMT. BATCH # CLRD
*A-181 A S HOS   A S HOSPITALITY                  4109886 4/09/16               22.00 26540       4/21/16 196043                     04449   4/16
                                                  4109886 4/09/16               23.51 26540       4/21/16 196043              45.51 04449    4/16
                                                  4114434 4/18/16               27.50 26540       4/28/16 196531                     04769   4/16
                                                  4114434 4/18/16               23.08 26540       4/28/16 196531              50.58 04769    4/16
                                                     **********                   96.09 ***A      S HOS ******A-181****A S HOSPITALITY

AN-076 ANYTIME   ANYTIME LABOR-KANSAS LLC         1674690 3/18/16                6.55 60320 4/07/16 689865                      03672   /
                                                  1674690 3/18/16              218.31 26015 4/07/16 689865              224.86 03672    /
                                                  1675030 4/01/16                5.80 60320 4/14/16 690733                      04216   /
                                                  1675030 4/01/16              193.44 26015 4/14/16 690733              199.24 04216    /
                                                     **********                  424.10 ***ANYTIME *****AN-076****ANYTIME LABOR-KANSAS LLC

*B-018 BANK      BANK OF AMERICA                APR16LOAN 4/25/16          40,427.06 86700 4/27/16 196508                     04036          4/16
                                                APR16LOAN 4/25/16          11,435.59 02820 4/27/16 196508                     04036          4/16
                                                APR16LOAN 4/25/16          24,486.69 01095 4/27/16 196508          76,349.34 04036           4/16
                                                     **********              76,349.34 ***BANK   ******B-018****BANK OF AMERICA

BR-304 BRAMSON   BRAMSON HOUSE                     114339 4/04/16              235.00 16850 4/28/16 692818                      04786         /
                                                   114339 4/04/16               24.80 16850 4/28/16 692818              259.80 04786          /
                                                     **********                  259.80 ***BRAMSON *****BR-304****BRAMSON HOUSE

BR-158 BRINK     BRINK'S INC                     10001799 4/01/16              421.42 60590 4/21/16 691321             421.42        04469    /
                                                     **********                  421.42 ***BRINK  *****BR-158****BRINK'S INC

BU-397 BURNS     BURNS BOYS COMPANY INC           151055A 12/07/15          2,023.64 66120 4/14/16 691152                     04216    /
                                                  151055A 12/07/15            197.30 66120 4/14/16 691152           2,220.94 04216     /
                                                     **********               2,220.94 ***BURNS  *****BU-397****BURNS BOYS COMPANY INC

*C-542 CAIN      LAURA CAIN                         33116 3/31/16              112.32 62830 4/07/16 194495                           03968   4/16
                                                    33116 3/31/16               41.22 62501 4/07/16 194495             153.54        03968   4/16
                                                     **********                  153.54 ***CAIN   ******C-542****LAURA CAIN

CE-098 CENTURY   CENTURYLINK                   1372166393 4/15/16              640.00 35030 4/21/16 691348              640.00       04581    /
                                                     **********                  640.00 ***CENTURY *****CE-098****CENTURYLINK

CE-064 CENTURYL CENTURYLINK                    4163033466 4/21/16           1,521.65 35030 4/28/16 692096            1,521.65        04008    /
                                                     **********               1,521.65 ***CENTURYL*****CE-064****CENTURYLINK

*C-411 CINTAS    CINTAS CORP                      2275310 3/17/16               44.95 16800 4/07/16 194485                           03939   4/16
                                                  2275310 3/17/16                4.38 16800 4/07/16 194485              49.33        03939   4/16
                                                     **********                   49.33 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS    CINTAS CORP.                   451226436 3/15/16              188.47 60370 4/07/16 689944                           03672    /
                                                451226436 3/15/16               18.38 60370 4/07/16 689944                           03672    /
                                                451231130 3/29/16              188.47 60370 4/07/16 689944                           03940    /
                                                451231130 3/29/16               18.38 60370 4/07/16 689944             413.70        03940    /
                                                451235804 4/12/16              188.47 60370 4/21/16 691360                           04469    /
                                                451235804 4/12/16               18.38 60370 4/21/16 691360             206.85        04469    /
                                                     **********                  620.55 ***CINTAS *****CI-352****CINTAS CORP.

*C-385 CITY O    CITY OF JUNCTION WATER DE       41646000 4/15/16             354.47 64500 4/28/16 196594                     04982 4/16
                                                 41646000 4/15/16              34.00 64500 4/28/16 196594             388.47 04982 4/16
                                                 41647000 4/15/16           2,188.75 64500 4/28/16 196595                     04982 4/16
                                                 41647000 4/15/16              65.70 64500 4/28/16 196595           2,254.45 04982 4/16
                                                 41648000 4/15/16             223.34 64500 4/28/16 196596                     04837 4/16
                                                 41648000 4/15/16              21.32 64500 4/28/16 196596             244.66 04837 4/16
                                                 41649000 4/15/16             557.11 64500 4/28/16 196597                     04982 4/16
                                                 41649000 4/15/16              40.24 64500 4/28/16 196597             597.35 04982 4/16
                                                     **********               3,484.93 ***CITY O ******C-385****CITY OF JUNCTION WATER DE




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APHIST-0450    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
CL-105 CLASSIC   CLASSIC CARPET CLEANING          499109 4/07/16           1,200.00 26260 4/26/16 911947            1,200.00 04469    /
                                                    **********               1,200.00 ***CLASSIC *****CL-105****CLASSIC CARPET CLEANING

CO-492 CONVOY    CONVOY OF HOPE               INSA041601 4/14/16               44.00 02042 4/15/16 911821              44.00 00000       /
                                                    **********                   44.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-374 COURTYA   COURTYARD BY MARRIOTT        0010871923 4/10/16           7,371.11 02006 4/21/16 691995                      04581      /
                                              0010871923 4/10/16             104.16- 02006 4/21/16 691995                     04581      /
                                              0010873934 3/31/16              11.06- 02008 4/21/16 691995                     04581      /
                                              0010873934 3/31/16           1,206.15 02008 4/21/16 691995                      04581      /
                                              0010873934 3/31/16              24.57- 02007 4/21/16 691995                     04581      /
                                              0010873934 3/31/16           2,680.40 02007 4/21/16 691995           11,117.87 04581       /
                                                    **********              11,117.87 ***COURTYA *****CO-374****COURTYARD BY MARRIOTT

CO-690 COX COMM COX COMMUNICATIONS            4165206001 4/23/16              397.95 35030 4/28/16 911960              397.95 04141      /
                                                    **********                  397.95 ***COX COMM*****CO-690****COX COMMUNICATIONS

EA-037 EAGLE     EAGLE COMMUNICATION, INC     1160318228 3/31/16              276.00 62600 4/28/16 692203             276.00 04216    /
                                                    **********                  276.00 ***EAGLE  *****EA-037****EAGLE COMMUNICATION, INC

*E-091 ECOL      ECOLAB INC                      1511630 4/11/16              324.00 66600 4/28/16 196676                       04769   4/16
                                                 1511630 4/11/16               31.59 66600 4/28/16 196676             355.59    04769   4/16
                                                    **********                  355.59 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 10 4/04/16               38.68 35895 4/14/16 195502              38.68 03139 4/16
                                                    **********                   38.68 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

EX-083 EXPRESS   EXPRESS SERVICES INC          170223481 3/09/16           1,802.00 26028 4/07/16 690705                      03672      /
                                               170526628 3/16/16             466.06 26028 4/07/16 690705                      03672      /
                                               170769988 3/23/16             532.93 26028 4/07/16 690705            2,800.99 03940       /
                                               171100522 3/30/16             390.66 26028 4/14/16 690842              390.66 04216       /
                                               171402449 4/06/16             788.55 26028 4/21/16 691885              788.55 04469       /
                                               171559511 4/12/16             113.47 26028 4/28/16 692722              113.47 04786       /
                                                    **********               4,093.67 ***EXPRESS *****EX-083****EXPRESS SERVICES INC

FS-001 F & S     F & S ELECTRONICS              10166769 3/25/16               11.99 47051 4/21/16 691457                     03940      /
                                                10166769 3/25/16                1.17 47051 4/21/16 691457              13.16 03940       /
                                                    **********                   13.16 ***F & S  *****FS-001****F & S ELECTRONICS

FE-076 FEDEX     FEDEX                         535456608 3/17/16               18.17 60590 4/07/16 690706                       03672    /
                                               536232109 3/24/16               18.17 60590 4/07/16 690706               36.34   03940    /
                                               536946149 3/31/16               26.72 60590 4/14/16 691245               26.72   04216    /
                                               537685559 4/07/16               67.54 60590 4/21/16 691996               67.54   04469    /
                                               538446504 4/14/16               56.97 60590 4/28/16 692836               56.97   04786    /
                                                    **********                  187.57 ***FEDEX  *****FE-076****FEDEX

FO-009 FOUR      FOUR WINDS INTERACTIVE        SIN091537 4/01/16              200.00 60856 4/14/16 690858                     04216    /
                                               SIN091537 4/01/16               17.55 60856 4/14/16 690858             217.55 04216     /
                                                    **********                  217.55 ***FOUR   *****FO-009****FOUR WINDS INTERACTIVE

GE-101 GEARY     GEARY COUNTY TREASURER          16RETAX 4/28/16           5,100.27 02100 4/28/16 911971           5,100.27 04132     /
                                                    **********               5,100.27 ***GEARY  *****GE-101****GEARY COUNTY TREASURER

GE-010 GENER     GENERAL PARTS LLC               5714847 3/15/16              354.00 66202 4/07/16 690093                     03672      /
                                                 5714847 3/15/16               34.53 66202 4/07/16 690093             388.53 03672       /
                                                    **********                  388.53 ***GENER  *****GE-010****GENERAL PARTS LLC

GF-007 GFX       GFX INTERNATIONAL INC            485692 3/24/16              115.31 26540 4/21/16 691466                     04216   /
                                                  485692 3/24/16               20.55 26540 4/21/16 691466             135.86 04216    /
                                                    **********                  135.86 ***GFX    *****GF-007****GFX INTERNATIONAL INC



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APHIST-0451    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #    CHK. AMT. BATCH # CLRD
*G-184 GUEST     GUEST SUPPLY - SYSCO            7264111 3/18/16               100.24 16850 4/07/16 194594                      03939    4/16
                                                 7264111 3/18/16                 1.98 16850 4/07/16 194594                      03939    4/16
                                                 7264111 3/18/16               863.15 16400 4/07/16 194594                      03939    4/16
                                                 7264111 3/18/16                17.04 16400 4/07/16 194594                      03939    4/16
                                                 7265195 3/18/16               319.99 26860 4/07/16 194594                      03939    4/16
                                                 7265195 3/18/16                21.25 26860 4/07/16 194594                      03939    4/16
                                                 7265195 3/18/16                33.27 26860 4/07/16 194594            1,356.92 03939     4/16
                                                 7334191 4/15/16               328.42 16850 4/28/16 196713                      04769    4/16
                                                 7334191 4/15/16                19.00 16850 4/28/16 196713                      04769    4/16
                                                 7334191 4/15/16               874.66 16400 4/28/16 196713                      04769    4/16
                                                 7334191 4/15/16                50.60 16400 4/28/16 196713                      04769    4/16
                                                 7334191 4/15/16               716.37 16250 4/28/16 196713                      04769    4/16
                                                 7334191 4/15/16                41.44 16250 4/28/16 196713                      04769    4/16
                                                 7334191 4/15/16                  .01- 16250 4/28/16 196713           2,030.48 04769     4/16
                                                    **********                 3,387.40 ***GUEST   ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES         9144743646 4/01/16                58.36 66250 4/21/16 196224                      04449    4/16
                                              9144743646 4/01/16                 5.69 66250 4/21/16 196224                      04449    4/16
                                              9144743646 4/01/16                86.57 66160 4/21/16 196224                      04449    4/16
                                              9144743646 4/01/16                 8.44 66160 4/21/16 196224                      04449    4/16
                                              9144743646 4/01/16               144.24 66130 4/21/16 196224                      04449    4/16
                                              9144743646 4/01/16                14.06 66130 4/21/16 196224              317.36 04449     4/16
                                              9144984057 4/12/16               157.50 66130 4/28/16 196759                      04769    4/16
                                              9144984057 4/12/16                15.36 66130 4/28/16 196759              172.86 04769     4/16
                                                    **********                   490.22 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

IC-011 ICE-MAST ICE-MASTERS INC                  3092248 3/09/16               337.78 66150 4/07/16 690166                      03672     /
                                                 3092248 3/09/16                32.93 66150 4/07/16 690166              370.71 03672      /
                                                    **********                   370.71 ***ICE-MAST*****IC-011****ICE-MASTERS INC

ID-014 IDENTITY IDENTITY GROUP                   1179761 3/08/16                51.70 66120 4/07/16 690167                       03672    /
                                                 1179761 3/08/16                26.76 66120 4/07/16 690167               78.46 03672      /
                                                    **********                    78.46 ***IDENTITY*****ID-014****IDENTITY GROUP

*I-041 IKON      IKON/RICOH SERVICES            96511611 4/10/16               524.51 60370 4/07/16 194647                     04003     4/16
                                                96511611 4/10/16                33.03 60370 4/07/16 194647             557.54 04003      4/16
                                                    **********                   557.54 ***IKON   ******I-041****IKON/RICOH SERVICES

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 03 3/30/16            3,225.00 60116 4/07/16 194943            3,225.00 03139 4/16
                                                    **********                3,225.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS041601 4/14/16                73.73 66060 4/14/16 195773                     00000 4/16
                                              JINS041601 4/14/16               248.50 62060 4/14/16 195773                     00000 4/16
                                              JINS041601 4/14/16               198.97 60060 4/14/16 195773                     00000 4/16
                                              JINS041601 4/14/16               291.21 26060 4/14/16 195773                     00000 4/16
                                              JINS041601 4/14/16               821.43 16060 4/14/16 195773           1,633.84 00000 4/16
                                                    **********                 1,633.84 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0416       4/28/16        1,933.27      16150   4/28/16   911979               00000    /
                                              122A0416       4/28/16          112.76      02005   4/28/16   911979               00000    /
                                              122A041601     4/28/16            8.82      60115   4/28/16   911979               00000    /
                                              122A041601     4/28/16           47.58      60061   4/28/16   911979               00000    /
                                              122A041601     4/28/16          332.05      26260   4/28/16   911979               00000    /
                                              122A041602     4/28/16          379.11      60860   4/28/16   911979               00000    /
                                              122A041602     4/28/16           35.80      60856   4/28/16   911979               00000    /
                                              122A041602     4/28/16            4.98-     60590   4/28/16   911979               00000    /
                                              122A041602     4/28/16           69.99      60580   4/28/16   911979               00000    /
                                              122A041602     4/28/16          888.59      60560   4/28/16   911979               00000    /
                                              122A041602     4/28/16          319.24      60520   4/28/16   911979               00000    /
                                              122A041602     4/28/16          473.99      60320   4/28/16   911979               00000    /
                                              122A041603     4/28/16            2.54      60880   4/28/16   911979               00000    /
                                              122A041603     4/28/16        1,271.21      60870   4/28/16   911979               00000    /
                                              122A041604     4/28/16           41.96      85962   4/28/16   911979               00000    /
                                              122A041604     4/28/16           50.00      64700   4/28/16   911979               00000    /
                                              122A041604     4/28/16           40.00      62860   4/28/16   911979               00000    /




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APHIST-0452    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
                                              122A041604 4/28/16              111.35 62850 4/28/16 911979           6,113.28    00000    /
                                                    **********                6,113.28 ***JQH C  *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS041601 4/14/16             871.22 62060 4/14/16 195846                     00000      4/16
                                              JINS041601 4/14/16           1,023.23 60060 4/14/16 195846                     00000      4/16
                                              JINS041601 4/14/16             464.41 26060 4/14/16 195846                     00000      4/16
                                              JINS041601 4/14/16           1,364.43 16060 4/14/16 195846           3,723.29 00000       4/16
                                                    **********               3,723.29 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  03 4/05/16              161.02 66900 4/07/16 194891              161.02   03139 4/16
                                                    **********                  161.02 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  03 4/05/16           1,603.35 16900 4/07/16 194740           1,603.35 03139 4/16
                                                    **********               1,603.35 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16  03 4/05/16              277.64 62900 4/07/16 194746               277.64 03139 4/16
                                              *FM16   02 4/05/16              151.74 66900 4/07/16 194751               151.74 03139 4/16
                                              *ARM16  03 4/05/16              162.23 62900 4/07/16 194776               162.23 03139 4/16
                                              *DSA16  01 4/05/16              167.12 62900 4/07/16 194781               167.12 04034 4/16
                                              *RMA16  03 4/05/16              106.29 62900 4/07/16 194790               106.29 03139 4/16
                                              *BRM16  03 4/05/16              443.90 62900 4/07/16 194811               443.90 03139 4/16
                                              *EC16   03 4/05/16              177.91 62900 4/07/16 194816               177.91 03139 4/16
                                              *RPM16  02 4/05/16              101.58 66900 4/07/16 194825               101.58 03139 4/16
                                                    **********                1,588.41 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT031604 3/31/16           3,795.83 02013 4/14/16 691246            3,795.83    00000    /
                                                    **********               3,795.83 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS     *BAA16  03 4/05/16              42.92 60900 4/07/16 194670              42.92 03139 4/16
                                              *RDS16  03 4/05/16             946.66 62900 4/07/16 194679             946.66 03139 4/16
                                              *RVP16  03 4/05/16           1,261.17 60900 4/07/16 194688           1,261.17 03139 4/16
                                                    **********               2,250.75 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

*J-003 JUNCT     JUNCTION CITY COURTYARD      D037991971 4/01/16               90.54 24510 4/07/16 194650                       03831 4/16
                                              D037992677 4/01/16               55.08 24510 4/07/16 194650             145.62    03831 4/16
                                              D047992555 4/07/16               77.60 24510 4/14/16 195566                       04123 4/16
                                              D047992555 4/07/16               18.30 16850 4/14/16 195566                       04123 4/16
                                              D047992555 4/07/16               31.30 16400 4/14/16 195566                       04123 4/16
                                              D047998143 4/07/16              108.80 24510 4/14/16 195566             236.00    04123 4/16
                                              D047996493 4/15/16                2.18 26660 4/21/16 196230                       04441 4/16
                                              D047996493 4/15/16              163.76 24510 4/21/16 196230                       04441 4/16
                                              D047997946 4/15/16              101.91 24510 4/21/16 196230                       04441 4/16
                                              D047997946 4/15/16               19.18 16850 4/21/16 196230             287.03    04441 4/16
                                              D047995442 4/21/16                 .75 44050 4/28/16 196762                       04767 4/16
                                              D047995442 4/21/16               57.05 24510 4/28/16 196762              57.80    04767 4/16
                                                    **********                  726.45 ***JUNCT  ******J-003****JUNCTION CITY   COURTYARD

*K-003 KANSAS    KANSAS DEPT OF REVENUE       SLST0416    4/14/16             56.47 85960 4/15/16 195897                     00000 4/16
                                              SLST0416    4/14/16          3,839.16 02060 4/15/16 195897                     00000 4/16
                                              SLST0416    4/14/16         13,679.90 02059 4/15/16 195897          17,575.53 00000 4/16
                                                    **********              17,575.53 ***KANSAS ******K-003****KANSAS DEPT OF REVENUE

*K-100 KANSAS    KANSAS DEPT OF REVENUE       STUS0416    4/14/16             154.17 02058 4/15/16 195898             154.17 00000 4/16
                                                    **********                  154.17 ***KANSAS ******K-100****KANSAS DEPT OF REVENUE

*K-259 KANSAS    KANSAS DEPT OF REVENUE       STRM0416    4/14/16          7,824.92 02059 4/15/16 195899           7,824.92 00000 4/16
                                                    **********               7,824.92 ***KANSAS ******K-259****KANSAS DEPT OF REVENUE

KA-128 KANSAS    KANSAS DEPT OF REVENUE       STDCQ116D   4/14/16                 .45 02059 4/15/16 911794                .45 00000     /
                                                    **********                      .45 ***KANSAS *****KA-128****KANSAS DEPT OF REVENUE




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APHIST-0453    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*K-160 KONE      KONE INC -ONLY AUTO PAYS      *7785A  02 4/01/16               960.10 66300 4/07/16 194979                     03139 4/16
                                               *7785A  02 4/01/16                92.87 66300 4/07/16 194979           1,052.97 03139 4/16
                                                     **********                 1,052.97 ***KONE   ******K-160****KONE INC -ONLY AUTO PAYS

KP-006 KPL       KANSAS GAS SRVC                 41668736 4/08/16               530.06 64200 4/14/16 691211             530.06 04244      /
                                                     **********                   530.06 ***KPL    *****KP-006****KANSAS GAS SRVC

MA-473 MAHASKA   MAHASKA BOTTLING COMPANY        00258167 3/31/16               180.00 26380 4/28/16 692412                      04216   /
                                                 00258167 3/31/16                17.56 26380 4/28/16 692412              197.56 04216    /
                                                     **********                   197.56 ***MAHASKA *****MA-473****MAHASKA BOTTLING COMPANY

*M-217 MARRIOTT MARRIOTT INT'L                 0010873934 3/31/16            2,818.60 62650 4/14/16 195596                       04129   4/16
                                               0010873934 3/31/16            1,689.14- 62251 4/14/16 195596                      04129   4/16
                                               0010873934 3/31/16            2,526.28 62249 4/14/16 195596                       04129   4/16
                                               0010873934 3/31/16              721.50 60856 4/14/16 195596                       04129   4/16
                                               0010873934 3/31/16              177.70 60730 4/14/16 195596                       04129   4/16
                                               0010873934 3/31/16              397.62 16700 4/14/16 195596                       04129   4/16
                                               0010873934 3/31/16            1,418.65 16300 4/14/16 195596                       04129   4/16
                                               010873934A 3/31/16               17.17- 62860 4/14/16 195596           6,354.04 04129     4/16
                                                     **********                6,354.04 ***MARRIOTT******M-217****MARRIOTT INT'L

*M-024 MARSH     MARSH USA INC                 INSA031601 4/07/16            1,074.21 01311 4/07/16 195322           1,074.21 00000      4/16
                                               INSA031602 4/07/16              784.00 02120 4/07/16 195360                     00000     4/16
                                               INSA031602 4/07/16              639.00 01310 4/07/16 195360           1,423.00 00000      4/16
                                                     **********                2,497.21 ***MARSH  ******M-024****MARSH USA INC

MO-231 MOBILE    MOBILE MINI INC.               130165493 3/25/16               152.03 60710 4/14/16 690972                     04216     /
                                                130165493 3/25/16                14.82 60710 4/14/16 690972             166.85 04216      /
                                                     **********                   166.85 ***MOBILE *****MO-231****MOBILE MINI INC.

MU-100 MUZAK     MUZAK LLC                       52302885 4/01/16                81.17 16805 4/14/16 690977                      04216    /
                                                 52302885 4/01/16                 4.80 16805 4/14/16 690977              85.97   04216    /
                                                     **********                    85.97 ***MUZAK  *****MU-100****MUZAK LLC

PE-158 PERFORMA PERFORMANCE INTERIORS          1000936658 3/01/16            1,724.92 66202 4/07/16 690667                      03672   /
                                               1000936658 3/01/16              168.18 66202 4/07/16 690667            1,893.10 03672    /
                                                     **********                1,893.10 ***PERFORMA*****PE-158****PERFORMANCE INTERIORS

RI-092 RICO      RICOH USA INC                 5041139987 3/20/16               124.38 60551 4/14/16 691032                     03940     /
                                               5041139987 3/20/16                12.13 60551 4/14/16 691032             136.51 03940      /
                                                     **********                   136.51 ***RICO   *****RI-092****RICOH USA INC

RO-102 ROTHWELL ROTHWELL LANDSCAPE, INC           2016421 3/16/16               48.94 66450 4/07/16 690372                      03672   /
                                                  2016421 3/16/16                4.77 66450 4/07/16 690372                      03672   /
                                                  2016422 3/16/16              162.34 66450 4/07/16 690372                      03672   /
                                                  2016422 3/16/16               15.83 66450 4/07/16 690372              231.88 03672    /
                                                 20160162 4/01/16            1,215.73 66450 4/14/16 691036            1,215.73 04216    /
                                                     **********                1,447.61 ***ROTHWELL*****RO-102****ROTHWELL LANDSCAPE, INC

*R-207 ROYAL     ROYAL PAPER CORP                 4592905 4/14/16                84.51 16850 4/28/16 196890                     04769    4/16
                                                  4592905 4/14/16                 7.95 16850 4/28/16 196890                     04769    4/16
                                                  4592905 4/14/16               923.24 16400 4/28/16 196890                     04769    4/16
                                                  4592905 4/14/16                86.78 16400 4/28/16 196890           1,102.48 04769     4/16
                                                     **********                 1,102.48 ***ROYAL  ******R-207****ROYAL PAPER CORP

SC-219 SCHURLE   SCHURLE'S WATER CONDITION          28472 4/01/16                12.00 16400 4/14/16 691054                      04216   /
                                                    28472 4/01/16                 1.17 16400 4/14/16 691054               13.17 04216    /
                                                     **********                    13.17 ***SCHURLE *****SC-219****SCHURLE'S WATER CONDITION

SC-249 SCHURLE   SCHURLE SIGNS, INC                 52320     3/30/16           598.41     66550   4/14/16   691055              04216    /




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                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                    52320 3/30/16                58.34 66550 4/14/16 691055                      04216       /
                                                    52356 3/30/16               840.76 66550 4/14/16 691055                      04216       /
                                                    52356 3/30/16                81.97 66550 4/14/16 691055            1,579.48 04216        /
                                                     **********                 1,579.48 ***SCHURLE *****SC-249****SCHURLE SIGNS, INC

*S-423 SEMIN     CONTINUUM RETAIL ENERGY       5016035201 4/15/16               886.47 64200 4/28/16 196903                     04645 4/16
                                               5016035201 4/15/16                49.27 64200 4/28/16 196903             935.74 04645 4/16
                                                     **********                   935.74 ***SEMIN  ******S-423****CONTINUUM RETAIL ENERGY

SH-437 SHOES     SHOES FOR CREWS LLC              6929824 3/31/16                98.96 16800 4/28/16 692844                     04216        /
                                                  6929824 3/31/16                 9.96 16800 4/28/16 692844             108.92 04216         /
                                                     **********                   108.92 ***SHOES  *****SH-437****SHOES FOR CREWS LLC

*S-466 SIMP      SIMPLEXGRINNELL                 82220030 2/16/16               917.39 66110 4/07/16 195115                     03672       4/16
                                                 82220030 2/16/16                89.44 66110 4/07/16 195115           1,006.83 03672        4/16
                                                 78526514 3/28/16               427.80 66110 4/14/16 195646             427.80 04216        4/16
                                                     **********                 1,434.63 ***SIMP   ******S-466****SIMPLEXGRINNELL

SN-016 SNACK     SNACK EXPRESS                      26480 3/18/16               126.00 24510 4/07/16 690431                         03672    /
                                                    26506 3/29/16               333.78 24510 4/07/16 690431               459.78    03940    /
                                                    26523 4/05/16               151.96 24510 4/14/16 691072               151.96    04216    /
                                                    26550 4/12/16               111.50 24510 4/21/16 691749               111.50    04469    /
                                                    26569 4/19/16               355.08 24510 4/28/16 692600               355.08    04786    /
                                                     **********                 1,078.32 ***SNACK  *****SN-016****SNACK   EXPRESS

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        3183837 3/24/16               150.00 45025 4/14/16 195584                     04129 4/16
                                                  3183837 3/24/16                14.63 45025 4/14/16 195584             164.63 04129 4/16
                                                  2679868 4/06/16               161.82 45025 4/21/16 196261                     04449 4/16
                                                  2679868 4/06/16                 8.97 45025 4/21/16 196261             170.79 04449 4/16
                                                     **********                   335.42 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SP-264 SPRINT    SPRINT                        4162248284 4/09/16                 7.72 35901 4/14/16 691086                         04177    /
                                               4162248284 4/09/16               141.31 35031 4/14/16 691086              149.03     04177    /
                                                     **********                   149.03 ***SPRINT *****SP-264****SPRINT

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3297310600 3/26/16               292.00 60551 4/14/16 691224                      04216   /
                                               3297310600 3/26/16                28.47 60551 4/14/16 691224              320.47 04216    /
                                               3299073256 4/09/16               100.52 60550 4/21/16 691973                      04469   /
                                               3299073256 4/09/16                 9.80 60550 4/21/16 691973              110.32 04469    /
                                                     **********                   430.79 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

ST-387 STARBUCK STARBUCKS COFFEE CO            0166004652 3/16/16               328.70 24510 4/14/16 691249              328.70 03672        /
                                               0166082457 3/30/16               454.85 24510 4/28/16 692846                      04469       /
                                               0166082458 3/30/16                39.05 26860 4/28/16 692846                      04469       /
                                               0166082458 3/30/16                  .71 26860 4/28/16 692846                      04469       /
                                               0166082458 3/30/16               210.11 26660 4/28/16 692846                      04469       /
                                               0166082458 3/30/16                 3.80 26660 4/28/16 692846                      04469       /
                                               0166082458 3/30/16                 8.68 26230 4/28/16 692846                      04469       /
                                               0166082458 3/30/16                  .16 26230 4/28/16 692846                      04469       /
                                               0166082458 3/30/16                  .01- 26230 4/28/16 692846             717.35 04469        /
                                                     **********                 1,046.05 ***STARBUCK*****ST-387****STARBUCKS COFFEE CO

*S-697 SYSCO     SYSCO                          603280532     3/28/16          773.38      24510   4/07/16   195140                 03939   4/16
                                                603310641     3/31/16           37.80      24510   4/07/16   195140                 03939   4/16
                                                603310642     3/31/16          157.55      24510   4/07/16   195140                 03939   4/16
                                                603310643     3/31/16        1,339.61      24510   4/07/16   195140    2,308.34     03939   4/16
                                                2890680PU     3/30/16          100.24-     24510   4/14/16   195661                 04129   4/16
                                                604040583     4/04/16          342.71      24510   4/14/16   195661                 04129   4/16
                                                604040584     4/04/16          715.31      24510   4/14/16   195661       957.78    04129   4/16
                                                604070639     4/07/16          202.95      24510   4/21/16   196341                 04449   4/16
                                                604070640     4/07/16          714.67      24510   4/21/16   196341                 04449   4/16
                                                604110469     4/11/16          484.92      24510   4/21/16   196341                 04449   4/16
                                                604110470     4/11/16          547.14      24510   4/21/16   196341                 04449   4/16




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                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                604140611 4/14/16              230.50 26660 4/21/16 196341                       04449   4/16
                                                604140611 4/14/16               22.46 26660 4/21/16 196341                       04449   4/16
                                                604140612 4/14/16               34.67 24510 4/21/16 196341                       04449   4/16
                                                604140613 4/14/16              364.78 24510 4/21/16 196341                       04449   4/16
                                                604140614 4/14/16              672.61 24510 4/21/16 196341            3,274.70   04449   4/16
                                                604130072 4/13/16               39.92- 24510 4/28/16 196939                      04769   4/16
                                                604180468 4/18/16              327.34 24510 4/28/16 196939                       04769   4/16
                                                604180469 4/18/16              606.61 24510 4/28/16 196939              894.03   04769   4/16
                                                     **********                7,434.85 ***SYSCO   ******S-697****SYSCO

TA-208 TALX      TALX CORP.                       2071608 4/08/16               18.90 60320 4/21/16 692001              18.90    04469    /
                                                     **********                   18.90 ***TALX   *****TA-208****TALX CORP.

TY-006 TYCO      TYCO INTEGRATED SECURITY        26305253 4/09/16               63.07 60620 4/21/16 691800              63.07 04469    /
                                                     **********                   63.07 ***TYCO   *****TY-006****TYCO INTEGRATED SECURITY

US-180 US FOOD   US FOODSERVICE-TOPEKA DIV        3266194 3/28/16              143.41 26660 4/21/16 691818              143.41 04216    /
                                                     **********                  143.41 ***US FOOD *****US-180****US FOODSERVICE-TOPEKA DIV

US-129 USA TODA USA TODAY                      0013091871 3/27/16              229.00 16105 4/14/16 691250                       04216    /
                                               0013091871 3/27/16               20.92 16105 4/14/16 691250              249.92   04216    /
                                                     **********                  249.92 ***USA TODA*****US-129****USA TODAY

WA-010 WASSERST THE WASSERSTROM CO             9408816418 4/01/16              614.50 26660 4/28/16 692673                      04469     /
                                               9408816418 4/01/16              184.35 26660 4/28/16 692673                      04469     /
                                               9408816418 4/01/16               77.89 26660 4/28/16 692673              876.74 04469      /
                                                     **********                  876.74 ***WASSERST*****WA-010****THE WASSERSTROM CO

*W-376 WASTE     WASTE MANAGEMENT              9221220592 4/01/16              543.36 66325 4/14/16 195731             543.36 04198      4/16
                                                     **********                  543.36 ***WASTE  ******W-376****WASTE MANAGEMENT

*W-253 WEST      WESTAR ENERGY                   41612048 4/11/16           6,491.87 64100 4/21/16 196409                        04593   4/16
                                                 41612048 4/11/16             411.42 64100 4/21/16 196409           6,903.29     04593   4/16
                                                 41615145 4/11/16           6,471.54 64100 4/21/16 196410                        04593   4/16
                                                 41615145 4/11/16             630.97 64100 4/21/16 196410           7,102.51     04593   4/16
                                                     **********              14,005.80 ***WEST   ******W-253****WESTAR ENERGY

WO-103 WORLD CI WORLD CINEMA INC               **S5051 04 5/01/16           1,935.19 16425 4/21/16 692003                      03139      /
                                               **S5051 04 5/01/16             181.91 16425 4/21/16 692003            2,117.10 03139       /
                                                     **********               2,117.10 ***WORLD CI*****WO-103****WORLD CINEMA INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80799                213,098.07




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                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*A-049 ADAMS     SHAUNDA ADAMS                      51716 5/17/16                41.53 62830 5/26/16 199400              41.53 05048      5/16
                                                     **********                    41.53 ***ADAMS  ******A-049****SHAUNDA ADAMS

*A-230 AMERICA   AMERICAN HOTEL REGISTER          7780765 4/15/16               220.81 16850 5/05/16 197084                      04347 5/16
                                                  7780765 4/15/16                21.53 16850 5/05/16 197084                      04347 5/16
                                                  7780765 4/15/16               668.87 16500 5/05/16 197084                      04347 5/16
                                                  7780765 4/15/16                65.21 16500 5/05/16 197084                      04347 5/16
                                                  7780765 4/15/16               282.51 16400 5/05/16 197084                      04347 5/16
                                                  7780765 4/15/16                27.54 16400 5/05/16 197084                      04347 5/16
                                                  7780765 4/15/16                  .01 16400 5/05/16 197084                      04347 5/16
                                                  7784667 4/18/16                79.55 16400 5/05/16 197084                      04347 5/16
                                                  7784667 4/18/16                 7.75 16400 5/05/16 197084            1,373.78 04347 5/16
                                                     **********                 1,373.78 ***AMERICA ******A-230****AMERICAN HOTEL REGISTER

AN-076 ANYTIME   ANYTIME LABOR-KANSAS LLC         1675912 5/06/16                 8.71 60320 5/19/16 694494                      05518   /
                                                  1675912 5/06/16               290.16 26015 5/19/16 694494              298.87 05518    /
                                                     **********                   298.87 ***ANYTIME *****AN-076****ANYTIME LABOR-KANSAS LLC

*B-018 BANK      BANK OF AMERICA                MAY16LOAN 5/25/16           39,062.07 86700 5/27/16 199795                     05192      5/16
                                                MAY16LOAN 5/25/16           12,800.58 02820 5/27/16 199795                     05192      5/16
                                                MAY16LOAN 5/25/16           24,486.69 01095 5/27/16 199795          76,349.34 05192       5/16
                                                     **********               76,349.34 ***BANK   ******B-018****BANK OF AMERICA

BE-213 BEST      BEST WESTERN JC INN                67287 4/06/16               104.99 16702 5/12/16 693929                     05244      /
                                                    67287 4/06/16                 5.24 16702 5/12/16 693929             110.23 05244       /
                                                     **********                   110.23 ***BEST   *****BE-213****BEST WESTERN JC INN

BU-397 BURNS     BURNS BOYS COMPANY INC           151055B 12/07/15           2,023.64 66120 5/12/16 694370                     05244    /
                                                  151055B 12/07/15             197.30 66120 5/12/16 694370           2,220.94 05244     /
                                                     **********                2,220.94 ***BURNS  *****BU-397****BURNS BOYS COMPANY INC

*C-542 CAIN      LAURA CAIN                         53116 5/31/16                15.00 62830 5/31/16 199803                       05261   5/16
                                                    53116 5/31/16                79.83 62830 5/31/16 199803                       05261   5/16
                                                    53116 5/31/16                67.57 62501 5/31/16 199803                       05261   5/16
                                                    53116 5/31/16                27.13 26660 5/31/16 199803             189.53    05261   5/16
                                                     **********                   189.53 ***CAIN   ******C-542****LAURA CAIN

CE-098 CENTURY   CENTURYLINK                   1375476485 5/15/16               640.00 35030 5/19/16 694586              640.00   05646    /
                                                     **********                   640.00 ***CENTURY *****CE-098****CENTURYLINK

CE-064 CENTURYL CENTURYLINK                    5163033466 5/21/16            1,529.67 35030 5/27/16 912179            1,529.67    05192    /
                                                     **********                1,529.67 ***CENTURYL*****CE-064****CENTURYLINK

*C-411 CINTAS    CINTAS CORP                      2362896 4/16/16                34.40 66075 5/05/16 197197                       04347   5/16
                                                  2362896 4/16/16                12.85 66075 5/05/16 197197                       04347   5/16
                                                  2362896 4/16/16                 4.60 66075 5/05/16 197197                       04347   5/16
                                                  2369389 4/19/16                39.80 26820 5/05/16 197197                       04347   5/16
                                                  2369389 4/19/16                 3.88 26820 5/05/16 197197                       04347   5/16
                                                  2369389 4/19/16                68.25 16800 5/05/16 197197                       04347   5/16
                                                  2369389 4/19/16                 6.65 16800 5/05/16 197197             170.43    04347   5/16
                                                     **********                   170.43 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS    CINTAS CORP.                   451240464 4/26/16               188.47 60370 5/05/16 692979                       04352    /
                                                451240464 4/26/16                18.38 60370 5/05/16 692979             206.85    04352    /
                                                451245073 5/10/16               188.47 60370 5/19/16 694604                       05518    /
                                                451245073 5/10/16                18.38 60370 5/19/16 694604             206.85    05518    /
                                                     **********                   413.70 ***CINTAS *****CI-352****CINTAS CORP.

*C-385 CITY O    CITY OF JUNCTION WATER DE       51646000     5/13/16          689.57      64500   5/26/16   199463               05825   5/16
                                                 51646000     5/13/16           66.40      64500   5/26/16   199463      755.97   05825   5/16
                                                 51647000     5/13/16        2,038.71      64500   5/26/16   199464               05825   5/16




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APHIST-0467    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     2
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                51647000 5/13/16               61.70 64500 5/26/16 199464           2,100.41 05825 5/16
                                                51648000 5/13/16              438.97 64500 5/26/16 199465                     05825 5/16
                                                51648000 5/13/16               42.17 64500 5/26/16 199465             481.14 05825 5/16
                                                51649000 5/13/16              546.76 64500 5/26/16 199466                     05825 5/16
                                                51649000 5/13/16               39.68 64500 5/26/16 199466             586.44 05825 5/16
                                                    **********                3,923.96 ***CITY O ******C-385****CITY OF JUNCTION WATER DE

CO-492 CONVOY    CONVOY OF HOPE               INSA041603 5/04/16               66.00 02042 5/05/16 911997              66.00 00000       /
                                                    **********                   66.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-374 COURTYA   COURTYARD BY MARRIOTT        0010879774 5/10/16          12,199.99 02006 5/26/16 696118                      05082      /
                                              0010879774 5/10/16             112.21- 02006 5/26/16 696118                     05082      /
                                              0010880998 4/30/16              17.04- 02008 5/26/16 696118                     05082      /
                                              0010880998 4/30/16           1,996.40 02008 5/26/16 696118                      05082      /
                                              0010880998 4/30/16              37.87- 02007 5/26/16 696118                     05082      /
                                              0010880998 4/30/16           4,436.37 02007 5/26/16 696118           18,465.64 05082       /
                                                    **********              18,465.64 ***COURTYA *****CO-374****COURTYARD BY MARRIOTT

DO-046 DOCU      DFI-TOTAL BUSINESS SOLU.       16040813 4/18/16               96.00 60552 5/05/16 693053                     04352   /
                                                16040813 4/18/16               19.01 60552 5/05/16 693053                     04352   /
                                                16040813 4/18/16                7.10 60552 5/05/16 693053             122.11 04352    /
                                                    **********                  122.11 ***DOCU   *****DO-046****DFI-TOTAL BUSINESS SOLU.

EA-037 EAGLE     EAGLE COMMUNICATION, INC     1160418653 4/30/16              276.00 62600 5/26/16 695545             276.00 05244    /
                                                    **********                  276.00 ***EAGLE  *****EA-037****EAGLE COMMUNICATION, INC

*E-091 ECOL      ECOLAB INC                      1607945 4/20/16               31.64 66600 5/05/16 197265                       04347   5/16
                                                 1607945 4/20/16                3.08 66600 5/05/16 197265              34.72    04347   5/16
                                                    **********                   34.72 ***ECOL   ******E-091****ECOLAB INC

EC-007 ECOL      ECOLAB FOOD SAFETY             94263291 4/19/16                 7.89 26860 5/12/16 694016                     04352     /
                                                94263291 4/19/16                 5.19 26860 5/12/16 694016                     04352     /
                                                94263291 4/19/16                 1.02 26860 5/12/16 694016                     04352     /
                                                94263291 4/19/16                 9.50 26660 5/12/16 694016                     04352     /
                                                94263291 4/19/16                 6.26 26660 5/12/16 694016                     04352     /
                                                94263291 4/19/16                 1.22 26660 5/12/16 694016              31.08 04352      /
                                                    **********                    31.08 ***ECOL   *****EC-007****ECOLAB FOOD SAFETY

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 11 5/04/16               38.68 35895 5/12/16 197889              38.68 04111 5/16
                                                    **********                   38.68 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                     19208366 4/25/16               77.66 26660 5/05/16 197240                       04347   5/16
                                                19208366 4/25/16               13.18 26660 5/05/16 197240                       04347   5/16
                                                19208366 4/25/16                8.86 26660 5/05/16 197240              99.70    04347   5/16
                                                    **********                   99.70 ***EDWARD ******D-210****EDWARD DON

EX-083 EXPRESS   EXPRESS SERVICES INC          171917875 4/20/16             227.48 26028 5/05/16 693853              227.48 04352       /
                                               172361784 4/27/16             455.34 26028 5/12/16 694034              455.34 05244       /
                                               172555724 5/04/16           1,763.13 26028 5/19/16 695350            1,763.13 05518       /
                                                    **********               2,445.95 ***EXPRESS *****EX-083****EXPRESS SERVICES INC

FE-076 FEDEX     FEDEX                         539215920 4/21/16               18.67 60590 5/05/16 693854               18.67   04352    /
                                               539972762 4/28/16               16.56 60590 5/12/16 694460               16.56   05244    /
                                               540714944 5/05/16               49.95 60590 5/19/16 695351               49.95   05518    /
                                                    **********                   85.18 ***FEDEX  *****FE-076****FEDEX

FO-009 FOUR      FOUR WINDS INTERACTIVE        SIN095024 5/01/16              200.00 60856 5/12/16 694052                     05244    /
                                               SIN095024 5/01/16               17.55 60856 5/12/16 694052             217.55 05244     /
                                                    **********                  217.55 ***FOUR   *****FO-009****FOUR WINDS INTERACTIVE




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APHIST-0468    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.     INV.DATE     INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
GC-003 GCI       GCI TEAM TRAVEL                    6219 5/04/16               434.60 16300 5/12/16 694065                     05244      /
                                                   16219 5/04/16               205.00 62625 5/12/16 694065             639.60 05244       /
                                                    **********                   639.60 ***GCI    *****GC-003****GCI TEAM TRAVEL

*H-297 HD SUPP   HD SUPPLY FACILITIES         9145185815 4/20/16               260.00 26860 5/12/16 197988                      05242    5/16
                                              9145185815 4/20/16                23.93 26860 5/12/16 197988                      05242    5/16
                                              9145185815 4/20/16                27.68 26860 5/12/16 197988              311.61 05242     5/16
                                              9145427829 4/29/16               109.50 66130 5/19/16 198932                      05496    5/16
                                              9145427829 4/29/16                10.68 66130 5/19/16 198932              120.18 05496     5/16
                                                    **********                   431.79 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*I-041 IKON      IKON/RICOH SERVICES            96705124 5/10/16               508.00 60370 5/06/16 197713                     05068     5/16
                                                96705124 5/10/16                49.54 60370 5/06/16 197713             557.54 05068      5/16
                                                    **********                   557.54 ***IKON   ******I-041****IKON/RICOH SERVICES

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 04 4/30/16            3,225.00 60116 5/12/16 198284            3,225.00 04111 5/16
                                                    **********                3,225.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0516    5/24/16              264.68 66060 5/24/16 199293                     00000 5/16
                                              JINS0516    5/24/16              248.50 62060 5/24/16 199293                     00000 5/16
                                              JINS0516    5/24/16              198.97 60060 5/24/16 199293                     00000 5/16
                                              JINS0516    5/24/16              291.21 26060 5/24/16 199293                     00000 5/16
                                              JINS0516    5/24/16              821.43 16060 5/24/16 199293           1,824.79 00000 5/16
                                                    **********                 1,824.79 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0516    5/26/16             479.00 35026 5/26/16 912177                        00000    /
                                              122A0516    5/26/16             112.76 02005 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               10.29 60520 5/26/16 912177                        00000    /
                                              122A051601 5/26/16                5.78 60320 5/26/16 912177                        00000    /
                                              122A051601 5/26/16                9.12 60115 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              379.95 60070 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               47.58 60061 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              283.00 47082 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              937.97 60880 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              121.21 60870 5/26/16 912177                        00000    /
                                              122A051602 5/26/16            1,115.75 60860 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               33.93 60856 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              469.68 60730 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               27.99 60720 5/26/16 912177                        00000    /
                                              122A051602 5/26/16               70.47 60590 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              363.54 85215 5/26/16 912177                        00000    /
                                              122A051603 5/26/16               50.00 64700 5/26/16 912177                        00000    /
                                              122A051603 5/26/16               40.00 62860 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              291.05 62380 5/26/16 912177           4,849.07     00000    /
                                                    **********                4,849.07 ***JQH C  *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0516    5/24/16             495.61 66060 5/24/16 199362                     00000      5/16
                                              JINS0516    5/24/16             871.22 62060 5/24/16 199362                     00000      5/16
                                              JINS0516    5/24/16           1,023.23 60060 5/24/16 199362                     00000      5/16
                                              JINS0516    5/24/16             464.41 26060 5/24/16 199362                     00000      5/16
                                              JINS0516    5/24/16           1,364.43 16060 5/24/16 199362           4,218.90 00000       5/16
                                                    **********                4,218.90 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL      ALLOC      *RFM16  04 5/05/16               161.02 66900 5/12/16 198233              161.02   04111 5/16
                                                    **********                   161.02 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  04 5/05/16            1,603.35 16900 5/12/16 198082           1,603.35 04111 5/16
                                                    **********                1,603.35 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16   04    5/05/16           277.64     62900   5/12/16   198088      277.64   04111   5/16
                                              *FM16    03    5/05/16           151.74     66900   5/12/16   198093      151.74   04111   5/16
                                              *ARM16   04    5/05/16           162.23     62900   5/12/16   198118      162.23   04111   5/16
                                              *DSA16   02    5/05/16           167.12     62900   5/12/16   198123      167.12   04111   5/16




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APHIST-0469    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE    1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              *RMA16  04 5/05/16              106.29 62900 5/12/16 198132               106.29 04111 5/16
                                              *BRM16  04 5/05/16              443.90 62900 5/12/16 198153               443.90 04111 5/16
                                              *EC16   04 5/05/16              177.91 62900 5/12/16 198158               177.91 04111 5/16
                                              *RPM16  03 5/05/16              101.58 66900 5/12/16 198167               101.58 04111 5/16
                                                    **********                1,588.41 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT041604 4/30/16           5,362.11 02013 5/12/16 694461            5,362.11    00000   /
                                                    **********               5,362.11 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS     *BAA16  04 5/05/16              42.92 60900 5/12/16 198012              42.92 04111 5/16
                                              *RDS16  04 5/05/16             946.66 62900 5/12/16 198021             946.66 04111 5/16
                                              *RVP16  04 5/05/16           1,261.17 60900 5/12/16 198030           1,261.17 04111 5/16
                                                    **********               2,250.75 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

*J-003 JUNCT     JUNCTION CITY COURTYARD      D047991388 5/02/16                6.52 26660 5/05/16 197383                       04433 5/16
                                              D047991388 5/02/16              168.04 24510 5/05/16 197383                       04433 5/16
                                              D047991684 4/29/16                7.68 66450 5/05/16 197383                       04322 5/16
                                              D047991684 4/29/16              118.96 24510 5/05/16 197383                       04322 5/16
                                              D047999323 4/29/16              130.00 60470 5/05/16 197383                       04322 5/16
                                              D047999323 4/29/16              211.50 24510 5/05/16 197383             642.70    04322 5/16
                                              D057993130 5/06/16              118.92 24510 5/12/16 197992                       05241 5/16
                                              D057993130 5/06/16                8.21 16850 5/12/16 197992                       05241 5/16
                                              D057995002 5/06/16              150.00 66600 5/12/16 197992                       05241 5/16
                                              D057995002 5/06/16              250.00 62505 5/12/16 197992             527.13    05241 5/16
                                              D057997195 5/13/16               38.18 24510 5/19/16 198938                       05488 5/16
                                              D057997195 5/13/16               39.41 16850 5/19/16 198938                       05488 5/16
                                              D057997195 5/13/16                9.05 16400 5/19/16 198938                       05488 5/16
                                              D057998933 5/13/16              125.99 24510 5/19/16 198938                       05488 5/16
                                              D057998933 5/13/16              217.73 14030 5/19/16 198938             430.36    05488 5/16
                                                    **********                1,600.19 ***JUNCT  ******J-003****JUNCTION CITY   COURTYARD

*K-003 KANSAS    KANSAS DEPT OF REVENUE       SLST0516    5/10/16              7.80 85960 5/10/16 197745                     00000 5/16
                                              SLST0516    5/10/16          2,177.08 02060 5/10/16 197745                     00000 5/16
                                              SLST0516    5/10/16         21,168.23 02059 5/10/16 197745          23,353.11 00000 5/16
                                                    **********              23,353.11 ***KANSAS ******K-003****KANSAS DEPT OF REVENUE

*K-100 KANSAS    KANSAS DEPT OF REVENUE       STUS0516    5/10/16             284.42 02058 5/10/16 197747             284.42 00000 5/16
                                                    **********                  284.42 ***KANSAS ******K-100****KANSAS DEPT OF REVENUE

*K-259 KANSAS    KANSAS DEPT OF REVENUE       STRM0516    5/10/16         12,988.71 02059 5/10/16 197748          12,988.71 00000 5/16
                                                    **********              12,988.71 ***KANSAS ******K-259****KANSAS DEPT OF REVENUE

KA-219 KANSAS    KANSAS LOGOS,INC               28842016 4/01/16           1,600.00 62400 5/12/16 694138           1,600.00 05244       /
                                                    **********               1,600.00 ***KANSAS *****KA-219****KANSAS LOGOS,INC

KP-006 KPL       KANSAS GAS SRVC                51668736 5/09/16              498.51 64200 5/18/16 912142             498.51 05631      /
                                                    **********                  498.51 ***KPL    *****KP-006****KANSAS GAS SRVC

LO-150 LOOMIS    LOOMIS BROS EQUIPMENT CO      101785300 2/25/16             986.07 01870 5/05/16 693306                     04584      /
                                               101785300 2/25/16              24.85 01870 5/05/16 693306                     04584      /
                                               101785300 2/25/16              98.57 01870 5/05/16 693306           1,109.49 04584       /
                                               101887300 4/18/16              85.06 66275 5/12/16 694394                     04786      /
                                               101887300 4/18/16              66.18 66275 5/12/16 694394                     04786      /
                                               101887300 4/18/16              14.74 66275 5/12/16 694394                     04786      /
                                               300388000 3/23/16           1,733.50 01870 5/12/16 694394                     05177      /
                                               300388000 3/23/16             169.02 01870 5/12/16 694394           2,068.50 05177       /
                                                    **********               3,177.99 ***LOOMIS *****LO-150****LOOMIS BROS EQUIPMENT    CO

MA-473 MAHASKA   MAHASKA BOTTLING COMPANY       00261551 4/30/16              180.00 26380 5/26/16 695747                      05244   /
                                                00261551 4/30/16               17.56 26380 5/26/16 695747              197.56 05244    /
                                                    **********                  197.56 ***MAHASKA *****MA-473****MAHASKA BOTTLING COMPANY




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APHIST-0470    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
MA-646 MAINTEN   MAINTENANCE SUPPLY                   988 4/24/16               19.80 66130 5/19/16 694891               19.80 04352      /
                                                     **********                   19.80 ***MAINTEN *****MA-646****MAINTENANCE SUPPLY

*M-217 MARRIOTT MARRIOTT INT'L                 0010880998 4/30/16           2,595.82 62650 5/12/16 198397                       05242    5/16
                                               0010880998 4/30/16           3,173.22- 62251 5/12/16 198397                      05242    5/16
                                               0010880998 4/30/16           2,358.95 62249 5/12/16 198397                       05242    5/16
                                               0010880998 4/30/16             509.17 60856 5/12/16 198397                       05242    5/16
                                               0010880998 4/30/16             399.59 16700 5/12/16 198397                       05242    5/16
                                               0010880998 4/30/16           2,688.17 16300 5/12/16 198397            5,378.48 05242      5/16
                                                     **********               5,378.48 ***MARRIOTT******M-217****MARRIOTT INT'L

*M-024 MARSH     MARSH USA INC                 INSA041601 5/05/16           1,074.21 01311 5/12/16 198349           1,074.21 00000       5/16
                                               INSA041602 5/05/16             784.00 02120 5/12/16 198387                     00000      5/16
                                               INSA041602 5/05/16             639.00 01310 5/12/16 198387           1,423.00 00000       5/16
                                                     **********               2,497.21 ***MARSH  ******M-024****MARSH USA INC

MO-231 MOBILE    MOBILE MINI INC.              9000205921 4/26/16              152.03 60710 5/12/16 694180                     05244      /
                                               9000205921 4/26/16               14.82 60710 5/12/16 694180             166.85 05244       /
                                                     **********                  166.85 ***MOBILE *****MO-231****MOBILE MINI INC.

MU-100 MUZAK     MUZAK LLC                       52374664 5/01/16               81.17 16805 5/12/16 694184                       05244    /
                                                 52374664 5/01/16                4.80 16805 5/12/16 694184              85.97    05244    /
                                                  3667756 4/29/16              125.00 16805 5/19/16 694924                       05518    /
                                                  3667756 4/29/16               12.62 16805 5/19/16 694924                       05518    /
                                                  3667756 4/29/16               13.40 16805 5/19/16 694924             151.02    05518    /
                                                     **********                  236.99 ***MUZAK  *****MU-100****MUZAK LLC

RI-092 RICO      RICOH USA INC                 1062316105 4/22/16              385.23 60550 5/19/16 695024                       04352    /
                                               1062316105 4/22/16               37.56 60550 5/19/16 695024                       04352    /
                                               5041680800 4/22/16              132.58 60551 5/19/16 695024                       05244    /
                                               5041680800 4/22/16               12.92 60551 5/19/16 695024             568.29    05244    /
                                                     **********                  568.29 ***RICO   *****RI-092****RICOH USA INC

RO-102 ROTHWELL ROTHWELL LANDSCAPE, INC          20160432 5/01/16           1,215.73 66450 5/12/16 694261            1,215.73 05244    /
                                                     **********               1,215.73 ***ROTHWELL*****RO-102****ROTHWELL LANDSCAPE, INC

RO-160 ROYAL C   ROYAL CUP INC                 2706013960 4/14/16              401.40 16400 5/12/16 694465              401.40 04469      /
                                                     **********                  401.40 ***ROYAL C *****RO-160****ROYAL CUP INC

SA-288 SAFLOK    SAFLOK                         INV418453 4/29/16              246.00 66120 5/12/16 694265                       05244    /
                                                INV418453 4/29/16               19.80 66120 5/12/16 694265                       05244    /
                                                INV418453 4/29/16               25.92 66120 5/12/16 694265              291.72   05244    /
                                                INV418587 5/03/16              237.80 66120 5/19/16 695040                       05518    /
                                                INV418587 5/03/16               15.74 66120 5/19/16 695040                       05518    /
                                                INV418587 5/03/16               24.72 66120 5/19/16 695040              278.26   05518    /
                                                     **********                  569.98 ***SAFLOK *****SA-288****SAFLOK

SC-219 SCHURLE   SCHURLE'S WATER CONDITION          28654 4/27/16               18.00 16400 5/05/16 693517                      04352   /
                                                    28654 4/27/16                1.76 16400 5/05/16 693517               19.76 04352    /
                                                     **********                   19.76 ***SCHURLE *****SC-219****SCHURLE'S WATER CONDITION

*S-423 SEMIN     CENTERPOINT ENERGY            5016044591 5/16/16              440.33 64200 5/19/16 199068                     05630     5/16
                                               5016044591 5/16/16               24.47 64200 5/19/16 199068             464.80 05630      5/16
                                                     **********                  464.80 ***SEMIN  ******S-423****CENTERPOINT ENERGY

*S-466 SIMP      SIMPLEXGRINNELL                 78597708 4/27/16              427.80 66110 5/12/16 198454             427.80 05244      5/16
                                                 82481979 5/04/16              776.00 66110 5/19/16 199074                     05518     5/16
                                                 82481979 5/04/16               75.67 66110 5/19/16 199074             851.67 05518      5/16
                                                     **********                1,279.47 ***SIMP   ******S-466****SIMPLEXGRINNELL




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APHIST-0471    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
SN-016 SNACK     SNACK EXPRESS                      26581 4/22/16               140.00 24510 5/05/16 693540               140.00 04352     /
                                                    26603 5/03/16               293.98 24510 5/12/16 694292               293.98 05244     /
                                                    26623 5/10/16               240.80 24510 5/19/16 695079               240.80 05518     /
                                                     **********                   674.78 ***SNACK  *****SN-016****SNACK   EXPRESS

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2683968 5/06/16               223.29 45025 5/19/16 198980                     05496 5/16
                                                  2683968 5/06/16                16.66 45025 5/19/16 198980             239.95 05496 5/16
                                                     **********                   239.95 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SP-264 SPRINT    SPRINT                        5162248284 5/09/16                 7.89 35901 5/12/16 912077                       05358    /
                                               5162248284 5/09/16               143.53 35031 5/12/16 912077              151.42   05358    /
                                                     **********                   151.42 ***SPRINT *****SP-264****SPRINT

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3302013501 5/07/16                77.18 60550 5/19/16 695332                      05518   /
                                               3302013501 5/07/16                 7.53 60550 5/19/16 695332                      05518   /
                                               3302256535 5/12/16               255.50 60551 5/19/16 695332                      05518   /
                                               3302256535 5/12/16                24.91 60551 5/19/16 695332              365.12 05518    /
                                                     **********                   365.12 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

ST-387 STARBUCK STARBUCKS COFFEE CO            0166227037 4/20/16               203.44 24510 5/19/16 695359              203.44 04352      /
                                               0166272530 5/02/16               439.73 24510 5/26/16 696138                      05518     /
                                               0166272531 5/02/16               255.03 26660 5/26/16 696138                      05518     /
                                               0166272531 5/02/16                  .98 26660 5/26/16 696138              695.74 05518      /
                                                     **********                   899.18 ***STARBUCK*****ST-387****STARBUCKS COFFEE CO

*S-697 SYSCO     SYSCO                          604210649 4/21/16              296.37 24510 5/05/16 197558                        04347   5/16
                                                604210650 4/21/16            1,798.88 24510 5/05/16 197558                        04347   5/16
                                                604210651 4/21/16              247.16 24510 5/05/16 197558                        04347   5/16
                                                604210652 4/21/16               81.20 45060 5/05/16 197558                        04347   5/16
                                                604250483 4/25/16              204.38 26660 5/05/16 197558                        04347   5/16
                                                604250483 4/25/16               19.92 26660 5/05/16 197558                        04347   5/16
                                                604250484 4/25/16              365.68 24510 5/05/16 197558                        04347   5/16
                                                604250485 4/25/16            1,502.56 24510 5/05/16 197558                        04347   5/16
                                                604280528 4/28/16               40.08 24510 5/05/16 197558                        04347   5/16
                                                604280529 4/28/16            1,016.73 24510 5/05/16 197558                        04347   5/16
                                                604280530 4/28/16              174.16 24510 5/05/16 197558           5,747.12     04347   5/16
                                                605020595 5/02/16              207.84 24510 5/12/16 198471                        05242   5/16
                                                605020596 5/02/16              585.06 24510 5/12/16 198471                        05242   5/16
                                                605020597 5/02/16            2,808.31 24510 5/12/16 198471                        05242   5/16
                                                605050665 5/05/16              108.60 24510 5/12/16 198471                        05242   5/16
                                                605050666 5/05/16              907.96 24510 5/12/16 198471                        05242   5/16
                                                605050667 5/05/16              490.34 24510 5/12/16 198471           5,108.11     05242   5/16
                                                605090437 5/09/16              348.37 24510 5/19/16 199093                        05496   5/16
                                                605121280 5/12/16               40.08 24510 5/19/16 199093                        05496   5/16
                                                605121281 5/12/16              331.36 26230 5/19/16 199093                        05496   5/16
                                                605121281 5/12/16               32.31 26230 5/19/16 199093                        05496   5/16
                                                605121281 5/12/16              439.94 26220 5/19/16 199093                        05496   5/16
                                                605121281 5/12/16               42.89 26220 5/19/16 199093                        05496   5/16
                                                605121282 5/12/16              315.17 24510 5/19/16 199093           1,550.12     05496   5/16
                                                     **********               12,405.35 ***SYSCO  ******S-697****SYSCO

UL-002 ULTIMATE ULTIMATE TEXTILE                   378571 4/27/16               293.25 26380 5/26/16 695978                      05244     /
                                                   378571 4/27/16               150.92 26380 5/26/16 695978                      05244     /
                                                   379101 5/02/16                23.00 26380 5/26/16 695978                      05244     /
                                                   379101 5/02/16                23.04 26380 5/26/16 695978              490.21 05244      /
                                                     **********                   490.21 ***ULTIMATE*****UL-002****ULTIMATE TEXTILE

US-129 USA TODA USA TODAY                      0013130767 5/01/16               282.50 16105 5/19/16 695360                       05518    /
                                               0013130767 5/01/16                26.15 16105 5/19/16 695360              308.65   05518    /
                                                     **********                   308.65 ***USA TODA*****US-129****USA TODAY

WA-010 WASSERST THE WASSERSTROM CO             9408872720     4/12/16            42.36     26860   5/05/16   693645               04786    /
                                               9408872720     4/12/16            15.66     26860   5/05/16   693645               04786    /
                                               9408872720     4/12/16             5.66     26860   5/05/16   693645       63.68   04786    /




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APHIST-0472    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     1
                            COMPANY #80799 JUNCTION CITY COURTYARD
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                               9408872721 4/13/16              185.36 26660 5/12/16 694347                      04786    /
                                               9408872721 4/13/16               44.87 26660 5/12/16 694347                      04786    /
                                               9408872721 4/13/16               22.45 26660 5/12/16 694347                      04786    /
                                               9408901326 4/19/16               35.39 26860 5/12/16 694347                      04352    /
                                               9408901326 4/19/16                4.03 26860 5/12/16 694347                      04352    /
                                               9408901326 4/19/16                3.84 26860 5/12/16 694347                      04352    /
                                               9408901326 4/19/16               23.14 26660 5/12/16 694347                      04352    /
                                               9408901326 4/19/16                2.64 26660 5/12/16 694347                      04352    /
                                               9408901326 4/19/16                2.51 26660 5/12/16 694347                      04352    /
                                               9408901326 4/19/16              229.78 26180 5/12/16 694347                      04352    /
                                               9408901326 4/19/16               26.17 26180 5/12/16 694347                      04352    /
                                               9408901326 4/19/16               24.95 26180 5/12/16 694347                      04352    /
                                               9408901326 4/19/16                 .01 26180 5/12/16 694347              605.14 04352     /
                                               9408909777 4/21/16               42.36 26860 5/19/16 695181                      04352    /
                                               9408909777 4/21/16               13.98 26860 5/19/16 695181                      04352    /
                                               9408909777 4/21/16                5.49 26860 5/19/16 695181               61.83 04352     /
                                               9408954093 4/29/16              160.17 26660 5/26/16 695993                      05244    /
                                               9408954093 4/29/16               68.43 26660 5/26/16 695993                      05244    /
                                               9408954093 4/29/16               22.29 26660 5/26/16 695993                      05244    /
                                               9408954093 4/29/16                8.75 26230 5/26/16 695993                      05244    /
                                               9408954093 4/29/16                3.74 26230 5/26/16 695993                      05244    /
                                               9408954093 4/29/16                1.22 26230 5/26/16 695993                      05244    /
                                               9408962764 5/02/16               47.30 26660 5/26/16 695993                      05244    /
                                               9408962764 5/02/16               27.95 26660 5/26/16 695993                      05244    /
                                               9408962764 5/02/16                7.34 26660 5/26/16 695993              347.19 05244     /
                                                     **********                1,077.84 ***WASSERST*****WA-010****THE WASSERSTROM CO

*W-376 WASTE     WASTE MANAGEMENT              9635020596 5/01/16              521.50 66325 5/12/16 198551             521.50 05087     5/16
                                                     **********                  521.50 ***WASTE  ******W-376****WASTE MANAGEMENT

WA-285 WATERS    WATERS TRUE VALUE HARDWAR        3734352 4/26/16                8.59 66250 5/05/16 693651                     04352   /
                                                  3734352 4/26/16                 .73 66250 5/05/16 693651               9.32 04352    /
                                                  3743982 5/11/16               22.99 66651 5/19/16 695184                     05518   /
                                                  3743982 5/11/16                2.24 66651 5/19/16 695184                     05518   /
                                                  3744152 5/11/16               27.97 66651 5/19/16 695184                     05518   /
                                                  3744152 5/11/16                2.72 66651 5/19/16 695184                     05518   /
                                                  3744152 5/11/16               12.99 66250 5/19/16 695184                     05518   /
                                                  3744152 5/11/16                1.27 66250 5/19/16 695184              70.18 05518    /
                                                     **********                   79.50 ***WATERS *****WA-285****WATERS TRUE VALUE HARDWAR

*W-253 WEST      WESTAR ENERGY                   51612048 5/10/16           6,593.10 64100 5/19/16 199173                       05630   5/16
                                                 51612048 5/10/16             417.84 64100 5/19/16 199173           7,010.94    05630   5/16
                                                 51615145 5/10/16           6,803.92 64100 5/19/16 199174                       05630   5/16
                                                 51615145 5/10/16             663.38 64100 5/19/16 199174           7,467.30    05630   5/16
                                                     **********              14,478.24 ***WEST   ******W-253****WESTAR ENERGY

WI-229 WINDSTRA WINDSTREAM COMMUNICATIONS          811792 5/10/16          11,803.87 85972 5/26/16 696089                      05048   /
                                                   811792 5/10/16             274.88 85972 5/26/16 696089                      05048   /
                                                   811792 5/10/16              25.30 99999 5/26/16 696089           12,104.05 05048    /
                                                     **********              12,104.05 ***WINDSTRA*****WI-229****WINDSTREAM COMMUNICATIONS

WO-103 WORLD CI WORLD CINEMA INC               **S5051 05 6/01/16           1,935.19 16425 5/19/16 695361                      04111     /
                                               **S5051 05 6/01/16             181.91 16425 5/19/16 695361            2,117.10 04111      /
                                                     **********               2,117.10 ***WORLD CI*****WO-103****WORLD CINEMA INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80799                238,289.06




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APHIST-0457    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE    1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #    CHK. AMT. BATCH # CLRD
AV-034 A/V ARK   A/V ARKANSAS                      90927 2/23/16               589.50 47050 3/17/16 687521                       03696   /
                                                   90927 2/23/16                47.72 47050 3/17/16 687521                       03696   /
                                                   91059 3/01/16                37.00 47050 3/17/16 687521                       03696   /
                                                   91059 3/01/16                 2.78 47050 3/17/16 687521              677.00   03696   /
                                                    **********                   677.00 ***A/V ARK *****AV-034****A/V ARKANSAS

AE-008 AED       A E D BRANDS LLC                  65039 2/24/16                76.00 66110 3/23/16 688262                     02461     /
                                                   65039 2/24/16                 8.08 66110 3/23/16 688262              84.08 02461      /
                                                    **********                    84.08 ***AED    *****AE-008****A E D BRANDS LLC

AM-433 AMERICAN AMERICAN HOTEL & LODGING      0001180614 2/29/16                83.70 26867 3/23/16 688278                      03808   /
                                              0001180614 2/29/16                 3.35 26867 3/23/16 688278               87.05 03808    /
                                                    **********                    87.05 ***AMERICAN*****AM-433****AMERICAN HOTEL & LODGING

AQ-029 AQUAV     AQUAVERVE LLC                ESAR011416 1/14/16               190.00 66150 3/17/16 687503                     03594     /
                                              ESAR011416 1/14/16                10.54 66150 3/17/16 687503             200.54 03594      /
                                                    **********                   200.54 ***AQUAV  *****AQ-029****AQUAVERVE LLC

AR-056 ARANDS    ARANDS CORP                       40311 1/21/16                32.50 45010 3/17/16 687507                       03594   /
                                                   40364 1/22/16                65.00 45010 3/17/16 687507                       03594   /
                                                   40418 1/23/16                32.50 45010 3/17/16 687507                       03594   /
                                                   40524 1/25/16                71.50- 45010 3/17/16 687507                      03594   /
                                                   41037 2/10/16                19.50 45010 3/17/16 687507                       03594   /
                                                   41139 2/11/16                45.50 45010 3/17/16 687507                       03594   /
                                                   41192 2/12/16               143.00 45010 3/17/16 687507                       03594   /
                                                   41243 2/13/16                84.50 45010 3/17/16 687507                       03594   /
                                                   41292 2/12/16                65.00 45010 3/17/16 687507                       03594   /
                                                   41295 2/14/16                65.00 45010 3/17/16 687507                       03594   /
                                                   41340 2/17/16                19.50 45010 3/17/16 687507                       03594   /
                                                   41389 2/15/16               136.50- 45010 3/17/16 687507                      03594   /
                                                   41434 2/18/16                26.00 45010 3/17/16 687507                       03594   /
                                                   41485 2/19/16                65.00 45010 3/17/16 687507                       03594   /
                                                   41639 2/22/16                45.50- 45010 3/17/16 687507                      03594   /
                                                   41689 2/24/16                32.50 45010 3/17/16 687507                       03594   /
                                                   41737 2/25/16                45.50 45010 3/17/16 687507                       03594   /
                                                   41788 2/26/16                65.00 45010 3/17/16 687507                       03594   /
                                                   41838 2/27/16                32.50 45010 3/17/16 687507                       03594   /
                                                   41895 3/02/16                26.00 45010 3/17/16 687507                       03594   /
                                                   41943 2/29/16                19.50- 45010 3/17/16 687507                      03594   /
                                                   41997 3/03/16                52.00 45010 3/17/16 687507                       03594   /
                                                   42048 3/04/16                97.50 45010 3/17/16 687507                       03594   /
                                                   42222 3/07/16                65.00- 45010 3/17/16 687507            676.00    03594   /
                                                   42154 3/09/16                45.50 45010 3/23/16 688284                       03910   /
                                                   42251 3/10/16                65.00 45010 3/23/16 688284                       03910   /
                                                   42302 3/11/16               143.00 45010 3/23/16 688284                       03910   /
                                                   42353 3/12/16                65.00 45010 3/23/16 688284                       03910   /
                                                   42410 3/14/16               175.50- 45010 3/23/16 688284            143.00    03910   /
                                                    **********                   819.00 ***ARANDS *****AR-056****ARANDS CORP

AR-009 ARKANSAS ARKANSAS RECORDS MGMT INC           5377 2/29/16               275.00 60710 3/17/16 687504                      03594   /
                                                   5377A 2/29/16                98.00 60710 3/17/16 687504              373.00 03594    /
                                                    **********                   373.00 ***ARKANSAS*****AR-009****ARKANSAS RECORDS MGMT INC

AR-021 ARKANSAS ARKANSAS DEMOCRAT GAZETTE         382511 1/17/16                  7.50- 45010 1/28/16 682135               7.50- 01986   /
                                                  313832 2/24/16                  9.00 45010 3/03/16 686028                9.00 02485    /
                                                  378001 3/02/16                  9.00 45010 3/10/16 686871                9.00 03196    /
                                                  378015 3/08/16                  9.00 45010 3/17/16 687505                9.00 03594    /
                                                  378024 3/14/16                  9.00 45010 3/23/16 688281                9.00 03910    /
                                                  378035 3/22/16                  9.00 45010 3/31/16 689097                      03361   /
                                                 382511A 1/17/16                  7.50 45010 3/31/16 689097               16.50 03502    /
                                                    **********                     45.00 ***ARKANSAS*****AR-021****ARKANSAS DEMOCRAT GAZETTE

AR-464 ARKANSAS ARKANSAS WELDING SUPPLY       3605948001     1/21/16            49.74     16110   3/03/16   686038               02485   /
                                              3605948001     1/21/16            12.50     16110   3/03/16   686038               02485   /
                                              3605948001     1/21/16             5.91     16110   3/03/16   686038               02485   /




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APHIST-0458    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              3620966001 2/16/16               84.49 16110 3/03/16 686038                      02485   /
                                              3620966001 2/16/16               12.50 16110 3/03/16 686038                      02485   /
                                              3620966001 2/16/16                9.21 16110 3/03/16 686038              174.35 02485    /
                                                    **********                  174.35 ***ARKANSAS*****AR-464****ARKANSAS WELDING SUPPLY

AR-049 ARLINGTO ARLINGTON RESORT AND SPA             425 3/03/16              152.69 16702 3/23/16 688283              152.69 03910    /
                                                    **********                  152.69 ***ARLINGTO*****AR-049****ARLINGTON RESORT AND SPA

AS-020 ASAP      ASAP-CHARLES ROBERTSON            61340 2/26/16              32.00- 24520 3/03/16 686717                     02485    /
                                                   61340 2/26/16             316.17 16021 3/03/16 686717                      02485    /
                                                   61340 2/26/16           2,032.02 16020 3/03/16 686717            2,316.19 02485     /
                                                   61400 3/04/16              32.00- 24520 3/17/16 688105                     03594    /
                                                   61400 3/04/16             681.17 16021 3/17/16 688105                      03594    /
                                                   61400 3/04/16           1,252.73 16020 3/17/16 688105                      03594    /
                                                   61476 3/11/16              32.00- 24520 3/17/16 688105                     03594    /
                                                   61476 3/11/16             474.84 16021 3/17/16 688105                      03594    /
                                                   61476 3/11/16           1,749.42 16020 3/17/16 688105            4,094.16 03594     /
                                                    **********               6,410.35 ***ASAP    *****AS-020****ASAP-CHARLES ROBERTSON

AS-007 ASHBY     ASHBY ST OUTDOOR LLC              22097 3/01/16              495.00 62400 3/23/16 688293             495.00 03910       /
                                                    **********                  495.00 ***ASHBY  *****AS-007****ASHBY ST OUTDOOR LLC

AT-046 AT&T      AT&T                         1938866397 3/11/16                 .32 35901 3/31/16 689112                       03502    /
                                              1938866397 3/11/16              178.86 35030 3/31/16 689112              179.18   03502    /
                                                    **********                  179.18 ***AT&T   *****AT-046****AT&T

AT-215 AT&T      AT&T MOBILITY                7X03032016 2/25/16               11.02 35901 3/10/16 686889                     03228      /
                                              7X03032016 2/25/16              109.41 35031 3/10/16 686889             120.43 03228       /
                                                    **********                  120.43 ***AT&T   *****AT-215****AT&T MOBILITY

BG-017 B & G     B & G OUTDOOR                   3180316 2/22/16              250.00 62400 3/23/16 688324             250.00 03808       /
                                                    **********                  250.00 ***B & G  *****BG-017****B & G OUTDOOR

*B-018 BANK      BANK OF AMERICA               MAR16LOAN 3/22/16         126,542.63 86700 3/30/16 193668                     03560      3/16
                                               MAR16LOAN 3/22/16          40,917.52 02820 3/30/16 193668                     03560      3/16
                                               MAR16LOAN 3/22/16          17,847.90 01095 3/30/16 193668         185,308.05 03560       3/16
                                                    **********             185,308.05 ***BANK   ******B-018****BANK OF AMERICA

BE-130 BEISTLE   THE BEISTLE COMPANY              142877 12/16/15             467.46 26865 3/03/16 686056                      02485     /
                                                  142877 12/16/15              60.67 26865 3/03/16 686056              528.13 02485      /
                                                    **********                  528.13 ***BEISTLE *****BE-130****THE BEISTLE COMPANY

BL-118 BLUE      BLUE MOUNTAIN ARTS INC       2335802001 2/05/16              239.40 45010 3/03/16 686067                     02927    /
                                              2335802001 2/05/16               10.00 45010 3/03/16 686067             249.40 02927     /
                                                    **********                  249.40 ***BLUE   *****BL-118****BLUE MOUNTAIN ARTS INC

CA-114 CARROLL   CARROLL BUSINESS SYS INC      2123497IN 1/29/16               62.50 47040 3/03/16 686085                      02461   /
                                               2123497IN 1/29/16                7.98 47040 3/03/16 686085                      02461   /
                                               2123497IN 1/29/16                6.70 47040 3/03/16 686085               77.18 02461    /
                                                    **********                   77.18 ***CARROLL *****CA-114****CARROLL BUSINESS SYS INC

*C-409 CAWLEY    CAWLEY CO                       V351737 2/12/16              132.50 62401 3/10/16 191824                       02927   3/16
                                                 V351737 2/12/16               13.16 62401 3/10/16 191824             145.66    02927   3/16
                                                    **********                  145.66 ***CAWLEY ******C-409****CAWLEY CO

CE-098 CENTURY   CENTURYLINK                  1369312401 3/11/16               77.65 35901 3/17/16 687574                       03663    /
                                              1369312401 3/11/16              810.66 35030 3/17/16 687574              888.31   03663    /
                                                    **********                  888.31 ***CENTURY *****CE-098****CENTURYLINK




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APHIST-0459   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*C-411 CINTAS   CINTAS CORP                     2198142 2/12/16              493.54 16800 3/03/16 191248                       02484   3/16
                                                2198142 2/12/16               22.35 16800 3/03/16 191248                       02484   3/16
                                                2198142 2/12/16               46.88 16800 3/03/16 191248             562.77    02484   3/16
                                                2212865 2/18/16              450.22 16800 3/17/16 192754                       03696   3/16
                                                2212865 2/18/16               21.25 16800 3/17/16 192754                       03696   3/16
                                                2212865 2/18/16               42.77 16800 3/17/16 192754             514.24    03696   3/16
                                                2217400 2/20/16              131.82 66075 3/23/16 193110                       03808   3/16
                                                2217400 2/20/16                9.14 66075 3/23/16 193110                       03808   3/16
                                                2217400 2/20/16               12.52 66075 3/23/16 193110                       03808   3/16
                                                2217400 2/20/16              139.96 26820 3/23/16 193110                       03808   3/16
                                                2217400 2/20/16                9.71 26820 3/23/16 193110                       03808   3/16
                                                2217400 2/20/16               13.29 26820 3/23/16 193110                       03808   3/16
                                                2254682 3/08/16              360.98 16800 3/23/16 193110                       03911   3/16
                                                2254682 3/08/16               18.95 16800 3/23/16 193110                       03911   3/16
                                                2254682 3/08/16               34.29 16800 3/23/16 193110             730.66    03911   3/16
                                                2216459 2/19/16              322.38 66075 3/31/16 193783                       03361   3/16
                                                2216459 2/19/16               19.35 66075 3/31/16 193783                       03361   3/16
                                                2216459 2/19/16               30.62 66075 3/31/16 193783                       03361   3/16
                                                2223911 2/23/16              188.88 66075 3/31/16 193783                       03361   3/16
                                                2223911 2/23/16               16.75 66075 3/31/16 193783                       03361   3/16
                                                2223911 2/23/16               17.94 66075 3/31/16 193783                       03361   3/16
                                                2224830 2/24/16               47.22 66075 3/31/16 193783                       03361   3/16
                                                2224830 2/24/16                5.74 66075 3/31/16 193783                       03361   3/16
                                                2224830 2/24/16                4.48 66075 3/31/16 193783                       03361   3/16
                                                2224830 2/24/16               55.96 26820 3/31/16 193783                       03361   3/16
                                                2224830 2/24/16                6.81 26820 3/31/16 193783                       03361   3/16
                                                2224830 2/24/16                5.31 26820 3/31/16 193783             721.44    03361   3/16
                                                   **********                2,529.11 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS   CINTAS CORP.                  570194161 2/10/16               89.74 26260 3/03/16 686114                       02484    /
                                              570194161 2/10/16               44.00 16850 3/03/16 686114                       02484    /
                                              570197151 2/17/16               96.74 26260 3/03/16 686114                       02484    /
                                              570197151 2/17/16               44.00 16850 3/03/16 686114             274.48    02484    /
                                              570200186 2/24/16               96.74 26260 3/17/16 687594                       03696    /
                                              570200186 2/24/16               44.00 16850 3/17/16 687594             140.74    03696    /
                                                   **********                  415.22 ***CINTAS *****CI-352****CINTAS CORP.

*C-624 CONT     CONTINUUM RETAIL ENERGY      5016026244 3/17/16           6,073.28 64200 3/31/16 193795                     03293 3/16
                                             5016026244 3/17/16             324.33 64200 3/31/16 193795           6,397.61 03293 3/16
                                                   **********               6,397.61 ***CONT   ******C-624****CONTINUUM RETAIL ENERGY

CO-492 CONVOY   CONVOY OF HOPE               INSA021603 2/29/16              136.00 02042 3/03/16 686838             136.00 00000       /
                                                   **********                  136.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMOPRO COSMOPROF                    0000408836 2/11/16               88.74 45022 3/10/16 686951                       02628    /
                                             0000408836 2/11/16                8.43 45022 3/10/16 686951               97.17   02628    /
                                                   **********                   97.17 ***COSMOPRO*****CO-556****COSMOPROF

*D-002 DEPART   DEPARTMENT OF FINANCE        SLST0316    3/15/16          2,207.13- 85960 3/16/16 192680                       00000 3/16
                                             SLST0316    3/15/16             39.39 35901 3/16/16 192680                        00000 3/16
                                             SLST0316    3/15/16          6,722.80 02060 3/16/16 192680                        00000 3/16
                                             SLST0316    3/15/16         87,804.99 02059 3/16/16 192680                        00000 3/16
                                             SLST0316    3/15/16         17,052.95 02058 3/16/16 192680         109,413.00     00000 3/16
                                                   **********             109,413.00 ***DEPART ******D-002****DEPARTMENT OF    FINANCE

DW-011 DWM      DWM SERVICES INC                    030 2/17/16              750.00 66160 3/31/16 689231                     03361      /
                                                    030 2/17/16               67.50 66160 3/31/16 689231             817.50 03361       /
                                                   **********                  817.50 ***DWM    *****DW-011****DWM SERVICES INC

*E-091 ECOL     ECOLAB INC                      1139141 3/03/16               21.00 16850 3/31/16 193830                       03808   3/16
                                                1139141 3/03/16                5.90 16850 3/31/16 193830                       03808   3/16
                                                1139141 3/03/16                2.56 16850 3/31/16 193830              29.46    03808   3/16
                                                   **********                   29.46 ***ECOL   ******E-091****ECOLAB INC




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APHIST-0460    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 09 3/04/16                79.95 35895 3/17/16 192780              79.95 02342 3/16
                                                    **********                    79.95 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                     18814632 1/25/16                44.29 26860 3/03/16 191280                       02461   3/16
                                                18814632 1/25/16                11.71 26860 3/03/16 191280                       02461   3/16
                                                18814632 1/25/16                 5.32 26860 3/03/16 191280                       02461   3/16
                                                18816235 1/26/16                42.39 26820 3/03/16 191280                       02461   3/16
                                                18816235 1/26/16                 4.02 26820 3/03/16 191280                       02461   3/16
                                                18816235 1/26/16                55.99 26660 3/03/16 191280                       02461   3/16
                                                18816235 1/26/16                 5.32 26660 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16               104.96 26860 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16                 9.97 26860 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16                94.78 26660 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16                 9.01 26660 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16               125.37 26180 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16                11.91 26180 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16               120.97 16130 3/03/16 191280                       02461   3/16
                                                18853392 2/03/16                11.49 16130 3/03/16 191280             657.50    02461   3/16
                                                18912794 2/17/16                44.29 26860 3/17/16 192775                       02461   3/16
                                                18912794 2/17/16                11.69 26860 3/17/16 192775                       02461   3/16
                                                18912794 2/17/16                 5.32 26860 3/17/16 192775              61.30    02461   3/16
                                                18931611 2/23/16                82.63 26180 3/23/16 193138                       03808   3/16
                                                18931611 2/23/16                37.66 26180 3/23/16 193138                       03808   3/16
                                                18931611 2/23/16                11.43 26180 3/23/16 193138                       03808   3/16
                                                18941989 2/24/16               503.71 26180 3/23/16 193138                       03808   3/16
                                                18941989 2/24/16               116.34 26180 3/23/16 193138                       03808   3/16
                                                18941989 2/24/16                58.90 26180 3/23/16 193138                       03808   3/16
                                                18948178 2/25/16                63.59 26820 3/23/16 193138                       03808   3/16
                                                18948178 2/25/16                 9.87 26820 3/23/16 193138                       03808   3/16
                                                18948178 2/25/16                 6.98 26820 3/23/16 193138                       03808   3/16
                                                18948995 2/25/16                57.09 26820 3/23/16 193138                       03696   3/16
                                                18948995 2/25/16                85.32 26820 3/23/16 193138                       03696   3/16
                                                18948995 2/25/16                13.53 26820 3/23/16 193138                       03696   3/16
                                                18964933 3/01/16                69.09 26860 3/23/16 193138                       03808   3/16
                                                18964933 3/01/16                24.38 26860 3/23/16 193138                       03808   3/16
                                                18964933 3/01/16                 8.88 26860 3/23/16 193138                       03808   3/16
                                                18964933 3/01/16                 6.76 26660 3/23/16 193138                       03808   3/16
                                                18964933 3/01/16                 2.39 26660 3/23/16 193138                       03808   3/16
                                                18964933 3/01/16                  .87 26660 3/23/16 193138                       03808   3/16
                                                18966674 3/01/16                20.06 26860 3/23/16 193138                       03808   3/16
                                                18966674 3/01/16                 1.91 26860 3/23/16 193138                       03808   3/16
                                                18966674 3/01/16               320.97 16130 3/23/16 193138                       03808   3/16
                                                18966674 3/01/16                30.49 16130 3/23/16 193138                       03808   3/16
                                                18966674 3/01/16                96.42 16125 3/23/16 193138                       03808   3/16
                                                18966674 3/01/16                 9.16 16125 3/23/16 193138           1,638.43    03808   3/16
                                                19000124 3/08/16                77.93 26860 3/31/16 193817                       03367   3/16
                                                19000124 3/08/16                31.21 26860 3/31/16 193817                       03367   3/16
                                                19000124 3/08/16                10.37 26860 3/31/16 193817                       03367   3/16
                                                19002799 3/08/16                22.89 16130 3/31/16 193817                       03367   3/16
                                                19002799 3/08/16                 2.18 16130 3/31/16 193817             144.58    03367   3/16
                                                    **********                 2,501.81 ***EDWARD ******D-210****EDWARD DON

*E-036 ELLIS     STACEY ELLIS                      22216 2/22/16                90.00 45022 3/22/16 193037              90.00    03946   3/16
                                                    **********                    90.00 ***ELLIS  ******E-036****STACEY ELLIS

EM-009 EMBASSY   HILTON HOTELS CORP           0012121934 2/29/16           11,420.40 02008 3/17/16 688247                        03643    /
                                              0012121934 2/29/16           19,034.00 02007 3/17/16 688247                        03643    /
                                              0012121934 2/29/16           30,454.40 02006 3/17/16 688247           60,908.80    03643    /
                                                    **********               60,908.80 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

*E-079 ENTERG    ENTERGY                      0002092860 2/29/16           15,007.66 64100 3/10/16 191867                        02487   3/16
                                              0002092860 2/29/16            1,417.12 64100 3/10/16 191867          16,424.78     02487   3/16
                                                    **********               16,424.78 ***ENTERG ******E-079****ENTERGY

EX-083 EXPRESS   EXPRESS SERVICES INC          169479334     2/17/16        1,153.49      66015   3/03/16   686839               02484    /
                                               169672656     2/24/16        1,156.05      66015   3/03/16   686839    2,309.54   02485    /
                                               169122652     2/10/16        1,107.86      66015   3/17/16   688132               03594    /




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APHIST-0461    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               169122660 2/10/16               16.00- 24520 3/17/16 688132                     03594      /
                                               169122678 2/10/16               16.00- 24520 3/17/16 688132                     03594      /
                                               169990454 3/02/16            1,149.11 66015 3/17/16 688132                      03594      /
                                               169990462 3/02/16               16.00- 24520 3/17/16 688132           2,208.97 03594       /
                                                    **********                4,518.51 ***EXPRESS *****EX-083****EXPRESS SERVICES INC

FA-079 FARMER    FARMERS SEAFOOD CO              1499818 2/04/16                79.50 24510 3/03/16 686213              79.50 02484       /
                                                 1500468 2/11/16               229.00 24510 3/10/16 687010             229.00 02484       /
                                                 1502588 3/03/16                72.50 24510 3/31/16 689259              72.50 03808       /
                                                    **********                   381.00 ***FARMER *****FA-079****FARMERS SEAFOOD CO

FA-203 FARNSWOR FARNSWORTH FOODS                    5162 3/17/16                95.40 45010 3/31/16 689261               95.40 03991      /
                                                    **********                    95.40 ***FARNSWOR*****FA-203****FARNSWORTH FOODS

FE-097 FEDEX     FEDEX                         532476226 2/18/16                28.22 60590 3/03/16 686841              28.22    02485    /
                                               533228369 2/25/16                46.90 60590 3/17/16 688249              46.90    03594    /
                                               533964859 3/03/16               114.31 60590 3/23/16 689051                       03910    /
                                               534707566 3/10/16                61.46 60590 3/23/16 689051             175.77    03910    /
                                               535458992 3/17/16                39.36 60590 3/31/16 689830              39.36    03361    /
                                                    **********                   290.25 ***FEDEX  *****FE-097****FEDEX

*F-155 FIRST     FIRSTSTAFF INC                    60710 2/21/16              558.79 66015 3/03/16 191306                       02485    3/16
                                                   60710 2/21/16              360.18 26015 3/03/16 191306                       02485    3/16
                                                   60710 2/21/16               32.00- 24520 3/03/16 191306                      02485    3/16
                                                   60710 2/21/16              979.99 16021 3/03/16 191306                       02485    3/16
                                                   60710 2/21/16              940.91 16020 3/03/16 191306            2,807.87 02485      3/16
                                                   60790 2/28/16              547.37 66015 3/17/16 192789                       03594    3/16
                                                   60790 2/28/16               57.35 26028 3/17/16 192789                       03594    3/16
                                                   60790 2/28/16              368.60 26015 3/17/16 192789                       03594    3/16
                                                   60790 2/28/16               16.00- 24520 3/17/16 192789                      03594    3/16
                                                   60790 2/28/16              485.77 16021 3/17/16 192789                       03594    3/16
                                                   60790 2/28/16              988.41 16020 3/17/16 192789                       03594    3/16
                                                   60867 3/06/16              745.21 66015 3/17/16 192789                       03594    3/16
                                                   60867 3/06/16              137.64 26028 3/17/16 192789                       03594    3/16
                                                   60867 3/06/16              585.14 26015 3/17/16 192789                       03594    3/16
                                                   60867 3/06/16              212.33 16030 3/17/16 192789                       03594    3/16
                                                   60867 3/06/16              772.31 16021 3/17/16 192789                       03594    3/16
                                                   60867 3/06/16            1,234.97 16020 3/17/16 192789            6,119.10 03594      3/16
                                                    **********                8,926.97 ***FIRST   ******F-155****FIRSTSTAFF INC

FL-110 FLOWERS   FLOWERS AND HOME                   5476 2/10/16                75.00 16105 3/17/16 687677                      03594     /
                                                    5481 2/12/16                87.60 16105 3/17/16 687677              162.60 03594      /
                                                    **********                   162.60 ***FLOWERS *****FL-110****FLOWERS AND HOME

FR-054 FRESHPO   FRESHPOINT                       566068     1/28/16            31.01     16125   3/03/16   686231               02484    /
                                                  566068     1/28/16            67.02     16110   3/03/16   686231               02484    /
                                                  566535     2/03/16            11.58     16125   3/03/16   686231               02929    /
                                                  566535     2/03/16            22.34     16110   3/03/16   686231               02929    /
                                                  566740     2/05/16            19.84     16125   3/03/16   686231               02929    /
                                                  566740     2/05/16            44.68     16110   3/03/16   686231               02929    /
                                                  566894     2/06/16            40.23     16125   3/03/16   686231               02929    /
                                                  566894     2/06/16            86.82     16110   3/03/16   686231               02929    /
                                                  567017     2/08/16            54.14     16110   3/03/16   686231               02929    /
                                                  567018     2/08/16             6.73     24510   3/03/16   686231               02929    /
                                                 566068A     1/28/16            93.77     24510   3/03/16   686231               02484    /
                                                 566535A     2/03/16           175.85     24510   3/03/16   686231               02929    /
                                                 566740A     2/05/16            28.46     24510   3/03/16   686231               02929    /
                                                 566894A     2/06/16           143.89     24510   3/03/16   686231      826.36   02929    /
                                                  567211     2/10/16            51.61     16125   3/10/16   687041               02929    /
                                                  567211     2/10/16            89.82     16110   3/10/16   687041               02929    /
                                                  567419     2/12/16            16.62     16125   3/10/16   687041               02929    /
                                                  567419     2/12/16           112.16     16110   3/10/16   687041               02929    /
                                                  567589     2/13/16            36.01     16125   3/10/16   687041               02929    /
                                                  567589     2/13/16            22.80     16110   3/10/16   687041               02929    /
                                                  567707     2/15/16            11.43     16125   3/10/16   687041               02929    /
                                                  567707     2/15/16           120.92     16110   3/10/16   687041               02929    /




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APHIST-0462    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE    3
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                 567211A 2/10/16              143.03 24510 3/10/16 687041                       02929   /
                                                 567419A 2/12/16              197.16 24510 3/10/16 687041                       02929   /
                                                 567589A 2/13/16               86.51 24510 3/10/16 687041                       02929   /
                                                 567707A 2/15/16              177.77 24510 3/10/16 687041            1,065.84   02929   /
                                                  567886 2/17/16               19.53 16125 3/17/16 687685                       02929   /
                                                  567886 2/17/16               67.02 16110 3/17/16 687685                       02929   /
                                                  568099 2/19/16               56.70 16125 3/17/16 687685                       02484   /
                                                  568099 2/19/16              134.50 16110 3/17/16 687685                       02484   /
                                                  568249 2/20/16               35.16 24510 3/17/16 687685                       02484   /
                                                 568099A 2/19/16              141.55 24510 3/17/16 687685              454.46   02484   /
                                                  568570 2/24/16               15.92 16125 3/23/16 688452                       03696   /
                                                  568570 2/24/16               85.22 16110 3/23/16 688452                       03696   /
                                                  568805 2/26/16               10.88 16125 3/23/16 688452                       03696   /
                                                  568805 2/26/16               77.63 16110 3/23/16 688452                       03696   /
                                                  568976 2/27/16               50.96 16125 3/23/16 688452                       03696   /
                                                  568976 2/27/16               52.29 16110 3/23/16 688452                       03696   /
                                                  569103 2/29/16               20.84 16110 3/23/16 688452                       03808   /
                                                 568570A 2/24/16               61.83 24510 3/23/16 688452                       03696   /
                                                 568805A 2/26/16              141.44 24510 3/23/16 688452                       03696   /
                                                 568976A 2/27/16              185.35 24510 3/23/16 688452                       03696   /
                                                 569103A 2/29/16               50.64 24510 3/23/16 688452              753.00   03808   /
                                                  569306 3/02/16               17.15 16125 3/31/16 689281                       03808   /
                                                  569306 3/02/16               43.64 16110 3/31/16 689281                       03808   /
                                                  569544 3/04/16               17.15 16125 3/31/16 689281                       03808   /
                                                  569544 3/04/16              175.80 16110 3/31/16 689281                       03808   /
                                                  569723 3/05/16               56.72 16125 3/31/16 689281                       03367   /
                                                  569723 3/05/16              106.16 16110 3/31/16 689281                       03367   /
                                                  569850 3/07/16               12.11 16125 3/31/16 689281                       03367   /
                                                  569850 3/07/16               64.48 16110 3/31/16 689281                       03367   /
                                                 569306A 3/02/16               71.33 24510 3/31/16 689281                       03808   /
                                                 569544A 3/04/16              157.71 24510 3/31/16 689281                       03808   /
                                                 569723A 3/05/16              101.14 24510 3/31/16 689281                       03367   /
                                                 569850A 3/07/16               67.04 24510 3/31/16 689281              890.43   03367   /
                                                    **********                3,990.09 ***FRESHPO *****FR-054****FRESHPOINT

FR-019 FRITO     FRITO-LAY INC                  66247920 2/02/16               57.82 45010 3/03/16 686228              57.82    02233   /
                                                66247992 2/09/16               58.80 45010 3/10/16 687037              58.80    02628   /
                                                66248075 2/16/16              144.87 45010 3/17/16 687681             144.87    02927   /
                                                66248152 2/23/16               98.81 45010 3/23/16 688450                       02484   /
                                                66248233 3/01/16              123.41 45010 3/23/16 688450             222.22    03696   /
                                                66248314 3/08/16               64.31 45010 3/31/16 689278              64.31    03808   /
                                                    **********                  548.02 ***FRITO  *****FR-019****FRITO-LAY INC

GA-169 GANZ      GANZ USA LLC                    6888079 2/08/16              235.50 45010 3/03/16 686236                       02461   /
                                                 6888079 2/08/16               11.21 45010 3/03/16 686236             246.71    02461   /
                                                 6889103 2/09/16              254.00 45010 3/10/16 687046                       02461   /
                                                 6889103 2/09/16               12.96 45010 3/10/16 687046             266.96    02461   /
                                                 6896234 2/18/16               52.50 45010 3/17/16 687691                       03696   /
                                                 6896234 2/18/16                4.20 45010 3/17/16 687691              56.70    03696   /
                                                 6903961 2/25/16              318.00 45010 3/23/16 688464                       03808   /
                                                 6903961 2/25/16               36.79 45010 3/23/16 688464             354.79    03808   /
                                                 6908431 3/02/16               27.00 45010 3/31/16 689288                       03991   /
                                                 6908431 3/02/16                2.16 45010 3/31/16 689288              29.16    03991   /
                                                    **********                  954.32 ***GANZ   *****GA-169****GANZ USA LLC

GA-262 GARDA     GARDA CL SOUTHWEST INC         10188255 3/01/16              320.66 60135 3/23/16 688470                     03808    /
                                                10188255 3/01/16               30.46 60135 3/23/16 688470             351.12 03808     /
                                                    **********                  351.12 ***GARDA  *****GA-262****GARDA CL SOUTHWEST INC

GI-095 GIGERI    GIGERICH ELECTRICAL INC            6264 2/03/16              390.56 66200 3/17/16 687694             390.56 03594    /
                                                    **********                  390.56 ***GIGERI *****GI-095****GIGERICH ELECTRICAL INC

GI-118 GIRVIN    GIRVIN MARKETING CO INC           10806 2/16/16               74.00 62251 3/03/16 686242              74.00 02484    /
                                                   11423 3/15/16              103.50 62251 3/23/16 688475                     03991   /
                                                   11423 3/15/16                5.00 62251 3/23/16 688475             108.50 03991    /
                                                    **********                  182.50 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC




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APHIST-0463    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
GR-013 GRAINGER GRAINGER                      9038133006 2/26/16               363.82 66110 3/23/16 688490                       03808    /
                                              9038133006 2/26/16                34.57 66110 3/23/16 688490              398.39   03808    /
                                              9019488676 2/08/16                28.85 66520 3/31/16 689312                       03367    /
                                              9019488676 2/08/16                 2.74 66520 3/31/16 689312                       03367    /
                                              9019488676 2/08/16                36.62 66255 3/31/16 689312                       03367    /
                                              9019488676 2/08/16                 3.48 66255 3/31/16 689312                       03367    /
                                              9025924003 2/15/16                72.60 66130 3/31/16 689312                       03367    /
                                              9025924003 2/15/16                 6.90 66130 3/31/16 689312                       03367    /
                                              9026965716 2/16/16                16.63 66651 3/31/16 689312                       03367    /
                                              9026965716 2/16/16                 1.58 66651 3/31/16 689312                       03367    /
                                              9026965716 2/16/16                28.10 66400 3/31/16 689312                       03367    /
                                              9026965716 2/16/16                 2.67 66400 3/31/16 689312                       03367    /
                                              9033594517 2/23/16                91.39 66651 3/31/16 689312                       03367    /
                                              9033594517 2/23/16                 8.68 66651 3/31/16 689312                       03367    /
                                              9034398884 2/24/16               198.79 66275 3/31/16 689312                       03367    /
                                              9034398884 2/24/16                18.88 66275 3/31/16 689312              517.91   03367    /
                                                    **********                   916.30 ***GRAINGER*****GR-013****GRAINGER

GR-338 GREEN     GREENLEY FOOD PRODUCTS            22334 2/18/16                38.89 24510 3/03/16 686276              38.89 02484     /
                                                    **********                    38.89 ***GREEN  *****GR-338****GREENLEY FOOD PRODUCTS

*G-184 GUEST     GUEST SUPPLY - SYSCO            7152215 2/02/16               40.40 16850 3/03/16 191332                      02927     3/16
                                                 7152215 2/02/16                3.84 16850 3/03/16 191332                      02927     3/16
                                                 7152215 2/02/16            1,807.23 16400 3/03/16 191332                      02927     3/16
                                                 7152215 2/02/16              171.75 16400 3/03/16 191332                      02927     3/16
                                                 7152215 2/02/16              825.12 16250 3/03/16 191332                      02927     3/16
                                                 7152215 2/02/16               78.41 16250 3/03/16 191332                      02927     3/16
                                                 7163948 2/05/16            4,238.18 16500 3/03/16 191332                      02927     3/16
                                                 7163948 2/05/16              402.62 16500 3/03/16 191332                      02927     3/16
                                                 7163948 2/05/16              131.94 16400 3/03/16 191332                      02927     3/16
                                                 7163948 2/05/16               12.54 16400 3/03/16 191332            7,712.03 02927      3/16
                                                 7168459 2/09/16               68.05- 16400 3/10/16 191904                     02927     3/16
                                                 7168459 2/09/16                6.46- 16400 3/10/16 191904                     02927     3/16
                                                 7178043 2/11/16              168.00 16400 3/10/16 191904                      02484     3/16
                                                 7178043 2/11/16               15.96 16400 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16               85.58 16850 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16                8.13 16850 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16              160.56 16500 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16               15.26 16500 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16            1,438.32 16400 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16              136.70 16400 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16              382.53 16250 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16               36.36 16250 3/10/16 191904                      02484     3/16
                                                 7178146 2/11/16                 .02- 16250 3/10/16 191904           2,372.87 02484      3/16
                                                 7208217 2/25/16               60.34 16850 3/23/16 193180                      03808     3/16
                                                 7208217 2/25/16                5.73 16850 3/23/16 193180                      03808     3/16
                                                 7208217 2/25/16              729.29 16400 3/23/16 193180                      03808     3/16
                                                 7208217 2/25/16               69.32 16400 3/23/16 193180                      03808     3/16
                                                 7208217 2/25/16              320.74 16250 3/23/16 193180                      03808     3/16
                                                 7208217 2/25/16               30.49 16250 3/23/16 193180                      03808     3/16
                                                 7208577 2/25/16              241.84 16400 3/23/16 193180                      03808     3/16
                                                 7208577 2/25/16               22.98 16400 3/23/16 193180            1,480.73 03808      3/16
                                                 7225823 3/03/16               55.48 16850 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16                5.30 16850 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16            3,655.62 16500 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16              347.32 16500 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16            1,156.01 16400 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16              109.82 16400 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16              763.31 16250 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16               72.54 16250 3/31/16 193864                      03808     3/16
                                                 7225823 3/03/16                 .06- 16250 3/31/16 193864           6,165.34 03808      3/16
                                                    **********               17,730.97 ***GUEST   ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES         9143652614     2/14/16            18.01     66110   3/17/16   192839               03696   3/16
                                              9143652614     2/14/16             1.71     66110   3/17/16   192839               03696   3/16
                                              9143670219     2/15/16            99.19     66110   3/17/16   192839               03696   3/16
                                              9143670219     2/15/16             9.42     66110   3/17/16   192839      128.33   03696   3/16
                                              9143859206     2/23/16            28.26     66250   3/23/16   193220               03808   3/16
                                              9143859206     2/23/16             2.68     66250   3/23/16   193220               03808   3/16




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APHIST-0464    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                             PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               9143884691 2/24/16                76.34 66250 3/23/16 193220              107.28 03808      3/16
                                               9143353008 2/01/16                30.30 66250 3/31/16 193916                      03361     3/16
                                               9143353008 2/01/16                 2.88 66250 3/31/16 193916                      03361     3/16
                                               9143414110 2/03/16                56.26 66250 3/31/16 193916                      03361     3/16
                                               9143414110 2/03/16                 5.34 66250 3/31/16 193916                      03361     3/16
                                               9143921037 2/25/16               147.87 66600 3/31/16 193916                      03361     3/16
                                               9143921037 2/25/16                14.05 66600 3/31/16 193916                      03361     3/16
                                               9144172267 3/08/16                45.60 66520 3/31/16 193916                      03991     3/16
                                               9144172267 3/08/16                 4.34 66520 3/31/16 193916                      03991     3/16
                                               9144172267 3/08/16                56.10 66130 3/31/16 193916                      03991     3/16
                                               9144172267 3/08/16                 5.33 66130 3/31/16 193916                      03991     3/16
                                               9144172267 3/08/16               107.80 66120 3/31/16 193916                      03991     3/16
                                               9144172267 3/08/16                10.25 66120 3/31/16 193916              486.12 03991      3/16
                                                     **********                   721.73 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-295 HERITA    HERITAGE FOOD SERVICE GRP     0003414254 1/07/16               134.25 66150 3/31/16 193895                     03361 3/16
                                               0003414254 1/07/16                17.45 66150 3/31/16 193895             151.70 03361 3/16
                                                     **********                   151.70 ***HERITA ******H-295****HERITAGE FOOD SERVICE GRP

*H-175 HILTON    HILTON HOTELS CORPORATION     0012116167 2/22/16              590.00 85410 3/03/16 191356                         02570 3/16
                                               0012116167 2/22/16               56.05 85410 3/03/16 191356                         02570 3/16
                                               0012116167 2/22/16            1,385.18 16700 3/03/16 191356                         02570 3/16
                                               0012116167 2/22/16              131.59 16700 3/03/16 191356           2,162.82      02570 3/16
                                                   650072 2/29/16            3,080.20 62249 3/23/16 193199                         03910 3/16
                                               0012125590 2/29/16            2,403.08 62200 3/23/16 193199                         03910 3/16
                                               0012125590 2/29/16            4,510.68 16300 3/23/16 193199                         03910 3/16
                                               0012138263 3/21/16              590.00 85410 3/23/16 193199                         03999 3/16
                                               0012138263 3/21/16               56.05 85410 3/23/16 193199                         03999 3/16
                                               0012138263 3/21/16            1,385.18 16700 3/23/16 193199                         03999 3/16
                                               0012138263 3/21/16              131.59 16700 3/23/16 193199          12,156.78      03999 3/16
                                               0012128536 3/10/16            3,829.51 62650 3/31/16 193888                         03361 3/16
                                               0012131097 3/14/16               82.49 60370 3/31/16 193888                         03361 3/16
                                               0012134720 3/15/16              738.00 60310 3/31/16 193888           4,650.00      03361 3/16
                                                     **********               18,969.60 ***HILTON ******H-175****HILTON HOTELS     CORPORATION

HO-201 HOSPITAL HOSPITALITY SAFE CORP.               6425 2/16/16               165.00 66520 3/17/16 687739                      02484    /
                                                     6425 2/16/16                52.00 66520 3/17/16 687739              217.00 02484     /
                                                     **********                   217.00 ***HOSPITAL*****HO-201****HOSPITALITY SAFE CORP.

HO-065 HOT       HOT SPRINGS NATURAL                 6000 2/22/16                80.90 45010 3/03/16 686307              80.90 02485        /
                                                     6050 3/14/16               116.25 45010 3/23/16 688517             116.25 03910        /
                                                     **********                   197.15 ***HOT    *****HO-065****HOT SPRINGS NATURAL

HO-541 HOT       HOT SPRINGS NATIONAL PARK        1213798 3/01/16                67.00 60310 3/10/16 687093              67.00 03196    /
                                                     **********                    67.00 ***HOT    *****HO-541****HOT SPRINGS NATIONAL PARK

*H-270 HOT S     HOT SPRINGS MUNICIPAL UTI       31628600 3/21/16              525.60 66325 3/31/16 193893                     03293 3/16
                                                 31628600 3/21/16               18.70 66325 3/31/16 193893                     03293 3/16
                                                 31628600 3/21/16            7,743.37 64500 3/31/16 193893                     03293 3/16
                                                 31628600 3/21/16              275.35 64500 3/31/16 193893           8,563.02 03293 3/16
                                                 31628700 3/21/16               59.65 64500 3/31/16 193894                     03293 3/16
                                                 31628700 3/21/16                5.64 64500 3/31/16 193894              65.29 03293 3/16
                                                     **********                8,628.31 ***HOT S  ******H-270****HOT SPRINGS MUNICIPAL UTI

*H-003 HOT SP    HOT SPRINGS EMBASSY           D027957916     2/26/16           175.00     60721   3/03/16   191336                02299   3/16
                                               D027957916     2/26/16           420.00     60310   3/03/16   191336                02299   3/16
                                               D027957916     2/26/16           277.34     60070   3/03/16   191336                02299   3/16
                                               D027959119     2/26/16             8.74     66250   3/03/16   191336                02485   3/16
                                               D027959119     2/26/16             3.50     66100   3/03/16   191336                02485   3/16
                                               D027959119     2/26/16            74.18     60070   3/03/16   191336                02485   3/16
                                               D027959119     2/26/16            20.00     45010   3/03/16   191336                02485   3/16
                                               D027959119     2/26/16            21.87     16400   3/03/16   191336     1,000.63   02485   3/16
                                               D037955304     3/04/16           350.00     60721   3/10/16   191910       350.00   03196   3/16
                                                DEC15CORR     3/11/16              .40-    60150   3/17/16   192810                03643   3/16
                                               D037956313     3/11/16            39.07     66130   3/17/16   192810                03594   3/16




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APHIST-0465    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                         PAGE     3
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
                                              D037956313 3/11/16              75.62 66120 3/17/16 192810                     03594     3/16
                                              D037956313 3/11/16              24.73 60070 3/17/16 192810                     03594     3/16
                                              D037956313 3/11/16               4.19 45022 3/17/16 192810                     03594     3/16
                                              D037956313 3/11/16              45.00 45010 3/17/16 192810                     03594     3/16
                                              D037956786 3/11/16             154.16 66120 3/17/16 192810                     03594     3/16
                                              D037956786 3/11/16              12.94 66110 3/17/16 192810                     03594     3/16
                                              D037956786 3/11/16             141.52 62249 3/17/16 192810                     03594     3/16
                                              D037956786 3/11/16              19.68 60550 3/17/16 192810                     03594     3/16
                                              D037958868 3/11/16             301.12 66450 3/17/16 192810                     03594     3/16
                                              D037958868 3/11/16             175.00 60721 3/17/16 192810             992.63 03594      3/16
                                              D037953337 3/18/16               4.31 66120 3/23/16 193187                     03910     3/16
                                              D037953337 3/18/16              17.48 60550 3/23/16 193187                     03910     3/16
                                              D037953337 3/18/16              60.23 60070 3/23/16 193187                     03910     3/16
                                              D037953337 3/18/16             120.00 45010 3/23/16 193187                     03910     3/16
                                              D037953920 3/18/16             175.00 60721 3/23/16 193187                     03910     3/16
                                              D037953920 3/18/16              17.17 60550 3/23/16 193187                     03910     3/16
                                              D037953920 3/18/16             155.57 16400 3/23/16 193187             549.76 03910      3/16
                                              D037952072 3/25/16           1,375.00 85410 3/31/16 193870                     03361     3/16
                                              D037952072 3/25/16             175.00 60721 3/31/16 193870                     03361     3/16
                                              D037953801 3/25/16              31.90 66250 3/31/16 193870                     03361     3/16
                                              D037953801 3/25/16             151.28 66120 3/31/16 193870                     03361     3/16
                                              D037953801 3/25/16              90.00 45010 3/31/16 193870                     03361     3/16
                                              D037953801 3/25/16              40.00 16105 3/31/16 193870           1,863.18 03361      3/16
                                                    **********               4,756.20 ***HOT SP ******H-003****HOT SPRINGS EMBASSY

HO-321 HOT SP    HOT SPRINGS   A & P          CTYF0316    3/15/16          1,249.25 02060 3/16/16 911621           1,249.25 00000       /
                                              CTYR0316    3/15/16            160.20 02060 3/16/16 911632                    00000       /
                                              CTYR0316    3/15/16         22,380.69 02059 3/16/16 911632          22,540.89 00000       /
                                                    **********              23,790.14 ***HOT SP *****HO-321****HOT SPRINGS A & P

HR-003 HR DIR    HR DIRECT                    INV3723540 2/26/16              348.00 60550 3/23/16 688528                      03808    /
                                              INV3723540 2/26/16               43.05 60550 3/23/16 688528                      03808    /
                                              INV3766869 3/14/16               22.09 60070 3/23/16 688528                      03991    /
                                              INV3766869 3/14/16               17.78 60070 3/23/16 688528             430.92   03991    /
                                                    **********                  430.92 ***HR DIR *****HR-003****HR DIRECT

*I-041 IKON      IKON/RICOH SERVICES            96341929 3/10/16              747.00 60370 3/10/16 191941                     03109    3/16
                                                96341929 3/10/16               70.98 60370 3/10/16 191941             817.98 03109     3/16
                                                96533414 3/21/16               59.13 60370 3/31/16 193925                     03534    3/16
                                                96533414 3/21/16                3.73 60370 3/31/16 193925                     03534    3/16
                                                96533417 3/21/16              138.24 60370 3/31/16 193925                     03534    3/16
                                                96533417 3/21/16                8.72 60370 3/31/16 193925             209.82 03534     3/16
                                                    **********                1,027.80 ***IKON   ******I-041****IKON/RICOH SERVICES

*J-142 JOHNS     JOHNSON CONTROLS INC         8989263835 2/02/16              474.87 66160 3/03/16 191388                     02628    3/16
                                              8989263835 2/02/16               45.11 66160 3/03/16 191388             519.98 02628     3/16
                                              1376027236 3/02/16              474.92 66160 3/31/16 194074                     03808    3/16
                                              1376027236 3/02/16               45.12 66160 3/31/16 194074             520.04 03808     3/16
                                                    **********                1,040.02 ***JOHNS  ******J-142****JOHNSON CONTROLS INC

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 02 2/30/16           5,375.00 60116 3/10/16 192230            5,375.00 02342 3/16
                                                    **********               5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0316    3/30/16            364.78 66060 3/31/16 193970                     00000 3/16
                                              JINS0316    3/30/16            667.89 62060 3/31/16 193970                     00000 3/16
                                              JINS0316    3/30/16            741.02 60060 3/31/16 193970                     00000 3/16
                                              JINS0316    3/30/16            389.41 26060 3/31/16 193970                     00000 3/16
                                              JINS0316    3/30/16          2,719.95 16060 3/31/16 193970           4,883.05 00000 3/16
                                                    **********               4,883.05 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

*J-018 JQH C     JQH C - INSURANCE            INSA031601 3/22/16              799.92 02120 3/23/16 193267                     00000    3/16
                                              INSA031601 3/22/16              103.20 01310 3/23/16 193267             903.12 00000     3/16
                                                    **********                  903.12 ***JQH C  ******J-018****JQH C - INSURANCE




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APHIST-0466    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
JQ-004 JQH C     JQH C                         RENTOKIL1 3/01/16             116.73 26260 3/03/16 686844              116.73    02570    /
                                              122A0316    3/23/16             19.80 60115 3/31/16 689832                        00000    /
                                              122A0316    3/23/16             47.62 60061 3/31/16 689832                        00000    /
                                              122A0316    3/23/16            724.00 47082 3/31/16 689832                        00000    /
                                              122A0316    3/23/16            144.59 35901 3/31/16 689832                        00000    /
                                              122A0316    3/23/16            942.78 35030 3/31/16 689832                        00000    /
                                              122A0316    3/23/16            861.00 35026 3/31/16 689832                        00000    /
                                              122A031601 3/23/16              77.97 60856 3/31/16 689832                        00000    /
                                              122A031601 3/23/16             554.58 60721 3/31/16 689832                        00000    /
                                              122A031601 3/23/16             218.52 60720 3/31/16 689832                        00000    /
                                              122A031601 3/23/16               2.59- 60590 3/31/16 689832                       00000    /
                                              122A031601 3/23/16             119.99 60580 3/31/16 689832                        00000    /
                                              122A031601 3/23/16              29.08 60320 3/31/16 689832                        00000    /
                                              122A031601 3/23/16             300.00 60310 3/31/16 689832                        00000    /
                                              122A031602 3/23/16              15.00 62860 3/31/16 689832                        00000    /
                                              122A031602 3/23/16              13.12 62840 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             967.20 62830 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             300.84 62380 3/31/16 689832                        00000    /
                                              122A031602 3/23/16           2,310.00 62200 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             960.63 60880 3/31/16 689832                        00000    /
                                              122A031602 3/23/16             250.57 60870 3/31/16 689832                        00000    /
                                              122A031603 3/23/16             116.73 26260 3/31/16 689832                        00000    /
                                              122A031603 3/23/16             138.91 16150 3/31/16 689832                        00000    /
                                              122A031603 3/23/16             233.09 02005 3/31/16 689832                        00000    /
                                              122A031604 3/23/16           2,794.58- 85962 3/31/16 689832                       00000    /
                                              122A031604 3/23/16             389.20- 84035 3/31/16 689832                       00000    /
                                              122B0316    3/23/16            271.46 60860 3/31/16 689832                        00000    /
                                              122B031601 3/23/16             100.00 64700 3/31/16 689832            6,531.11    00000    /
                                                    **********               6,647.84 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0316    3/30/16            794.12 66060 3/31/16 194039                     00000      3/16
                                              JINS0316    3/30/16          3,309.51 62060 3/31/16 194039                     00000      3/16
                                              JINS0316    3/30/16          3,965.68 60060 3/31/16 194039                     00000      3/16
                                              JINS0316    3/30/16          1,161.18 26060 3/31/16 194039                     00000      3/16
                                              JINS0316    3/30/16          4,630.54 16060 3/31/16 194039          13,861.03 00000       3/16
                                                    **********              13,861.03 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  02 3/05/16              332.87 66900 3/10/16 192181              332.87   02342 3/16
                                                    **********                  332.87 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  02 3/05/16           3,314.50 16900 3/10/16 192030           3,314.50 02342 3/16
                                                    **********               3,314.50 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16  02 3/05/16              573.90 62900 3/10/16 192036               573.90 02342 3/16
                                              *RMA16  02 3/05/16              219.73 62900 3/10/16 192045               219.73 02342 3/16
                                              *ARM16  02 3/05/16              335.36 62900 3/10/16 192066               335.36 02342 3/16
                                              *EC16   02 3/05/16              367.78 62900 3/10/16 192071               367.78 02342 3/16
                                              *RPM16  01 3/05/16              209.99 66900 3/10/16 192080               209.99 03005 3/16
                                              *BRM16  02 3/05/16              814.27 62900 3/10/16 192101               814.27 02342 3/16
                                              *FM16   01 3/05/16              313.68 66900 3/10/16 192106               313.68 03005 3/16
                                                    **********                2,834.71 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT021602 2/29/16          18,140.75 02013 3/10/16 687473           18,140.75    00000    /
                                                    **********              18,140.75 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS     *BAA16  02 3/05/16              88.73 60900 3/10/16 191961              88.73 02342 3/16
                                              *RDS16  02 3/05/16           1,956.96 62900 3/10/16 191970           1,956.96 02342 3/16
                                              *RVP16  02 3/05/16           2,607.12 60900 3/10/16 191979           2,607.12 02342 3/16
                                                    **********               4,652.81 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

KA-154 KARCH     KARCHER NORTH AMERICA        5331919399 2/18/16              311.45 16850 3/17/16 687782                       02461   /
                                              5331919399 2/18/16                7.08 16850 3/17/16 687782                       02461   /
                                              5331919399 2/18/16               30.26 16850 3/17/16 687782             348.79    02461   /
                                                    **********                  348.79 ***KARCH  *****KA-154****KARCHER NORTH   AMERICA




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APHIST-0467    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
KN-003 KNOX      KNOX AIR CONDITIONING             017151 3/17/16              289.50 66150 3/31/16 689400                     03361   /
                                                   017151 3/17/16               27.50 66150 3/31/16 689400             317.00 03361    /
                                                     **********                  317.00 ***KNOX   *****KN-003****KNOX AIR CONDITIONING

LA-504 LABORATO LABORATORY CORP OF               51026321 2/27/16               88.25 60320 3/10/16 687136               88.25 03196     /
                                                     **********                   88.25 ***LABORATO*****LA-504****LABORATORY CORP OF

LA-196 LAWNS     LAWNS,LIMBS & LANDSCAPING     2016001278 3/15/16              900.00 66450 3/23/16 688579                     03991   /
                                               2016001278 3/15/16               85.50 66450 3/23/16 688579             985.50 03991    /
                                                     **********                  985.50 ***LAWNS  *****LA-196****LAWNS,LIMBS & LANDSCAPING

LI-129 LIPCO     LIPCO                           00265891 2/26/16              847.93 45010 3/23/16 688594                      03696    /
                                                 00265892 2/26/16              218.40 45010 3/23/16 688594           1,066.33   03696    /
                                                     **********                1,066.33 ***LIPCO  *****LI-129****LIPCO

MA-111 MANUA     THE MANUAL WOODWORKERS        0004538723 3/08/16              127.00 45010 3/31/16 689433                     03991    /
                                               0004538723 3/08/16               22.74 45010 3/31/16 689433             149.74 03991     /
                                                     **********                  149.74 ***MANUA  *****MA-111****THE MANUAL WOODWORKERS

*M-024 MARSH     MARSH USA INC                 INSA021601 3/04/16           1,977.00 02120 3/10/16 192296                     00000     3/16
                                               INSA021601 3/04/16           2,543.00 01310 3/10/16 192296           4,520.00 00000      3/16
                                               INSA021602 3/04/16           1,958.44 01311 3/10/16 192334           1,958.44 00000      3/16
                                                     **********               6,478.44 ***MARSH  ******M-024****MARSH USA INC

ME-259 MERR      MERRITT WHOLESALE DISTRIB          48409 3/01/16              123.37 62251 3/17/16 687831                     03696   /
                                                    48409 3/01/16              175.48 45010 3/17/16 687831                     03696   /
                                                    48536 3/03/16               23.12 62251 3/17/16 687831                     03696   /
                                                    48536 3/03/16              118.95 45010 3/17/16 687831                     03696   /
                                                    48809 3/08/16               69.36 62251 3/17/16 687831                     03594   /
                                                    48809 3/08/16                 .28 62251 3/17/16 687831                     03594   /
                                                    48809 3/08/16              388.32 45010 3/17/16 687831                     03594   /
                                                    48809 3/08/16                1.59 45010 3/17/16 687831                     03594   /
                                                    49031 3/11/16               22.94 62251 3/17/16 687831                     03594   /
                                                    49031 3/11/16              110.77 45010 3/17/16 687831           1,034.18 03594    /
                                                    48688 3/04/16               45.88 62251 3/23/16 688626                     03808   /
                                                    49108 3/14/16               92.30 62251 3/23/16 688626                     03910   /
                                                    49108 3/14/16               44.56 45010 3/23/16 688626                     03910   /
                                                    49309 3/16/16                8.46 45010 3/23/16 688626             191.20 03991    /
                                                    48127 2/25/16               46.24 62251 3/31/16 689443                     03361   /
                                                    48127 2/25/16              212.43 45010 3/31/16 689443                     03361   /
                                                    49456 3/18/16              146.74 45010 3/31/16 689443                     03361   /
                                                    49532 3/21/16              123.19 62251 3/31/16 689443                     03361   /
                                                    49532 3/21/16              128.04 45010 3/31/16 689443             656.64 03361    /
                                                     **********                1,882.02 ***MERR   *****ME-259****MERRITT WHOLESALE DISTRIB

MI-144 MILLER    MILLER CHEMICAL CO                 48266 3/14/16               47.00 66600 3/23/16 688629                     03910     /
                                                    48266 3/14/16                4.47 66600 3/23/16 688629              51.47 03910      /
                                                     **********                   51.47 ***MILLER *****MI-144****MILLER CHEMICAL CO

MY-019 MYERS     MYERS SUPPLY & CHEMICAL        201635700 2/04/16               92.83 16850 3/03/16 686446                     02225   /
                                                201635700 2/04/16                8.82 16850 3/03/16 686446             101.65 02225    /
                                                  2014181 11/05/15              53.32 16850 3/17/16 687850                     03594   /
                                                  2014181 11/05/15               5.07 16850 3/17/16 687850                     03594   /
                                                  2016357 2/04/16               92.83 16850 3/17/16 687850                     03594   /
                                                  2016357 2/04/16                8.82 16850 3/17/16 687850             160.04 03594    /
                                                     **********                  261.69 ***MYERS  *****MY-019****MYERS SUPPLY & CHEMICAL

*N-090 NOR1      NOR1 INC                       INV206357 2/29/16              256.05 45022 3/23/16 193329                      03696   3/16
                                                INV206357 2/29/16               36.30 16300 3/23/16 193329             292.35   03696   3/16
                                                     **********                  292.35 ***NOR1   ******N-090****NOR1 INC

OA-012 OAKLAWN   OAKLAWN RACING & GAMING            30316 3/03/16           2,000.00 62300 3/23/16 688985            2,000.00 03808    /
                                                     **********               2,000.00 ***OAKLAWN *****OA-012****OAKLAWN RACING & GAMING



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                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
PE-081 PEPSI     PEPSI-COLA                      31230454 2/11/16              263.20 24510 3/03/16 686484                        02484    /
                                                 32242603 2/25/16              335.93 24510 3/03/16 686484                        02461    /
                                                 32543205 2/18/16              494.05 24510 3/03/16 686484                        02484    /
                                                 82626903 2/04/16              268.27 24510 3/03/16 686484           1,361.45     02484    /
                                                 33305703 3/03/16              663.67 45010 3/17/16 687891             663.67     03696    /
                                                 29491204 3/17/16            1,343.25 45010 3/23/16 688683                        03991    /
                                                 33305704 3/03/16              481.37 24510 3/23/16 688683           1,824.62     03808    /
                                                     **********                3,849.74 ***PEPSI  *****PE-081****PEPSI-COLA

PL-062 PLANTATI PLANTATION SERVICES INC            130837 3/01/16            1,102.50 66460 3/23/16 688693            1,102.50 03808    /
                                                     **********                1,102.50 ***PLANTATI*****PL-062****PLANTATION SERVICES INC

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         717941 2/05/16               125.00 16400 3/03/16 686500             125.00 02484    /
                                                   725036 2/29/16               125.00 16400 3/23/16 688705             125.00 03911    /
                                                     **********                   250.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PR-618 PROFESS   PROFESSIONAL LOCK & SAFE           29270 2/18/16                93.50 66110 3/03/16 686512                      02485   /
                                                    29270 2/18/16                 8.88 66110 3/03/16 686512              102.38 02485    /
                                                    29422 3/04/16                11.34 66110 3/17/16 687912                      03594   /
                                                    29422 3/04/16                 1.08 66110 3/17/16 687912                      03594   /
                                                    29446 3/09/16                 5.95 66120 3/17/16 687912                      03594   /
                                                    29446 3/09/16                  .57 66120 3/17/16 687912               18.94 03594    /
                                                     **********                   121.32 ***PROFESS *****PR-618****PROFESSIONAL LOCK & SAFE

RE-008 R & E     R & E SUPPLY                     6389198 3/11/16                81.84 66160 3/23/16 688729              81.84    03991    /
                                                     **********                    81.84 ***R & E  *****RE-008****R & E SUPPLY

RA-485 RAYFIELD RAYFIELD COMMUNICATIONS             85889 3/10/16               548.50 66520 3/23/16 688728                      03808   /
                                                    85889 3/10/16                17.90 66520 3/23/16 688728              566.40 03808    /
                                                     **********                   566.40 ***RAYFIELD*****RA-485****RAYFIELD COMMUNICATIONS

RE-043 RED       RED BULL DISTRIBUTION          K14960712 2/29/16                16.15- 45010 3/17/16 687917                     03696   /
                                               1054617451 2/29/16               105.69 45010 3/17/16 687917               89.54 03696    /
                                                K15076081 3/14/16               105.69 45010 3/23/16 688730              105.69 03991    /
                                                     **********                   195.23 ***RED     *****RE-043****RED BULL DISTRIBUTION

RE-415 REGAL     THE REGAL PRESS INC               371166 3/07/16                18.40 60552 3/23/16 688736              18.40 03991       /
                                                     **********                    18.40 ***REGAL  *****RE-415****THE REGAL PRESS INC

RE-201 REGENCY   REGENCY ENTERPRISES INC          3559671 2/12/16                52.80 66130 3/10/16 687244                      02461   /
                                                  3559671 2/12/16                 5.02 66130 3/10/16 687244                      02461   /
                                                  3559672 2/12/16                34.74 66130 3/10/16 687244                      02461   /
                                                  3559672 2/12/16                 3.30 66130 3/10/16 687244               95.86 02461    /
                                                     **********                    95.86 ***REGENCY *****RE-201****REGENCY ENTERPRISES INC

RE-001 RESORT    RESORT TELEVISION CABLE       3169968001 2/24/16            1,800.00 35030 3/10/16 687240           1,800.00 03228    /
                                                     **********                1,800.00 ***RESORT *****RE-001****RESORT TELEVISION CABLE

RI-092 RICO      RICOH USA INC                 5040549586 2/16/16               227.00 60551 3/17/16 687941                       02461    /
                                               5040549586 2/16/16                21.56 60551 3/17/16 687941             248.56    02461    /
                                               1061011182 2/23/16               148.20 60550 3/23/16 688754                       03696    /
                                               1061011182 2/23/16                14.08 60550 3/23/16 688754             162.28    03696    /
                                                     **********                   410.84 ***RICO   *****RI-092****RICOH USA INC

RI-042 RIDGEWAY RIDGEWAY COMMUNICATIONS             53443 3/11/16                35.00 66200 3/23/16 688739                      03991   /
                                                    53443 3/11/16                22.88 66200 3/23/16 688739               57.88 03991    /
                                                     **********                    57.88 ***RIDGEWAY*****RI-042****RIDGEWAY COMMUNICATIONS

*R-207 ROYAL     ROYAL PAPER CORP                 4578914     2/10/16           177.09     16850   3/03/16   191471               02484   3/16
                                                  4578914     2/10/16            16.82     16850   3/03/16   191471               02484   3/16




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                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                  4578914 2/10/16              506.15 16400 3/03/16 191471                       02484    3/16
                                                  4578914 2/10/16               48.09 16400 3/03/16 191471               748.15  02484    3/16
                                                  4582064 2/24/16              148.99 16850 3/17/16 192940                       03696    3/16
                                                  4582064 2/24/16               14.16 16850 3/17/16 192940                       03696    3/16
                                                  4582064 2/24/16              489.37 16400 3/17/16 192940                       03696    3/16
                                                  4582064 2/24/16               46.49 16400 3/17/16 192940               699.01 03696     3/16
                                                  4583430 3/02/16              110.14 16850 3/23/16 193370                       03808    3/16
                                                  4583430 3/02/16               10.47 16850 3/23/16 193370                       03808    3/16
                                                  4583430 3/02/16              564.50 16400 3/23/16 193370                       03808    3/16
                                                  4583430 3/02/16               53.62 16400 3/23/16 193370               738.73 03808     3/16
                                                     **********                2,185.89 ***ROYAL  ******R-207****ROYAL   PAPER CORP

RO-153 ROYAL     ROYAL NAIL GILES OF ARKAN           1349 3/18/16               53.00 45010 3/23/16 688761              53.00 03910    /
                                                     **********                   53.00 ***ROYAL  *****RO-153****ROYAL NAIL GILES OF ARKAN

DO-100 RR DONNE RR DONNELLEY                    468283828 2/12/16              306.33 16400 3/10/16 686988              306.33    02461    /
                                                     **********                  306.33 ***RR DONNE*****DO-100****RR DONNELLEY

SA-288 SAFLOK    SAFLOK                         INV397633 10/28/15             464.90 66120 3/31/16 689575                        03361    /
                                                INV397633 10/28/15              12.94 66120 3/31/16 689575                        03361    /
                                                INV397633 10/28/15              49.01 66120 3/31/16 689575              526.85    03361    /
                                                     **********                  526.85 ***SAFLOK *****SA-288****SAFLOK

SE-141 SENT      THE SENTINEL-RECORD               010320 3/08/16               10.00 45010 3/17/16 687980              10.00 03594        /
                                                   010300 3/14/16               10.00 45010 3/23/16 688796              10.00 03910        /
                                                   010344 3/22/16               10.00 45010 3/31/16 689593              10.00 03361        /
                                                     **********                   30.00 ***SENT   *****SE-141****THE SENTINEL-RECORD

SE-237 SENTINEL SENTINEL-RECORD INC                516999 3/11/16              274.05 60320 3/17/16 687983                      03594      /
                                                  516999A 3/11/16              266.95 60320 3/17/16 687983              541.00 03594       /
                                                     **********                  541.00 ***SENTINEL*****SE-237****SENTINEL-RECORD INC

SH-437 SHOES     SHOES FOR CREWS LLC              6794855 3/01/16               28.78 26820 3/17/16 688252                     03594       /
                                                  6794855 3/01/16                7.98 26820 3/17/16 688252              36.76 03594        /
                                                  6820183 3/07/16               17.99 16800 3/23/16 689056              17.99 03910        /
                                                     **********                   54.75 ***SHOES  *****SH-437****SHOES FOR CREWS LLC

*S-498 SMITH     SMITH CONSULTING ASSC INC          37669 2/22/16              536.24 66275 3/23/16 193390                     03696 3/16
                                                    37669 2/22/16              160.00 66275 3/23/16 193390                     03696 3/16
                                                    37673 2/24/16              566.50 66275 3/23/16 193390                     02461 3/16
                                                    37673 2/24/16               49.65 66275 3/23/16 193390           1,312.39 02461 3/16
                                                     **********                1,312.39 ***SMITH  ******S-498****SMITH CONSULTING ASSC INC

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2669619 3/07/16           1,850.58 45025 3/23/16 193298           1,850.58 03991 3/16
                                                     **********               1,850.58 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SO-308 SOUTH     SOUTH CENTRAL SOUND              A282845 3/01/16               65.00 16805 3/23/16 688824                        03808    /
                                                  A282845 3/01/16                4.23 16805 3/23/16 688824                        03808    /
                                                  A282863 3/01/16               36.00 16805 3/23/16 688824                        03808    /
                                                  A282863 3/01/16                2.34 16805 3/23/16 688824             107.57     03808    /
                                                     **********                  107.57 ***SOUTH  *****SO-308****SOUTH CENTRAL    SOUND

ST-204 ST VIN    ST VINCENT'S CORP.HEALTH          307938 2/28/16               60.00 60320 3/23/16 688837              60.00 03808    /
                                                     **********                   60.00 ***ST VIN *****ST-204****ST VINCENT'S CORP.HEALTH

*S-467 STAND     STANDARD TEXTILE CO INC          5319727 2/12/16              156.76 45022 3/10/16 192432                     02461 3/16
                                                  5319727 2/12/16               14.91 45022 3/10/16 192432             171.67 02461 3/16
                                                  5335852 3/03/16              223.72 45022 3/31/16 194182                     03808 3/16
                                                  5335852 3/03/16               21.27 45022 3/31/16 194182             244.99 03808 3/16
                                                     **********                  416.66 ***STAND  ******S-467****STANDARD TEXTILE CO INC




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APHIST-0470    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
ST-448 STAPLES   STAPLES ADVANTAGE            3292920103 2/12/16               168.58 66400 3/03/16 686849                      02484   /
                                              3292920103 2/12/16                16.02 66400 3/03/16 686849                      02484   /
                                              3293327132 2/16/16                76.68 60550 3/03/16 686849                      02484   /
                                              3293327132 2/16/16                 7.29 60550 3/03/16 686849                      02484   /
                                              3293434092 2/18/16                56.39 60550 3/03/16 686849                      02484   /
                                              3293434092 2/18/16                 5.35 60550 3/03/16 686849                      02484   /
                                              3293434093 2/18/16               109.50 60551 3/03/16 686849                      02484   /
                                              3293434093 2/18/16                10.40 60551 3/03/16 686849                      02484   /
                                              3294066512 2/25/16                81.24 60551 3/03/16 686849                      02461   /
                                              3294066512 2/25/16                 7.72 60551 3/03/16 686849                      02461   /
                                              3294066512 2/25/16                 3.99 60550 3/03/16 686849                      02461   /
                                              3294066512 2/25/16                  .38 60550 3/03/16 686849                      02461   /
                                              3294148913 2/26/16               169.99 60560 3/03/16 686849                      02461   /
                                              3294148913 2/26/16                16.15 60560 3/03/16 686849              729.68 02461    /
                                              3294648993 2/27/16               237.49 47051 3/17/16 688227                      03696   /
                                              3294648993 2/27/16                22.56 47051 3/17/16 688227                      03696   /
                                              3295262684 3/03/16                73.00 60551 3/17/16 688227                      03696   /
                                              3295262684 3/03/16                 6.94 60551 3/17/16 688227              339.99 03696    /
                                              3295346093 3/04/16                89.05 60550 3/23/16 689029                      03808   /
                                              3295346093 3/04/16                 8.46 60550 3/23/16 689029                      03808   /
                                              3295766962 3/09/16                73.00 60551 3/23/16 689029                      03808   /
                                              3295766962 3/09/16                 6.94 60551 3/23/16 689029                      03808   /
                                              3295904206 3/11/16                73.00 60551 3/23/16 689029                      03991   /
                                              3295904206 3/11/16                 6.93 60551 3/23/16 689029                      03991   /
                                              3295904206 3/11/16                11.98 60550 3/23/16 689029                      03991   /
                                              3295904206 3/11/16                 1.14 60550 3/23/16 689029                      03991   /
                                              3296301590 3/15/16                40.36 60550 3/23/16 689029                      03991   /
                                              3296301590 3/15/16                 3.83 60550 3/23/16 689029              314.69 03991    /
                                                    **********                 1,384.36 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

ST-094 STONE     STONECIPHER DISTRIBUTORS         281667 2/24/16                23.85 60070 3/03/16 686610                     02485   /
                                                  281667 2/24/16                  .38 60070 3/03/16 686610                     02485   /
                                                  281667 2/24/16                54.75 45020 3/03/16 686610                     02485   /
                                                  281667 2/24/16                  .86 45020 3/03/16 686610              79.84 02485    /
                                                  281849 3/08/16                47.70 60070 3/17/16 688030                     03594   /
                                                  281849 3/08/16                  .73 60070 3/17/16 688030                     03594   /
                                                  281849 3/08/16                32.85 45020 3/17/16 688030                     03594   /
                                                  281849 3/08/16                  .51 45020 3/17/16 688030              81.79 03594    /
                                                  283095 3/22/16                 7.95 60070 3/31/16 689620                     03361   /
                                                  283095 3/22/16                  .24 60070 3/31/16 689620                     03361   /
                                                  283095 3/22/16                32.85 45020 3/31/16 689620                     03361   /
                                                  283095 3/22/16                 1.00 45020 3/31/16 689620              42.04 03361    /
                                                    **********                   203.67 ***STONE  *****ST-094****STONECIPHER DISTRIBUTORS

SU-099 SUMMER    SUMMER SOLES                     I42134 3/04/16               748.50 45022 3/31/16 689630                      03991    /
                                                  I42134 3/04/16                64.25 45022 3/31/16 689630             812.75   03991    /
                                                    **********                   812.75 ***SUMMER *****SU-099****SUMMER SOLES

*S-715 SYSCO     SYSCO                         611674430     1/29/16           29.24      26230   3/03/16   191527              02484   3/16
                                               611674430     1/29/16             .23      26230   3/03/16   191527              02484   3/16
                                               611674430     1/29/16        1,500.11      16110   3/03/16   191527              02484   3/16
                                               611674430     1/29/16           12.07      16110   3/03/16   191527              02484   3/16
                                               611674625     1/29/16           65.74      60220   3/03/16   191527              02484   3/16
                                               611764904     2/05/16        1,431.35      16110   3/03/16   191527              02929   3/16
                                               611764904     2/05/16             .33      16110   3/03/16   191527              02929   3/16
                                               611766296     2/05/16           40.14      26660   3/03/16   191527              02929   3/16
                                               611766296     2/05/16            1.40      26660   3/03/16   191527              02929   3/16
                                               611766296     2/05/16           46.75      26230   3/03/16   191527              02929   3/16
                                               611766296     2/05/16            1.63      26230   3/03/16   191527              02929   3/16
                                               611766296     2/05/16           40.26      16125   3/03/16   191527              02929   3/16
                                               611766296     2/05/16            1.41      16125   3/03/16   191527              02929   3/16
                                               611791389     2/08/16           10.60      26860   3/03/16   191527              02929   3/16
                                               611791389     2/08/16             .06      26860   3/03/16   191527              02929   3/16
                                               611791389     2/08/16          173.09      16125   3/03/16   191527              02929   3/16
                                               611791389     2/08/16             .95      16125   3/03/16   191527              02929   3/16
                                               611792418     2/08/16        2,216.85      16110   3/03/16   191527              02929   3/16
                                               611792418     2/08/16            4.76      16110   3/03/16   191527              02929   3/16
                                              611764904A     2/05/16           34.90      24510   3/03/16   191527              02929   3/16
                                              611766296A     2/05/16          793.39      24510   3/03/16   191527              02929   3/16




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APHIST-0471   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     2
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                             611791389A 2/08/16             979.14      24510   3/03/16   191527    7,384.40   02929   3/16
                                              611854210 2/12/16              23.48      26660   3/10/16   192468               02929   3/16
                                              611854210 2/12/16                .34      26660   3/10/16   192468               02929   3/16
                                              611854210 2/12/16              58.19      26230   3/10/16   192468               02929   3/16
                                              611854210 2/12/16                .84      26230   3/10/16   192468               02929   3/16
                                              611854210 2/12/16             302.52      16125   3/10/16   192468               02929   3/16
                                              611854210 2/12/16               4.35      16125   3/10/16   192468               02929   3/16
                                              611856770 2/12/16              28.79      26660   3/10/16   192468               02929   3/16
                                              611856770 2/12/16                .15      26660   3/10/16   192468               02929   3/16
                                              611856770 2/12/16              48.83      26220   3/10/16   192468               02929   3/16
                                              611856770 2/12/16                .26      26220   3/10/16   192468               02929   3/16
                                              611856770 2/12/16           2,193.98      16110   3/10/16   192468               02929   3/16
                                              611856770 2/12/16              11.72      16110   3/10/16   192468               02929   3/16
                                              611856770 2/12/16                .01      16110   3/10/16   192468               02929   3/16
                                              611857152 2/12/16              78.07      45022   3/10/16   192468               02929   3/16
                                              611857152 2/12/16               1.24      45022   3/10/16   192468               02929   3/16
                                              611857154 2/12/16           1,747.69      24510   3/10/16   192468               02929   3/16
                                              611857445 2/12/16             825.45      24510   3/10/16   192468               02929   3/16
                                              611881900 2/15/16              16.70      26860   3/10/16   192468               02929   3/16
                                              611881900 2/15/16                .29      26860   3/10/16   192468               02929   3/16
                                              611881900 2/15/16              27.26      26660   3/10/16   192468               02929   3/16
                                              611881900 2/15/16                .48      26660   3/10/16   192468               02929   3/16
                                              611881900 2/15/16             194.84      16125   3/10/16   192468               02929   3/16
                                              611881900 2/15/16               3.41      16125   3/10/16   192468               02929   3/16
                                              611882388 2/15/16              32.03      26660   3/10/16   192468               02929   3/16
                                              611882568 2/15/16           2,163.50      16110   3/10/16   192468               02929   3/16
                                              611882568 2/15/16               9.52      16110   3/10/16   192468               02929   3/16
                                             611856770A 2/12/16              22.10      24510   3/10/16   192468               02929   3/16
                                             611881900A 2/15/16           1,338.57      24510   3/10/16   192468    9,134.61   02929   3/16
                                              611312868 12/31/15            310.28      24510   3/17/16   192985               03696   3/16
                                              611583907 1/22/16             372.90      24510   3/17/16   192985               03696   3/16
                                              611583908 1/22/16           1,410.89      16110   3/17/16   192985               03696   3/16
                                              611584865 1/22/16             121.80      45060   3/17/16   192985               03696   3/16
                                              611584865 1/22/16               3.52      45060   3/17/16   192985               03696   3/16
                                              611584865 1/22/16              46.75      26230   3/17/16   192985               03696   3/16
                                              611584865 1/22/16               1.35      26230   3/17/16   192985               03696   3/16
                                              611584865 1/22/16              95.11      26220   3/17/16   192985               03696   3/16
                                              611584865 1/22/16               2.75      26220   3/17/16   192985               03696   3/16
                                              611584865 1/22/16             202.35      16125   3/17/16   192985               03696   3/16
                                              611584865 1/22/16               5.85      16125   3/17/16   192985               03696   3/16
                                              611584865 1/22/16                .01      16125   3/17/16   192985               03696   3/16
                                              611584981 1/22/16             150.75      26220   3/17/16   192985               03696   3/16
                                              611584981 1/22/16              14.32      26220   3/17/16   192985               03696   3/16
                                              611914788 2/17/16             121.80      45060   3/17/16   192985               02929   3/16
                                              611914788 2/17/16               1.47      45060   3/17/16   192985               02929   3/16
                                              611914788 2/17/16              20.91      16130   3/17/16   192985               02929   3/16
                                              611914788 2/17/16                .25      16130   3/17/16   192985               02929   3/16
                                              611914788 2/17/16              45.61      16110   3/17/16   192985               02929   3/16
                                              611914788 2/17/16                .55      16110   3/17/16   192985               02929   3/16
                                              611914788 2/17/16                .01      16110   3/17/16   192985               02929   3/16
                                              611952063 2/19/16              42.25      47040   3/17/16   192985               02484   3/16
                                              611952063 2/19/16                .37      47040   3/17/16   192985               02484   3/16
                                              611952063 2/19/16              23.48      26660   3/17/16   192985               02484   3/16
                                              611952063 2/19/16                .21      26660   3/17/16   192985               02484   3/16
                                              611952063 2/19/16             148.88      16125   3/17/16   192985               02484   3/16
                                              611952063 2/19/16               1.32      16125   3/17/16   192985               02484   3/16
                                              611952181 2/19/16           2,778.42      16110   3/17/16   192985               02484   3/16
                                              611952181 2/19/16              19.04      16110   3/17/16   192985               02484   3/16
                                             611584865A 1/22/16              53.55      24510   3/17/16   192985               03696   3/16
                                             611914788A 2/17/16             396.45      24510   3/17/16   192985               02929   3/16
                                             611952063A 2/19/16           1,109.00      24510   3/17/16   192985    7,502.20   02484   3/16
                                              611976675 2/22/16              78.59      26660   3/23/16   193436               02484   3/16
                                              611977237 2/22/16               8.47      16110   3/23/16   193436               02484   3/16
                                              611977328 2/22/16              81.20      45060   3/23/16   193436               02484   3/16
                                              611977328 2/22/16                .62      45060   3/23/16   193436               02484   3/16
                                              611977328 2/22/16              48.83      26220   3/23/16   193436               02484   3/16
                                              611977328 2/22/16                .37      26220   3/23/16   193436               02484   3/16
                                              611977328 2/22/16             478.74      16110   3/23/16   193436               02484   3/16
                                              611977328 2/22/16               3.65      16110   3/23/16   193436               02484   3/16
                                              612042897 2/26/16             121.80      45060   3/23/16   193436               03696   3/16
                                              612042897 2/26/16               2.14      45060   3/23/16   193436               03696   3/16
                                              612042897 2/26/16              58.19      26230   3/23/16   193436               03696   3/16




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APHIST-0472    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     3
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                612042897 2/26/16               1.02 26230 3/23/16 193436                       03696   3/16
                                                612042897 2/26/16             116.86 16125 3/23/16 193436                       03696   3/16
                                                612042897 2/26/16               2.05 16125 3/23/16 193436                       03696   3/16
                                                612042897 2/26/16              17.60 16110 3/23/16 193436                       03696   3/16
                                                612042897 2/26/16                .31 16110 3/23/16 193436                       03696   3/16
                                                612042897 2/26/16                .01 16110 3/23/16 193436                       03696   3/16
                                                612044182 2/26/16             792.63 16110 3/23/16 193436                       03696   3/16
                                                612044647 2/26/16              88.66 26230 3/23/16 193436                       03696   3/16
                                                612044647 2/26/16               8.43 26230 3/23/16 193436                       03696   3/16
                                                612044996 2/26/16           1,292.35 24510 3/23/16 193436                       03696   3/16
                                                612071263 2/29/16           1,139.82 24510 3/23/16 193436                       03808   3/16
                                               611977328A 2/22/16           1,252.45 24510 3/23/16 193436                       02484   3/16
                                               612042897A 2/26/16              53.55 24510 3/23/16 193436                       03696   3/16
                                               612071263A 2/29/16               7.52 26660 3/23/16 193436                       03808   3/16
                                               612071263A 2/29/16                .71 26660 3/23/16 193436           5,656.57    03808   3/16
                                                612071887 2/29/16              53.72 26660 3/31/16 194219                       03367   3/16
                                                612071887 2/29/16                .44 26660 3/31/16 194219                       03367   3/16
                                                612071887 2/29/16              17.54 16125 3/31/16 194219                       03367   3/16
                                                612071887 2/29/16                .14 16125 3/31/16 194219                       03367   3/16
                                                612071887 2/29/16           1,083.33 16110 3/31/16 194219                       03367   3/16
                                                612071887 2/29/16               8.93 16110 3/31/16 194219                       03367   3/16
                                                612071887 2/29/16                .01 16110 3/31/16 194219                       03367   3/16
                                                612141679 3/04/16           1,565.43 24510 3/31/16 194219                       03808   3/16
                                                612142164 3/04/16           3,363.84 16110 3/31/16 194219                       03808   3/16
                                                612142164 3/04/16              19.04 16110 3/31/16 194219                       03808   3/16
                                                612142540 3/04/16             451.09 16125 3/31/16 194219                       03808   3/16
                                                612165581 3/07/16              58.50 26230 3/31/16 194219                       03367   3/16
                                                612165581 3/07/16               5.56 26230 3/31/16 194219                       03367   3/16
                                                612166603 3/07/16              75.99 26230 3/31/16 194219                       03367   3/16
                                                612166603 3/07/16                .22 26230 3/31/16 194219                       03367   3/16
                                                612166603 3/07/16              11.68 16130 3/31/16 194219                       03367   3/16
                                                612166603 3/07/16                .03 16130 3/31/16 194219                       03367   3/16
                                                612166603 3/07/16           2,829.29 16110 3/31/16 194219                       03367   3/16
                                                612166603 3/07/16               8.08 16110 3/31/16 194219                       03367   3/16
                                                612166687 3/07/16              74.89 26660 3/31/16 194219                       03367   3/16
                                                612166687 3/07/16               1.84 26660 3/31/16 194219                       03367   3/16
                                                612167258 3/07/16              48.83 26220 3/31/16 194219                       03367   3/16
                                                612167258 3/07/16               4.64 26220 3/31/16 194219                       03367   3/16
                                                612167260 3/07/16              28.79 26660 3/31/16 194219                       03367   3/16
                                                612167260 3/07/16               1.05 26660 3/31/16 194219                       03367   3/16
                                                612167260 3/07/16              58.19 26230 3/31/16 194219                       03367   3/16
                                                612167260 3/07/16               2.13 26230 3/31/16 194219                       03367   3/16
                                                612167260 3/07/16             139.17 16125 3/31/16 194219                       03367   3/16
                                                612167260 3/07/16               5.09 16125 3/31/16 194219                       03367   3/16
                                               612166687A 3/07/16           1,093.17 24510 3/31/16 194219          11,010.65    03367   3/16
                                                     **********              40,688.43 ***SYSCO  ******S-715****SYSCO

TA-208 TALX      TALX CORP.                       2047762 3/08/16               16.80 60320 3/23/16 689059              16.80   03991    /
                                                     **********                   16.80 ***TALX   *****TA-208****TALX CORP.

TE-405 TETER'    TETER'S FAUCET PARTS CORP        7686925 2/16/16              402.96 66250 3/17/16 688049                     03696   /
                                                  7686925 2/16/16               38.28 66250 3/17/16 688049             441.24 03696    /
                                                     **********                  441.24 ***TETER' *****TE-405****TETER'S FAUCET PARTS CORP

SE-141 THE SEN   THE SENTINEL-RECORD               010263 2/24/16               10.00 45010 3/03/16 686572               10.00 02485     /
                                                   010308 3/02/16               10.00 45010 3/10/16 687289               10.00 03196     /
                                                     **********                   20.00 ***THE SEN *****SE-141****THE SENTINEL-RECORD

TR-059 TRACT     TRACTOR SUPPLY CREDIT PLN         367276 2/24/16              101.27 16105 3/03/16 686642             101.27 02485    /
                                                     **********                  101.27 ***TRACT  *****TR-059****TRACTOR SUPPLY CREDIT PLN

*T-198 TRAVEL    TRAVELCLICK INC               NV00083673 2/29/16              175.00 62200 3/23/16 193442             175.00 03808     3/16
                                                     **********                  175.00 ***TRAVEL ******T-198****TRAVELCLICK INC

TR-130 TROPICAL TROPICAL NUT & FRUIT CO        NV15360823 2/03/16              163.10 16105 3/03/16 686645                      02461   /
                                               NV15360823 2/03/16               24.39 16105 3/03/16 686645              187.49 02461    /
                                                     **********                  187.49 ***TROPICAL*****TR-130****TROPICAL NUT & FRUIT CO



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APHIST-0473    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
TU-077 TURNER    TURNER HOLDINGS LLC            18766504 2/11/16               65.82 16110 3/03/16 686653                     02484      /
                                                18782218 2/12/16              174.00 45010 3/03/16 686653                     02927      /
                                                18816504 2/15/16               65.82 16110 3/03/16 686653                     02484      /
                                                18821300 2/16/16               49.56 24510 3/03/16 686653                     02484      /
                                               18766504A 2/11/16              116.51 24510 3/03/16 686653                     02484      /
                                               18816504A 2/15/16               54.00 24510 3/03/16 686653             525.71 02484       /
                                                18905404 2/22/16               65.82 16110 3/10/16 687329                     02461      /
                                               18905404A 2/22/16              124.09 24510 3/10/16 687329             189.91 02461       /
                                                18993404 2/29/16               44.05 16110 3/23/16 688875                     03808      /
                                                19096104 3/07/16               65.82 16110 3/23/16 688875                     03808      /
                                               18993404A 2/29/16              124.09 24510 3/23/16 688875                     03808      /
                                               19096104A 3/07/16               94.68 24510 3/23/16 688875             328.64 03808       /
                                                19218913 3/17/16              283.68 45010 3/31/16 689655             283.68 03991       /
                                                    **********                1,327.94 ***TURNER *****TU-077****TURNER HOLDINGS LLC

TY-019 TYINC     TY INC                         13596506 2/17/16              358.93 45010 3/17/16 688064              358.93   03696    /
                                                    **********                  358.93 ***TYINC  *****TY-019****TY INC

UH-002 UHAUL     U-HAUL                          4587698 2/24/16               73.61 60530 3/17/16 688065                       03643    /
                                                 4589159 2/29/16              565.17 60530 3/17/16 688065              638.78   03643    /
                                                    **********                  638.78 ***UHAUL  *****UH-002****U-HAUL

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2747736 2/25/16              251.43 45022 3/23/16 688887                      03808   /
                                                 2747736 2/25/16               20.52 45022 3/23/16 688887              271.95 03808    /
                                                    **********                  271.95 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

US-129 USA TODA USA TODAY                     0013055795 2/28/16              185.40 16105 3/23/16 689060              185.40   03911    /
                                                    **********                  185.40 ***USA TODA*****US-129****USA TODAY

VA-065 VALUE     VALUE STREAM                      39403 1/20/16              282.00 66202 3/31/16 689674             282.00    03367    /
                                                    **********                  282.00 ***VALUE  *****VA-065****VALUE STREAM

WA-018 WACASTER WACASTER OIL CO INC                35154 2/05/16              258.00 66110 3/17/16 688081              258.00 03594      /
                                                    **********                  258.00 ***WACASTER*****WA-018****WACASTER OIL CO INC

WA-049 WALMART   WALMART BUSINESS                 024000 2/24/16               29.76 60320 3/03/16 686689                      02485     /
                                                  024000 2/24/16                 .22 60320 3/03/16 686689                      02485     /
                                                  024000 2/24/16              360.00 60070 3/03/16 686689                      02485     /
                                                  024000 2/24/16                2.61 60070 3/03/16 686689                      02485     /
                                                  026658 2/26/16               21.98 60070 3/03/16 686689                      02485     /
                                                  026658 2/26/16                2.75 60070 3/03/16 686689              417.32 02485      /
                                                    **********                  417.32 ***WALMART *****WA-049****WALMART BUSINESS

*W-109 WATS      GRAHAM WATSON                     22516 2/25/16              771.39 60720 3/03/16 191554             771.39 02485      3/16
                                                    **********                  771.39 ***WATS   ******W-109****GRAHAM WATSON

WE-072 WEINER    WEINER'S LTD                    0030358 2/09/16              250.21 45010 3/10/16 687348             250.21    02927    /
                                                 0030588 2/17/16              181.99 45010 3/17/16 688086             181.99    02484    /
                                                 0030826 2/25/16              159.20 45010 3/23/16 688910             159.20    03696    /
                                                 0031012 3/03/16              321.59 45010 3/31/16 689688             321.59    03808    /
                                                    **********                  912.99 ***WEINER *****WE-072****WEINER'S LTD

WI-138 WINDSTRE WINDSTREAM COMMUNICATIONS       15157955 2/20/16               32.37 35901 3/03/16 686704                      02570   /
                                                15157955 2/20/16              625.83 35030 3/03/16 686704              658.20 02570    /
                                                15234519 3/20/16               33.43 35901 3/31/16 689697                      03502   /
                                                15234519 3/20/16              639.23 35030 3/31/16 689697              672.66 03502    /
                                                    **********                1,330.86 ***WINDSTRE*****WI-138****WINDSTREAM COMMUNICATIONS

WO-103 WORLD CI WORLD CINEMA INC              **S4854 03 4/01/16           3,274.74 16425 3/31/16 689836                      02342      /
                                              **S4854 03 4/01/16             311.10 16425 3/31/16 689836            3,585.84 02342       /
                                                    **********               3,585.84 ***WORLD CI*****WO-103****WORLD CINEMA INC




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APHIST-0474   3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                       PAGE    1
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                   DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #   CHK. AMT. BATCH # CLRD
*W-011 WTS IN   WTS INTERNATIONAL INC        C000038350 3/01/16              300.00 45022 3/23/16 193458             300.00 03808 3/16
                                                   **********                  300.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80795              642,114.58




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APHIST-0404    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE    1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AV-034 A/V ARK   A/V ARKANSAS                       91226 4/05/16               70.50 47050 4/28/16 692058                       04841   /
                                                    91226 4/05/16                6.36 47050 4/28/16 692058                       04841   /
                                                    91226 4/05/16               70.00 46090 4/28/16 692058              146.86   04841   /
                                                     **********                  146.86 ***A/V ARK *****AV-034****A/V ARKANSAS

AR-056 ARANDS    ARANDS CORP                        42504 3/17/16               32.50 45010 4/07/16 689869                       03911   /
                                                    42555 3/18/16              195.00 45010 4/07/16 689869                       03911   /
                                                    42607 3/19/16               39.00 45010 4/07/16 689869                       03911   /
                                                    42687 3/23/16               78.00 45010 4/07/16 689869                       03911   /
                                                    42743 3/21/16               84.50- 45010 4/07/16 689869                      03911   /
                                                    42787 3/24/16               65.00 45010 4/07/16 689869                       03911   /
                                                    42838 3/25/16              117.00 45010 4/07/16 689869                       03911   /
                                                    42943 3/28/16               39.00- 45010 4/07/16 689869            403.00    03911   /
                                                    42895 3/30/16               45.50 45010 4/21/16 691278                       04288   /
                                                    42990 3/31/16               52.00 45010 4/21/16 691278                       04288   /
                                                    43041 4/01/16              162.50 45010 4/21/16 691278                       04288   /
                                                    43092 4/02/16               52.00 45010 4/21/16 691278                       04288   /
                                                    43189 4/04/16              149.50- 45010 4/21/16 691278            162.50    04288   /
                                                    43142 4/05/16               26.00 45010 4/28/16 692036                       04927   /
                                                    43237 4/06/16               32.50 45010 4/28/16 692036                       04927   /
                                                    43290 4/07/16               65.00 45010 4/28/16 692036                       04927   /
                                                    43340 4/08/16              162.50 45010 4/28/16 692036                       04927   /
                                                    43449 4/12/16               39.00 45010 4/28/16 692036                       04927   /
                                                    43476 4/11/16              149.50- 45010 4/28/16 692036                      04927   /
                                                    43545 4/13/16               97.50 45010 4/28/16 692036                       04927   /
                                                    43595 4/14/16              260.00 45010 4/28/16 692036                       04927   /
                                                    43646 4/15/16              390.00 45010 4/28/16 692036                       04927   /
                                                    43708 4/18/16              338.00- 45010 4/28/16 692036            585.00    04927   /
                                                     **********                1,150.50 ***ARANDS *****AR-056****ARANDS CORP

AR-169 ARCADIA   ARCADIA PUBLISHING              20705941 3/31/16              358.88 45010 4/28/16 692039              358.88 04841     /
                                                     **********                  358.88 ***ARCADIA *****AR-169****ARCADIA PUBLISHING

AR-158 ARCOM     ARCOM SYSTEMS                      75304 3/31/16               12.00 66110 4/28/16 692038              12.00 04497      /
                                                     **********                   12.00 ***ARCOM  *****AR-158****ARCOM SYSTEMS

AR-009 ARKANSAS ARKANSAS RECORDS MGMT INC            5547 3/31/16              275.00 60710 4/21/16 691276              275.00 04288    /
                                                     **********                  275.00 ***ARKANSAS*****AR-009****ARKANSAS RECORDS MGMT INC

AR-021 ARKANSAS ARKANSAS DEMOCRAT GAZETTE          378044 3/29/16                9.00 45010 4/07/16 689868                9.00 03911    /
                                                   010357 4/03/16               10.00 45010 4/21/16 691277                      04288   /
                                                   378065 4/03/16                9.00 45010 4/21/16 691277                      04288   /
                                                   378091 4/12/16                9.00 45010 4/21/16 691277               28.00 04672    /
                                                   378078 4/19/16               10.00 45010 4/28/16 692035               10.00 04927    /
                                                     **********                   47.00 ***ARKANSAS*****AR-021****ARKANSAS DEMOCRAT GAZETTE

AS-024 ASAE      ASAE (AR SOCIE.ASSN.EXEC)          41116 4/11/16              450.00 62850 4/21/16 691290             450.00 04672    /
                                                     **********                  450.00 ***ASAE   *****AS-024****ASAE (AR SOCIE.ASSN.EXEC)

AS-020 ASAP      ASAP-CHARLES ROBERTSON             61615 3/25/16              48.00- 24520 4/07/16 690558                     03911    /
                                                    61615 3/25/16             389.59 16021 4/07/16 690558                      03911    /
                                                    61615 3/25/16           2,034.82 16020 4/07/16 690558                      03911    /
                                                    61669 4/01/16             171.20 16021 4/07/16 690558                      03911    /
                                                    61669 4/01/16           1,732.27 16020 4/07/16 690558            4,279.88 03911     /
                                                    61545 3/18/16              32.00- 24520 4/21/16 691854                     04672    /
                                                    61545 3/18/16             755.88 16021 4/21/16 691854                      04672    /
                                                    61545 3/18/16           1,996.32 16020 4/21/16 691854                      04672    /
                                                    61731 4/08/16              16.00- 24520 4/21/16 691854                     04672    /
                                                    61731 4/08/16           1,774.03 16020 4/21/16 691854                      04672    /
                                                    61802 4/15/16              16.00- 24520 4/21/16 691854                     04672    /
                                                    61802 4/15/16           1,839.87 16020 4/21/16 691854            6,302.10 04672     /
                                                    61915 4/22/16           2,160.22 16020 4/28/16 692704            2,160.22 04927     /
                                                     **********              12,742.20 ***ASAP    *****AS-020****ASAP-CHARLES ROBERTSON




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APHIST-0405    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
AS-007 ASHBY     ASHBY ST OUTDOOR LLC              22943 4/01/16               495.00 62400 4/28/16 692045             495.00 04841       /
                                                    **********                   495.00 ***ASHBY  *****AS-007****ASHBY ST OUTDOOR LLC

AT-046 AT&T      AT&T                         1939492999 4/11/16                  .56 35901 4/28/16 692052                       04028    /
                                              1939492999 4/11/16               178.17 35030 4/28/16 692052              178.73   04028    /
                                                    **********                   178.73 ***AT&T   *****AT-046****AT&T

AT-215 AT&T      AT&T MOBILITY                7X04032016 3/25/16                19.83 35901 4/07/16 689886                     04023      /
                                              7X04032016 3/25/16               274.81 35031 4/07/16 689886             294.64 04023       /
                                                    **********                   294.64 ***AT&T   *****AT-215****AT&T MOBILITY

BG-017 B & G     B & G OUTDOOR                   3180416 3/27/16               250.00 62400 4/28/16 692072             250.00 04841       /
                                                    **********                   250.00 ***B & G  *****BG-017****B & G OUTDOOR

*B-018 BANK      BANK OF AMERICA               APR16LOAN 4/25/16          130,535.57 86700 4/27/16 196507                     04035      4/16
                                               APR16LOAN 4/25/16           36,924.58 02820 4/27/16 196507                     04035      4/16
                                               APR16LOAN 4/25/16           17,716.53 01095 4/27/16 196507         185,176.68 04035       4/16
                                                    **********              185,176.68 ***BANK   ******B-018****BANK OF AMERICA

BE-047 BEAUTYPR BEAUTY PROPHET LLC                 33211 4/01/16               642.00 45022 4/28/16 692066                      04841     /
                                                   33211 4/01/16                62.97 45022 4/28/16 692066                      04841     /
                                                   33212 4/01/16               366.00 45022 4/28/16 692066            1,070.97 04841      /
                                                    **********                 1,070.97 ***BEAUTYPR*****BE-047****BEAUTY PROPHET LLC

BE-155 BEST BUY BEST BUY BUSINESS              628786387 3/17/16               161.49 66150 4/14/16 690757                      03367     /
                                               628786387 3/17/16                15.34 66150 4/14/16 690757              176.83 03367      /
                                                    **********                   176.83 ***BEST BUY*****BE-155****BEST BUY BUSINESS

CA-114 CARROLL   CARROLL BUSINESS SYS INC      2124680IN 3/29/16               170.00 47040 4/28/16 692092                      04841   /
                                               2124680IN 3/29/16                32.84 47040 4/28/16 692092                      04841   /
                                               2124680IN 3/29/16                19.26 47040 4/28/16 692092              222.10 04841    /
                                                    **********                   222.10 ***CARROLL *****CA-114****CARROLL BUSINESS SYS INC

CE-098 CENTURY   CENTURYLINK                  1372167206 4/11/16                77.65 35901 4/21/16 691345                       04575    /
                                              1372167206 4/11/16               809.47 35030 4/21/16 691345              887.12   04575    /
                                                    **********                   887.12 ***CENTURY *****CE-098****CENTURYLINK

CH-194 CHEM      CHEMAQUA                        2254790 3/21/16            1,069.59 66160 4/07/16 689930                        03866    /
                                                 2254790 3/21/16              101.61 66160 4/07/16 689930           1,171.20     03866    /
                                                    **********                1,171.20 ***CHEM   *****CH-194****CHEMAQUA

CH-078 CHURC     CHURHILL'S FINE CIGARS &         614033 4/12/16                61.00 45010 4/21/16 691352              61.00 04672    /
                                                    **********                    61.00 ***CHURC  *****CH-078****CHURHILL'S FINE CIGARS &

*C-411 CINTAS    CINTAS CORP                     2072061 12/21/15              560.75 16800 4/07/16 194482                       03911   4/16
                                                 2072061 12/21/15               21.45 16800 4/07/16 194482                       03911   4/16
                                                 2072061 12/21/15               53.28 16800 4/07/16 194482             635.48    03911   4/16
                                                 2280547 3/19/16               383.78 26820 4/28/16 196622                       04828   4/16
                                                 2280547 3/19/16                19.35 26820 4/28/16 196622                       04828   4/16
                                                 2280547 3/19/16                36.47 26820 4/28/16 196622                       04828   4/16
                                                 2312920 3/31/16               305.68 16800 4/28/16 196622                       04828   4/16
                                                 2312920 3/31/16                18.75 16800 4/28/16 196622                       04828   4/16
                                                 2312920 3/31/16                29.04 16800 4/28/16 196622                       04828   4/16
                                                 2316136 4/01/16               224.88 26820 4/28/16 196622                       04828   4/16
                                                 2316136 4/01/16                16.75 26820 4/28/16 196622                       04828   4/16
                                                 2316136 4/01/16                21.37 26820 4/28/16 196622           1,056.07    04828   4/16
                                                    **********                 1,691.55 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS    CINTAS CORP.                  570203244     3/02/16            96.74     26260   4/07/16   689943               03866    /
                                               570203244     3/02/16            44.00     16850   4/07/16   689943               03866    /




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APHIST-0406    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               570206214 3/09/16                96.74 26260 4/07/16 689943                       03866    /
                                               570206214 3/09/16                44.00 16850 4/07/16 689943                       03866    /
                                               570209181 3/16/16                96.74 26260 4/07/16 689943                       03866    /
                                               570209181 3/16/16                44.00 16850 4/07/16 689943                       03866    /
                                               570212189 3/23/16                96.74 26260 4/07/16 689943                       03866    /
                                               570212189 3/23/16                44.00 16850 4/07/16 689943                       03866    /
                                               570215228 3/30/16                96.74 26260 4/07/16 689943                       03866    /
                                               570215228 3/30/16                44.00 16850 4/07/16 689943             703.70    03866    /
                                                    **********                   703.70 ***CINTAS *****CI-352****CINTAS CORP.

*C-624 CONT      CONTINUUM RETAIL ENERGY      5016035761 4/19/16            6,306.33 64200 4/28/16 196638                     04837 4/16
                                              5016035761 4/19/16              327.24 64200 4/28/16 196638           6,633.57 04837 4/16
                                                    **********                6,633.57 ***CONT   ******C-624****CONTINUUM RETAIL ENERGY

CO-492 CONVOY    CONVOY OF HOPE               INSA041601 4/14/16               173.00 02042 4/15/16 911821             173.00 00000       /
                                                    **********                   173.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMO     COSMOPROF                    0000411034 3/19/16                56.95 45022 4/14/16 690802                       03367    /
                                              0000411034 3/19/16                 5.41 45022 4/14/16 690802              62.36    03367    /
                                              0000411357 3/25/16                50.20 45022 4/21/16 691377                       03866    /
                                              0000411357 3/25/16                 4.77 45022 4/21/16 691377              54.97    03866    /
                                                    **********                   117.33 ***COSMO  *****CO-556****COSMOPROF

DE-366 DELAW     DELAWARE SECRETARY OF          DELFRAN4 4/22/16               300.00 85850 4/22/16 911928             300.00 04783    /
                                                    **********                   300.00 ***DELAW  *****DE-366****DELAWARE SECRETARY OF

*D-002 DEPART    DEPARTMENT OF FINANCE        SLST0416    4/14/16           2,207.41- 85960 4/15/16 195894                       00000 4/16
                                              SLST0416    4/14/16              27.58 35901 4/15/16 195894                        00000 4/16
                                              SLST0416    4/14/16           9,883.62 02060 4/15/16 195894                        00000 4/16
                                              SLST0416    4/14/16         119,549.24 02059 4/15/16 195894                        00000 4/16
                                              SLST0416    4/14/16           2,466.97 02058 4/15/16 195894         129,720.00     00000 4/16
                                                    **********              129,720.00 ***DEPART ******D-002****DEPARTMENT OF    FINANCE

DE-282 DEPART    DEPARTMENT OF FINANCE        NOTICE0216 4/13/16               106.79 85960 4/13/16 911754             106.79 04237    /
                                                    **********                   106.79 ***DEPART *****DE-282****DEPARTMENT OF FINANCE

DE-414 DERM      DERMALOGICA INC                16036366 3/16/16            1,723.24 45022 4/14/16 690819           1,723.24 03866        /
                                                    **********                1,723.24 ***DERM   *****DE-414****DERMALOGICA INC

DO-046 DOCU      DFI-TOTAL BUSINESS SOLU.       16031358 3/28/16                96.00 60550 4/21/16 691406                     04497   /
                                                16031358 3/28/16                16.02 60550 4/21/16 691406             112.02 04497    /
                                                    **********                   112.02 ***DOCU   *****DO-046****DFI-TOTAL BUSINESS SOLU.

*E-091 ECOL      ECOLAB INC                      1229300 3/14/16                21.00 16850 4/07/16 194556                       03866   4/16
                                                 1229300 3/14/16                 4.83 16850 4/07/16 194556                       03866   4/16
                                                 1229300 3/14/16                 2.46 16850 4/07/16 194556              28.29    03866   4/16
                                                    **********                    28.29 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 10 4/04/16                79.95 35895 4/14/16 195502              79.95 03138 4/16
                                                    **********                    79.95 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                     19059099     3/22/16             5.32     26860   4/14/16   195499               03866   4/16
                                                19059099     3/22/16              .50     26860   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            62.87     26660   4/14/16   195499               03866   4/16
                                                19059099     3/22/16             5.98     26660   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            45.81     26180   4/14/16   195499               03866   4/16
                                                19059099     3/22/16             4.35     26180   4/14/16   195499               03866   4/16
                                                19059099     3/22/16           281.52     16130   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            26.75     16130   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            66.22     16125   4/14/16   195499               03866   4/16
                                                19059099     3/22/16             6.29     16125   4/14/16   195499      505.61   03866   4/16




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APHIST-0407    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
                                               17683613A 4/21/15              559.19 26180 4/21/16 196143             559.19    04497   4/16
                                                19048492 3/18/16               29.05 26860 4/28/16 196659                       04828   4/16
                                                19048492 3/18/16               24.16 26860 4/28/16 196659                       04828   4/16
                                                19048492 3/18/16                5.05 26860 4/28/16 196659                       04828   4/16
                                                19055506 3/21/16               94.68 26660 4/28/16 196659                       04828   4/16
                                                19055506 3/21/16               64.86 26660 4/28/16 196659                       04828   4/16
                                                19055506 3/21/16               15.16 26660 4/28/16 196659                       04828   4/16
                                                19081202 3/28/16               63.59 26820 4/28/16 196659                       04828   4/16
                                                19081202 3/28/16                9.82 26820 4/28/16 196659                       04828   4/16
                                                19081202 3/28/16                6.97 26820 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16               38.61 26860 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                5.96 26860 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                4.23 26860 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16               51.14 26820 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                7.90 26820 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                5.61 26820 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16               34.56 26660 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16                3.22 26660 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16               99.77 26180 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16                9.28 26180 4/28/16 196659                       04828   4/16
                                                19092981 3/30/16               28.90 26860 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                2.74 26860 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               24.05 26820 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                2.28 26820 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16              124.21 26660 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               11.80 26660 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16              305.77 16130 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               29.05 16130 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               85.57 16125 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                8.13 16125 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                 .01 16125 4/28/16 196659                       04928   4/16
                                                80222001 1/22/16               43.77- 26860 4/28/16 196659                      04828   4/16
                                                80222001 1/22/16                4.15- 26860 4/28/16 196659          1,148.21    04828   4/16
                                                    **********                2,213.01 ***EDWARD ******D-210****EDWARD DON

EL-072 ELEVAT    ELEVATOR SAFETY                  AR7736 4/08/16              280.00 66110 4/28/16 692214             280.00 04841       /
                                                    **********                  280.00 ***ELEVAT *****EL-072****ELEVATOR SAFETY

*E-036 ELLIS     STACEY ELLIS                      40116 4/01/16              196.41 62830 4/07/16 194537                       04023   4/16
                                                   40116 4/01/16               90.00 45022 4/07/16 194537             286.41    04023   4/16
                                                    **********                  286.41 ***ELLIS  ******E-036****STACEY ELLIS

EM-009 EMBASSY   HILTON HOTELS CORP           0012144911 3/31/16          15,795.99 02008 4/14/16 691244                        04245    /
                                              0012144911 3/31/16          26,326.65 02007 4/14/16 691244                        04245    /
                                              0012144911 3/31/16          42,122.64 02006 4/14/16 691244           84,245.28    04245    /
                                                    **********              84,245.28 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

*E-079 ENTERG    ENTERGY                      0000983274 3/29/16          17,307.71 64100 4/07/16 194538                        03690   4/16
                                              0000983274 3/29/16           1,633.56 64100 4/07/16 194538          18,941.27     03690   4/16
                                              0003121275 3/29/16           3,254.01 64100 4/07/16 194539                        03690   4/16
                                              0003121275 3/29/16             307.22 64100 4/07/16 194539           3,561.23     03690   4/16
                                                    **********              22,502.50 ***ENTERG ******E-079****ENTERGY

ER-033 ERC       ERC WIPING PRODUCTS INC          539702 3/24/16              384.00 16850 4/21/16 691423                     03866   /
                                                  539702 3/24/16               89.00 16850 4/21/16 691423             473.00 03866    /
                                                  540529 3/31/16              398.00 26860 4/28/16 692218                     04828   /
                                                  540529 3/31/16               89.00 26860 4/28/16 692218             487.00 04828    /
                                                    **********                  960.00 ***ERC    *****ER-033****ERC WIPING PRODUCTS INC

EX-083 EXPRESS   EXPRESS SERVICES INC          170551907 3/16/16           1,335.98 66015 4/07/16 690705                      03911      /
                                               170551915 3/16/16              16.00- 24520 4/07/16 690705                     03911      /
                                               170757595 3/23/16             584.60 66015 4/07/16 690705                      03911      /
                                               170757603 3/23/16              16.00- 24520 4/07/16 690705                     03911      /
                                               171161839 3/30/16             366.74 66015 4/07/16 690705            2,255.32 03911       /
                                               171445448 4/06/16             589.32 66015 4/21/16 691885                      04672      /
                                               171695737 4/13/16             592.57 66015 4/21/16 691885            1,181.89 04672       /
                                                    **********               3,437.21 ***EXPRESS *****EX-083****EXPRESS SERVICES INC



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APHIST-0408    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
FA-079 FARMER    FARMERS SEAFOOD CO              1505219 3/31/16               154.50 24510 4/28/16 692228             154.50 04828       /
                                                    **********                   154.50 ***FARMER *****FA-079****FARMERS SEAFOOD CO

FE-097 FEDEX     FEDEX                         536234374 3/24/16                59.15 60590 4/07/16 690707              59.15    03911    /
                                               536948130 3/31/16                59.02 60590 4/21/16 691997                       04288    /
                                               537687851 4/07/16               115.62 60590 4/21/16 691997             174.64    04672    /
                                               538448626 4/14/16                60.38 60590 4/28/16 692837              60.38    04927    /
                                                    **********                   294.17 ***FEDEX  *****FE-097****FEDEX

*F-155 FIRST     FIRSTSTAFF INC                    60944 3/13/16              751.85 66015 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16              562.14 26870 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16              764.96 26015 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16               16.00- 24520 4/07/16 194569                      03911    4/16
                                                   60944 3/13/16              160.49 16030 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16            1,060.30 16021 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16            2,129.53 16020 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16              596.78 66015 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16              724.79 26028 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16            1,066.18 26015 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16               32.00- 24520 4/07/16 194569                      03911    4/16
                                                   61022 3/20/16              662.36 16030 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16            1,799.66 16021 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16            1,849.94 16020 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16              570.62 66015 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16              984.10 26015 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16              415.15 16030 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16            1,588.43 16021 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16            2,428.25 16020 4/07/16 194569           18,067.53 03911      4/16
                                                   61173 4/03/16              545.71 66015 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16              707.47 26028 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16            1,115.32 26015 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16               32.00- 24520 4/21/16 196164                      04672    4/16
                                                   61173 4/03/16              425.09 16030 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16            1,152.11 16021 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16            2,410.37 16020 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16              539.76 66015 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16              631.08 26028 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16            1,017.90 26015 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16               16.00- 24520 4/21/16 196164                      04672    4/16
                                                   61252 4/10/16              228.20 16030 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16            1,357.64 16021 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16            2,699.84 16020 4/21/16 196164           12,782.49 04672      4/16
                                                   61344 4/17/16              546.26 66015 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16              169.18 26028 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16              958.82 26015 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16               32.00- 24520 4/28/16 196694                      04927    4/16
                                                   61344 4/17/16              354.56 16030 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16            1,244.04 16021 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16            3,174.69 16020 4/28/16 196694            6,415.55 04927      4/16
                                                    **********               37,265.57 ***FIRST   ******F-155****FIRSTSTAFF INC

FL-110 FLOWERS   FLOWERS AND HOME                   5535 3/12/16                82.13 16105 4/21/16 691443               82.13 04288      /
                                                    **********                    82.13 ***FLOWERS *****FL-110****FLOWERS AND HOME

FR-054 FRESHPO   FRESHPOINT                       570063     3/09/16            12.11     16125   4/07/16   690079               03367    /
                                                  570063     3/09/16            22.80     16110   4/07/16   690079               03367    /
                                                  570296     3/11/16            24.57     16125   4/07/16   690079               03367    /
                                                  570296     3/11/16           126.20     16110   4/07/16   690079               03367    /
                                                  570477     3/12/16            44.78     16125   4/07/16   690079               03367    /
                                                  570477     3/12/16            22.80     16110   4/07/16   690079               03367    /
                                                  570593     3/14/16            12.44     16125   4/07/16   690079               03367    /
                                                  570593     3/14/16           124.50     16110   4/07/16   690079               03367    /
                                                 570063A     3/09/16            31.00     24510   4/07/16   690079               03367    /
                                                 570296A     3/11/16            56.92     24510   4/07/16   690079               03367    /
                                                 570477A     3/12/16            96.13     24510   4/07/16   690079               03367    /
                                                 570593A     3/14/16           107.31     24510   4/07/16   690079      681.56   03367    /
                                                  570791     3/16/16            25.74     16125   4/14/16   690864               03367    /
                                                  570791     3/16/16           167.34     16110   4/14/16   690864               03367    /




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APHIST-0409    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                  571042 3/17/16               17.48 16125 4/14/16 690864                       03367    /
                                                  571042 3/17/16               73.94 16110 4/14/16 690864                       03367    /
                                                  571206 3/19/16               31.97 16125 4/14/16 690864                       03866    /
                                                  571206 3/19/16              104.16 16110 4/14/16 690864                       03866    /
                                                  571311 3/21/16               31.97 16125 4/14/16 690864                       03866    /
                                                  571311 3/21/16               98.91 16110 4/14/16 690864                       03866    /
                                                 570791A 3/16/16              180.43 24510 4/14/16 690864                       03367    /
                                                 571042A 3/17/16              148.04 24510 4/14/16 690864                       03367    /
                                                 571206A 3/19/16              217.84 24510 4/14/16 690864                       03866    /
                                                 571311A 3/21/16               78.56 24510 4/14/16 690864            1,176.38   03866    /
                                                  571510 3/23/16               37.98 16125 4/21/16 691454                       03866    /
                                                  571510 3/23/16               19.34 16110 4/21/16 691454                       03866    /
                                                  571726 3/25/16               32.94 16125 4/21/16 691454                       03866    /
                                                  571726 3/25/16              127.80 16110 4/21/16 691454                       03866    /
                                                  571889 3/26/16               49.31 16125 4/21/16 691454                       03866    /
                                                  571889 3/26/16               96.70 16110 4/21/16 691454                       03866    /
                                                  572003 3/28/16               36.81 16125 4/21/16 691454                       03866    /
                                                  572003 3/28/16               20.04 16110 4/21/16 691454                       03866    /
                                                 571510A 3/23/16               60.57 24510 4/21/16 691454                       03866    /
                                                 571726A 3/25/16               58.10 24510 4/21/16 691454                       03866    /
                                                 571889A 3/26/16              159.66 24510 4/21/16 691454                       03866    /
                                                 572003A 3/28/16              116.62 24510 4/21/16 691454              815.87   03866    /
                                                  562388 12/18/15              16.29 16125 4/28/16 692253                       04828    /
                                                  562388 12/18/15              94.88 16110 4/28/16 692253                       04828    /
                                                  564062 1/08/16                5.04 16125 4/28/16 692253                       04828    /
                                                  564062 1/08/16               46.14 16110 4/28/16 692253                       04828    /
                                                  564996 1/18/16               15.60 16125 4/28/16 692253                       04828    /
                                                  564996 1/18/16               44.68 16110 4/28/16 692253                       04828    /
                                                  572217 3/30/16               35.43 16125 4/28/16 692253                       03866    /
                                                  572217 3/30/16               73.93 16110 4/28/16 692253                       03866    /
                                                  572449 4/01/16               36.81 16125 4/28/16 692253                       04828    /
                                                  572449 4/01/16              191.00 16110 4/28/16 692253                       04828    /
                                                  572754 4/04/16               65.11 16125 4/28/16 692253                       04828    /
                                                  572754 4/04/16               96.16 16110 4/28/16 692253                       04828    /
                                                  572755 4/04/16               20.04 16110 4/28/16 692253                       04828    /
                                                 562388A 12/18/15              96.36 24510 4/28/16 692253                       04828    /
                                                 564062A 1/08/16               36.69 24510 4/28/16 692253                       04828    /
                                                 564996A 1/18/16              108.53 24510 4/28/16 692253                       04828    /
                                                 572217A 3/30/16               98.58 24510 4/28/16 692253                       03866    /
                                                 572449A 4/01/16              183.23 24510 4/28/16 692253                       04828    /
                                                 572754A 4/04/16              221.50 24510 4/28/16 692253            1,486.00   04828    /
                                                    **********                4,159.81 ***FRESHPO *****FR-054****FRESHPOINT

FR-019 FRITO     FRITO-LAY INC                  66248399 3/15/16              173.70 45010 4/07/16 690076             173.70 03991       /
                                                66248483 3/22/16               96.13 45010 4/14/16 690862              96.13 03866       /
                                                66248569 3/29/16               79.27 45010 4/21/16 691449              79.27 03866       /
                                                    **********                  349.10 ***FRITO  *****FR-019****FRITO-LAY INC

*N-134 GARD      NATHAN GARD                       33016 3/30/16               59.93 16130 4/07/16 195035                       03911   4/16
                                                   33016 3/30/16              161.09 16110 4/07/16 195035             221.02    03911   4/16
                                                    **********                  221.02 ***GARD   ******N-134****NATHAN GARD

GA-262 GARDA     GARDA CL SOUTHWEST INC         10189540 4/01/16              320.66 60135 4/28/16 692265                     04841    /
                                                10189540 4/01/16               30.46 60135 4/28/16 692265             351.12 04841     /
                                                    **********                  351.12 ***GARDA  *****GA-262****GARDA CL SOUTHWEST INC

GR-013 GRAINGER GRAINGER                      9064733216 3/25/16              589.48 66202 4/21/16 691476                       03866    /
                                              9064733216 3/25/16               56.00 66202 4/21/16 691476              645.48   03866    /
                                                    **********                  645.48 ***GRAINGER*****GR-013****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7021664 11/30/15             74.51      16400   4/07/16   194593               03866   4/16
                                                 7247195 3/11/16             148.50      16500   4/07/16   194593               03367   4/16
                                                 7247195 3/11/16              14.11      16500   4/07/16   194593      237.12   03367   4/16
                                                 7257469 3/16/16              40.40      16850   4/14/16   195528               03367   4/16
                                                 7257469 3/16/16               3.25      16850   4/14/16   195528               03367   4/16
                                                 7257469 3/16/16           1,587.61      16400   4/14/16   195528               03367   4/16
                                                 7257469 3/16/16             127.53      16400   4/14/16   195528               03367   4/16




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APHIST-0410   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     3
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                        INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                  7257469 3/16/16             901.42 16250 4/14/16 195528                      03367     4/16
                                                  7257469 3/16/16              72.41 16250 4/14/16 195528                      03367     4/16
                                                  7257469 3/16/16                .02- 16250 4/14/16 195528           2,732.60 03367      4/16
                                                  7247193 3/11/16             148.50 16500 4/21/16 196184                      04497     4/16
                                                  7247193 3/11/16              14.11 16500 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16             226.08 16500 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16              21.47 16500 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16             120.92 16400 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16              11.49 16400 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              61.74 16850 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16               5.00 16850 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16             681.90 16500 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              55.27 16500 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16             910.42 16400 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              73.78 16400 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16             306.23 16250 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              24.82 16250 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16                .01 16250 4/21/16 196184                      04497     4/16
                                                  7286619 3/29/16             119.60 16400 4/21/16 196184                      04497     4/16
                                                  7286619 3/29/16              11.35 16400 4/21/16 196184            2,792.69 04497      4/16
                                                  7292637 3/31/16              73.10 16400 4/28/16 196711                      04497     4/16
                                                  7292637 3/31/16               6.95 16400 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16              16.13 16850 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16               1.53 16850 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16              34.90 16400 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16               3.31 16400 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16              71.92 16850 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16               6.78 16850 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16           2,302.35 16400 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16             216.65 16400 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16             691.03 16250 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16              65.01 16250 4/28/16 196711                      04497     4/16
                                                  7296889 4/04/16             120.92- 16400 4/28/16 196711                     04497     4/16
                                                  7296889 4/04/16              11.48- 16400 4/28/16 196711           3,357.26 04497      4/16
                                                     **********               9,119.67 ***GUEST   ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES          9144338957 3/15/16              342.53 66651 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               32.54 66651 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16              156.14 66250 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               14.83 66250 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16              222.56 66130 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               21.15 66130 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16              108.43 66120 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               10.30 66120 4/07/16 194633              908.48 03866     4/16
                                               9144489445 3/22/16              611.83 66160 4/14/16 195558                      03866    4/16
                                               9144489445 3/22/16               58.12 66160 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16               10.21 66255 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16                 .97 66255 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16               23.76 66160 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16                2.26 66160 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16               92.92 66120 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16                8.83 66120 4/14/16 195558              808.90 03866     4/16
                                               9144536251 3/23/16              252.18 66250 4/21/16 196222                      03866    4/16
                                               9144536251 3/23/16               23.96 66250 4/21/16 196222              276.14 03866     4/16
                                               9144747213 4/01/16               11.40 66520 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16                1.08 66520 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16              146.38 66120 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16               13.91 66120 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16               62.40 66110 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16                5.93 66110 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16               10.22 66120 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16                 .97 66120 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16               35.26 66110 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16                3.34 66110 4/28/16 196756              290.89 04841     4/16
                                                     **********                2,284.41 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-295 HERITA    HERITAGE FOOD SERVICE GRP     03540245IN 3/24/16               28.60 66202 4/21/16 196206                       04497 4/16
                                               03540245IN 3/24/16               16.12 66202 4/21/16 196206                       04497 4/16
                                               03540245IN 3/24/16                4.25 66202 4/21/16 196206              48.97    04497 4/16
                                                     **********                   48.97 ***HERITA ******H-295****HERITAGE FOOD   SERVICE GRP




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                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*H-175 HILTON    HILTON HOTELS CORPORATION       16474983 3/25/16             100.00 14030 4/07/16 194608                       03911 4/16
                                                 16487243 3/25/16             215.00 14030 4/07/16 194608                       03911 4/16
                                                 16487377 3/25/16             215.00 14030 4/07/16 194608             530.00    03911 4/16
                                                   654712 3/31/16           3,143.60- 62249 4/14/16 195542                      04275 4/16
                                               0012142490 3/31/16             430.50 62625 4/14/16 195542                       04275 4/16
                                               0012148552 3/31/16           2,631.35 62200 4/14/16 195542                       04275 4/16
                                               0012148552 3/31/16           8,330.26 16300 4/14/16 195542           8,248.51    04275 4/16
                                               0012152841 4/11/16           4,964.10 62650 4/21/16 196199           4,964.10    04672 4/16
                                                     **********              13,742.61 ***HILTON ******H-175****HILTON HOTELS   CORPORATION

HO-057 HOT       HOT SPRINGS METRO                   1663 3/10/16           1,000.00 60310 4/21/16 691511           1,000.00 04672       /
                                                     **********               1,000.00 ***HOT    *****HO-057****HOT SPRINGS METRO

HO-065 HOT       HOT SPRINGS NATURAL                 6070 4/11/16              146.20 45010 4/28/16 692312             146.20 04927      /
                                                     **********                  146.20 ***HOT    *****HO-065****HOT SPRINGS NATURAL

*H-270 HOT S     HOT SPRINGS MUNICIPAL UTI       41628600 4/21/16           1,051.20 66325 4/28/16 196731                     04837 4/16
                                                 41628600 4/21/16              35.60 66325 4/28/16 196731                     04837 4/16
                                                 41628600 4/21/16           8,575.95 64500 4/28/16 196731                     04837 4/16
                                                 41628600 4/21/16             290.41 64500 4/28/16 196731           9,953.16 04837 4/16
                                                 41628700 4/21/16              59.65 64500 4/28/16 196732                     04837 4/16
                                                 41628700 4/21/16               5.64 64500 4/28/16 196732              65.29 04837 4/16
                                                     **********              10,018.45 ***HOT S  ******H-270****HOT SPRINGS MUNICIPAL UTI

*H-003 HOT SP    HOT SPRINGS EMBASSY           D037951105 3/31/16              175.00 60721 4/07/16 194596                     03837    4/16
                                               D037951105 3/31/16              190.00 60310 4/07/16 194596                     03837    4/16
                                               D037951984 3/31/16              366.94 24510 4/07/16 194596                     03837    4/16
                                               D037952554 3/31/16               79.03 66520 4/07/16 194596                     03911    4/16
                                               D037952554 3/31/16              156.99 66120 4/07/16 194596                     03911    4/16
                                               D037952554 3/31/16              117.95 24510 4/07/16 194596           1,085.91 03911     4/16
                                               D047953026 4/08/16               21.87 66651 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               21.86 66520 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               14.25 66120 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               32.65 45022 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16              130.00 45010 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16                3.31 24510 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               18.62 16105 4/14/16 195535                     04173    4/16
                                               D047956623 4/08/16              175.00 60721 4/14/16 195535                     04173    4/16
                                               D047956623 4/08/16              124.88 14030 4/14/16 195535             542.44 04173     4/16
                                               D047956224 4/15/16               14.40 66250 4/21/16 196188                     04608    4/16
                                               D047956224 4/15/16               38.52 66120 4/21/16 196188                     04608    4/16
                                               D047956224 4/15/16               20.00 45010 4/21/16 196188                     04608    4/16
                                               D047956224 4/15/16                3.29 16400 4/21/16 196188                     04608    4/16
                                               D047957215 4/15/16              350.00 60721 4/21/16 196188             426.21 04608     4/16
                                               D047951512 4/22/16               35.43 66651 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16               28.82 66500 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16               34.38 66250 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16               10.93 66130 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16              120.00 45010 4/28/16 196718                     04927    4/16
                                               D047955478 4/22/16              175.00- 60721 4/28/16 196718                    04927    4/16
                                               D047955478 4/22/16               88.91 45022 4/28/16 196718                     04927    4/16
                                               D047955478 4/22/16              236.65 14030 4/28/16 196718             380.12 04927     4/16
                                                     **********                2,434.68 ***HOT SP ******H-003****HOT SPRINGS EMBASSY

HO-321 HOT SP    HOT SPRINGS   A & P           CTYF0416    4/14/16          1,953.04 02060 4/15/16 911792           1,953.04 00000       /
                                               CTYR0416    4/14/16            227.81 02060 4/15/16 911817                    00000       /
                                               CTYR0416    4/14/16         30,430.53 02059 4/15/16 911817          30,658.34 00000       /
                                                     **********              32,611.38 ***HOT SP *****HO-321****HOT SPRINGS A & P

*I-041 IKON      IKON/RICOH SERVICES             96511611 4/10/16              769.42 60370 4/07/16 194647                     04003    4/16
                                                 96511611 4/10/16               48.56 60370 4/07/16 194647             817.98 04003     4/16
                                                     **********                  817.98 ***IKON   ******I-041****IKON/RICOH SERVICES

IO-016 IOVINO    IOVINO RENOVATIONS LLC             40616 4/06/16           1,618.00 66400 4/21/16 691536           1,618.00 04497     /
                                                     **********               1,618.00 ***IOVINO *****IO-016****IOVINO RENOVATIONS LLC




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APHIST-0412    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.     INV.DATE     INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*J-142 JOHNS     JOHNSON CONTROLS INC         1579982082 3/09/16               820.10 66160 4/07/16 194904                     03866     4/16
                                              1579982082 3/09/16                77.91 66160 4/07/16 194904             898.01 03866      4/16
                                              2279098507 4/02/16               474.92 66160 4/28/16 196768                     04497     4/16
                                              2279098507 4/02/16                45.12 66160 4/28/16 196768             520.04 04497      4/16
                                                    **********                 1,418.05 ***JOHNS  ******J-142****JOHNSON CONTROLS INC

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 03 3/30/16            5,375.00 60116 4/07/16 194939            5,375.00 03138 4/16
                                                    **********                5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS041601 4/14/16              364.78 66060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16              667.89 62060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16              741.02 60060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16              380.33 26060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16            3,049.70 16060 4/14/16 195770           5,203.72 00000 4/16
                                                    **********                5,203.72 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0416    4/28/16             795.91 16150 4/28/16 911979                        00000    /
                                              122A0416    4/28/16             233.09 02005 4/28/16 911979                        00000    /
                                              122A041601 4/28/16                8.82 60115 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               47.62 60061 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               57.49 35901 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               75.00 35031 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              189.20 35030 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              116.73 26260 4/28/16 911979                        00000    /
                                              122A041602 4/28/16               73.97 60856 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              548.61 60721 4/28/16 911979                        00000    /
                                              122A041602 4/28/16               85.81 60590 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              119.99 60580 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              873.52 60560 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              723.80 60520 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              576.31 60320 4/28/16 911979                        00000    /
                                              122A041603 4/28/16            2,550.40 62843 4/28/16 911979                        00000    /
                                              122A041603 4/28/16               35.92 62835 4/28/16 911979                        00000    /
                                              122A041603 4/28/16              756.79 62830 4/28/16 911979                        00000    /
                                              122A041603 4/28/16               32.60 62401 4/28/16 911979                        00000    /
                                              122A041603 4/28/16                5.24 60880 4/28/16 911979                        00000    /
                                              122A041603 4/28/16            1,400.57 60870 4/28/16 911979                        00000    /
                                              122A041604 4/28/16               42.03 85962 4/28/16 911979                        00000    /
                                              122A041604 4/28/16               55.98 66100 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              100.00 64700 4/28/16 911979                        00000    /
                                              122A041604 4/28/16               30.55 62860 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              230.18 62850 4/28/16 911979                        00000    /
                                              122B0416    4/28/16             433.07 60860 4/28/16 911979          10,199.20     00000    /
                                                    **********               10,199.20 ***JQH C  *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS041601 4/14/16              794.12 66060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            3,309.51 62060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            3,965.68 60060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            1,161.18 26060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            4,688.14 16060 4/14/16 195843          13,918.63 00000       4/16
                                                    **********               13,918.63 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  03 4/05/16               332.87 66900 4/07/16 194888              332.87   03138 4/16
                                                    **********                   332.87 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  03 4/05/16            3,314.50 16900 4/07/16 194737           3,314.50 03138 4/16
                                                    **********                3,314.50 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16   03    4/05/16           573.90     62900   4/07/16   194743      573.90   03138   4/16
                                              *FM16    02    4/05/16           313.68     66900   4/07/16   194748      313.68   03138   4/16
                                              *ARM16   03    4/05/16           335.36     62900   4/07/16   194773      335.36   03138   4/16
                                              *DSA16   01    4/05/16           345.48     62900   4/07/16   194778      345.48   04034   4/16
                                              *RMA16   03    4/05/16           219.73     62900   4/07/16   194787      219.73   03138   4/16
                                              *BRM16   03    4/05/16           814.27     62900   4/07/16   194808      814.27   03138   4/16
                                              *EC16    03    4/05/16           367.78     62900   4/07/16   194813      367.78   03138   4/16




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APHIST-0413    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               *RPM16  02 4/05/16               209.99 66900 4/07/16 194822             209.99 03138 4/16
                                                     **********                 3,180.19 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                      MGMT031604 3/31/16           24,980.60 02013 4/14/16 691246           24,980.60    00000    /
                                                     **********               24,980.60 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS      *BAA16  03 4/05/16               88.73 60900 4/07/16 194668              88.73 03138 4/16
                                               *RDS16  03 4/05/16            1,956.96 62900 4/07/16 194677           1,956.96 03138 4/16
                                               *RVP16  03 4/05/16            2,607.12 60900 4/07/16 194686           2,607.12 03138 4/16
                                                     **********                4,652.81 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

KA-154 KARCH     KARCHER NORTH AMERICA         5331958319 3/28/16               622.90 16850 4/21/16 691550                       03866   /
                                               5331958319 3/28/16                 8.30 16850 4/21/16 691550                       03866   /
                                               5331958319 3/28/16                59.95 16850 4/21/16 691550             691.15    03866   /
                                                     **********                   691.15 ***KARCH  *****KA-154****KARCHER NORTH   AMERICA

KN-003 KNOX      KNOX AIR CONDITIONING              17118 4/11/16               368.74 66202 4/21/16 691558                     04672   /
                                                    17118 4/11/16                35.03 66202 4/21/16 691558             403.77 04672    /
                                                     **********                   403.77 ***KNOX   *****KN-003****KNOX AIR CONDITIONING

*K-160 KONE      KONE INC -ONLY AUTO PAYS      *7348A  02 4/01/16            4,348.49 66300 4/07/16 194976                     03138 4/16
                                               *7348A  02 4/01/16              413.11 66300 4/07/16 194976           4,761.60 03138 4/16
                                                     **********                4,761.60 ***KONE   ******K-160****KONE INC -ONLY AUTO PAYS

LA-504 LABORATO LABORATORY CORP OF               51107434 4/02/16               129.25 60320 4/28/16 692841              129.25 04841      /
                                                     **********                   129.25 ***LABORATO*****LA-504****LABORATORY CORP OF

LA-196 LAWNS     LAWNS,LIMBS & LANDSCAPING     2016001291 4/12/16               900.00 66450 4/28/16 692374                     04841   /
                                               2016001291 4/12/16                85.50 66450 4/28/16 692374             985.50 04841    /
                                                     **********                   985.50 ***LAWNS  *****LA-196****LAWNS,LIMBS & LANDSCAPING

LE-217 LESLIE    LESLIE'S SWIMMNG POOL SUP     1979694001 4/14/16               119.96 66600 4/28/16 692383                     04841   /
                                               1979694001 4/14/16                11.40 66600 4/28/16 692383             131.36 04841    /
                                                     **********                   131.36 ***LESLIE *****LE-217****LESLIE'S SWIMMNG POOL SUP

*M-024 MARSH     MARSH USA INC                 INSA031601 4/07/16            1,958.44 01311 4/07/16 195318           1,958.44 00000       4/16
                                               INSA031602 4/07/16            1,977.00 02120 4/07/16 195356                     00000      4/16
                                               INSA031602 4/07/16            2,543.00 01310 4/07/16 195356           4,520.00 00000       4/16
                                                     **********                6,478.44 ***MARSH  ******M-024****MARSH USA INC

ME-259 MERR      MERRITT WHOLESALE DISTRIB          49818 3/25/16                53.83 62251 4/07/16 690244                     03911   /
                                                    49818 3/25/16               121.90 45010 4/07/16 690244                     03911   /
                                                    49973 3/29/16               115.24 62251 4/07/16 690244                     03911   /
                                                    49973 3/29/16                23.12 45010 4/07/16 690244             314.09 03911    /
                                                    42129 11/05/15               42.56 16850 4/21/16 691600                     04672   /
                                                    50252 4/01/16                23.12 62251 4/21/16 691600                     04288   /
                                                    50252 4/01/16               132.78 45010 4/21/16 691600                     04288   /
                                                    50430 4/05/16                92.50 62251 4/21/16 691600                     04288   /
                                                    50430 4/05/16                88.28 45010 4/21/16 691600                     04288   /
                                                    50871 4/12/16                46.26 62251 4/21/16 691600                     04672   /
                                                    50871 4/12/16               118.49 45010 4/21/16 691600                     04672   /
                                                    50978 4/13/16                22.94 62251 4/21/16 691600             566.93 04672    /
                                                    50681 4/08/16                92.12 62251 4/28/16 692419                     04841   /
                                                    50681 4/08/16               129.10 45010 4/28/16 692419                     04841   /
                                                    51115 4/15/16                92.32 62251 4/28/16 692419                     04927   /
                                                    51115 4/15/16               160.43 45010 4/28/16 692419                     04927   /
                                                    51270 4/19/16               110.48 45010 4/28/16 692419             584.45 04927    /
                                                     **********                 1,465.47 ***MERR   *****ME-259****MERRITT WHOLESALE DISTRIB

MI-144 MILLER    MILLER CHEMICAL CO                 48317     3/24/16           124.00     66600   4/21/16   691605               03367    /
                                                    48317     3/24/16            11.78     66600   4/21/16   691605               03367    /




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APHIST-0414    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                    48464 4/15/16               44.00 66600 4/21/16 691605                     04672     /
                                                    48464 4/15/16                4.18 66600 4/21/16 691605             183.96 04672      /
                                                    48488 4/19/16              464.00 66600 4/28/16 692426                     04927     /
                                                    48488 4/19/16               44.08 66600 4/28/16 692426             508.08 04927      /
                                                     **********                  692.04 ***MILLER *****MI-144****MILLER CHEMICAL CO

MU-165 MUELL     MARINA MUELLER                     40816 4/08/16              430.34 60730 4/21/16 691618             430.34 04672      /
                                                     **********                  430.34 ***MUELL  *****MU-165****MARINA MUELLER

MY-019 MYERS     MYERS SUPPLY & CHEMICAL        201751000 3/18/16               63.83 16850 4/14/16 690978                     03866   /
                                                201751000 3/18/16                6.06 16850 4/14/16 690978              69.89 03866    /
                                                201813000 4/21/16              211.83 66275 4/28/16 692440                     04927   /
                                                201813000 4/21/16               20.12 66275 4/28/16 692440                     04927   /
                                                201830800 4/18/16              144.15 16850 4/28/16 692440                     04927   /
                                                201830800 4/18/16               13.69 16850 4/28/16 692440             389.79 04927    /
                                                     **********                  459.68 ***MYERS  *****MY-019****MYERS SUPPLY & CHEMICAL

*N-090 NOR1      NOR1 INC                       INV209422 3/31/16              265.65 45022 4/28/16 196838                      04497   4/16
                                                INV209422 3/31/16               32.25 16300 4/28/16 196838             297.90   04497   4/16
                                                     **********                  297.90 ***NOR1   ******N-090****NOR1 INC

OA-033 OAKLAWN   OAKLAWN ROTARY CLUB                 2461 4/01/16              195.00 62841 4/21/16 691633              195.00 04672     /
                                                     **********                  195.00 ***OAKLAWN *****OA-033****OAKLAWN ROTARY CLUB

OR-023 ORIENTAL ORIENTAL TRADING COMPANY       7686200001 3/21/16               69.96 16105 4/14/16 690994               69.96 03866    /
                                                     **********                   69.96 ***ORIENTAL*****OR-023****ORIENTAL TRADING COMPANY

PE-081 PEPSI     PEPSI-COLA                      30478453 3/31/16             667.64 45010 4/07/16 690626                       03866    /
                                                 31197703 3/24/16             831.14 24510 4/07/16 690626                       03866    /
                                                 38720203 3/10/16             431.27 24510 4/07/16 690626                       03866    /
                                                 47013502 3/16/16             737.03 24510 4/07/16 690626           2,667.08    03866    /
                                                 30478454 4/04/16             595.30 24510 4/28/16 692762                       04828    /
                                                 30518654 4/14/16           1,226.88 45010 4/28/16 692762                       04841    /
                                                 35226605 4/07/16             555.24 24510 4/28/16 692762           2,377.42    04828    /
                                                     **********               5,044.50 ***PEPSI  *****PE-081****PEPSI-COLA

PL-062 PLANTATI PLANTATION SERVICES INC            131304 4/01/16           1,102.50 66460 4/21/16 691659            1,102.50 04497    /
                                                     **********               1,102.50 ***PLANTATI*****PL-062****PLANTATION SERVICES INC

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         730106 3/15/16              200.00 16400 4/07/16 690318             200.00 03866    /
                                                     **********                  200.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PR-053 PRES      PRESSURIZED INC                     1491 3/22/16              700.00 26260 4/07/16 690322                     03866     /
                                                     1491 3/22/16               66.50 26260 4/07/16 690322             766.50 03866      /
                                                     **********                  766.50 ***PRES   *****PR-053****PRESSURIZED INC

RA-485 RAYFIELD RAYFIELD COMMUNICATIONS             86037 4/12/16              119.50 66520 4/28/16 692520                      04841   /
                                                    86037 4/12/16               11.90 66520 4/28/16 692520              131.40 04841    /
                                                     **********                  131.40 ***RAYFIELD*****RA-485****RAYFIELD COMMUNICATIONS

RE-043 RED       RED BULL DISTRIBUTION          K15512341 3/28/16               70.46 45010 4/07/16 690343              70.46 03866    /
                                                K15810079 4/11/16              246.61 45010 4/28/16 692521             246.61 04841    /
                                                     **********                  317.07 ***RED    *****RE-043****RED BULL DISTRIBUTION

RE-204 RED       RED BOOK CONNECT LLC              725649 12/03/15              37.01 66651 4/07/16 690349                     03911     /
                                                   725649 12/03/15              12.72 66651 4/07/16 690349              49.73 03911      /
                                                     **********                   49.73 ***RED    *****RE-204****RED BOOK CONNECT LLC

RE-415 REGAL     THE REGAL PRESS INC               382390 3/30/16               18.40 60552 4/21/16 691684              18.40 04497      /
                                                     **********                   18.40 ***REGAL  *****RE-415****THE REGAL PRESS INC



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APHIST-0415    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
RE-201 REGENCY   REGENCY ENTERPRISES INC         3514847 12/16/15             182.25 66130 4/21/16 691680                      04497   /
                                                 3514847 12/16/15              17.31 66130 4/21/16 691680                      04497   /
                                                 3520079 12/23/15              59.52 66130 4/21/16 691680                      04497   /
                                                 3520079 12/23/15               5.65 66130 4/21/16 691680                      04497   /
                                                 3539090 1/20/16               88.04 66130 4/21/16 691680                      04497   /
                                                 3539090 1/20/16                8.36 66130 4/21/16 691680                      04497   /
                                                 3539117 1/20/16               34.74 66130 4/21/16 691680                      04497   /
                                                 3539117 1/20/16                3.30 66130 4/21/16 691680                      04497   /
                                                 3542679 1/25/16               52.80 66130 4/21/16 691680                      04497   /
                                                 3542679 1/25/16                5.02 66130 4/21/16 691680                      04497   /
                                                 3572963 2/29/16               52.80 66130 4/21/16 691680                      04497   /
                                                 3572963 2/29/16                5.02 66130 4/21/16 691680              514.81 04497    /
                                                    **********                  514.81 ***REGENCY *****RE-201****REGENCY ENTERPRISES INC

RE-001 RESORT    RESORT TELEVISION CABLE      4169968001 3/24/16           1,800.00 35030 4/07/16 690342           1,800.00 04023    /
                                                    **********               1,800.00 ***RESORT *****RE-001****RESORT TELEVISION CABLE

RI-092 RICO      RICOH USA INC                1061456252 3/15/16              164.78 60550 4/07/16 690365                         03367    /
                                              1061456252 3/15/16               15.65 60550 4/07/16 690365               180.43    03367    /
                                              5041091634 3/16/16              251.57 60551 4/14/16 691030                         03866    /
                                              5041091634 3/16/16               23.89 60551 4/14/16 691030               275.46    03866    /
                                              1061632528 3/23/16              140.45 60550 4/21/16 691696                         03866    /
                                              1061632528 3/23/16               13.34 60550 4/21/16 691696                         03866    /
                                              1061654219 3/24/16              115.38 60550 4/21/16 691696               269.17    03866    /
                                                    **********                  725.06 ***RICO   *****RI-092****RICOH   USA INC

RI-042 RIDGEWAY RIDGEWAY COMMUNICATIONS            53307 2/16/16              398.00 35890 4/07/16 690354                      03911   /
                                                   53307 2/16/16               30.00 35890 4/07/16 690354                      03911   /
                                                   53479 3/17/16              101.60 66200 4/07/16 690354                      03866   /
                                                   53479 3/17/16               21.38 66200 4/07/16 690354              550.98 03866    /
                                                    **********                  550.98 ***RIDGEWAY*****RI-042****RIDGEWAY COMMUNICATIONS

*R-088 ROBERTS   CRIS ROBERTS                      33016 3/30/16               92.34 62505 4/07/16 195064               92.34     03911   4/16
                                                    **********                   92.34 ***ROBERTS ******R-088****CRIS ROBERTS

*R-207 ROYAL     ROYAL PAPER CORP                4587473 3/22/16              174.76 16850 4/21/16 196314                     04497       4/16
                                                 4587473 3/22/16               16.60 16850 4/21/16 196314                     04497       4/16
                                                 4587473 3/22/16              467.40 16400 4/21/16 196314                     04497       4/16
                                                 4587473 3/22/16               44.40 16400 4/21/16 196314                     04497       4/16
                                                 4590051 4/01/16               13.25 16400 4/21/16 196314                     04497       4/16
                                                 4590051 4/01/16                1.26 16400 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16              200.18 16850 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16               19.02 16850 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16              631.87 16400 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16               60.04 16400 4/21/16 196314           1,628.78 04497        4/16
                                                    **********                1,628.78 ***ROYAL  ******R-207****ROYAL PAPER CORP

SA-288 SAFLOK    SAFLOK                        INV413938 3/24/16              326.00 66120 4/07/16 690389                         03911    /
                                               INV413938 3/24/16               16.71 66120 4/07/16 690389                         03911    /
                                               INV413938 3/24/16               32.56 66120 4/07/16 690389              375.27     03911    /
                                               INV414999 4/08/16               61.50 66120 4/28/16 692567                         04841    /
                                               INV414999 4/08/16               87.55 66120 4/28/16 692567                         04841    /
                                               INV414999 4/08/16               14.17 66120 4/28/16 692567              163.22     04841    /
                                                    **********                  538.49 ***SAFLOK *****SA-288****SAFLOK

SA-014 SANDERS   SANDERS SECURITY INC.             1044A 4/02/16              360.00 60016 4/21/16 691706              360.00 04672    /
                                                    **********                  360.00 ***SANDERS *****SA-014****SANDERS SECURITY INC.

SA-027 SANDERS   SANDERS SUPPLY                   130712 2/22/16               71.20 66250 4/21/16 691707                       04497      /
                                                  130712 2/22/16                5.54 66250 4/21/16 691707               76.74 04497        /
                                                    **********                   76.74 ***SANDERS *****SA-027****SANDERS SUPPLY

*S-124 SCHATZL   KURT SCHATZL                      40516 4/05/16              981.00 60856 4/19/16 195968              981.00     04533   4/16
                                                    **********                  981.00 ***SCHATZL ******S-124****KURT SCHATZL



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APHIST-0416    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
SE-141 SENT      THE SENTINEL-RECORD               010366 3/29/16               10.00 45010 4/07/16 690414              10.00 03911       /
                                                   011015 4/12/16               10.00 45010 4/21/16 691733              10.00 04672       /
                                                   011041 4/19/16               10.00 45010 4/28/16 692584              10.00 04927       /
                                                     **********                   30.00 ***SENT   *****SE-141****THE SENTINEL-RECORD

SE-237 SENTINEL SENTINEL-RECORD INC                518340 4/15/16              167.20 60320 4/21/16 691734              167.20 04672      /
                                                     **********                  167.20 ***SENTINEL*****SE-237****SENTINEL-RECORD INC

*S-745 SERTI     SERTIFI                               SALE 3/01/16            117.00 62843 4/07/16 195168             117.00    03937   4/16
                                               *SALE     01 4/01/16            117.00 62843 4/14/16 195687             117.00    04034   4/16
                                                       **********                234.00 ***SERTI  ******S-745****SERTIFI

*S-216 SHAMEL    ROBIN SHAMEL                       33016 3/30/16               35.00 62850 4/07/16 195103                       03911   4/16
                                                    33016 3/30/16               43.04 62830 4/07/16 195103              78.04    03911   4/16
                                                     **********                   78.04 ***SHAMEL ******S-216****ROBIN SHAMEL

SH-437 SHOES     SHOES FOR CREWS LLC              6925640 3/30/16               17.99 26820 4/28/16 692844                     04497      /
                                                  6972998 4/11/16               31.49 26820 4/28/16 692844              49.48 04927       /
                                                     **********                   49.48 ***SHOES  *****SH-437****SHOES FOR CREWS LLC

*S-466 SIMP      SIMPLEXGRINNELL                 82299468 3/09/16             473.00 66110 4/07/16 195114                     03991      4/16
                                                 82299468 3/09/16              44.94 66110 4/07/16 195114             517.94 03991       4/16
                                                 82184760 2/04/16           1,246.53 66110 4/21/16 196325                     04497      4/16
                                                 82184760 2/04/16             118.43 66110 4/21/16 196325           1,364.96 04497       4/16
                                                     **********               1,882.90 ***SIMP   ******S-466****SIMPLEXGRINNELL

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2679762 4/06/16           2,351.51 45025 4/28/16 196798           2,351.51 04841 4/16
                                                     **********               2,351.51 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SO-308 SOUTH     SOUTH CENTRAL SOUND              A284271 4/01/16               68.29 16805 4/21/16 691753                       04497    /
                                                  A284271 4/01/16                4.44 16805 4/21/16 691753                       04497    /
                                                  A284287 4/01/16               37.82 16805 4/21/16 691753                       04497    /
                                                  A284287 4/01/16                2.46 16805 4/21/16 691753             113.01    04497    /
                                                     **********                  113.01 ***SOUTH  *****SO-308****SOUTH CENTRAL   SOUND

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3296500562 3/18/16               73.00 60551 4/07/16 690685                      03866   /
                                               3296500562 3/18/16                6.93 60551 4/07/16 690685                      03866   /
                                               3296500562 3/18/16                4.29 60550 4/07/16 690685                      03866   /
                                               3296500562 3/18/16                 .41 60550 4/07/16 690685                      03866   /
                                               3296844853 3/22/16               73.00 60551 4/07/16 690685                      03866   /
                                               3296844853 3/22/16                6.94 60551 4/07/16 690685                      03866   /
                                               3296844853 3/22/16                8.24 60550 4/07/16 690685                      03866   /
                                               3296844853 3/22/16                 .78 60550 4/07/16 690685                      03866   /
                                               3297310930 3/26/16               36.50 60551 4/07/16 690685                      03866   /
                                               3297310930 3/26/16                3.47 60551 4/07/16 690685                      03866   /
                                               3297310930 3/26/16               31.97 60550 4/07/16 690685                      03866   /
                                               3297310930 3/26/16                3.03 60550 4/07/16 690685              248.56 03866    /
                                               3272657749 7/25/15                8.59 60551 4/21/16 691971                      04672   /
                                               3272657749 7/25/15                 .82 60551 4/21/16 691971                      04672   /
                                               3272657749 7/25/15               11.99 60550 4/21/16 691971                      04672   /
                                               3272657749 7/25/15                1.14 60550 4/21/16 691971                      04672   /
                                               3298786179 4/07/16              109.50 60551 4/21/16 691971                      04497   /
                                               3298786179 4/07/16               10.40 60551 4/21/16 691971                      04497   /
                                               3298786179 4/07/16               64.64 60550 4/21/16 691971                      04497   /
                                               3298786179 4/07/16                6.14 60550 4/21/16 691971              213.22 04497    /
                                               3296972961 3/24/16               94.98 60551 4/28/16 692808                      04841   /
                                               3296972961 3/24/16                9.02 60551 4/28/16 692808                      04841   /
                                               3299073701 4/09/16               81.71 60550 4/28/16 692808                      04841   /
                                               3299073701 4/09/16                7.52 60550 4/28/16 692808                      04841   /
                                               3299073701 4/09/16                8.99 45010 4/28/16 692808                      04841   /
                                               3299278334 4/13/16               95.99 60550 4/28/16 692808                      04841   /
                                               3299278334 4/13/16                9.12 60550 4/28/16 692808                      04841   /
                                               3299278335 4/13/16               82.19 60550 4/28/16 692808                      04841   /
                                               3299278335 4/13/16                7.81 60550 4/28/16 692808              397.33 04841    /
                                                     **********                  859.11 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG



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APHIST-0417    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
ST-094 STONE     STONECIPHER DISTRIBUTORS         283183 3/30/16                58.80 45020 4/07/16 690441                     03911   /
                                                  283183 3/30/16                 1.24 45020 4/07/16 690441              60.04 03911    /
                                                  283259 4/05/16                23.85 60070 4/21/16 691763                     04672   /
                                                  283259 4/05/16                 1.24 60070 4/21/16 691763              25.09 04672    /
                                                    **********                    85.13 ***STONE  *****ST-094****STONECIPHER DISTRIBUTORS

ST-722 STROOP    STROOPE TIRE INC                  35824 3/21/16                45.99 66100 4/07/16 690447              45.99 03911       /
                                                   36316 4/18/16               520.00 66100 4/28/16 692623                     04927      /
                                                   36316 4/18/16                49.02 66100 4/28/16 692623             569.02 04927       /
                                                    **********                   615.01 ***STROOP *****ST-722****STROOPE TIRE INC

IR-011 STUART    STUART C.IRBY CO             9350279001 12/28/15               68.17 66130 4/21/16 691537                       04672    /
                                              9350279001 12/28/15                6.48 66130 4/21/16 691537                       04672    /
                                              9378780001 1/15/16                68.17 66130 4/21/16 691537                       04672    /
                                              9378780001 1/15/16                 6.48 66130 4/21/16 691537                       04672    /
                                              9394475001 1/28/16                35.63 66130 4/21/16 691537                       04672    /
                                              9394475001 1/28/16                 9.43 66130 4/21/16 691537                       04672    /
                                              9394475001 1/28/16                 4.28 66130 4/21/16 691537                       04672    /
                                              9409162001 2/04/16                42.50 66130 4/21/16 691537                       04672    /
                                              9409162001 2/04/16                 9.78 66130 4/21/16 691537                       04672    /
                                              9409162001 2/04/16                 4.97 66130 4/21/16 691537                       04672    /
                                              9411007001 2/01/16               187.50 66130 4/21/16 691537                       04672    /
                                              9411007001 2/01/16                17.81 66130 4/21/16 691537                       04672    /
                                              9431753001 2/16/16                35.63 66130 4/21/16 691537                       04672    /
                                              9431753001 2/16/16                 9.41 66130 4/21/16 691537                       04672    /
                                              9431753001 2/16/16                 4.28 66130 4/21/16 691537                       04672    /
                                              9452517001 2/24/16               265.81 66130 4/21/16 691537                       04672    /
                                              9452517001 2/24/16                25.25 66130 4/21/16 691537                       04672    /
                                              9508287001 3/25/16                13.15 66130 4/21/16 691537             814.73    04672    /
                                                    **********                   814.73 ***STUART *****IR-011****STUART C.IRBY   CO

SU-099 SUMMER    SUMMER SOLES                     I42338 3/28/16               194.00 45022 4/21/16 691775                       04497    /
                                                  I42338 3/28/16                18.51 45022 4/21/16 691775             212.51    04497    /
                                                    **********                   212.51 ***SUMMER *****SU-099****SUMMER SOLES

SU-121 SUN COAS SUN COAST SALTS                  SUN1594 4/08/16               384.50 45022 4/28/16 692627                      04841     /
                                                 SUN1594 4/08/16                20.62 45022 4/28/16 692627              405.12 04841      /
                                                    **********                   405.12 ***SUN COAS*****SU-121****SUN COAST SALTS

*S-715 SYSCO     SYSCO                         612167259     3/07/16           95.11      26220   4/07/16   195158               03866   4/16
                                               612167259     3/07/16            9.04      26220   4/07/16   195158               03866   4/16
                                               612234194     3/11/16        1,665.20      16110   4/07/16   195158               03367   4/16
                                               612234194     3/11/16            4.76      16110   4/07/16   195158               03367   4/16
                                               612234666     3/11/16           88.95      16110   4/07/16   195158               03367   4/16
                                               612235244     3/11/16           75.80      24510   4/07/16   195158               03367   4/16
                                               612235245     3/11/16           28.79      26660   4/07/16   195158               03367   4/16
                                               612235245     3/11/16             .23      26660   4/07/16   195158               03367   4/16
                                               612235245     3/11/16          306.99      16125   4/07/16   195158               03367   4/16
                                               612235245     3/11/16            2.51      16125   4/07/16   195158               03367   4/16
                                               612235627     3/11/16           60.34      16110   4/07/16   195158               03367   4/16
                                               612235715     3/11/16          245.86      26220   4/07/16   195158               03367   4/16
                                               612235715     3/11/16           23.36      26220   4/07/16   195158               03367   4/16
                                               612258161     3/14/16          162.40      45060   4/07/16   195158               03367   4/16
                                               612258161     3/14/16        1,899.01      16110   4/07/16   195158               03367   4/16
                                               612258576     3/14/16           31.14      24510   4/07/16   195158               03367   4/16
                                               612258850     3/14/16           58.19      26230   4/07/16   195158               03367   4/16
                                               612258850     3/14/16            1.53      26230   4/07/16   195158               03367   4/16
                                               612258850     3/14/16          152.00      16125   4/07/16   195158               03367   4/16
                                               612258850     3/14/16            4.00      16125   4/07/16   195158               03367   4/16
                                               612259523     3/14/16           17.70      47040   4/07/16   195158               03367   4/16
                                               612259523     3/14/16             .08      47040   4/07/16   195158               03367   4/16
                                               612259523     3/14/16          153.16      16110   4/07/16   195158               03367   4/16
                                               612259523     3/14/16             .72      16110   4/07/16   195158               03367   4/16
                                              612234194A     3/11/16          186.40      24510   4/07/16   195158               03367   4/16
                                              612235244A     3/11/16          203.00      45060   4/07/16   195158               03367   4/16
                                              612235245A     3/11/16          709.70      24510   4/07/16   195158               03367   4/16
                                              612235627A     3/11/16          254.95      24510   4/07/16   195158               03367   4/16




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APHIST-0418   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                        PAGE     2
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                   DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #   CHK. AMT. BATCH # CLRD
                                             612258161A 3/14/16             116.33 24510 4/07/16 195158                      03367   4/16
                                             612258850A 3/14/16              21.66 24510 4/07/16 195158                      03367   4/16
                                             612259523A 3/14/16           1,453.09 24510 4/07/16 195158           8,032.00   03367   4/16
                                              612344903 3/21/16              48.83 26220 4/14/16 195678                      03367   4/16
                                              612344903 3/21/16                .75 26220 4/14/16 195678                      03367   4/16
                                              612344903 3/21/16             254.29 16125 4/14/16 195678                      03367   4/16
                                              612344903 3/21/16               3.89 16125 4/14/16 195678                      03367   4/16
                                              612345306 3/21/16           2,301.91 16110 4/14/16 195678                      03367   4/16
                                              612345306 3/21/16               4.76 16110 4/14/16 195678                      03367   4/16
                                              612345384 3/21/16              21.66 24510 4/14/16 195678                      03367   4/16
                                             612344903A 3/21/16           1,539.87 24510 4/14/16 195678           4,175.96   03367   4/16
                                              612411499 3/25/16             782.67 24510 4/21/16 196358                      03866   4/16
                                              612411581 3/25/16           1,340.35 24510 4/21/16 196358                      03866   4/16
                                              612411902 3/25/16              54.28 24510 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16              16.69 26860 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16                .05 26860 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16              46.75 26230 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16                .15 26230 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16           1,829.73 16110 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16               5.83 16110 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16              86.58 26230 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16               4.23 26230 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16              81.98 16125 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16               4.00 16125 4/21/16 196358                      03866   4/16
                                              612413118 3/25/16              95.11 26220 4/21/16 196358                      03866   4/16
                                              612413118 3/25/16               9.04 26220 4/21/16 196358                      03866   4/16
                                              612434085 3/28/16              95.11 26220 4/21/16 196358                      03866   4/16
                                              612434085 3/28/16               9.04 26220 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              28.79 26660 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16                .34 26660 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              58.19 26230 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16                .68 26230 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              48.83 26220 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16                .57 26220 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16           3,008.16 16110 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              35.12 16110 4/21/16 196358                      03866   4/16
                                              612435562 3/28/16             126.77 24510 4/21/16 196358                      03866   4/16
                                              612435821 3/28/16              75.55 24510 4/21/16 196358                      03866   4/16
                                              612435824 3/28/16           3,188.98 24510 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16              89.41 26220 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16               1.90 26220 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16             310.04 16125 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16               6.59 16125 4/21/16 196358                      03866   4/16
                                              612453613 3/29/16             121.80 45060 4/21/16 196358                      03866   4/16
                                              612453613 3/29/16             278.50 16110 4/21/16 196358                      03866   4/16
                                             612411581A 3/25/16              46.96 26660 4/21/16 196358                      03866   4/16
                                             612435562A 3/28/16              13.03 45022 4/21/16 196358                      03866   4/16
                                             612435562A 3/28/16               1.24 45022 4/21/16 196358                      03866   4/16
                                             612435821A 3/28/16              56.11 26230 4/21/16 196358                      03866   4/16
                                             612435821A 3/28/16               5.33 26230 4/21/16 196358                      03866   4/16
                                             612453613A 3/29/16             369.01 24510 4/21/16 196358          12,333.49   03866   4/16
                                              612506193 4/01/16             190.22 26220 4/28/16 196958                      04497   4/16
                                              612506193 4/01/16              18.07 26220 4/28/16 196958                      04497   4/16
                                              612506194 4/01/16           2,065.98 16110 4/28/16 196958                      04497   4/16
                                              612506194 4/01/16               9.52 16110 4/28/16 196958                      04497   4/16
                                              612507240 4/01/16              81.20 45060 4/28/16 196958                      04497   4/16
                                              612507240 4/01/16             235.75 16125 4/28/16 196958                      04497   4/16
                                              612530686 4/04/16           1,857.33 16110 4/28/16 196958                      04497   4/16
                                              612530686 4/04/16              19.03 16110 4/28/16 196958                      04497   4/16
                                              612532084 4/04/16              27.26 26660 4/28/16 196958                      04497   4/16
                                              612532084 4/04/16               2.59 26660 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16               7.36 26860 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .02 26860 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16             192.31 16125 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .60 16125 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16              22.97 16110 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .07 16110 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .01 16110 4/28/16 196958                      04497   4/16
                                             612506194A 4/01/16              42.13 24510 4/28/16 196958                      04497   4/16
                                             612507240A 4/01/16           1,068.69 24510 4/28/16 196958                      04497   4/16
                                             612530686A 4/04/16              98.98 24510 4/28/16 196958                      04497   4/16
                                             612532447A 4/04/16           2,144.05 24510 4/28/16 196958           8,084.14   04497   4/16
                                                   **********              32,625.59 ***SYSCO  ******S-715****SYSCO



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APHIST-0419    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE    1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
TA-208 TALX      TALX CORP.                      2071605 4/08/16                 8.40 60320 4/28/16 692847               8.40   04841   /
                                                    **********                     8.40 ***TALX   *****TA-208****TALX CORP.

TA-114 TAYLOR    TAYLOR'S CLEANERS AND              103A 2/19/16               79.02 45030 4/21/16 691780                     04288   /
                                                    104A 3/15/16               66.66 45030 4/21/16 691780             145.68 04288    /
                                                    **********                  145.68 ***TAYLOR *****TA-114****TAYLOR'S CLEANERS AND

TR-130 TROPICAL TROPICAL NUT & FRUIT CO       NV15376628 3/11/16              267.01 16105 4/28/16 692645              267.01 04828    /
                                                    **********                  267.01 ***TROPICAL*****TR-130****TROPICAL NUT & FRUIT CO

TU-077 TURNER    TURNER HOLDINGS LLC            19134906 3/10/16               87.85 16110 4/07/16 690483                     03866     /
                                                19181103 3/14/16               65.82 16110 4/07/16 690483                     03866     /
                                                19219604 3/17/16               66.08 16110 4/07/16 690483                     03866     /
                                                19268203 3/21/16               65.82 16110 4/07/16 690483                     03866     /
                                                19307705 3/24/16               87.85 16110 4/07/16 690483                     03866     /
                                               19134906A 3/10/16               94.68 24510 4/07/16 690483                     03866     /
                                               19181103A 3/14/16               59.68 24510 4/07/16 690483                     03866     /
                                               19219604A 3/17/16               57.40 24510 4/07/16 690483                     03866     /
                                               19268203A 3/21/16               69.30 24510 4/07/16 690483                     03866     /
                                               19307705A 3/24/16               60.03 24510 4/07/16 690483             714.51 03866      /
                                                19356804 3/28/16               65.82 16110 4/14/16 691114                     03866     /
                                                19395804 3/31/16               66.08 16110 4/14/16 691114                     03866     /
                                               19356804A 3/28/16               69.30 24510 4/14/16 691114                     03866     /
                                               19395804A 3/31/16               84.47 24510 4/14/16 691114             285.67 03866      /
                                                19460003 4/04/16               66.32 16110 4/28/16 692653                     04828     /
                                                19498413 4/07/16              151.92 45010 4/28/16 692653                     04841     /
                                                19499105 4/07/16               88.45 16110 4/28/16 692653                     04828     /
                                                19586505 4/14/16               66.32 16110 4/28/16 692653                     04928     /
                                               19460003A 4/04/16               90.72 24510 4/28/16 692653                     04828     /
                                               19499105A 4/07/16               56.14 24510 4/28/16 692653             519.87 04828      /
                                                    **********                1,520.05 ***TURNER *****TU-077****TURNER HOLDINGS LLC

TY-019 TYINC     TY INC                         13623487 3/25/16              408.00 45010 4/21/16 691802                       04497   /
                                                13623487 3/25/16               41.21 45010 4/21/16 691802              449.21   04497   /
                                                    **********                  449.21 ***TYINC  *****TY-019****TY INC

UN-228 UNIGUEST UNIGUEST INC                    12116153 12/15/15          1,887.88 16600 4/21/16 691941                        04288   /
                                                12116153 12/15/15            179.35 16600 4/21/16 691941            2,067.23    04288   /
                                                    **********               2,067.23 ***UNIGUEST*****UN-228****UNIGUEST INC

UN-341 UNITED    UNITED RENTALS NORTHWEST     5649332001 3/09/16               76.00 66120 4/07/16 690501                     03367   /
                                              5649332001 3/09/16               10.64 66120 4/07/16 690501                     03367   /
                                              5649332001 3/09/16                7.80 66120 4/07/16 690501              94.44 03367    /
                                                    **********                   94.44 ***UNITED *****UN-341****UNITED RENTALS NORTHWEST

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2761447 3/22/16             447.73 45022 4/21/16 691811                      04497   /
                                                 2761447 3/22/16              40.18 45022 4/21/16 691811              487.91 04497    /
                                                 2755884 3/11/16           1,946.25 01908 4/28/16 692787                      04051   /
                                                 2755884 3/11/16             365.00 01908 4/28/16 692787            2,311.25 04051    /
                                                    **********               2,799.16 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

US-129 USA TODA USA TODAY                     0013091806 3/27/16              180.00 16105 4/21/16 692002              180.00   04288   /
                                                    **********                  180.00 ***USA TODA*****US-129****USA TODAY

WE-072 WEINER    WEINER'S LTD                    0031320 3/14/16              291.07 45010 4/07/16 690525             291.07    03991   /
                                                 0031671 3/25/16              280.70 45010 4/21/16 691828             280.70    03866   /
                                                 0031900 4/04/16              163.17 45010 4/28/16 692677                       04841   /
                                                 0031900 4/04/16               18.10 45010 4/28/16 692677             181.27    04841   /
                                                    **********                  753.04 ***WEINER *****WE-072****WEINER'S LTD

WI-138 WINDSTRE WINDSTREAM COMMUNICATIONS       15298679 4/20/16               35.94 35901 4/28/16 692686                      04028   /
                                                15298679 4/20/16              660.88 35030 4/28/16 692686              696.82 04028    /
                                                    **********                  696.82 ***WINDSTRE*****WI-138****WINDSTREAM COMMUNICATIONS



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APHIST-0420   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE    1
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
WO-021 WOODBURY WOODBURY-BEACH COMPANY             17678 12/29/15            763.75 66160 4/21/16 691838                      04497    /
                                                   17678 12/29/15             72.56 66160 4/21/16 691838              836.31 04497     /
                                                    **********                 836.31 ***WOODBURY*****WO-021****WOODBURY-BEACH COMPANY

WO-103 WORLD CI WORLD CINEMA INC             **S4854 04 5/01/16           3,274.74 16425 4/21/16 692003                      03138     /
                                             **S4854 04 5/01/16             311.10 16425 4/21/16 692003            3,585.84 03138      /
                                                   **********               3,585.84 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN   WTS INTERNATIONAL INC        C000038674 4/01/16              300.00 45022 4/21/16 196406             300.00 04497 4/16
                                                   **********                  300.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80795              736,737.67




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APHIST-0404    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE    1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AV-034 A/V ARK   A/V ARKANSAS                       91226 4/05/16               70.50 47050 4/28/16 692058                       04841   /
                                                    91226 4/05/16                6.36 47050 4/28/16 692058                       04841   /
                                                    91226 4/05/16               70.00 46090 4/28/16 692058              146.86   04841   /
                                                     **********                  146.86 ***A/V ARK *****AV-034****A/V ARKANSAS

AR-056 ARANDS    ARANDS CORP                        42504 3/17/16               32.50 45010 4/07/16 689869                       03911   /
                                                    42555 3/18/16              195.00 45010 4/07/16 689869                       03911   /
                                                    42607 3/19/16               39.00 45010 4/07/16 689869                       03911   /
                                                    42687 3/23/16               78.00 45010 4/07/16 689869                       03911   /
                                                    42743 3/21/16               84.50- 45010 4/07/16 689869                      03911   /
                                                    42787 3/24/16               65.00 45010 4/07/16 689869                       03911   /
                                                    42838 3/25/16              117.00 45010 4/07/16 689869                       03911   /
                                                    42943 3/28/16               39.00- 45010 4/07/16 689869            403.00    03911   /
                                                    42895 3/30/16               45.50 45010 4/21/16 691278                       04288   /
                                                    42990 3/31/16               52.00 45010 4/21/16 691278                       04288   /
                                                    43041 4/01/16              162.50 45010 4/21/16 691278                       04288   /
                                                    43092 4/02/16               52.00 45010 4/21/16 691278                       04288   /
                                                    43189 4/04/16              149.50- 45010 4/21/16 691278            162.50    04288   /
                                                    43142 4/05/16               26.00 45010 4/28/16 692036                       04927   /
                                                    43237 4/06/16               32.50 45010 4/28/16 692036                       04927   /
                                                    43290 4/07/16               65.00 45010 4/28/16 692036                       04927   /
                                                    43340 4/08/16              162.50 45010 4/28/16 692036                       04927   /
                                                    43449 4/12/16               39.00 45010 4/28/16 692036                       04927   /
                                                    43476 4/11/16              149.50- 45010 4/28/16 692036                      04927   /
                                                    43545 4/13/16               97.50 45010 4/28/16 692036                       04927   /
                                                    43595 4/14/16              260.00 45010 4/28/16 692036                       04927   /
                                                    43646 4/15/16              390.00 45010 4/28/16 692036                       04927   /
                                                    43708 4/18/16              338.00- 45010 4/28/16 692036            585.00    04927   /
                                                     **********                1,150.50 ***ARANDS *****AR-056****ARANDS CORP

AR-169 ARCADIA   ARCADIA PUBLISHING              20705941 3/31/16              358.88 45010 4/28/16 692039              358.88 04841     /
                                                     **********                  358.88 ***ARCADIA *****AR-169****ARCADIA PUBLISHING

AR-158 ARCOM     ARCOM SYSTEMS                      75304 3/31/16               12.00 66110 4/28/16 692038              12.00 04497      /
                                                     **********                   12.00 ***ARCOM  *****AR-158****ARCOM SYSTEMS

AR-009 ARKANSAS ARKANSAS RECORDS MGMT INC            5547 3/31/16              275.00 60710 4/21/16 691276              275.00 04288    /
                                                     **********                  275.00 ***ARKANSAS*****AR-009****ARKANSAS RECORDS MGMT INC

AR-021 ARKANSAS ARKANSAS DEMOCRAT GAZETTE          378044 3/29/16                9.00 45010 4/07/16 689868                9.00 03911    /
                                                   010357 4/03/16               10.00 45010 4/21/16 691277                      04288   /
                                                   378065 4/03/16                9.00 45010 4/21/16 691277                      04288   /
                                                   378091 4/12/16                9.00 45010 4/21/16 691277               28.00 04672    /
                                                   378078 4/19/16               10.00 45010 4/28/16 692035               10.00 04927    /
                                                     **********                   47.00 ***ARKANSAS*****AR-021****ARKANSAS DEMOCRAT GAZETTE

AS-024 ASAE      ASAE (AR SOCIE.ASSN.EXEC)          41116 4/11/16              450.00 62850 4/21/16 691290             450.00 04672    /
                                                     **********                  450.00 ***ASAE   *****AS-024****ASAE (AR SOCIE.ASSN.EXEC)

AS-020 ASAP      ASAP-CHARLES ROBERTSON             61615 3/25/16              48.00- 24520 4/07/16 690558                     03911    /
                                                    61615 3/25/16             389.59 16021 4/07/16 690558                      03911    /
                                                    61615 3/25/16           2,034.82 16020 4/07/16 690558                      03911    /
                                                    61669 4/01/16             171.20 16021 4/07/16 690558                      03911    /
                                                    61669 4/01/16           1,732.27 16020 4/07/16 690558            4,279.88 03911     /
                                                    61545 3/18/16              32.00- 24520 4/21/16 691854                     04672    /
                                                    61545 3/18/16             755.88 16021 4/21/16 691854                      04672    /
                                                    61545 3/18/16           1,996.32 16020 4/21/16 691854                      04672    /
                                                    61731 4/08/16              16.00- 24520 4/21/16 691854                     04672    /
                                                    61731 4/08/16           1,774.03 16020 4/21/16 691854                      04672    /
                                                    61802 4/15/16              16.00- 24520 4/21/16 691854                     04672    /
                                                    61802 4/15/16           1,839.87 16020 4/21/16 691854            6,302.10 04672     /
                                                    61915 4/22/16           2,160.22 16020 4/28/16 692704            2,160.22 04927     /
                                                     **********              12,742.20 ***ASAP    *****AS-020****ASAP-CHARLES ROBERTSON




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APHIST-0405    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
AS-007 ASHBY     ASHBY ST OUTDOOR LLC              22943 4/01/16               495.00 62400 4/28/16 692045             495.00 04841       /
                                                    **********                   495.00 ***ASHBY  *****AS-007****ASHBY ST OUTDOOR LLC

AT-046 AT&T      AT&T                         1939492999 4/11/16                  .56 35901 4/28/16 692052                       04028    /
                                              1939492999 4/11/16               178.17 35030 4/28/16 692052              178.73   04028    /
                                                    **********                   178.73 ***AT&T   *****AT-046****AT&T

AT-215 AT&T      AT&T MOBILITY                7X04032016 3/25/16                19.83 35901 4/07/16 689886                     04023      /
                                              7X04032016 3/25/16               274.81 35031 4/07/16 689886             294.64 04023       /
                                                    **********                   294.64 ***AT&T   *****AT-215****AT&T MOBILITY

BG-017 B & G     B & G OUTDOOR                   3180416 3/27/16               250.00 62400 4/28/16 692072             250.00 04841       /
                                                    **********                   250.00 ***B & G  *****BG-017****B & G OUTDOOR

*B-018 BANK      BANK OF AMERICA               APR16LOAN 4/25/16          130,535.57 86700 4/27/16 196507                     04035      4/16
                                               APR16LOAN 4/25/16           36,924.58 02820 4/27/16 196507                     04035      4/16
                                               APR16LOAN 4/25/16           17,716.53 01095 4/27/16 196507         185,176.68 04035       4/16
                                                    **********              185,176.68 ***BANK   ******B-018****BANK OF AMERICA

BE-047 BEAUTYPR BEAUTY PROPHET LLC                 33211 4/01/16               642.00 45022 4/28/16 692066                      04841     /
                                                   33211 4/01/16                62.97 45022 4/28/16 692066                      04841     /
                                                   33212 4/01/16               366.00 45022 4/28/16 692066            1,070.97 04841      /
                                                    **********                 1,070.97 ***BEAUTYPR*****BE-047****BEAUTY PROPHET LLC

BE-155 BEST BUY BEST BUY BUSINESS              628786387 3/17/16               161.49 66150 4/14/16 690757                      03367     /
                                               628786387 3/17/16                15.34 66150 4/14/16 690757              176.83 03367      /
                                                    **********                   176.83 ***BEST BUY*****BE-155****BEST BUY BUSINESS

CA-114 CARROLL   CARROLL BUSINESS SYS INC      2124680IN 3/29/16               170.00 47040 4/28/16 692092                      04841   /
                                               2124680IN 3/29/16                32.84 47040 4/28/16 692092                      04841   /
                                               2124680IN 3/29/16                19.26 47040 4/28/16 692092              222.10 04841    /
                                                    **********                   222.10 ***CARROLL *****CA-114****CARROLL BUSINESS SYS INC

CE-098 CENTURY   CENTURYLINK                  1372167206 4/11/16                77.65 35901 4/21/16 691345                       04575    /
                                              1372167206 4/11/16               809.47 35030 4/21/16 691345              887.12   04575    /
                                                    **********                   887.12 ***CENTURY *****CE-098****CENTURYLINK

CH-194 CHEM      CHEMAQUA                        2254790 3/21/16            1,069.59 66160 4/07/16 689930                        03866    /
                                                 2254790 3/21/16              101.61 66160 4/07/16 689930           1,171.20     03866    /
                                                    **********                1,171.20 ***CHEM   *****CH-194****CHEMAQUA

CH-078 CHURC     CHURHILL'S FINE CIGARS &         614033 4/12/16                61.00 45010 4/21/16 691352              61.00 04672    /
                                                    **********                    61.00 ***CHURC  *****CH-078****CHURHILL'S FINE CIGARS &

*C-411 CINTAS    CINTAS CORP                     2072061 12/21/15              560.75 16800 4/07/16 194482                       03911   4/16
                                                 2072061 12/21/15               21.45 16800 4/07/16 194482                       03911   4/16
                                                 2072061 12/21/15               53.28 16800 4/07/16 194482             635.48    03911   4/16
                                                 2280547 3/19/16               383.78 26820 4/28/16 196622                       04828   4/16
                                                 2280547 3/19/16                19.35 26820 4/28/16 196622                       04828   4/16
                                                 2280547 3/19/16                36.47 26820 4/28/16 196622                       04828   4/16
                                                 2312920 3/31/16               305.68 16800 4/28/16 196622                       04828   4/16
                                                 2312920 3/31/16                18.75 16800 4/28/16 196622                       04828   4/16
                                                 2312920 3/31/16                29.04 16800 4/28/16 196622                       04828   4/16
                                                 2316136 4/01/16               224.88 26820 4/28/16 196622                       04828   4/16
                                                 2316136 4/01/16                16.75 26820 4/28/16 196622                       04828   4/16
                                                 2316136 4/01/16                21.37 26820 4/28/16 196622           1,056.07    04828   4/16
                                                    **********                 1,691.55 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS    CINTAS CORP.                  570203244     3/02/16            96.74     26260   4/07/16   689943               03866    /
                                               570203244     3/02/16            44.00     16850   4/07/16   689943               03866    /




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APHIST-0406    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               570206214 3/09/16                96.74 26260 4/07/16 689943                       03866    /
                                               570206214 3/09/16                44.00 16850 4/07/16 689943                       03866    /
                                               570209181 3/16/16                96.74 26260 4/07/16 689943                       03866    /
                                               570209181 3/16/16                44.00 16850 4/07/16 689943                       03866    /
                                               570212189 3/23/16                96.74 26260 4/07/16 689943                       03866    /
                                               570212189 3/23/16                44.00 16850 4/07/16 689943                       03866    /
                                               570215228 3/30/16                96.74 26260 4/07/16 689943                       03866    /
                                               570215228 3/30/16                44.00 16850 4/07/16 689943             703.70    03866    /
                                                    **********                   703.70 ***CINTAS *****CI-352****CINTAS CORP.

*C-624 CONT      CONTINUUM RETAIL ENERGY      5016035761 4/19/16            6,306.33 64200 4/28/16 196638                     04837 4/16
                                              5016035761 4/19/16              327.24 64200 4/28/16 196638           6,633.57 04837 4/16
                                                    **********                6,633.57 ***CONT   ******C-624****CONTINUUM RETAIL ENERGY

CO-492 CONVOY    CONVOY OF HOPE               INSA041601 4/14/16               173.00 02042 4/15/16 911821             173.00 00000       /
                                                    **********                   173.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMO     COSMOPROF                    0000411034 3/19/16                56.95 45022 4/14/16 690802                       03367    /
                                              0000411034 3/19/16                 5.41 45022 4/14/16 690802              62.36    03367    /
                                              0000411357 3/25/16                50.20 45022 4/21/16 691377                       03866    /
                                              0000411357 3/25/16                 4.77 45022 4/21/16 691377              54.97    03866    /
                                                    **********                   117.33 ***COSMO  *****CO-556****COSMOPROF

DE-366 DELAW     DELAWARE SECRETARY OF          DELFRAN4 4/22/16               300.00 85850 4/22/16 911928             300.00 04783    /
                                                    **********                   300.00 ***DELAW  *****DE-366****DELAWARE SECRETARY OF

*D-002 DEPART    DEPARTMENT OF FINANCE        SLST0416    4/14/16           2,207.41- 85960 4/15/16 195894                       00000 4/16
                                              SLST0416    4/14/16              27.58 35901 4/15/16 195894                        00000 4/16
                                              SLST0416    4/14/16           9,883.62 02060 4/15/16 195894                        00000 4/16
                                              SLST0416    4/14/16         119,549.24 02059 4/15/16 195894                        00000 4/16
                                              SLST0416    4/14/16           2,466.97 02058 4/15/16 195894         129,720.00     00000 4/16
                                                    **********              129,720.00 ***DEPART ******D-002****DEPARTMENT OF    FINANCE

DE-282 DEPART    DEPARTMENT OF FINANCE        NOTICE0216 4/13/16               106.79 85960 4/13/16 911754             106.79 04237    /
                                                    **********                   106.79 ***DEPART *****DE-282****DEPARTMENT OF FINANCE

DE-414 DERM      DERMALOGICA INC                16036366 3/16/16            1,723.24 45022 4/14/16 690819           1,723.24 03866        /
                                                    **********                1,723.24 ***DERM   *****DE-414****DERMALOGICA INC

DO-046 DOCU      DFI-TOTAL BUSINESS SOLU.       16031358 3/28/16                96.00 60550 4/21/16 691406                     04497   /
                                                16031358 3/28/16                16.02 60550 4/21/16 691406             112.02 04497    /
                                                    **********                   112.02 ***DOCU   *****DO-046****DFI-TOTAL BUSINESS SOLU.

*E-091 ECOL      ECOLAB INC                      1229300 3/14/16                21.00 16850 4/07/16 194556                       03866   4/16
                                                 1229300 3/14/16                 4.83 16850 4/07/16 194556                       03866   4/16
                                                 1229300 3/14/16                 2.46 16850 4/07/16 194556              28.29    03866   4/16
                                                    **********                    28.29 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS       ECS INC / RIPPLEPOINT        *CONSUL 10 4/04/16                79.95 35895 4/14/16 195502              79.95 03138 4/16
                                                    **********                    79.95 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD    EDWARD DON                     19059099     3/22/16             5.32     26860   4/14/16   195499               03866   4/16
                                                19059099     3/22/16              .50     26860   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            62.87     26660   4/14/16   195499               03866   4/16
                                                19059099     3/22/16             5.98     26660   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            45.81     26180   4/14/16   195499               03866   4/16
                                                19059099     3/22/16             4.35     26180   4/14/16   195499               03866   4/16
                                                19059099     3/22/16           281.52     16130   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            26.75     16130   4/14/16   195499               03866   4/16
                                                19059099     3/22/16            66.22     16125   4/14/16   195499               03866   4/16
                                                19059099     3/22/16             6.29     16125   4/14/16   195499      505.61   03866   4/16




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APHIST-0407    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
                                               17683613A 4/21/15              559.19 26180 4/21/16 196143             559.19    04497   4/16
                                                19048492 3/18/16               29.05 26860 4/28/16 196659                       04828   4/16
                                                19048492 3/18/16               24.16 26860 4/28/16 196659                       04828   4/16
                                                19048492 3/18/16                5.05 26860 4/28/16 196659                       04828   4/16
                                                19055506 3/21/16               94.68 26660 4/28/16 196659                       04828   4/16
                                                19055506 3/21/16               64.86 26660 4/28/16 196659                       04828   4/16
                                                19055506 3/21/16               15.16 26660 4/28/16 196659                       04828   4/16
                                                19081202 3/28/16               63.59 26820 4/28/16 196659                       04828   4/16
                                                19081202 3/28/16                9.82 26820 4/28/16 196659                       04828   4/16
                                                19081202 3/28/16                6.97 26820 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16               38.61 26860 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                5.96 26860 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                4.23 26860 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16               51.14 26820 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                7.90 26820 4/28/16 196659                       04828   4/16
                                                19088521 3/29/16                5.61 26820 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16               34.56 26660 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16                3.22 26660 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16               99.77 26180 4/28/16 196659                       04828   4/16
                                                19091941 3/30/16                9.28 26180 4/28/16 196659                       04828   4/16
                                                19092981 3/30/16               28.90 26860 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                2.74 26860 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               24.05 26820 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                2.28 26820 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16              124.21 26660 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               11.80 26660 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16              305.77 16130 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               29.05 16130 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16               85.57 16125 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                8.13 16125 4/28/16 196659                       04928   4/16
                                                19092981 3/30/16                 .01 16125 4/28/16 196659                       04928   4/16
                                                80222001 1/22/16               43.77- 26860 4/28/16 196659                      04828   4/16
                                                80222001 1/22/16                4.15- 26860 4/28/16 196659          1,148.21    04828   4/16
                                                    **********                2,213.01 ***EDWARD ******D-210****EDWARD DON

EL-072 ELEVAT    ELEVATOR SAFETY                  AR7736 4/08/16              280.00 66110 4/28/16 692214             280.00 04841       /
                                                    **********                  280.00 ***ELEVAT *****EL-072****ELEVATOR SAFETY

*E-036 ELLIS     STACEY ELLIS                      40116 4/01/16              196.41 62830 4/07/16 194537                       04023   4/16
                                                   40116 4/01/16               90.00 45022 4/07/16 194537             286.41    04023   4/16
                                                    **********                  286.41 ***ELLIS  ******E-036****STACEY ELLIS

EM-009 EMBASSY   HILTON HOTELS CORP           0012144911 3/31/16          15,795.99 02008 4/14/16 691244                        04245    /
                                              0012144911 3/31/16          26,326.65 02007 4/14/16 691244                        04245    /
                                              0012144911 3/31/16          42,122.64 02006 4/14/16 691244           84,245.28    04245    /
                                                    **********              84,245.28 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

*E-079 ENTERG    ENTERGY                      0000983274 3/29/16          17,307.71 64100 4/07/16 194538                        03690   4/16
                                              0000983274 3/29/16           1,633.56 64100 4/07/16 194538          18,941.27     03690   4/16
                                              0003121275 3/29/16           3,254.01 64100 4/07/16 194539                        03690   4/16
                                              0003121275 3/29/16             307.22 64100 4/07/16 194539           3,561.23     03690   4/16
                                                    **********              22,502.50 ***ENTERG ******E-079****ENTERGY

ER-033 ERC       ERC WIPING PRODUCTS INC          539702 3/24/16              384.00 16850 4/21/16 691423                     03866   /
                                                  539702 3/24/16               89.00 16850 4/21/16 691423             473.00 03866    /
                                                  540529 3/31/16              398.00 26860 4/28/16 692218                     04828   /
                                                  540529 3/31/16               89.00 26860 4/28/16 692218             487.00 04828    /
                                                    **********                  960.00 ***ERC    *****ER-033****ERC WIPING PRODUCTS INC

EX-083 EXPRESS   EXPRESS SERVICES INC          170551907 3/16/16           1,335.98 66015 4/07/16 690705                      03911      /
                                               170551915 3/16/16              16.00- 24520 4/07/16 690705                     03911      /
                                               170757595 3/23/16             584.60 66015 4/07/16 690705                      03911      /
                                               170757603 3/23/16              16.00- 24520 4/07/16 690705                     03911      /
                                               171161839 3/30/16             366.74 66015 4/07/16 690705            2,255.32 03911       /
                                               171445448 4/06/16             589.32 66015 4/21/16 691885                      04672      /
                                               171695737 4/13/16             592.57 66015 4/21/16 691885            1,181.89 04672       /
                                                    **********               3,437.21 ***EXPRESS *****EX-083****EXPRESS SERVICES INC



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APHIST-0408    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
FA-079 FARMER    FARMERS SEAFOOD CO              1505219 3/31/16               154.50 24510 4/28/16 692228             154.50 04828       /
                                                    **********                   154.50 ***FARMER *****FA-079****FARMERS SEAFOOD CO

FE-097 FEDEX     FEDEX                         536234374 3/24/16                59.15 60590 4/07/16 690707              59.15    03911    /
                                               536948130 3/31/16                59.02 60590 4/21/16 691997                       04288    /
                                               537687851 4/07/16               115.62 60590 4/21/16 691997             174.64    04672    /
                                               538448626 4/14/16                60.38 60590 4/28/16 692837              60.38    04927    /
                                                    **********                   294.17 ***FEDEX  *****FE-097****FEDEX

*F-155 FIRST     FIRSTSTAFF INC                    60944 3/13/16              751.85 66015 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16              562.14 26870 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16              764.96 26015 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16               16.00- 24520 4/07/16 194569                      03911    4/16
                                                   60944 3/13/16              160.49 16030 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16            1,060.30 16021 4/07/16 194569                       03911    4/16
                                                   60944 3/13/16            2,129.53 16020 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16              596.78 66015 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16              724.79 26028 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16            1,066.18 26015 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16               32.00- 24520 4/07/16 194569                      03911    4/16
                                                   61022 3/20/16              662.36 16030 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16            1,799.66 16021 4/07/16 194569                       03911    4/16
                                                   61022 3/20/16            1,849.94 16020 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16              570.62 66015 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16              984.10 26015 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16              415.15 16030 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16            1,588.43 16021 4/07/16 194569                       03911    4/16
                                                   61096 3/27/16            2,428.25 16020 4/07/16 194569           18,067.53 03911      4/16
                                                   61173 4/03/16              545.71 66015 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16              707.47 26028 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16            1,115.32 26015 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16               32.00- 24520 4/21/16 196164                      04672    4/16
                                                   61173 4/03/16              425.09 16030 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16            1,152.11 16021 4/21/16 196164                       04672    4/16
                                                   61173 4/03/16            2,410.37 16020 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16              539.76 66015 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16              631.08 26028 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16            1,017.90 26015 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16               16.00- 24520 4/21/16 196164                      04672    4/16
                                                   61252 4/10/16              228.20 16030 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16            1,357.64 16021 4/21/16 196164                       04672    4/16
                                                   61252 4/10/16            2,699.84 16020 4/21/16 196164           12,782.49 04672      4/16
                                                   61344 4/17/16              546.26 66015 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16              169.18 26028 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16              958.82 26015 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16               32.00- 24520 4/28/16 196694                      04927    4/16
                                                   61344 4/17/16              354.56 16030 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16            1,244.04 16021 4/28/16 196694                       04927    4/16
                                                   61344 4/17/16            3,174.69 16020 4/28/16 196694            6,415.55 04927      4/16
                                                    **********               37,265.57 ***FIRST   ******F-155****FIRSTSTAFF INC

FL-110 FLOWERS   FLOWERS AND HOME                   5535 3/12/16                82.13 16105 4/21/16 691443               82.13 04288      /
                                                    **********                    82.13 ***FLOWERS *****FL-110****FLOWERS AND HOME

FR-054 FRESHPO   FRESHPOINT                       570063     3/09/16            12.11     16125   4/07/16   690079               03367    /
                                                  570063     3/09/16            22.80     16110   4/07/16   690079               03367    /
                                                  570296     3/11/16            24.57     16125   4/07/16   690079               03367    /
                                                  570296     3/11/16           126.20     16110   4/07/16   690079               03367    /
                                                  570477     3/12/16            44.78     16125   4/07/16   690079               03367    /
                                                  570477     3/12/16            22.80     16110   4/07/16   690079               03367    /
                                                  570593     3/14/16            12.44     16125   4/07/16   690079               03367    /
                                                  570593     3/14/16           124.50     16110   4/07/16   690079               03367    /
                                                 570063A     3/09/16            31.00     24510   4/07/16   690079               03367    /
                                                 570296A     3/11/16            56.92     24510   4/07/16   690079               03367    /
                                                 570477A     3/12/16            96.13     24510   4/07/16   690079               03367    /
                                                 570593A     3/14/16           107.31     24510   4/07/16   690079      681.56   03367    /
                                                  570791     3/16/16            25.74     16125   4/14/16   690864               03367    /
                                                  570791     3/16/16           167.34     16110   4/14/16   690864               03367    /




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APHIST-0409    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                  571042 3/17/16               17.48 16125 4/14/16 690864                       03367    /
                                                  571042 3/17/16               73.94 16110 4/14/16 690864                       03367    /
                                                  571206 3/19/16               31.97 16125 4/14/16 690864                       03866    /
                                                  571206 3/19/16              104.16 16110 4/14/16 690864                       03866    /
                                                  571311 3/21/16               31.97 16125 4/14/16 690864                       03866    /
                                                  571311 3/21/16               98.91 16110 4/14/16 690864                       03866    /
                                                 570791A 3/16/16              180.43 24510 4/14/16 690864                       03367    /
                                                 571042A 3/17/16              148.04 24510 4/14/16 690864                       03367    /
                                                 571206A 3/19/16              217.84 24510 4/14/16 690864                       03866    /
                                                 571311A 3/21/16               78.56 24510 4/14/16 690864            1,176.38   03866    /
                                                  571510 3/23/16               37.98 16125 4/21/16 691454                       03866    /
                                                  571510 3/23/16               19.34 16110 4/21/16 691454                       03866    /
                                                  571726 3/25/16               32.94 16125 4/21/16 691454                       03866    /
                                                  571726 3/25/16              127.80 16110 4/21/16 691454                       03866    /
                                                  571889 3/26/16               49.31 16125 4/21/16 691454                       03866    /
                                                  571889 3/26/16               96.70 16110 4/21/16 691454                       03866    /
                                                  572003 3/28/16               36.81 16125 4/21/16 691454                       03866    /
                                                  572003 3/28/16               20.04 16110 4/21/16 691454                       03866    /
                                                 571510A 3/23/16               60.57 24510 4/21/16 691454                       03866    /
                                                 571726A 3/25/16               58.10 24510 4/21/16 691454                       03866    /
                                                 571889A 3/26/16              159.66 24510 4/21/16 691454                       03866    /
                                                 572003A 3/28/16              116.62 24510 4/21/16 691454              815.87   03866    /
                                                  562388 12/18/15              16.29 16125 4/28/16 692253                       04828    /
                                                  562388 12/18/15              94.88 16110 4/28/16 692253                       04828    /
                                                  564062 1/08/16                5.04 16125 4/28/16 692253                       04828    /
                                                  564062 1/08/16               46.14 16110 4/28/16 692253                       04828    /
                                                  564996 1/18/16               15.60 16125 4/28/16 692253                       04828    /
                                                  564996 1/18/16               44.68 16110 4/28/16 692253                       04828    /
                                                  572217 3/30/16               35.43 16125 4/28/16 692253                       03866    /
                                                  572217 3/30/16               73.93 16110 4/28/16 692253                       03866    /
                                                  572449 4/01/16               36.81 16125 4/28/16 692253                       04828    /
                                                  572449 4/01/16              191.00 16110 4/28/16 692253                       04828    /
                                                  572754 4/04/16               65.11 16125 4/28/16 692253                       04828    /
                                                  572754 4/04/16               96.16 16110 4/28/16 692253                       04828    /
                                                  572755 4/04/16               20.04 16110 4/28/16 692253                       04828    /
                                                 562388A 12/18/15              96.36 24510 4/28/16 692253                       04828    /
                                                 564062A 1/08/16               36.69 24510 4/28/16 692253                       04828    /
                                                 564996A 1/18/16              108.53 24510 4/28/16 692253                       04828    /
                                                 572217A 3/30/16               98.58 24510 4/28/16 692253                       03866    /
                                                 572449A 4/01/16              183.23 24510 4/28/16 692253                       04828    /
                                                 572754A 4/04/16              221.50 24510 4/28/16 692253            1,486.00   04828    /
                                                    **********                4,159.81 ***FRESHPO *****FR-054****FRESHPOINT

FR-019 FRITO     FRITO-LAY INC                  66248399 3/15/16              173.70 45010 4/07/16 690076             173.70 03991       /
                                                66248483 3/22/16               96.13 45010 4/14/16 690862              96.13 03866       /
                                                66248569 3/29/16               79.27 45010 4/21/16 691449              79.27 03866       /
                                                    **********                  349.10 ***FRITO  *****FR-019****FRITO-LAY INC

*N-134 GARD      NATHAN GARD                       33016 3/30/16               59.93 16130 4/07/16 195035                       03911   4/16
                                                   33016 3/30/16              161.09 16110 4/07/16 195035             221.02    03911   4/16
                                                    **********                  221.02 ***GARD   ******N-134****NATHAN GARD

GA-262 GARDA     GARDA CL SOUTHWEST INC         10189540 4/01/16              320.66 60135 4/28/16 692265                     04841    /
                                                10189540 4/01/16               30.46 60135 4/28/16 692265             351.12 04841     /
                                                    **********                  351.12 ***GARDA  *****GA-262****GARDA CL SOUTHWEST INC

GR-013 GRAINGER GRAINGER                      9064733216 3/25/16              589.48 66202 4/21/16 691476                       03866    /
                                              9064733216 3/25/16               56.00 66202 4/21/16 691476              645.48   03866    /
                                                    **********                  645.48 ***GRAINGER*****GR-013****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7021664 11/30/15             74.51      16400   4/07/16   194593               03866   4/16
                                                 7247195 3/11/16             148.50      16500   4/07/16   194593               03367   4/16
                                                 7247195 3/11/16              14.11      16500   4/07/16   194593      237.12   03367   4/16
                                                 7257469 3/16/16              40.40      16850   4/14/16   195528               03367   4/16
                                                 7257469 3/16/16               3.25      16850   4/14/16   195528               03367   4/16
                                                 7257469 3/16/16           1,587.61      16400   4/14/16   195528               03367   4/16
                                                 7257469 3/16/16             127.53      16400   4/14/16   195528               03367   4/16




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APHIST-0410   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     3
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                        INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                  7257469 3/16/16             901.42 16250 4/14/16 195528                      03367     4/16
                                                  7257469 3/16/16              72.41 16250 4/14/16 195528                      03367     4/16
                                                  7257469 3/16/16                .02- 16250 4/14/16 195528           2,732.60 03367      4/16
                                                  7247193 3/11/16             148.50 16500 4/21/16 196184                      04497     4/16
                                                  7247193 3/11/16              14.11 16500 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16             226.08 16500 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16              21.47 16500 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16             120.92 16400 4/21/16 196184                      04497     4/16
                                                  7266709 3/21/16              11.49 16400 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              61.74 16850 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16               5.00 16850 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16             681.90 16500 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              55.27 16500 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16             910.42 16400 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              73.78 16400 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16             306.23 16250 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16              24.82 16250 4/21/16 196184                      04497     4/16
                                                  7268038 3/21/16                .01 16250 4/21/16 196184                      04497     4/16
                                                  7286619 3/29/16             119.60 16400 4/21/16 196184                      04497     4/16
                                                  7286619 3/29/16              11.35 16400 4/21/16 196184            2,792.69 04497      4/16
                                                  7292637 3/31/16              73.10 16400 4/28/16 196711                      04497     4/16
                                                  7292637 3/31/16               6.95 16400 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16              16.13 16850 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16               1.53 16850 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16              34.90 16400 4/28/16 196711                      04497     4/16
                                                  7294930 4/01/16               3.31 16400 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16              71.92 16850 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16               6.78 16850 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16           2,302.35 16400 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16             216.65 16400 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16             691.03 16250 4/28/16 196711                      04497     4/16
                                                  7296486 4/01/16              65.01 16250 4/28/16 196711                      04497     4/16
                                                  7296889 4/04/16             120.92- 16400 4/28/16 196711                     04497     4/16
                                                  7296889 4/04/16              11.48- 16400 4/28/16 196711           3,357.26 04497      4/16
                                                     **********               9,119.67 ***GUEST   ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES          9144338957 3/15/16              342.53 66651 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               32.54 66651 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16              156.14 66250 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               14.83 66250 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16              222.56 66130 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               21.15 66130 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16              108.43 66120 4/07/16 194633                      03866    4/16
                                               9144338957 3/15/16               10.30 66120 4/07/16 194633              908.48 03866     4/16
                                               9144489445 3/22/16              611.83 66160 4/14/16 195558                      03866    4/16
                                               9144489445 3/22/16               58.12 66160 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16               10.21 66255 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16                 .97 66255 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16               23.76 66160 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16                2.26 66160 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16               92.92 66120 4/14/16 195558                      03866    4/16
                                               9144489447 3/22/16                8.83 66120 4/14/16 195558              808.90 03866     4/16
                                               9144536251 3/23/16              252.18 66250 4/21/16 196222                      03866    4/16
                                               9144536251 3/23/16               23.96 66250 4/21/16 196222              276.14 03866     4/16
                                               9144747213 4/01/16               11.40 66520 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16                1.08 66520 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16              146.38 66120 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16               13.91 66120 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16               62.40 66110 4/28/16 196756                      04841    4/16
                                               9144747213 4/01/16                5.93 66110 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16               10.22 66120 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16                 .97 66120 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16               35.26 66110 4/28/16 196756                      04841    4/16
                                               9144796025 4/05/16                3.34 66110 4/28/16 196756              290.89 04841     4/16
                                                     **********                2,284.41 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-295 HERITA    HERITAGE FOOD SERVICE GRP     03540245IN 3/24/16               28.60 66202 4/21/16 196206                       04497 4/16
                                               03540245IN 3/24/16               16.12 66202 4/21/16 196206                       04497 4/16
                                               03540245IN 3/24/16                4.25 66202 4/21/16 196206              48.97    04497 4/16
                                                     **********                   48.97 ***HERITA ******H-295****HERITAGE FOOD   SERVICE GRP




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APHIST-0411    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
*H-175 HILTON    HILTON HOTELS CORPORATION       16474983 3/25/16             100.00 14030 4/07/16 194608                       03911 4/16
                                                 16487243 3/25/16             215.00 14030 4/07/16 194608                       03911 4/16
                                                 16487377 3/25/16             215.00 14030 4/07/16 194608             530.00    03911 4/16
                                                   654712 3/31/16           3,143.60- 62249 4/14/16 195542                      04275 4/16
                                               0012142490 3/31/16             430.50 62625 4/14/16 195542                       04275 4/16
                                               0012148552 3/31/16           2,631.35 62200 4/14/16 195542                       04275 4/16
                                               0012148552 3/31/16           8,330.26 16300 4/14/16 195542           8,248.51    04275 4/16
                                               0012152841 4/11/16           4,964.10 62650 4/21/16 196199           4,964.10    04672 4/16
                                                     **********              13,742.61 ***HILTON ******H-175****HILTON HOTELS   CORPORATION

HO-057 HOT       HOT SPRINGS METRO                   1663 3/10/16           1,000.00 60310 4/21/16 691511           1,000.00 04672       /
                                                     **********               1,000.00 ***HOT    *****HO-057****HOT SPRINGS METRO

HO-065 HOT       HOT SPRINGS NATURAL                 6070 4/11/16              146.20 45010 4/28/16 692312             146.20 04927      /
                                                     **********                  146.20 ***HOT    *****HO-065****HOT SPRINGS NATURAL

*H-270 HOT S     HOT SPRINGS MUNICIPAL UTI       41628600 4/21/16           1,051.20 66325 4/28/16 196731                     04837 4/16
                                                 41628600 4/21/16              35.60 66325 4/28/16 196731                     04837 4/16
                                                 41628600 4/21/16           8,575.95 64500 4/28/16 196731                     04837 4/16
                                                 41628600 4/21/16             290.41 64500 4/28/16 196731           9,953.16 04837 4/16
                                                 41628700 4/21/16              59.65 64500 4/28/16 196732                     04837 4/16
                                                 41628700 4/21/16               5.64 64500 4/28/16 196732              65.29 04837 4/16
                                                     **********              10,018.45 ***HOT S  ******H-270****HOT SPRINGS MUNICIPAL UTI

*H-003 HOT SP    HOT SPRINGS EMBASSY           D037951105 3/31/16              175.00 60721 4/07/16 194596                     03837    4/16
                                               D037951105 3/31/16              190.00 60310 4/07/16 194596                     03837    4/16
                                               D037951984 3/31/16              366.94 24510 4/07/16 194596                     03837    4/16
                                               D037952554 3/31/16               79.03 66520 4/07/16 194596                     03911    4/16
                                               D037952554 3/31/16              156.99 66120 4/07/16 194596                     03911    4/16
                                               D037952554 3/31/16              117.95 24510 4/07/16 194596           1,085.91 03911     4/16
                                               D047953026 4/08/16               21.87 66651 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               21.86 66520 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               14.25 66120 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               32.65 45022 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16              130.00 45010 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16                3.31 24510 4/14/16 195535                     04173    4/16
                                               D047953026 4/08/16               18.62 16105 4/14/16 195535                     04173    4/16
                                               D047956623 4/08/16              175.00 60721 4/14/16 195535                     04173    4/16
                                               D047956623 4/08/16              124.88 14030 4/14/16 195535             542.44 04173     4/16
                                               D047956224 4/15/16               14.40 66250 4/21/16 196188                     04608    4/16
                                               D047956224 4/15/16               38.52 66120 4/21/16 196188                     04608    4/16
                                               D047956224 4/15/16               20.00 45010 4/21/16 196188                     04608    4/16
                                               D047956224 4/15/16                3.29 16400 4/21/16 196188                     04608    4/16
                                               D047957215 4/15/16              350.00 60721 4/21/16 196188             426.21 04608     4/16
                                               D047951512 4/22/16               35.43 66651 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16               28.82 66500 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16               34.38 66250 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16               10.93 66130 4/28/16 196718                     04927    4/16
                                               D047951512 4/22/16              120.00 45010 4/28/16 196718                     04927    4/16
                                               D047955478 4/22/16              175.00- 60721 4/28/16 196718                    04927    4/16
                                               D047955478 4/22/16               88.91 45022 4/28/16 196718                     04927    4/16
                                               D047955478 4/22/16              236.65 14030 4/28/16 196718             380.12 04927     4/16
                                                     **********                2,434.68 ***HOT SP ******H-003****HOT SPRINGS EMBASSY

HO-321 HOT SP    HOT SPRINGS   A & P           CTYF0416    4/14/16          1,953.04 02060 4/15/16 911792           1,953.04 00000       /
                                               CTYR0416    4/14/16            227.81 02060 4/15/16 911817                    00000       /
                                               CTYR0416    4/14/16         30,430.53 02059 4/15/16 911817          30,658.34 00000       /
                                                     **********              32,611.38 ***HOT SP *****HO-321****HOT SPRINGS A & P

*I-041 IKON      IKON/RICOH SERVICES             96511611 4/10/16              769.42 60370 4/07/16 194647                     04003    4/16
                                                 96511611 4/10/16               48.56 60370 4/07/16 194647             817.98 04003     4/16
                                                     **********                  817.98 ***IKON   ******I-041****IKON/RICOH SERVICES

IO-016 IOVINO    IOVINO RENOVATIONS LLC             40616 4/06/16           1,618.00 66400 4/21/16 691536           1,618.00 04497     /
                                                     **********               1,618.00 ***IOVINO *****IO-016****IOVINO RENOVATIONS LLC




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APHIST-0412    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.     INV.DATE     INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*J-142 JOHNS     JOHNSON CONTROLS INC         1579982082 3/09/16               820.10 66160 4/07/16 194904                     03866     4/16
                                              1579982082 3/09/16                77.91 66160 4/07/16 194904             898.01 03866      4/16
                                              2279098507 4/02/16               474.92 66160 4/28/16 196768                     04497     4/16
                                              2279098507 4/02/16                45.12 66160 4/28/16 196768             520.04 04497      4/16
                                                    **********                 1,418.05 ***JOHNS  ******J-142****JOHNSON CONTROLS INC

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 03 3/30/16            5,375.00 60116 4/07/16 194939            5,375.00 03138 4/16
                                                    **********                5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS041601 4/14/16              364.78 66060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16              667.89 62060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16              741.02 60060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16              380.33 26060 4/14/16 195770                     00000 4/16
                                              JINS041601 4/14/16            3,049.70 16060 4/14/16 195770           5,203.72 00000 4/16
                                                    **********                5,203.72 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT

JQ-004 JQH C     JQH C                        122A0416    4/28/16             795.91 16150 4/28/16 911979                        00000    /
                                              122A0416    4/28/16             233.09 02005 4/28/16 911979                        00000    /
                                              122A041601 4/28/16                8.82 60115 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               47.62 60061 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               57.49 35901 4/28/16 911979                        00000    /
                                              122A041601 4/28/16               75.00 35031 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              189.20 35030 4/28/16 911979                        00000    /
                                              122A041601 4/28/16              116.73 26260 4/28/16 911979                        00000    /
                                              122A041602 4/28/16               73.97 60856 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              548.61 60721 4/28/16 911979                        00000    /
                                              122A041602 4/28/16               85.81 60590 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              119.99 60580 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              873.52 60560 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              723.80 60520 4/28/16 911979                        00000    /
                                              122A041602 4/28/16              576.31 60320 4/28/16 911979                        00000    /
                                              122A041603 4/28/16            2,550.40 62843 4/28/16 911979                        00000    /
                                              122A041603 4/28/16               35.92 62835 4/28/16 911979                        00000    /
                                              122A041603 4/28/16              756.79 62830 4/28/16 911979                        00000    /
                                              122A041603 4/28/16               32.60 62401 4/28/16 911979                        00000    /
                                              122A041603 4/28/16                5.24 60880 4/28/16 911979                        00000    /
                                              122A041603 4/28/16            1,400.57 60870 4/28/16 911979                        00000    /
                                              122A041604 4/28/16               42.03 85962 4/28/16 911979                        00000    /
                                              122A041604 4/28/16               55.98 66100 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              100.00 64700 4/28/16 911979                        00000    /
                                              122A041604 4/28/16               30.55 62860 4/28/16 911979                        00000    /
                                              122A041604 4/28/16              230.18 62850 4/28/16 911979                        00000    /
                                              122B0416    4/28/16             433.07 60860 4/28/16 911979          10,199.20     00000    /
                                                    **********               10,199.20 ***JQH C  *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS041601 4/14/16              794.12 66060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            3,309.51 62060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            3,965.68 60060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            1,161.18 26060 4/14/16 195843                     00000      4/16
                                              JINS041601 4/14/16            4,688.14 16060 4/14/16 195843          13,918.63 00000       4/16
                                                    **********               13,918.63 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  03 4/05/16               332.87 66900 4/07/16 194888              332.87   03138 4/16
                                                    **********                   332.87 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  03 4/05/16            3,314.50 16900 4/07/16 194737           3,314.50 03138 4/16
                                                    **********                3,314.50 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16   03    4/05/16           573.90     62900   4/07/16   194743      573.90   03138   4/16
                                              *FM16    02    4/05/16           313.68     66900   4/07/16   194748      313.68   03138   4/16
                                              *ARM16   03    4/05/16           335.36     62900   4/07/16   194773      335.36   03138   4/16
                                              *DSA16   01    4/05/16           345.48     62900   4/07/16   194778      345.48   04034   4/16
                                              *RMA16   03    4/05/16           219.73     62900   4/07/16   194787      219.73   03138   4/16
                                              *BRM16   03    4/05/16           814.27     62900   4/07/16   194808      814.27   03138   4/16
                                              *EC16    03    4/05/16           367.78     62900   4/07/16   194813      367.78   03138   4/16




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                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                               *RPM16  02 4/05/16               209.99 66900 4/07/16 194822             209.99 03138 4/16
                                                     **********                 3,180.19 ***JQHHM  ******J-026****JQHHM NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                      MGMT031604 3/31/16           24,980.60 02013 4/14/16 691246           24,980.60    00000    /
                                                     **********               24,980.60 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS      *BAA16  03 4/05/16               88.73 60900 4/07/16 194668              88.73 03138 4/16
                                               *RDS16  03 4/05/16            1,956.96 62900 4/07/16 194677           1,956.96 03138 4/16
                                               *RVP16  03 4/05/16            2,607.12 60900 4/07/16 194686           2,607.12 03138 4/16
                                                     **********                4,652.81 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

KA-154 KARCH     KARCHER NORTH AMERICA         5331958319 3/28/16               622.90 16850 4/21/16 691550                       03866   /
                                               5331958319 3/28/16                 8.30 16850 4/21/16 691550                       03866   /
                                               5331958319 3/28/16                59.95 16850 4/21/16 691550             691.15    03866   /
                                                     **********                   691.15 ***KARCH  *****KA-154****KARCHER NORTH   AMERICA

KN-003 KNOX      KNOX AIR CONDITIONING              17118 4/11/16               368.74 66202 4/21/16 691558                     04672   /
                                                    17118 4/11/16                35.03 66202 4/21/16 691558             403.77 04672    /
                                                     **********                   403.77 ***KNOX   *****KN-003****KNOX AIR CONDITIONING

*K-160 KONE      KONE INC -ONLY AUTO PAYS      *7348A  02 4/01/16            4,348.49 66300 4/07/16 194976                     03138 4/16
                                               *7348A  02 4/01/16              413.11 66300 4/07/16 194976           4,761.60 03138 4/16
                                                     **********                4,761.60 ***KONE   ******K-160****KONE INC -ONLY AUTO PAYS

LA-504 LABORATO LABORATORY CORP OF               51107434 4/02/16               129.25 60320 4/28/16 692841              129.25 04841      /
                                                     **********                   129.25 ***LABORATO*****LA-504****LABORATORY CORP OF

LA-196 LAWNS     LAWNS,LIMBS & LANDSCAPING     2016001291 4/12/16               900.00 66450 4/28/16 692374                     04841   /
                                               2016001291 4/12/16                85.50 66450 4/28/16 692374             985.50 04841    /
                                                     **********                   985.50 ***LAWNS  *****LA-196****LAWNS,LIMBS & LANDSCAPING

LE-217 LESLIE    LESLIE'S SWIMMNG POOL SUP     1979694001 4/14/16               119.96 66600 4/28/16 692383                     04841   /
                                               1979694001 4/14/16                11.40 66600 4/28/16 692383             131.36 04841    /
                                                     **********                   131.36 ***LESLIE *****LE-217****LESLIE'S SWIMMNG POOL SUP

*M-024 MARSH     MARSH USA INC                 INSA031601 4/07/16            1,958.44 01311 4/07/16 195318           1,958.44 00000       4/16
                                               INSA031602 4/07/16            1,977.00 02120 4/07/16 195356                     00000      4/16
                                               INSA031602 4/07/16            2,543.00 01310 4/07/16 195356           4,520.00 00000       4/16
                                                     **********                6,478.44 ***MARSH  ******M-024****MARSH USA INC

ME-259 MERR      MERRITT WHOLESALE DISTRIB          49818 3/25/16                53.83 62251 4/07/16 690244                     03911   /
                                                    49818 3/25/16               121.90 45010 4/07/16 690244                     03911   /
                                                    49973 3/29/16               115.24 62251 4/07/16 690244                     03911   /
                                                    49973 3/29/16                23.12 45010 4/07/16 690244             314.09 03911    /
                                                    42129 11/05/15               42.56 16850 4/21/16 691600                     04672   /
                                                    50252 4/01/16                23.12 62251 4/21/16 691600                     04288   /
                                                    50252 4/01/16               132.78 45010 4/21/16 691600                     04288   /
                                                    50430 4/05/16                92.50 62251 4/21/16 691600                     04288   /
                                                    50430 4/05/16                88.28 45010 4/21/16 691600                     04288   /
                                                    50871 4/12/16                46.26 62251 4/21/16 691600                     04672   /
                                                    50871 4/12/16               118.49 45010 4/21/16 691600                     04672   /
                                                    50978 4/13/16                22.94 62251 4/21/16 691600             566.93 04672    /
                                                    50681 4/08/16                92.12 62251 4/28/16 692419                     04841   /
                                                    50681 4/08/16               129.10 45010 4/28/16 692419                     04841   /
                                                    51115 4/15/16                92.32 62251 4/28/16 692419                     04927   /
                                                    51115 4/15/16               160.43 45010 4/28/16 692419                     04927   /
                                                    51270 4/19/16               110.48 45010 4/28/16 692419             584.45 04927    /
                                                     **********                 1,465.47 ***MERR   *****ME-259****MERRITT WHOLESALE DISTRIB

MI-144 MILLER    MILLER CHEMICAL CO                 48317     3/24/16           124.00     66600   4/21/16   691605               03367    /
                                                    48317     3/24/16            11.78     66600   4/21/16   691605               03367    /




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APHIST-0414    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                                    48464 4/15/16               44.00 66600 4/21/16 691605                     04672     /
                                                    48464 4/15/16                4.18 66600 4/21/16 691605             183.96 04672      /
                                                    48488 4/19/16              464.00 66600 4/28/16 692426                     04927     /
                                                    48488 4/19/16               44.08 66600 4/28/16 692426             508.08 04927      /
                                                     **********                  692.04 ***MILLER *****MI-144****MILLER CHEMICAL CO

MU-165 MUELL     MARINA MUELLER                     40816 4/08/16              430.34 60730 4/21/16 691618             430.34 04672      /
                                                     **********                  430.34 ***MUELL  *****MU-165****MARINA MUELLER

MY-019 MYERS     MYERS SUPPLY & CHEMICAL        201751000 3/18/16               63.83 16850 4/14/16 690978                     03866   /
                                                201751000 3/18/16                6.06 16850 4/14/16 690978              69.89 03866    /
                                                201813000 4/21/16              211.83 66275 4/28/16 692440                     04927   /
                                                201813000 4/21/16               20.12 66275 4/28/16 692440                     04927   /
                                                201830800 4/18/16              144.15 16850 4/28/16 692440                     04927   /
                                                201830800 4/18/16               13.69 16850 4/28/16 692440             389.79 04927    /
                                                     **********                  459.68 ***MYERS  *****MY-019****MYERS SUPPLY & CHEMICAL

*N-090 NOR1      NOR1 INC                       INV209422 3/31/16              265.65 45022 4/28/16 196838                      04497   4/16
                                                INV209422 3/31/16               32.25 16300 4/28/16 196838             297.90   04497   4/16
                                                     **********                  297.90 ***NOR1   ******N-090****NOR1 INC

OA-033 OAKLAWN   OAKLAWN ROTARY CLUB                 2461 4/01/16              195.00 62841 4/21/16 691633              195.00 04672     /
                                                     **********                  195.00 ***OAKLAWN *****OA-033****OAKLAWN ROTARY CLUB

OR-023 ORIENTAL ORIENTAL TRADING COMPANY       7686200001 3/21/16               69.96 16105 4/14/16 690994               69.96 03866    /
                                                     **********                   69.96 ***ORIENTAL*****OR-023****ORIENTAL TRADING COMPANY

PE-081 PEPSI     PEPSI-COLA                      30478453 3/31/16             667.64 45010 4/07/16 690626                       03866    /
                                                 31197703 3/24/16             831.14 24510 4/07/16 690626                       03866    /
                                                 38720203 3/10/16             431.27 24510 4/07/16 690626                       03866    /
                                                 47013502 3/16/16             737.03 24510 4/07/16 690626           2,667.08    03866    /
                                                 30478454 4/04/16             595.30 24510 4/28/16 692762                       04828    /
                                                 30518654 4/14/16           1,226.88 45010 4/28/16 692762                       04841    /
                                                 35226605 4/07/16             555.24 24510 4/28/16 692762           2,377.42    04828    /
                                                     **********               5,044.50 ***PEPSI  *****PE-081****PEPSI-COLA

PL-062 PLANTATI PLANTATION SERVICES INC            131304 4/01/16           1,102.50 66460 4/21/16 691659            1,102.50 04497    /
                                                     **********               1,102.50 ***PLANTATI*****PL-062****PLANTATION SERVICES INC

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         730106 3/15/16              200.00 16400 4/07/16 690318             200.00 03866    /
                                                     **********                  200.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PR-053 PRES      PRESSURIZED INC                     1491 3/22/16              700.00 26260 4/07/16 690322                     03866     /
                                                     1491 3/22/16               66.50 26260 4/07/16 690322             766.50 03866      /
                                                     **********                  766.50 ***PRES   *****PR-053****PRESSURIZED INC

RA-485 RAYFIELD RAYFIELD COMMUNICATIONS             86037 4/12/16              119.50 66520 4/28/16 692520                      04841   /
                                                    86037 4/12/16               11.90 66520 4/28/16 692520              131.40 04841    /
                                                     **********                  131.40 ***RAYFIELD*****RA-485****RAYFIELD COMMUNICATIONS

RE-043 RED       RED BULL DISTRIBUTION          K15512341 3/28/16               70.46 45010 4/07/16 690343              70.46 03866    /
                                                K15810079 4/11/16              246.61 45010 4/28/16 692521             246.61 04841    /
                                                     **********                  317.07 ***RED    *****RE-043****RED BULL DISTRIBUTION

RE-204 RED       RED BOOK CONNECT LLC              725649 12/03/15              37.01 66651 4/07/16 690349                     03911     /
                                                   725649 12/03/15              12.72 66651 4/07/16 690349              49.73 03911      /
                                                     **********                   49.73 ***RED    *****RE-204****RED BOOK CONNECT LLC

RE-415 REGAL     THE REGAL PRESS INC               382390 3/30/16               18.40 60552 4/21/16 691684              18.40 04497      /
                                                     **********                   18.40 ***REGAL  *****RE-415****THE REGAL PRESS INC



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APHIST-0415    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                            PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
RE-201 REGENCY   REGENCY ENTERPRISES INC         3514847 12/16/15             182.25 66130 4/21/16 691680                      04497   /
                                                 3514847 12/16/15              17.31 66130 4/21/16 691680                      04497   /
                                                 3520079 12/23/15              59.52 66130 4/21/16 691680                      04497   /
                                                 3520079 12/23/15               5.65 66130 4/21/16 691680                      04497   /
                                                 3539090 1/20/16               88.04 66130 4/21/16 691680                      04497   /
                                                 3539090 1/20/16                8.36 66130 4/21/16 691680                      04497   /
                                                 3539117 1/20/16               34.74 66130 4/21/16 691680                      04497   /
                                                 3539117 1/20/16                3.30 66130 4/21/16 691680                      04497   /
                                                 3542679 1/25/16               52.80 66130 4/21/16 691680                      04497   /
                                                 3542679 1/25/16                5.02 66130 4/21/16 691680                      04497   /
                                                 3572963 2/29/16               52.80 66130 4/21/16 691680                      04497   /
                                                 3572963 2/29/16                5.02 66130 4/21/16 691680              514.81 04497    /
                                                    **********                  514.81 ***REGENCY *****RE-201****REGENCY ENTERPRISES INC

RE-001 RESORT    RESORT TELEVISION CABLE      4169968001 3/24/16           1,800.00 35030 4/07/16 690342           1,800.00 04023    /
                                                    **********               1,800.00 ***RESORT *****RE-001****RESORT TELEVISION CABLE

RI-092 RICO      RICOH USA INC                1061456252 3/15/16              164.78 60550 4/07/16 690365                         03367    /
                                              1061456252 3/15/16               15.65 60550 4/07/16 690365               180.43    03367    /
                                              5041091634 3/16/16              251.57 60551 4/14/16 691030                         03866    /
                                              5041091634 3/16/16               23.89 60551 4/14/16 691030               275.46    03866    /
                                              1061632528 3/23/16              140.45 60550 4/21/16 691696                         03866    /
                                              1061632528 3/23/16               13.34 60550 4/21/16 691696                         03866    /
                                              1061654219 3/24/16              115.38 60550 4/21/16 691696               269.17    03866    /
                                                    **********                  725.06 ***RICO   *****RI-092****RICOH   USA INC

RI-042 RIDGEWAY RIDGEWAY COMMUNICATIONS            53307 2/16/16              398.00 35890 4/07/16 690354                      03911   /
                                                   53307 2/16/16               30.00 35890 4/07/16 690354                      03911   /
                                                   53479 3/17/16              101.60 66200 4/07/16 690354                      03866   /
                                                   53479 3/17/16               21.38 66200 4/07/16 690354              550.98 03866    /
                                                    **********                  550.98 ***RIDGEWAY*****RI-042****RIDGEWAY COMMUNICATIONS

*R-088 ROBERTS   CRIS ROBERTS                      33016 3/30/16               92.34 62505 4/07/16 195064               92.34     03911   4/16
                                                    **********                   92.34 ***ROBERTS ******R-088****CRIS ROBERTS

*R-207 ROYAL     ROYAL PAPER CORP                4587473 3/22/16              174.76 16850 4/21/16 196314                     04497       4/16
                                                 4587473 3/22/16               16.60 16850 4/21/16 196314                     04497       4/16
                                                 4587473 3/22/16              467.40 16400 4/21/16 196314                     04497       4/16
                                                 4587473 3/22/16               44.40 16400 4/21/16 196314                     04497       4/16
                                                 4590051 4/01/16               13.25 16400 4/21/16 196314                     04497       4/16
                                                 4590051 4/01/16                1.26 16400 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16              200.18 16850 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16               19.02 16850 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16              631.87 16400 4/21/16 196314                     04497       4/16
                                                 4590052 4/01/16               60.04 16400 4/21/16 196314           1,628.78 04497        4/16
                                                    **********                1,628.78 ***ROYAL  ******R-207****ROYAL PAPER CORP

SA-288 SAFLOK    SAFLOK                        INV413938 3/24/16              326.00 66120 4/07/16 690389                         03911    /
                                               INV413938 3/24/16               16.71 66120 4/07/16 690389                         03911    /
                                               INV413938 3/24/16               32.56 66120 4/07/16 690389              375.27     03911    /
                                               INV414999 4/08/16               61.50 66120 4/28/16 692567                         04841    /
                                               INV414999 4/08/16               87.55 66120 4/28/16 692567                         04841    /
                                               INV414999 4/08/16               14.17 66120 4/28/16 692567              163.22     04841    /
                                                    **********                  538.49 ***SAFLOK *****SA-288****SAFLOK

SA-014 SANDERS   SANDERS SECURITY INC.             1044A 4/02/16              360.00 60016 4/21/16 691706              360.00 04672    /
                                                    **********                  360.00 ***SANDERS *****SA-014****SANDERS SECURITY INC.

SA-027 SANDERS   SANDERS SUPPLY                   130712 2/22/16               71.20 66250 4/21/16 691707                       04497      /
                                                  130712 2/22/16                5.54 66250 4/21/16 691707               76.74 04497        /
                                                    **********                   76.74 ***SANDERS *****SA-027****SANDERS SUPPLY

*S-124 SCHATZL   KURT SCHATZL                      40516 4/05/16              981.00 60856 4/19/16 195968              981.00     04533   4/16
                                                    **********                  981.00 ***SCHATZL ******S-124****KURT SCHATZL



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                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
SE-141 SENT      THE SENTINEL-RECORD               010366 3/29/16               10.00 45010 4/07/16 690414              10.00 03911       /
                                                   011015 4/12/16               10.00 45010 4/21/16 691733              10.00 04672       /
                                                   011041 4/19/16               10.00 45010 4/28/16 692584              10.00 04927       /
                                                     **********                   30.00 ***SENT   *****SE-141****THE SENTINEL-RECORD

SE-237 SENTINEL SENTINEL-RECORD INC                518340 4/15/16              167.20 60320 4/21/16 691734              167.20 04672      /
                                                     **********                  167.20 ***SENTINEL*****SE-237****SENTINEL-RECORD INC

*S-745 SERTI     SERTIFI                               SALE 3/01/16            117.00 62843 4/07/16 195168             117.00    03937   4/16
                                               *SALE     01 4/01/16            117.00 62843 4/14/16 195687             117.00    04034   4/16
                                                       **********                234.00 ***SERTI  ******S-745****SERTIFI

*S-216 SHAMEL    ROBIN SHAMEL                       33016 3/30/16               35.00 62850 4/07/16 195103                       03911   4/16
                                                    33016 3/30/16               43.04 62830 4/07/16 195103              78.04    03911   4/16
                                                     **********                   78.04 ***SHAMEL ******S-216****ROBIN SHAMEL

SH-437 SHOES     SHOES FOR CREWS LLC              6925640 3/30/16               17.99 26820 4/28/16 692844                     04497      /
                                                  6972998 4/11/16               31.49 26820 4/28/16 692844              49.48 04927       /
                                                     **********                   49.48 ***SHOES  *****SH-437****SHOES FOR CREWS LLC

*S-466 SIMP      SIMPLEXGRINNELL                 82299468 3/09/16             473.00 66110 4/07/16 195114                     03991      4/16
                                                 82299468 3/09/16              44.94 66110 4/07/16 195114             517.94 03991       4/16
                                                 82184760 2/04/16           1,246.53 66110 4/21/16 196325                     04497      4/16
                                                 82184760 2/04/16             118.43 66110 4/21/16 196325           1,364.96 04497       4/16
                                                     **********               1,882.90 ***SIMP   ******S-466****SIMPLEXGRINNELL

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        2679762 4/06/16           2,351.51 45025 4/28/16 196798           2,351.51 04841 4/16
                                                     **********               2,351.51 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SO-308 SOUTH     SOUTH CENTRAL SOUND              A284271 4/01/16               68.29 16805 4/21/16 691753                       04497    /
                                                  A284271 4/01/16                4.44 16805 4/21/16 691753                       04497    /
                                                  A284287 4/01/16               37.82 16805 4/21/16 691753                       04497    /
                                                  A284287 4/01/16                2.46 16805 4/21/16 691753             113.01    04497    /
                                                     **********                  113.01 ***SOUTH  *****SO-308****SOUTH CENTRAL   SOUND

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3296500562 3/18/16               73.00 60551 4/07/16 690685                      03866   /
                                               3296500562 3/18/16                6.93 60551 4/07/16 690685                      03866   /
                                               3296500562 3/18/16                4.29 60550 4/07/16 690685                      03866   /
                                               3296500562 3/18/16                 .41 60550 4/07/16 690685                      03866   /
                                               3296844853 3/22/16               73.00 60551 4/07/16 690685                      03866   /
                                               3296844853 3/22/16                6.94 60551 4/07/16 690685                      03866   /
                                               3296844853 3/22/16                8.24 60550 4/07/16 690685                      03866   /
                                               3296844853 3/22/16                 .78 60550 4/07/16 690685                      03866   /
                                               3297310930 3/26/16               36.50 60551 4/07/16 690685                      03866   /
                                               3297310930 3/26/16                3.47 60551 4/07/16 690685                      03866   /
                                               3297310930 3/26/16               31.97 60550 4/07/16 690685                      03866   /
                                               3297310930 3/26/16                3.03 60550 4/07/16 690685              248.56 03866    /
                                               3272657749 7/25/15                8.59 60551 4/21/16 691971                      04672   /
                                               3272657749 7/25/15                 .82 60551 4/21/16 691971                      04672   /
                                               3272657749 7/25/15               11.99 60550 4/21/16 691971                      04672   /
                                               3272657749 7/25/15                1.14 60550 4/21/16 691971                      04672   /
                                               3298786179 4/07/16              109.50 60551 4/21/16 691971                      04497   /
                                               3298786179 4/07/16               10.40 60551 4/21/16 691971                      04497   /
                                               3298786179 4/07/16               64.64 60550 4/21/16 691971                      04497   /
                                               3298786179 4/07/16                6.14 60550 4/21/16 691971              213.22 04497    /
                                               3296972961 3/24/16               94.98 60551 4/28/16 692808                      04841   /
                                               3296972961 3/24/16                9.02 60551 4/28/16 692808                      04841   /
                                               3299073701 4/09/16               81.71 60550 4/28/16 692808                      04841   /
                                               3299073701 4/09/16                7.52 60550 4/28/16 692808                      04841   /
                                               3299073701 4/09/16                8.99 45010 4/28/16 692808                      04841   /
                                               3299278334 4/13/16               95.99 60550 4/28/16 692808                      04841   /
                                               3299278334 4/13/16                9.12 60550 4/28/16 692808                      04841   /
                                               3299278335 4/13/16               82.19 60550 4/28/16 692808                      04841   /
                                               3299278335 4/13/16                7.81 60550 4/28/16 692808              397.33 04841    /
                                                     **********                  859.11 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG



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APHIST-0417    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
ST-094 STONE     STONECIPHER DISTRIBUTORS         283183 3/30/16                58.80 45020 4/07/16 690441                     03911   /
                                                  283183 3/30/16                 1.24 45020 4/07/16 690441              60.04 03911    /
                                                  283259 4/05/16                23.85 60070 4/21/16 691763                     04672   /
                                                  283259 4/05/16                 1.24 60070 4/21/16 691763              25.09 04672    /
                                                    **********                    85.13 ***STONE  *****ST-094****STONECIPHER DISTRIBUTORS

ST-722 STROOP    STROOPE TIRE INC                  35824 3/21/16                45.99 66100 4/07/16 690447              45.99 03911       /
                                                   36316 4/18/16               520.00 66100 4/28/16 692623                     04927      /
                                                   36316 4/18/16                49.02 66100 4/28/16 692623             569.02 04927       /
                                                    **********                   615.01 ***STROOP *****ST-722****STROOPE TIRE INC

IR-011 STUART    STUART C.IRBY CO             9350279001 12/28/15               68.17 66130 4/21/16 691537                       04672    /
                                              9350279001 12/28/15                6.48 66130 4/21/16 691537                       04672    /
                                              9378780001 1/15/16                68.17 66130 4/21/16 691537                       04672    /
                                              9378780001 1/15/16                 6.48 66130 4/21/16 691537                       04672    /
                                              9394475001 1/28/16                35.63 66130 4/21/16 691537                       04672    /
                                              9394475001 1/28/16                 9.43 66130 4/21/16 691537                       04672    /
                                              9394475001 1/28/16                 4.28 66130 4/21/16 691537                       04672    /
                                              9409162001 2/04/16                42.50 66130 4/21/16 691537                       04672    /
                                              9409162001 2/04/16                 9.78 66130 4/21/16 691537                       04672    /
                                              9409162001 2/04/16                 4.97 66130 4/21/16 691537                       04672    /
                                              9411007001 2/01/16               187.50 66130 4/21/16 691537                       04672    /
                                              9411007001 2/01/16                17.81 66130 4/21/16 691537                       04672    /
                                              9431753001 2/16/16                35.63 66130 4/21/16 691537                       04672    /
                                              9431753001 2/16/16                 9.41 66130 4/21/16 691537                       04672    /
                                              9431753001 2/16/16                 4.28 66130 4/21/16 691537                       04672    /
                                              9452517001 2/24/16               265.81 66130 4/21/16 691537                       04672    /
                                              9452517001 2/24/16                25.25 66130 4/21/16 691537                       04672    /
                                              9508287001 3/25/16                13.15 66130 4/21/16 691537             814.73    04672    /
                                                    **********                   814.73 ***STUART *****IR-011****STUART C.IRBY   CO

SU-099 SUMMER    SUMMER SOLES                     I42338 3/28/16               194.00 45022 4/21/16 691775                       04497    /
                                                  I42338 3/28/16                18.51 45022 4/21/16 691775             212.51    04497    /
                                                    **********                   212.51 ***SUMMER *****SU-099****SUMMER SOLES

SU-121 SUN COAS SUN COAST SALTS                  SUN1594 4/08/16               384.50 45022 4/28/16 692627                      04841     /
                                                 SUN1594 4/08/16                20.62 45022 4/28/16 692627              405.12 04841      /
                                                    **********                   405.12 ***SUN COAS*****SU-121****SUN COAST SALTS

*S-715 SYSCO     SYSCO                         612167259     3/07/16           95.11      26220   4/07/16   195158               03866   4/16
                                               612167259     3/07/16            9.04      26220   4/07/16   195158               03866   4/16
                                               612234194     3/11/16        1,665.20      16110   4/07/16   195158               03367   4/16
                                               612234194     3/11/16            4.76      16110   4/07/16   195158               03367   4/16
                                               612234666     3/11/16           88.95      16110   4/07/16   195158               03367   4/16
                                               612235244     3/11/16           75.80      24510   4/07/16   195158               03367   4/16
                                               612235245     3/11/16           28.79      26660   4/07/16   195158               03367   4/16
                                               612235245     3/11/16             .23      26660   4/07/16   195158               03367   4/16
                                               612235245     3/11/16          306.99      16125   4/07/16   195158               03367   4/16
                                               612235245     3/11/16            2.51      16125   4/07/16   195158               03367   4/16
                                               612235627     3/11/16           60.34      16110   4/07/16   195158               03367   4/16
                                               612235715     3/11/16          245.86      26220   4/07/16   195158               03367   4/16
                                               612235715     3/11/16           23.36      26220   4/07/16   195158               03367   4/16
                                               612258161     3/14/16          162.40      45060   4/07/16   195158               03367   4/16
                                               612258161     3/14/16        1,899.01      16110   4/07/16   195158               03367   4/16
                                               612258576     3/14/16           31.14      24510   4/07/16   195158               03367   4/16
                                               612258850     3/14/16           58.19      26230   4/07/16   195158               03367   4/16
                                               612258850     3/14/16            1.53      26230   4/07/16   195158               03367   4/16
                                               612258850     3/14/16          152.00      16125   4/07/16   195158               03367   4/16
                                               612258850     3/14/16            4.00      16125   4/07/16   195158               03367   4/16
                                               612259523     3/14/16           17.70      47040   4/07/16   195158               03367   4/16
                                               612259523     3/14/16             .08      47040   4/07/16   195158               03367   4/16
                                               612259523     3/14/16          153.16      16110   4/07/16   195158               03367   4/16
                                               612259523     3/14/16             .72      16110   4/07/16   195158               03367   4/16
                                              612234194A     3/11/16          186.40      24510   4/07/16   195158               03367   4/16
                                              612235244A     3/11/16          203.00      45060   4/07/16   195158               03367   4/16
                                              612235245A     3/11/16          709.70      24510   4/07/16   195158               03367   4/16
                                              612235627A     3/11/16          254.95      24510   4/07/16   195158               03367   4/16




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APHIST-0418   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                        PAGE     2
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                   DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #   CHK. AMT. BATCH # CLRD
                                             612258161A 3/14/16             116.33 24510 4/07/16 195158                      03367   4/16
                                             612258850A 3/14/16              21.66 24510 4/07/16 195158                      03367   4/16
                                             612259523A 3/14/16           1,453.09 24510 4/07/16 195158           8,032.00   03367   4/16
                                              612344903 3/21/16              48.83 26220 4/14/16 195678                      03367   4/16
                                              612344903 3/21/16                .75 26220 4/14/16 195678                      03367   4/16
                                              612344903 3/21/16             254.29 16125 4/14/16 195678                      03367   4/16
                                              612344903 3/21/16               3.89 16125 4/14/16 195678                      03367   4/16
                                              612345306 3/21/16           2,301.91 16110 4/14/16 195678                      03367   4/16
                                              612345306 3/21/16               4.76 16110 4/14/16 195678                      03367   4/16
                                              612345384 3/21/16              21.66 24510 4/14/16 195678                      03367   4/16
                                             612344903A 3/21/16           1,539.87 24510 4/14/16 195678           4,175.96   03367   4/16
                                              612411499 3/25/16             782.67 24510 4/21/16 196358                      03866   4/16
                                              612411581 3/25/16           1,340.35 24510 4/21/16 196358                      03866   4/16
                                              612411902 3/25/16              54.28 24510 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16              16.69 26860 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16                .05 26860 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16              46.75 26230 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16                .15 26230 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16           1,829.73 16110 4/21/16 196358                      03866   4/16
                                              612412274 3/25/16               5.83 16110 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16              86.58 26230 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16               4.23 26230 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16              81.98 16125 4/21/16 196358                      03866   4/16
                                              612412837 3/25/16               4.00 16125 4/21/16 196358                      03866   4/16
                                              612413118 3/25/16              95.11 26220 4/21/16 196358                      03866   4/16
                                              612413118 3/25/16               9.04 26220 4/21/16 196358                      03866   4/16
                                              612434085 3/28/16              95.11 26220 4/21/16 196358                      03866   4/16
                                              612434085 3/28/16               9.04 26220 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              28.79 26660 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16                .34 26660 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              58.19 26230 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16                .68 26230 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              48.83 26220 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16                .57 26220 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16           3,008.16 16110 4/21/16 196358                      03866   4/16
                                              612435158 3/28/16              35.12 16110 4/21/16 196358                      03866   4/16
                                              612435562 3/28/16             126.77 24510 4/21/16 196358                      03866   4/16
                                              612435821 3/28/16              75.55 24510 4/21/16 196358                      03866   4/16
                                              612435824 3/28/16           3,188.98 24510 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16              89.41 26220 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16               1.90 26220 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16             310.04 16125 4/21/16 196358                      03866   4/16
                                              612436016 3/28/16               6.59 16125 4/21/16 196358                      03866   4/16
                                              612453613 3/29/16             121.80 45060 4/21/16 196358                      03866   4/16
                                              612453613 3/29/16             278.50 16110 4/21/16 196358                      03866   4/16
                                             612411581A 3/25/16              46.96 26660 4/21/16 196358                      03866   4/16
                                             612435562A 3/28/16              13.03 45022 4/21/16 196358                      03866   4/16
                                             612435562A 3/28/16               1.24 45022 4/21/16 196358                      03866   4/16
                                             612435821A 3/28/16              56.11 26230 4/21/16 196358                      03866   4/16
                                             612435821A 3/28/16               5.33 26230 4/21/16 196358                      03866   4/16
                                             612453613A 3/29/16             369.01 24510 4/21/16 196358          12,333.49   03866   4/16
                                              612506193 4/01/16             190.22 26220 4/28/16 196958                      04497   4/16
                                              612506193 4/01/16              18.07 26220 4/28/16 196958                      04497   4/16
                                              612506194 4/01/16           2,065.98 16110 4/28/16 196958                      04497   4/16
                                              612506194 4/01/16               9.52 16110 4/28/16 196958                      04497   4/16
                                              612507240 4/01/16              81.20 45060 4/28/16 196958                      04497   4/16
                                              612507240 4/01/16             235.75 16125 4/28/16 196958                      04497   4/16
                                              612530686 4/04/16           1,857.33 16110 4/28/16 196958                      04497   4/16
                                              612530686 4/04/16              19.03 16110 4/28/16 196958                      04497   4/16
                                              612532084 4/04/16              27.26 26660 4/28/16 196958                      04497   4/16
                                              612532084 4/04/16               2.59 26660 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16               7.36 26860 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .02 26860 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16             192.31 16125 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .60 16125 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16              22.97 16110 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .07 16110 4/28/16 196958                      04497   4/16
                                              612532447 4/04/16                .01 16110 4/28/16 196958                      04497   4/16
                                             612506194A 4/01/16              42.13 24510 4/28/16 196958                      04497   4/16
                                             612507240A 4/01/16           1,068.69 24510 4/28/16 196958                      04497   4/16
                                             612530686A 4/04/16              98.98 24510 4/28/16 196958                      04497   4/16
                                             612532447A 4/04/16           2,144.05 24510 4/28/16 196958           8,084.14   04497   4/16
                                                   **********              32,625.59 ***SYSCO  ******S-715****SYSCO



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APHIST-0419    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE    1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
TA-208 TALX      TALX CORP.                      2071605 4/08/16                 8.40 60320 4/28/16 692847               8.40   04841   /
                                                    **********                     8.40 ***TALX   *****TA-208****TALX CORP.

TA-114 TAYLOR    TAYLOR'S CLEANERS AND              103A 2/19/16               79.02 45030 4/21/16 691780                     04288   /
                                                    104A 3/15/16               66.66 45030 4/21/16 691780             145.68 04288    /
                                                    **********                  145.68 ***TAYLOR *****TA-114****TAYLOR'S CLEANERS AND

TR-130 TROPICAL TROPICAL NUT & FRUIT CO       NV15376628 3/11/16              267.01 16105 4/28/16 692645              267.01 04828    /
                                                    **********                  267.01 ***TROPICAL*****TR-130****TROPICAL NUT & FRUIT CO

TU-077 TURNER    TURNER HOLDINGS LLC            19134906 3/10/16               87.85 16110 4/07/16 690483                     03866     /
                                                19181103 3/14/16               65.82 16110 4/07/16 690483                     03866     /
                                                19219604 3/17/16               66.08 16110 4/07/16 690483                     03866     /
                                                19268203 3/21/16               65.82 16110 4/07/16 690483                     03866     /
                                                19307705 3/24/16               87.85 16110 4/07/16 690483                     03866     /
                                               19134906A 3/10/16               94.68 24510 4/07/16 690483                     03866     /
                                               19181103A 3/14/16               59.68 24510 4/07/16 690483                     03866     /
                                               19219604A 3/17/16               57.40 24510 4/07/16 690483                     03866     /
                                               19268203A 3/21/16               69.30 24510 4/07/16 690483                     03866     /
                                               19307705A 3/24/16               60.03 24510 4/07/16 690483             714.51 03866      /
                                                19356804 3/28/16               65.82 16110 4/14/16 691114                     03866     /
                                                19395804 3/31/16               66.08 16110 4/14/16 691114                     03866     /
                                               19356804A 3/28/16               69.30 24510 4/14/16 691114                     03866     /
                                               19395804A 3/31/16               84.47 24510 4/14/16 691114             285.67 03866      /
                                                19460003 4/04/16               66.32 16110 4/28/16 692653                     04828     /
                                                19498413 4/07/16              151.92 45010 4/28/16 692653                     04841     /
                                                19499105 4/07/16               88.45 16110 4/28/16 692653                     04828     /
                                                19586505 4/14/16               66.32 16110 4/28/16 692653                     04928     /
                                               19460003A 4/04/16               90.72 24510 4/28/16 692653                     04828     /
                                               19499105A 4/07/16               56.14 24510 4/28/16 692653             519.87 04828      /
                                                    **********                1,520.05 ***TURNER *****TU-077****TURNER HOLDINGS LLC

TY-019 TYINC     TY INC                         13623487 3/25/16              408.00 45010 4/21/16 691802                       04497   /
                                                13623487 3/25/16               41.21 45010 4/21/16 691802              449.21   04497   /
                                                    **********                  449.21 ***TYINC  *****TY-019****TY INC

UN-228 UNIGUEST UNIGUEST INC                    12116153 12/15/15          1,887.88 16600 4/21/16 691941                        04288   /
                                                12116153 12/15/15            179.35 16600 4/21/16 691941            2,067.23    04288   /
                                                    **********               2,067.23 ***UNIGUEST*****UN-228****UNIGUEST INC

UN-341 UNITED    UNITED RENTALS NORTHWEST     5649332001 3/09/16               76.00 66120 4/07/16 690501                     03367   /
                                              5649332001 3/09/16               10.64 66120 4/07/16 690501                     03367   /
                                              5649332001 3/09/16                7.80 66120 4/07/16 690501              94.44 03367    /
                                                    **********                   94.44 ***UNITED *****UN-341****UNITED RENTALS NORTHWEST

UN-199 UNIVERSA UNIVERSAL COMPANIES INC          2761447 3/22/16             447.73 45022 4/21/16 691811                      04497   /
                                                 2761447 3/22/16              40.18 45022 4/21/16 691811              487.91 04497    /
                                                 2755884 3/11/16           1,946.25 01908 4/28/16 692787                      04051   /
                                                 2755884 3/11/16             365.00 01908 4/28/16 692787            2,311.25 04051    /
                                                    **********               2,799.16 ***UNIVERSA*****UN-199****UNIVERSAL COMPANIES INC

US-129 USA TODA USA TODAY                     0013091806 3/27/16              180.00 16105 4/21/16 692002              180.00   04288   /
                                                    **********                  180.00 ***USA TODA*****US-129****USA TODAY

WE-072 WEINER    WEINER'S LTD                    0031320 3/14/16              291.07 45010 4/07/16 690525             291.07    03991   /
                                                 0031671 3/25/16              280.70 45010 4/21/16 691828             280.70    03866   /
                                                 0031900 4/04/16              163.17 45010 4/28/16 692677                       04841   /
                                                 0031900 4/04/16               18.10 45010 4/28/16 692677             181.27    04841   /
                                                    **********                  753.04 ***WEINER *****WE-072****WEINER'S LTD

WI-138 WINDSTRE WINDSTREAM COMMUNICATIONS       15298679 4/20/16               35.94 35901 4/28/16 692686                      04028   /
                                                15298679 4/20/16              660.88 35030 4/28/16 692686              696.82 04028    /
                                                    **********                  696.82 ***WINDSTRE*****WI-138****WINDSTREAM COMMUNICATIONS



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APHIST-0420   4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE    1
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA    NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
WO-021 WOODBURY WOODBURY-BEACH COMPANY             17678 12/29/15            763.75 66160 4/21/16 691838                      04497    /
                                                   17678 12/29/15             72.56 66160 4/21/16 691838              836.31 04497     /
                                                    **********                 836.31 ***WOODBURY*****WO-021****WOODBURY-BEACH COMPANY

WO-103 WORLD CI WORLD CINEMA INC             **S4854 04 5/01/16           3,274.74 16425 4/21/16 692003                      03138     /
                                             **S4854 04 5/01/16             311.10 16425 4/21/16 692003            3,585.84 03138      /
                                                   **********               3,585.84 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN   WTS INTERNATIONAL INC        C000038674 4/01/16              300.00 45022 4/21/16 196406             300.00 04497 4/16
                                                   **********                  300.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80795              736,737.67




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APHIST-0418    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
AM-433 AMERICAN AMERICAN HOTEL & LODGING      0001182751 4/12/16               75.80 26867 5/05/16 692881                      04208   /
                                              0001182751 4/12/16                3.63 26867 5/05/16 692881               79.43 04208    /
                                                    **********                   79.43 ***AMERICAN*****AM-433****AMERICAN HOTEL & LODGING

AR-169 ARCADIA   ARCADIA PUBLISHING             20712630 4/22/16               39.75 45010 5/19/16 694501               39.75 05421      /
                                                20708532 4/08/16              224.30 45010 5/26/16 695391              224.30 05957      /
                                                    **********                  264.05 ***ARCADIA *****AR-169****ARCADIA PUBLISHING

AR-158 ARCOM     ARCOM SYSTEMS                     75006 3/11/16              492.75 66110 5/19/16 694499             492.75 05560       /
                                                    **********                  492.75 ***ARCOM  *****AR-158****ARCOM SYSTEMS

AR-009 ARKANSAS ARKANSAS RECORDS MGMT INC           5730 4/30/16              275.00 60710 5/19/16 694497              275.00 05560    /
                                                    **********                  275.00 ***ARKANSAS*****AR-009****ARKANSAS RECORDS MGMT INC

AR-021 ARKANSAS ARKANSAS DEMOCRAT GAZETTE         378121 4/26/16               10.00 45010 5/05/16 692888               10.00 04498    /
                                                  380886 5/03/16               10.00 45010 5/12/16 693896               10.00 05227    /
                                                  380892 5/10/16               10.00 45010 5/19/16 694498               10.00 05560    /
                                                  380903 5/17/16               10.00 45010 5/26/16 695387               10.00 05950    /
                                                    **********                   40.00 ***ARKANSAS*****AR-021****ARKANSAS DEMOCRAT GAZETTE

AR-215 ARKANSAS ARKANSAS HOSPITALITY ASSN           3904 4/06/16              436.65 60310 5/19/16 694502              436.65 05421    /
                                                    **********                  436.65 ***ARKANSAS*****AR-215****ARKANSAS HOSPITALITY ASSN

AR-464 ARKANSAS ARKANSAS WELDING SUPPLY       3658717001 4/20/16              113.79 16110 5/26/16 695398                      05957   /
                                              3658717001 4/20/16               12.50 16110 5/26/16 695398                      05957   /
                                              3658717001 4/20/16               12.00 16110 5/26/16 695398                      05957   /
                                              3662977001 4/27/16               57.51 16130 5/26/16 695398                      05957   /
                                              3662977001 4/27/16                5.46 16130 5/26/16 695398              201.26 05957    /
                                                    **********                  201.26 ***ARKANSAS*****AR-464****ARKANSAS WELDING SUPPLY

AS-020 ASAP      ASAP-CHARLES ROBERTSON            61938 4/29/16              16.00- 24520 5/05/16 693676                     04498    /
                                                   61938 4/29/16           2,274.03 16020 5/05/16 693676            2,258.03 04498     /
                                                   62030 5/06/16              48.00- 24520 5/12/16 693902                     05227    /
                                                   62030 5/06/16           1,927.38 16020 5/12/16 693902            1,879.38 05227     /
                                                   62097 5/13/16           1,877.59 16020 5/19/16 695208                      05560    /
                                                   62098 5/13/16              16.00- 24520 5/19/16 695208                     05560    /
                                                   62098 5/13/16             385.84 16020 5/19/16 695208            2,247.43 05560     /
                                                   62167 5/20/16           1,134.33 16020 5/26/16 695400            1,134.33 05950     /
                                                    **********               7,519.17 ***ASAP    *****AS-020****ASAP-CHARLES ROBERTSON

AS-007 ASHBY     ASHBY ST OUTDOOR LLC              23899 5/01/16              495.00 62400 5/19/16 694507             495.00 05421       /
                                                    **********                  495.00 ***ASHBY  *****AS-007****ASHBY ST OUTDOOR LLC

AT-046 AT&T      AT&T                         1940119845 5/11/16                 .32 35901 5/26/16 695410                       05017    /
                                              1940119845 5/11/16              178.41 35030 5/26/16 695410              178.73   05017    /
                                                    **********                  178.73 ***AT&T   *****AT-046****AT&T

AT-215 AT&T      AT&T MOBILITY                7X05032016 4/25/16               14.12 35901 5/12/16 693913                     05281      /
                                              7X05032016 4/25/16              131.69 35031 5/12/16 693913             145.81 05281       /
                                                    **********                  145.81 ***AT&T   *****AT-215****AT&T MOBILITY

BG-017 B & G     B & G OUTDOOR                   3180516 4/25/16              250.00 62400 5/19/16 694534             250.00 05421       /
                                                    **********                  250.00 ***B & G  *****BG-017****B & G OUTDOOR

*B-018 BANK      BANK OF AMERICA               MAY16LOAN 5/27/16         126,128.12 86700 5/27/16 199794                     05226      5/16
                                               MAY16LOAN 5/27/16          41,332.03 02820 5/27/16 199794                     05226      5/16
                                               MAY16LOAN 5/27/16          17,716.53 01095 5/27/16 199794         185,176.68 05226       5/16
                                                    **********             185,176.68 ***BANK   ******B-018****BANK OF AMERICA




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APHIST-0419    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
BE-047 BEAUTYPR BEAUTY PROPHET LLC                332111 4/20/16              120.00 45022 5/19/16 694526              120.00 04407       /
                                                    **********                  120.00 ***BEAUTYPR*****BE-047****BEAUTY PROPHET LLC

BE-155 BEST BUY BEST BUY BUSINESS             8000013375 4/25/16               99.99 66150 5/19/16 694530                      04407      /
                                              8000013375 4/25/16                9.50 66150 5/19/16 694530              109.49 04407       /
                                                 2282756 4/27/16              355.88 60560 5/26/16 695431              355.88 05421       /
                                                    **********                  465.37 ***BEST BUY*****BE-155****BEST BUY BUSINESS

BL-118 BLUE      BLUE MOUNTAIN ARTS INC       2335802002 2/10/16               47.88- 45010 5/12/16 693937                       02927    /
                                              2361628001 4/14/16              183.54 45010 5/12/16 693937                        04407    /
                                              2361628001 4/14/16                8.92 45010 5/12/16 693937                        04407    /
                                              2361628002 4/18/16               35.91- 45010 5/12/16 693937             108.67    04407    /
                                                    **********                  108.67 ***BLUE    *****BL-118****BLUE MOUNTAIN   ARTS INC

CA-114 CARROLL   CARROLL BUSINESS SYS INC      2125787IN 5/13/16              185.00 47040 5/26/16 695456                      05957   /
                                               2125787IN 5/13/16               40.76 47040 5/26/16 695456                      05957   /
                                               2125787IN 5/13/16               21.46 47040 5/26/16 695456              247.22 05957    /
                                                    **********                  247.22 ***CARROLL *****CA-114****CARROLL BUSINESS SYS INC

CE-098 CENTURY   CENTURYLINK                  1375477294 5/11/16               77.65 35901 5/19/16 694583                        05658    /
                                              1375477294 5/11/16              809.47 35030 5/19/16 694583              887.12    05658    /
                                                    **********                  887.12 ***CENTURY *****CE-098****CENTURYLINK

CH-078 CHURC     CHURHILL'S FINE CIGARS &         614034 5/03/16              187.00 45010 5/12/16 693955             187.00 05227    /
                                                    **********                  187.00 ***CHURC  *****CH-078****CHURHILL'S FINE CIGARS &

*C-411 CINTAS    CINTAS CORP                     2354193 4/13/16              367.10 16800 5/05/16 197195                        04407   5/16
                                                 2354193 4/13/16               18.95 16800 5/05/16 197195                        04407   5/16
                                                 2354193 4/13/16               34.88 16800 5/05/16 197195             420.93     04407   5/16
                                                 2257412 3/09/16              335.30 26820 5/26/16 199485                        05950   5/16
                                                 2257412 3/09/16               18.95 26820 5/26/16 199485                        05950   5/16
                                                 2257412 3/09/16               31.86 26820 5/26/16 199485             386.11     05950   5/16
                                                    **********                  807.04 ***CINTAS ******C-411****CINTAS CORP

CI-352 CINTAS    CINTAS CORP.                  570218207 4/06/16               96.74 26260 5/05/16 692978                        04208    /
                                               570218207 4/06/16               44.00 16850 5/05/16 692978                        04208    /
                                               570221147 4/13/16               96.74 26260 5/05/16 692978                        04208    /
                                               570221147 4/13/16               44.00 16850 5/05/16 692978                        04208    /
                                               570227163 4/27/16               96.74 26260 5/05/16 692978                        04498    /
                                               570227163 4/27/16               44.00 16850 5/05/16 692978             422.22     04498    /
                                               570224134 4/20/16               96.74 26260 5/19/16 694603                        05421    /
                                               570224134 4/20/16               44.00 16850 5/19/16 694603                        05421    /
                                               570230124 5/04/16               96.74 26260 5/19/16 694603                        05562    /
                                               570230124 5/04/16               44.00 16850 5/19/16 694603             281.48     05562    /
                                                    **********                  703.70 ***CINTAS *****CI-352****CINTAS CORP.

*C-624 CONT      CONTINUUM RETAIL ENERGY      5016045661 5/18/16           4,959.02 64200 5/26/16 199498                     05982 5/16
                                              5016045661 5/18/16             210.54 64200 5/26/16 199498           5,169.56 05982 5/16
                                                    **********               5,169.56 ***CONT   ******C-624****CONTINUUM RETAIL ENERGY

CO-492 CONVOY    CONVOY OF HOPE               INSA041603 5/04/16              296.00 02042 5/05/16 911997             296.00 00000        /
                                                    **********                  296.00 ***CONVOY *****CO-492****CONVOY OF HOPE

CO-556 COSMO     COSMOPROF                    0000515141 4/23/16               56.45 45022 5/19/16 694624                        04407    /
                                              0000515141 4/23/16                5.36 45022 5/19/16 694624              61.81     04407    /
                                                    **********                   61.81 ***COSMO  *****CO-556****COSMOPROF

DA-181 DARLAND   TARA DARLAND                       100A 4/22/16              300.00 60730 5/05/16 693029              300.00    04498    /
                                                    **********                  300.00 ***DARLAND *****DA-181****TARA DARLAND




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APHIST-0420   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
*D-002 DEPART   DEPARTMENT OF FINANCE        SLST0516    5/18/16           3,033.45- 85960 5/18/16 198657                       00000 5/16
                                             SLST0516    5/18/16               8.96 35901 5/18/16 198657                        00000 5/16
                                             SLST0516    5/18/16          10,744.17 02060 5/18/16 198657                        00000 5/16
                                             SLST0516    5/18/16         114,585.84 02059 5/18/16 198657                        00000 5/16
                                             SLST0516    5/18/16           1,596.48 02058 5/18/16 198657         123,902.00     00000 5/16
                                                   **********              123,902.00 ***DEPART ******D-002****DEPARTMENT OF    FINANCE

*E-091 ECOL     ECOLAB INC                      1465876 4/07/16               250.00 66600 5/19/16 198852                       05421   5/16
                                                1465876 4/07/16                23.75 66600 5/19/16 198852             273.75    05421   5/16
                                                1626205 4/25/16               401.00 66600 5/26/16 199530                       05957   5/16
                                                1626205 4/25/16                38.10 66600 5/26/16 199530             439.10    05957   5/16
                                                   **********                   712.85 ***ECOL   ******E-091****ECOLAB INC

*E-087 ECS      ECS INC / RIPPLEPOINT        *CONSUL 11 5/04/16                79.95 35895 5/12/16 197889              79.95 04111 5/16
                                                   **********                    79.95 ***ECS    ******E-087****ECS INC / RIPPLEPOINT

*D-210 EDWARD   EDWARD DON                     19124692     4/06/16           130.02     26860   5/05/16   197236               04828   5/16
                                               19124692     4/06/16            12.35     26860   5/05/16   197236               04828   5/16
                                               19124692     4/06/16            97.26     26660   5/05/16   197236               04828   5/16
                                               19124692     4/06/16             9.24     26660   5/05/16   197236               04828   5/16
                                               19124692     4/06/16           292.50     16130   5/05/16   197236               04828   5/16
                                               19124692     4/06/16            27.79     16130   5/05/16   197236               04828   5/16
                                               19124692     4/06/16            73.14     16125   5/05/16   197236               04828   5/16
                                               19124692     4/06/16             6.95     16125   5/05/16   197236               04828   5/16
                                               19126600     4/06/16            27.80     26860   5/05/16   197236               04828   5/16
                                               19126600     4/06/16             9.49     26860   5/05/16   197236               04828   5/16
                                               19126600     4/06/16             3.54     26860   5/05/16   197236               04828   5/16
                                               19147860     4/12/16            55.99     26660   5/05/16   197236               04208   5/16
                                               19147860     4/12/16             5.31     26660   5/05/16   197236               04208   5/16
                                               19149482     4/12/16            55.87     26660   5/05/16   197236               04208   5/16
                                               19149482     4/12/16             5.31     26660   5/05/16   197236               04208   5/16
                                               19149482     4/12/16           352.08     26180   5/05/16   197236               04208   5/16
                                               19149482     4/12/16            33.45     26180   5/05/16   197236               04208   5/16
                                               19149482     4/12/16           208.13     16130   5/05/16   197236               04208   5/16
                                               19149482     4/12/16            19.77     16130   5/05/16   197236               04208   5/16
                                               19149482     4/12/16            43.86     16125   5/05/16   197236               04208   5/16
                                               19149482     4/12/16             4.17     16125   5/05/16   197236               04208   5/16
                                               19149482     4/12/16              .01-    16125   5/05/16   197236    1,474.01   04208   5/16
                                               18935294     2/23/16            58.27     26860   5/19/16   198841               05562   5/16
                                               18935294     2/23/16             5.54     26860   5/19/16   198841               05562   5/16
                                               18935294     2/23/16            18.84     26660   5/19/16   198841               05562   5/16
                                               18935294     2/23/16             1.79     26660   5/19/16   198841               05562   5/16
                                               18935294     2/23/16           234.88     16130   5/19/16   198841               05562   5/16
                                               18935294     2/23/16            22.31     16130   5/19/16   198841               05562   5/16
                                               18935294     2/23/16            74.18     16125   5/19/16   198841               05562   5/16
                                               18935294     2/23/16             7.05     16125   5/19/16   198841      422.86   05562   5/16
                                               18747154     1/08/16            33.13     60220   5/26/16   199517               05950   5/16
                                               18747154     1/08/16            17.26     60220   5/26/16   199517               05950   5/16
                                               18747154     1/08/16            26.77     26660   5/26/16   199517               05950   5/16
                                               18747154     1/08/16            53.88     16400   5/26/16   199517               05950   5/16
                                               18747154     1/08/16           210.62     16130   5/26/16   199517               05950   5/16
                                               18747154     1/08/16            40.21     16125   5/26/16   199517               05950   5/16
                                               18877314     2/09/16           111.49     26860   5/26/16   199517               05950   5/16
                                               18877314     2/09/16            10.59     26860   5/26/16   199517               05950   5/16
                                               18877314     2/09/16            98.86     26660   5/26/16   199517               05950   5/16
                                               18877314     2/09/16             9.39     26660   5/26/16   199517               05950   5/16
                                               18877314     2/09/16           141.81     26180   5/26/16   199517               05950   5/16
                                               18877314     2/09/16            13.47     26180   5/26/16   199517               05950   5/16
                                               18877314     2/09/16           173.03     16130   5/26/16   199517               05950   5/16
                                               18877314     2/09/16            16.44     16130   5/26/16   199517               05950   5/16
                                               18877314     2/09/16            35.48     16125   5/26/16   199517               05950   5/16
                                               18877314     2/09/16             3.37     16125   5/26/16   199517               05950   5/16
                                               18911839     2/17/16            68.05     26860   5/26/16   199517               05950   5/16
                                               18911839     2/17/16             6.46     26860   5/26/16   199517               05950   5/16
                                               18911839     2/17/16            86.00     26660   5/26/16   199517               05950   5/16
                                               18911839     2/17/16             8.17     26660   5/26/16   199517               05950   5/16
                                               18911839     2/17/16            56.68     26180   5/26/16   199517               05950   5/16
                                               18911839     2/17/16             5.39     26180   5/26/16   199517               05950   5/16
                                               18911839     2/17/16           405.59     16130   5/26/16   199517               05950   5/16




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APHIST-0421    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                18911839 2/17/16                38.53 16130 5/26/16 199517                       05950   5/16
                                                18911839 2/17/16                42.31 16125 5/26/16 199517                       05950   5/16
                                                18911839 2/17/16                 4.02 16125 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                74.91 26860 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                 7.12 26860 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                65.20 26660 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                 6.20 26660 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                45.81 26180 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                 4.35 26180 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16               235.65 16130 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                22.39 16130 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                35.48 16125 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                 3.37 16125 5/26/16 199517                       05950   5/16
                                                19005322 3/09/16                  .01- 16125 5/26/16 199517                      05950   5/16
                                                19025397 3/14/16                45.98 26860 5/26/16 199517                       05950   5/16
                                                19025397 3/14/16                 4.37 26860 5/26/16 199517                       05950   5/16
                                                19025397 3/14/16                32.37 16125 5/26/16 199517                       05950   5/16
                                                19025397 3/14/16                 3.08 16125 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                56.85 26860 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                15.75 26860 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                 6.90 26860 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                46.36 26660 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                12.84 26660 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                 5.62 26660 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16               137.30 16130 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                38.03 16130 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                16.66 16130 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                67.52 16125 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                18.70 16125 5/26/16 199517                       05950   5/16
                                                19029167 3/15/16                 8.19 16125 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16               165.68 47040 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                15.74 47040 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                49.91 26660 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                 4.74 26660 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                94.45 26180 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                 8.97 26180 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16               227.87 16130 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                21.65 16130 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                26.44 16125 5/26/16 199517                       05950   5/16
                                                19186372 4/20/16                 2.51 16125 5/26/16 199517                       05950   5/16
                                                19187095 4/20/16                43.06 26860 5/26/16 199517                       05950   5/16
                                                19187095 4/20/16                11.60 26860 5/26/16 199517                       05950   5/16
                                                19187095 4/20/16                 5.19 26860 5/26/16 199517                       05950   5/16
                                                19217150 4/27/16                79.01 26660 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16                 7.50 26660 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16               105.62 16400 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16                10.03 16400 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16               126.60 16130 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16                12.03 16130 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16                39.12 16125 5/26/16 199517                       05562   5/16
                                                19217150 4/27/16                 3.72 16125 5/26/16 199517                       05562   5/16
                                                70515753 11/19/15              282.48- 16130 5/26/16 199517          3,512.95    05950   5/16
                                                    **********                 5,409.82 ***EDWARD ******D-210****EDWARD DON

*E-036 ELLIS     STACEY ELLIS                      41816 4/18/16               254.98 62850 5/12/16 197887                       05328   5/16
                                                   41816 4/18/16                72.90 62830 5/12/16 197887                       05328   5/16
                                                   41816 4/18/16                90.00 45022 5/12/16 197887             417.88    05328   5/16
                                                    **********                   417.88 ***ELLIS  ******E-036****STACEY ELLIS

EM-009 EMBASSY   HILTON HOTELS CORP           0012162086 4/30/16           14,960.79 02008 5/26/16 912176                        05124    /
                                              0012162086 4/30/16           24,934.65 02007 5/26/16 912176                        05124    /
                                              0012162086 4/30/16           39,895.44 02006 5/26/16 912176           79,790.88    05124    /
                                                    **********               79,790.88 ***EMBASSY *****EM-009****HILTON HOTELS   CORP

*E-079 ENTERG    ENTERGY                      0005141365     4/27/16        3,044.95      64200   5/05/16   197247               04198   5/16
                                              0005141365     4/27/16          287.36      64200   5/05/16   197247    3,332.31   04198   5/16
                                              0005371441     4/27/16       15,619.92      64100   5/05/16   197248               04198   5/16
                                              0005371441     4/27/16        1,474.67      64100   5/05/16   197248   17,094.59   04198   5/16
                                              2015154717     3/02/16        3,261.31      64100   5/12/16   197888               05235   5/16




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APHIST-0422    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE      3
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              2015154717 3/02/16               307.91 64100 5/12/16 197888           3,569.22   05235    5/16
                                                    **********                23,996.12 ***ENTERG ******E-079****ENTERGY

EX-083 EXPRESS   EXPRESS SERVICES INC          171920952 4/20/16               587.85 66015 5/05/16 693853                      04498     /
                                               171920960 4/20/16                16.00- 24520 5/05/16 693853                     04498     /
                                               172318099 4/27/16               562.29 66015 5/05/16 693853                      04498     /
                                               172318107 4/27/16                16.00- 24520 5/05/16 693853           1,118.14 04498      /
                                               172545303 5/04/16               751.02 66015 5/12/16 694034                      05227     /
                                               172545303 5/04/16               237.25 16020 5/12/16 694034                      05227     /
                                               172545311 5/04/16                16.00- 24520 5/12/16 694034                     05227     /
                                               172545329 5/05/16                16.00- 24520 5/12/16 694034             956.27 05227      /
                                               172887622 5/11/16               584.15 66015 5/19/16 695350                      05560     /
                                               172887622 5/11/16               376.86 16020 5/19/16 695350              961.01 05560      /
                                                    **********                 3,035.42 ***EXPRESS *****EX-083****EXPRESS SERVICES INC

FA-079 FARMER    FARMERS SEAFOOD CO              1506506 4/14/16               154.50 24510 5/12/16 694037             154.50 04407       /
                                                    **********                   154.50 ***FARMER *****FA-079****FARMERS SEAFOOD CO

FA-203 FARNSWOR FARNSWORTH FOODS                    7071 5/11/16                54.60 45010 5/26/16 695565                      05957     /
                                                   5162A 3/16/16                20.40- 45010 5/26/16 695565              34.20 04497      /
                                                    **********                    34.20 ***FARNSWOR*****FA-203****FARNSWORTH FOODS

FE-097 FEDEX     FEDEX                         539218256 4/21/16               104.95 60590 5/12/16 694045                      05227     /
                                               539975060 4/28/16                22.43 60590 5/12/16 694045             127.38   05227     /
                                               540717167 5/05/16               135.70 66202 5/19/16 695352                      05560     /
                                               540717167 5/05/16                31.18 60590 5/19/16 695352             166.88   05560     /
                                               541466461 5/12/16               157.20 60590 5/26/16 696132             157.20   05950     /
                                                    **********                   451.46 ***FEDEX  *****FE-097****FEDEX

*F-155 FIRST     FIRSTSTAFF INC                    61423 4/24/16            1,089.42 26028 5/05/16 197289                       04498    5/16
                                                   61423 4/24/16              782.24 26015 5/05/16 197289                       04498    5/16
                                                   61423 4/24/16               16.00- 24520 5/05/16 197289                      04498    5/16
                                                   61423 4/24/16              191.27 16030 5/05/16 197289                       04498    5/16
                                                   61423 4/24/16            1,633.61 16021 5/05/16 197289                       04498    5/16
                                                   61423 4/24/16            2,912.92 16020 5/05/16 197289                       04498    5/16
                                                  61423A 4/24/16              108.00 16030 5/05/16 197289            6,701.46 04498      5/16
                                                   61499 5/01/16               68.82 66015 5/12/16 197934                       05227    5/16
                                                   61499 5/01/16            1,087.13 26028 5/12/16 197934                       05227    5/16
                                                   61499 5/01/16              918.65 26015 5/12/16 197934                       05227    5/16
                                                   61499 5/01/16              189.97 16032 5/12/16 197934                       05227    5/16
                                                   61499 5/01/16               62.10 16030 5/12/16 197934                       05227    5/16
                                                   61499 5/01/16            1,072.80 16021 5/12/16 197934                       05227    5/16
                                                   61499 5/01/16            1,855.56 16020 5/12/16 197934                       05227    5/16
                                                  61499A 5/01/16               16.00- 24520 5/12/16 197934           5,239.03 05227      5/16
                                                   61577 5/08/16              449.28 26028 5/19/16 198866                       05560    5/16
                                                   61577 5/08/16              817.99 26015 5/19/16 198866                       05560    5/16
                                                   61577 5/08/16               16.00- 24520 5/19/16 198866                      05560    5/16
                                                   61577 5/08/16              175.18 16032 5/19/16 198866                       05560    5/16
                                                   61577 5/08/16              234.14 16030 5/19/16 198866                       05560    5/16
                                                   61577 5/08/16            1,174.93 16021 5/19/16 198866                       05560    5/16
                                                   61577 5/08/16            2,170.03 16020 5/19/16 198866            5,005.55 05560      5/16
                                                   61654 5/15/16              186.21 26028 5/26/16 199547                       05950    5/16
                                                   61654 5/15/16              345.82 26015 5/26/16 199547                       05950    5/16
                                                   61654 5/15/16               32.40- 24520 5/26/16 199547                      05950    5/16
                                                   61654 5/15/16              131.98 16032 5/26/16 199547                       05950    5/16
                                                   61654 5/15/16              247.75 16030 5/26/16 199547                       05950    5/16
                                                   61654 5/15/16            1,532.16 16021 5/26/16 199547                       05950    5/16
                                                   61654 5/15/16            1,426.00 16020 5/26/16 199547            3,837.52 05950      5/16
                                                    **********               20,783.56 ***FIRST   ******F-155****FIRSTSTAFF INC

FL-110 FLOWERS   FLOWERS AND HOME                   5608 4/19/16               125.26 26865 5/19/16 694720              125.26 05560      /
                                                    **********                   125.26 ***FLOWERS *****FL-110****FLOWERS AND HOME

FR-054 FRESHPO   FRESHPOINT                       573217     4/08/16            17.28     16125   5/05/16   693119              04828     /
                                                  573217     4/08/16            77.82     16110   5/05/16   693119              04828     /




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APHIST-0423    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     4
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                  573390 4/09/16                19.93 16125 5/05/16 693119                       04828    /
                                                  573390 4/09/16               177.72 16110 5/05/16 693119                       04828    /
                                                  573518 4/11/16                37.89 16125 5/05/16 693119                       04828    /
                                                  573518 4/11/16               173.48 16110 5/05/16 693119                       04828    /
                                                 573217A 4/08/16               141.93 24510 5/05/16 693119                       04828    /
                                                 573390A 4/09/16                47.01 24510 5/05/16 693119                       04828    /
                                                 573518A 4/11/16               122.93 24510 5/05/16 693119              815.99   04828    /
                                                  573729 4/13/16                62.61 16125 5/12/16 694057                       04928    /
                                                  573729 4/13/16                57.58 16110 5/12/16 694057                       04928    /
                                                  573965 4/15/16                48.17 16125 5/12/16 694057                       04407    /
                                                  573965 4/15/16               105.75 16110 5/12/16 694057                       04407    /
                                                  574142 4/16/16                43.13 16125 5/12/16 694057                       04407    /
                                                  574142 4/16/16                22.80 16110 5/12/16 694057                       04407    /
                                                  574265 4/18/16                 5.04 16125 5/12/16 694057                       04407    /
                                                  574265 4/18/16               130.50 16110 5/12/16 694057                       04407    /
                                                 573729A 4/13/16               109.18 24510 5/12/16 694057                       04208    /
                                                 573965A 4/15/16               108.98 24510 5/12/16 694057                       04407    /
                                                 574142A 4/16/16               113.73 24510 5/12/16 694057              807.47   04407    /
                                                  574474 4/20/16                 5.04 16125 5/19/16 694726                       04407    /
                                                  574474 4/20/16               130.50 16110 5/19/16 694726                       04407    /
                                                  574715 4/22/16               114.64 16110 5/19/16 694726                       04407    /
                                                  574889 4/23/16                19.93 16125 5/19/16 694726                       04407    /
                                                  574889 4/23/16                94.60 16110 5/19/16 694726                       04407    /
                                                  575003 4/25/16                19.93 16125 5/19/16 694726                       04407    /
                                                  575003 4/25/16               160.35 16110 5/19/16 694726                       04407    /
                                                 574474A 4/20/16                60.05 24510 5/19/16 694726                       04407    /
                                                 574715A 4/22/16                50.37 24510 5/19/16 694726                       04407    /
                                                 574889A 4/23/16               224.50 24510 5/19/16 694726                       04407    /
                                                 575003A 4/25/16                17.82 24510 5/19/16 694726              897.73   04407    /
                                                  575239 4/27/16                12.74 16110 5/26/16 695590                       04407    /
                                                  575484 4/29/16               100.38 16125 5/26/16 695590                       05421    /
                                                  575484 4/29/16               107.70 16110 5/26/16 695590                       05421    /
                                                  575757 5/02/16               127.74 16110 5/26/16 695590                       05562    /
                                                 575239A 4/27/16                83.00 24510 5/26/16 695590                       04407    /
                                                 575484A 4/29/16               128.03 24510 5/26/16 695590                       05421    /
                                                 575757A 5/02/16               139.22 24510 5/26/16 695590              698.81   05562    /
                                                    **********                 3,220.00 ***FRESHPO *****FR-054****FRESHPOINT

FR-019 FRITO     FRITO-LAY INC                  66248659 4/07/16               167.14 45010 5/05/16 693117                     04841      /
                                                66248724 4/12/16               104.31 45010 5/05/16 693117             271.45 04841       /
                                                66248794 4/19/16               178.27 45010 5/12/16 694055             178.27 04407       /
                                                    **********                   449.72 ***FRITO  *****FR-019****FRITO-LAY INC

GA-169 GANZ      GANZ USA LLC                    6934057 4/12/16                36.00 45010 5/05/16 693134                       04407    /
                                                 6934057 4/12/16                 8.48 45010 5/05/16 693134                       04407    /
                                                 6934605 4/12/16               450.75 45010 5/05/16 693134                       04407    /
                                                 6934605 4/12/16                12.45 45010 5/05/16 693134             507.68    04407    /
                                                    **********                   507.68 ***GANZ   *****GA-169****GANZ USA LLC

*N-134 GARD      NATHAN GARD                       42916 4/29/16                58.91 26860 5/05/16 197462                       04498   5/16
                                                   42916 4/29/16               201.76 24510 5/05/16 197462                       04498   5/16
                                                   42916 4/29/16                92.30 16110 5/05/16 197462             352.97    04498   5/16
                                                    **********                   352.97 ***GARD   ******N-134****NATHAN GARD

GA-262 GARDA     GARDA CL SOUTHWEST INC         10198419 5/01/16               320.66 60135 5/19/16 694743                     05421    /
                                                10198419 5/01/16                30.46 60135 5/19/16 694743             351.12 05421     /
                                                    **********                   351.12 ***GARDA  *****GA-262****GARDA CL SOUTHWEST INC

GI-118 GIRVIN    GIRVIN MARKETING CO INC           12335 4/20/16                39.50 16400 5/05/16 693857                     04407   /
                                                   12335 4/20/16                17.88 16400 5/05/16 693857              57.38 04407    /
                                                   12585 5/02/16               106.15 16400 5/19/16 694747             106.15 05562    /
                                                    **********                   163.53 ***GIRVIN *****GI-118****GIRVIN MARKETING CO INC

GO-230 GOSLE     GOSLEE PRINTING                   39569     4/07/16           163.50     16600   5/05/16   693149               04288    /
                                                   39569     4/07/16            15.54     16600   5/05/16   693149      179.04   04288    /
                                                   39608     5/05/16           183.75     16600   5/12/16   694080               05227    /




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APHIST-0424    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     5
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                   39608 5/05/16                17.46 16600 5/12/16 694080             201.21 05227       /
                                                    **********                   380.25 ***GOSLE  *****GO-230****GOSLEE PRINTING

GR-013 GRAINGER GRAINGER                      9087847985 4/20/16                55.09 66275 5/19/16 694762                       04407    /
                                              9087847985 4/20/16                 5.24 66275 5/19/16 694762               60.33   04407    /
                                                    **********                    60.33 ***GRAINGER*****GR-013****GRAINGER

*G-184 GUEST     GUEST SUPPLY - SYSCO            7316743 4/08/16              148.50 16500 5/05/16 197317                     04928      5/16
                                                 7316743 4/08/16               14.11 16500 5/05/16 197317                     04928      5/16
                                                 7324410 4/12/16               87.54 16850 5/05/16 197317                     04928      5/16
                                                 7324410 4/12/16                7.39 16850 5/05/16 197317                     04928      5/16
                                                 7324410 4/12/16            1,361.68 16400 5/05/16 197317                     04928      5/16
                                                 7324410 4/12/16              114.81 16400 5/05/16 197317                     04928      5/16
                                                 7324410 4/12/16              320.74 16250 5/05/16 197317                     04928      5/16
                                                 7324410 4/12/16               27.04 16250 5/05/16 197317           2,081.81 04928       5/16
                                                 7328482 4/13/16               35.28 16850 5/12/16 197950                     04928      5/16
                                                 7328482 4/13/16                3.35 16850 5/12/16 197950                     04928      5/16
                                                 7328521 4/13/16            3,275.32 16500 5/12/16 197950                     04928      5/16
                                                 7328521 4/13/16              311.13 16500 5/12/16 197950                     04928      5/16
                                                 7328521 4/13/16              175.92 16400 5/12/16 197950                     04928      5/16
                                                 7328521 4/13/16               16.72 16400 5/12/16 197950                     04928      5/16
                                                 7332322 4/14/16               18.56 16400 5/12/16 197950                     04928      5/16
                                                 7332322 4/14/16                1.77 16400 5/12/16 197950           3,838.05 04928       5/16
                                                 7348984 4/21/16               94.71 16400 5/19/16 198888                     04407      5/16
                                                 7348984 4/21/16                9.00 16400 5/19/16 198888                     04407      5/16
                                                 7349573 4/21/16              110.96 16850 5/19/16 198888                     04407      5/16
                                                 7349573 4/21/16                9.02 16850 5/19/16 198888                     04407      5/16
                                                 7349573 4/21/16            1,622.17 16400 5/19/16 198888                     04407      5/16
                                                 7349573 4/21/16              131.95 16400 5/19/16 198888                     04407      5/16
                                                 7349573 4/21/16               61.79 16250 5/19/16 198888                     04407      5/16
                                                 7349573 4/21/16                5.02 16250 5/19/16 198888           2,044.62 04407       5/16
                                                 7369222 5/02/16               94.71 16400 5/26/16 199565                     05562      5/16
                                                 7369222 5/02/16                9.00 16400 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16              212.00 45022 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16               20.14 45022 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16               89.96 16850 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16                8.55 16850 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16              302.28 16500 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16               28.72 16500 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16              349.00 16400 5/26/16 199565                     05562      5/16
                                                 7371260 5/02/16               33.16 16400 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16              194.50 45022 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16               17.96 45022 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16              153.58 16850 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16               14.20 16850 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16            2,487.04 16500 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16              229.68 16500 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16            1,303.30 16400 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16              120.36 16400 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16              605.68 16250 5/26/16 199565                     05562      5/16
                                                 7371531 5/02/16               55.95 16250 5/26/16 199565           6,329.77 05562       5/16
                                                    **********               14,294.25 ***GUEST  ******G-184****GUEST SUPPLY - SYSCO

*H-297 HD SUPP   HD SUPPLY FACILITIES         9144885245     4/07/16             5.70     66520   5/05/16   197365               04208   5/16
                                              9144885245     4/07/16              .54     66520   5/05/16   197365               04208   5/16
                                              9144911012     4/08/16           149.33     66600   5/05/16   197365               04208   5/16
                                              9144911012     4/08/16            14.19     66600   5/05/16   197365               04208   5/16
                                              9144911012     4/08/16            27.87     66202   5/05/16   197365               04208   5/16
                                              9144911012     4/08/16             2.65     66202   5/05/16   197365               04208   5/16
                                              9144911012     4/08/16            76.96     66120   5/05/16   197365               04208   5/16
                                              9144911012     4/08/16             7.31     66120   5/05/16   197365               04208   5/16
                                              9144990051     4/12/16            21.32     66160   5/05/16   197365               04208   5/16
                                              9144990051     4/12/16             2.02     66160   5/05/16   197365               04208   5/16
                                              9144990051     4/12/16           225.90     66130   5/05/16   197365               04208   5/16
                                              9144990051     4/12/16            21.47     66130   5/05/16   197365      555.26   04208   5/16
                                              9145066706     4/14/16           234.33     66120   5/12/16   197985               04407   5/16
                                              9145066706     4/14/16            22.26     66120   5/12/16   197985               04407   5/16
                                              9145114202     4/18/16            18.58     66600   5/12/16   197985               04407   5/16
                                              9145114202     4/18/16             1.76     66600   5/12/16   197985               04407   5/16




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APHIST-0425   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     6
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA    NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              9145114202 4/18/16                44.63 66250 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                 4.24 66250 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                13.92 66201 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                 1.32 66201 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                51.00 66130 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                 4.85 66130 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16               115.27 66120 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                10.95 66120 5/12/16 197985                      04407    5/16
                                              9145114202 4/18/16                  .01 66120 5/12/16 197985              523.12 04407     5/16
                                              9142653974 12/29/15               25.73 66651 5/19/16 198929                      05560    5/16
                                              9142653974 12/29/15                2.44 66651 5/19/16 198929                      05560    5/16
                                              9142883972 1/11/16               175.00 66600 5/19/16 198929                      05560    5/16
                                              9142883972 1/11/16                16.63 66600 5/19/16 198929                      05560    5/16
                                              9143225590 1/26/16               175.00 66600 5/19/16 198929                      05560    5/16
                                              9143225590 1/26/16                16.63 66600 5/19/16 198929                      05560    5/16
                                              9143248166 1/27/16                55.74 66250 5/19/16 198929                      05560    5/16
                                              9143248166 1/27/16                 5.30 66250 5/19/16 198929                      05560    5/16
                                              9143248168 1/27/16                29.99 66600 5/19/16 198929                      05560    5/16
                                              9143248168 1/27/16                 2.85 66600 5/19/16 198929                      05560    5/16
                                              9143580786 2/10/16               147.87 66600 5/19/16 198929                      05560    5/16
                                              9143580786 2/10/16                14.05 66600 5/19/16 198929                      05560    5/16
                                              9144209805 3/09/16               147.87- 66600 5/19/16 198929                     05560    5/16
                                              9144209805 3/09/16                14.05- 66600 5/19/16 198929             505.31 05560     5/16
                                              9145467648 5/03/16                49.26 66651 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                 4.68 66651 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16               200.73 66250 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                19.07 66250 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16               176.36 66210 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                16.76 66210 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16               227.47 66130 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                21.61 66130 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                78.41 66120 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                 7.45 66120 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                46.22 66110 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                 4.39 66110 5/26/16 199596                      05957    5/16
                                              9145467648 5/03/16                  .01- 66110 5/26/16 199596             852.40 05957     5/16
                                                    **********                 2,436.09 ***HD SUPP ******H-297****HD SUPPLY FACILITIES

*H-295 HERITA   HERITAGE FOOD SERVICE GRP     0003577980 4/15/16              808.49 66202 5/05/16 197347                        04208 5/16
                                              0003577980 4/15/16               31.75 66202 5/05/16 197347                        04208 5/16
                                              0003577980 4/15/16               79.83 66202 5/05/16 197347                        04208 5/16
                                              03597095IN 4/27/16            1,425.14 66202 5/05/16 197347                        04407 5/16
                                              03597095IN 4/27/16                6.00 66202 5/05/16 197347                        04407 5/16
                                              03597095IN 4/27/16              135.96 66202 5/05/16 197347           2,487.17     04407 5/16
                                              03616160IN 5/09/16              132.96 66202 5/19/16 198911                        05562 5/16
                                              03616160IN 5/09/16                6.00 66202 5/19/16 198911                        05562 5/16
                                              03616160IN 5/09/16               13.21 66202 5/19/16 198911             152.17     05562 5/16
                                                    **********                2,639.34 ***HERITA ******H-295****HERITAGE FOOD    SERVICE GRP

*H-175 HILTON   HILTON HOTELS CORPORATION     0012155602 4/19/16              590.00 85410 5/05/16 197344                        04556 5/16
                                              0012155602 4/19/16               56.05 85410 5/05/16 197344                        04556 5/16
                                              0012155602 4/19/16            1,385.18 16700 5/05/16 197344                        04556 5/16
                                              0012155602 4/19/16              131.59 16700 5/05/16 197344           2,162.82     04556 5/16
                                                  659377 4/30/16           12,455.12- 62249 5/19/16 198907                       05560 5/16
                                              0012159972 4/30/16              430.50- 62625 5/19/16 198907                       05560 5/16
                                              0012165785 4/30/16            2,924.45 62200 5/19/16 198907                        05560 5/16
                                              0012165785 4/30/16            7,387.76 16300 5/19/16 198907                        05560 5/16
                                              0012168815 5/10/16            3,643.89 62650 5/19/16 198907           1,070.48     05560 5/16
                                                    **********                3,233.30 ***HILTON ******H-175****HILTON HOTELS    CORPORATION

HO-065 HOT      HOT SPRINGS NATURAL                 7000 5/17/16               110.50 45010 5/26/16 695654             110.50 05950       /
                                                    **********                   110.50 ***HOT    *****HO-065****HOT SPRINGS NATURAL

*H-003 HOT SP   HOT SPRINGS EMBASSY           D047954788     4/29/16            80.74     66250   5/05/16   197324               04391   5/16
                                              D047954788     4/29/16             7.02     66200   5/05/16   197324               04391   5/16
                                              D047954788     4/29/16            13.01     66120   5/05/16   197324               04391   5/16
                                              D047955345     4/29/16           418.41     14030   5/05/16   197324      519.18   04396   5/16
                                              D057951603     5/06/16           100.00     62505   5/12/16   197957               05227   5/16




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APHIST-0426    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                         PAGE     7
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                     DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #    CHK. AMT. BATCH # CLRD
                                              D057951603 5/06/16               32.50 45010 5/12/16 197957                     05227    5/16
                                              D057951603 5/06/16              606.62 14030 5/12/16 197957                     05227    5/16
                                              D057952968 5/06/16               76.53 66651 5/12/16 197957                     05227    5/16
                                              D057952968 5/06/16               45.60 66250 5/12/16 197957                     05227    5/16
                                              D057952968 5/06/16               85.30 66120 5/12/16 197957                     05227    5/16
                                              D057952968 5/06/16               47.00 45010 5/12/16 197957                     05227    5/16
                                              D057952968 5/06/16               33.66 24510 5/12/16 197957                     05227    5/16
                                              D057952968 5/06/16               20.81 16105 5/12/16 197957           1,048.02 05227     5/16
                                              D057952849 5/13/16               76.37 66651 5/19/16 198893                     05560    5/16
                                              D057952849 5/13/16               68.69 66275 5/19/16 198893                     05560    5/16
                                              D057952849 5/13/16               18.55 66120 5/19/16 198893                     05560    5/16
                                              D057952849 5/13/16                2.09 45010 5/19/16 198893                     05560    5/16
                                              D057952849 5/13/16               47.02 26865 5/19/16 198893                     05560    5/16
                                              D057952849 5/13/16               20.02 16110 5/19/16 198893                     05560    5/16
                                              D057956823 5/13/16              330.94 14030 5/19/16 198893             563.68 05560     5/16
                                              D057954439 5/20/16              154.16 66651 5/26/16 199571                     05950    5/16
                                              D057954439 5/20/16               65.68 47051 5/26/16 199571                     05950    5/16
                                              D057954439 5/20/16               26.15 26865 5/26/16 199571                     05950    5/16
                                              D057956008 5/20/16              141.66 66120 5/26/16 199571                     05950    5/16
                                              D057956008 5/20/16               53.16 66100 5/26/16 199571                     05950    5/16
                                              D057956008 5/20/16              103.53 24510 5/26/16 199571                     05950    5/16
                                              D057956008 5/20/16                5.99 16850 5/26/16 199571                     05950    5/16
                                              D057956008 5/20/16               18.62 16105 5/26/16 199571                     05950    5/16
                                              D057956594 5/20/16              333.82 66202 5/26/16 199571                     05950    5/16
                                              D057956594 5/20/16              120.00 60310 5/26/16 199571                     05950    5/16
                                              D057956594 5/20/16              235.76 60070 5/26/16 199571                     05950    5/16
                                              D057956594 5/20/16               54.72 16105 5/26/16 199571                     05950    5/16
                                              D057956594 5/20/16              928.18 14030 5/26/16 199571           2,241.43 05950     5/16
                                                    **********                4,372.31 ***HOT SP ******H-003****HOT SPRINGS EMBASSY

HO-321 HOT SP    HOT SPRINGS   A & P          CTYF0516    5/18/16          1,830.77 02060 5/18/16 912141           1,830.77 00000       /
                                              CTYR0516    5/18/16            335.25 02060 5/18/16 912144                    00000       /
                                              CTYR0516    5/18/16         29,320.11 02059 5/18/16 912144          29,655.36 00000       /
                                                    **********              31,486.13 ***HOT SP *****HO-321****HOT SPRINGS A & P

HR-003 HR DIR    HR DIRECT                    INV3923830 5/11/16               92.78 60550 5/26/16 695662                      05957    /
                                              INV3923830 5/11/16               27.22 60550 5/26/16 695662             120.00   05957    /
                                                    **********                  120.00 ***HR DIR *****HR-003****HR DIRECT

*I-041 IKON      IKON/RICOH SERVICES            96705124 5/10/16              747.00 60370 5/06/16 197713                     05068    5/16
                                                96705124 5/10/16               70.98 60370 5/06/16 197713             817.98 05068     5/16
                                                    **********                  817.98 ***IKON   ******I-041****IKON/RICOH SERVICES

*I-042 INSIGH    INSIGHT DIRECT USA INC        910428651 4/28/16              121.19 60550 5/26/16 199602             121.19 05562 5/16
                                                    **********                  121.19 ***INSIGH ******I-042****INSIGHT DIRECT USA INC

JE-056 JENKIN    JENKINS ENTERPRISES              373405 4/14/16              140.00 45010 5/05/16 693245             140.00 04208      /
                                                    **********                  140.00 ***JENKIN *****JE-056****JENKINS ENTERPRISES

*J-142 JOHNS     JOHNSON CONTROLS INC         3662055314 5/02/16              474.92 66160 5/26/16 199607                     05562 5/16
                                              3662055314 5/02/16               45.12 66160 5/26/16 199607             520.04 05562 5/16
                                                    **********                  520.04 ***JOHNS  ******J-142****JOHNSON CONTROLS INC

*J-231 JQH ACC   JQH ACCOUNTING SERVICES      *ACCT16 04 4/30/16           5,375.00 60116 5/12/16 198280            5,375.00 04111 5/16
                                                    **********               5,375.00 ***JQH ACC ******J-231****JQH ACCOUNTING SERVICES

*J-097 JQH AD    JQH ADMIN FEES ACCOUNT       JINS0516    5/24/16            364.94 66060 5/24/16 199290                     00000 5/16
                                              JINS0516    5/24/16            669.30 62060 5/24/16 199290                     00000 5/16
                                              JINS0516    5/24/16            744.06 60060 5/24/16 199290                     00000 5/16
                                              JINS0516    5/24/16            411.55 26060 5/24/16 199290                     00000 5/16
                                              JINS0516    5/24/16          3,049.05 16060 5/24/16 199290           5,238.90 00000 5/16
                                                    **********               5,238.90 ***JQH AD ******J-097****JQH ADMIN FEES ACCOUNT




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APHIST-0427    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
JQ-004 JQH C     JQH C                        122A0516    5/26/16            203.26 35901 5/26/16 912177                        00000    /
                                              122A0516    5/26/16          1,438.50 35030 5/26/16 912177                        00000    /
                                              122A0516    5/26/16          1,722.00 35026 5/26/16 912177                        00000    /
                                              122A0516    5/26/16            233.09 02005 5/26/16 912177                        00000    /
                                              122A051601 5/26/16           1,214.95 60560 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              33.23 60520 5/26/16 912177                        00000    /
                                              122A051601 5/26/16             217.33 60320 5/26/16 912177                        00000    /
                                              122A051601 5/26/16               9.12 60115 5/26/16 912177                        00000    /
                                              122A051601 5/26/16             950.73 60070 5/26/16 912177                        00000    /
                                              122A051601 5/26/16              47.62 60061 5/26/16 912177                        00000    /
                                              122A051601 5/26/16             181.00 47082 5/26/16 912177                        00000    /
                                              122A051602 5/26/16             250.57 60870 5/26/16 912177                        00000    /
                                              122A051602 5/26/16           2,034.81 60860 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              70.19 60856 5/26/16 912177                        00000    /
                                              122A051602 5/26/16             469.68 60730 5/26/16 912177                        00000    /
                                              122A051602 5/26/16             538.37 60721 5/26/16 912177                        00000    /
                                              122A051602 5/26/16              57.85 60720 5/26/16 912177                        00000    /
                                              122A051602 5/26/16             175.31 60590 5/26/16 912177                        00000    /
                                              122A051603 5/26/16           1,173.84 85215 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             243.60- 84035 5/26/16 912177                       00000    /
                                              122A051603 5/26/16             100.00 64700 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             169.00 62870 5/26/16 912177                        00000    /
                                              122A051603 5/26/16              15.00 62860 5/26/16 912177                        00000    /
                                              122A051603 5/26/16             601.67 62380 5/26/16 912177                        00000    /
                                              122B0516    5/26/16          1,938.99 60880 5/26/16 912177           13,602.51    00000    /
                                                    **********              13,602.51 ***JQH C   *****JQ-004****JQH C

*J-098 JQH CL    JQH CLAIMS ACCOUNT           JINS0516    5/24/16            794.12 66060 5/24/16 199359                     00000      5/16
                                              JINS0516    5/24/16          3,309.51 62060 5/24/16 199359                     00000      5/16
                                              JINS0516    5/24/16          3,965.68 60060 5/24/16 199359                     00000      5/16
                                              JINS0516    5/24/16          1,161.18 26060 5/24/16 199359                     00000      5/16
                                              JINS0516    5/24/16          4,688.14 16060 5/24/16 199359          13,918.63 00000       5/16
                                                    **********              13,918.63 ***JQH CL ******J-098****JQH CLAIMS ACCOUNT

*J-040 JQH REG   JQH REGIONAL     ALLOC       *RFM16  04 5/05/16              332.87 66900 5/12/16 198230              332.87   04111 5/16
                                                    **********                  332.87 ***JQH REG ******J-040****JQH REGIONAL     ALLOC

*J-025 JQHHM     JQHHM REG.   ALLOCATIONS     *ARM16  04 5/05/16           3,314.50 16900 5/12/16 198079           3,314.50 04111 5/16
                                                    **********               3,314.50 ***JQHHM  ******J-025****JQHHM REG. ALLOCATIONS

*J-026 JQHHM     JQHHM NAT'L SALES + REV      *DRM16  04 5/05/16              573.90 62900 5/12/16 198085               573.90 04111 5/16
                                              *FM16   03 5/05/16              313.68 66900 5/12/16 198090               313.68 04111 5/16
                                              *ARM16  04 5/05/16              335.36 62900 5/12/16 198115               335.36 04111 5/16
                                              *DSA16  02 5/05/16              345.48 62900 5/12/16 198120               345.48 04111 5/16
                                              *RMA16  04 5/05/16              219.73 62900 5/12/16 198129               219.73 04111 5/16
                                              *BRM16  04 5/05/16              814.27 62900 5/12/16 198150               814.27 04111 5/16
                                              *EC16   04 5/05/16              367.78 62900 5/12/16 198155               367.78 04111 5/16
                                              *RPM16  03 5/05/16              209.99 66900 5/12/16 198164               209.99 04111 5/16
                                                    **********                3,180.19 ***JQHHM  ******J-026****JQHHM   NAT'L SALES + REV

JQ-003 JQHHM LL JQHHM LLC                     MGMT041604 4/30/16          23,665.39 02013 5/12/16 694461           23,665.39    00000    /
                                                    **********              23,665.39 ***JQHHM LL*****JQ-003****JQHHM LLC

*J-022 JQHHN     JQHHM REG.   ALLOCATIONS     *BAA16  04 5/05/16              88.73 60900 5/12/16 198010              88.73 04111 5/16
                                              *RDS16  04 5/05/16           1,956.96 62900 5/12/16 198019           1,956.96 04111 5/16
                                              *RVP16  04 5/05/16           2,607.12 60900 5/12/16 198028           2,607.12 04111 5/16
                                                    **********               4,652.81 ***JQHHN  ******J-022****JQHHM REG. ALLOCATIONS

KN-003 KNOX      KNOX AIR CONDITIONING             17383 5/06/16              360.80 66150 5/26/16 695702             360.80 05950    /
                                                    **********                  360.80 ***KNOX   *****KN-003****KNOX AIR CONDITIONING

LA-504 LABORATO LABORATORY CORP OF              51615717 4/30/16                 6.25 60320 5/19/16 694855                6.25 05560     /
                                                    **********                     6.25 ***LABORATO*****LA-504****LABORATORY CORP OF




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APHIST-0428    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #      CHK. AMT. BATCH # CLRD
LA-196 LAWNS     LAWNS,LIMBS & LANDSCAPING      201600322 5/04/16              959.62 66450 5/26/16 695712                     05957   /
                                                201600322 5/04/16               91.16 66450 5/26/16 695712           1,050.78 05957    /
                                                     **********                1,050.78 ***LAWNS  *****LA-196****LAWNS,LIMBS & LANDSCAPING

LO-150 LOOMIS    LOOMIS BROS EQUIPMENT CO       101904100 4/29/16               34.95 66275 5/26/16 695732                     05562   /
                                                101904100 4/29/16               19.47 66275 5/26/16 695732              54.42 05562    /
                                                     **********                   54.42 ***LOOMIS *****LO-150****LOOMIS BROS EQUIPMENT CO

MA-111 MANUA     THE MANUAL WOODWORKERS        0004633098 4/02/16              112.00 45010 5/26/16 695742                     05957    /
                                               0004633098 4/02/16               32.42 45010 5/26/16 695742             144.42 05957     /
                                                     **********                  144.42 ***MANUA  *****MA-111****THE MANUAL WOODWORKERS

*M-024 MARSH     MARSH USA INC                 INSA041601 5/05/16           1,958.44 01311 5/12/16 198345           1,958.44 00000       5/16
                                               INSA041602 5/05/16           1,977.00 02120 5/12/16 198383                     00000      5/16
                                               INSA041602 5/05/16           2,543.00 01310 5/12/16 198383           4,520.00 00000       5/16
                                                     **********               6,478.44 ***MARSH  ******M-024****MARSH USA INC

ME-275 MEDEXPR   MEDEXPRESS URGENT CARE        45552C3908 5/10/16               35.00 60320 5/26/16 695755               35.00 05950     /
                                                     **********                   35.00 ***MEDEXPR *****ME-275****MEDEXPRESS URGENT CARE

ME-259 MERR      MERRITT WHOLESALE DISTRIB          51349 4/20/16              138.38 62251 5/05/16 693330                     04498   /
                                                    51349 4/20/16              241.00 45010 5/05/16 693330                     04498   /
                                                    51768 4/27/16              138.73 45010 5/05/16 693330             518.11 04407    /
                                                    51942 4/29/16               92.32 62251 5/12/16 694171                     05227   /
                                                    51942 4/29/16              252.27 45010 5/12/16 694171                     05227   /
                                                    52096 5/04/16              103.79 62251 5/12/16 694171                     05227   /
                                                    52096 5/04/16               65.16 45010 5/12/16 694171             513.54 05227    /
                                                    52396 5/09/16               13.15 45010 5/19/16 694898                     05562   /
                                                    52397 5/09/16               13.15 45010 5/19/16 694898                     05562   /
                                                    52566 5/11/16              138.38 62251 5/19/16 694898                     05562   /
                                                    52566 5/11/16              147.76 45010 5/19/16 694898             312.44 05562    /
                                                    52893 5/17/16               69.38 62251 5/26/16 695754                     05950   /
                                                    52893 5/17/16              225.64 45010 5/26/16 695754             295.02 05950    /
                                                     **********                1,639.11 ***MERR   *****ME-259****MERRITT WHOLESALE DISTRIB

MI-059 MID       MID SOUTH COMMUNICATIONS           51756 3/01/16               24.00 60370 5/12/16 694174                     05227   /
                                                    51756 3/01/16                2.28 60370 5/12/16 694174                     05227   /
                                                    52671 4/01/16               24.00 60370 5/12/16 694174                     05227   /
                                                    52671 4/01/16                2.28 60370 5/12/16 694174                     05227   /
                                                    53581 5/01/16               24.00 60370 5/12/16 694174                     05227   /
                                                    53581 5/01/16                2.28 60370 5/12/16 694174              78.84 05227    /
                                                     **********                   78.84 ***MID    *****MI-059****MID SOUTH COMMUNICATIONS

MI-463 MID       MID-SOUTH POOLS                    61642 4/25/16               66.49 66600 5/05/16 693342                     04498      /
                                                    61642 4/25/16                6.32 66600 5/05/16 693342              72.81 04498       /
                                                    15271 1/25/16              252.53 66600 5/19/16 694913             252.53 05560       /
                                                     **********                  325.34 ***MID    *****MI-463****MID-SOUTH POOLS

MI-144 MILLER    MILLER CHEMICAL CO                 48439 4/12/16               30.00 66600 5/05/16 693338                     04841      /
                                                    48439 4/12/16                2.85 66600 5/05/16 693338              32.85 04841       /
                                                    48450 4/13/16               44.00 66600 5/12/16 694175                     04841      /
                                                    48450 4/13/16                4.18 66600 5/12/16 694175                     04841      /
                                                    48631 5/04/16               12.00 66600 5/12/16 694175                     05227      /
                                                    48631 5/04/16                1.14 66600 5/12/16 694175              61.32 05227       /
                                                    48540 4/25/16               98.00 66600 5/19/16 694905                     04407      /
                                                    48540 4/25/16                9.31 66600 5/19/16 694905             107.31 04407       /
                                                    48563 4/27/16               11.00 66600 5/26/16 695758                     04407      /
                                                    48563 4/27/16                1.05 66600 5/26/16 695758                     04407      /
                                                    48565 4/27/16               33.00 66600 5/26/16 695758                     04407      /
                                                    48565 4/27/16                3.14 66600 5/26/16 695758                     04407      /
                                                    48610 5/02/16               42.00 66600 5/26/16 695758                     05421      /
                                                    48610 5/02/16                3.99 66600 5/26/16 695758              94.18 05421       /
                                                     **********                  295.66 ***MILLER *****MI-144****MILLER CHEMICAL CO




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                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                            DATE
VEND#   ALPHA     NAME                       INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE    CHK #         CHK. AMT. BATCH # CLRD
MT-024 MT JU     MT JUDEA SCHOOL                    51116 5/11/16           1,252.60 14030 5/26/16 695768           1,252.60 05950             /
                                                     **********               1,252.60 ***MT JU  *****MT-024****MT JUDEA SCHOOL

MY-034 MY        MY WORD SIGNS                     452488 4/15/16               13.00 45010 5/12/16 694186              13.00 04208            /
                                                     **********                   13.00 ***MY     *****MY-034****MY WORD SIGNS

MY-019 MYERS     MYERS SUPPLY & CHEMICAL          OA00487 3/21/16               92.83- 16850 5/12/16 694185                     04407   /
                                                  OA00487 3/21/16                8.82- 16850 5/12/16 694185                     04407   /
                                                201861000 5/05/16              525.71 66275 5/12/16 694185                      05227   /
                                                201861000 5/05/16               49.94 66275 5/12/16 694185              474.00 05227    /
                                                201858500 4/28/16               50.63 16850 5/26/16 695772                      04407   /
                                                201858500 4/28/16                4.81 16850 5/26/16 695772               55.44 04407    /
                                                     **********                  529.44 ***MYERS   *****MY-019****MYERS SUPPLY & CHEMICAL

*N-090 NOR1      NOR1 INC                       INV212376 4/30/16               91.05 45022 5/26/16 199663                            05562   5/16
                                                INV212376 4/30/16              109.05 16300 5/26/16 199663             200.10         05562   5/16
                                                     **********                  200.10 ***NOR1   ******N-090****NOR1 INC

PE-081 PEPSI     PEPSI-COLA                      30518653 4/14/16              507.70 24510 5/05/16 693391                            04407    /
                                                 31316002 4/21/16              368.47 24510 5/05/16 693391                            04407    /
                                                 62430605 4/28/16              609.72 45010 5/05/16 693391           1,485.89         04407    /
                                                 23079853 5/05/16              436.34 24510 5/19/16 694966                            05562    /
                                                 36652204 5/12/16              436.33 45010 5/19/16 694966                            05562    /
                                                 62430604 4/28/16              213.11 24510 5/19/16 694966           1,085.78         05562    /
                                                 36652203 5/12/16              313.30 24510 5/26/16 695809             313.30         05957    /
                                                     **********                2,884.97 ***PEPSI  *****PE-081****PEPSI-COLA

PL-062 PLANTATI PLANTATION SERVICES INC            131790 5/01/16           1,102.50 66460 5/19/16 694974            1,102.50 05421    /
                                                     **********               1,102.50 ***PLANTATI*****PL-062****PLANTATION SERVICES INC

PL-083 PLASTI    PLASTICARD-LOCKTECH INT'L         739073 4/12/16              200.00 16400 5/05/16 693414             200.00 04928    /
                                                     **********                  200.00 ***PLASTI *****PL-083****PLASTICARD-LOCKTECH INT'L

PO-142 POWER     POWER EQUIPMENT COMPANY       NV01160144 4/21/16               19.00 66250 5/05/16 693417                     04407   /
                                               NV01160144 4/21/16               11.97 66250 5/05/16 693417                     04407   /
                                               NV01160144 4/21/16                2.96 66250 5/05/16 693417              33.93 04407    /
                                                     **********                   33.93 ***POWER  *****PO-142****POWER EQUIPMENT COMPANY

PR-561 PRO F     PRO FITNESS INC                     1116 11/13/15             150.00 66200 5/12/16 694232                     05227           /
                                                     1116 11/13/15              14.25 66200 5/12/16 694232                     05227           /
                                                     1136 12/28/15             150.00 66200 5/12/16 694232                     05227           /
                                                     1136 12/28/15              14.25 66200 5/12/16 694232                     05227           /
                                                     1143 2/19/16              150.00 66200 5/12/16 694232                     05227           /
                                                     1143 2/19/16               14.25 66200 5/12/16 694232                     05227           /
                                                     1183 9/18/15              150.00 66200 5/12/16 694232                     05227           /
                                                     1183 9/18/15               14.25 66200 5/12/16 694232                     05227           /
                                                     1198 1/28/16              150.00 66200 5/12/16 694232                     05227           /
                                                     1198 1/28/16               14.25 66200 5/12/16 694232                     05227           /
                                                     1209 4/26/16              150.00 66200 5/12/16 694232                     05227           /
                                                     1209 4/26/16               14.25 66200 5/12/16 694232                     05227           /
                                                     1214 3/25/16              150.00 66200 5/12/16 694232                     05227           /
                                                     1214 3/25/16               14.25 66200 5/12/16 694232           1,149.75 05227            /
                                                     **********                1,149.75 ***PRO F  *****PR-561****PRO FITNESS INC

RE-008 R & E     R & E SUPPLY                     6399467 4/13/16              454.83 66150       5/05/16 693438                      04407    /
                                                  6399467 4/13/16               18.00 66150       5/05/16 693438                      04407    /
                                                  6400467 4/18/16               35.60 66150       5/05/16 693438                      04407    /
                                                  6400467 4/18/16               15.00 66150       5/05/16 693438                      04407    /
                                                  6401442 4/20/16              189.19 66150       5/05/16 693438                      04407    /
                                                  6401442 4/20/16               18.00 66150       5/05/16 693438                      04407    /
                                                  6401919 4/21/16               45.40 66160       5/05/16 693438             776.02   04407    /
                                                     **********                  776.02 ***R      & E   *****RE-008****R & E SUPPLY




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APHIST-0430    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
RA-138 RACE      RACE TRACK CHAPLAINS OF           42116 4/21/16            1,267.86 14030 5/05/16 693437           1,267.86 04498    /
                                                    **********                1,267.86 ***RACE   *****RA-138****RACE TRACK CHAPLAINS OF

RA-136 RAVE      RAVE GRAFIX                        3667 4/19/16               187.20 60070 5/05/16 693436                       04407    /
                                                    3667 4/19/16                14.98 60070 5/05/16 693436             202.18    04407    /
                                                    3779 5/16/16               765.02 45010 5/26/16 695838             765.02    05950    /
                                                    **********                   967.20 ***RAVE   *****RA-136****RAVE GRAFIX

*R-208 READY     READY CARE INDUSTRIES          00605660 4/26/16                83.40 45022 5/19/16 199056                     05421 5/16
                                                00605660 4/26/16                12.12 45022 5/19/16 199056              95.52 05421 5/16
                                                    **********                    95.52 ***READY  ******R-208****READY CARE INDUSTRIES

RE-043 RED       RED BULL DISTRIBUTION         K16083420 4/25/16                35.23 45010 5/05/16 693439              35.23 04407    /
                                               K16510902 5/09/16                35.23 45010 5/19/16 694994              35.23 05562    /
                                                    **********                    70.46 ***RED    *****RE-043****RED BULL DISTRIBUTION

RE-204 RED       RED BOOK CONNECT LLC             763542 3/04/16                37.01 66210 5/05/16 693445                     04208      /
                                                  763542 3/04/16                13.80 66210 5/05/16 693445              50.81 04208       /
                                                    **********                    50.81 ***RED    *****RE-204****RED BOOK CONNECT LLC

RE-415 REGAL     THE REGAL PRESS INC              394299 4/25/16                18.40 60552 5/26/16 695848                     05957      /
                                                  396895 4/30/16                55.20 60552 5/26/16 695848                     05957      /
                                                  396895 4/30/16                10.74 60552 5/26/16 695848              84.34 05957       /
                                                    **********                    84.34 ***REGAL  *****RE-415****THE REGAL PRESS INC

RE-001 RESORT    RESORT TELEVISION CABLE      5169968001 4/23/16            1,800.00 35030 5/12/16 694236           1,800.00 05281    /
                                                    **********                1,800.00 ***RESORT *****RE-001****RESORT TELEVISION CABLE

RI-092 RICO      RICOH USA INC                1062059100 4/10/16               115.38 60550 5/05/16 693469                       04841    /
                                              1062059100 4/10/16                10.96 60550 5/05/16 693469                       04841    /
                                              1062077922 4/11/16                98.80 60550 5/05/16 693469                       04841    /
                                              1062077922 4/11/16                 9.39 60550 5/05/16 693469             234.53    04841    /
                                              1062276380 4/20/16               115.38 60550 5/19/16 695021                       04407    /
                                              1062276380 4/20/16                10.96 60550 5/19/16 695021                       04407    /
                                              5041619437 4/17/16               298.04 60551 5/19/16 695021                       05562    /
                                              5041619437 4/17/16                28.32 60551 5/19/16 695021             452.70    05562    /
                                                    **********                   687.23 ***RICO   *****RI-092****RICOH USA INC

*R-088 ROBERTS   CRIS ROBERTS                      42916 4/29/16               267.84 62830 5/05/16 197486                       04498   5/16
                                                   42916 4/29/16                22.31 62505 5/05/16 197486              290.15   04498   5/16
                                                    **********                   290.15 ***ROBERTS ******R-088****CRIS ROBERTS

*R-207 ROYAL     ROYAL PAPER CORP                4586009 3/15/16               201.19 16850 5/05/16 197509                     04407     5/16
                                                 4586009 3/15/16                19.11 16850 5/05/16 197509                     04407     5/16
                                                 4586009 3/15/16               401.10 16400 5/05/16 197509                     04407     5/16
                                                 4586009 3/15/16                38.10 16400 5/05/16 197509                     04407     5/16
                                                 4591892 4/11/16               137.52 16850 5/05/16 197509                     04828     5/16
                                                 4591892 4/11/16                13.07 16850 5/05/16 197509                     04828     5/16
                                                 4591892 4/11/16               514.77 16400 5/05/16 197509                     04828     5/16
                                                 4591892 4/11/16                48.91 16400 5/05/16 197509           1,373.77 04828      5/16
                                                 4594833 4/25/16                74.66 16850 5/19/16 199054                     04407     5/16
                                                 4594833 4/25/16                 7.09 16850 5/19/16 199054                     04407     5/16
                                                 4594833 4/25/16               619.28 16400 5/19/16 199054                     04407     5/16
                                                 4594833 4/25/16                58.84 16400 5/19/16 199054                     04407     5/16
                                                 4596191 4/29/16               180.18 16850 5/19/16 199054                     05562     5/16
                                                 4596191 4/29/16                17.12 16850 5/19/16 199054                     05562     5/16
                                                 4596191 4/29/16               492.90 16400 5/19/16 199054                     05562     5/16
                                                 4596191 4/29/16                46.82 16400 5/19/16 199054           1,496.89 05562      5/16
                                                    **********                 2,870.66 ***ROYAL  ******R-207****ROYAL PAPER CORP

DO-100 RR DONNE RR DONNELLEY                   161438821     4/12/16           240.00     16400   5/05/16   693055               04928    /
                                               161438821     4/12/16            39.47     16400   5/05/16   693055               04928    /




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APHIST-0431    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                            PAGE     2
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                        DATE
VEND#   ALPHA     NAME                       INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                                161438821 4/12/16                26.55 16400 5/05/16 693055              306.02   04928    /
                                                     **********                   306.02 ***RR DONNE*****DO-100****RR DONNELLEY

SA-014 SANDERS   SANDERS SECURITY INC.                 1050 5/04/16             240.00 66110 5/19/16 695033                      05560   /
                                                       1050 5/04/16              20.40 66110 5/19/16 695033              260.40 05560    /
                                                       **********                 260.40 ***SANDERS *****SA-014****SANDERS SECURITY INC.

SE-141 SENT      THE SENTINEL-RECORD               011053 4/26/16                10.00 45010 5/05/16 693520              10.00 04498       /
                                                   011077 5/03/16                10.00 45010 5/12/16 694281              10.00 05227       /
                                                   011093 5/10/16                10.00 45010 5/19/16 695060              10.00 05560       /
                                                   011107 5/17/16                10.00 45010 5/26/16 695895              10.00 05950       /
                                                     **********                    40.00 ***SENT   *****SE-141****THE SENTINEL-RECORD

SE-237 SENTINEL SENTINEL-RECORD INC                519311 4/02/16               131.10 60320 5/26/16 695897                      05950     /
                                                  519311A 4/02/16               107.35 60320 5/26/16 695897                      05950     /
                                                  519311B 4/24/16               121.60 60320 5/26/16 695897              360.05 05950      /
                                                     **********                   360.05 ***SENTINEL*****SE-237****SENTINEL-RECORD INC

*S-745 SERTI     SERTIFI                       *SALE     02 5/01/16             117.00 62843 5/12/16 198498             117.00    04111   5/16
                                                       **********                 117.00 ***SERTI  ******S-745****SERTIFI

*S-216 SHAMEL    ROBIN SHAMEL                       43016 4/30/16                38.88 62830 5/05/16 197525                       04498   5/16
                                                    43016 4/30/16                26.91 62505 5/05/16 197525              65.79    04498   5/16
                                                     **********                    65.79 ***SHAMEL ******S-216****ROBIN SHAMEL

SH-437 SHOES     SHOES FOR CREWS LLC              7015539 4/19/16                42.74 26820 5/05/16 693867              42.74 04498       /
                                                  7051151 4/27/16                29.24 66075 5/26/16 696137              29.24 05421       /
                                                     **********                    71.98 ***SHOES  *****SH-437****SHOES FOR CREWS LLC

*L-182 SONIFI    SONIFI(LODGENET)SOLUTIONS        3185779 4/12/16              140.00 66520 5/05/16 197421                     04208 5/16
                                                  3185779 4/12/16               11.13 66520 5/05/16 197421                     04208 5/16
                                                  3185779 4/12/16               14.36 66520 5/05/16 197421             165.49 04208 5/16
                                                  2683853 5/06/16            1,901.25 45025 5/19/16 198979           1,901.25 05562 5/16
                                                     **********                2,066.74 ***SONIFI ******L-182****SONIFI(LODGENET)SOLUTIONS

SO-308 SOUTH     SOUTH CENTRAL SOUND              A285707 5/01/16                68.29 16805 5/13/16 912084                       05421    /
                                                  A285707 5/01/16                 4.44 16805 5/13/16 912084                       05421    /
                                                  A285723 5/01/16                37.82 16805 5/13/16 912084                       05421    /
                                                  A285723 5/01/16                 2.46 16805 5/13/16 912084             113.01    05421    /
                                                     **********                   113.01 ***SOUTH  *****SO-308****SOUTH CENTRAL   SOUND

ST-448 STAPLES   STAPLES BUSINESS ADVANTAG     3299343426     4/14/16            74.00     60551   5/05/16   693824               04208    /
                                               3299343426     4/14/16             6.70     60551   5/05/16   693824               04208    /
                                               3299343426     4/14/16             8.09     45010   5/05/16   693824       88.79   04208    /
                                               3300235637     4/23/16            73.00     60551   5/19/16   695330               05421    /
                                               3300235637     4/23/16             6.94     60551   5/19/16   695330               05421    /
                                               3300443029     4/26/16           113.97     60560   5/19/16   695330               05421    /
                                               3300443029     4/26/16            10.83     60560   5/19/16   695330               05421    /
                                               3301593674     5/03/16            73.00     60551   5/19/16   695330               05421    /
                                               3301593674     5/03/16             6.94     60551   5/19/16   695330               05421    /
                                               3301593674     5/03/16            32.99     60550   5/19/16   695330               05421    /
                                               3301593674     5/03/16             3.13     60550   5/19/16   695330               05421    /
                                               3301593675     5/03/16            91.67     60550   5/19/16   695330               05421    /
                                               3301593675     5/03/16             8.71     60550   5/19/16   695330      421.18   05421    /
                                               3292920104     2/12/16            73.00     60551   5/26/16   696108               05950    /
                                               3292920104     2/12/16             6.94     60551   5/26/16   696108               05950    /
                                               3299802260     4/19/16            43.99     60551   5/26/16   696108               05950    /
                                               3299802260     4/19/16             1.94     60551   5/26/16   696108               05950    /
                                               3299802260     4/19/16              .49     60550   5/26/16   696108               05950    /
                                               3299802260     4/19/16              .02     60550   5/26/16   696108               05950    /
                                               3299802260     4/19/16            33.83     45010   5/26/16   696108               05950    /
                                               3299802261     4/19/16           109.50     60551   5/26/16   696108               05950    /
                                               3299802261     4/19/16            10.40     60551   5/26/16   696108               05950    /




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APHIST-0432    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     3
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                       DATE
VEND#   ALPHA     NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              3300031635 4/22/16               128.59 26860 5/26/16 696108                      05950   /
                                              3300031635 4/22/16                12.22 26860 5/26/16 696108                      05950   /
                                              3301801591 5/06/16                21.98 60551 5/26/16 696108                      05957   /
                                              3301801591 5/06/16                 2.09 60551 5/26/16 696108                      05957   /
                                              3301801591 5/06/16               119.99 60550 5/26/16 696108                      05957   /
                                              3301801591 5/06/16                11.40 60550 5/26/16 696108                      05957   /
                                              3302091027 5/08/16               109.50 60551 5/26/16 696108                      05957   /
                                              3302091027 5/08/16                10.40 60551 5/26/16 696108                      05957   /
                                              3302519662 5/14/16                80.45 60550 5/26/16 696108                      05957   /
                                              3302519662 5/14/16                 7.64 60550 5/26/16 696108                      05957   /
                                              3302781794 5/18/16               146.00 60551 5/26/16 696108                      05957   /
                                              3302781794 5/18/16                13.87 60551 5/26/16 696108              944.24 05957    /
                                                    **********                 1,454.21 ***STAPLES *****ST-448****STAPLES BUSINESS ADVANTAG

ST-094 STONE     STONECIPHER DISTRIBUTORS         286678 4/22/16                23.85 60070 5/05/16 693552                     04498   /
                                                  286678 4/22/16                  .40 60070 5/05/16 693552                     04498   /
                                                  286678 4/22/16                49.80 45020 5/05/16 693552                     04498   /
                                                  286678 4/22/16                  .84 45020 5/05/16 693552              74.89 04498    /
                                                  285059 5/03/16                23.85 60070 5/12/16 694304                     05227   /
                                                  285059 5/03/16                  .52 60070 5/12/16 694304                     05227   /
                                                  285059 5/03/16                32.85 45020 5/12/16 694304                     05227   /
                                                  285059 5/03/16                  .72 45020 5/12/16 694304              57.94 05227    /
                                                  286783 5/17/16                31.80 60070 5/26/16 695940                     05950   /
                                                  286783 5/17/16                  .46 60070 5/26/16 695940                     05950   /
                                                  286783 5/17/16                54.75 45020 5/26/16 695940                     05950   /
                                                  286783 5/17/16                  .78 45020 5/26/16 695940              87.79 05950    /
                                                    **********                   220.62 ***STONE  *****ST-094****STONECIPHER DISTRIBUTORS

IR-011 STUART    STUART C.IRBY CO             9431618001 4/25/16                  1.12 66130 5/19/16 694821               1.12 05421      /
                                                    **********                      1.12 ***STUART *****IR-011****STUART C.IRBY CO

SU-099 SUMMER    SUMMER SOLES                     I42609 4/20/16               123.00 45022 5/19/16 695108                       05421    /
                                                  I42609 4/20/16                15.09 45022 5/19/16 695108             138.09    05421    /
                                                    **********                   138.09 ***SUMMER *****SU-099****SUMMER SOLES

*S-715 SYSCO     SYSCO                         612598984     4/08/16           46.72      24510   5/05/16   197576               04828   5/16
                                               612599548     4/08/16           87.43      26230   5/05/16   197576               04828   5/16
                                               612599548     4/08/16            1.49      26230   5/05/16   197576               04828   5/16
                                               612599548     4/08/16          401.03      16125   5/05/16   197576               04828   5/16
                                               612599548     4/08/16            6.82      16125   5/05/16   197576               04828   5/16
                                               612604108     4/08/16          524.94      16110   5/05/16   197576               04928   5/16
                                               612619494     4/11/16          121.80      45060   5/05/16   197576               04407   5/16
                                               612619494     4/11/16          171.77      16125   5/05/16   197576               04407   5/16
                                               612619494     4/11/16           22.97      16110   5/05/16   197576               04407   5/16
                                               612620280     4/11/16          294.69      26220   5/05/16   197576               04208   5/16
                                               612620280     4/11/16           28.00      26220   5/05/16   197576               04208   5/16
                                               612620459     4/11/16           20.52      26860   5/05/16   197576               04407   5/16
                                               612620459     4/11/16             .06      26860   5/05/16   197576               04407   5/16
                                               612620459     4/11/16           46.75      26230   5/05/16   197576               04407   5/16
                                               612620459     4/11/16             .13      26230   5/05/16   197576               04407   5/16
                                               612620459     4/11/16        4,040.68      16110   5/05/16   197576               04407   5/16
                                               612620459     4/11/16           10.97      16110   5/05/16   197576               04407   5/16
                                               612620459     4/11/16             .01-     16110   5/05/16   197576               04407   5/16
                                              612599548A     4/08/16          956.31      24510   5/05/16   197576               04828   5/16
                                              612604108A     4/08/16           45.48      24510   5/05/16   197576               04208   5/16
                                              612619494A     4/11/16        2,034.68      24510   5/05/16   197576    8,863.23   04407   5/16
                                               500660613     9/09/15          612.19-     24510   5/12/16   198489               05227   5/16
                                               611724895     2/02/16           16.73-     24510   5/12/16   198489               05227   5/16
                                               611725898     2/03/16           94.25      24510   5/12/16   198489               05227   5/16
                                               612282686     3/15/16           17.26-     16110   5/12/16   198489               05227   5/16
                                               612325938     3/18/16           14.28      24510   5/12/16   198489               05227   5/16
                                               612325938     3/18/16        1,755.90      24510   5/12/16   198489               05227   5/16
                                               612325938     3/18/16          426.40      16125   5/12/16   198489               05227   5/16
                                               612325938     3/18/16        3,504.22      16110   5/12/16   198489               05227   5/16
                                               612326228     3/18/16        1,321.68      24510   5/12/16   198489               05227   5/16
                                               612423989     3/26/16           26.22      24510   5/12/16   198489               05227   5/16
                                               612668474     4/14/16          210.92      24510   5/12/16   198489               04407   5/16
                                               612687390     4/15/16           39.41      26660   5/12/16   198489               04407   5/16




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APHIST-0216    3/31/16 18:12:31      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 03                                          PAGE     1
                            COMPANY #80722 FRISCO PARKING
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*C-345 CITY      CITY OF FRISCO                 21675501 3/10/16           1,290.97 66325 3/23/16 193084                      03736     3/16
                                                21675501 3/10/16              17.46 66325 3/23/16 193084                      03736     3/16
                                                21675501 3/10/16           2,302.93 64500 3/23/16 193084                      03736     3/16
                                                21675501 3/10/16              31.14 64500 3/23/16 193084           3,642.50 03736       3/16
                                                21688500 3/10/16             262.95 64500 3/23/16 193085             262.95 03736       3/16
                                                    **********               3,905.45 ***CITY   ******C-345****CITY OF FRISCO

*C-373 COSERV    COSERV                         28526591 3/22/16           2,633.49 64100 3/31/16 193750                        03472   3/16
                                                28526591 3/22/16             217.26 64100 3/31/16 193750           2,850.75     03472   3/16
                                                    **********               2,850.75 ***COSERV ******C-373****COSERV

FA-294 FACILITY FACILITY SOLUTIONS GROUP       393333600 2/16/16              193.72 66130 3/03/16 686217                      02508   /
                                               393333600 2/16/16                9.95 66130 3/03/16 686217                      02508   /
                                               393333600 2/16/16               16.80 66130 3/03/16 686217              220.47 02508    /
                                               393798000 2/23/16              141.34 66130 3/10/16 687017                      02685   /
                                               393798000 2/23/16                9.95 66130 3/10/16 687017                      02685   /
                                               393798000 2/23/16               12.49 66130 3/10/16 687017              163.78 02685    /
                                               393698400 2/25/16               85.00 66130 3/31/16 689264                      03484   /
                                               393698400 2/25/16                7.01 66130 3/31/16 689264                      03484   /
                                               394704301 3/11/16              123.12 66130 3/31/16 689264                      03484   /
                                               394704301 3/11/16               10.16 66130 3/31/16 689264                      03484   /
                                               394878300 3/11/16               73.65 66130 3/31/16 689264                      03484   /
                                               394878300 3/11/16                9.95 66130 3/31/16 689264                      03484   /
                                               394878300 3/11/16                6.90 66130 3/31/16 689264                      03484   /
                                               395331700 3/18/16              123.76 66130 3/31/16 689264                      03484   /
                                               395331700 3/18/16                9.95 66130 3/31/16 689264                      03484   /
                                               395331700 3/18/16               11.03 66130 3/31/16 689264              460.53 03484    /
                                                    **********                  844.78 ***FACILITY*****FA-294****FACILITY SOLUTIONS GROUP

*J-018 JQH C     JQH C - INSURANCE            INSA031601 3/22/16                  .57 01310 3/23/16 193245                .57 00000     3/16
                                                    **********                      .57 ***JQH C  ******J-018****JQH C - INSURANCE

JQ-003 JQHHM LL JQHHM LLC                     MGMT021602 2/29/16              363.36 02013 3/10/16 687473              363.36   00000    /
                                                    **********                  363.36 ***JQHHM LL*****JQ-003****JQHHM LLC

LA-147 LAS       LAS COLINAS PRINTING &            53396 2/27/16              355.80 45028 3/23/16 688578                     03890    /
                                                   53396 2/27/16               29.35 45028 3/23/16 688578             385.15 03890     /
                                                    **********                  385.15 ***LAS    *****LA-147****LAS COLINAS PRINTING &

*M-024 MARSH     MARSH USA INC                INSA021601 3/04/16              598.00 01310 3/10/16 192274             598.00 00000      3/16
                                              INSA021602 3/04/16              307.22 01311 3/10/16 192316             307.22 00000      3/16
                                                    **********                  905.22 ***MARSH  ******M-024****MARSH USA INC

NE-168 NEXTGEN   NEXTGEN PARKING                   C2289 2/02/16              600.00 66255 3/10/16 687191                      03178     /
                                                   C2289 2/02/16               49.50 66255 3/10/16 687191                      03178     /
                                                  CS3628 2/17/16              520.00 66255 3/10/16 687191                      03178     /
                                                  CS3628 2/17/16               42.91 66255 3/10/16 687191            1,212.41 03178      /
                                                    **********                1,212.41 ***NEXTGEN *****NE-168****NEXTGEN PARKING

*S-316 STATE     STATE TREASURER-TEXAS        SLSU0316    3/09/16              7.45- 85960 3/09/16 191691                     00000 3/16
                                              SLSU0316    3/09/16          1,517.20 02060 3/09/16 191691            1,509.75 00000 3/16
                                                    **********               1,509.75 ***STATE   ******S-316****STATE TREASURER-TEXAS


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80722                11,977.44




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APHIST-0189    4/30/16 21:00:51      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 04                                          PAGE     1
                            COMPANY #80722 FRISCO PARKING
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*C-345 CITY      CITY OF FRISCO                 31675501 4/08/16           1,612.78 66325 4/28/16 196567                      04630     4/16
                                                31675501 4/08/16              28.17 66325 4/28/16 196567                      04630     4/16
                                                31675501 4/08/16           2,097.60 64500 4/28/16 196567                      04630     4/16
                                                31675501 4/08/16              36.63 64500 4/28/16 196567           3,775.18 04630       4/16
                                                31688500 4/08/16             478.20 64500 4/28/16 196568             478.20 04630       4/16
                                                    **********               4,253.38 ***CITY   ******C-345****CITY OF FRISCO

*C-373 COSERV    COSERV                         28758651 4/21/16           2,547.52 64100 4/28/16 196589                        04979   4/16
                                                28758651 4/21/16             210.17 64100 4/28/16 196589           2,757.69     04979   4/16
                                                    **********               2,757.69 ***COSERV ******C-373****COSERV

JQ-003 JQHHM LL JQHHM LLC                     MGMT031604 3/31/16              391.40 02013 4/14/16 691246              391.40   00000    /
                                                    **********                  391.40 ***JQHHM LL*****JQ-003****JQHHM LLC

*M-024 MARSH     MARSH USA INC                INSA031601 4/07/16              307.22 01311 4/07/16 195296             307.22 00000      4/16
                                              INSA031602 4/07/16              598.00 01310 4/07/16 195338             598.00 00000      4/16
                                                    **********                  905.22 ***MARSH  ******M-024****MARSH USA INC

NE-168 NEXTGEN   NEXTGEN PARKING                   C2318 3/02/16              600.00 66255 4/07/16 690272                      03994     /
                                                   C2318 3/02/16               49.50 66255 4/07/16 690272              649.50 03994      /
                                                    **********                  649.50 ***NEXTGEN *****NE-168****NEXTGEN PARKING

*S-316 STATE     STATE TREASURER-TEXAS        SLSU0416    4/11/16              7.88- 85960 4/11/16 195402                     00000 4/16
                                              SLSU0416    4/11/16          1,597.09 02060 4/11/16 195402            1,589.21 00000 4/16
                                                    **********               1,589.21 ***STATE   ******S-316****STATE TREASURER-TEXAS


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80722                10,546.40




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APHIST-0202    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     1
                            COMPANY #80722 FRISCO PARKING
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
*C-345 CITY      CITY OF FRISCO                 41675501 5/10/16             924.88 66325 5/19/16 198780                      05614     5/16
                                                41675501 5/10/16              10.39 66325 5/19/16 198780                      05614     5/16
                                                41675501 5/10/16           1,959.02 64500 5/19/16 198780                      05614     5/16
                                                41675501 5/10/16              22.01 64500 5/19/16 198780           2,916.30 05614       5/16
                                                41688500 5/10/16             339.08 64500 5/19/16 198781             339.08 05614       5/16
                                                    **********               3,255.38 ***CITY   ******C-345****CITY OF FRISCO

*C-373 COSERV    COSERV                         28987021 5/20/16           2,368.60 64100 5/26/16 199458                        05974   5/16
                                                28987021 5/20/16             195.41 64100 5/26/16 199458           2,564.01     05974   5/16
                                                    **********               2,564.01 ***COSERV ******C-373****COSERV

JQ-003 JQHHM LL JQHHM LLC                     MGMT041604 4/30/16              338.71 02013 5/12/16 694461              338.71   00000    /
                                                    **********                  338.71 ***JQHHM LL*****JQ-003****JQHHM LLC

*M-024 MARSH     MARSH USA INC                INSA041601 5/05/16              307.22 01311 5/12/16 198323             307.22 00000      5/16
                                              INSA041602 5/05/16              598.00 01310 5/12/16 198365             598.00 00000      5/16
                                                    **********                  905.22 ***MARSH  ******M-024****MARSH USA INC

NE-168 NEXTGEN   NEXTGEN PARKING                   C2360 4/01/16              600.00 66255 5/05/16 693363                      04478     /
                                                   C2360 4/01/16               49.50 66255 5/05/16 693363                      04478     /
                                                   28160 3/31/16              156.25 66255 5/05/16 693363                      04478     /
                                                   28160 3/31/16               12.89 66255 5/05/16 693363              818.64 04478      /
                                                    **********                  818.64 ***NEXTGEN *****NE-168****NEXTGEN PARKING

*S-194 STATE     STATE TREASURER-TEXAS          FRANTX15 5/05/16           1,662.28 02075 5/05/16 197709           1,662.28 05012 5/16
                                                    **********               1,662.28 ***STATE  ******S-194****STATE TREASURER-TEXAS

*S-316 STATE     STATE TREASURER-TEXAS        SLSU0516    5/12/16              6.83- 85960 5/13/16 198615                     00000 5/16
                                              SLSU0516    5/12/16          1,383.52 02060 5/13/16 198615            1,376.69 00000 5/16
                                                    **********               1,376.69 ***STATE   ******S-316****STATE TREASURER-TEXAS


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80722                10,920.93




                                             Case 16-21142   Doc# 1   Filed 06/26/16   Page 279 of 290
APHIST-0433   5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                           PAGE     4
                           COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA    NAME                      INVOICE NO.    INV.DATE      INV. AMT.       ACCT # CHK DATE     CHK #   CHK. AMT. BATCH # CLRD
                                              612687390     4/15/16             .02      26660   5/12/16   198489               04407   5/16
                                              612687390     4/15/16        2,444.22      16110   5/12/16   198489               04407   5/16
                                              612687390     4/15/16            1.49      16110   5/12/16   198489               04407   5/16
                                              612689949     4/15/16           51.96      26860   5/12/16   198489               04407   5/16
                                              612689949     4/15/16            4.94      26860   5/12/16   198489               04407   5/16
                                              612690095     4/15/16          769.51      24510   5/12/16   198489               04407   5/16
                                              612690849     4/15/16           60.27      26230   5/12/16   198489               04407   5/16
                                              612690849     4/15/16            1.48      26230   5/12/16   198489               04407   5/16
                                              612690849     4/15/16          173.24      16125   5/12/16   198489               04407   5/16
                                              612690849     4/15/16            4.25      16125   5/12/16   198489               04407   5/16
                                              612713059     4/18/16          121.80      45060   5/12/16   198489               04407   5/16
                                              612713059     4/18/16             .54      45060   5/12/16   198489               04407   5/16
                                              612713059     4/18/16           50.56      26660   5/12/16   198489               04407   5/16
                                              612713059     4/18/16             .22      26660   5/12/16   198489               04407   5/16
                                              612713059     4/18/16           44.92      16125   5/12/16   198489               04407   5/16
                                              612713059     4/18/16             .20      16125   5/12/16   198489               04407   5/16
                                              612713059     4/18/16          869.08      16110   5/12/16   198489               04407   5/16
                                              612713059     4/18/16            3.84      16110   5/12/16   198489               04407   5/16
                                              612713650     4/18/16           21.07      26860   5/12/16   198489               04407   5/16
                                              612713650     4/18/16            2.00      26860   5/12/16   198489               04407   5/16
                                              612713650     4/18/16            7.67      26660   5/12/16   198489               04407   5/16
                                              612713650     4/18/16             .73      26660   5/12/16   198489               04407   5/16
                                             1840033333     3/31/16           16.88      24510   5/12/16   198489               05227   5/16
                                             612690849A     4/15/16        1,962.95      24510   5/12/16   198489               04407   5/16
                                             612713059A     4/18/16          695.16      24510   5/12/16   198489   14,056.10   04407   5/16
                                              612725235     4/18/16            4.77      26860   5/19/16   199112               05562   5/16
                                              612725235     4/18/16             .45      26860   5/19/16   199112               05562   5/16
                                              612784707     4/22/16           49.87      26230   5/19/16   199112               04407   5/16
                                              612784707     4/22/16             .09      26230   5/19/16   199112               04407   5/16
                                              612784707     4/22/16        2,490.00      16110   5/19/16   199112               04407   5/16
                                              612784707     4/22/16            4.65      16110   5/19/16   199112               04407   5/16
                                              612785065     4/22/16           95.11      26220   5/19/16   199112               05421   5/16
                                              612785065     4/22/16            9.04      26220   5/19/16   199112               05421   5/16
                                              612786121     4/22/16           42.25      47040   5/19/16   199112               04407   5/16
                                              612786121     4/22/16             .83      47040   5/19/16   199112               04407   5/16
                                              612786121     4/22/16           40.60      45060   5/19/16   199112               04407   5/16
                                              612786121     4/22/16             .80      45060   5/19/16   199112               04407   5/16
                                              612786121     4/22/16           36.88      26660   5/19/16   199112               04407   5/16
                                              612786121     4/22/16             .72      26660   5/19/16   199112               04407   5/16
                                              612786121     4/22/16           29.24      26230   5/19/16   199112               04407   5/16
                                              612786121     4/22/16             .57      26230   5/19/16   199112               04407   5/16
                                              612786121     4/22/16           89.37      16125   5/19/16   199112               04407   5/16
                                              612786121     4/22/16            1.76      16125   5/19/16   199112               04407   5/16
                                              612804568     4/25/16            6.16      24510   5/19/16   199112               04407   5/16
                                              612805689     4/25/16           31.00      26660   5/19/16   199112               04407   5/16
                                              612805689     4/25/16             .20      26660   5/19/16   199112               04407   5/16
                                              612805689     4/25/16           78.39      16125   5/19/16   199112               04407   5/16
                                              612805689     4/25/16             .51      16125   5/19/16   199112               04407   5/16
                                              612806737     4/25/16        1,972.98      16110   5/19/16   199112               04407   5/16
                                             612786121A     4/22/16        1,344.99      24510   5/19/16   199112               04407   5/16
                                             612805689A     4/25/16          643.29      24510   5/19/16   199112    6,974.52   04407   5/16
                                              612876210     4/29/16          846.58      16110   5/26/16   199760               05562   5/16
                                              612876210     4/29/16            4.76      16110   5/26/16   199760               05562   5/16
                                              612876302     4/29/16           56.85      24510   5/26/16   199760               05562   5/16
                                              612877531     4/29/16          434.41      24510   5/26/16   199760               05421   5/16
                                              612877626     4/29/16           68.22      24510   5/26/16   199760               05421   5/16
                                              612877627     4/29/16           30.33      16110   5/26/16   199760               05421   5/16
                                              612877630     4/29/16          184.70      16125   5/26/16   199760               05421   5/16
                                              612898096     5/02/16           18.22      24510   5/26/16   199760               05562   5/16
                                              612898588     5/02/16           22.97      16110   5/26/16   199760               05562   5/16
                                              612898590     5/02/16           58.24      16125   5/26/16   199760               05562   5/16
                                              612898590     5/02/16             .20      16125   5/26/16   199760               05562   5/16
                                              612898590     5/02/16        1,309.40      16110   5/26/16   199760               05562   5/16
                                              612898590     5/02/16            4.56      16110   5/26/16   199760               05562   5/16
                                             612876210A     4/29/16           39.10      24510   5/26/16   199760               05562   5/16
                                             612876302A     4/29/16           81.20      45060   5/26/16   199760               05562   5/16
                                             612877630A     4/29/16        1,035.64      24510   5/26/16   199760               05421   5/16
                                             612898096A     5/02/16           31.52      26860   5/26/16   199760               05562   5/16
                                             612898096A     5/02/16            2.99      26860   5/26/16   199760               05562   5/16
                                             612898096A     5/02/16           58.19      26230   5/26/16   199760               05562   5/16
                                             612898096A     5/02/16            5.53      26230   5/26/16   199760               05562   5/16
                                             612898588A     5/02/16          494.79      24510   5/26/16   199760               05562   5/16




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APHIST-0434    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                          PAGE     5
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
                                              612898590A 5/02/16              709.61 24510 5/26/16 199760           5,498.01    05562   5/16
                                                    **********               35,391.86 ***SYSCO  ******S-715****SYSCO

TA-208 TALX      TALX CORP.                      2097071 5/08/16               29.40 60320 5/19/16 695120              29.40    05562    /
                                                    **********                   29.40 ***TALX   *****TA-208****TALX CORP.

TA-114 TAYLOR    TAYLOR'S CLEANERS AND              105A 4/17/16               14.70 45030 5/05/16 693571              14.70 04498    /
                                                    **********                   14.70 ***TAYLOR *****TA-114****TAYLOR'S CLEANERS AND

GR-364 THE GR    THE GREATER HOT SPRINGS          440861 2/29/16              15.00 62505 5/19/16 694773              15.00 05560    /
                                                  441239 5/01/16           1,476.00 60310 5/26/16 695627           1,476.00 05950    /
                                                    **********               1,491.00 ***THE GR *****GR-364****THE GREATER HOT SPRINGS

HO-482 THE HO    THE HOTEL HOT SPRINGS            158198 4/18/16              124.81 16702 5/05/16 693212             124.81 04498    /
                                                    **********                  124.81 ***THE HO *****HO-482****THE HOTEL HOT SPRINGS

TR-130 TROPICAL TROPICAL NUT & FRUIT CO       NV15387189 4/06/16              133.27 16125 5/05/16 693593                      04407   /
                                              NV15387189 4/06/16               38.05 16125 5/05/16 693593                      04407   /
                                              NV15387189 4/06/16               11.70 16105 5/05/16 693593                      04407   /
                                              NV15387189 4/06/16                3.34 16105 5/05/16 693593              186.36 04407    /
                                              NV15393908 4/27/16               58.25 16125 5/19/16 695138                      05562   /
                                              NV15393908 4/27/16               16.18 16125 5/19/16 695138                      05562   /
                                              NV15393908 4/27/16               49.18 16105 5/19/16 695138                      05562   /
                                              NV15393908 4/27/16               13.67 16105 5/19/16 695138              137.28 05562    /
                                              NV15398646 5/04/16              204.13 16125 5/26/16 695970                      05957   /
                                              NV15398646 5/04/16               66.36 16105 5/26/16 695970              270.49 05957    /
                                                    **********                  594.13 ***TROPICAL*****TR-130****TROPICAL NUT & FRUIT CO

TU-077 TURNER    TURNER HOLDINGS LLC            19635303 4/18/16               66.32 16110 5/05/16 693602                     04928      /
                                                19674512 4/21/16              190.32 45010 5/05/16 693602                     04407      /
                                                19675209 4/21/16               44.25 16110 5/05/16 693602                     04407      /
                                               19586505A 4/14/16               98.39 24510 5/05/16 693602                     04208      /
                                               19635303A 4/18/16               24.48 24510 5/05/16 693602                     04208      /
                                               19675209A 4/21/16               90.72 24510 5/05/16 693602             514.48 04407       /
                                                19724103 4/25/16               44.25 16110 5/12/16 694324                     04407      /
                                               19724103A 4/25/16               72.95 24510 5/12/16 694324             117.20 04407       /
                                                19812304 5/02/16               66.32 16110 5/19/16 695145                     05562      /
                                                19851604 5/05/16               66.32 16110 5/19/16 695145                     05562      /
                                               19812304A 5/02/16               91.66 24510 5/19/16 695145                     05562      /
                                               19851604A 5/05/16              113.74 24510 5/19/16 695145             338.04 05562       /
                                                19970512 5/13/16               74.76 45010 5/26/16 695974              74.76 05957       /
                                                    **********                1,044.48 ***TURNER *****TU-077****TURNER HOLDINGS LLC

TY-019 TYINC     TY INC                         13651383 4/29/16              334.06 45010 5/19/16 695152              334.06   05562    /
                                                    **********                  334.06 ***TYINC  *****TY-019****TY INC

UN-341 UNITED    UNITED RENTALS NORTHWEST     6825800001 4/26/16               64.98 66120 5/19/16 695160                     05562   /
                                              6825800001 4/26/16                5.85 66120 5/19/16 695160              70.83 05562    /
                                                    **********                   70.83 ***UNITED *****UN-341****UNITED RENTALS NORTHWEST

UN-090 UNIV      UNIVERSITY OF ARKANSAS       UA10132037 4/06/16               23.74 16105 5/05/16 693610                     04498    /
                                              UA10132037 4/06/16                2.26 16105 5/05/16 693610              26.00 04498     /
                                                    **********                   26.00 ***UNIV   *****UN-090****UNIVERSITY OF ARKANSAS

US-129 USA TODA USA TODAY                     0013130702 5/01/16              225.00 16105 5/26/16 696140              225.00   05957    /
                                                    **********                  225.00 ***USA TODA*****US-129****USA TODAY

VA-146 VALLEY    VALLEY ALUMINUM PRODUCTS          57755 5/10/16               90.95 66120 5/19/16 695169                     05562   /
                                                   57755 5/10/16                8.63 66120 5/19/16 695169              99.58 05562    /
                                                    **********                   99.58 ***VALLEY *****VA-146****VALLEY ALUMINUM PRODUCTS




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APHIST-0435    5/31/16 21:00:46      PAYMENT HISTORY FILE FOR THE ACCOUNTING PERIOD- 05                                         PAGE    1
                            COMPANY #80795 HOT SPRINGS, ARK EMBASSY SUITES
                                                                                                                                      DATE
VEND#   ALPHA     NAME                      INVOICE NO.   INV.DATE      INV. AMT.       ACCT # CHK DATE   CHK #     CHK. AMT. BATCH # CLRD
VA-065 VALUE     VALUE STREAM                      38039 5/08/16              282.00 26260 5/19/16 695168             282.00   05562   /
                                                    **********                  282.00 ***VALUE  *****VA-065****VALUE STREAM

WA-049 WALMART   WALMART BUSINESS             1400420339 4/23/16               75.32 45022 5/05/16 693647                      04498   /
                                              1400420339 4/23/16                5.89 45022 5/05/16 693647               81.21 04498    /
                                               862500792 4/26/16              149.75 60560 5/19/16 695183                      05560   /
                                               862500792 4/26/16               14.23 60560 5/19/16 695183              163.98 05560    /
                                                    **********                  245.19 ***WALMART *****WA-049****WALMART BUSINESS

WE-072 WEINER    WEINER'S LTD                    0032252 4/13/16              173.33 45010 5/12/16 694350             173.33   04208   /
                                                 0032490 4/20/16              228.54 45010 5/19/16 695185             228.54   04407   /
                                                 0032737 4/29/16              186.97 45010 5/26/16 695998             186.97   05562   /
                                                    **********                  588.84 ***WEINER *****WE-072****WEINER'S LTD

WO-103 WORLD CI WORLD CINEMA INC              **S4854 05 6/01/16           3,274.74 16425 5/19/16 695361                      04111    /
                                              **S4854 05 6/01/16             311.10 16425 5/19/16 695361            3,585.84 04111     /
                                                    **********               3,585.84 ***WORLD CI*****WO-103****WORLD CINEMA INC

*W-011 WTS IN    WTS INTERNATIONAL INC        0000039058 5/01/16              300.00 45022 5/19/16 199168             300.00 05562 5/16
                                                    **********                  300.00 ***WTS IN ******W-011****WTS INTERNATIONAL INC


TOTAL AMOUNT PAID BY COMPUTER FOR COMPANY #80795               679,317.80




                                             Case 16-21142   Doc# 1   Filed 06/26/16   Page 282 of 290
 Debtor       John Q. Hammons Fall 2006, LLC                                                                Case number (if known)



 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                    Value

       9.1.    Junction City Food Pantry                         Charitable Donations                                       11/2015,
               136 West 3rd Street                                                                                          2/2016, 3/2016,
               Junction City, KS 66441                                                                                      5/2016                   $1,499.00

               Recipients relationship to debtor
               None


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers       Total amount or
                                                                                                                         were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer      Total amount or
               Address                                           payments received or debts paid in exchange                was made                    value

 Part 7:      Previous Locations

14. Previous addresses

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



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          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       John Q Hammons Hotels
                    Management LLC
                    300 John Q Hammons Parkway
                    Suite 900
                    Springfield, MO 65806
       26a.2.       BKD LLP
                    910 E St Louis Street
                    Suite 400
                    Springfield, MO 65806

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       John Q Hammons Hotels
                    Management LLC
                    300 John Q Hammons Parkway
                    Suite 900
                    Springfield, MO 65806
       26c.2.       BKD LLP
                    910 E St Louis Street
                    Suite 400
                    Springfield, MO 65806
       26c.3.       JQH Accounting Services LLC
                    300 John Q Hammons Parkway
                    Suite 900
                    Springfield, MO 65806
       26c.4.       Deloitte and Touche
                    250 E 5th St
                    #1900
                    Cincinnati, OH 45202

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.



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               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jacqueline A Dowdy                             300 John Q Hammons Parkway                          President                             N/A
                                                      Suite 900
                                                      Springfield, MO 65806
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Greggory D Groves                              300 John Q Hammons Parkway                          Vice President                        N/A
                                                      Suite 900
                                                      Springfield, MO 65806
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Christopher D Smith                            300 John Q. Hammons Parkway                         Secretary                             N/A
                                                      Sutie 900
                                                      Springfield, MO 65806
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michelle A Dreyer                              CSC Entity Services LLC                             Springing Member                      N/A
                                                      2711 Centerville Rd 3rd Floor
                                                      Wilmington, DE 19808
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William Popeo                                  CSC Entity Services LLC                             Springing Member                      N/A
                                                      2711 Centerville Rd 3rd Floor
                                                      Wilmington, DE 19808
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Revocable Trust of John Q.                     Hammons (12/28/89)                                  Member                                100%
                                                      300 John Q Hammons Parkway
                                                      Suite 900
                                                      Springfield, MO 65806


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.



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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 25, 2016

 /s/ Greggory D Groves                                                  Greggory D Groves
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Vice President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                                           District of Kansas
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                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Revocable Trust of John Q.                                                           100%                                       Membership
 Hammons (12/28/89)
 300 John Q Hammons Parkway
 Suite 900
 Springfield, MO 65806


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Vice President of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date June 25, 2016                                                           Signature /s/ Greggory D Groves
                                                                                            Greggory D Groves

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for John Q. Hammons Fall 2006, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Revocable Trust of John Q.
 Hammons (12/28/89)
 300 John Q Hammons Parkway
 Suite 900
 Springfield, MO 65806




    None [Check if applicable]




 June 25, 2016                                                        /s/ Mark Shaiken
 Date                                                                 Mark Shaiken
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for John Q. Hammons Fall 2006, LLC
                                                                      Stinson Leonard Street LLP
                                                                      1201 Walnut Street, Suite 2900
                                                                      Kansas City, MO 64106-2150
                                                                      816-691-3204 Fax:816-412-1191
                                                                      mark.shaiken@stinson.com




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